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                   E X HI BI T K
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                                                                                         U NI T E D S T A T E S
                                                                      S E C U RI TI E S A N D E X C H A N G E C O M MI S SI O N
                                                                                                   W as hi n gt o n, D. C. 2 0 5 4 9
                                                                                                  ______________________

                                                                                                            F O R M 8- K

                                                                                        C U R RE NT REP O RT
                                                                      P U R S U A N T T O S E C TI O N 1 3 O R 1 5 ( d) O F T H E
                                                                           S E C U RI TI E S E X C H A N G E A C T O F 1 9 3 4
                                                                       D at e of R e p ort ( D at e of e arli est e v e nt r e p ort e d)       J a n u a r y 8, 2 0 2 0

                                                                                    BE D B AT H & BE Y O N DI N C.
                                                                                 ( E x a ct n a m e of r e gistr a nt as s p e cifi e d i n its c h art er)

                               Ne w Y or k                                                                     0- 2 0 2 1 4                                                                1 1- 2 2 5 0 4 8 8
        ( St at e or ot h er j uris di cti o n of i n c or p or ati o n)                            ( C o m missi o n Fil e N u m b er)                                     (I. R. S. E m pl o y er I d e ntifi c ati o n N o.)

                                                                                  6 5 0 Li b e rt y A v e n u e , U ni o n , N e w J e rs e y 0 7 0 8 3
                                                                                ( A d dr ess of pri n ci p al e x e c uti v e offi c es) ( Zi p C o d e)

                                                                                                            (9 0 8 ) 6 8 8- 0 8 8 8
                                                                                ( R e gistr a nt's t el e p h o n e n u m b er, i n cl u di n g ar e a c o d e)

C h e c k t h e a p pr o pri at e b o x b el o w if t h e F or m 8- K fili n g is i nt e n d e d t o si m ult a n e o usl y s atisf y t h e fili n g o bli g ati o n of t h e r e gistr a nt u n d er a n y of t h e f oll o wi n g
pr o visi o ns:


          Writt e n c o m m u ni c ati o ns p urs u a nt t o R ul e 4 2 5 u n d er t h e S e c uriti es A ct ( 1 7 C F R 2 3 0. 4 2 5)

          S oli citi n g m at eri al p urs u a nt t o R ul e 1 4 a- 1 2 u n d er t h e E x c h a n g e A ct ( 1 7 C F R 2 4 0. 1 4 a- 1 2)

          Pr e- c o m m e n c e m e nt c o m m u ni c ati o ns p urs u a nt t o R ul e 1 4 d- 2( b) u n d er t h e E x c h a n g e A ct ( 1 7 C F R 2 4 0. 1 4 d- 2( b))

          Pr e- c o m m e n c e m e nt c o m m u ni c ati o ns p urs u a nt t o R ul e 1 3 e- 4( c) u n d er t h e E x c h a n g e A ct ( 1 7 C F R 2 4 0. 1 3 e- 4 ( c))

                                                                           S e c u riti es r e gist e r e d p u rs u a nt t o s e cti o n 1 2( b) of t h e A ct:
                       Titl e of e a c h cl ass                                                  T r a di n g S y m b ol                                  N a m e of e a c h e x c h a n g e o n w hi c h r e gist e r e d
                C o m m o n st o c k, $. 0 1 p ar v al u e                                               BBB Y                                                     T h e N as d a q St o c k M ar k et L L C
                                                                                                                                                                    ( N as d a q Gl o b al S el e ct M ar k et)

I n di c at e b y c h e c k m ar k w h et h er t h e r e gistr a nt is a n e m er gi n g gr o wt h c o m p a n y as d efi n e d i n R ul e 4 0 5 of t h e S e c uriti es A ct of 1 9 3 3 ( § 2 3 0. 4 0 5 of t his c h a pt er) or
R ul e 1 2 b- 2 of t h e S e c uriti es E x c h a n g e A ct of 1 9 3 4 ( § 2 4 0. 1 2 b- 2 of t his c h a pt er).

E m er gi n g gr o wt h c o m p a n y ☐

If a n e m er gi n g gr o wt h c o m p a n y, i n di c at e b y c h e c k m ar k if t h e r e gistr a nt h as el e ct e d n ot t o us e t h e e xt e n d e d tr a nsiti o n p eri o d f or c o m pl yi n g wit h a n y n e w or
r e vis e d fi n a n ci al a c c o u nti n g st a n d ar ds pr o vi d e d p urs u a nt t o S e cti o n 1 3( a) of t h e E x c h a n g e A ct.
☐
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It e m 2. 0 2              R es ults of O p e r ati o ns a n d Fi n a n ci al C o n diti o n

O n J a n u ar y 8, 2 0 2 0, B e d B at h & B e y o n d I n c. (t h e “ C o m p a n y ”) iss u e d a pr ess r el e as e a n n o u n ci n g t h e C o m p a n y’s fi n a n ci al r es ults f or its fis c alt hir d q u art er e n d e d
N o v e m b er 3 0, 2 0 1 9. A c o p y of t his pr ess r el e as e is att a c h e d h er et o as E x hi bit 9 9. 1 a n d is i n c or p or at e d h er ei n b y r ef er e n c e.

It e m 7. 0 1              R e g ul ati o n F D
                          Dis cl os u r e

              O n J a n u ar y 8, 2 0 2 0, t h e C o m p a n y p u blis h e d a n I n v est or Pr es e nt ati o n f or its fis c al t hir d q u art er e n d e d N o v e m b er 3 0, 2 0 1 9 as n ot e d i n t h e pr ess r el e as e
d es cri b e d i n It e m 2. 0 2 a b o v e. T h e I n v est or Pr es e nt ati o n is att a c h e d h er et o as E x hi bit 9 9. 2 a n d is i n c or p or at e d h er ei n b y r ef er e n c e. A d diti o n all y, t h e C o m p a n y h as
p ost e d t h e I n v est or Pr es e nt ati o n o n t h e i n v est or r el ati o ns s e cti o n of its w e bsit e at w w w. b e d b at h a n d b e y o n d. c o m.

            T h e C o m p a n y’s J a n u ar y 8, 2 0 2 0 pr ess r el e as e f urt h er a n n o u n c e d t h at its B o ar d of Dir e ct ors h as d e cl ar e d a q u art erl y di vi d e n d of$ 0. 1 7 p er s h ar e, t o b e
p ai d o n A pril 1 4, 2 0 2 0 t o s h ar e h ol d ers of r e c or d at t h e cl os e of b usi n ess o n M ar c h 1 3, 2 0 2 0.

               T h e i nf or m ati o n i n t his C urr e nt R e p ort o n F or m 8- K (i n cl u di n g t h e e x hi bits att a c h e d h er et o) is b ei n g f ur nis h e d u n d er It e ms 2. 0 2 a n d 7. 0 1 a n d s h all n ot b e
d e e m e d “fil e d ” f or t h e p ur p os es of S e cti o n 1 8 of t h e S e c uriti es E x c h a n g e A ct of 1 9 3 4, as a m e n d e d (t h e “ E x c h a n g e A ct ”), or ot h er wis e s u bj e ct t o t h e li a bilit y of
s u c h s e cti o n or i n c or p or at e d b y r ef er e n c e i n a n y fili n g u n d er t h e S e c uriti es A ct of 1 9 3 3, as a m e n d e d, or t h e E x c h a n g e A ct, e x c e pt as s h all b e e x pr essl y s et f ort h b y
s p e cifi c r ef er e n c e i n s u c h a fili n g.



It e m 9. 0 1              Fi n a n ci al St at e m e nts a n d
                          E x hi bits

( d)      E x hi bits:


 E x hi bit N o.             D es c ri pti o n


 9 9. 1                      Pr ess R el e as e iss u e d b y B e d B at h & B e y o n d I n c. o n J a n u ar y 8, 2 0 2 0.

 9 9. 2                      I n v est or Pr es e nt ati o n f or t h e fis c al t hir d q u art er e n d e d N o v e m b er 3 0, 2 0 1 9.

 104                         C o v er P a g e I nt er a cti v e D at a Fil e ( e m b e d d e d wit hi n t h e I nli n e X B R L d o c u m e nt)
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                                                                                                    SI G N A T U R E S

              P urs u a nt t o t h e r e q uir e m e nts of t h e S e c uriti es E x c h a n g e A ct of 1 9 3 4, t h e r e gistr a nt h as d ul y c a us e d t his r e p ort t o b e si g n e d o n its b e h alf b y t h e
u n d ersi g n e d t h er e u nt o d ul y a ut h ori z e d.



                                                                                                                            B E D B A T H & B E Y O N D I N C.
                                                                                                                            ( R e gistr a nt)

D at e: J a n u ar y 8, 2 0 2 0                                                                                             B y:       /s/ R o b y n M. D' Eli a
                                                                                                                                        R o b y n M. D' Eli a
                                                                                                                                        C hi ef Fi n a n ci al Offi c er a n d Tr e as ur er
                                                                                                                                       ( Pri n ci p al Fi n a n ci al a n d A c c o u nti n g Offi c er)
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                                                                                                                                                                                            E x hi bit 9 9. 1

F O R I M M E DI A T E R E L E A S E


                             B E D B A T H & B E Y O N D I N C. R E P O R T S R E S U L T S F O R FI S C A L 2 0 1 9 T HI R D Q U A R T E R

                     R e p ort e d T hir d Q u art er N et L oss P er Dil ut e d S h ar e of $( 0. 3 1); A dj ust e d N et L oss P er Dil ut e d S h ar e of $( 0. 3 8)

                               S al es F ell S h ort of Pl a n D es pit e R el ati v e Str e n gt h D uri n g a K e y 5- D a y H oli d a y S h o p pi n g P eri o d


                        C o m p a n y Pl a ns t o R e v e al N e w Str at e gi c Visi o n i n E arl y 2 0 2 0; Wit h dr a ws Fis c al 2 0 1 9 Fi n a n ci al G ui d a n c e


U NI O N, N e w J ers e y, J a n u ar y 8, 2 0 2 0 --- B e d B at h & B e y o n d I n c. ( N as d a q: B B B Y) t o d a y r e p ort e d fi n a n ci al r es ults f or t h e t hir d q u art er of
fis c al 2 0 1 9 e n d e d N o v e m b er 3 0, 2 0 1 9.

"I a m d eli g ht e d t o h a v e t h e o p p ort u nit y t o l e a d t his i c o ni c c o m p a n y, " st at e d M ar k J. Tritt o n, B e d B at h & B e y o n d's Pr esi d e nt a n d C E O. " O ur
p erf or m a n c e i n t h e t hir d q u art er w as u ns atisf a ct or y a n d u n d ers c or es t h e i m p er ati v e f or c h a n g e a n d str e n gt h e ns o ur s e ns e of pri oriti es a n d
p ur p os e. We m ust r es p o n d t o t h e c h all e n g es w e f a c e as a b usi n ess, i n cl u di n g pr ess ur e d s al es a n d pr ofit a bilit y, a n d r e c o nstr u ct a m o d er n,
d ur a bl e m o d el f or l o n g-t er m pr ofit a bl e gr o wt h. F ort u n at el y, t h e f o u n d ati o n of t h e C o m p a n y’s tr a nsf or m ati o n is w ell u n d er w a y, d u e i n l ar g e
p art t o t h e dir e cti o n a n d s u p p ort of t h e B o ar d. We will b e fi n ali zi n g t h e d et ails of o ur str at e gi c pl a n o v er t h e n e xt f e w m o nt hs a n d a p pr e ci at e
y o ur p ati e n c e as w e e m b ar k a n d p urs u e t his j o ur n e y t o p ositi o n B e d B at h & B e y o n d t o d eli v er l o n g-t er m, s ust ai n a bl e gr o wt h. "

Fis c al 2 0 1 9 T hi r d Q u a rt e r R es ults

F or t h e fis c al 2 0 1 9 t hir d q u art er, t h e C o m p a n y r e p ort e d a n et l oss of $( 0. 3 1) p er dil ut e d s h ar e ( $( 3 8. 6) milli o n), w hi c h i n cl u d e d a n et b e n efit
of $ 0. 0 7 fr o m t h e f a v or a bl e i m p a ct fr o m a n a dj ust m e nt t o t h e i n cr e m e nt al i n v e nt or y r es er v e f or f ut ur e m ar k d o w ns ass o ci at e d wit h its
i n v e nt or y i niti ati v e, t h at w as p arti all y offs et b y a n o n- c as h c h ar g e f or t h e i m p air m e nt of c ert ai n st or e-l e v el ass ets. T his c o m p ar es t o n et
e ar ni n gs of $ 0. 1 8 p er dil ut e d s h ar e ( $ 2 4. 4 milli o n) f or t h e fis c al 2 0 1 8 t hir d q u art er, w hi c h i n cl u d e d t h e f a v or a bl e i m p a ct of $ 0. 1 6 p er dil ut e d
s h ar e fr o m t h e g ai n o n t h e s al e of a b uil di n g. E x cl u di n g t h es e n et f a v or a bl e i m p a cts i n b ot h p eri o ds, t h e C o m p a n y r e p ort e d a n a dj ust e d n et
l oss of $( 0. 3 8) p er dil ut e d s h ar e ( $( 4 6. 9) milli o n) f or t h e fis c al 2 0 1 9 t hir d q u art er, c o m p ar e d t o a dj ust e d n et e ar ni n gs of $ 0. 0 2 p er dil ut e d
s h ar e ( $ 2. 7 milli o n) f or t h e fis c al 2 0 1 8 t hir d q u art er. N et s al es f or t h e fis c al 2 0 1 9 t hir d q u art er w er e $ 2. 8 billi o n, a d e cr e as e of 9. 0 %
c o m p ar e d t o t h e pri or y e ar p eri o d. C o m p ar a bl e s al es i n t h e fis c al 2 0 1 9 t hir d q u art er d e cli n e d 8. 3 %.

T h e C o m p a n y's fis c al 2 0 1 9 t hir d q u art er w as si g nifi c a ntl y i m p a ct e d b y t h e c al e n d ar s hift of t h e T h a n ks gi vi n g h oli d a y t his y e ar r es ulti n g i n
o n e l ess w e e k of h oli d a y s al es c o m p ar e d t o t h e pri or y e ar p eri o d. A dj usti n g f or t his c al e n d ar s hift t o i n cl u d e T h a n ks gi vi n g a n d C y b er
M o n d a y w e e ks i n b ot h p eri o ds, c o m p ar a bl e s al es f or t h e fis c al 2 0 1 9 t hir d q u art er d e cli n e d 3. 6 %. D uri n g t h e k e y fi v e- d a y s h o p pi n g p eri o d
fr o m T h a n ks gi vi n g t o C y b er M o n d a y f or b ot h t his y e ar a n d l ast y e ar, c o m p ar a bl e s al es o n a s hift e d b asis i n cr e as e d 7. 1 %.


C a pit al All o c ati o n

T o d a y, t h e C o m p a n y’s B o ar d of Dir e ct ors d e cl ar e d a q u art erl y di vi d e n d of $ 0. 1 7 p er s h ar e p a y a bl e o n A pril 1 4, 2 0 2 0 t o s h ar e h ol d ers of
r e c or d at t h e cl os e of b usi n ess o n M ar c h 1 3, 2 0 2 0.

T h e C o m p a n y r e p ur c h as e d $ 1. 2 milli o n of its c o m m o n st o c k, r e pr es e nti n g 8 7, 0 0 0 s h ar es, d uri n g t h e fis c al 2 0 1 9 t hir d q u art er.
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T h e C o m p a n y e n d e d t h e fis c al 2 0 1 9 t hir d q u art er wit h $ 9 2 0 milli o n i n c as h a n d i n v est m e nts, c o m p ar e d wit h $ 1. 0 billi o n i n c as h a n d
i n v est m e nts at t h e e n d of t h e fis c al 2 0 1 8 t hir d q u art er.

O utl o o k

T h e C o m p a n y e x p e cts its s al es a n d pr ofit a bilit y t o r e m ai n pr ess ur e d d uri n g t h e fis c al 2 0 1 9 f o urt h q u art er. C o nsi d eri n g t h es e h e a d wi n ds
r efl e ct e d i n t h e C o m p a n y's r es ults t o d at e, a n d t h e o n g oi n g w or k b y r e c e ntl y a p p oi nt e d Pr esi d e nt & C E O M ar k Tritt o n t o ass ess t h e b usi n ess
a n d fi n ali z e t h e d et ails of t h e C o m p a n y's g o-f or w ar d str at e gi c pl a n as w ell as t h e e xt e nsi v e s e ni or l e a d ers hi p c h a n g es wit hi n t h e p ast m o nt h,
t h e C o m p a n y b eli e v es it is a p pr o pri at e t o wit h dr a w its fis c al 2 0 1 9 f ull y e ar fi n a n ci al g ui d a n c e.


Fis c al 2 0 1 9 T hi r d Q u a rt e r C o nf e r e n c e C all a n d I n v est o r P r es e nt ati o n
B e d B at h & B e y o n d I n c.’s fis c al 2 0 1 9 t hir d q u art er c o nf er e n c e c all wit h a n al ysts a n d i n v est ors will b e h el d t o d a y at 5: 0 0 p m E T a n d m a y b e
a c c ess e d b y di ali n g 1- 8 8 8- 7 7 1- 4 3 7 1, or if i nt er n ati o n al, 1- 8 4 7- 5 8 5- 4 4 0 5, usi n g c o nf er e n c e I D n u m b er 4 9 2 4 9 2 0 7. T h e r e pl a y of t h e c all will
b e a v ail a bl e b e gi n ni n g t o d a y at 8: 0 0 p m E T t hr o u g h 8: 0 0 p m E T o n Fri d a y, J a n u ar y 1 0t h, 2 0 2 0, a n d c a n b e a c c ess e d b y di ali n g 1- 8 8 8- 8 4 3-
7 4 1 9, usi n g c o nf er e n c e I D n u m b er 4 9 2 4 9 2 0 7. T h e c all a n d r e pl a y c a n als o b e a c c ess e d vi a a u di o w e b c ast o n t h e i n v est or r el ati o ns s e cti o n of
t h e C o m p a n y's w e bsit e at w w w. b e d b at h a n d b e y o n d. c o m .

T h e C o m p a n y h as als o m a d e a v ail a bl e a n I n v est or Pr es e nt ati o n o n t h e i n v est or r el ati o ns s e cti o n of t h e C o m p a n y's                          w e bsit e at
w w w. b e d b at h a n d b e y o n d. c o m .

A b o ut t h e C o m p a n y

B e d B at h & B e y o n d I n c. a n d s u bsi di ari es (t h e " C o m p a n y ") is a n o m ni c h a n n el r et ail er t h at m a k es it e as y f or o ur c ust o m ers t o f e el at h o m e.
T h e C o m p a n y s ells a wi d e ass ort m e nt of d o m esti cs m er c h a n dis e a n d h o m e f ur nis hi n gs. T h e C o m p a n y als o pr o vi d es a v ari et y of t e xtil e
pr o d u cts, a m e niti es a n d ot h er g o o ds t o i nstit uti o n al c ust o m ers i n t h e h os pit alit y, cr uis e li n e, h e alt h c ar e a n d ot h er i n d ustri es. A d diti o n all y, t h e
C o m p a n y is a p art n er i n a j oi nt v e nt ur e w hi c h o p er at es r et ail st or es i n M e xi c o u n d er t h e n a m e B e d B at h & B e y o n d.

T h e C o m p a n y o p er at es w e bsit es at b e d b at h a n d b e y o n d. c o m, b e d b at h a n d b e y o n d. c a, w orl d m ar k et. c o m, b u y b u y b a b y. c o m, b u y b u y b a b y. c a,
c hrist m astr e es h o ps. c o m, a n dt h at. c o m, h ar m o n dis c o u nt. c o m, f a c e v al u es. c o m, o n e ki n gsl a n e. c o m, p ers o n ali z ati o n m all. c o m, d e c orist. c o m,
h ar b orli n e n. c o m, a n d t- y gr o u p. c o m. As of N o v e m b er 3 0, 2 0 1 9, t h e C o m p a n y h a d a t ot al of 1, 5 2 4 st or es, i n cl u di n g 9 8 1 B e d B at h & B e y o n d
st or es i n all 5 0 st at es, t h e Distri ct of C ol u m bi a, P u ert o Ri c o a n d C a n a d a, 2 7 8 st or es u n d er t h e n a m es of W orl d M ar k et, C ost Pl us W orl d
M ar k et or C ost Pl us, 1 2 6 b u y b u y B A B Y st or es, 8 1 st or es u n d er t h e n a m es C hrist m as Tr e e S h o ps, C hrist m as Tr e e S h o ps a n d T h at! or
a n d T h at!, 5 5 st or es u n d er t h e n a m es H ar m o n, H ar m o n F a c e V al u es or F a c e V al u es, a n d t hr e e st or es u n d er t h e n a m e O n e Ki n gs L a n e. D uri n g
t h e fis c al t hir d q u art er, t h e C o m p a n y o p e n e d f o ur st or es i n cl u di n g o n e B e d B at h & B e y o n d st or e, t w o C ost Pl us W orl d M ar k et st or es a n d o n e
O n e Ki n gs L a n e st or e. Als o d uri n g t h e fis c al t hir d q u art er, t h e C o m p a n y cl os e d 1 4 st or es i n cl u di n g 1 3 B e d B at h & B e y o n d st or es a n d o n e
C ost Pl us W orl d M ar k et st or e. T h e j oi nt v e nt ur e t o w hi c h t h e C o m p a n y is a p art n er o p er at es t e n st or es i n M e xi c o u n d er t h e n a m e B e d B at h &
B e y o n d.

N o n- G A A P I nf o r m ati o n


T his pr ess r el e as e c o nt ai ns c ert ai n n o n- G A A P i nf or m ati o n, s u c h as a dj ust e d n et e ar ni n gs p er dil ut e d s h ar e, w hi c h is i nt e n d e d t o pr o vi d e
visi bilit y i nt o t h e C o m p a n y’s c or e o p er ati o ns b y e x cl u di n g t h e eff e cts of t h e g o o d will a n d ot h er i m p air m e nts, s e v er a n c e c osts, s h ar e h ol d er
a cti vit y c osts, i n cr e m e nt al i n v e nt or y r es er v e f or f ut ur e m ar k d o w ns, a n d t h e g ai n o n t h e s al e of a b uil di n g. T h e C o m p a n y’s d efi niti o n a n d
c al c ul ati o n of n o n- G A A P m e as ur es m a y diff er fr o m t h at of ot h er c o m p a ni es. N o n- G A A P fi n a n ci al m e as ur es s h o ul d b e vi e w e d i n a d diti o n
t o, a n d n ot as a n alt er n ati v e f or, t h e C o m p a n y’s r e p ort e d G A A P fi n a n ci al r es ults.
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F o r w a r d- L o o ki n g St at e m e nts

T his pr ess r el e as e c o nt ai ns f or w ar d-l o o ki n g st at e m e nts, i n cl u di n g, b ut n ot li mit e d t o, t h e C o m p a n y's pr o gr ess a n d a nti ci p at e d pr o gr ess
t o w ar ds its l o n g-t er m o bj e cti v es. M a n y of t h es e f or w ar d-l o o ki n g st at e m e nts c a n b e i d e ntifi e d b y us e of w or ds s u c h as m a y, will, e x p e ct,
a nti ci p at e, a p pr o xi m at e, esti m at e, ass u m e, c o nti n u e, m o d el, pr oj e ct, pl a n, g o al, a n d si mil ar w or ds a n d p hr as es. T h e C o m p a n y’s a ct u al r es ults
a n d f ut ur e fi n a n ci al c o n diti o n m a y diff er m at eri all y fr o m t h os e e x pr ess e d i n a n y s u c h f or w ar d-l o o ki n g st at e m e nts as a r es ult of m a n y f a ct ors.
S u c h f a ct ors i n cl u d e, wit h o ut li mit ati o n: g e n er al e c o n o mi c c o n diti o ns i n cl u di n g t h e h o usi n g m ar k et, a c h all e n gi n g o v er all m a cr o e c o n o mi c
e n vir o n m e nt a n d r el at e d c h a n g es i n t h e r et aili n g e n vir o n m e nt; c o ns u m er pr ef er e n c es, s p e n di n g h a bits a n d a d o pti o n of n e w t e c h n ol o gi es;
d e m o gr a p hi cs a n d ot h er m a cr o e c o n o mi c f a ct ors t h at m a y i m p a ct t h e l e v el of s p e n di n g f or t h e t y p es of m er c h a n dis e s ol d b y t h e C o m p a n y;
ci vil dist ur b a n c es a n d t err orist a cts; u n us u al w e at h er p att er ns a n d n at ur al dis ast ers; c o m p etiti o n fr o m e xisti n g a n d p ot e nti al c o m p etit ors
a cr oss all c h a n n els; pri ci n g pr ess ur es; li q ui dit y; t h e a bilit y t o a c hi e v e a nti ci p at e d c ost s a vi n gs, a n d t o n ot e x c e e d a nti ci p at e d c osts, ass o ci at e d
wit h or g a ni z ati o n al c h a n g es a n d i n v est m e nts; t h e a bilit y t o attr a ct a n d r et ai n q u alifi e d e m pl o y e es i n all ar e as of t h e or g a ni z ati o n; t h e c ost of
l a b or, m er c h a n dis e a n d ot h er c osts a n d e x p e ns es; p ot e nti al s u p pl y c h ai n disr u pti o n d u e t o tr a d e r estri cti o ns, p oliti c al i nst a bilit y, l a b or
dist ur b a n c es, pr o d u ct r e c alls, fi n a n ci al or o p er ati o n al i nst a bilit y of s u p pli ers or c arri ers, a n d ot h er it e ms; t h e a bilit y t o fi n d s uit a bl e l o c ati o ns
at a c c e pt a bl e o c c u p a n c y c osts a n d ot h er t er ms t o s u p p ort t h e C o m p a n y’s pl a ns f or n e w st or es; t h e a bilit y t o est a blis h a n d pr ofit a bl y m ai nt ai n
t h e a p pr o pri at e mi x of di git al a n d p h ysi c al pr es e n c e i n t h e m ar k ets it s er v es; t h e a bilit y t o ass ess a n d i m pl e m e nt t e c h n ol o gi es i n s u p p ort of t h e
C o m p a n y’s d e v el o p m e nt of its o m ni c h a n n el c a p a biliti es; u n c ert ai nt y i n fi n a n ci al m ar k ets; v ol atilit y i n t h e pri c e of t h e C o m p a n y’s c o m m o n
st o c k a n d its eff e ct, a n d t h e eff e ct of ot h er f a ct ors, o n t h e C o m p a n y’s c a pit al all o c ati o n str at e g y; ris ks ass o ci at e d wit h t h e a bilit y t o a c hi e v e a
s u c c essf ul o ut c o m e f or its b usi n ess c o n c e pts a n d t o ot h er wis e a c hi e v e its b usi n ess str at e gi es; t h e i m p a ct of i nt a n gi bl e ass et a n d ot h er
i m p air m e nts; disr u pti o ns t o t h e C o m p a n y’s i nf or m ati o n t e c h n ol o g y s yst e ms i n cl u di n g b ut n ot li mit e d t o s e c urit y br e a c h es of s yst e ms
pr ot e cti n g c o ns u m er a n d e m pl o y e e i nf or m ati o n or ot h er t y p es of c y b er cri m es or c y b ers e c urit y att a c ks; r e p ut ati o n al ris k arisi n g fr o m
c h all e n g es t o t h e C o m p a n y’s or a t hir d p art y pr o d u ct or s er vi c e s u p pli er’s c o m pli a n c e wit h v ari o us l a ws, r e g ul ati o ns or st a n d ar ds, i n cl u di n g
t h os e r el at e d t o l a b or, h e alt h, s af et y, pri v a c y or t h e e n vir o n m e nt; r e p ut ati o n al ris k arisi n g fr o m t hir d- p art y m er c h a n dis e or s er vi c e v e n d or
p erf or m a n c e i n dir e ct h o m e d eli v er y or ass e m bl y of pr o d u ct f or c ust o m ers; c h a n g es t o st at ut or y, r e g ul at or y a n d l e g al r e q uir e m e nts, i n cl u di n g
wit h o ut li mit ati o n pr o p os e d c h a n g es aff e cti n g i nt er n ati o n al tr a d e; c h a n g es t o, or n e w, t a x l a ws or i nt er pr et ati o n of e xisti n g t a x l a ws; n e w, or
d e v el o p m e nts i n e xisti n g, liti g ati o n, cl ai ms or ass ess m e nts; c h a n g es t o, or n e w, a c c o u nti n g st a n d ar ds; a n d f or ei g n c urr e n c y e x c h a n g e r at e
fl u ct u ati o ns. T h e C o m p a n y d o es n ot u n d ert a k e a n y o bli g ati o n t o u p d at e its f or w ar d-l o o ki n g st at e m e nts.

C O N T A C T S:


I N V E S T O R C O N T A C T: J a n et M. B art h, ( 9 0 8) 6 1 3- 5 8 2 0 O R I R @ b e d b at h. c o m

M E DI A C O N T A C T: D o mi ni c P e n dr y, ( 9 0 8) 8 5 5- 4 2 0 2 or d o mi ni c. p e n dr y @ b e d b at h. c o m
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                                                                      B E D B A T H & B E Y O N D I N C. A N D S U B SI DI A RI E S
                                                                                   C o ns oli d at e d St at e m e nts of O p er ati o ns
                                                                                     (i n t h o us a n ds, e x c e pt p er s h ar e d at a)
                                                                                                        ( u n a u dit e d)


                                                                                                                   T h r e e M o nt hs E n d e d                                     Ni n e M o nt hs E n d e d
                                                                                                    N o v e m b e r 3 0, 2 0 1 9        D e c e m b e r 1, 2 0 1 8    N o v e m b e r 3 0, 2 0 1 9        D e c e m b e r 1, 2 0 1 8

N et s al es                                                                                        $            2, 7 5 9, 3 2 2    $               3, 0 3 2, 2 3 1   $            8, 0 5 1, 7 5 8    $               8, 7 2 0, 9 1 6

C ost of s al es                                                                                                 1, 8 4 5, 4 8 5                    2, 0 2 8, 5 2 1                5, 5 2 3, 7 5 4                    5, 7 6 3, 7 9 7

     Gr oss pr ofit                                                                                                 9 1 3, 8 3 7                    1, 0 0 3, 7 1 0                2, 5 2 8, 0 0 4                    2, 9 5 7, 1 1 9

S elli n g, g e n er al a n d a d mi nistr ati v e e x p e ns es                                                    9 3 1, 8 1 4                       9 5 4, 1 9 7                2, 7 0 5, 4 5 7                    2, 7 4 7, 5 1 9

G o o d will a n d ot h er i m p air m e nts                                                                         1 1, 7 8 1                                —                      4 4 1, 4 0 5                               —

     O p er ati n g (l oss) pr ofit                                                                                 ( 2 9, 7 5 8)                       4 9, 5 1 3                  ( 6 1 8, 8 5 8)                      2 0 9, 6 0 0

I nt er est e x p e ns e, n et                                                                                       1 7, 1 7 9                         2 2, 6 9 1                     4 9, 4 1 9                         5 4, 0 3 4

    ( L oss) e ar ni n gs b ef or e pr o visi o n f or i n c o m e t a x es                                         ( 4 6, 9 3 7)                       2 6, 8 2 2                  ( 6 6 8, 2 7 7)                      1 5 5, 5 6 6

( B e n efit) pr o visi o n f or i n c o m e t a x es                                                                 ( 8, 3 8 5)                          2, 4 6 8                 ( 1 1 9, 8 7 5)                       3 8, 9 9 7

     N et (l oss) e ar ni n gs                                                                      $               ( 3 8, 5 5 2)   $                   2 4, 3 5 4    $             ( 5 4 8, 4 0 2)   $                  1 1 6, 5 6 9


N et (l oss) e ar ni n gs p er s h ar e - B asi c                                                   $                   ( 0. 3 1)   $                       0. 1 8    $                   ( 4. 4 0)   $                       0. 8 6
N et (l oss) e ar ni n gs p er s h ar e - Dil ut e d                                                $                   ( 0. 3 1)   $                       0. 1 8    $                   ( 4. 4 0)   $                       0. 8 6

W ei g ht e d a v er a g e s h ar es o utst a n di n g - B asi c                                                    1 2 3, 0 9 9                       1 3 3, 8 1 1                   1 2 4, 6 8 8                       1 3 5, 0 7 0
W ei g ht e d a v er a g e s h ar es o utst a n di n g - Dil ut e d                                                 1 2 3, 0 9 9                       1 3 3, 9 9 8                   1 2 4, 6 8 8                       1 3 5, 4 2 5

Di vi d e n ds d e cl ar e d p er s h ar e                                                          $                    0. 1 7     $                       0. 1 6    $                    0. 5 1     $                       0. 4 8
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                                                                    B E D B A T H & B E Y O N D I N C. A N D S U B SI DI A RI E S
                                                                                                C o ns oli d at e d B al a n c e S h e ets
                                                                                          (i n t h o us a n ds, e x c e pt p er s h ar e d at a)
                                                                                                             ( u n a u dit e d)


                                                                                                                                                   N o v e m b e r 3 0, 2 0 1 9          D e c e m b e r 1, 2 0 1 8
Ass ets

C urr e nt ass ets:
     C as h a n d c as h e q ui v al e nts                                                                                                         $                9 0 0, 0 7 7     $                   7 6 2, 5 1 3
    S h ort t er m i n v est m e nt s e c uriti es                                                                                                                           —                           2 3 8, 2 6 7
      M er c h a n dis e i n v e nt ori es                                                                                                                       2, 5 4 3, 2 4 7                      3, 0 0 5, 5 4 8
    Pr e p ai d e x p e ns es a n d ot h er c urr e nt ass ets                                                                                                      3 6 1, 1 1 6                         4 7 4, 2 8 5

          T ot al c urr e nt ass ets                                                                                                                             3, 8 0 4, 4 4 0                      4, 4 8 0, 6 1 3

L o n g t er m i n v est m e nt s e c uriti es                                                                                                                        2 0, 1 0 3                           1 9, 8 1 7
Pr o p ert y a n d e q ui p m e nt, n et                                                                                                                         1, 7 4 9, 5 4 3                      1, 8 6 6, 0 8 6
O p er ati n g l e as e ass ets                                                                                                                                  1, 9 4 7, 0 0 8                                  —
G o o d will                                                                                                                                                                 —                           7 1 6, 2 8 3
Ot h er ass ets                                                                                                                                                     4 9 0, 8 9 4                         4 5 3, 9 4 5

                                                                                                                                                   $             8, 0 1 1, 9 8 8     $                7, 5 3 6, 7 4 4

Li a biliti es a n d S h a r e h ol d e rs' E q uit y

C urr e nt li a biliti es:
     A c c o u nts p a y a bl e                                                                                                                    $             1, 2 1 0, 2 7 4     $                1, 5 5 4, 3 5 3
     A c cr u e d e x p e ns es a n d ot h er c urr e nt li a biliti es                                                                                             6 9 0, 8 9 0                         7 9 3, 9 1 6
      M er c h a n dis e cr e dit a n d gift c ar d li a biliti es                                                                                                  3 3 7, 5 1 5                         3 3 0, 7 5 9
     C urr e nt o p er ati n g l e as e li a biliti es                                                                                                              4 5 9, 3 6 4                                  —

          T ot al c urr e nt li a biliti es                                                                                                                      2, 6 9 8, 0 4 3                      2, 6 7 9, 0 2 8

Ot h er li a biliti es                                                                                                                                              1 8 5, 2 4 7                         4 0 7, 9 5 3
I n c o m e t a x es p a y a bl e                                                                                                                                     4 1, 8 5 6                           5 4, 0 6 1
O p er ati n g l e as e li a biliti es                                                                                                                           1, 7 5 0, 3 5 3                                  —
L o n g t er m d e bt                                                                                                                                            1, 4 8 8, 2 8 4                      1, 4 9 2, 4 2 7

          T ot al li a biliti es                                                                                                                                 6, 1 6 3, 7 8 3                      4, 6 3 3, 4 6 9

S h ar e h ol d ers' e q uit y:

     Pr ef err e d st o c k - $ 0. 0 1 p ar v al u e; a ut h ori z e d - 1, 0 0 0 s h ar es; n o s h ar es iss u e d or o utst a n di n g                                   —                                    —

     C o m m o n st o c k - $ 0. 0 1 p ar v al u e; a ut h ori z e d - 9 0 0, 0 0 0 s h ar es; iss u e d 3 4 4, 0 7 7 a n d 3 4 2, 6 5 7
       s h ar es, r es p e cti v el y; o utst a n di n g 1 2 6, 9 6 1 a n d 1 3 7, 4 7 2 s h ar es, r es p e cti v el y                                                 3, 4 4 0                             3, 4 2 7
     A d diti o n al p ai d-i n c a pit al                                                                                                                       2, 1 5 5, 5 0 0                      2, 1 0 8, 7 9 0
     R et ai n e d e ar ni n gs                                                                                                                                1 0, 4 6 0, 8 1 0                    1 1, 3 8 8, 9 1 0
     Tr e as ur y st o c k, at c ost; 2 1 7, 1 1 6 a n d 2 0 5, 1 8 5 s h ar es, r es p e cti v el y                                                          ( 1 0, 7 1 5, 1 7 7)                 ( 1 0, 5 3 8, 4 3 0)
     A c c u m ul at e d ot h er c o m pr e h e nsi v e l oss                                                                                                        ( 5 6, 3 6 8)                        ( 5 9, 4 2 2)

T ot al s h ar e h ol d ers' e q uit y                                                                                                                           1, 8 4 8, 2 0 5                      2, 9 0 3, 2 7 5


                                                                                                                                                   $             8, 0 1 1, 9 8 8     $                7, 5 3 6, 7 4 4
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                                                                    B E D B A T H & B E Y O N D I N C. A N D S U B SI DI A RI E S
                                                                                           C o ns oli d at e d St at e m e nts of C as h Fl o ws
                                                                                                     (i n t h o us a n ds, u n a u dit e d)

                                                                                                                                                                                Ni n e M o nt hs E n d e d
                                                                                                                                                               N o v e m b e r 3 0, 2 0 1 9          D e c e m b e r 1, 2 0 1 8
C as h Fl o ws fr o m O p er ati n g A cti viti es:

     N et (l oss) e ar ni n gs                                                                                                                                $               ( 5 4 8, 4 0 2)    $                  1 1 6, 5 6 9
   A dj ust m e nts t o r e c o n cil e n et (l oss) e ar ni n gs t o n et c as h pr o vi d e d b y o p er ati n g a cti viti es:
          D e pr e ci ati o n a n d a m orti z ati o n                                                                                                                          2 5 5, 1 2 1                        2 4 6, 4 8 2
          G o o d will a n d ot h er i m p air m e nts                                                                                                                          4 4 1, 4 0 5                                 —
          G ai n o n s al e of a b uil di n g                                                                                                                                            —                           ( 2 9, 6 9 0)
         St o c k- b as e d c o m p e ns ati o n                                                                                                                                  3 6, 1 1 2                          4 9, 2 6 8
          D ef err e d i n c o m e t a x es                                                                                                                                      ( 8 5, 6 2 6)                            ( 2 1 4)
          Ot h er                                                                                                                                                                  ( 3, 6 7 1)                         ( 2, 1 6 2)
          D e cr e as e (i n cr e as e) i n ass ets:
              M er c h a n dis e i n v e nt ori es                                                                                                                               7 5, 7 8 7                        ( 2 7 9, 8 3 7)
             Tr a di n g i n v est m e nt s e c uriti es                                                                                                                                21                              1, 6 5 1
             Ot h er c urr e nt ass ets                                                                                                                                       ( 1 1 3, 4 7 6)                         8 8, 2 2 0
             Ot h er ass ets                                                                                                                                                      ( 4, 0 2 9)                              872
        I n cr e as e ( d e cr e as e) i n li a biliti es:
             A c c o u nts p a y a bl e                                                                                                                                         1 4 5, 9 8 8                        4 0 1, 7 8 5
             A c cr u e d e x p e ns es a n d ot h er c urr e nt li a biliti es                                                                                                   6 9, 8 3 1                          9 6, 7 0 2
              M er c h a n dis e cr e dit a n d gift c ar d li a biliti es                                                                                                         ( 1, 8 1 7)                          7, 4 4 9
           I n c o m e t a x es p a y a bl e                                                                                                                                     ( 2 7, 8 7 2)                         ( 7, 2 6 6)
             O p er ati n g l e as e ass ets a n d li a biliti es, n et                                                                                                           1 4, 2 4 0                                 —
             Ot h er li a biliti es                                                                                                                                                 3, 5 1 5                         ( 2 4, 3 9 4)

     N et c as h pr o vi d e d b y o p er ati n g a cti viti es                                                                                                                 2 5 7, 1 2 7                        6 6 5, 4 3 5

C as h Fl o ws fr o m I n v esti n g A cti viti es:

    P ur c h as e of h el d-t o- m at urit y i n v est m e nt s e c uriti es                                                                                                    ( 5 7, 0 0 0)                      ( 2 4 6, 4 2 5)
    R e d e m pti o n of h el d-t o- m at urit y i n v est m e nt s e c uriti es                                                                                               5 4 5, 0 0 0                         3 8 5, 1 2 5
    C a pit al e x p e n dit ur es                                                                                                                                            ( 1 8 8, 3 5 2)                      ( 2 5 6, 4 9 0)
    Pr o c e e ds fr o m s al e of a b uil di n g                                                                                                                                       —                             1 1, 1 8 3

     N et c as h pr o vi d e d b y ( us e d i n) i n v esti n g a cti viti es                                                                                                   2 9 9, 6 4 8                       ( 1 0 6, 6 0 7)

C as h Fl o ws fr o m Fi n a n ci n g A cti viti es:

    P a y m e nt of di vi d e n ds                                                                                                                                              ( 6 4, 3 4 0)                        ( 6 4, 8 7 7)
    R e p ur c h as e of c o m m o n st o c k, i n cl u di n g f e es                                                                                                           ( 9 9, 1 3 2)                        ( 7 0, 4 5 8)

     N et c as h us e d i n fi n a n ci n g a cti viti es                                                                                                                     ( 1 6 3, 4 7 2)                      ( 1 3 5, 3 3 5)

    Eff e ct of e x c h a n g e r at e c h a n g es o n c as h, c as h e q ui v al e nts a n d r estri ct e d c as h                                                                  113                              ( 7, 1 2 0)

     N et i n cr e as e i n c as h, c as h e q ui v al e nts a n d r estri ct e d c as h                                                                                        3 9 3, 4 1 6                        4 1 6, 3 7 3

C as h, c as h e q ui v al e nts a n d r estri ct e d c as h:
     B e gi n ni n g of p eri o d                                                                                                                                               5 2 9, 9 7 1                        3 6 7, 1 4 0
    E n d of p eri o d                                                                                                                                        $                 9 2 3, 3 8 7     $                  7 8 3, 5 1 3
  T h e Fis c al Y e ar 2 0 1 8 c o ns oli d at e d st at e m e nt of c as h fl o ws w as r e vis e d t o i n cl u d e r estri ct e d c as h d u e t o t h e a d o pti o n of A c c o u nti n g St a n d ar ds U p d at e 2 0 1 6- 1 8
                                                                          St at e m e nt of C as h Fl o ws ( T o pi c 2 3 0) i n Fis c al Y e ar 2 0 1 8.
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N o n- G A A P Fi n a n ci al M e as u r es

T h e f oll o wi n g t a bl e r e c o n cil es n o n- G A A P fi n a n ci al m e as ur es pr es e nt e d i n t his pr ess r el e as e or t h at m a y b e pr es e nt e d o n t h e C o m p a n y’s t hir d
q u art er c o nf er e n c e c all wit h a n al ysts a n d i n v est ors. T h e C o m p a n y b eli e v es t h at t h es e n o n- G A A P fi n a n ci al m e as ur es pr o vi d e m a n a g e m e nt,
a n al ysts, i n v est ors a n d ot h er us ers of t h e C o m p a n y’s fi n a n ci al i nf or m ati o n wit h m e a ni n gf ul s u p pl e m e nt al i nf or m ati o n r e g ar di n g t h e
p erf or m a n c e of t h e C o m p a n y’s b usi n ess. T h es e n o n- G A A P fi n a n ci al m e as ur es s h o ul d n ot b e c o nsi d er e d s u p eri or t o, b ut i n a d diti o n t o ot h er
fi n a n ci al m e as ur es pr e p ar e d b y t h e C o m p a n y i n a c c or d a n c e wit h G A A P, i n cl u di n g t h e y e ar-t o- y e ar r es ults. T h e C o m p a n y’s m et h o d of
d et er mi ni n g t h es e n o n- G A A P fi n a n ci al m e as ur es m a y b e diff er e nt fr o m ot h er c o m p a ni es’ m et h o ds a n d, t h er ef or e, m a y n ot b e c o m p ar a bl e t o
t h os e us e d b y ot h er c o m p a ni es a n d t h e C o m p a n y d o es n ot r e c o m m e n d t h e s ol e us e of t his n o n- G A A P m e as ur e t o ass ess its fi n a n ci al a n d
e ar ni n gs p erf or m a n c e. T h e C o m p a n y h as n ot pr e vi o usl y pr es e nt e d n o n- G A A P fi n a n ci al m e as ur es r e g ar di n g its r es ults f or its fis c al 2 0 1 8 t hir d
q u art er. F or r e as o ns n ot e d a b o v e, t h e C o m p a n y is pr es e nti n g c ert ai n n o n- G A A P fi n a n ci al m e as ur es f or its fis c al 2 0 1 9 t hir d q u art er. I n or d er
f or i n v est ors t o b e a bl e t o m or e e asil y c o m p ar e t h e C o m p a n y’s p erf or m a n c e a cr oss p eri o ds, t h e C o m p a n y h as i n cl u d e d c o m p ar a bl e
r e c o n cili ati o ns f or t h e 2 0 1 8 p eri o d i n t h e r e c o n cili ati o n t a bl es b el o w.

                                                                                            N o n- G A A P R e c o n cili ati o n
                                                                                     (i n t h o us a n ds, e x c e pt p er s h ar e d at a)
                                                                                                        ( u n a u dit e d)

                                                                                                                 T h r e e M o nt hs E n d e d                                     Ni n e M o nt hs E n d e d
                                                                                                  N o v e m b e r 3 0, 2 0 1 9        D e c e m b e r 1, 2 0 1 8   N o v e m b e r 3 0, 2 0 1 9       D e c e m b e r 1, 2 0 1 8
R e c o n cili ati o n of A dj ust e d G r oss P r ofit

R e p ort e d gr oss pr ofit                                                                  $                 9 1 3, 8 3 7      $             1, 0 0 3, 7 1 0    $          2, 5 2 8, 0 0 4     $             2, 9 5 7, 1 1 9

A dj ust m e nts:
I n cr e m e nt al i n v e nt or y r es er v e f or f ut ur e m ar k d o w ns                                   ( 2 3, 9 1 5)                              —                     1 6 9, 8 2 0                               —
T ot al a dj ust m e nts                                                                                        ( 2 3, 9 1 5)                              —                     1 6 9, 8 2 0                               —


A dj ust e d gr oss pr ofit                                                                   $                 8 8 9, 9 2 2      $             1, 0 0 3, 7 1 0    $          2, 6 9 7, 8 2 4     $             2, 9 5 7, 1 1 9


R e c o n cili ati o n of A dj ust e d G r oss M a r gi n

R e p ort e d gr oss m ar gi n                                                                                       3 3. 1 %                           3 3. 1 %                       3 1. 4 %                          3 3. 9 %

A dj ust m e nts:
I n cr e m e nt al i n v e nt or y r es er v e f or f ut ur e m ar k d o w ns                                         ( 0. 8) %                            — %                           2. 1 %                             — %
T ot al a dj ust m e nts                                                                                              ( 0. 8) %                            — %                           2. 1 %                             — %


A dj ust e d gr oss m ar gi n                                                                                        3 2. 3 %                           3 3. 1 %                       3 3. 5 %                          3 3. 9 %


R e c o n cili ati o n of A dj ust e d S elli n g, G e n e r al a n d A d mi nist r ati v e E x p e ns es

R e p ort e d s elli n g, g e n er al a n d a d mi nistr ati v e e x p e ns es                $                 9 3 1, 8 1 4      $                9 5 4, 1 9 7    $          2, 7 0 5, 4 5 7     $             2, 7 4 7, 5 1 9

A dj ust m e nts:
S e v er a n c e c osts                                                                                                 —                                   —                     ( 6 1, 1 9 9)                     ( 1 3, 8 9 2)
S h ar e h ol d er a cti vit y c osts                                                                                   —                                   —                       ( 8, 0 0 0)                             —
G ai n o n s al e of a b uil di n g                                                                                     —                            2 8, 2 8 1                           —                          2 8, 2 8 1
T ot al a dj ust m e nts                                                                                                —                            2 8, 2 8 1                   ( 6 9, 1 9 9)                      1 4, 3 8 9


A dj ust e d s elli n g, g e n er al a n d a d mi nistr ati v e e x p e ns es                 $                 9 3 1, 8 1 4      $                9 8 2, 4 7 8    $          2, 6 3 6, 2 5 8     $             2, 7 6 1, 9 0 8
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                                                                                                                     T h r e e M o nt hs E n d e d                                     Ni n e M o nt hs E n d e d
                                                                                                      N o v e m b e r 3 0, 2 0 1 9       D e c e m b e r 1, 2 0 1 8    N o v e m b e r 3 0, 2 0 1 9        D e c e m b e r 1, 2 0 1 8

R e c o n cili ati o n of A dj ust e d S elli n g, G e n e r al a n d A d mi nist r ati v e E x p e ns es as a P e r c e nt of N et S al es

R e p ort e d s elli n g, g e n er al a n d a d mi nistr ati v e e x p e ns es as a p er c e nt
of n et s al es                                                                                                           3 3. 8 %                          3 1. 5 %                       3 3. 6 %                          3 1. 5 %

A dj ust m e nts:
S e v er a n c e c osts                                                                                                      — %                               — %                         ( 0. 8) %                          ( 0. 1) %
S h ar e h ol d er a cti vit y c osts                                                                                        — %                               — %                         ( 0. 1) %                            — %
G ai n o n s al e of a b uil di n g                                                                                          — %                              0. 9 %                         — %                               0. 3 %
T ot al a dj ust m e nts                                                                                                     — %                              0. 9 %                       ( 0. 9) %                           0. 2 %

A dj ust e d s elli n g, g e n er al a n d a d mi nistr ati v e e x p e ns es as a p er c e nt
of n et s al es                                                                                                           3 3. 8 %                          3 2. 4 %                       3 2. 7 %                          3 1. 7 %


R e c o n cili ati o n of A dj ust e d Eff e cti v e I n c o m e T a x R at e

R e p ort e d eff e cti v e i n c o m e t a x r at e                                                                      1 7. 9 %
I m p a ct o n o p er ati n g l oss a n d b e n efit f or i n c o m e t a x es of g o o d will
a n d ot h er i m p air m e nts a n d i n cr e m e nt al i n v e nt or y r es er v e f or f ut ur e
m ar k d o w ns                                                                                                             2. 7 %
A dj ust e d eff e cti v e i n c o m e t a x r at e                                                                       2 0. 6 %


R e c o n cili ati o n of A dj ust e d N et ( L oss) E a r ni n gs

R e p ort e d n et (l oss) e ar ni n gs                                                               $             ( 3 8, 5 5 2)    $                  2 4, 3 5 4     $           ( 5 4 8, 4 0 2)     $                1 1 6, 5 6 9

Pr e-t a x A dj ust m e nts:
I n cr e m e nt al i n v e nt or y r es er v e f or f ut ur e m ar k d o w ns                                        ( 2 3, 9 1 5)                             —                     1 6 9, 8 2 0                               —
S e v er a n c e c osts                                                                                                      —                                 —                       6 1, 1 9 9                        1 3, 8 9 2
G o o d will a n d ot h er i m p air m e nts ( a)                                                                     1 1, 7 8 1                               —                     4 4 1, 4 0 5                               —
S h ar e h ol d er a cti vit y c osts                                                                                        —                                 —                         8, 0 0 0                               —
G ai n o n s al e of a b uil di n g                                                                                          —                         ( 2 8, 2 8 1)                          —                         ( 2 8, 2 8 1)
T ot al pr e-t a x a dj ust m e nts                                                                                  ( 1 2, 1 3 4)                     ( 2 8, 2 8 1)                 6 8 0, 4 2 4                       ( 1 4, 3 8 9)

T a x i m p a ct of a dj ust m e nts                                                                                    3, 7 8 6                          6, 5 9 8                  ( 1 2 1, 5 6 5)                         3, 8 3 0

T ot al a dj ust m e nts, aft er t a x                                                                                ( 8, 3 4 8)                      ( 2 1, 6 8 3)                 5 5 8, 8 5 9                       ( 1 0, 5 5 9)


A dj ust e d n et (l oss) e ar ni n gs                                                                $             ( 4 6, 9 0 0)    $                    2, 6 7 1     $               1 0, 4 5 7      $                1 0 6, 0 1 0


R e c o n cili ati o n of A dj ust e d N et ( L oss) E a r ni n gs p e r Dil ut e d S h a r e

R e p ort e d n et (l oss) e ar ni n gs p er dil ut e d s h ar e                                      $                 ( 0. 3 1)    $                      0. 1 8     $                 ( 4. 4 0)     $                     0. 8 6
G o o d will a n d ot h er i m p air m e nts, s e v er a n c e, s h ar e h ol d er a cti vit y
c osts, i n cr e m e nt al i n v e nt or y r es er v e f or f ut ur e m ar k d o w ns a n d
g ai n o n s al e of a b uil di n g
                                                                                                                        ( 0. 0 7)                         ( 0. 1 6)                        4. 4 8                           ( 0. 0 8)
A dj ust e d n et (l oss) e ar ni n gs p er dil ut e d s h ar e                                       $                 ( 0. 3 8)    $                      0. 0 2     $                   0. 0 8      $                     0. 7 8
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( a) G o o d will a n d ot h er i m p air m e nts i n cl u d e: ( 1) g o o d will, tr a d e n a m e a n d st or e ass et i m p air m e nts r el at e d t o t h e N ort h A m eri c a n R et ail r e p orti n g u nit; a n d ( 2)
    tr a d e n a m e i m p air m e nts r el at e d t o t h e I nstit uti o n al S al es r e p orti n g u nit.
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                                        E x hi bit 9 9. 2 1
                                                                              Case 2:20-cv-08673-MCA-MAH Document 27-5 Filed 01/04/22 Page 15 of 160 PageID: 643




T hi s pr e s e nt ati o n c o nt ai n s f or w ar d-l o o ki n g st at e m e nt s, i n cl u di n g, b ut n ot li mit e d t o, t h e C o m p a n y' s pr o gr e s s a n d a nti ci p at e d pr o gr e s s t o w ar d s it s l o n g-t er m o bj e cti v e s. M a n y of t h e s ef or w ar d-l o o ki n g st at e m e nt s c a n b e i d e ntifi e d b y u s e of w or d s s u c h a s m a y, will, e x p e ct, a nti ci p at e, a p pr o xi m at e, e sti m at e, a s s u m e, c o nti n u e, m o d el, pr oj e ct, pl a n, g o al, a n d si mil ar w or d s a n d p hr a s e s. T h e C o m p a n y’ s a ct u al r e s ult s a n d f ut ur e fi n a n ci al c o n diti o n m a y diff er m at eri all y fr o m t h o s e e x pr e s s e d i n a n y s u c h f or w ar d-l o o ki n g st at e m e nt s a s a r e s ult of m a n y f a ct or s. S u c h f a ct or s i n cl u d e, wit h o ut li mit ati o n: g e n er al e c o n o mi c c o n diti o n s i n cl u di n g t h e h o u si n g m ar k et, a c h all e n gi n g o v er all m a cr o e c o n o mi c e n vir o n m e nt a n d r el at e d c h a n g e s i n t h e r et aili n g e n vir o n m e nt; c o n s u m er pr ef er e n c e s, s p e n di n g h a bit s a n d a d o pti o n of n e w t e c h n ol o gi e s; d e m o gr a p hi c s a n d ot h er m a cr o e c o n o mi c f a ct or s t h at m a y i m p a ct t h e l e v el of s p e n di n g f or t h e t y p e s of m er c h a n di s e s ol d b y t h e C o m p a n y; ci vil di st ur b a n c e s a n d t err ori st a ct s; u n u s u al w e at h er p att er n s a n d n at ur al di s a st er s; c o m p etiti o n fr o m e xi sti n g a n d p ot e nti al c o m p etit or s a cr o s s all c h a n n el s; pri ci n g pr e s s ur e s; li q ui dit y; t h e a bilit y t o a c hi e v e a nti ci p at e d c o st s a vi n g s, a n d t o n ot e x c e e d a nti ci p at e d c o st s, a s s o ci at e d wit h or g a ni z ati o n al c h a n g e s a n d i n v e st m e nt s; t h e a bilit y t o attr a ct a n d r et ai n q u alifi e d e m pl o y e e s i n all ar e a s of t h e or g a ni z ati o n; t h e c o st of l a b or, m er c h a n di s e a n d ot h er c o st s a n d e x p e n s e s; p ot e nti al s u p pl y c h ai n di sr u pti o n d u e t o tr a d e r e stri cti o n s, p oliti c al i n st a bilit y, l a b or di st ur b a n c e s, pr o d u ct r e c all s, fi n a n ci al or o p er ati o n al i n st a bilit y of s u p pli er s or c arri er s, a n d ot h er it e m s; t h e a bilit y t o fi n d s uit a bl e l o c ati o n s at a c c e pt a bl e o c c u p a n c y c o st s a n d ot h er t er m s t o s u p p ort t h e C o m p a n y’ s pl a n s f or n e w st or e s; t h e a bilit y t o e st a bli s h a n d pr ofit a bl y m ai nt ai n t h e a p pr o pri at e mi x of di git al a n d p h y si c al pr e s e n c e i n t h e m ar k et s it s er v e s; t h e a bilit y t o a s s e s s a n d i m pl e m e nt t e c h n ol o gi e s i n s u p p ort of t h e C o m p a n y’ s

                                                                                                                                                                                                                                                                                                                                                                        d e v el o p m e nt of it s o m ni c h a n n el c a p a biliti e s;   u n c ert ai nt y i n fi n a n ci al m ar k et s; v ol atilit y i n t h e pri c e of t h e C o m p a n y’ s c o m m o n st o c k a n d it s eff e ct, a n d t h e eff e ct of ot h er f a ct or s, o n t h e C o m p a n y’ s c a pit al all o c ati o n str at e g y; ri s k s a s s o ci at e d wit h t h e a bilit y t o a c hi e v e a s u c c e s sf ul o ut c o m e f or it s b u si n e s s c o n c e pt s a n d t o ot h er wi s e a c hi e v e it s b u si n e s s str at e gi e s; t h e i m p a ct of i nt a n gi bl e a s s et a n d ot h er i m p air m e nt s; di sr u pti o n s t o t h e C o m p a n y’ s i nf or m ati o n t e c h n ol o g y s y st e m s i n cl u di n g b ut n ot li mit e d t o s e c urit y br e a c h e s of s y st e m s pr ot e cti n g c o n s u m er a n d e m pl o y e e i nf or m ati o n or ot h er t y p e s of c y b er cri m e s or c y b er s e c urit y att a c k s; r e p ut ati o n al ri s k ari si n g fr o m c h all e n g e s t o t h e C o m p a n y’ s or a t hir d p art y pr o d u ct or s er vi c e s u p pli er’ s c o m pli a n c e wit h v ari o u s l a w s, r e g ul ati o n s or st a n d ar d s, i n cl u di n g t h o s e r el at e d t o l a b or, h e alt h, s af et y, pri v a c y or t h e e n vir o n m e nt; r e p ut ati o n al ri s k ari si n g fr o m t hir d- p art y m er c h a n di s e or s er vi c e v e n d or   p erf or m a n c e i n dir e ct h o m e d eli v er y or a s s e m bl y of pr o d u ct f or c u st o m er s; c h a n g e s t o st at ut or y, r e g ul at or y a n d l e g al r e q uir e m e nt s, i n cl u di n g wit h o ut li mit ati o n pr o p o s e d c h a n g e s aff e cti n g i nt er n ati o n al tr a d e; c h a n g e s t o, or n e w, t a x l a w s or i nt er pr et ati o n of e xi sti n g t a x l a w s; n e w, or d e v el o p m e nt s i n e xi sti n g, liti g ati o n, cl ai m s or a s s e s s m e nt s; c h a n g e s t o, or n e w, a c c o u nti n g st a n d ar d s; a n d f or ei g n c urr e n c y e x c h a n g e r at e fl u ct u ati o n s. T h e C o m p a n y d o e s n ot u n d ert a k e a n y o bli g ati o n t o u p d at e it s f or w ar d-l o o ki n g st at e m e nt s. 2
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                                    Fir st 6 6 D a y s of N e w Pr e si d e nt & C E O 4 A p pr o a c h t o S etti n g F ut ur e Str at e g y 5 A cti o n s T a k e n 6 F Y 2 0 1 9 Q 3 Fi n a n ci al R e s ult s S u m m ar y 7 O utl o o k 1 0 N o n- R o uti n e It e m s 1 1 N o n- G A A P R e c o n cili ati o n T a bl e s 1 2 3
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                         Arri v e d i n U ni o n, N e w J er s e y o n N o v e m b er 4, 2 0 1 9 F ull y I m m er s e d i n t h e B u si n e s s ▪ A s s e s si n g o p er ati o n s, p ortf oli o, c a p a biliti e s a n d c ult ur e ▪ E n g a gi n g wit h a s s o ci at e s – r e c ei v e d w ar m r e c e pti o n a n d o p e n i n vit ati o n t o cr e at e a n d l e a d c h a n g e ▪ E n g a gi n g wit h c u st o m er s – li st e n e d a n d r e s p o n d e d dir e ctl y t o m a n y c u st o m er c o n c er n s I niti al E nt h u si a s m Affir m e d ▪ B e d B at h & B e y o n d i s a hi g hl y r e c o g ni z e d a n d b el o v e d br a n d ▪ W e h a v e p a s si o n at e a s s o ci at e s a n d c u st o m er s ▪ W e h a v e s u b st a nti al s c al e, wit h > 1, 0 0 0 st or e s a cr o s s t h e U. S. a n d C a n a d a, a n d str o n g br a n d a w ar e n e s s a m o n g c u st o m er s ▪ O ur b u si n e s s m o d el i s s u p p ort e d b y a str o n g b al a n c e s h e et a n d si g nifi c a nt c a s h fl o w g e n er ati o n 4
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                               O bj e cti v el y l o o ki n g at t h e b u si n e s s a n d m a ki n g b ol d pi v ot s t o r e c o n str u ct, r e n o v at e a n d r e st or e o ur C o m p a n y   ❑ ❑ ❑ •   W e ar e e x p eri e n ci n g s h ort-t er m p ai n •   W e ar e m a ki n g b ol d a n d br o a d- b a s e d c h a n g e s t o m o d er ni z e o ur b u si n e s s •   W e h a v e a s oli d b al a n c e s h e et •   W e will h a v e a r el e ntl e s s f o c u s o n o ur c u st o m er •   W e will a ct a s a tr u e o m ni- c h a n n el r et ail er •   W e will b e a gil e a n d t a k e a m e a s ur e d a p pr o a c h 5
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              W e r e m ai n f o c u s e d o n a c c el er ati n g o ur e xt e n si v e tr a n sf or m ati o n eff ort s a n d dri vi n g a g ai n st o ur n e ar-t er m pri oriti e s t o g e n er at e s a vi n g s a n dr ei n v e st f or f ut ur e gr o wt h R e vi e wi n g a n d O pti mi zi n g O ur A s s et B a s e C o m pl et e d R e al E st at e S al e- L e a s e b a c k Tr a n s a cti o n • G e n er at e d n et pr o c e e d s of > $ 2 5 0 M• Pr o p erti e s s ol d r e pr e s e nt ~ 2. 1 M s q ft. of c o m m er ci al s p a c e, i n cl u di n g 1 2 r et ail l o c ati o n s, a di stri b uti o n f a cilit y a n d o ur c or p or at e offi c e s p a c e • W e will c o nti n u e t o o c c u p y t h e s e pr o p erti e s p ur s u a nt t o l o n g-t er m l e a s e s t h at g e n er all y r a n g e fr o m 1 2 t o 1 8 y e ar s • W e will i n c ur a n n u al i n cr e m e nt al pr et a x n et o c c u p a n c y c o st s of $ 1 1 M • B al a n c e s h e et will i n cl u d e ~ $ 1 9 0 M of i n cr e m e nt al l e a s e a s s et s a n d li a biliti e s R efi ni n g O ur Or g a ni z ati o n E xt e n si v e C h a n g e s t o L e a d er s hi p T e a m• D e p art ur e of 6 C E O Dir e ct R e p ort s; R ati o n ali z e d CI O a n d C T O f u n cti o n s i nt o o n e r ol e;I nt eri m l e a d er s a p p oi nt e d i n m er c h a n di si n g, di git al, m ar k eti n g, o w n e d br a n d s a n d l e g al • E xi sti n g e x p erti s e wit h fr e s h p er s p e cti v e s fr o m n e w, i n n o v ati v e l e a d er s of c h a n g e, will h el p u s t o b ett er a nti ci p at e a n d s u p p ort o ur c u st o m er s i n t h eirlif e j o ur n e y s a n d s h o p pi n g n e e d s 6• T h e C o m p a n y i s a cti v el y r e cr uiti n g f or t h e s e r ol e s
                                                                                   Case 2:20-cv-08673-MCA-MAH Document 27-5 Filed 01/04/22 Page 20 of 160 PageID: 648




▪ O n a G A A P b a si s, a n et l o s s p er dil ut e d s h ar e of ( $ 0. 3 1) v s. n et e ar ni n g s p er dil ut e d s h ar e of $ 0. 1 8 i n t h e pri or y e ar p eri o d, w hi c h i n cl u d e d a b e n efit of $ 0. 1 6 fr o m a g ai n o n t h e s al e of a b uil di n g • R e p ort e d n et l o s s i n cl u d e s a n et b e n efit of $ 0. 0 7 p er dil ut e d s h ar e c o n si sti n g of a f a v or a bl e a dj u st m e ntt o t h e C o m p a n y’ s pr e vi o u sl y e st a bli s h e d i n cr e m e nt al i n v e nt or y r e s er v e f or f ut ur e m ar k d o w n s of $ 2 4 M, p arti all y off s et b y a n o n- c a s h c h ar g e of $ 1 2 M f or t h e i m p air m e nt of c ert ai n st or e-l e v el a s s et s • O n a n a dj u st e d b a si s, a n et l o s s p er dil ut e d s h ar e of ( $ 0. 3 8) ▪ N et s al e s of $ 2. 8 B, a d e cr e a s e of 9 %, a n d a c o m p s al e s d e cli n e of 8. 3 %, i n cl u di n g a hi g h- si n gl e di git % d e cli n e i n st or e s, a n d a mi d- si n gl e di git % d e cli n e i n di git al c h a n n el s • S al e s w er e si g nifi c a ntl y i m p a ct e d b y t h e c al e n d ar s hift of t h e T h a n k s gi vi n g h oli d a y w hi c h i n cl u d e d o n el e s s w e e k of h oli d a y s al e s c o m p ar e d t o t h e pri or y e ar p eri o d• A dj u sti n g f or t hi s c al e n d ar s hift t o i n cl u d e T h a n k s gi vi n g a n d C y b er M o n d a y w e e k s i n b ot h p eri o d s,c o m p s al e s d e cli n e d 3. 6 %, wit h a d e cli n e i n st or e s al e s of 6. 5 % a n d gr o wt h i n di git al s al e s of 9. 4 % ▪ A dj u st e d Gr o s s M ar gi n of 3 2. 3 % d e cli n e d 8 0 b p s v s. a dj u st e d Gr o s s M ar gi n i n F Y 2 0 1 8 Q 3, pri m aril y d u e t o a d e cr e a s e i n m er c h a n di s e m ar gi n, dri v e n b y a hi g h er l e v el of pr o m oti o n al a cti vit y i n t h e q u art er, w hi c h w a s p arti all y off s et b y a d e cr e a s e i n n et dir e ct-t o- c u st o m er s hi p pi n g e x p e n s e ▪ A dj u st e d S G & A e x p e n s e d e cli n e d $ 5 1 M, r efl e cti n g pr o gr e s s i n r e s etti n g t h e c o st str u ct ur e, i n cl u di n g l o w er p a yr oll a n d p a yr oll-r el at e d e x p e n s e s a n d l o w er o c c u p a n c y e x p e n s e s, p arti all y off s et b y hi g h er m a n a g e m e nt c o n s ulti n g e x p e n s e s a s s o ci at e d wit h s o m e str at e gi c i niti ati v e s ▪ C a s h a n d i n v e st m e nt s b al a n c e of $ 9 2 0 M at t h e e n d of F Y 2 0 1 9 Q 3 ▪ R et ail i n v e nt ori e s of $ 2. 7 B ( at c o st) at t h e e n d of F Y 2 0 1 9 Q 3, a r e d u cti o n of ~ $ 2 8 9 M or 1 0 % ( at c o st), c o m p ar e d t o t h e e n d of t h e pri or y e ar p eri o d, e x cl u di n g t h e i m p a ct of t h e i n cr e m e nt al i n v e nt or y r e s er v e f or f ut ur e m ar k d o w n s

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 7
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               T hr e e M o nt h s E n d e d N o v e m b er 3 0, 2 0 1 9 % of S al e s D e c e m b er 1, 2 0 1 8 % of S al e s % C h a n g e C o m p S al e s % ( 8. 3)( 1. 8) N et S al e s $ 2, 7 5 9 1 0 0. 0 $ 3, 0 3 2 1 0 0. 0   Gr o s s Pr ofit $ 8 9 0( a) 3 2. 3 $ 1, 0 0 4 3 3. 1 ( 0. 8) ( c) S G & A E x p e n s e s $ 9 3 2 3 3. 8 $ 9 8 2( b) 3 2. 4 ( 1. 4) ( d) O p er ati n g ( L o s s) Pr ofit ( $ 4 2) ( a) ( 1. 5) $ 2 1 ( b) 0. 7 ( 2. 2)( a)( b) ( a m o u nt s i n milli o n s, e x c e pt N et ( L o s s) E ar ni n g s ( $ 4 7) ( 1. 7) $ 3 0. 1 ( 1. 8)( a)( b) c o m p s al e s %, % of s al e s, E P S - Dil ut e d ( $ 0. 3 8) $ 0. 0 2   W A S - Dil ut e d 1 2 3 1 3 4 a n d (l o s s) e ar ni n g s p er s h ar e d at a) ( a) E x cl u d e s t h e a dj u st m e nt t o t h e i n cr e m e nt al i n v e nt or y r e s er v e f or f ut ur e m ar k d o w n a n d t h e st or e i m p air m e nt c h ar g e. ( b) E x cl u d e s t h e g ai n fr o m t h e s al e of a b uil di n g. ( c) A s a p er c e nt a g e of n et s al e s, pri m aril y d u e t o a d e cr e a s e i n m er c h a n di s e m ar gi n, dri v e n b y a hi g h er l e v el of pr o m oti o n al a cti vit y i n t h e q u art er, w hi c h w a s p arti all y off s et b y a d e cr e a s e i n n et dir e ct-t o- c u st o m er s hi p pi n g e x p e n s e.( d) A s a p er c e nt a g e of n et s al e s, t h e 1 4 0 b p s i n cr e a s e w a s pri m aril y d u e t o t h e eff e ct of fi x e d c o st s, s u c h a s o c c u p a n c y a n d t e c h n ol o g y-r el at e d e x p e n s e s, i n cl u di n g d e pr e ci ati o n, o n a l o w er s al e s b a s e, a s w ell a s fr o m hi g h er a d v erti si n g e x p e n s e s. 8
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                      T h e C o m p a n y e x p e ct s it s s al e s a n d pr ofit a bilit y t o r e m ai n A d diti o n al I nf or m ati o n: pr e s s ur e d d uri n g F Y 2 0 1 9 Q 4 • F Y 2 0 1 9 Q 4 pr e-t a x e ar ni n g s will i n cl u d e: – ~ $ 1 1 M of s e v er a n c e e x p e n s e a s s o ci at e d wit h e xt e n si v e C o n si d eri n g t h e s e h e a d wi n d s r efl e ct e d i n t h e C o m p a n y’ s r e s ult s t o d at e, l e a d er s hi p c h a n g e s a n n o u n c e d D e c e m b er 2 0 1 9 a n d t h e o n g oi n g w or k b y r e c e ntl y a p p oi nt e d Pr e si d e nt & C E O M ar k Tritt o n t o a s s e s s t h e b u si n e s s a n d fi n ali z e t h e d et ail s of t h e C o m p a n y' s g o-f or w ar d – ~ $ 3 3 M of a l o s s r el at e d t o t h e s al e-l e a s e b a c k tr a n s a cti o n str at e gi c pl a n a s w ell a s t h e e xt e n si v e s e ni or l e a d er s hi p c h a n g e s wit hi n t h e p a st m o nt h, t h e C o m p a n y b eli e v e s it i s a p pr o pri at e t o wit h dr a w it s F Y 2 0 1 9 • F Y 2 0 1 9 C a pit al E x p e n dit ur e s ar e n o w pl a n n e d t o b e fi n a n ci al g ui d a n c e.l o w er at ~ $ 2 7 5- $ 3 0 0 M v s pri or e sti m at e of ~ $ 3 5 0- $ 3 7 5 M 1 0
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                            F Y 2 0 1 9 F Y 2 0 1 8 N o n- R o uti n e It e m Q 1   Q2   Q3   YT D Q1   Q2   Q3   Q4   Y T DI n cr e m e nt al I n v e nt or y R e s er v e f or F ut ur e- $ 1 9 4( $ 2 4) $ 1 7 0- - - - -   M ar k d o w n s S e v er a n c e C o st s $ 3 9 $ 2 3 - $ 6 2 $ 9 $ 5- - $ 1 4 G o o d will a n d Ot h er $ 4 0 1 $ 2 8 $ 1 2 $ 4 4 1- - - $ 5 1 0 $ 5 1 0I m p air m e nt s S h ar e h ol d er A cti vit y $ 8- - $ 8- - - - -   C o st s G ai n o n S al e of - - - - - - ( $ 2 8) - ( $ 2 8)   B uil di n g T ot al $ 4 4 8 $ 2 4 5( $ 1 2) $ 6 8 1 $ 9 $ 5( $ 2 8) $ 5 1 0 $ 4 9 6 1 1 R ef er t o htt p:// b e d b at h a n d b e y o n d. g c s- w e b. c o m/i n v e st or-r el ati o n s f or n o n- G A A P r e c o n cili ati o n t a bl e s i n cl u d e d i n r el e v a nt q u art erl y pr e s s r el e a s e s.
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    T hr e e M o nt h s E n d e d Ni n e M o nt h s E n d e d N o v e m b er 3 0, D e c e m b er 1, N o v e m b er 3 0, D e c e m b er 1, 2 0 1 9 2 0 1 8 2 0 1 9 2 0 1 8 R e c o n cili ati o n of A dj u st e d Gr o s s Pr ofit R e p ort e d gr o s s pr ofit $ 9 1 3, 8 3 7 $ 1, 0 0 3, 7 1 0 $ 2, 5 2 8, 0 0 4 $ 2, 9 5 7, 1 1 9 A dj u st m e nt s: I n cr e m e nt al i n v e nt or y r e s er v e f or f ut ur e m ar k d o w n s ( 2 3, 9 1 5 ) — 1 6 9, 8 2 0   — T ot al a dj u st m e nt s ( 2 3, 9 1 5 ) — 1 6 9, 8 2 0   — A dj u st e d gr o s s pr ofit $ 8 8 9, 9 2 2 $ 1, 0 0 3, 7 1 0 $ 2, 6 9 7, 8 2 4 $ 2, 9 5 7, 1 1 9 R e c o n cili ati o n of A dj u st e d Gr o s s M ar gi n R e p ort e d gr o s s m ar gi n 3 3. 1 % 3 3. 1 % 3 1. 4 % 3 3. 9 %(i n t h o u s a n d s, e x c e pt p er s h ar e d at a)   A dj u st m e nt s: I n cr e m e nt al i n v e nt or y r e s er v e f or f ut ur e m ar k d o w n s ( 0. 8 ) % — % 2. 1 %   — %( u n a u dit e d) T ot al a dj u st m e nt s ( 0. 8 ) % — % 2. 1 %   — % A dj u st e d gr o s s m ar gi n 3 2. 3 % 3 3. 1 % 3 3. 5 % 3 3. 9 % R e c o n cili ati o n of A dj u st e d S elli n g, G e n er al a n d A d mi ni str ati v e E x p e n s e s R e p ort e d s elli n g, g e n er al a n d a d mi ni str ati v e e x p e n s e s $ 9 3 1, 8 1 4 $ 9 5 4, 1 9 7 $ 2, 7 0 5, 4 5 7 $ 2, 7 4 7, 5 1 9 A dj u st m e nt s: S e v er a n c e c o st s   — — ( 6 1, 1 9 9 ) ( 1 3, 8 9 2 ) S h ar e h ol d er a cti vit y c o st s — — ( 8, 0 0 0 )   — G ai n o n s al e of a b uil di n g — 2 8, 2 8 1 — 2 8, 2 8 1 T ot al a dj u st m e nt s — 2 8, 2 8 1( 6 9, 1 9 9 ) 1 4, 3 8 9 A dj u st e d s elli n g, g e n er al a n d a d mi ni str ati v e e x p e n s e s $ 9 3 1, 8 1 4 $ 9 8 2, 4 7 8 $ 2, 6 3 6, 2 5 8 $ 2, 7 6 1, 9 0 8* T h e C o m p a n y h a s n ot pr e vi o u sl y pr e s e nt e d n o n- G A A P fi n a n ci al m e a s ur e s r e g ar di n g it s r e s ult s f or it s fi s c al 2 0 1 8 t hir d q u art er. T h e C o m p a n y i s   pr e s e nti n g c ert ai n n o n- G A A P fi n a n ci al m e a s ur e s f or it s fi s c al 2 0 1 9 t hir d q u art er. I n or d er f or i n v e st or s t o b e a bl e t o m or e e a sil y c o m p ar e t h e 1 2 C o m p a n y’ s p erf or m a n c e a cr o s s p eri o d s, t h e C o m p a n y h a s i n cl u d e d c o m p ar a bl e r e c o n cili ati o n s f or t h e 2 0 1 8 p eri o d s i n t h e r e c o n cili ati o n t a bl e s a b o v e a n d t h at f oll o w.
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               T hr e e M o nt h s E n d e d Ni n e M o nt h s E n d e d N o v e m b er 3 0, D e c e m b er 1, N o v e m b er 3 0, D e c e m b er 1, 2 0 1 9 2 0 1 8 2 0 1 9 2 0 1 8(i n t h o u s a n d s, e x c e pt p er s h ar e R e c o n cili ati o n of A dj u st e d S elli n g, G e n er al a n d A d mi ni str ati v e E x p e n s e s a s a P er c e nt of N et S al e s d at a)   R e p ort e d s elli n g, g e n er al a n d a d mi ni str ati v e e x p e n s e s a s ( u n a u dit e d) a p er c e nt of n et s al e s 3 3. 8 % 3 1. 5 % 3 3. 6 % 3 1. 5 % A dj u st m e nt s: S e v er a n c e c o st s   — % — %( 0. 8 ) %( 0. 1 ) % S h ar e h ol d er a cti vit y c o st s — % — %( 0. 1 ) % — % G ai n o n s al e of a b uil di n g — % 0. 9 %   — % 0. 3 % T ot al a dj u st m e nt s — % 0. 9 % ( 0. 9 ) % 0. 2 % A dj u st e d s elli n g, g e n er al a n d a d mi ni str ati v e e x p e n s e s a s a p er c e nt of n et s al e s 3 3. 8 % 3 2. 4 % 3 2. 7 % 3 1. 7 %* T h e C o m p a n y h a s n ot pr e vi o u sl y pr e s e nt e d n o n- G A A P fi n a n ci al m e a s ur e s r e g ar di n g it s r e s ult s f or it s fi s c al 2 0 1 8 t hir d q u art er. T h e C o m p a n y i s 1 3 pr e s e nti n g c ert ai n n o n- G A A P fi n a n ci al m e a s ur e s f or it s fi s c al 2 0 1 9 t hir d q u art er. I n or d er f or i n v e st or s t o b e a bl e t o m or e e a sil y c o m p ar e t h e C o m p a n y’ s p erf or m a n c e a cr o s s p eri o d s, t h e C o m p a n y h a s i n cl u d e d c o m p ar a bl e r e c o n cili ati o n s f or t h e 2 0 1 8 p eri o d s i n t h e r e c o n cili ati o n t a bl e s a b o v e a n d t h at f oll o w.
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T hr e e M o nt h s E n d e d Ni n e M o nt h s E n d e d N o v e m b er 3 0, D e c e m b er 1, N o v e m b er 3 0, D e c e m b er 1, 2 0 1 9 2 0 1 8 2 0 1 9 2 0 1 8 R e c o n cili ati o n of A dj u st e d N et ( L o s s) E ar ni n g s   R e p ort e d n et (l o s s) e ar ni n g s $ ( 3 8, 5 5 2 ) $ 2 4, 3 5 4 $ ( 5 4 8, 4 0 2 ) $ 1 1 6, 5 6 9 Pr e-t a x A dj u st m e nt s:I n cr e m e nt al i n v e nt or y r e s er v e f or f ut ur e m ar k d o w n s ( 2 3, 9 1 5 ) — 1 6 9, 8 2 0   — S e v er a n c e c o st s   — — 6 1, 1 9 9 1 3, 8 9 2 G o o d will a n d ot h er i m p air m e nt s ( a) 1 1, 7 8 1 — 4 4 1, 4 0 5   — S h ar e h ol d er a cti vit y c o st s — — 8, 0 0 0   — (i n t h o u s a n d s, e x c e pt p er s h ar e G ai n o n s al e of a b uil di n g — ( 2 8, 2 8 1 ) — ( 2 8, 2 8 1 ) d at a)   T ot al pr e-t a x a dj u st m e nt s( 1 2, 1 3 4 ) ( 2 8, 2 8 1 ) 6 8 0, 4 2 4 ( 1 4, 3 8 9 ) ( u n a u dit e d) T a x i m p a ct of a dj u st m e nt s 3, 7 8 6 6, 5 9 8 ( 1 2 1, 5 6 5 ) 3, 8 3 0 T ot al a dj u st m e nt s, aft er t a x ( 8, 3 4 8 ) ( 2 1, 6 8 3 ) 5 5 8, 8 5 9 ( 1 0, 5 5 9 ) A dj u st e d n et (l o s s) e ar ni n g s $ ( 4 6, 9 0 0 ) $ 2, 6 7 1 $ 1 0, 4 5 7 $ 1 0 6, 0 1 0 R e c o n cili ati o n of A dj u st e d N et ( L o s s) E ar ni n g s p er Dil ut e d S h ar e R e p ort e d n et (l o s s) e ar ni n g s p er dil ut e d s h ar e $ ( 0. 3 1 ) $ 0. 1 8 $ ( 4. 4 0 ) $ 0. 8 6 G o o d will a n d ot h er i m p air m e nt s, s e v er a n c e, s h ar e h ol d er a cti vit y c o st s, i n cr e m e nt al i n v e nt or y r e s er v e f or f ut ur e m ar k d o w n s a n d g ai n o n s al e of a b uil di n g( 0. 0 7 ) ( 0. 1 6 ) 4. 4 8 ( 0. 0 8 ) A dj u st e d n et (l o s s) e ar ni n g s p er dil ut e d s h ar e $ ( 0. 3 8 ) $ 0. 0 2 $ 0. 0 8 $ 0. 7 8 ( a) G o o d will a n d ot h er i m p air m e nt s i n cl u d e: ( 1) g o o d will, tr a d e n a m e a n d st or e a s s et i m p air m e nt s r el at e d t o t h e N ort h A m eri c a n R et ail r e p orti n g u nit; a n d ( 2) tr a d e n a m e i m p air m e nt s r el at e d t o t h e I n stit uti o n al S al e s r e p orti n g u nit. * T h e C o m p a n y h a s n ot pr e vi o u sl y pr e s e nt e d n o n- G A A P fi n a n ci al m e a s ur e s r e g ar di n g it s r e s ult s f or it s fi s c al 2 0 1 8 t hir d q u art er. T h e C o m p a n y i s 1 4 pr e s e nti n g c ert ai n n o n- G A A P fi n a n ci al m e a s ur e s f or it s fi s c al 2 0 1 9 t hir d q u art er. I n or d er f or i n v e st or s t o b e a bl e t o m or e e a sil y c o m p ar e t h e C o m p a n y’ s p erf or m a n c e a cr o s s p eri o d s, t h e C o m p a n y h a s i n cl u d e d c o m p ar a bl e r e c o n cili ati o n s f or t h e 2 0 1 8 p eri o d s i n t h e r e c o n cili ati o n t a bl e s a b o v e.
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                    E X HI BI T L
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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          T H O MS O N RE UTE RS ST REETEVE NTS
          E DI T E D T R A N S C RI P T
          B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

          E V E N T D A T E / TI M E: J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M G M T

          O V E R VI E W:
          C o. r e p ort e d 3 Q1 9 n et s al e s of $ 2. 8 b, G A A P n et l o s s p er dil ut e d s h ar e of $ 0. 31 a n d
          a dj u st e d n o n- G A A P n et l o s s p er dil ut e d s h ar e of $ 0. 3 8.




T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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 J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

C O R P O R A T E P A R TI CI P A N T S
J a n et B art h
M ar k J. Tritt o n                    B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
R o b y n M. D' Eli a B e d B at h & B e y o n d I n c. - C F O & Tr e as ur er


C O N F E R E N C E C A L L P A R TI CI P A N T S
At ul M a h e s w ari                      U B S I n v est m e nt B a n k, R es e ar c h Di visi o n - Ass o ci at e
Br a dl e y Bi n g h a m T h o m a s K e y B a n c C a pit al M ar k ets I n c., R es e ar c h Di visi o n - Dir e ct or a n d E q uit y R es e ar c h A n al yst
C urti s S m y s er N a gl e B of A M errill L y n c h, R es e ar c h Di visi o n - V P
J o n at h a n Ri c h ar d M at u s z e w s ki J eff eri es L L C, R es e ar c h Di visi o n - E q uit y A n al yst
J o s h u a K a m b oj M or g a n St a nl e y, R es e ar c h Di visi o n - R es e ar c h Ass o ci at e
Oli v er Wi nt er m a nt el E v er c or e I SI I nstit uti o n al E q uiti es, R es e ar c h Di visi o n - M D & F u n d a m e nt al R es e ar c h A n al yst
P et er Sl o a n B e n e di ct R o b ert W. B air d & C o. I n c or p or at e d, R es e ar c h Di visi o n - S e ni or R es e ar c h A n al yst
R o b ert K e n n et h Griffi n R a y m o n d J a m es & Ass o ci at es, I n c., R es e ar c h Di visi o n - S e ni or R es e ar c h Ass o ci at e
S et h I a n Si g m a n Cr é dit S uiss e A G, R es e ar c h Di visi o n - U nit e d St at es H ar dli n e R et ail E q uit y R es e ar c h A n al yst
S et h M c k ai n B a s h a m                            W e d b us h S e c uriti es I n c., R es e ar c h Di visi o n - M D Of E q uit y R es e ar c h
St e v e n P a ul F or b e s G u g g e n h ei m S e c uriti es, L L C, R es e ar c h Di visi o n - A n al yst


P R E S E N T A TI O N
O p er at or
W el c o m e t o B e d B at h & B e y o n d's T hir d Q u art er Fis c al 2 0 1 9 E ar ni n gs C all. ( O p er at or I nstr u cti o ns) T o d a y's c o nf er e n c e c all is b ei n g r e c or d e d. A
r e br o a d c ast of t h e c o nf er e n c e c all will b e a v ail a bl e b e gi n ni n g o n W e d n es d a y, J a n u ar y 8, 2 0 2 0, at 8 p. m. E ast er n Ti m e t hr o u g h 8 p. m. E ast er n Ti m e
o n Fri d a y, J a n u ar y 1 0, 2 0 2 0. T o a c c ess t h e r e br o a d c ast, y o u m a y di al 1 ( 8 8 8) 8 4 3- 7 4 1 9 wit h a p ass c o d e I D of 4 9 2 4 9 2 0 7.

At t his ti m e, I' d li k e t o t ur n t h e c o nf er e n c e c all o v er t o J a n et B art h, Vi c e Pr esi d e nt, I n v est or R el ati o ns. Pl e as e g o a h e a d.


J a n et B art h
T h a n k y o u, A dri e n n e, a n d g o o d aft er n o o n, e v er y o n e. B ef or e w e b e gi n, I w a nt t o r e mi n d y o u t h at o ur fis c al 2 0 1 9 t hir d q u art er e ar ni n gs r el e as e a n d
sli d e pr es e nt ati o n c a n b e f o u n d i n t h e I n v est or R el ati o ns s e cti o n of o ur w e bsit e at w w w. b e d b at h a n d b e y o n d. c o m a n d as e x hi bits t o t h e F or m 8- K
w e fil e d j ust a h e a d of t his c all.

J oi ni n g m e o n o ur c all t o d a y ar e M ar k Tritt o n, B e d B at h & B e y o n d's Pr esi d e nt a n d C hi ef E x e c uti v e Offi c er; a n d R o b y n D' Eli a, o ur C hi ef Fi n a n ci al
Offi c er a n d Tr e as ur er.

L et m e r e mi n d y o u t h at t his c o nf er e n c e c all a n d t h e sli d es w e r ef er t o m a y c o nt ai n f or w ar d-l o o ki n g st at e m e nts, i n cl u di n g st at e m e nts a b o ut or
r ef er e n c es t o o ur o utl o o k r e g ar di n g t h e c o m p a n y's p erf or m a n c e, o ur i nt er n al m o d els a n d o ur l o n g-t er m o bj e cti v es. All s u c h st at e m e nts ar e s u bj e ct
t o ris ks a n d u n c ert ai nti es t h at c o ul d c a us e a ct u al r es ults t o diff er m at eri all y fr o m w h at w e s a y d uri n g t h e c all t o d a y. Pl e as e r ef er t o o ur m ost r e c e nt
p eri o di c S E C fili n gs f or m or e d et ail o n t h es e ris ks a n d u n c ert ai nti es, i n cl u di n g t h e Ris k F a ct ors s e cti o n i n o ur a n n u al r e p ort o n F or m 1 0- K. T h e
c o m p a n y u n d ert a k es n o o bli g ati o n t o u p d at e or r e vis e a n y f or w ar d-l o o ki n g st at e m e nts.



                                                                                                                                                                                                                                                              2

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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 J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

A d diti o n all y, t h e i nf or m ati o n w e will dis c uss t o d a y c o nt ai ns c ert ai n fi n a n ci al m e as ur es t h at e x cl u d e a m o u nts or ar e s u bj e ct t o a dj ust m e nts t h at
h a v e t h e eff e ct of e x cl u di n g a m o u nts t h at ar e i n cl u d e d i n t h e m ost dir e ct c o m p ar a bl e m e as ur e pr e p ar e d i n a c c or d a n c e wit h g e n er all y a c c e pt e d
a c c o u nti n g pri n ci pl es. F or a r e c o n cili ati o n t o t h e m ost c o m p ar a bl e m e as ur es pr es e nt e d i n a c c or d a n c e wit h G A A P, pl e as e r ef er t o t h e t a bl e at t h e
e n d of o ur e ar ni n gs r el e as e a v ail a bl e o n o ur w e bsit e a n d i n cl u d e d as e x hi bit t o o ur F or m 8- K fil e d t o d a y.

I will n o w t ur n t h e c all o v er t o M ar k.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
T h a n k y o u, J a n et, a n d g o o d aft er n o o n, e v er y o n e. I' m d eli g ht e d t o b e h er e t o d a y d uri n g m y v er y first e ar ni n gs c all as B e d B at h & B e y o n d's Pr esi d e nt
a n d C E O. F or m a n y y e ars, I' v e w at c h e d a n d a d mir e d t his c o m p a n y as a c o m p etit or as w ell as a c ust o m er, r efl e cti n g o n m y o w n f a mil y's B a c k t o
C oll e g e e x p eri e n c es. I' m e x cit e d f or t h e o p p ort u nit y t o r e c o nstr u ct, r e n o v at e a n d r est or e t his i c o ni c r et ail er.

F or al m ost h alf a c e nt ur y, B e d B at h & B e y o n d h as h el p e d milli o ns of p e o pl e m a k e it e as y t o f e el at h o m e. A n d I fir ml y b eli e v e o ur c o m p a n y r e m ai ns
u ni q u el y pl a c e d t o pl a y a n ess e nti al r ol e i n o ur c ust o m ers' li v es. T o d o s o, w e n e e d t o m a k e t h e b usi n ess w e c all h o m e as s p e ci al as o ur c ust o m ers
m a k e t h eirs.

Si n c e arri vi n g i n N e w J ers e y j ust 6 6 d a ys a g o, I h a v e b e e n f ull y i m m ers e d i n t h e b usi n ess t o ass ess o ur o p er ati o ns, o ur p ortf oli o, o ur c a p a biliti es
a n d o ur c ult ur e. M y i niti al e nt h usi as m f or c o mi n g t o B e d B at h & B e y o n d h as b e e n affir m e d. W e h a v e a hi g hl y r e c o g ni z a bl e a n d b el o v e d br a n d wit h
p assi o n at e ass o ci at es a n d c ust o m ers. As a b usi n ess, w e h a v e s u bst a nti al s c al e wit h o v er 1, 0 0 0 st or es a cr oss t h e U. S. a n d i n C a n a d a, str o n g br a n d
a w ar e n ess a m o n gst o ur c ust o m ers a n d a b usi n ess m o d el t h at is s u p p ort e d b y o ur str o n g b al a n c e s h e et a n d si g nifi c a nt c as h fl o w g e n er ati o n.

Fr o m d a y 1, I' v e r e c ei v e d s u c h a w ar m w el c o m e fr o m o ur ass o ci at es a cr oss o ur c o m p a n y a n d a n o p e n i n vit ati o n fr o m t h e t e a m t o cr e at e a n d l e a d
c h a n g e. D uri n g m y st or e visits, I' v e wit n ess e d t h e p assi o n of o ur ass o ci at es as t h e y s er v e o ur c ust o m ers a n d t h eir i m pli cit d esir e t o wi n. I' v e als o
s e e n o ur c ust o m ers e n g a gi n g wit h t h e br a n d a n d h a v e list e n e d t o a n d r es p o n d e d dir e ctl y t o m a n y c ust o m er c o n c er ns.

T ur ni n g t o o ur r e c e nt q u art erl y p erf or m a n c e. W e r e p ort e d s al es of $ 2. 8 billi o n, a n 8. 3 % c o m p s al es d e cli n e a n d a n a dj ust e d l oss of $ 0. 3 8 i n a n
a dj ust e d dil ut e d e ar ni n gs p er s h ar e. T h e b usi n ess w as c h all e n g e d b y pr e a n d p ost t h e T h a n ks gi vi n g h oli d a y p eri o d d es pit e f a v or a bl e r es ults o n a
s hift e d b asis d uri n g t h e 5- d a y h oli d a y s h o p pi n g p eri o d fr o m T h a n ks gi vi n g t o C y b er M o n d a y.

L et m e b e cl e ar, t h es e r es ults ar e u ns atisf a ct or y a n d u n d ers c or e t h e i m p er ati v e f or c h a n g e a n d str e n gt h e n o ur s ets of pri oriti es a n d p ur p os e. W e
m ust r es p o n d t o t h e c h all e n g es w e f a c e as a b usi n ess, i n cl u di n g pr ess ur e d s al es a n d pr ofit a bilit y, a n d r e c o nstr u ct a m o d er n, d ur a bl e m o d el f or
l o n g-t er m pr ofit a bl e gr o wt h. O ur p at h t o a c hi e vi n g o ur o bj e cti v e will n ot b e li n e ar as e vi d e n c e d b y o ur t hir d q u art er r es ults, b ut w e will m o v e
q ui c kl y t o c ost c orr e ct a n d dri v e t h e b usi n ess f or w ar d.

N o w l et m e dis c uss o ur pr eli mi n ar y a p pr o a c h t o l e a d o ur c o m p a n y i nt o t h e f ut ur e. W e'll pr o vi d e a f urt h er d et ail e d pl a n i n t h e c o mi n g m o nt hs, b ut
t o d a y, I w a nt t o s h ar e s o m e hi g h-l e v el i nsi g hts i nt o w h er e w e ar e h e a di n g.

First is a d e e p er u n d erst a n di n g of o ur c ust o m er a n d o ur m ar k et o p p ort u nit y. L et's st art wit h s o m e d at a h er e. B as e d o n r es ults of a r e c e nt br a n d
h e alt h tr a c k er st u d y, a n N P D c o ns u m er tr a c ki n g d at a, B e d B at h & B e y o n d is # 1 i n br a n d a w ar e n ess f or t h e h o us e w ar es a n d h o m e g o o ds c at e g or y
a n d is a str o n g l e a d er i n c o nsi d er ati o n f or b e d di n g a n d b at h. O v er all, 7 9 % of o ur c ust o m ers h a v e a f a v or a bl e i m pr essi o n of o ur br a n d, a n d 7 5 % of
c ust o m ers w a nt t o b u y fr o m o ur t o p c at e g ori es s u c h as h o m e t e xtil es a n d h o us e w ar es. T his d at a d e m o nstr at es t h at B e d B at h & B e y o n d is still a
b el o v e d, w ell- k n o w n br a n d wit h tr e m e n d o us o p p ort u nit y t o gr o w s h ar e wit hi n a $ 5 1 billi o n U. S. m ar k et f or t h e h o m e-r el at e d c at e g ori es w e off er.
W e c a n a n d will b e m or e c o m p etiti v e i n o ur c at e g ori es t o wi n b a c k s h ar e t o b uil d str o n g er a ut h orit y a n d p erf or m a n c e.

T h e d at a als o s p e a ks t o o ur c h all e n g es, i n cl u di n g a l a c k of cl arit y ar o u n d p ur p os e a n d v al u e a n d a s oft er c o n n e cti o n wit h G e n Z a n d mill e n ni al
c ust o m ers i n o ur pr o d u ct c at e g ori es. I n a d diti o n, w e k n o w i n o ur i n d ustr y t h at 8 0 % of tr affi c is i nfl u e n c e d b y a di git al t o u c h p oi nt, r ei nf or ci n g t h at
o ur di git al b usi n ess is a g at e w a y t o o ur c ust o m er a n d t h at w e n e e d t o dr asti c all y i m pr o v e o ur di git al pl atf or m. T h er e ar e als o g e n er al m ar k et
pr ess ur es s u c h as i n cr e as e d i n v est m e nt i n h o m e c at e g ori es f or m ass r et ail ers; n e w c o m p etiti o n fr o m dir e ct c o ns u m er br a n ds; i n cr e as e d c ust o m er

                                                                                                                                                                                                                                                              3

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
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  J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

e x p e ct ati o ns a cr oss st or e, di git al a n d d eli v er y e x p eri e n c es; a n d t h e r e alit y t h at t h e n e xt g e n er ati o n of c ust o m ers ar e n ot j ust di git all y s a v v y b ut
s h o p di git al first. As s u c h, w e'll b e l e a ni n g i nt o t h e di git al s p a c e t o m a k e it e asi er a n d m or e c o n v e ni e nt f or o ur c ust o m ers t o s h o p wit h us, i n cl u di n g
q ui c kl y e v ol vi n g o ur str o n g p erf or mi n g R es er v e O nli n e, Pi c k u p I n- St or e off eri n g t o a f ull B u y O nli n e, Pi c k U p I n- St or e, or B O P U S, m o d el d uri n g t h e
first h alf of fis c al 2 0 2 0.

W e h a v e a cl e ar m a n d at e t o r e est a blis h o ur a ut h orit y as t h e pr ef err e d o m ni c h a n n el h o m e d esti n ati o n. I n d oi n g s o, w e n e e d t o cl arif y t h e m e a ni n g
of v al u e t o o ur c ust o m ers. O ur f ut ur e will b e fr a m e d b y c ust o m er a n d m ar k et i nsi g hts t o d efi n e o ur m ar k et o p p ort u nit y a n d i nf or m t h e d e v el o p m e nt
of a wi n ni n g c ust o m er v al u e pr o p ositi o n, o n e t h at w e c a n bri n g t o lif e f or o ur c ust o m ers a cr oss all o ur r et ail c h a n n els, c ust o m er s e g m e nts,
d e m o gr a p hi cs a n d o c c asi o ns. As s u c h, w e r e c e ntl y e nt er e d i nt o a p art n ers hi p wit h t h e N P D Gr o u p t o ass ess t h eir e xt e nsi v e r et ail m ar k et d at a a n d
c ust o mi z e d r e p orti n g a n d ot h er d at a- dri v e n s er vi c es, w hi c h will e n a bl e us t o m or e cl e arl y r e vi e w pri ci n g, s h ar e a n d w hit e s p a c e o p p ort u niti es.
L at er t his y e ar, t o b uil d u p o n t his p art n ers hi p, w e will als o w or k wit h N P D t o r oll o ut a v e n d or c oll a b or ati o n pr o gr a m t o f urt h er r efi n e o ur ass ort m e nts
a n d str at e gi es.

R e g ar di n g o ur g o-f or w ar d str at e g y, w e'll b e gr o u n d e d i n t h e f oll o wi n g 5 pill ars. First, o ur pr o d u ct. W e will r efi n e a n d a m plif y a n e x citi n g o m ni c h a n n el
ass ort m e nt t h at r e b uil ds a ut h orit y a n d pr ef er e n c e f or B e d B at h & B e y o n d a n d cr e at es e n er g y t hr o u g h diff er e nti ati o n a n d c ur ati o n. S e c o n d, o ur
pri c e. W e'll i n v est i n a n d cl arif y c o m p elli n g v al u e t hr o u g h m or e c h oi c e wit h o p e ni n g pri c e p oi nts, r el e v a nt o w n e d br a n ds a n d cl e ar pri c e
c o m m u ni c ati o ns t o s h ar p e n o ur v al u e f or q u alit y pr o p ositi o n a n d t o b ot h a c q uir e a n d wi n b a c k c ust o m ers. T hir d is o ur pr o mis e. W e will cl arif y a n d
d e e p e n o ur r el ati o ns hi p wit h o ur c ust o m ers b y c o n n e cti n g, e n g a gi n g a n d m oti v ati n g t h e m t o str e n gt h e n l o y alt y a n d lif eti m e v al u e. F o urt h is o ur
pl a c e. W e will a c c el er at e a n d o pti mi z e c o n n e cti n g wit h, i ns piri n g a n d e n er gi zi n g o ur c ust o m er b y b e c o mi n g a tr ul y o m ni- al w a ys r et ail er t o s er v e
t h eir pr ef err e d s h o p pi n g n e e ds. A n d l astl y, b ut criti c all y i m p ort a nt, is o ur p e o pl e. W e'll cr e at e a n d s ust ai n a t al e nt e n gi n e a n d c ult ur e t h at attr a cts,
r et ai ns a n d d e v el o ps hi g h- p erf or mi n g t e a ms w h o c o nsist e ntl y d eli v er o p er ati o n al e x c ell e n c e a n d b usi n ess r es ults.

Wit h t h es e 5 pill ars as o ur g ui d e, w e'r e e m br a ci n g a c o m mit m e nt t o r e c o nstr u ct a n d m o d er ni z e o ur o p er ati n g m o d el t o dri v e effi ci e n c y a n d
eff e cti v e n ess, c h arti n g a n e w c o urs e f or o ur c o m p a n y. W e l o o k f or w ar d t o s h ari n g m or e d et ails o n t h es e 5 str at e gi c pill ars a n d e x p e ct ati o ns f or
f ut ur e p erf or m a n c e o v er t h e n e xt f e w m o nt hs. W e pl a n t o h ost a n i n v est or e v e nt i n t h e s pri n g of 2 0 2 0, a n d w e t h a n k y o u i n a d v a n c e f or y o ur
p ati e n c e a n d s u p p ort w hil e w e fi n ali z e t h es e pl a ns.

I n t h e m e a nti m e, o ur t e a ms r e m ai n f o c us e d o n a c c el er ati n g o ur e xt e nsi v e tr a nsf or m ati o n eff orts a n d dri vi n g a g ai nst o ur n e ar-t er m pri oriti es t o
g e n er at e s a vi n gs a n d r ei n v est f or t h e f ut ur e gr o wt h. W e' v e b e e n r e vi e wi n g a n d o pti mi zi n g t h e c o m p a n y's ass et b as e, i n cl u di n g t h e p ortf oli o of
r et ail b a n n ers as a k e y s o ur c e of f urt h er f u n ds t o p ot e nti all y r e d e pl o y a n d r ei n v est. W e' v e b e e n r e vi e wi n g a n d r es etti n g t h e c ost str u ct ur e, m o d er ni zi n g
f or gr o wt h a n d r efi ni n g o ur or g a ni z ati o n, w hi c h is e x p e ct e d t o r es ult i n si g nifi c a nt s a vi n gs i n b ot h c ost of s al es a n d S G & A, i n cl u di n g r e d u ci n g
o v er h e a d, i m pr o vi n g s o ur ci n g, i n cr e asi n g pri v at e l a b el p e n etr ati o n a n d o pti mi zi n g o ur s u p pl y c h ai n. W e als o h a v e b e e n m or e d efi niti v el y a n al y zi n g
o ur s al es a n d s h ar e i n a n eff ort t o i m pr o v e o ur s al es tr e n d a n d t o p li n e gr o wt h i n li n e wit h o ur f ut ur e g o als.

W hil e o ur t o p li n e still r e m ai ns c h all e n g e d, w e' v e m a d e t a n gi bl e pr o gr ess o n m a n y of t h es e pri oriti es. O n e a cti o n w e' v e t a k e n i n cl u d es t h e
a n n o u n c e m e nt e arli er t his w e e k of t h e c o m pl eti o n of a r e al est at e s al es l e as e b a c k tr a ns a cti o n, w hi c h g e n er at e d n et pr o c e e ds of o v er $ 2 5 0 milli o n.
T his d e al i n cl u d es c o m m er ci al s p a c e, i n cl u di n g r et ail st or es, a distri b uti o n f a cilit y a n d o ur c or p or at e offi c e i n U ni o n, N e w J ers e y, w hi c h will b e --
c o nti n u e d t o b e o c c u pi e d u n d er t h e l o n g-t er m l e as es. T his a cti vit y m ar ks t h e first st e p t o w ar ds u nl o c ki n g v al u a bl e c a pit al i n o ur b usi n ess t h at c a n
b e p ut t o w or k t o a m plif y o ur pl a ns t o b uil d a str o n g er a n d m or e effi ci e nt c o m p a n y t o s u p p ort r e v e n u e gr o wt h, fi n a n ci al st a bilit y a n d s h ar e h ol d er
v al u e.

W hil e t h e s p e cifi cs of o ur c a pit al all o c ati o n str at e g y r e m ai n u n d er r e vi e w as t h e B o ar d a n d m a n a g e m e nt t e a m e v al u at e f ut ur e c a pit al i n v est m e nts
r e q uir e d t o a c c el er at e t h e c o m p a n y's o n g oi n g b usi n ess tr a nsf or m ati o n, t h e n et pr o c e e ds fr o m t h e s al e l e as e b a c k tr a ns a cti o n a n d ot h er p ot e nti al
c as h- g e n er ati n g tr a ns a cti o ns c o ul d b e us e d t o r ei n v est i n t h e c o m p a n y's c or e b usi n ess o p er ati o ns t o dri v e gr o wt h, f u n d s h ar e r e p ur c h as es, r e d u c e
t h e c o m p a n y's o utst a n di n g d e bt or s o m e c o m bi n ati o n of t h es e. W hil e w e c a n't o utli n e a n y s p e cifi cs at t his ti m e, w e ar e still a cti v el y p urs ui n g ot h er
p ot e nti al p ortf oli o a dj ust m e nts a n d w or ki n g t hr o u g h t h e pr o c ess wit h o ur o utsi d e a d vis ers.




                                                                                                                                                                                                                                                              4

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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  J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

I n c o n n e cti o n wit h t his pr o c ess, t h e c o m p a n y c o nti n u es t o e v al u at e c ert ai n r e m ai ni n g o w n e d r e al est at e. W h et h er w e e n g a g e i n a n y s u c h f ut ur e
a cti o n a n d t h e ass o ci at e d ti mi n g will b e b as e d o n a c ar ef ul ass ess m e nt of e a c h ass et a n d h o w t o b est o pti mi z e its v al u e f or t h e b usi n ess o n a
g o-f or w ar d b asis. I l o o k f or w ar d t o u p d ati n g y o u o n o ur pr o gr ess i n d u e c o urs e.

As w e r e c o nstr u ct a n d m o d er ni z e o ur o p er ati n g m o d el, w e n e e d t o e m b e d t h e ri g ht l e a d ers hi p c a p a biliti es a n d a c c o u nt a bilit y m e as ur es t o e ns ur e
t h e b usi n ess o p er at es effi ci e ntl y a n d eff e cti v el y. A r et hi n k of t h e c o m p a n y's l e a d ers hi p t e a m w as n e c ess ar y t o pr o p el B e d B at h & B e y o n d f or w ar d.
L ast m o nt h, I a n n o u n c e d e xt e nsi v e c h a n g es t o o ur l e a d ers hi p t e a m, i n cl u di n g t h e d e p art ur e of 6 s e ni or m e m b ers. W e'll b e p utti n g a t e a m i n pl a c e
t h at will n ot o nl y h a v e t h e ri g ht t al e nt a n d e x p ertis e t o e x e c ut e o ur n e w visi o n a n d i nj e ct n e w i d e as b ut als o t h e ri g ht or g a ni z ati o n al str u ct ur e t o
f a cilit at e a m or e str e a mli n e d d e cisi o n- m a ki n g, t o a c c el er at e t h e p a c e of tr a nsf or m ati o n a n d t o r e est a blis h B e d B at h & B e y o n d's a ut h orit y i n t h e
h o m e s p a c e.

B al a n ci n g o ur e xisti n g e x p ertis e wit h fr es h p ers p e cti v es fr o m n e w, i n n o v ati v e l e a d ers of c h a n g e will h el p us t o b ett er a nti ci p at e a n d s u p p ort o ur
c ust o m ers i n t h eir lif e j o ur n e ys a n d s h o p pi n g n e e ds. D uri n g t his p eri o d of tr a nsiti o n, I a m gr at ef ul t o o ur l e a d ers w h o h a v e st e p p e d u p t o pr o vi d e
k e y i nt eri m l e a d ers hi p i n m er c h a n disi n g, di git al, m ar k eti n g, o w n e d br a n ds a n d l e g al. I' v e b e e n b u o y e d b y t h e i m m e di at e p ositi v e c h a n g e t h at t h e
e n g a g e m e nt of t h es e k e y l e a d ers hi p t e a ms h as pr o vi d e d. I'll b e als o l e a ni n g i n d uri n g t his tr a nsiti o n p eri o d a n d p ers o n all y o v ers e ei n g t h e w or k of
s e v er al t e a ms as w e s oli dif y o ur str at e g y a n d pl a ns t o g et h er. I n c o n n e cti o n wit h t h e l e a d ers hi p a n n o u n c e m e nt, I h a v e b e e n a cti v e i n t h e r e cr uit m e nt
pr o c ess f or t h es e r ol es alr e a d y. T h e v ol u m e of i n b o u n d i nt er est h as b e e n e xtr e m el y hi g h, a n d I' m c o nfi d e nt t h at w e will r e cr uit t o p t al e nt f or t h es e
p ositi o ns.

I n ot h er a cti vit y, as p art of o ur str at e gi c f o c us, w e h a v e b e e n f urt h er e v al u ati n g o ur pr o d u ct ass ort m e nt. W e'r e t a ki n g a g gr essi v e st e ps t o r ati o n ali z e
t h e ass ort m e nt a n d b ett er m a n a g e i n v e nt or y as w e st art a j o ur n e y i n b uil di n g o ur off eri n g of o w n e d br a n ds b al a n c e d wit h a p o w erf ul ars e n al of
c or e n ati o n al br a n ds. M or e t o c o m e o n t his s o o n.

H er e ar e s o m e of t h e e arl y a c c el er at e d a cti o ns w e ar e t a ki n g t o l a y t h e f o u n d ati o n t o cr e at e a n e w visi o n f or o ur c o m p a n y, o n e i n w hi c h w e w or k
t o g et h er t o b uil d a b ett er b usi n ess e v er y d a y i n a pl a c e w h er e w e m a k e it e as y f or o ur milli o ns of c ust o m ers t o f e el at h o m e. Wit h r es p e ct t o o ur
s al es st a bili z ati o n eff orts, w e di d s e e s o m e p ositi v e si g ns of gr o wt h d uri n g t h e r e c e nt T h a n ks gi vi n g s al es p eri o d, b e n efiti n g fr o m all o ur st or es
b ei n g o p e n o n T h a n ks gi vi n g D a y t his y e ar, n e w pr o m oti o n al a cti viti es a n d n e w pri ci n g m o d els. C o m p ari n g t h es e 5 d a ys fr o m T h a n ks gi vi n g t hr o u g h
C y b er M o n d a y 2 0 1 9 v ers us 2 0 1 8, c o m p s al es a ct u all y i n cr e as e d b y 7. 1 % s u p p ort e d b y gr o wt h i n p h ysi c al st or es of o v er 5 % a n d str o n g gr o wt h fr o m
o ur di git al c h a n n els i n e x c ess of 1 3 %. T h es e r es ults b e gi n t o d e m o nstr at e t h at w h e n w e t hi n k a n d a ct diff er e ntl y, w e c a n cr e at e m e a ni n gf ul p ositi v e
o ut c o m es. W hil e t h e str o n g pr o m oti o n al a cti vit y d uri n g t his h oli d a y p eri o d is n ot pr ef err e d, w e will b e s h ar p e ni n g o ur v al u e f or q u alit y pr o p ositi o n
i n a n eff ort t o n ot o nl y wi n b a c k c ust o m ers b ut als o attr a ct n e w o n es.

As I s ai d e arli er, o ur t hir d q u art er r es ults w er e u ns atisf a ct or y. T o s o m e e xt e nt, o ur p erf or m a n c e w as i m p a ct e d b y s elf-i nfli ct e d iss u es s u c h as p o or
i n v e nt or y m a n a g e m e nt, n o n c o m p etiti v e pri ci n g a n d a l a c k of c o n v e ni e nt s h o p pi n g o pti o ns li k e B O P U S, w hi c h I d o k n o w c a n b e r e ctifi e d g oi n g
f or w ar d. I n t h e n e ar t er m, w e will b e f o c us e d o n t h es e iss u es i n o ur o p er ati n g m o d el. A n d w hil e i m pr o v e d p erf or m a n c e will n ot b e li n e ar, w e will
c o nti n u e t o l a y t h e f o u n d ati o n of o ur tr a nsf or m ati o n as w e w or k t o a d dr ess t h e i nt er n al a n d e xt er n al h e a d wi n ds t h at ar e i m p a cti n g o n o ur b usi n ess
c urr e ntl y.

I n s h ort, m y missi o n is t o e ns ur e t h at B e d B at h & B e y o n d is w ell p ositi o n e d f or l o n g-t er m s u c c ess. W e h a v e a hi g hl y r e c o g ni z a bl e a n d b el o v e d br a n d
wit h p assi o n at e ass o ci at es a n d c ust o m ers. I tr ul y b eli e v e t his is o n e of t h e l ast i c o ni c r et ail er t ur n ar o u n ds i n t his c o u ntr y, a n d I' m e x cit e d a b o ut t h e
f ut ur e of o ur b usi n ess.

I'll n o w t ur n t h e c all o v er t o R o b y n t o r e vi e w o ur q u art erl y fi n a n ci als. A n d t h e n aft er w ar ds, I will m a k e s o m e cl osi n g r e m ar ks. R o b y n ?


R o b y n M. D' Eli a - B e d B at h & B e y o n d I n c. - C F O & Tr e as ur er
T h a n k y o u, M ar k. L et's st art wit h a r e vi e w of o ur G A A P r es ults. W e r e p ort e d a n et l oss p er dil ut e d s h ar e of $ 0. 3 1 f or t h e t hir d q u art er of fis c al 2 0 1 9
c o m p ar e d t o n et i n c o m e p er dil ut e d s h ar e of $ 0. 1 8 i n t h e pri or y e ar p eri o d, w hi c h i n cl u d e d a b e n efit of $ 0. 1 6 fr o m a g ai n o n t h e s al e of a b uil di n g.
O ur r e p ort e d n et l oss t his q u art er i n cl u d es a n et b e n efit of $ 0. 0 7 p er dil ut e d s h ar e f or s p e ci al it e ms, w hi c h i n cl u d es a f a v or a bl e a dj ust m e nt of $ 2 4

                                                                                                                                                                                                                                                              5

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
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 J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

milli o n t o t h e c o m p a n y's pr e vi o usl y est a blis h e d i n cr e m e nt al r es er v e f or f ut ur e m ar k d o w ns t h at w as p arti all y offs et b y a n o n c as h c h ar g e of $ 1 2
milli o n f or t h e i m p air m e nt of c ert ai n st or e l e v el ass ets. O n a n a dj ust e d b asis, o ur n o n- G A A P n et l oss p er dil ut e d s h ar e w as $ 0. 3 8.

T o b ett er r e pr es e nt t h e y e ar- o v er- y e ar p erf or m a n c e of t h e b usi n ess d uri n g t h e c o m p ar ati v e q u art ers a n d c o nsist e nt wit h o ur dis cl os ur es d uri n g
pr e vi o us e ar ni n gs c alls i n fis c al 2 0 1 9, m y r e vi e w of o ur q u art erl y r es ults will b e o n a n o n- G A A P b asis, e x cl u di n g t h e a dj ust m e nt t o t h e i n v e nt or y
r es er v e a n d t h e st or e i m p air m e nt c h ar g e as w ell as l ast y e ar's g ai n fr o m t h e b uil di n g s al e. As a r e mi n d er, o ur t hir d q u art er t his y e ar c o nsist e d of
t h e 1 3 w e e ks e n di n g N o v e m b er 3 0 a n d i n cl u d e d Bl a c k Fri d a y a n d t h e S at ur d a y aft er T h a n ks gi vi n g, w hil e o ur t hir d q u art er l ast y e ar c o nsist e d of
t h e 1 3 w e e ks e n di n g D e c e m b er 1 a n d i n cl u d e d Bl a c k Fri d a y a n d C y b er M o n d a y w e e k.

N et s al es i n t h e q u art er w er e $ 2. 8 billi o n, a d e cr e as e of 9 % fr o m t h e t hir d q u art er of l ast y e ar. C o m p s al es f or t h e q u art er d e cr e as e d 8. 3 % a n d
r efl e ct e d a d e cr e as e i n t h e n u m b er of tr a ns a cti o ns, p arti all y offs et b y a n i n cr e as e i n t h e a v er a g e tr a ns a cti o n a m o u nt. O n a dir e cti o n al b asis, c o m p
s al es fr o m o ur st or es d e cli n e d i n t h e hi g h si n gl e- di git p er c e nt a g e r a n g e, w hil e c o m p s al es fr o m o ur di git al c h a n n el d e cli n e d i n t h e mi d-si n gl e- di git
p er c e nt a g e r a n g e. S al es f or t h e t hir d q u art er w er e si g nifi c a ntl y i m p a ct e d b y t h e c al e n d ar s hift of t h e T h a n ks gi vi n g h oli d a y. T his y e ar, t h er e w as 1
l ess w e e k of h oli d a y s al es c o m p ar e d t o t h e pri or y e ar p eri o d. A dj usti n g f or t his c al e n d ar s hift t o i n cl u d e T h a n ks gi vi n g a n d C y b er M o n d a y w e e ks i n
b ot h p eri o ds, o ur c o m p s al es d e cli n e d o nl y 3. 6 %, wit h a d e cli n e i n st or e s al es of 6. 5 % a n d gr o wt h i n di git al s al es of 9. 4 %.

D uri n g a li k e-f or-li k e c o m p ar a bl e p eri o d c o v eri n g t h e 5 d a ys fr o m T h a n ks gi vi n g t o C y b er M o n d a y, o ur p erf or m a n c e s h o w e d c o m p s al es gr o wt h
of 7. 1 %, i n cl u di n g gr o wt h i n st or es of o v er 5 % a n d di git al gr o wt h i n e x c ess of 1 3 %. D es pit e t h e c al e n d ar s hift, o ur b usi n ess r e m ai n e d c h all e n g e d
wit h s o m e s elf-i nfli ct e d iss u es, i n cl u di n g p o or i n v e nt or y m a n a g e m e nt, n o n c o m p etiti v e pri ci n g a n d a l a c k of c o n v e ni e nt s h o p pi n g o pti o ns, a n d w e
ar e w or ki n g t o a d dr ess t h es e iss u es.

T o cr e at e a n oti c e a bl y diff er e nt s h o p pi n g e x p eri e n c e f or o ur c ust o m ers, w e e x e c ut e d a r a pi d r efr es h of 1 5 6 of o ur hi g h est v ol u m e a n d m ost
pr ofit a bl e B e d B at h & B e y o n d st or es, i n cl u di n g b asi c i m pr o v e m e nts t o st or e e ntr y w a ys a n d c h e c k o ut. W e als o e n g a g e d i n n e w pr o m oti o n al a cti vit y
d uri n g t h e h oli d a y p eri o d, i n cl u di n g s p e ci al i n-st or e a n d o nli n e s al es e v e nts a n d t h e l a u n c h of o ur first- e v er n ati o n al Bl a c k Fri d a y a d v ertisi n g
c a m p ai g n. O v er all, t h es e ar e p ositi v e st e ps, b ut w e k n o w w e h a v e a l ot m or e w or k t o d o t o st a bili z e o ur t o p li n e a n d m ar gi ns.

M o vi n g n o w t o t h e gr oss m ar gi n. O ur a dj ust e d gr oss m ar gi n f or t h e q u art er w as 3 2. 3 % of n et s al es as c o m p ar e d t o 3 3. 1 % i n t h e t hir d q u art er of
l ast y e ar. T his 8 0 b asis p oi nt d e cli n e is pri m aril y d u e t o a d e cr e as e i n m er c h a n dis e m ar gi n dri v e n b y a hi g h er l e v el of pr o m oti o n al a cti vit y i n t h e
q u art er a n d w as p arti all y offs et b y a d e cr e as e i n n et dir e ct-t o- c ust o m er s hi p pi n g e x p e ns e. O ur B E Y O N D + m e m b ers hi p pr o gr a m c o nti n u es t o gr o w
a n d n o w st a n ds at a b o ut 1. 4 milli o n m e m b ers. W hil e t h e B E Y O N D + c ust o m er s p e n ds m or e a n d visits m or e oft e n, t h e pr o gr a m c o nti n u es t o
u nf a v or a bl y i m p a ct o ur gr oss m ar gi n, i n cl u di n g b y a b o ut 3 5 b asis p oi nts d uri n g t h e fis c al 2 0 1 9 t hir d q u art er, w hi c h is si mil ar t o t h e pri or y e ar
i m p a ct.

M o vi n g t o S G & A. A dj ust e d S G & A e x p e ns e f or t h e q u art er w as $ 9 3 1. 8 milli o n or 3 3. 8 % of n et s al es as c o m p ar e d t o $ 9 8 2. 5 milli o n or 3 2. 4 % of n et
s al es i n t h e pri or y e ar p eri o d. T his $ 5 1 milli o n d e cr e as e r efl e cts o ur pr o gr ess i n r es etti n g o ur c ost str u ct ur e, i n cl u di n g l o w er p a yr oll a n d p a yr oll-r el at e d
e x p e ns es fr o m s e v er al a cti o ns t a k e n t his y e ar t o r e d u c e o v er h e a d c osts a n d l o w er o c c u p a n c y e x p e ns es r es ulti n g fr o m o ur o n g oi n g c o m pr e h e nsi v e
r e al est at e o pti mi z ati o n eff orts, p arti all y offs et b y hi g h er m a n a g e m e nt c o ns ulti n g e x p e ns es ass o ci at e d wit h s o m e of o ur str at e gi c i niti ati v es. As a
p er c e nt a g e of n et s al es, t h e 1 4 0 b asis p oi nt i n cr e as e i n S G & A w as pri m aril y d u e t o t h e eff e ct of o ur fi x e d c osts s u c h as o c c u p a n c y a n d
t e c h n ol o g y-r el at e d e x p e ns es, i n cl u di n g d e pr e ci ati o n, o n a l o w er s al es b as e as w ell as fr o m hi g h er a d v ertisi n g e x p e ns es. O n a n a dj ust e d b asis, o ur
eff e cti v e t a x r at e w as 2 0. 6 % a n d i n cl u d es $ 2. 8 milli o n of n et aft er-t a x c osts d u e t o disti n ct e v e nts o c c urri n g d uri n g t h e q u art er.

N o w l o o ki n g t o o ur b al a n c e s h e et. W e e n d e d t h e q u art er wit h $ 9 2 0 milli o n i n c as h a n d i n v est m e nts. R et ail i n v e nt ori es of $ 2. 7 billi o n at c ost r efl e ct e d
a r e d u cti o n of 1 0 % or $ 2 8 9 milli o n at c ost d uri n g t h e q u art er c o m p ar e d t o t h e e n d of t h e pri or y e ar p eri o d, e x cl u di n g t h e i m p a ct of t h e i n cr e m e nt al
r es er v e f or f ut ur e m ar k d o w ns. T his 1 0 % r e d u cti o n i n i n v e nt or y is d es pit e o ur q u art erl y s al es d e cli n e of 9 %.

L et m e n o w bri efl y gi v e a n u p d at e o n o ur i n v e nt or y r e d u cti o n i niti ati v e a n d t h e a dj ust m e nt t o t h e r es er v e I r ef er e n c e d e arli er. As w e dis cl os e d l ast
q u art er, w e i niti at e d a pl a n t o a g gr essi v el y r e d u c e u p t o $ 1 billi o n of i n v e nt or y at r et ail o v er t h e n e xt 1 8 m o nt hs as p art of o ur n e ar-t er m pri orit y
t o r e vi e w a n d o pti mi z e o ur ass et b as e. T his i n cl u d e d t h e r e m o v al of a p pr o xi m at el y $ 3 5 0 milli o n of i n v e nt or y at r et ail b ef or e t h e h oli d a y.



                                                                                                                                                                                                                                                              6

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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 J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

I n c o nj u n cti o n wit h t his d e cisi o n, w e t o o k a n i n cr e m e nt al r es er v e f or f ut ur e m ar k d o w ns of $ 1 9 4 milli o n i n t h e s e c o n d q u art er. W e h a v e s u bs e q u e ntl y
r efi n e d o ur pl a n. A n d as a r es ult, w e n o w esti m at e o ur r e c o v er y r at e will b e hi g h er t h a n ori gi n all y pl a n n e d. A n d t h er ef or e, w e r e c or d e d a $ 2 4 milli o n
f a v or a bl e a dj ust m e nt t o o ur r es er v e f or f ut ur e m ar k d o w ns i n t h e t hir d q u art er. T his a dj ust m e nt is r efl e ct e d i n o ur r e c o n cili ati o n f or a dj ust e d gr oss
pr ofit i n cl u d e d i n o ur fi n a n ci al dis cl os ur es.

M o vi n g t o C a p E x. O ur c a pit al e x p e n dit ur es f or t h e first 9 m o nt hs w er e $ 1 8 8 milli o n wit h n e arl y 5 0 % r el at e d t o t e c h n ol o g y pr oj e cts pri m aril y f o c us e d
o n l o gisti cs, di git al c a p a biliti es a n d a n al yti cs. T h e r e m ai ni n g C a p E x w as pri m aril y r el at e d t o i n v est m e nts i n st or es, i n cl u di n g r e m o d els a n d n e w
st or e o p e ni n gs.

D uri n g t h e t hir d q u art er, w e cl os e d 1 4 st or es a cr oss all c o n c e pts a n d o p e n e d 4 st or es. W e n o w pl a n t o cl os e a p pr o xi m at el y 4 0 t ot al st or es, i n cl u di n g
a b o ut 2 0 B e d B at h & B e y o n d st or es. W e h a d pr e vi o usl y pl a n n e d t o cl os e 6 0 t ot al st or es, i n cl u di n g a b o ut 4 0 B e d B at h & B e y o n d st or es. W e h a v e
d e ci d e d t o d el a y t h e cl osi n g of 2 0 of t h e 4 0 B e d B at h & B e y o n d st or es t h at w er e s c h e d ul e d t o cl os e t o utili z e t h es e st or es d uri n g t h e first h alf of
fis c al 2 0 2 0 t o b ett er f a cilit at e t h e cl e ar a n c e a n d s ell-t hr o u g h of t h e m er c h a n dis e ass o ci at e d wit h t h e i n v e nt or y r e d u cti o n i niti ati v e. W e ar e still o n
t ar g et t o o p e n a p pr o xi m at el y 1 0 t ot al st or es, i n cl u di n g a b o ut 2 B e d B at h st or es d uri n g fis c al 2 0 1 9.

R e g ar di n g s h ar e r e p ur c h as e a cti vit y. W e h a d a l o w l e v el of e n g a g e m e nt i n t h e m ar k et, r e p ur c h asi n g $ 1. 2 milli o n or 8 7, 0 0 0 s h ar es d uri n g t h e q u art er.
A n d as M ar k st at e d e arli er, o ur c a pit al all o c ati o n str at e g y r e m ai ns u n d er r e vi e w as t h e B o ar d a n d m a n a g e m e nt e v al u at e f ut ur e c a pit al i n v est m e nts
r e q uir e d t o a c c el er at e t h e c o m p a n y's o n g oi n g b usi n ess tr a nsf or m ati o n. T o d a y, o ur B o ar d of Dir e ct ors d e cl ar e d a q u art erl y di vi d e n d of $ 0. 1 7 p er
s h ar e t o b e p ai d o n A pril 1 4, 2 0 2 0, t o s h ar e h ol d ers of r e c or d as of M ar c h 1 3, 2 0 2 0.

Si mil ar t o o ur t hir d q u art er r es ults, w e e x p e ct o ur s al es a n d pr ofit a bilit y t o r e m ai n pr ess ur e d d uri n g t h e fis c al 2 0 1 9 f o urt h q u art er. C o nsi d eri n g
t h es e h e a d wi n ds a n d M ar k's o n g oi n g w or k t o ass ess t h e b usi n ess a n d fi n ali z e t h e d et ails of o ur g o-f or w ar d str at e gi c pl a n as w ell as t h e e xt e nsi v e
s e ni or l e a d ers hi p c h a n g es wit hi n t h e p ast m o nt h, w e b eli e v e it is a p pr o pri at e t o wit h dr a w o ur fis c al 2 0 1 9 f ull y e ar fi n a n ci al g ui d a n c e.

B ef or e I c o n cl u d e, I' d li k e t o pr o vi d e a f e w a d diti o n al pi e c es of i nf or m ati o n. First, o ur fis c al 2 0 1 9 f o urt h q u art er pr et a x e ar ni n gs will i n cl u d e t h e
f oll o wi n g it e ms: a p pr o xi m at el y $ 1 1 milli o n of s e v er a n c e e x p e ns e ass o ci at e d wit h t h e e xt e nsi v e l e a d ers hi p c h a n g es a n n o u n c e d i n D e c e m b er a n d
a p pr o xi m at el y $ 3 3 milli o n of a l oss r el at e d t o t h e s al e l e as e b a c k tr a ns a cti o n. S e c o n d, o ur fis c al 2 0 1 9 c a pit al e x p e n dit ur es ar e n o w pl a n n e d t o b e
l o w er at a p pr o xi m at el y $ 2 7 5 milli o n t o $ 3 0 0 milli o n c o m p ar e d t o o ur pr e vi o us esti m at e of b et w e e n $ 3 5 0 milli o n t o $ 3 7 5 milli o n. T his l o w er esti m at e
is pri m aril y d u e t o t h e ti mi n g of pr oj e cts.

A n d fi n all y, i n c o n n e cti o n wit h t h e r e c e ntl y c o m pl et e d s al e l e as e b a c k tr a ns a cti o n, w e will i n c ur a n n u al i n cr e m e nt al pr et a x n et o c c u p a n c y c ost of
$ 1 1 milli o n, w hi c h b e g a n wit h t h e cl osi n g of t h e tr a ns a cti o n i n l at e D e c e m b er. O ur b al a n c e s h e et will i n cl u d e r o u g hl y $ 1 9 0 milli o n of i n cr e m e nt al
l e as e ass ets a n d li a biliti es fr o m t his tr a ns a cti o n. T h e tr a ns a cti o n g e n er at e d n et pr o c e e ds of m or e t h a n $ 2 5 0 milli o n a n d i n cl u d e d a b o ut 2. 1 milli o n
of o ur n e arl y 4 milli o n s q u ar e f e et of o w n e d r e al est at e a n d c o nsist e d of 1 2 r et ail l o c ati o ns, 1 distri b uti o n f a cilit y a n d o ur c or p or at e c a m p us i n N e w
J ers e y. A n d t h e l e as e t er ms o n t h es e pr o p erti es g e n er all y r a n g e fr o m 1 2 t o 1 8 y e ars.

I will n o w t ur n t h e c all b a c k o v er t o M ar k f or s o m e cl osi n g r e m ar ks.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
T h a n k y o u, R o b y n. It is cl e ar t h at w e h a v e s o m e h e a v y lifti n g t o d o a g ai nst t h e e m er gi n g pl a n a n d cl e ar g o als. I b eli e v e t h at t o c h a n g e t h e tr aj e ct or y
of o ur c urr e nt r es ults, w e m ust first i d e ntif y a n d u n d erst a n d w h er e t h e c ust o m er n e e ds a n d t h e m ar k et pl a c e ar e h e a d e d a n d t h e n i n v est q ui c kl y
a n d c o nsist e ntl y t o e ns ur e o ur c or e b usi n ess c a n s er v e t h os e n e e ds c o m p etiti v el y. T h e a p pr o a c h w e ar e t a ki n g t o s et t h e f ut ur e str at e g y is v er y
m u c h ali g n e d t o f ulfill t his visi o n.

S o t o d a y, I w a nt t o b e cl e ar o n w h er e w e st a n d a n d w h er e w e ar e g oi n g. W e'r e e x p eri e n ci n g s h ort-t er m p ai n, s o m e of w hi c h h as b e e n s elf-i nfli ct e d.
W e ar e m a ki n g b ol d a n d br o a d- b as e d c h a n g es t o m o d er ni z e o ur b usi n ess. W e h a v e a s oli d b al a n c e s h e et. W e will h a v e a r el e ntl ess f o c us o n o ur
c ust o m er. W e'll a ct as a tr u e o m ni c h a n n el r et ail er. W e will b e a gil e a n d t a k e a m e as ur e d a p pr o a c h. A n d as s u c h, t h es e r es ults will b e a c c o m plis h e d
o v er a p eri o d of q u art ers a n d y e ars t o cr e at e a str o n g er a ut h orit y i n o ur m ar k et a n d a s ust ai n a bl e, d ur a bl e b usi n ess m o d el.

                                                                                                                                                                                                                                                              7

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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  J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

O n e of t h e a d v a nt a g es of m y m or e t h a n 3 0 y e ars of e x p eri e n c e i n diff er e nt r et ail e n vir o n m e nts is s e ei n g ot h er c ult ur es, diff er e nt str u ct ur es a n d
diff er e nt m o d els d uri n g t ur n ar o u n d sit u ati o ns a n d gr o wt h r e c o v er y. T hr o u g h t h e l e ns of t h es e e x p eri e n c es, I c a n s e e o ur c o m p a n y's f u n d a m e nt al
a d v a nt a g es, c h all e n g es a n d o p p ort u niti es m u c h m or e cl e arl y. It is t his p ers p e cti v e t h at is h el pi n g m e t o l o o k o bj e cti v el y at t h e b usi n ess a n d m a k e
b ol d pi v ots t o r e c o nstr u ct, r e n o v at e a n d r est or e B e d B at h & B e y o n d. W e h a v e pl e nt y of o pti o ns a n d a h e alt h y b al a n c e s h e et, as I' v e s ai d, t o g et t o
w or k a n d a c c o m plis h o ur g o als.

As I s ai d b ef or e, o ur p at h t o a c hi e vi n g o ur o bj e cti v e will n ot b e li n e ar as e vi d e n c e d b y o ur t hir d q u art er r es ults, b ut w e will m o v e q ui c kl y t o c ost
c orr e ct a n d dri v e t h e b usi n ess f or w ar d.

I n cl osi n g, I w a nt t o s a y o n c e a g ai n h o w d eli g ht e d I a m t o h a v e t h e o p p ort u nit y t o l e a d t his i c o ni c c o m p a n y. O ur e ntir e t e a m of m or e t h a n 6 0, 0 0 0
ass o ci at es a n d I r e c o g ni z e t h at w e h a v e w or k t o d o t o g et B e d B at h & B e y o n d t o m ast er t h e f u n d a m e nt als a n d str e n gt h e n o ur e x e c uti o n. W e will
w or k t o g et h er t o fi n ali z e t h e d et ails of o ur str at e g y, a n d w e'll s h ar e t h es e pl a ns wit h y o u o v er t h e c o mi n g m o nt hs. W e a p pr e ci at e y o ur p ati e n c e as
w e e m b ar k a n d p urs u e o n t his j o ur n e y t o p ositi o n B e d B at h & B e y o n d t o d eli v er l o n g-t er m s ust ai n a bl e gr o wt h. W e'r e all d e di c at e d t o a d v a n ci n g
o ur c o m p a n y f or t h e b e n efit of o ur c ust o m ers, o ur v e n d or p art n ers a n d o ur s h ar e h ol d ers.

Wit h t h at, I' d li k e t o o p e n t h e c all t o y o ur q u esti o ns.




Q U E S TI O N S A N D A N S W E R S
O p er at or
( O p er at or I nstr u cti o ns) A n d o ur first q u esti o n c o m es fr o m C urt N a gl e fr o m B a n k of A m eri c a.


C urti s S m y s er N a gl e - B of A M errill L y n c h, R es e ar c h Di visi o n - V P
S o I g u ess t h e first o n e, b ot h f or y o u, M ar k. W o ul d t h e -- l o o k, I k n o w it's v er y e arl y o n, b ut -- a n d t h er e's a l ot of w or k t o d o, b ut w h at w o ul d b e
p er h a ps a r e as o n a bl e ti m e fr a m e f or y o u, I g u ess, t o st art s e ei n g c o m p st a bili z ati o n ? A n d t h e n as a f oll o w- u p t o t h at, I g u ess, a n y m or e t h o u g hts
y o u c o ul d s h ar e i n t er ms of t h e e xt e nt a n d m a y b e t h e ti m e li n e of, I g u ess, p utti n g f or w ar d t h e n e w or r efr es h e d B e d B at h i n t er ms of w h at o p er ati n g
s e g m e nts d o y o u t hi n k y o u'll h ol d o n t o ?


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. T h a n ks, C urt. S o i n t er ms of t h e ti m e fr a m e, a g ai n, w e'r e still i n t h e pr o c ess of e v al u ati o n, a n d I w a nt t o b e r e all y cl e ar h er e, c o nti n ui n g t o
a c c el er at e t h e e xisti n g tr a nsf or m ati o n w or k t h at w as p ut i n pl a c e w hi c h is r e all y s oli d, a n d w e' v e b e e n a bl e t o d o u bl e d o w n o n t h at si n c e m e c o mi n g
o n b o ar d. A n d j ust l o o ki n g t o g et cl arit y o n o ur pri oriti es, o ur i n v est m e nts a n d o ur C a p e x, w e still h a v e a f e w b alls i n t h e air t h er e t h at w e'r e l o o ki n g
t o s oli dif y s o w e c o ul d h el p pri oriti z e a n d b uil d t h at pl a n. T h at's w h y I' m s h ari n g t h at I'll c o m e b a c k i n t h e s pri n g t o b e r e all y cl e ar o n o ur 2 0 2 0 pl a n
a n d t h e p a gi n ati o n of t h os e g o als. S o it's m or e w or k t o b e d o n e b ut w or k i n fli g ht, s o st a y t u n e d o n t h at. S o t h e ti m e li n e a n d t h e o p er ati n g m o d el
will b e c o m m e ns ur at e wit h t h at. B ut t h er e's s o m e i n di vi d u al eff orts t h at ar e alr e a d y t a ki n g s h a p e, a n d w e s e e o urs el v es d o u bli n g d o w n o n t h os e.
T o d at e, t h e y'r e m ostl y f o c us e d o n o p er ati o n al str e n gt h a n d e x c ell e n c e a n d r e c o n cili ati o n. I' m l o o ki n g t o dri v e m or e of t h e gr o wt h i niti ati v es a g ai nst
t h os e s a m e p yr a mi ds of tr a nsf or m ati o n a n d o p p ort u nit y. A n d s o a g ai n, t h at's g oi n g t o b e b uilt i nt o o ur pl a n.


O p er at or
A n d o ur n e xt q u esti o n c o m es fr o m B o b b y Griffi n fr o m R a y m o n d J a m es.




                                                                                                                                                                                                                                                              8

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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  J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

R o b ert K e n n et h Griffi n - R a y m o n d J a m es & Ass o ci at es, I n c., R es e ar c h Di visi o n - S e ni or R es e ar c h Ass o ci at e
M ar k, w el c o m e t o B e d B at h & B e y o n d.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
T h a n ks, B o b b y.


R o b ert K e n n et h Griffi n - R a y m o n d J a m es & Ass o ci at es, I n c., R es e ar c h Di visi o n - S e ni or R es e ar c h Ass o ci at e
M y first q u esti o n is t o y o u, M ar k. A n d I a p pr e ci at e s o m e of t h e e arl y d et ails o n ki n d of t h e 5 pill ars, b ut c o ul d y o u m a y b e t al k a b o ut y o ur vi e w of
c o u p o ni n g a n d h o w t h at fits i nt o t h os e pill ars a n d y o ur c ust o m ers ? A n d t h e n m y f oll o w- u p q u esti o n is, j ust o n t h e r e m ai ni n g r e al est at e t h at's l eft,
c a n y o u gi v e a littl e c ol or o n w h at t y p e of pr o p erti es t h os e ar e ? Is it distri b uti o n c e nt ers, st or es, ot h er t y p e of pr o p ert y t h at w e mi g ht n ot b e t hi n ki n g
of ?


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. S o l et's st art wit h c o u p o ni n g. S o I t hi n k w h at -- t h e k e y w or d t h at I t hi n k c o m es t o mi n d h er e is r e all y b al a n c e. S o w e k n o w t h at t h e c o u p o n is
p art of o ur h erit a g e a n d o ur D N A, a n d w e w a nt t o m ai nt ai n t h at i n o ur mi x as p art of o ur t o ols t h at w e c a n r e a c h o ut t o c ust o m ers wit h. B ut w e d o
s e e t h at t h er e's a n o p p ort u nit y t o r e a dj ust o ur v al u e pr o p ositi o n dir e ctl y wit h t h e c ust o m er. A n d o ur r es e ar c h s h o ws t h at w e c a n s o m eti m es b e
a m bi g u o us or u n cl e ar a b o ut w h at t h at first pri c e is w h e n t h e y'r e s e ar c hi n g o nli n e, w hi c h is t h e pri m ar y v e hi cl e f or r es e ar c h. S o r e all y r e b al a n ci n g
o ur o p e ni n g pri c e p oi nts, pri c e d ri g ht d ail y as w ell as m e a ni n gf ul pr o m oti o ns a n d c o u p o n us a g e is g oi n g t o b e o ur str u ct ur e g oi n g f or w ar d. W e'r e
alr e a d y a n al y zi n g w h er e o ur c o u p o n h as str e n gt h a n d w h er e it h as o p p ort u niti es t o b e m or p h e d i nt o ot h er o p p ort u niti es s u c h as pr o m os or
t hr o u g h r e g ul ar pri c e, w ell- pri c e d b usi n ess, a n d t h at w or k is c urr e ntl y i n fli g ht.

R e g ar di n g t h e r e al est at e, w e c o nti n u e t o l o o k at all o ur o pti o ns o n t h e t a bl e e q ui v al e nt t o w h at w e' v e s e e n n o w, st or es, w ar e h o usi n g a n d ot h er
ass ets. B ut a g ai n, w e'r e still i n t h e pr o c ess of e v al u ati n g t h at wit h o utsi d e s u p p ort. W e' v e m a d e a b ol d first m o v e wit h t h at. W e'll s e e if t h er e ar e
ot h er o p p ort u niti es, a n d I l o o k f or w ar d t o s h ari n g m or e as w e e v al u at e.


O p er at or
A n d o ur n e xt q u esti o n c o m es fr o m Si m e o n G ut m a n fr o m M or g a n St a nl e y.


J o s h u a K a m b oj - M or g a n St a nl e y, R es e ar c h Di visi o n - R es e ar c h Ass o ci at e
T his is J os h K a m b oj o n f or Si m e o n. M ar k, i m pr o vi n g t h e di git al off eri n g is cl e arl y i n f o c us. C a n y o u s h ar e s o m e e x a m pl es of w h at f u n cti o ns d o y o u
t hi n k n e e d t h e m ost w or k as w ell as s o m e of t h e ti m e fr a m es a n d l e v el of i n v est m e nts i n v ol v e d i n m a ki n g t h os e fi x es ?


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. I t hi n k t his is o n e of t h e ar e as w e c a n b e t h e m ost a gil e b e c a us e of t h e r a pi d c h a n g e a n d t h e c osts ass o ci at e d. S o I t hi n k e v er yt hi n g fr o m t h e
s p e e d a n d a c c ur a c y t h at a c ust o m er c a n m o v e t hr o u g h o ur w e bsit e c o m p ar e d t o o ur c o m p etiti o n is b ei n g r e vi e w e d, h o w w e t ell st ori es t o o ur
c ust o m er a n d i n v ol v e t h e m f or c o nsi d er ati o n as w ell as p ur c h as e, t hi n ki n g a b o ut di git al b ei n g a Tr oj a n h ors e f or t h e t ot al e x p eri e n c e a n d a tr u e
di git al t o u c h p oi nt as o p p os e d t o a n i n d e p e n d e nt sil o, s o e nt er pris e t hi n ki n g r e all y h er e as di git al as a g at e w a y. S o e v er yt hi n g fr o m h o w w e f e at ur e
o n o ur w e bsit e, h o w w e r e pr es e nt v al u e, h o w w e c el e br at e k e y m o m e nts a n d missi o ns a n d o c c asi o ns f or o ur c ust o m er as w ell as t h e k e y br a n ds
a n d c at e g ori es t h e y w a nt t o l o o k at is r e all y u p f or gr a bs. A n d w e' v e st art e d t h at w or k, a n d w e' v e g ot s u p p ort i n a n al y zi n g t h at a n d l o o ki n g at
c o nsi d er ati o ns li k e s p e e d, a gilit y a n d h o w w e pr ofil e br a n ds, pri c e p oi nts a n d st or yt elli n g i n k e y pr o m oti o ns. S o all of t h at is b ei n g l o o k e d at, a n d


                                                                                                                                                                                                                                                              9

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
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 J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

w e'r e d e e p i n t h at at t h e m o m e nt. S o w e h o p e t o g et s o m e tr a cti o n o n t h at v er y q ui c kl y i n h alf 1 a n d b e est a blis h e d a n d r e a d y f or t h e all-i m p ort a nt
s e c o n d h alf.


J o s h u a K a m b oj - M or g a n St a nl e y, R es e ar c h Di visi o n - R es e ar c h Ass o ci at e
T h at's v er y h el pf ul. A n d t h e n j ust o n e f or R o b y n t o f oll o w u p. Y o u m e nti o n e d t h e s hift e d c o m p of n e g ati v e 3. 6 % v ers us t h e r e p ort e d o n e. W h at
w as t h e gr oss m ar gi n f or t h e q u art er o n a s hift e d c al e n d ar b asis ?


R o b y n M. D' Eli a - B e d B at h & B e y o n d I n c. - C F O & Tr e as ur er
W e h a v e n't q u a ntifi e d or s h ar e d t h at i nf or m ati o n at t his p oi nt.


O p er at or
A n d o ur n e xt q u esti o n c o m es fr o m Mi c h a el L ass er fr o m U B S.


At ul M a h e s w ari - U B S I n v est m e nt B a n k, R es e ar c h Di visi o n - Ass o ci at e
T his is At ul M a h es w ari o n f or Mi c h a el L ass er. S o M ar k, b as e d o n y o ur i niti al ass ess m e nt of t h e c o m p a n y's c ost str u ct ur e, w h er e d o y o u t hi n k ar e t h e
k e y o p p ort u niti es t o c ut c osts ? W h at ar e t h e bi g g est b u c k ets ? A n d h o w m u c h d o y o u t hi n k of t h e c ost s a vi n gs r e ali z e d t h at y o u'll h a v e t o r ei n v est
b a c k i nt o t h e b usi n ess? A n d t h e n al o n g t h os e li n es, c a n y o u pr o vi d e y o ur i niti al ass ess m e nt of w hi c h ar e as of t h e b usi n ess n e e d t h e m ost i n v est m e nts?


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Ri g ht. S o I t hi n k t h at as w e l o o k at t h e b u c k ets, w e d efi nit el y s e e i m pr o v e m e nt i n o ur C O G S, a n d w e'r e d e e p i n n e g oti ati o n pr o c ess t o r e vis e o ur
c osts a n d w or k wit h o ur v e n d or b as e as w ell as w e l o o k t o t h e m or e l o n g-t er m pr o p ositi o n of h o w w e b uil d o ut o ur o w n e d br a n d c a p a biliti es a n d
i n v est i n b ett er pri c e p oi nts a n d, t h er ef or e, b ett er m ar gi ns. S o C O G S is g oi n g t o b e o n e of t h os e c o nsi d er ati o ns. I t hi n k a cr oss t h e b o ar d, w e' v e s e e n
a n d h a v e pr e-i d e ntifi e d t hr o u g h t h e tr a nsf or m ati o n pr o gr a ms o p p ort u niti es t o cr e at e effi ci e n c y a n d eff e cti v e n ess i n h o w w e w or k. A n d w h e n w e
t hi n k m or e as a n e nt er pris e a n d wit h m or e a gilit y, w e c a n a ct u all y r e d u c e s o m e of t h es e c osts.

W e' v e l o o k e d at all t h e b u c k ets, a n d I' m n ot g oi n g t o s p e cif y w hi c h o n es at t his p oi nt b e c a us e w e'r e still w or k i n fli g ht, w h er e w e s e e i n v esti n g is
r e all y g oi n g t o b e w h at I t al k e d a b o ut, i n t h os e 5 pill ars. W e i n v est i n o ur e x p eri e n c e t hr o u g h o ur pl a c e, i n o ur p e o pl e t hr o u g h o ur t e a m, i n o ur
pr o d u ct a n d o ur pr o mis e. A n d s o w e'r e g oi n g t o r e all y dri v e v al u e. A n d cl e arl y, fr o m w h at I' v e st at e d, di git al will b e o n e of t h e k e y ar e as. B ut t h e
p h ysi c al t o u c h p oi nt of t h e st or es a n d t h e di git al t o u c h p oi nt i n t a n d e m b ei n g r e c o nstr u ct e d a n d r e n o v at e d is g oi n g t o b e a k e y f o c us.


O p er at or
A n d o ur n e xt q u esti o n c o m es fr o m Br a d T h o m as fr o m K e y B a n c C a pit al.


Br a dl e y Bi n g h a m T h o m a s - K e y B a n c C a pit al M ar k ets I n c., R es e ar c h Di visi o n - Dir e ct or a n d E q uit y R es e ar c h A n al yst
W el c o m e t o B e d B at h & B e y o n d, M ar k.




                                                                                                                                                                                                                                                              10

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
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 J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
T h a n k y o u, Br a d.


Br a dl e y Bi n g h a m T h o m a s - K e y B a n c C a pit al M ar k ets I n c., R es e ar c h Di visi o n - Dir e ct or a n d E q uit y R es e ar c h A n al yst
I w a nt e d t o first as k ki n d of a hi g h-l e v el q u esti o n a n d a q u esti o n a b o ut t h e f o urt h q u art er. I g u ess at a hi g h l e v el, M ar k, I w as h o pi n g y o u c o ul d h el p
us t hi n k a b o ut t h e n e ar-t er m o p p ort u niti es t o i m pr o v e m er c h a n disi n g a n d s o ur ci n g a n d c osts t h at d o s e e m t o b e pr ett y tr e m e n d o us as w e l o o k
at t h e c o m p a n y fr o m t h e o utsi d e a n d j ust y o ur willi n g n ess t o tr y t o h ar v est t h e m a n d fl o w t h e m t hr o u g h t o t h e b ott o m li n e i n t h e s h ort er t er m
v ers us t h at o p p ort u nit y t o m a y b e r ei n v est i n t h e b usi n ess f or t h e l o n g er t er m a n d j ust h o w y o u'r e t hi n ki n g a b o ut b al a n ci n g t h os e t w o. A n d t h e n
j ust as it r el at es t o t h e f o urt h q u art er, I w as h o pi n g y o u c a n gi v e us a littl e m or e c ol or ar o u n d h o w D e c e m b er pl a y e d o ut a n d if w e s h o ul d b e t hi n ki n g
of t h at v ers us t h e n e g ati v e 8 % c o m p t h at y o u r e p ort e d or t h e n e g ati v e 3. 6 % a dj ust e d j ust as w e tr y t o c ali br at e o ur m o d els f or t h e f o urt h q u art er,
a n y m or e c ol or y o u c a n pr o vi d e w o ul d b e h el pf ul.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. S o Br a d, l et m e ki n d of t a k e t h e first pi e c e, w hi c h is h ar v esti n g t h e m er c h a n disi n g b e n efit. As I e x pr ess e d a littl e e arli er, w e'r e k n e e- d e e p i n t h at
at t h e m o m e nt. I' m r e all y pl e as e d wit h t h e p a c e a n d w h at c h a n g e l o o ks li k e t h er e i n t er ms of h ar v esti n g b ett er C O G S a n d r e all y l o o ki n g t o c ur at e
o ur ass ort m e nt. I t hi n k o n e of t h e r e al str e n gt hs of t h e s e as o n w h e n w e'r e u n d er pr ess ur e is t h at w e w er e a bl e t o m ai nt ai n o ur i n v e nt ori es a n d
al w a ys l o o k at t h at mi x of s al es gr o wt h v ers us i n v e nt or y gr o wt h. A n d t h e t e a m h a d d o n e a gr e at j o b i n t er ms of k e e pi n g t h e li d o n i n v e nt or y a n d
r e all y c ulli n g t hr o u g h t h at a g e d a n d e x c ess i n v e nt or y si d e of t h e b usi n ess. S o t h at's a r e al str e n gt h. It h el ps s et us u p f or 2 0 2 0 i n a r e all y p ositi v e
w a y.

As I m e nti o n e d e arli er, t h e i d e as ar o u n d h ar v esti n g o w n e d br a n d o p p ort u niti es is o n e t h at n e e ds a d e e p p ortf oli o r e vi e w, a n d I' v e alr e a d y c o n d u ct e d
t h at, a n d w e' v e b e g u n t h e pr o c ess of t h at. B ut t h at's n ot a n o v er ni g ht s e ns ati o n, a n d w e w a nt t o g et it ri g ht. B ut w e will r e c o nstr u ct o ur off er wit h
a d efi niti v e mi x of o w n e d br a n d c ur at e d wit h n ati o n al br a n d t o cr e at e a u ni q u e a n d diff er e nti at e d h o m e a ut h orit y. A n d s o t h at's cl e arl y o n t h e
a g e n d a. Ti m e of h ar v est, si z e of h ar v est, st a y t u n e d. I' m g oi n g t o c o m e b a c k w h e n w e, i n s pri n g, o utli n e o ur o v er all pl a n, a n d t h at's w h at w e'r e v er y
a cti v el y w or ki n g o n at t h e m o m e nt.

I n t er ms of Q 4, w e'r e still i n t h e mi d dl e of t h at, a n d w e'r e n ot g oi n g t o b e d e cl ari n g a n y n u m b ers t h er e. B ut w e h a v e s ai d t h at w e c o nti n u e t o r e m ai n
u n d er pr ess ur e. A n d w e'r e w or ki n g t hr o u g h h o w w e'r e p erf or mi n g t h er e, a n d w e h a v e a n u m b er of b alls i n t h e air o n w h at o ur o pti o ns ar e a n d
h o w w e'r e g oi n g t o c o m e o ut. S o a g ai n, n ot off eri n g t h at at t h e m o m e nt, b ut t h a n ks f or y o ur q u esti o n.


O p er at or
A n d o ur n e xt q u esti o n c o m es fr o m S et h Si g m a n fr o m Cr é dit S uiss e.


S et h I a n Si g m a n - Cr é dit S uiss e A G, R es e ar c h Di visi o n - U nit e d St at es H ar dli n e R et ail E q uit y R es e ar c h A n al yst
S o I' m c uri o us o n t h e h oli d a y p erf or m a n c e, y o u t al k e d a b o ut t h at 7. 1 % c o m p o v er t h e 5- d a y h oli d a y p eri o d. Y o u als o m e nti o n e d t h at t his w as t h e
first Bl a c k Fri d a y c a m p ai g n y o u r a n, s o I ass u m e t h at h el p e d. A n yt hi n g els e y o u w o ul d hi g hli g ht t h at dr o v e t h at p ositi v e c o m p ? A n d if y o u c o ul d
gi v e us s o m e p ers p e cti v e o n h o w t h at e x a ct p eri o d p erf or m e d i n pri or y e ars, m a y b e j ust l ast y e ar t o p ut it i n c o nt e xt, t h at w o ul d b e h el pf ul.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. S o I c a n gi v e y o u a n o v er vi e w, a n d R o b y n will a d d s o m e c ol or t o t h e a ct u al n u m b ers. I t hi n k, S et h, t h e iss u e f or us w as i n t h e s u m of t h e q u art er,
t h e T h a n ks gi vi n g c a m e i n t h e cl osi n g d a ys, a n d it c a m e wit h a b a n g. B ut o ur l e a d-i n w as r el ati v el y s oft, a n d w e di d l a c k gr e at tr affi c e n o u g h t o


                                                                                                                                                                                                                                                              11

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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  J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

c o m p e ns at e a n d b al a n c e o ut o ur f ull q u art er. A n d t h at's a h u g e l e ar ni n g f or us, a n d w e w o n't r e p e at t h at i n 2 0 2 0. B ut w h at w e di d s e e is n ot o nl y
o p e n t h e e xtr a d a y, b ut w e st art e d e nt eri n g i nt o T h a n ks gi vi n g p eri o d, a n d w e s a w r e al pr ess ur e o n s al es. A n d w e r e ali z e d t h at s o m e of o ur a cti vit y
i n di git al, b y tr yi n g t o r e m ai n i n d e p e n d e ntl y pr ofit a bl e i n t h at s p a c e a n d n ot t hi n ki n g a b o ut t h e g at e w a y e x p eri e n c e o n t h e T h a n ks gi vi n g p eri o d,
w as dist orti n g o ur tr u e pri c e v al u e e q u ati o n a n d w h at w e c o ul d m e a n t o t h e c ust o m er at t h at ti m e.

W e m a d e r e all y s h ar p pi v ots, a n d I w as r e all y pr o u d of t h e t e a m, a n d w e i nst a ntl y s a w k e y it e ms w e'r e wi n ni n g s h ar e b a c k. W e'r e w at c hi n g it h o ur
b y h o ur. A n d w e'r e a bl e t o d o t h at di git al first, of c o urs e, b e c a us e of o ur a gilit y t h er e. H a vi n g a str o n g er pr es e n c e i n-st or e of si g n a g e a n d off ers,
a n d w e t hi n k t h at's s o m et hi n g w e c a n still m o v e m or e ass erti v el y o n n e xt y e ar a n d c o m bi ni n g t h at 3 6 0 e x p eri e n c e. S o t h e y all l e nt its elf t o a m u c h
str o n g er p eri o d. A g ai n, l at e i n t h e q u art er a n d o nl y a s m all p art of o ur o v er all p erf or m a n c e, b ut t h e y di d gi v e us gr e e n s h o ots of o p p ort u nit y t o s a y
w h e n w e a ct a n d t hi n k diff er e ntl y, w e c a n wi n. A n d o ur c ust o m er l o v es us a n d tr usts us, w e' v e j ust g ot t o l et t h e m i n t h e d o or.


R o b y n M. D' Eli a - B e d B at h & B e y o n d I n c. - C F O & Tr e as ur er
A n d j ust r e g ar di n g t h e n u m b ers, w e w er e pl e as e d t h at w h e n w e m a d e t h os e c h a n g es, w e w er e a bl e t o d eli v er p ositi v e r es ults. Alt h o u g h i n t h at
wi n d o w, i n t h at 5- d a y wi n d o w b et w e e n T h a n ks gi vi n g a n d C y b er M o n d a y, h a vi n g a p ositi v e o v er 5 % c o m ps i n st or es a n d a p ositi v e o v er 1 3 % i n
di git al is a v er y diff er e nt tr aj e ct or y t h a n w h at w e t h o u g ht.


O p er at or
A n d o ur n e xt q u esti o n c o m es fr o m Oli v er Wi nt er m a nt el fr o m E v er c or e.


Oli v er Wi nt er m a nt el - E v er c or e I SI I nstit uti o n al E q uiti es, R es e ar c h Di visi o n - M D & F u n d a m e nt al R es e ar c h A n al yst
M ar k, y o u m e nti o n e d 5 pill ars, s o I j ust w a nt t o f o c us o n 2 of t h os e. O n e, y o u m e nti o n e d o m ni c h a n n el a n d m ulti c h a n n el i n v est m e nts a n d t h e ot h er
o n e w as pri c e i n v est m e nts i n y o ur pr e p ar e d r e m ar ks. S o I d o n't w a nt t o p ut w or ds i n y o ur m o ut h, b ut is it f air t o ass u m e t h at i n t his tr a nsiti o n
p eri o d, ar e y o u f o c usi n g m or e o n t o p li n e gr o wt h t h a n o n m ar gi ns t o g et t h e t o p li n e g oi n g a n d m a y b e i n v est i n m ar gi ns ? Is t h at a f air ass u m pti o n ?


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
I t hi n k t h at's a littl e t o o g e n er al. I m e a n I t hi n k w e'r e l o o ki n g i n a v er y b al a n c e d w a y b et w e e n s al es a n d gr oss m ar gi n. W h at w e ar e r e c o g ni zi n g n o w,
Oli v er, is t h e n e e d t o e ns ur e t h at i n t his n e w di git al w orl d a n d n e w r et ail e n vir o n m e nt t h at w e'r e e ns uri n g t h at tr affi c fl o ws i n t h e ri g ht w a y a n d
t h at w e'r e i n t h e c o nsi d er ati o n p o ol a p pr o pri at el y f or o ur c ust o m er. S o c o m p etiti v el y pri c e d a n d r e alisti c all y pri c e d i n t h e m ar k et b e c o m es t h e
i n v est m e nt t h at w e n e e d t o m a k e. I' m n o str a n g er t o t his, I' v e b e e n t hr o u g h it b ef or e, c o n v erti n g pr o m oti o n al s al es or cl e ar a n c e s al es t o r e g ul ar
pri c e s al es. A n d it c a n b e m e a ni n gf ul t o o ur b usi n ess i n t er ms of o ur o v er all s al es a n d st a bili z e d gr oss m ar gi n. S o w e'r e l o o ki n g at t h e b al a n c e of
t h os e 2. It's a w or d t h at I' m usi n g fr e q u e ntl y h er e, a n d it's q uit e d eli b er at e. W e'r e n ot j ust dri vi n g t o p li n e s al es at t h e s a crifi c e of.


Oli v er Wi nt er m a nt el - E v er c or e I SI I nstit uti o n al E q uiti es, R es e ar c h Di visi o n - M D & F u n d a m e nt al R es e ar c h A n al yst
G ot it. A n d f or -- j ust as a f oll o w- u p, y o u m e nti o n e d t h e r e al est at e str at e g y, a n d t h at's u n d er r e vi e w. H a v e y o u t al k e d a b o ut t h e diff er e nt br a n ds
t h at y o u o w n, w h at t h e str at e g y is t h er e ?


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. W e' v e t a k e n a n e xt er n al p art n er t o ass ess o ur o v er all c o n c e pts, a n d w e'r e c o nti n ui n g t o l o o k at o p p ort u niti es t o m a xi mi z e o ur p ortf oli o. A n d
I d o n't h a v e a n yt hi n g t o s h ar e at t his p oi nt, b ut I l o o k f or w ar d t o c o mi n g b a c k a n d s h ari n g m or e i d e as o n w h er e w e'r e h e a di n g wit h o ur o v er all
c o n c e pts a n d p ortf oli o.


                                                                                                                                                                                                                                                              12

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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 J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all


O p er at or
A n d o ur n e xt q u esti o n c o m es fr o m St e v e F or b es fr o m G u g g e n h ei m.


St e v e n P a ul F or b e s - G u g g e n h ei m S e c uriti es, L L C, R es e ar c h Di visi o n - A n al yst
I w a nt e d t o st art wit h a f oll o w- u p o n t h e pr o m oti o n al pl a ns y o u dis c uss e d. A n d m a y b e t o st art o n t h at, m a y b e if y o u c a n s ort of gi v e us s o m e c ol or
a n d e x p a n d o n t h e d e cisi o n d uri n g t h e q u art er or, I g u ess, o v er t h e p ast c o u pl e of m o nt hs t o d o t h e 2 5 % off t h e e ntir e p ur c h as e m ulti pl e ti m es.
A n d t h e r e as o n I as k e d, ri g ht, is j ust l o o ki n g f or s o m e i nsi g ht i nt o t h e c ust o m er r es p o ns e. A n d t h e n als o j ust m a y b e h o w t h at r el at es t o y o ur i niti al
t a k e, M ar k, o n t h e v al u e pr o p ositi o n of t h e B E Y O N D + m e m b ers hi p pr o gr a m gi v e n t h at t h er e is s o m e i n h er e nt v al u e, ri g ht, wit h t h os e m e m b ers'
a biliti es t o utili z e c o u p o ns all t h e ti m e a n d t h e fr e q u e n c y -- i n cr e asi n g t h e fr e q u e n c y a n d t h e d e pt h of t h e c o u p o n f or e v er y o n e s ort of dist orts t h e
v al u e. S o I' d j ust l o v e t o h e ar h o w y o u'r e s ort of b al a n ci n g pr o m oti o n al eff orts wit h t h e B E Y O N D + m e m b ers hi p pr o gr a m.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. S o i n t er ms of t h e T h a n ks gi vi n g p eri o d, t his w as t h e first ti m e t h at w e a ct u all y d e pl o y e d a n a cti v e m ass pr o m oti o n al str at e g y, n ot a c o u p o n
str at e g y. A n d I t hi n k t h at w h at w e di d i nsi d e t h os e, w e d est a c k e d it, s o t h er e w as a n a bs ol ut e. A n d I t hi n k it t al k e d cl e arl y a n d r es o n at e d fr e el y wit h
t h e c ust o m er a b o ut v al u e. A n d t h at's a r e all y ti g ht mi cr o c os m of ti m e wit h its h y p er f o c us o n pri c e a n d v al u e a n d dis c o u nts i n t h e m ar k et. S o it's
n ot a l o n g-r u n ni n g o p p ort u nit y a n d n ot a m assi v el y r e p e at a bl e o n e. B ut w h er e w e s e e t h at w e c a n stri k e wit h a si m pl e, eff e cti v e pr o m oti o n, a n d
t h e y w o n't b e as st e e p as w e' v e s h o w n h er e, t his w as, as I' v e s ai d i n t h e ti m e a n d pl a c e, w e'll b al a n c e t h at o ut wit h a p ortf oli o of r e g ul ar c o u p o n
a n d m e a ni n gf ul pr o m oti o ns. S o w e'r e c urr e ntl y r e vi e wi n g t h e r es ults t h at w e' v e h a d a n d h el pi n g t o s h a p e h o w t h at b e c o m es a m or e m e a ni n gf ul
eff ort t hr o u g h o ut o ur 2 0 2 0 pl a n, s o m or e f oll o w o n t h at.

S o t h e ot h er p art of y o ur q u esti o n, c a n y o u j ust r e p e at t h at f or m e ?


St e v e n P a ul F or b e s - G u g g e n h ei m S e c uriti es, L L C, R es e ar c h Di visi o n - A n al yst
M a y b e j ust y o ur i niti al p er c e pti o n, ri g ht, of t h e v al u e pr o p ositi o n of t h e B E Y O N D + m e m b ers hi p pr o gr a m b e c a us e, o k a y, o b vi o usl y, p art of t h at is
t h at 2 0 % off c o u p o n, e v er y d a y, e v er y it e m. If t h er e's g oi n g t o b e a c h a n g e i n t h e pr o m oti o n al pl a n h er e, it dist orts t h e v al u e, s o j ust l o v e t o h e ar
y o ur i niti al p er c e pti o n.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. I m e a n I t hi n k w e ar e ki n d of p utti n g it u p f or a t ot al r e vi e w a cr oss t h e b o ar d. I t hi n k w h at w e s e e is t h at w e h a v e a g u est w h o's i n cr e di bl y l o y al,
a n d h o w d o w e r e w ar d t h e m ? H o w d o w e e n g a g e t h e m ? A n d I t hi n k t h e y'r e l o o ki n g f or b ot h. A n d s o I t hi n k t h at t h e B E Y O N D + 2 0 % off is o n e
str at e g y a n d o n e off er t h at w e' v e us e d. A n d I t hi n k t h er e's pr o b a bl y s e v er al m or e n ot es t h at w e c a n a d d i nt o t h at t o pl a y it a diff er e nt w a y. B ut
a g ai n, it's a b o ut a m e as ur e d r es p o ns e b et w e e n t h e a cti o n a n d c o-r e a cti o n of e a c h of t h os e pi e c es' pr o m o: B E Y O N D +, c o u p o n a n d r e g ul ar pri c e.
A n d s o w e'r e r e vi e wi n g t h os e i n r e al ti m e at t h e m o m e nt. It's d efi nit el y a n ar e a of f o c us f or us.


O p er at or
A n d o ur n e xt q u esti o n c o m es fr o m J o n at h a n M at us z e ws ki fr o m J eff eri es.


J o n at h a n Ri c h ar d M at u s z e w s ki - J eff eri es L L C, R es e ar c h Di visi o n - E q uit y A n al yst
Gr e at. W el c o m e, M ar k.


                                                                                                                                                                                                                                                              13

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
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  J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
T h a n ks, J o n at h a n.


J o n at h a n Ri c h ar d M at u s z e w s ki - J eff eri es L L C, R es e ar c h Di visi o n - E q uit y A n al yst
A p pr e ci at e w e'll b e g etti n g m or e c ol or o n t h e ti mi n g of p ot e nti al di v estit ur es i n a f e w m o nt hs wit h a br o a d er visi o n, b ut w h at ar e t h e p ar a m et ers
y o u'll b e usi n g t o pri oriti z e i n d e ci di n g w hi c h c o n c e pts y o u d e e m as c or e a n d w hi c h y o u d e e m as l ess i m p ort a nt t o t h e n e w B e d B at h ?


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. It's a gr e at q u esti o n. I t hi n k t h at t h e gr e at s p ot t h at w e'r e i n is t h e crit eri a is n't n e c ess aril y c as h b e c a us e w e ar e s o c as h ri c h a n d w e c a n a d d t o
t h at t o i n v est i n o ur b usi n ess a n d d o a n u m b er of diff er e nt t hi n gs. T h e crit eri a r e all y is ar o u n d w h at d o w e s e e is f u n d a m e nt all y c o n n e ct e d t o o ur
c or e a n d t h at w e c a n b uil d s ust ai n a bl e gr o wt h a n d r e all y b uil d e q uit y o v er ti m e a n d als o t o w h at is a n a d diti o n t o o ur c urr e nt w or kl o a d or a
s u btr a cti o n t o o ur c urr e nt w or kl o a d a n d o ur f o c us. S o o ur p ortf oli o is wi d e. T h e y'r e all str o n g, a n d t h e y'r e all gr e at ass ets. B ut w h o w e w a nt t o b e
i n 1, 2, 3 y e ars' ti m e, I t hi n k w e w a nt t o s e e o urs el v es as a c or e n u cl e us of br a n ds a n d b usi n ess es t h at ar e i nt err el at e d a n d t h at c a n s u p p ort o n e
a n ot h er a n d cr e at e tr u e e c o n o mi es of s c al e. S o t h at's p art of t h e crit eri a t h at w e'r e usi n g as w e ass ess.


J o n at h a n Ri c h ar d M at u s z e w s ki - J eff eri es L L C, R es e ar c h Di visi o n - E q uit y A n al yst
T h at's h el pf ul. A n d j ust a q ui c k f oll o w- u p, y o u m e nti o n e d t h e v e n d or c oll a b or ati o n pr o gr a m, I t hi n k, sl at e d f or l at er t his y e ar. M a y b e j ust if y o u
c o ul d j ust s h ar e ki n d of y o ur visi o n f or w h at t h at will b e c o m e a n d w h at b e d B at h is s e e ki n g t o a c hi e v e t h er e.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. I t hi n k o v er all, I s e e v e n d ors as a m aj or k e y t o t h e d o or i n t er ms of o ur f ut ur e s u c c ess. T h e y i n v est e d i n us, a n d w e w or k as a k e y p art n er. A n d
I t hi n k w e c a n d o u bl e d o w n o n t h e p art n ers hi p. A n d t h at r e all y st e ms fr o m a l e v el of d at a, u n d erst a n di n g o ur c ust o m er a n d t h eir n e e ds a n d r e all y
t a p pi n g i nt o o ur v e n d ors f or t h eir str e n gt h. A n d I t hi n k t h at t h at's a n o p p ort u nit y f or us t o b e m or e s y m bi oti c i n t h e w a y t h at w e w or k. A n d
tr a nsf erri n g of i nf or m ati o n a n d o p p ort u nit y b et w e e n us is, I t hi n k, o n e of t h e h all m ar ks of h o w I' v e o p er at e d i n t h e p ast. I d o n't r e all y w a nt t o d o u bl e
d o w n o n t h at h er e at B e d B at h & B e y o n d. As I s ai d, I' v e o nl y b e e n h er e 6 6 d a ys, a n d w e' v e b e e n d oi n g a l ot of t hi n gs. O n e of t h e t hi n gs I l o o k f or w ar d
t o wit h m y n e w t e a m is r e all y est a blis hi n g a m u c h d e e p er a n d cl os er r el ati o ns hi p wit h o ur v e n d or p art n ers al o n g wit h m or e i nt uiti v e d at a t o b e
a bl e t o m a k e r e al-ti m e b usi n ess d e cisi o ns, m e et o ur c ust o m er n e e ds a n d all of us pr os p er.


O p er at or
A n d o ur n e xt q u esti o n c o m es fr o m S et h B as h a m fr o m W e d b us h S e c uriti es.


S et h M c k ai n B a s h a m - W e d b us h S e c uriti es I n c., R es e ar c h Di visi o n - M D Of E q uit y R es e ar c h
W el c o m e, M ar k.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
T h a n ks, S et h.




                                                                                                                                                                                                                                                              14

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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 J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all


S et h M c k ai n B a s h a m - W e d b us h S e c uriti es I n c., R es e ar c h Di visi o n - M D Of E q uit y R es e ar c h
M y first q u esti o n is ar o u n d o m ni c h a n n el. Y o u s u g g est e d a k e y pi e c e of y o ur t ur n ar o u n d pl a n is t o b uil d a tr u e o m ni c h a n n el r et ail er. W hi c h r et ail ers
d o y o u vi e w as b est-i n- cl ass i n t his r e g ar d alr e a d y ? A n d will y o u us e t h es e r et ail ers as a r o a d m a p f or y o ur tr a nsf or m ati o n ?


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
A gr e at q u esti o n. I m e a n I t hi n k t h at I' m -- w e'r e l o o ki n g at t h e t ot al m ar k et pl a c e a n d r e all y tr yi n g t o u n d erst a n d t h e c ust o m er -- h o w t h e c ust o m er
h as l e ar n e d n e w w a ys of s h o p pi n g, n e w w a ys of i nt er a cti n g a n d r e all y l o o ki n g at all t h os e b est pr a cti c es a cr oss t h e b o ar d. A n d t h e k e y el e m e nts
of t h os e ar e r e all y ar o u n d a di git al-first str at e g y, w h at w e'r e c alli n g a n o m ni- al w a ys, a n d r e all y t hi n ki n g a b o ut di git al as a g at e w a y e x p eri e n c e. Li k e
w e' v e s e e n s o m e gr e at st atisti cs wit hi n t h e q u art er t h at s a w o ur m o bil e c o n v ersi o n o ut p a c e o ur d es kt o p c o n v ersi o n f or t h e v er y first ti m e, a n d
t h at's wit h t h e a p p pl a yi n g a gr e at r ol e, a n d w e t hi n k t h at it c a n b e e v e n m or e pr e v al e nt i n t h e w a y t h at w e i nt er a ct wit h t h e c ust o m er. W e s e e t h at
e as e a n d c o n v e ni e n c e is a v er y i m p ort a nt p art of o ur b usi n ess. A n d I t hi n k t h at t h e l ast 1 2 m o nt hs t o 2 y e ars is r e all y s e ei n g a r e n aiss a n c e i n t h e
i nt er c o n n e cti o n b et w e e n di git al a n d p h ysi c al, es p e ci all y ar o u n d B O P U S w h er e t h er e's b e e n a l ot of gr o wt h. A n d I d o n't t hi n k w e' v e b e e n g e ar e d
eff e cti v el y f or t h at, a n d I t hi n k w e' v e b e e n missi n g o ut o n t h at o p p ort u nit y. W e' v e s e e n s o m e r e all y gr e at d o u bl e- di git c o m p gr o wt h i n o ur R O P U S
b usi n ess. B ut t h at is R es er v e O nli n e, B u y I n- St or e, w hi c h is still cr e ati n g fri cti o n f or t h e g u est t o h a v e t o g o t hr o u g h t h e a ct u al p ur c h as e at st or e.
W e'r e g oi n g t o m o v e t o fri cti o nl ess p ur c h asi n g i n e arl y 2 0 2 0 as w e m o v e i nt o a B O P U S e n vir o n m e nt, w hi c h w e s e e o ur c o m p etiti o n alr e a d y
fl o uris hi n g i n t h at.

S o w e h a v e bi g e y es a n d e ars a n d r e all y l o o ki n g at o ur c o m p etiti o n a n d s e ei n g h o w t h e y s u c c e e d b ut als o h o w t h e y'r e i nfl u e n ci n g f ut ur e g u est
b e h a vi or, a n d w e'r e l o o ki n g t o m or e q ui c kl y c o m e o n b o ar d wit h t h at. W e k n o w t h at w e h a v e b e e n b e hi n d i n t h at. T h at's e v er yt hi n g fr o m ass ort m e nt,
pri ci n g, h o w w e r e pr es e nt o nli n e a n d i n-st or e, h o w w e m a k e it e asi er f or c ust o m ers t o s h o p. All t h es e ar e hi g hl y e m ul at a bl e. B ut w e als o w a nt t o
m a k e s ur e t h at d uri n g t h at pr o c ess, w e'r e cr e ati n g a u ni q u e a n d diff er e nti at e d m o d el fr o m ot h er r et ail ers. S o i nfl u e n c e, y es; c o p yi n g, n o. A n d w e
h a v e a gr e at o p p ort u nit y b ei n g a si n gl e a ut h orit y i n t h e h o m e s p a c e t o cr e at e a r e all y u ni q u e 3 6 0 o m ni- al w a ys e n vir o n m e nt t h at I l o o k f or w ar d t o
f ast-tr a c ki n g a n d s h ari n g wit h y o u g u ys.


S et h M c k ai n B a s h a m - W e d b us h S e c uriti es I n c., R es e ar c h Di visi o n - M D Of E q uit y R es e ar c h
T h at's v er y h el pf ul. A n d o n e f oll o w- u p q u esti o n f or R o b y n. J ust as w e t hi n k a b o ut t h e f o urt h q u art er r e p ort e d c o m ps, s h o ul d w e c o nsi d er t h os e t o
b e 5 0 0 b asis p oi nts b ett er, s o t o s p e a k, b e c a us e of t h e c al e n d ar s hift ?


R o b y n M. D' Eli a - B e d B at h & B e y o n d I n c. - C F O & Tr e as ur er
W ell, i n t er ms of f o urt h q u art er, b e c a us e w e h a v e a l ot g oi n g o n a n d w e'r e m a ki n g a l ot of c h a n g es, w e'r e still w or ki n g o n o ur pl a ns. At t his p oi nt,
w e f e el it's a p pr o pri at e n ot t o c o m m e nt o n a n y m etri cs t h er e.


S et h M c k ai n B a s h a m - W e d b us h S e c uriti es I n c., R es e ar c h Di visi o n - M D Of E q uit y R es e ar c h
I' m s orr y, j ust i n t er ms of t h e c al e n d ar s hift, t h e i m p a ct i n t h e t hir d q u art er w as a b o ut 5 0 0 b asis p oi nts b et w e e n y o ur r e p ort e d a n d a dj ust e d c o m p.
S o s h o ul d n't y o u j ust g et t h at b a c k i n t h e f o urt h q u art er ? T h at's all I w a nt t o cl arif y.


R o b y n M. D' Eli a - B e d B at h & B e y o n d I n c. - C F O & Tr e as ur er
O h, I u n d erst a n d. I' m s orr y. Y es. I b eli e v e it -- I d o n't k n o w if it w o ul d w ei g ht t h e s a m e w a y o n t h e f o urt h q u art er s al es, b ut w e'll pr o vi d e t h at
i nf or m ati o n o n c e w e r e p ort f o urt h q u art er e ar ni n gs.




                                                                                                                                                                                                                                                              15

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                          Cli e nt I d: 7 7
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 J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all


O p er at or
A n d w e h a v e ti m e f or o n e m or e q u esti o n, P et er B e n e di ct fr o m B air d.


P et er Sl o a n B e n e di ct - R o b ert W. B air d & C o. I n c or p or at e d, R es e ar c h Di visi o n - S e ni or R es e ar c h A n al yst
Gr e at. M a d e it u n d er t h e g u n. G o o d t o h e ar y o ur v oi c e. I g u ess, w ell, g e e z, o n e a n d a f oll o w- u p h er e. I'll st art wit h j ust t h e pri v at e br a n d str at e g y
b e c a us e, o b vi o usl y, t h at's s o m et hi n g t h at y o u c o m e wit h v er y fr es h a n d a l ot of e x p eri e n c e i n. I' m j ust c uri o us w h at t h e i nfr astr u ct ur e n e e ds ar e
a n d w h at n e e ds t o b e p ut i n pl a c e f or y o u t o ki n d of p us h t h at i niti ati v e at t h e l e v el I ass u m e y o u w a nt t o p us h it. Is it i n pl a c e alr e a d y ? Is t h er e --
or a l ot of i n v est m e nt h as t o t a k e pl a c e. J ust c uri o us, y o ur t h o u g hts ar o u n d o n t h at i n t er ms of pri v at e br a n ds.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. S o cr e ati n g a n o w n e d br a n d st a bl e r e all y d o es t a k e 2 t hi n gs. I m e a n it t a k es a t al e nt e d t e a m, it t a k es a cl e ar str at e g y b ut als o t a k es gr e at
p art n ers. A n d w e'r e c ulti v ati n g all 3 at t h e m o m e nt. W e h a v e a n e xisti n g t e a m w h o ar e v er y str o n g. W e'r e c urr e ntl y d e e p e ni n g o ur p art n ers hi p
w or k. O ur t e a m h as b e e n o ut i n Asi a, w or ki n g t hr o u g h t h at i n t h e D e c e m b er p eri o d t o f ast tr a c k t h at. W e s e e t o ns of u psi d e i n t er ms of o ur C O G S
ass ess m e nt b y c o n v erti n g dis cr eti o n ar y l a b els i nt o a m or e m e a ni n gf ul o w n e d br a n d p ortf oli o, a n d t h at's hi g h o n o ur a g e n d a. T h er e will b e s o m e
i nfr astr u ct ur e i n v est m e nt t o g et e v e n gr e at er t al e nt t o a d d t o t h at t e a m t o g et t h e j o b d o n e. B ut t his is w h y w e'r e c urr e ntl y i n fl u x, l o o ki n g at o ur
o v er all S G & A t o m a k e s ur e t h at w e c a n r e all y r e c ut o ur o p er ati o ns t o s elf-f u n d a n d dri v e t h es e b usi n ess es. W e s e e s etti n g u p t his t e a m i n f ull b ut
still cr e ati n g o p er ati o n al effi ci e n ci es a n d c ost s a vi n gs t o o ur S G & A as a r es ult. B ut w e'r e r e all y e x cit e d t o b uil d off t h at t e a m a n d b uil d a p ortf oli o
a n d a st a g e d s et of e v e nts as I' v e d o n e i n pri or c o m p a ni es ar o u n d t h e i ntr o d u cti o n of o w n e d a n d d ef e n d a bl e br a n ds t h at y o u c a n o nl y fi n d i n B e d
B at h & B e y o n d a n d i n o ur p ortf oli o. It's n ot -- as w e h a v e t o d esi g n, s o ur c e, cr e at e br a n ds, m o v e f or w ar d, t h at's n ot a n o v er ni g ht s e ns ati o n. B ut I' m
r e all y e x cit e d a b o ut w h at I' m s e ei n g as t h e e arl y f o ot pri nt of w h at w e'r e g oi n g t o b e d oi n g t h er e.


P et er Sl o a n B e n e di ct - R o b ert W. B air d & C o. I n c or p or at e d, R es e ar c h Di visi o n - S e ni or R es e ar c h A n al yst
N o, t h at's h el pf ul. A n d t h e n I g u ess m y l ast q u esti o n or m y f oll o w- u p w o ul d b e o n j ust t h e r ol e of r e gistr y at B e d B at h & B e y o n d. Hist ori c all y, it's
b e e n a pr ett y i m p ort a nt p art of t h e b usi n ess. J ust c uri o us, y o ur vi e ws o n r e gistr y a n d w h at y o u t hi n k y o u c a n d o t h er e, if t h at's a n ar e a of f o c us f or
y o u.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
Y es. I m e a n I a ct u all y w as j ust r e vi e wi n g s o m e d at a ar o u n d t h at y est er d a y, a n d s o m e r e all y v er y p ositi v e si g ns t h er e. I t hi n k t h at t h at's b e e n a
t o u g h er m ar k et f or e v er y o n e i n t ot al. B ut p arti c ul arl y i n o ur b a b y b usi n ess, w e' v e b e e n g ai ni n g m ar k et s h ar e as a r es ult of o ur r e gistr y, a n d w e'r e
b uil di n g d e e p er tr ust a n d e n g a g e m e nt wit h o ur c ust o m ers. A n d I t hi n k t h at it's a w a y t h at w e c a n r ei g nit e o ur e n g a g e m e nt e v e n f urt h er. W e' v e
s e e n s o m e d e cli n es i n o ur o v er all s al es i n r e gistr y w hil e still m ai nt ai ni n g a v er y hi g h s h ar e p e n etr ati o n i n t h e r e gistr y s p a c e. W e ar e k n o w n f or t his.
I t hi n k it's s o m et hi n g w e w o n't i g n or e, a n d w e'll fi n d w a ys t o i g nit e it i nsi d e o ur str at e gi c pl a n. If y o u ki n d of t hi n k a b o ut t h e c o m bi n ati o n of r e all y
u ni q u e pr o d u ct off eri n g t hr o u g h o w n e d br a n d a n d t h e p o w er of r e gistr y a n d t h e p o w er of B O P U S a n d t h e i n t h e p o w er of di git al, y o u st art t o r e all y
g et a n e w fr o nti er i n t h e w a y t h at w e c a n dri v e o ur b usi n ess.


O p er at or
A n d t his c o n cl u d es t h e q u esti o n- a n d- a ns w er s essi o n. I'll n o w t ur n t h e c all b a c k o v er t o J a n et B art h f or fi n al r e m ar ks.




                                                                                                                                                                                                                                                              16

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
                                                                                                                                                                                                                                                                             Cli e nt I d: 7 7
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  J A N U A R Y 0 8, 2 0 2 0 / 1 0: 0 0 P M, B B B Y - Q 3 2 01 9 B e d B at h & B e y o n d I n c E ar ni n g s C all

J a n et B art h
T h a n k y o u, a n d t h a n k y o u all f or p arti ci p ati n g i n o ur c all t o d a y. If w e di d n't g et t o y o ur q u esti o ns or if y o u h a v e a d diti o n al q u esti o ns, as al w a ys,
pl e as e f e el fr e e t o c o nt a ct m e f or a f oll o w- u p c all. Ot h er wis e, h a v e a g o o d ni g ht. T h a n k y o u.


M ar k J. Tritt o n - B e d B at h & B e y o n d I n c. - Pr esi d e nt, C E O & Dir e ct or
T h a n k y o u.


O p er at or
T h a n k y o u, l a di es a n d g e ntl e m e n. T his c o n cl u d es t o d a y's c o nf er e n c e c all. T h a n k y o u f or p arti ci p ati n g, a n d y o u m a y n o w dis c o n n e ct.




  DI S C L AI M E R
  T h o ms o n R e ut ers r es er v es t h e ri g ht t o m a k e c h a n g es t o d o c u m e nts, c o nt e nt, or ot h er i nf or m ati o n o n t his w e b sit e wit h o ut o bli g ati o n t o n otif y a n y p ers o n of s u c h c h a n g es.
  I n t h e c o nf er e n c e c alls u p o n w hi c h E v e nt Tr a ns cri pts ar e b as e d, c o m p a ni es m a y m a k e pr oj e cti o ns or ot h er f or w ar d-l o o ki n g st at e m e nts r e g ar di n g a v ari et y of it e ms. S u c h f or w ar d-l o o ki n g st at e m e nts ar e b as e d u p o n
  c urr e nt e x p e ct ati o ns a n d i n v ol v e ris ks a n d u n c ert ai nti es. A ct u al r es ults m a y diff er m at eri all y fr o m t h os e st at e d i n a n y f or w ar d-l o o ki n g st at e m e nt b as e d o n a n u m b er of i m p ort a nt f a ct ors a n d ris ks, w hi c h ar e m or e
  s p e cifi c all y i d e ntifi e d i n t h e c o m p a ni es' m ost r e c e nt S E C fili n gs. Alt h o u g h t h e c o m p a ni es m a y i n di c at e a n d b eli e v e t h at t h e ass u m pti o ns u n d erl yi n g t h e f or w ar d-l o o ki n g st at e m e nts ar e r e as o n a bl e, a n y of t h e
  ass u m pti o ns c o ul d pr o v e i n a c c ur at e or i n c orr e ct a n d, t h er ef or e, t h er e c a n b e n o ass ur a n c e t h at t h e r es ults c o nt e m pl at e d i n t h e f or w ar d-l o o ki n g st at e m e nts will b e r e ali z e d.
  T H E I N F O R M A TI O N C O N T AI N E D I N E V E N T T R A N S C RI P T S I S A T E X T U A L R E P R E S E N T A TI O N O F T H E A P P LI C A B L E C O M P A N Y' S C O N F E R E N C E C A L L A N D W HI L E E F F O R T S A R E M A D E T O P R O VI D E A N A C C U R A T E T R A N S C RI P TI O N,
  T H E R E M A Y B E M A T E RI A L E R R O R S, O MI S SI O N S, O R I N A C C U R A CI E S I N T H E R E P O R TI N G O F T H E S U B S T A N C E O F T H E C O N F E R E N C E C A L L S. I N N O W A Y D O E S T H O M S O N R E U T E R S O R T H E A P P LI C A B L E C O M P A N Y A S S U M E
  A N Y R E S P O N SI BI LI T Y F O R A N Y I N V E S T M E N T O R O T H E R D E CI SI O N S M A D E B A S E D U P O N T H E I N F O R M A TI O N P R O VI D E D O N T HI S W E B SI T E O R I N A N Y E V E N T T R A N S C RI P T. U S E R S A R E A D VI S E D T O R E VI E W T H E A P P LI C A B L E
  C O M P A N Y' S C O N F E R E N C E C A L L I T S E L F A N D T H E A P P LI C A B L E C O M P A N Y' S S E C FI LI N G S B E F O R E M A KI N G A N Y I N V E S T M E N T O R O T H E R D E CI SI O N S.
  © 2 0 2 0, T h o ms o n R e ut ers. All Ri g hts R es er v e d. 1 2 9 4 6 6 5 7- 2 0 2 0- 0 1- 1 0T 0 5: 4 0: 5 9. 9 4 7




                                                                                                                                                                                                                                                                                                                 17

T H O M S O N R E U T E R S S T R E E T E V E N T S | w w w. str e et e v e nt s. c o m | C o nt a ct U s

© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar m e a n s, i s pr o hi bit e d
wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s
affili at e d c o m p a ni e s.
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                   E X HI BI T M
    Case 2:20-cv-08673-MCA-MAH Document 27-5 Filed 01/04/22 Page 48 of 160 PageID: 676




             T H O MS O N RE UTE RS
             E DI T E D T R A N S C RI P T
             B e d B at h & B e y o n d I n c t o H o st C o nf er e n c e C all T o Di s c u s s
             R e c e nt Tr a n s a cti o n s a n d C a pit al All o c ati o n Str at e g y
             C o nf er e n c e C all

             E V E N T D A T E / TI M E: F E B R U A R Y 1 8, 2 0 2 0 / 1 0: 3 0 P M G M T




T H O M S O N R E U T E R S | C o nt a ct U s
© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar
                                                                                                                                                                                                           1
m e a n s, i s pr o hi bit e d wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e
r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s affili at e d c o m p a ni e s.
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  F E B R U A R Y 1 8, 2 0 2 0 / 1 0: 3 0 P M G M T, B e d B at h & B e y o n d I n c t o H o st C o nf er e n c e C all T o Di s c u s s R e c e nt
  Tr a n s a cti o n s a n d C a pit al All o c ati o n Str at e g y C o nf er e n c e C all
    C O R P O R A T E P A R TI CI P A N T S

    J a n et M. B art h B e d B at h & B e y o n d I n c. - V P of I R
    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    R o b y n M. D' Eli a B e d B at h & B e y o n d I n c. - C F O & Tr e a s ur er

    C O N F E R E N C E C A L L P A R TI CI P A N T S

    Al e s s a n dr a Ji m e n e z R a y m o n d J a m e s & A s s o ci at e s, I n c., R e s e ar c h Di vi si o n - R e s e ar c h A n al y st
    A nt h o n y C hi n o n y e C h u k u m b a L o o p C a pit al M ar k et s L L C, R e s e ar c h Di vi si o n - S V P
    C urti s S m y s er N a gl e B of A M errill L y n c h, R e s e ar c h Di vi si o n - V P
    K at h ari n e A m a n d a M c S h a n e G ol d m a n S a c h s Gr o u p I n c., R e s e ar c h Di vi si o n - E q uit y A n al y st
    Mi c h a el L a s s er U B S I n v e st m e nt B a n k, R e s e ar c h Di vi si o n - M D a n d E q uit y R e s e ar c h A n al y st of C o n s u m er H ar dli n e s
    S et h M c k ai n B a s h a m W e d b u s h S e c uriti e s I n c., R e s e ar c h Di vi si o n - M D Of E q uit y R e s e ar c h
    Si m e o n Ari G ut m a n M or g a n St a nl e y, R e s e ar c h Di vi si o n - E x e c uti v e Dir e ct or
    St e v e n P a ul F or b e s G u g g e n h ei m S e c uriti e s, L L C, R e s e ar c h Di vi si o n - A n al y st

    P R E S E N T A TI O N

      O p er at or
    W el c o m e t o t h e B e d B at h & B e y o n d c o nf er e n c e c all. ( O p er at or I n str u cti o n s) T o d a y' s c o nf er e n c e c all i s b ei n g r e c or d e d. R e br o a d c a st of t h e
    c o nf er e n c e c all will b e a v ail a bl e b e gi n ni n g o n T u e s d a y, F e br u ar y 1 8, 2 0 2 0, at 8 p. m. E a st er n Ti m e t hr o u g h 8 p. m. E a st er n Ti m e o n
    T h ur s d a y, F e br u ar y 2 0, 2 0 2 0. T o a c c e s s t h e r e br o a d c a st, y o u m a y di al ( 8 8 8) 8 4 3- 7 41 9 wit h p a s s c o d e I D of 4 9 41 3 3 91. At t hi s ti m e, I' d li k e
    t o t ur n t h e c o nf er e n c e c all o v er t o J a n et B art h, Vi c e Pr e si d e nt, I n v e st or R el ati o n s. Pl e a s e g o a h e a d.

    J a n et M. B art h B e d B at h & B e y o n d I n c. - V P of I R
    T h a n k y o u, A dri a n n e, a n d g o o d aft er n o o n, e v er y o n e. W e a p pr e ci at e y o u j oi ni n g u s t o d a y t o di s c u s s t o d a y' s a n n o u n c e m e nt s, i n cl u di n g o ur
    a gr e e m e nt t o s ell P er s o n ali z ati o n M all. c o m a n d t h e n o ur c o m m u ni c ati o n r e g ar di n g o ur c a pit al all o c ati o n str at e g y. B ot h of t h e s e r el e a s e s
    c a n b e f o u n d i n t h e I n v e st or R el ati o n s s e cti o n of o ur w e b sit e at w w w. b e d b at h a n d b e y o n d. c o m a n d a s e x hi bit s t o F or m 8- K s w e fil e d
    a h e a d of t hi s c all.

    J oi ni n g m e o n o ur c all t o d a y ar e M ar k Tritt o n, B e d B at h & B e y o n d' s Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er; a n d R o b y n D' Eli a, o ur C hi ef
    Fi n a n ci al Offi c er a n d Tr e a s ur er.

    L et m e r e mi n d y o u t h at t hi s c o nf er e n c e c all m a y c o nt ai n f or w ar d-l o o ki n g st at e m e nt s, i n cl u di n g st at e m e nt s a b o ut or r ef er e n c e s t o o ur
    o utl o o k r e g ar di n g t h e c o m p a n y' s p erf or m a n c e or i nt er n al m o d el s a n d o ur l o n g-t er m o bj e cti v e s. All s u c h st at e m e nt s ar e s u bj e ct t o ri s k s
    a n d u n c ert ai nti e s t h at c o ul d c a u s e a ct u al r e s ult s t o diff er m at eri all y fr o m w h at w e s a y d uri n g t h e c all t o d a y. Pl e a s e r ef er t o o ur m o st
    r e c e nt p eri o di c S E C fili n g s f or m or e d et ail o n t h e s e ri s k s a n d u n c ert ai nti e s, i n cl u di n g t h e Ri s k F a ct or s s e cti o n i n o ur a n n u al r e p ort o n
    F or m 1 0- K. T h e c o m p a n y u n d ert a k e s n o o bli g ati o n t o u p d at e or r e vi s e a n y f or w ar d-l o o ki n g st at e m e nt s. T h e p ur p o s e of o ur c all t o d a y i s
    t o h e ar y o ur f e e d b a c k a n d a n s w er q u e sti o n s a b o ut t h e s e r e c e nt a n n o u n c e m e nt s. W e d o n ot pl a n t o c o m m e nt o n o ur fi s c al f o urt h q u art er
    a n d f ull y e ar r e s ult s n or pr o vi d e a d diti o n al fi n a n ci al g ui d a n c e r e g ar di n g fi s c al 2 0 2 0 or b e y o n d.

    I will n o w t ur n t h e c all o v er t o M ar k f or s o m e bri ef o p e ni n g r e m ar k s, a n d t h e n w e'll o p e n u p t h e c all t o Q & A.

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    T h a n k s, J a n et. G o o d aft er n o o n, e v er y b o d y. W e r e all y a p pr e ci at e y o u all b ei n g h er e o n s u c h s h ort n oti c e. I k n o w t hi s h a s b e e n a r e all y
    b u s y d a y o ut t h er e f or m o st of y o u. S o I' d li k e t o w el c o m e y o u t o m y 1 0 6t h d a y i n t h e r ol e a n d wit h t h at I' d li k e t o m ar k wit h a c o u pl e of
    i m p ort a nt a n n o u n c e m e nt s, w hi c h w e' v e s h ar e d wit h y o u alr e a d y.

    Fir st, e arli er t hi s m or ni n g, w e a n n o u n c e d a n a gr e e m e nt t o s ell P er s o n ali z ati o n M all. c o m, w hi c h, a s s ai d i n t h e r el e a s e, i s a n ot h er
    i m p ort a nt st e p t o w ar d s si m plif yi n g a n d d e e p e ni n g o ur f o c u s o n o ur c or e h o m e, b a b y a n d b e a ut y b u si n e s s e s. T h e d e al h el p s u s t o b e gi n
    t o str e a mli n e o ur b u si n e s s a n d u nl o c k s v al u a bl e c a pit al t h at w e c a n u s e t o r ei n v e st w h er e it m att er s m o st f or o ur s h ar e h ol d er s a n d o ur
    c u st o m er s. S o t o t h at e n d, t hi s aft er n o o n, w e a n n o u n c e d o ur fi s c al 2 0 2 0 c a pit al all o c ati o n str at e g y, w hi c h i n cl u d e s u p t o a p pr o xi m at el y
    $ 6 0 0 milli o n i n c a pit al r et ur n e d t o s h ar e h ol d er s a n d d e bt r e d u cti o n, a n d C a p E x e x p e n s e i n t h e r a n g e of $ 3 5 0 milli o n t o $ 4 0 0 milli o n,



T H O M S O N R E U T E R S | C o nt a ct U s
© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar
                                                                                                                                                                                                                      2
m e a n s, i s pr o hi bit e d wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e
r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s affili at e d c o m p a ni e s.
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  F E B R U A R Y 1 8, 2 0 2 0 / 1 0: 3 0 P M G M T, B e d B at h & B e y o n d I n c t o H o st C o nf er e n c e C all T o Di s c u s s R e c e nt
  Tr a n s a cti o n s a n d C a pit al All o c ati o n Str at e g y C o nf er e n c e C all
    pri m aril y f or i n v e st m e nt i n st or e s, I T a n d di git al pr oj e ct s, a n d s u p pl y c h ai n i nfr a str u ct ur e. W e b eli e v e t hi s b al a n c e d a p pr o a c h t o t h e u s e
    of o ur c a pit al will e n h a n c e s h ar e h ol d er v al u e, i m pr o v e t h e i n- st or e a n d o nli n e e x p eri e n c e a n d p o siti o n o ur c o m p a n y t o a c hi e v e o ur
    l o n g-t er m o bj e cti v e s t o d eli v er s u st ai n a bl e gr o wt h. S o wit h t h at, I' d li k e t o o p e n u p f or y o ur q u e sti o n s ar o u n d t o d a y' s a n n o u n c e m e nt a n d
    t h e c a pit al all o c ati o n e x p e n dit ur e.

    Q U E S TI O N S A N D A N S W E R S

      O p er at or
    ( O p er at or I n str u cti o n s) A n d o ur fir st q u e sti o n c o m e s fr o m S et h B a s h a m fr o m W e d b u s h.

    S et h M c k ai n B a s h a m W e d b u s h S e c uriti e s I n c., R e s e ar c h Di vi si o n - M D Of E q uit y R e s e ar c h
    T h a n k y o u f or y o ur a n n o u n c e m e nt a n d f or d oi n g t hi s c all. I t hi n k t h e s e ar e all st e p s i n t h e ri g ht dir e cti o n. T h er e' s still a n u m b er of
    q u e sti o n s t h at w e h a d a n d w e'r e g etti n g fr o m i n v e st or s. B ut l et m e j u st a s k y o u o n e. A s w e l o o k i nt o t h e f ut ur e, y o u'r e cl e arl y g oi n g t o b e
    r et ur ni n g a b u n c h of c a pit al t o s h ar e h ol d er s. Y o u h a v e a l ot of i n v e st m e nt s a h e a d of y o u a s w ell. O n e of t h e q u e sti o n s t h at w e c o nti n u e t o
    g et i s w h at' s g oi n g t o h a p p e n t o o p er ati n g c a s h fl o w s i n 2 0 2 0 wit h all t h e m o vi n g pi e c e s ? C o ul d y o u gi v e s o m e c ol or o n h o w y o u t hi n k
    t h e o p er ati n g c a s h fl o w pl a n will u nf ol d i n 2 0 2 0 wit h o ut pr o vi di n g a n y s p e cifi c g ui d a n c e ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    Y e s, a tri c k y o n e. S et h, I t hi n k w h at I' d s a y t o y o u i s t h at i n f or m ul ati n g t hi s pl a n, w e h a v e f a s hi o n e d it a g ai n st o ur 2 0 2 0 a n d b e y o n d
    fir st- w a v e e x p e ct ati o n s, a n d w e ar e pl a n ni n g t o m ai nt ai n a str o n g l e v el of fr e e c a s h fl o w a s p er h a s b e e n o ur n or m. S o m ai nt ai ni n g t h at
    a g ai n st c a s h fr o m o p er ati o n s c o mi n g i n h a s b e e n a b al a n ci n g a ct. S o I r e all y c a n't d et ail o ut t h at n u m b er b y q u art er, b ut t o s a y t h at, t h e
    st e a di n e s s of o ur fr e e c a s h fl o w i s u ni nt err u pt e d b y t hi s i n v e st m e nt.

    S et h M c k ai n B a s h a m W e d b u s h S e c uriti e s I n c., R e s e ar c h Di vi si o n - M D Of E q uit y R e s e ar c h
    T h at' s h el pf ul. A n d a s it r el at e s t o y o ur i n v e nt or y pl a n s, a f e w -- I g u e s s a c o u pl e of q u art er s a g o, t h er e w a s a pl a n t o t a k e o ut a b o ut $1
    billi o n of i n v e nt or y o ut of r et ail. I s t h at pl a n still i nt a ct f or 2 0 2 0 ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    Y e s, it i s. I m e a n a c o u pl e of t hi n g s o n i n v e nt or y. W e' v e h a d a d o u bl e- e d g e d s w or d i n t er m s of i n v e nt or y, a n d I w o ul d t al k t o, fir stl y, t h e
    n e g ati v e i n t h at w e' v e b e e n d e ali n g wit h s o m e o ut- of- st o c k s i n t er m s of o ur pri m ar y it e m s t h at h a v e b e e n dri vi n g o ur b u si n e s s
    tr a diti o n all y a n d t h at' s w h at' s h urt u s i n t h e t hir d a n d f o urt h q u art er. W e s e e t h at a s f ull y r e ctifi a bl e i n t er m s of t h e l e ar ni n g pl a n a n d
    i m pl e m e nt ati o n f or 3r d a n d 4t h i n 2 0 2 0. S o o n t h at i n v e nt or y si d e, w e di d n't h a v e e n o u g h of t h e ri g ht st uff. O v er all, t h o u g h, w e' v e g ot $1
    billi o n w ort h of i n v e nt or y t h at w e l o o k t o t a k e o ut t hr o u g h a g e d m er c h a n di s e. A b o ut 1 / 3 of t h at w e' v e alr e a d y tr a d e d t hr o u g h a h e a d of
    o ur s c h e d ul e. S o w e'r e pl e a s e d wit h t h e pr o gr e s s t h er e. It i s aff e cti n g a littl e bit h e a vil y i n cl e ar a n c e s al e s, b ut w e s e e t h at a s a m o m e nt i n
    ti m e. O v er all, t h o u g h, w e h a v e b e e n tr a di n g -- w e'r e cl o si n g at t h e m o m e nt wit h a b o ut 1 5 % l e s s i n v e nt or y. S o w e'r e o p er ati n g l e a n er a n d
    g etti n g b ett er t ur n s. W e j u st n e e d t o c o ur s e- c orr e ct i n t er m s of t h e mi x of m er c h a n di s e a n d o ur f o c u s. S o a l ot of m e s s a g e s i n t h er e
    ar o u n d i n v e nt or y.

    L e s s i n v e nt or y. W e c o nti n u e t o tr a d e o n l e s s i n v e nt or y, a n d t h at' s g oi n g t o fr e e u p c a s h f or u s i n t h e f ut ur e. A n d w e n e e d t o ri g ht- si z e o ur
    c urr e nt i n v e nt or y i nt o t h e ri g ht it e m s a n d t h e b e st s ell er s a n d g etti n g t h e st o c k of t h o s e b ot h n o w a n d i n t h e f ut ur e.

      O p er at or
    Y o ur n e xt q u e sti o n c o m e s fr o m C urti s N a gl e fr o m B a n k of A m eri c a.

    C urti s S m y s er N a gl e B of A M errill L y n c h, R e s e ar c h Di vi si o n - V P
    S o m a y b e I'll j u st -- fir st q u e sti o n, j u st sti c k o n t h e s u bj e ct of c a pit al all o c ati o n. S o l o o k, ar g u a bl y, if w e ar e at a p oi nt w h er e m a y b e w e
    c a n at l e a st st art t o t hi n k a b o ut a t ur n a n d i m pr o v e m e nt i n t h e o p er ati n g str u ct ur e. Y o u g u y s h a v e pr ett y c h e a p d e bt. It' s l o n g- d at e d, l ot s
    of c a s h, m or e t o c o m e. W h y n ot, at l e a st f or t h e m o m e nt, ki n d of f or g o t h e d e bt r e d u cti o n a n d sti c k t o b u y b a c k, p arti c ul arl y w h er e s h ar e s
    ar e n o w ?




T H O M S O N R E U T E R S | C o nt a ct U s
© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar
                                                                                                                                                                                                                    3
m e a n s, i s pr o hi bit e d wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e
r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s affili at e d c o m p a ni e s.
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  F E B R U A R Y 1 8, 2 0 2 0 / 1 0: 3 0 P M G M T, B e d B at h & B e y o n d I n c t o H o st C o nf er e n c e C all T o Di s c u s s R e c e nt
  Tr a n s a cti o n s a n d C a pit al All o c ati o n Str at e g y C o nf er e n c e C all
    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    Y e s, I t hi n k t h at w e d efi nit el y will w ei g h m or e t h at w a y, C urti s. I t hi n k w e j u st w a nt t o pr o vi si o n i n t h er e t o a s s e s s i n r e al-ti m e w h e n w e
    b e c o m e a v ail a bl e t o a ct t h at -- a s y o u s ai d, t h e d e bt i s n't si z a bl e. It' s n ot cl o s e, b ut w a y s w e c a n s h a v e off a n yt hi n g t h at' s s h ort t o n e ar
    t er m a s w ell a s b al a n ci n g a g ai n st s h ar e b u y b a c k i s w h er e w e'r e g oi n g t o a ct. I t hi n k t h at' s w h y w e' v e cr e at e d a p pr o xi m at e r a n g e s t h er e
    b e c a u s e w e d o s e e a w ei g hti n g m or e i nt o t h e s h ar e b u y b a c k t errit or y, b ut w a nt e d t o cr e at e t h e pr o vi si o n t o a ct a c c or di n gl y.

    C urti s S m y s er N a gl e B of A M errill L y n c h, R e s e ar c h Di vi si o n - V P
    O k a y. F air a n s w er. A n d t h e n j u st i n a c o u pl e of y o ur r e m ar k s t o d a y a n d l a st w e e k wit h t h e pr e- a n n o u n c e m e nt, y o u' v e m a d e a m e nti o n i n
    t er m s of t h e S G & A str u ct ur e. A n d I t hi n k t h at' s p oi nti n g t o l a b or. I u n d er st a n d it' s a s e n siti v e s u bj e ct a n d a m n ot a s ki n g f or s p e cifi c d et ail.
    B ut i n t er m s of j u st li k e f or u s t o t hi n k a b o ut w h er e y o u t hi n k y o u c a n p er h a p s p ull b a c k a bit a n d ki n d of w h er e r e d u cti o n s mi g ht b e
    dir e ct e d a n d m a y b e, t o s o m e d e gr e e, m a g nit u d e of h o w bi g t h at c o ul d b e ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    Y e s. It' s ki n d of -- I' m n ot g oi n g t o pr o vi d e a l ot of s p e cifi c s b e c a u s e h er e' s w h at I' d t ell y o u. I m e a n c o mi n g o ut of t hir d q u art er a n d b ei n g
    tr a n s p ar e nt ar o u n d o ur S G & A p er c e nt a g e gr o wt h, it' s r e all y cl e ar t h at w e h a v e t o t a k e affir m ati v e a cti o n t o ri g ht- si z e t h at mi x of S G & A i n
    o ur b u si n e s s. A n d s o pri or t o m e c o mi n g o n b o ar d, t h er e w a s tr a n sf or m ati o n eff ort s b uilt wit h c o n s ult a nt p art n er s t o d o d e e p di v e s o n
    e v er yt hi n g fr o m C O G S i m pr o v e m e nt s t o S G & A m a n a g e m e nt. A n d w e' v e m a d e g o o d o n t h at b y r o b u stl y att a c ki n g t h o s e w hil e b al a n ci n g
    o ut t h o u g h t h e n [ri g ht- si d e] i n v e st m e nt s y o u s e e i n t h e c a pit al all o c ati o n t o i n v e st i n k e y str at e gi e s t o cr e at e t h e ri g ht d y n a mi c s i n
    gr o wt h. N o w h a vi n g s ai d t h at, e v er y st o n e i n t hi s c o m p a n y, c o n c e pt s a n d e v er y f a c et of S G & A i s b ei n g u pt ur n e d t o l o o k f or a s h ar p er
    r e s p o n s e. A n d I' v e m a d e it r e all y cl e ar t o t h e t e a m s t h at o ur c urr e nt tr aj e ct or y a n d o ur s p e n d i s n ot s u st ai n a bl e or v al u a bl e a n d t h at w e
    will t a k e st e p s a c c or di n gl y. S o y o u c a n e x p e ct a t o u c h p oi nt o n e v er yt hi n g u n d er t h e S G & A b a n n er. M or e will f oll o w s o o n, b ut I' m n ot
    pr e p ar e d t o pr o vi d e a n y ki n d of f urt h er l e v el of d et ail o n t h at b a s e d o n s e n siti viti e s a s y o u c a n u n d er st a n d.

      O p er at or
    T h e n e xt q u e sti o n c o m e s fr o m Mi c h a el L a s s er fr o m U B S.

    Mi c h a el L a s s er U B S I n v e st m e nt B a n k, R e s e ar c h Di vi si o n - M D a n d E q uit y R e s e ar c h A n al y st of C o n s u m er H ar dli n e s
    S o gi v e n t h e ti m e li n e h er e w h er e y o u s ol d s o m e r e al e st at e, y o u' v e s ol d P M all a n d n o w y o u'r e a n n o u n ci n g a c a pit al all o c ati o n str at e g y.
    S h o ul d w e t a k e t h at c a d e n c e t o a s s u m e t h at y o u'r e d o n e at l e a st f or t h e n e ar t er m wit h bi g p ortf oli o tr a n sf or m ati o n a cti o n ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    N o, I d o n't t hi n k t h at' s t h e si g n al w e w a nt e d t o s e n d. It' s o n e of t h e p oi nt s of cl arifi c ati o n w e w a nt t o m a k e o n t h e c all t o d a y. W h e n w e
    e nt er e d i nt o a n a gr e e m e nt wit h G ol d m a n S a c h s, it w a s t o r e vi e w o ur t ot al p ortf oli o. Cl e arl y, B e d B at h & B e y o n d i s n ot p art of t h at d e al.
    A n d cl e arl y, w e s e e str e n gt h i n a s s et s li k e b u y b u y B A B Y a n d i n o ur b e a ut y b u si n e s s. B ut i n t ot al, w e s e e t h at w e w a nt t o e n s ur e t h at w e'r e
    f o c u s e d o n o ur c or e, a n d w e w a nt e d t o u n d er st a n d t h e v al u e of r et ai ni n g or di v e sti n g of a n y of t h e s e a s s et s, a n d w e c o nti n u e t o b e i n t h at
    pr o c e s s. S o w e h a v e a n a s s e s s m e nt of t h eir v al u e s a n d t h e m ar k et i nt er e st, a n d w e'll c o nti n u e t o p ur s u e a n yt hi n g t h at w e t hi n k l e a d s u s
    t o t h e ri g ht mi x a n d c o n cl u si o n t o r e all y e st a bli s h a m or e f o c u s e d p oi nt of vi e w ar o u n d o ur h o m e, b a b y a n d b e a ut y b u si n e s s.

    Mi c h a el L a s s er U B S I n v e st m e nt B a n k, R e s e ar c h Di vi si o n - M D a n d E q uit y R e s e ar c h A n al y st of C o n s u m er H ar dli n e s
    A n d M ar k, s o m e of t h e m e s s a g e s t h at y o u' v e d eli v er e d e arli er i n y o ur t e n ur e t o t h e i n v e st m e nt c o m m u nit y i s t h at t hi s i s a l o n g er-t er m
    tr a n sf or m ati o n. T hi s i s n't g oi n g t o h a p p e n o v er ni g ht. S o w h y w o ul d n't it b e n e c e s s ar y t o h a v e a f ortr e s s b al a n c e s h e et t o g et t h e
    c o m p a n y t hr o u g h a t o u g h er ti m e r at h er t h a n r et ur ni n g $ 6 0 0 milli o n of c a s h ri g ht n o w a n d m ai nt ai n t h at fl e xi bilit y a n d p er h a p s t h e
    c o nfi d e n c e of all y o ur st a k e h ol d er s i n t h e n e ar t er m r at h er t h a n pri oriti zi n g s o m e c a pit al r et ur n ri g ht n o w ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    Y e s. L o o k, I w o ul d a gr e e wit h y o u fr o m t h e p oi nt of vi e w t h at w e b eli e v e h ol di n g o ur f ortr e s s i n t er m s of c a s h h ol di n g s t o s u st ai n a n d
    w h et h er w h at will b e a r e c o v er y j o ur n e y i s a n i m p ort a nt f a c et of w h at w e'r e pl a n ni n g t o d o. T h at i s a ct u all y b uilt i nt o o ur pl a n. S o a s I
    m e nti o n e d e arli er, I t hi n k m ai nt ai ni n g o ur a v er a g e fr e e c a s h fl o w a n d t h e n f o c u si n g o n o ur c a s h g e n er at e d fr o m s al e s i s t h e b al a n ci n g




T H O M S O N R E U T E R S | C o nt a ct U s
© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar
                                                                                                                                                                                                                  4
m e a n s, i s pr o hi bit e d wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e
r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s affili at e d c o m p a ni e s.
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  F E B R U A R Y 1 8, 2 0 2 0 / 1 0: 3 0 P M G M T, B e d B at h & B e y o n d I n c t o H o st C o nf er e n c e C all T o Di s c u s s R e c e nt
  Tr a n s a cti o n s a n d C a pit al All o c ati o n Str at e g y C o nf er e n c e C all
    a ct, h o w w e c o nti n u e f or w ar d. W e t hi n k w e'r e w ell p o siti o n e d i n t h er e. W e di d s e e e x c e s s fr e e c a s h, a n d w e t hi n k t h at' s v al u a bl e t o b e
    utili z e d i n a m or e a p pr o pri at e w a y. S o a g ai n, t h e k e y w or d, Mi c h a el, i s b al a n c e, a n d w e t hi n k w e f o u n d t h at i n t h e s e c h oi c e s, a n d w e' v e
    d o n e o ur r e s e ar c h a n d f e el g o o d a b o ut b ot h i n v e sti n g a n d t h e n m ai nt ai ni n g t h at c or e f ortr e s s.

    Mi c h a el L a s s er U B S I n v e st m e nt B a n k, R e s e ar c h Di vi si o n - M D a n d E q uit y R e s e ar c h A n al y st of C o n s u m er H ar dli n e s
    A n d m y fi n al q u e sti o n i s o n P M all. I n 1- 8 0 0- F L O W E R S r el e a s e, t h e y n ot e d t h at it' s g oi n g t o c o ntri b ut e $1 5 0 milli o n -- r e a c h e d r e v e n u e s
    of $1 5 0 milli o n, a n d it e x p e ct s it t o b e a c cr eti v e. S o c a n y o u gi v e u s s o m e p ar a m et er s o n h o w w e s h o ul d b e m o d eli n g t h e E BI T l o s s fr o m
    t hi s di v e stit ur e or f or t h e r e m o v al of E BI T fr o m t hi s di v e stit ur e ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    W ell, a s w e s ai d, w e'r e n ot g oi n g t o gi v e f ull g ui d a n c e i n t er m s of Q 4 of 2 0 2 0 at t hi s p oi nt. I'll l et R o b y n pi c k u p o n t h e pl a n.

    R o b y n M. D' Eli a B e d B at h & B e y o n d I n c. - C F O & Tr e a s ur er
    Ri g ht. S o t h e y di d pr o vi d e i nf or m ati o n ar o u n d P M all' s r e v e n u e. A s y o u k n o w, I m e a n, P M all i s n ot m at eri al t o B e d B at h a s a w h ol e, b ut it
    di d c o ntri b ut e a n d w a s a c cr eti v e t o u s.

    Mi c h a el L a s s er U B S I n v e st m e nt B a n k, R e s e ar c h Di vi si o n - M D a n d E q uit y R e s e ar c h A n al y st of C o n s u m er H ar dli n e s
    C a n I j u st st at e t h at q u e sti o n a n ot h er w a y, R o b y n ? W a s t hi s l o w er-t h a n- a v er a g e or hi g h er-t h a n- a v er a g e E BI T m ar gi n b u si n e s s ?

    R o b y n M. D' Eli a B e d B at h & B e y o n d I n c. - C F O & Tr e a s ur er
    It w a s hi g h er t h a n a v er a g e.

      O p er at or
    A n d t h e n e xt q u e sti o n c o m e s fr o m Si m e o n G ut m a n fr o m M or g a n St a nl e y.

    Si m e o n Ari G ut m a n M or g a n St a nl e y, R e s e ar c h Di vi si o n - E x e c uti v e Dir e ct or
    M a y b e 2 q ui c k q u e sti o n s o n P M all. Fir st, c a n y o u t ell u s aft er-t a x pr o c e e d s ? H o w t h e y'll l o o k r el ati v e t o pr et a x ? A n d t h e n f oll o wi n g u p o n
    t h at l a st q u e sti o n or a s ki n g a littl e diff er e ntl y, t h e c o ntri b uti o n t o E BI T D A, y o u'r e al s o s u g g e sti n g t h at' s i m m at eri al ? Y o u'r e s a yi n g --
    b e c a u s e y o u'r e s a yi n g it w a s r el ati v el y i m m at eri al t o B e d B at h & B e y o n d ?

    R o b y n M. D' Eli a B e d B at h & B e y o n d I n c. - C F O & Tr e a s ur er
    Y e s, it' s i m m at eri al t o B e d B at h & B e y o n d a s a w h ol e. L et m e g o b a c k t o y o ur pr o c e e d s q u e sti o n. T h e $ 2 5 0 milli o n ar e -- it' s gr o s s
    pr o c e e d s. A s w e m e nti o n e d, t h e tr a n s a cti o n will cl o s e d uri n g o ur fir st q u art er. W e h a v e a littl e w or k t o d o i n t er m s of fi n ali zi n g t h e g ai n
    t h at w e e x p e ct t o r e ali z e o n t h e tr a n s a cti o n. A n d s o t h e t a x i m pli c ati o n s will c o m e a littl e bit f urt h er d o w n t h e r o a d, a n d w e'll b e a bl e t o
    pr o vi d e t h at at t h at p oi nt i n ti m e.

    Si m e o n Ari G ut m a n M or g a n St a nl e y, R e s e ar c h Di vi si o n - E x e c uti v e Dir e ct or
    O k a y. A n d t h e n a f oll o w- u p o n t h e c a pit al all o c ati o n a n d t h e b u y b a c k. C a n y o u t ell u s t h e ti mi n g of t h e p ot e nti al b u y b a c k ? I s it
    B o ar d- c o ntr oll e d ? M ar k, h o w d o e s t h at w or k ? A n d I g u e s s a s ki n g t h e pri or q u e sti o n a n ot h er w a y. Y o ur tr affi c w a s j u st d o w n m at eri all y. It
    s e e m s li k e t h e b u si n e s s p erf or m e d a littl e w or s e t h a n y o u w er e e x p e cti n g. D o e s n't it m a k e s e n s e t o j u st w ait it o ut a littl e t o s e e t h at y o ur
    str at e g y g ai n s st e a m b ef or e y o u st art d e pl o yi n g t h at c a pit al ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    S o o n t h e fir st p art of t h e q u e sti o n, Si m e o n, w e a ct u all y ar e still wit hi n t h e q u art er, a n d w e'r e y et t o r el e a s e o ur r e s ult s. S o w e'r e n ot
    g oi n g t o b e a v ail a bl e t o tr a d e u ntil aft er t h e 1 5t h of A pril a n d t h e n w e'll b e i n t h e g a m e.

    I t hi n k i n t er m s of y o ur s e c o n d q u e sti o n, w e f e el li k e w e' v e g ot c o v er a g e, b ut al s o, t o o, w h e n w e di a g n o s e s o m e of t h e i s s u e s t h at w e
    f a c e d i n t hir d a n d f o urt h q u art er, w e k n o w t h at w e'r e g oi n g t o h a v e a diff er e nt s et of cir c u m st a n c e s a s w e g o i n b y i m pl e m e nti n g B O PI S
    b y t h e e n d of h alf 1 t o f a cilit at e a n e n g a g e m e nt wit h a c u st o m er t h at w e di d n't h a v e. W e'r e g oi n g t o h a v e pri c e m a n a g e m e nt fl o at e d
    pr o p erl y, w hi c h w e di d n't h a v e c o mi n g i nt o t h e t hir d a n d f o urt h q u art er. W e'r e g oi n g t o h a v e o ur i n v e nt or y ri g ht- si z e d. It' s cl e ar l e ar ni n g s
    t h er e, a n d w e'r e g oi n g t o b e a bl e t o d e- st a c k a n d m a n a g e o ur pr o m oti o n s. S o w e f e el li k e t h er e' s e n o u g h s elf-i nfli ct e d w o u n d s t h at f or u s


T H O M S O N R E U T E R S | C o nt a ct U s
© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar
                                                                                                                                                                                                                 5
m e a n s, i s pr o hi bit e d wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e
r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s affili at e d c o m p a ni e s.
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  F E B R U A R Y 1 8, 2 0 2 0 / 1 0: 3 0 P M G M T, B e d B at h & B e y o n d I n c t o H o st C o nf er e n c e C all T o Di s c u s s R e c e nt
  Tr a n s a cti o n s a n d C a pit al All o c ati o n Str at e g y C o nf er e n c e C all
    w e'll b e a bl e t o q u a ntif y t h e r e c o v er y o n t h at, a n d w e c a n a dj u st o ut w h at t h at m e a n s i n t er m s of t h e p erf or m a n c e of t h e q u art er t o b e a
    l ot m or e st a bl e a n d r e all y st e m t h e d e cli n e s t h at w e s a w i n t h e t hir d a n d f o urt h. A s w e l o o k at o ur q u art erl y st a c k s, w e s e e t h at t hi s i s
    r e all y ki n d of t o u g h ti m e s a n d h e n c e w h y w e w a nt e d t o b e d e cl ar ati v e ar o u n d it. B ut w e d o s e e r e c o v er y a s b ei n g st a g e d, a n d w e'r e i n
    P h a s e 1 of it. S o t h er e' s n o li k e hi g h mi s si o n a c c o m pli s h e d b y n e xt t hir d a n d f o urt h q u art er b y a n y m e a n s. B ut w e d o s e e el e m e nt s of t h e
    fi n a n ci al a n d s al e s a n d pr o d u ct pl a n s t h at gi v e u s a c h a n c e t o cr e at e gr e at er st a bilit y a n d r e ctif y s o m e of o ur w o u n d s fr o m t hi s t hir d a n d
    f o urt h q u art er.

      O p er at or
    A n d t h e n e xt q u e sti o n c o m e s fr o m St e v e F or b e s fr o m G u g g e n h ei m.

    St e v e n P a ul F or b e s G u g g e n h ei m S e c uriti e s, L L C, R e s e ar c h Di vi si o n - A n al y st
    I w a nt e d t o f oll o w u p o n t h e b u y b a c k c o m m e nt ar y, ri g ht, gi v e n t h e 4 Q pr e- a n n o u n c e m e nt a n d m a y b e j u st t h e c urr e nt b u si n e s s
    c o n diti o n s, ri g ht, t h at y o u m e nti o n e d i n t h e r el e a s e. S o m a y b e if y o u c a n j u st pr o vi d e s o m e p ar a m et er s, ri g ht, a s w e t hi n k a b o ut t h e
    ti mi n g, if t h er e ar e a n y, ri g ht, ar o u n d fi n a n ci al l e v er a g e or t h e i nt er e st c o v er a g e r ati o of t h e b u si n e s s t h at c o ul d i m p a ct t h e l e v el of
    b u y b a c k a cti vit y t h at a ct u all y tr a n s pir e s n e xt y e ar.

    R o b y n M. D' Eli a B e d B at h & B e y o n d I n c. - C F O & Tr e a s ur er
    Y e s. I t hi n k w e i n di c at e d w e m a y s p e n d u p t o $ 6 0 0 milli o n o n d e pl o yi n g c a pit al. A n d s o w e'r e g oi n g t o c o nti n u e, o b vi o u sl y, t o m o nit or t h e
    b u si n e s s c o n diti o n s of t h e c o m p a n y a s w e m o v e t hr o u g h t h e y e ar. W e'r e n ot c o m m u ni c ati n g a n i nt e n d e d l e v er a g e r ati o at t hi s p oi nt i n
    ti m e r el at e d t o d e bt b u y b a c k s or a n yt hi n g, b ut w e'r e g oi n g t o c o nti n u e t o m o nit or a n d a ct i n a pr u d e nt m a n n er.

    St e v e n P a ul F or b e s G u g g e n h ei m S e c uriti e s, L L C, R e s e ar c h Di vi si o n - A n al y st
    A n d t h e n m a y b e a f oll o w- u p o n t h at. I t hi n k if I t a k e t h e c o m m e nt ar y t h u s f ar o n t h e c all, w h et h er it b e t h e fr e e c a s h fl o w o utl o o k f or
    2 0 2 0 or j u st t h e r e c e nt c o m m e nt o n t h e tr a n sit or y pr e s s ur e s t h at tr a n s pir e d i n 2 01 9, it d o e s s e e m a s t h o u g h y o u'r e s ort of i n di c ati n g f or a
    r el ati v el y st a bl e m ar gi n o utl o o k f or n e xt y e ar r el ati v e t o w h er e w e'r e li k el y g oi n g t o c o m e i n, i n 2 01 9. C a n y o u j u st c o nfir m w h et h er t h at' s
    s ort of c orr e ct i n li n e wit h t h e i nt er n al pl a n ? Or j u st t al k a b o ut -- or c o nfir m t h at y o u'r e n ot a nti ci p ati n g a f urt h er m o d er ati o n i n E BI T
    m ar gi n n e xt y e ar.

    R o b y n M. D' Eli a B e d B at h & B e y o n d I n c. - C F O & Tr e a s ur er
    W e'r e n ot i nt e n di n g t o pr o vi d e a n y g ui d a n c e ar o u n d 2 0 2 0 o n t h e c all t o d a y.

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    Y e s, St e v e, a g ai n, a s w e o utli n e d, I' m n ot g oi n g t o pr o vi d e 2 0 2 0 g ui d a n c e. I w o ul d s a y t o y o u t h at w h at w e e x p e ct t o s e e i s st e p c h a n g e
    a n d gr e e n s h o ot s t hr o u g h q u art er-t o- q u art er a s w e g et t hr o u g h t h e y e ar, a n d t h at w e h a d s o m e k e y pi v ot s a n d a cti viti e s i n t h e t hir d a n d
    f o urt h, w hi c h w er e i n d e s p er at e n e e d of b ei n g ri g ht- si z e d. S o t h er e' s m or e d efi niti v e a cti o n s t h at w e'r e alr e a d y p utti n g i nt o pl a c e t o
    c orr e ct t h er e, b ut w e'r e n ot gi vi n g a n y g ui d a n c e o n ' 2 0 o v er all.

      O p er at or
    A n d o ur n e xt q u e sti o n c o m e s fr o m K at e M c S h a n e fr o m G ol d m a n S a c h s.

    K at h ari n e A m a n d a M c S h a n e G ol d m a n S a c h s Gr o u p I n c., R e s e ar c h Di vi si o n - E q uit y A n al y st
    I w a s c uri o u s a b o ut t h e ot h er si d e of t h e e q u ati o n, t h e $ 3 5 0 milli o n t o $ 4 0 0 milli o n. W h y t h at i s t h e ri g ht a m o u nt f or t h e i n v e st m e nt s
    t h at y o u a nti ci p at e ? A n d o v er w h at ti m e fr a m e c a n w e e x p e ct t hi s i n v e st m e nt ? I' m j u st w o n d eri n g, t o o, j u st gi v e n t h at y o u'r e still b uil di n g
    o ut y o ur m a n a g e m e nt b e n c h h o w t h at fit s t o w h at y o u'r e t hi n ki n g ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    Y e s. Gr e at q u e sti o n. I m e a n I t hi n k t h e $ 3 5 0 milli o n t o $ 4 0 0 milli o n i s d efi nit el y b ei n g c al c e d o ut b a s e d o n t h e k e y str at e gi c pill ar s t h at
    w e w a nt t o dri v e f or -- t o st e m a d e cli n e i n 2 0 2 0, a n d t h e y' v e b e e n d efi niti v el y m a p p e d a g ai n st t h o s e a s o p p o s e d t o pri or s p e n d, w hi c h
    h a s b e e n m or e s p or a di c. S o it' s bi g g er st a k e s a g ai n st t h e bi g ti c k et i s s u e s t h at ar e g oi n g t o b ot h i n v e st i n s o m e gr e e n s h o ot s i n 2 0 2 0, b ut
    m or e i m p ort a ntl y, s et u s u p f or s u c c e s s i n 2 0 21 w h e n w e br a n c h i nt o m or e of o ur f ull- bl o w n str at e gi c i nt e nt. S o I t hi n k t h at t hi s pr o vi d e s
    p at h w a y s, w h et h er it b e I T i nfr a str u ct ur e or st or e s i nfr a str u ct ur e, s u p pl y c h ai n r ef or m ati o n t h at i s g etti n g u s r e a d y f or t h e a bilit y t o


T H O M S O N R E U T E R S | C o nt a ct U s
© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar
                                                                                                                                                                                                                   6
m e a n s, i s pr o hi bit e d wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e
r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s affili at e d c o m p a ni e s.
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  F E B R U A R Y 1 8, 2 0 2 0 / 1 0: 3 0 P M G M T, B e d B at h & B e y o n d I n c t o H o st C o nf er e n c e C all T o Di s c u s s R e c e nt
  Tr a n s a cti o n s a n d C a pit al All o c ati o n Str at e g y C o nf er e n c e C all
    i n cr e a s e o ur o w n br a n d p e n etr ati o n i n o v er s e a s i m p ort s or t o b e a tr u e o m ni- c h a n n el r et ail er or t o m a xi mi z e t h e o p p ort u nit y of B O PI S
    wit hi n 2 0 2 0. S o t h e y' v e b e e n v er y f o c u s e d, a n d t h e y'r e al s o b al a n c e d a g ai n st o ur a bilit y t o a c hi e v e t h e m a n d d eli v er t h e a p pr o pri at e R OI
    a n d m etri c s p er i n v e st m e nt.

    J a n et M. B art h B e d B at h & B e y o n d I n c. - V P of I R
    A dri a n n e, i s t h er e a n ot h er q u e sti o n ?

      O p er at or
    Y e s. A nt h o n y C h u k u m b a fr o m L o o p C a pit al M ar k et s.

    A nt h o n y C hi n o n y e C h u k u m b a L o o p C a pit al M ar k et s L L C, R e s e ar c h Di vi si o n - S V P
    S o I h a d a q u e sti o n a b o ut t h e c a pit al all o c ati o n pl a n. S o y o u'r e t al ki n g a b o ut $ 6 0 0 milli o n of b u y b a c k s a n d d e bt r e p ur c h a s e s. It s o u n d s
    li k e it' s g oi n g t o b e a littl e m or e w ei g ht e d t o w ar d s t h e b u y b a c k s -- or s orr y, b u y b a c k s a n d di vi d e n d s. A n d I g u e s s I w a s j u st w o n d eri n g,
    w h y w o ul d n't y o u b e a littl e bit m or e a g gr e s si v e o n t h e d e bt p a y d o w n, p arti c ul arl y gi v e n t h e f a ct t h at 2 01 9 w a s ki n d of a diffi c ult y e ar,
    p arti c ul arl y fr o m a fr e e c a s h fl o w p er s p e cti v e ? S o I g u e s s I' m s ort of t a ki n g t h e ot h er si d e of C urt' s q u e sti o n e arli er a n d a s ki n g w h y y o u
    w o ul d n't b e m or e a g gr e s si v e i n t er m s of b u yi n g b a c k or p a yi n g d o w n d e bt.

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    Y e s. S o w e s e e t h at t h e d e bt h ori z o n i s b ot h m a n a g e a bl e a n d n ot si z a bl e. A s I m e nti o n e d e arli er i n t h e c all, w e d o n't h a v e a pr e s si n g
    o bli g ati o n t h er e. W e'll al w a y s l o o k t o s h a v e w h er e v er p o s si bl e. A n d t h at' s w h y w e' v e l eft it o p e n t o cr e at e t h e mi x i n r e al ti m e i n 2 0 2 0
    a g ai n st e a c h of t h o s e v ari a bl e s b ei n g s h ar e b u y b a c k v er s u s d e bt r e d u cti o n. B ut a g ai n, w e s e e -- w e w o ul d li k e t o k e e p s o m e pr o vi si o n
    t h er e a n d c hi p a w a y at d e bt, b ut w e d o n't s e e it a s pr e s si n g a s a n e e d. It' s j u st a b o ut o ur c o mf ort a bl e mi x t h at w e c a n m a n a g e.

    A nt h o n y C hi n o n y e C h u k u m b a L o o p C a pit al M ar k et s L L C, R e s e ar c h Di vi si o n - S V P
    G ot it. O k a y. A n d t h e n j u st o n e f oll o w- u p q u e sti o n, n ot r el at e d. B ut -- s o l a st w e e k, y o u a n n o u n c e d t h e f o urt h q u art er u p d at e a n d t h e n
    t hi s m or ni n g, y o u a n n o u n c e d t h e s al e of P er s o n ali z ati o n M all. c o m. A n d t h e n t o d a y, aft er t h e cl o s e, y o u'r e a n n o u n ci n g t hi s c a pit al
    all o c ati o n pl a n. I g u e s s I' m j u st tr yi n g t o r e c o n cil e t h at b e c a u s e I' m t hi n ki n g t h at y o u c o ul d h a v e a n n o u n c e d, I d o n't k n o w, all t h o s e at
    o n c e or m a y b e h a d 2 a n n o u n c e m e nt s. I' m j u st tr yi n g t o u n d er st a n d w h y t h er e ar e s ort of 3 diff er e nt a n n o u n c e m e nt s, i n cl u di n g 2 t o d a y ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    W o ul d n't h a v e t h at b e e n l o v el y ? T h e r ati o n al e i s t h e ti mi n g of t h e s e e v e nt s. S o a g ai n, w e s a w t h at t h e i m p a ct of D e c e m b er a n d J a n u ar y
    s al e s w a s i m p ort a nt t o c o m m e nt t o m a n a g e e x p e ct ati o n s. W e h a d n ot c o m pl et e d t h e P er s o n ali z ati o n M all d e al. T hi s c a m e t o g et h er
    q ui c kl y, a n d w e n otifi e d y o u g u y s e x a ctl y wit hi n t h e ti m e fr a m e of c o m pl eti o n of d e al s o t h at w e c o ul d c o m m u ni c at e. A n d w hil e t h e d e al
    w a s i n m oti o n, w e h a v e t o b e c ar ef ul a b o ut t h at. S o w o ul d w e h a v e r at h er a si n gl e e v e nt t h at s ai d, " Hi, w e' v e g ot s o m e diffi c ulti e s, b ut w e
    al s o h a v e s o m e bri g ht si d e ? " A b s ol ut el y. I t hi n k w e'r e s a yi n g t h at wit hi n t h e s p a n of 1 w e e k t o t h e b e st of o ur a bilit y a n d wit h t h e
    c o m pl eti o n of t h e d e al. S o i nt e nt w a s a b s ol ut el y t h er e i n w h at y o u w a nt e d, A nt h o n y, b ut t hi s i s t h e w a y t h e c ar d s f ell.

      O p er at or
    A n d t h e n e xt q u e sti o n c o m e s fr o m B o b b y Griffi n fr o m R a y m o n d J a m e s.

    Al e s s a n dr a Ji m e n e z R a y m o n d J a m e s & A s s o ci at e s, I n c., R e s e ar c h Di vi si o n - R e s e ar c h A n al y st
    T hi s i s Al e s s a n dr a Ji m e n e z o n f or B o b b y Griffi n. Fir st, c a n y o u q u a ntif y w h at p orti o n of t h e $ 3 5 0 milli o n t o $ 4 0 0 milli o n i n C a p E x will b e
    f or i n- st or e i niti ati v e s ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    I' m n ot g oi n g t o pr o vi d e a n y s p e cifi c s ar o u n d t h at. B ut w h at I w o ul d s a y, Al e s s a n dr a, i s I' d li k e t o ki n d of cl arif y w h at o ur i nt e nt i s wit h
    t h at s p e n d. T h er e' s r e all y a 2- p art pl a n. O n e i s r e all y ar o u n d i n v e st m e nt i n r ej u v e n ati o n of t h e st or e s. A s I m e nti o n e d e arli er, w e'll b e
    i n v e sti n g i n o ur B O PI S f u n cti o n t o bri n g t hi s u p t o s p e e d wit h t h e r e st of t h e i n d u str y. A n d I t hi n k t h at' s g oi n g t o cr e at e gr e at, fri cti o nl e s s
    a n d 3 6 0 s h o p pi n g f or o ur c u st o m er s. T h at will b e i m pl e m e nt e d b y t h e e n d of fir st h alf i n 2 0 2 0, al o n g wit h a n u p d at e o n o ur c h e c k o ut a s
    w ell a s a n i n v e st m e nt i n i n- st or e m ar k eti n g s o w e c a n m or e cl e arl y r e s o n at e pri c e v al u e a n d pri c e cl arit y t o o ur c u st o m er, w hi c h h a s b e e n
    o n e of t h e pr o hi biti v e f a ct or s i n cl o si n g tr a n s a cti o n s. S o t h at' s g oi n g t o h el p u s t h er e. S o t h at' s a p orti o n of t h at s p e n d, s p e cifi c all y


T H O M S O N R E U T E R S | C o nt a ct U s
© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar
                                                                                                                                                                                                                    7
m e a n s, i s pr o hi bit e d wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e
r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s affili at e d c o m p a ni e s.
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  F E B R U A R Y 1 8, 2 0 2 0 / 1 0: 3 0 P M G M T, B e d B at h & B e y o n d I n c t o H o st C o nf er e n c e C all T o Di s c u s s R e c e nt
  Tr a n s a cti o n s a n d C a pit al All o c ati o n Str at e g y C o nf er e n c e C all
    ar o u n d st or e s. T h e s e c o n d will b e, a s w e t e st a n d fi n ali z e a r a n g e of st or e s t h at -- u p t o 3 st or e s t h at I' v e b e e n pl a yi n g wit h si n c e d a y 1,
    t h er e w a s w or k i n fli g ht t h at I' v e m o difi e d. W e'r e p utti n g t o g et h er o ur n e xt it er ati o n of o ur n e w st or e pl a n, r e d u c e d i n v e nt or y, i n cr e a s e d
    vi si bilit y, cl arit y o n pri c e a n d a b ett er s h o p pi n g e x p eri e n c e. W e'r e g etti n g gr e at pr eli mi n ar y r e s ult s t h at ar e still w or k i n fli g ht o n t h e t e st
    m o d el s, a n d l o o ki n g t o r oll o ut a n u m b er of t h o s e a n d a fi nit e l e v el f or t h e n f urt h er t e st i n -- a n d it er at e i n 2 0 2 0. T h at w o ul d all b e a h e a d
    of, s u bj e ct t o t h e p erf or m a n c e of t h o s e, o ut stri p pi n g o ur b a s e m o d el pl a n, a d e e p i n v e st m e nt i n 2 0 21, w h e n w e f e el li k e w e' v e g ot b ot h
    o ur c at e g or y a s s ort m e nt pl a n s a s w ell a s o ur s p a c e pl a n s ali g n e d.

    Al e s s a n dr a Ji m e n e z R a y m o n d J a m e s & A s s o ci at e s, I n c., R e s e ar c h Di vi si o n - R e s e ar c h A n al y st
    A n d t h e n j u st a f oll o w- u p f or t h at. D o y o u k n o w h o w m u c h y o u'r e g oi n g t o b e r olli n g o ut i n 2 0 2 0 f or t h e bi g g er t e st ?

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    Y e s, w e s e e t h at a s b ei n g u n d er 3 0 d o or s. I t hi n k it' s pr u d e nt t o w al k i n. I' m still g etti n g d at a, a n d I w a nt t o m a k e s ur e t h at w e i n c or p or at e
    s o m e of t h e w or k w e h a v e i n fli g ht fr o m o ur str at e g y t o b e i n c or p or at e d i nt o t h e s e st or e s. S o u n d er 3 0, w e'r e still fi n ali zi n g t h at n u m b er
    a n d t h e n t e st a n d it er at e a cr o s s s e v er al g e o gr a p hi e s a n d c u st o m er t y p e s t o gi v e u s t h e i m p a ct.

      O p er at or
    A n d t hi s c o n cl u d e s t h e q u e sti o n- a n d- a n s w er s e s si o n. I'll n o w t ur n t h e c all b a c k o v er t o J a n et B art h f or fi n al r e m ar k s.

    J a n et M. B art h B e d B at h & B e y o n d I n c. - V P of I R
    T h a n k y o u, A dri a n n e, a n d t h a n k y o u all f or p arti ci p ati n g i n t h e c all t o d a y. If w e di d n't g et y o ur q u e sti o n s or if y o u h a v e a d diti o n al
    q u e sti o n s, pl e a s e f e el fr e e t o c o nt a ct m e f or a f oll o w- u p c all. H a v e a g o o d ni g ht, e v er y o n e.

    M ar k J. Tritt o n B e d B at h & B e y o n d I n c. - Pr e si d e nt, C E O & Dir e ct or
    T h a n k y o u.

      O p er at or
    T h a n k y o u. L a di e s a n d g e ntl e m e n, t hi s c o n cl u d e s t o d a y' s c o nf er e n c e. T h a n k y o u f or p arti ci p ati n g, a n d y o u m a y n o w di s c o n n e ct.




    DI S C L AI M E R
    T h o m s o n R e ut er s r e s er v e s t h e ri g ht t o m a k e c h a n g e s t o d o c u m e nt s, c o nt e nt, or ot h er i nf or m ati o n o n t hi s w e b sit e wit h o ut o bli g ati o n t o n otif y a n y p er s o n of s u c h c h a n g e s.
    I n t h e c o nf er e n c e c all s u p o n w hi c h E v e nt Bri ef s ar e b a s e d, c o m p a ni e s m a y m a k e pr oj e cti o n s or ot h er f or w ar d-l o o ki n g st at e m e nt s r e g ar di n g a v ari et y of it e m s. S u c h f or w ar d-l o o ki n g st at e m e nt s ar e b a s e d
    u p o n c urr e nt e x p e ct ati o n s a n d i n v ol v e ri s k s a n d u n c ert ai nti e s. A ct u al r e s ult s m a y diff er m at eri all y fr o m t h o s e st at e d i n a n y f or w ar d-l o o ki n g st at e m e nt b a s e d o n a n u m b er of i m p ort a nt f a ct or s a n d ri s k s,
    w hi c h ar e m or e s p e cifi c all y i d e ntifi e d i n t h e c o m p a ni e s' m o st r e c e nt S E C fili n g s. Alt h o u g h t h e c o m p a ni e s m a y i n di c at e a n d b eli e v e t h at t h e a s s u m pti o n s u n d erl yi n g t h e f or w ar d-l o o ki n g st at e m e nt s ar e
    r e a s o n a bl e, a n y of t h e a s s u m pti o n s c o ul d pr o v e i n a c c ur at e or i n c orr e ct a n d, t h er ef or e, t h er e c a n b e n o a s s ur a n c e t h at t h e r e s ult s c o nt e m pl at e d i n t h e f or w ar d-l o o ki n g st at e m e nt s will b e r e ali z e d.
    T H E I N F O R M A TI O N C O N T AI N E D I N E V E N T B RI E F S R E F L E C T S T H O M S O N R E U T E R S' S S U BJ E C TI V E C O N D E N S E D P A R A P H R A S E O F T H E A P P LI C A B L E C O M P A N Y' S C O N F E R E N C E C A L L A N D T H E R E M A Y
    B E M A T E RI A L E R R O R S, O MI S SI O N S, O R I N A C C U R A CI E S I N T H E R E P O R TI N G O F T H E S U B S T A N C E O F T H E C O N F E R E N C E C A L L S. I N N O W A Y D O E S T H O M S O N R E U T E R S O R T H E A P P LI C A B L E
    C O M P A N Y A S S U M E A N Y R E S P O N SI BI LI T Y F O R A N Y I N V E S T M E N T O R O T H E R D E CI SI O N S M A D E B A S E D U P O N T H E I N F O R M A TI O N P R O VI D E D O N T HI S W E B SI T E O R I N A N Y E V E N T B RI E F. U S E R S A R E
    A D VI S E D T O R E VI E W T H E A P P LI C A B L E C O M P A N Y' S C O N F E R E N C E C A L L I T S E L F A N D T H E A P P LI C A B L E C O M P A N Y' S S E C FI LI N G S B E F O R E M A KI N G A N Y I N V E S T M E N T O R O T H E R D E CI SI O N S.
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T H O M S O N R E U T E R S | C o nt a ct U s
© 2 0 2 0 T h o m s o n R e ut er s. All ri g ht s r e s er v e d. R e p u bli c ati o n or r e di stri b uti o n of T h o m s o n R e ut er s c o nt e nt, i n cl u di n g b y fr a mi n g or si mil ar
                                                                                                                                                                                                                                                                                                                8
m e a n s, i s pr o hi bit e d wit h o ut t h e pri or writt e n c o n s e nt of T h o m s o n R e ut er s. ' T h o m s o n R e ut er s' a n d t h e T h o m s o n R e ut er s l o g o ar e
r e gi st er e d tr a d e m ar k s of T h o m s o n R e ut er s a n d it s affili at e d c o m p a ni e s.
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T a bl e ofCase
            C o nt e nts
                      2:20-cv-08673-MCA-MAH                                           Document 27-5 Filed 01/04/22 Page 57 of 160 PageID: 685
                                                                                                        U NI T E D S T A T E S
                                                                                 S E C U RI TI E S A N D E X C H A N G E C O M MI S SI O N
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 Fil e d b y t h e R e gi str a nt ☒
 Fil e d b y a P art y ot h er t h a n t h e R e gi str a nt ☐
 C h e c k t h e a p pr o pri at e b o x:
 ☐            Pr eli mi n ar y Pr o x y St at e m e nt

 ☐            C o nfi d e nti al, f or U s e of t h e C o m mi s si o n O nl y ( a s p er mitt e d b y R ul e 1 4 a- 6( e)( 2))
 ☒            D efi niti v e Pr o x y St at e m e nt

 ☐            D efi niti v e A d diti o n al M at eri al s

 ☐            S oli citi n g M at eri al P ur s u a nt t o § 2 4 0. 1 4 a- 1 2


                                                                                                  B e d B at h & B e y o n d I n c.
                                                                                 ( N a m e of R e gi str a nt a s S p e cifi e d I n It s C h art er)




                                                               ( N a m e of P er s o n( s) Fili n g Pr o x y St at e m e nt, if ot h er t h a n t h e R e gi str a nt)


 P a y m e nt of Fili n g F e e ( C h e c k t h e a p pr o pri at e b o x):

 ☒               N o f e e r e q uir e d.

 ☐               F e e c o m p ut e d o n t a bl e b el o w p er E x c h a n g e A ct R ul e s 1 4 a- 6(i)( 1) a n d 0- 1 1.

                     ( 1)      Titl e of e a c h cl a s s of s e c uriti e s t o w hi c h tr a n s a cti o n a p pli e s:


                     ( 2)      A g gr e g at e n u m b er of s e c uriti e s t o w hi c h tr a n s a cti o n a p pli e s:


                     ( 3)     P er u nit pri c e or ot h er u n d erl yi n g v al u e of tr a n s a cti o n c o m p ut e d p ur s u a nt t o E x c h a n g e A ct R ul e 0- 1 1 ( s et f ort h t h e a m o u nt o n w hi c h
                              t h e fili n g f e e i s c al c ul at e d a n d st at e h o w it w a s d et er mi n e d):


                     ( 4)      Pr o p o s e d m a xi m u m a g gr e g at e v al u e of tr a n s a cti o n:


                     ( 5)      T ot al f e e p ai d:


 ☐               F e e p ai d pr e vi o u sl y wit h pr eli mi n ar y m at eri al s.

 ☐               C h e c k b o x if a n y p art of t h e f e e i s off s et a s pr o vi d e d b y E x c h a n g e A ct R ul e 0- 1 1( a)( 2) a n d i d e ntif y t h e fili n g f or w hi c h t h e off s etti n g f e e w a s
                 p ai d pr e vi o u sl y. I d e ntif y t h e pr e vi o u s fili n g b y r e gi str ati o n st at e m e nt n u m b er, or t h e F or m or S c h e d ul e a n d t h e d at e of it s fili n g.
                     ( 1)      A m o u nt Pr e vi o u sl y P ai d:


                     ( 2)      F or m, S c h e d ul e or R e gi str ati o n St at e m e nt N o.:


                     ( 3)      Fili n g P art y:


                     ( 4)       D at e Fil e d:
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T a bl e of C o nt e nts




  N O TI C E O F A N N U A L M E E TI N G O F S H A R E H O L D E R S

  Ti m e:                  1 0: 0 0 A. M. E a st er n D a yli g ht Ti m e o n T u e s d a y, J ul y 1 4, 2 0 2 0
  I n P er s o n           T h e C o m p a n y’ s pri n ci p al e x e c uti v e offi c e at
  L o c ati o n*:          6 5 0 Li b ert y A v e n u e
                           U ni o n, N e w J er s e y 0 7 0 8 3

  Virt u al                S h ar e h ol d er s m a y al s o att e n d o nli n e at
  M e eti n g              w w w. virt u al s h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0
  W e b sit e*:
  It e m s of B u si n e s s:
                    ( 1)     T o el e ct 1 2 dir e ct or s u ntil t h e A n n u al M e eti n g i n 2 0 2 1 a n d u ntil t h eir r e s p e cti v e s u c c e s s or s h a v e b e e n el e ct e d a n d q u alifi e d ( Pr o p o s al
                            1).
                    ( 2)     T o r atif y t h e a p p oi nt m e nt of K P M G L L P a s i n d e p e n d e nt a u dit or s f or t h e 2 0 2 0 fi s c al y e ar ( Pr o p o s al 2).
                    ( 3)     T o c o n si d er t h e a p pr o v al, b y n o n- bi n di n g v ot e, of t h e 2 0 1 9 c o m p e n s ati o n p ai d t o t h e C o m p a n y’ s N a m e d E x e c uti v e Offi c er s ( c o m m o nl y
                            k n o w n a s a “ s a y- o n- p a y” pr o p o s al) ( Pr o p o s al 3).
                    ( 4)     T o tr a n s a ct s u c h ot h er b u si n e s s a s m a y pr o p erl y b e br o u g ht b ef or e t h e A n n u al M e eti n g or a n y a dj o ur n m e nt or a dj o ur n m e nt s.

  R e c or d D at e: Y o u c a n v ot e if y o u w er e a s h ar e h ol d er of r e c or d a s of t h e cl o s e of b u si n e s s o n J u n e 5, 2 0 2 0.

  Pr o x y V oti n g: It i s i m p ort a nt t h at y o ur s h ar e s b e r e pr e s e nt e d a n d v ot e d at t h e A n n u al M e eti n g. W h et h er or n ot y o u pl a n t o att e n d t h e A n n u al M e eti n g i n
  p er s o n or virt u all y, w e ur g e y o u t o v ot e o nli n e, vi a t el e p h o n e or t o fill o ut t h e e n cl o s e d pr o x y c ar d a n d r et ur n it t o u s i n t h e e n v el o p e pr o vi d e d pri or t o t h e
  ti m e of t h e A n n u al M e eti n g. N o p o st a g e i s r e q uir e d.

  * D uri n g t hi s e xtr a or di n ar y ti m e, w e m u st all d o o ur p art t o st o p t h e s pr e a d of C O VI D- 1 9 ( C or o n a vir u s). W e ar e m o nit ori n g t h e d e v el o p m e nt s r el at e d t o
  t h e i m p a ct of C O VI D- 1 9 o n a d ail y b a si s. W hil e w e h a v e s c h e d ul e d a n i n- p er s o n l o c ati o n f or t h e A n n u al M e eti n g, w e ar e s e n siti v e t o t h e p u bli c h e alt h a n d
  tr a v el c o n c er n s o ur s h ar e h ol d er s m a y h a v e a n d r e c o m m e n d ati o n s t h at p u bli c h e alt h offi ci al s m a y i s s u e i n li g ht of t h e e v ol vi n g C O VI D- 1 9 p a n d e mi c. A s a
  r e s ult, w e ar e off eri n g s h ar e h ol d er s t h e o p p ort u nit y t o att e n d o ur A n n u al M e eti n g r e m ot el y b y vi siti n g w w w. virt u al s h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0.
  Pl e a s e r et ai n t h e 1 6- di git c o ntr ol n u m b er i n cl u d e d o n y o ur n oti c e, o n y o ur pr o x y c ar d or i n t h e v oti n g i n str u cti o n s t h at a c c o m p a ni e d y o ur pr o x y m at eri al s
  a s y o u will n e e d t hi s n u m b er t o att e n d t h e m e eti n g virt u all y. W e h a v e d e si g n e d t h e virt u al m e eti n g t o off er t h e s a m e p arti ci p ati o n o p p ort u niti e s a s a n
  i n- p er s o n m e eti n g. D u e t o t h e i m p a ct of C O VI D- 1 9, w e e n c o ur a g e all s h ar e h ol d er s t o utili z e t h e r e m ot e a c c e s s o pti o n. W e al s o e n c o ur a g e all
  s h ar e h ol d er s w h o ar e c urr e ntl y pl a n ni n g t o att e n d t h e A n n u al M e eti n g i n p er s o n t o c o nti n u e t o r e vi e w g ui d a n c e fr o m p u bli c h e alt h a ut h oriti e s a s t h e ti m e
  f or o ur A n n u al M e eti n g a p pr o a c h e s.

  T h e G o v er n or of t h e St at e of N e w Y or k h a s i s s u e d s e v er al t e m p or ar y e x e c uti v e or d er s p er mitti n g N e w Y or k c or p or ati o n s t o h ol d virt u al o nl y s h ar e h ol d er
  m e eti n g s i n li g ht of t h e C O VI D- 1 9 p a n d e mi c. If t h e G o v er n or’ s t e m p or ar y or d er i s e xt e n d e d t hr o u g h t h e d at e of t h e A n n u al M e eti n g, w e i nt e n d t o h ol d t h e
  A n n u al M e eti n g s ol el y b y m e a n s of r e m ot e c o m m u ni c ati o n s wit h n o i n- p er s o n l o c ati o n. I n s u c h c a s e, w e will a n n o u n c e t h e d e ci si o n t o d o s o at l e a st o n e
  w e e k i n a d v a n c e of t h e A n n u al M e eti n g, b y pr e s s r el e a s e a n d i n a fili n g wit h t h e U. S. S e c uriti e s a n d E x c h a n g e C o m mi s si o n, a s w ell a s i n m at eri al s m a d e
  a v ail a bl e at w w w. b e d b at h a n d b e y o n d. c o m/ a n n u al m e eti n g 2 0 2 0, a n d w e str o n gl y e n c o ur a g e y o u t o c h e c k t hi s w e b sit e pri or t o t h e A n n u al M e eti n g. N ot e
  t h at a n y d e ci si o n t o pr o c e e d wit h a virt u al- o nl y m e eti n g t hi s y e ar d o e s n ot n e c e s s aril y m e a n t h at w e will utili z e a virt u al- o nl y f or m at or a n y m e a n s of
  r e m ot e c o m m u ni c ati o n f or f ut ur e a n n u al m e eti n g s.



  I m p ort a nt N oti c e R e g ar di n g t h e A v ail a bilit y of Pr o x y M at eri al f or t h e A n n u al M e eti n g of S h ar e h ol d er s t o b e h el d o n J ul y 1 4, 2 0 2 0:
       t hi s N oti c e of t h e 2 0 2 0 A n n u al M e eti n g of S h ar e h ol d er s, Pr o x y St at e m e nt a n d t h e C o m p a n y’ s 2 0 1 9 A n n u al R e p ort ar e a v ail a bl e at
                                                                w w w. b e d b at h a n d b e y o n d. c o m/ a n n u al m e eti n g 2 0 2 0

                                                                                                                  i
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T a bl e of C o nt e nts




  T o O ur S h ar e h ol d er s:
  T h e p a st y e ar h a s b e e n o n e of si g nifi c a nt c h a n g e a n d r e n e w al of o ur b u si n e s s, i n cl u di n g e xt e n si v e c h a n g e s t o o ur B o ar d a n d e x e c uti v e l e a d er s hi p a s
  w ell a s d e v el o p m e nt of e s s e nti al str at e gi e s a n d pl a n s t o r e n e w a n d b uil d o ur b u si n e s s. W e ar e u nit e d a n d dri v e n t o r e st or e t h e C o m p a n y’ s pl a c e i n o ur
  c u st o m er s’ e y e s a n d t h e i n d u str y a s t h e pr e ë mi n e nt h o m e r et ail er .
  I n r e c e nt m o nt h s, a s t h e w orl d r e s p o n d s t o t h e u n p ar all el e d c h all e n g e of t h e C O VI D- 1 9 p a n d e mi c, w e h a v e t a k e n a g gr e s si v e a n d t h o u g htf ul st e p s t o
  s af e g u ar d o ur p e o pl e a n d c o m m u niti e s w hil e w e c o nti n u e t o s er v e o ur c u st o m er s. A s wit h m a n y b u si n e s s e s, C O VI D- 1 9 s er v e d a s a c at al y st t o a c c el er at e
  t h e p a c e of c h a n g e a n d i n n o v ati o n — t o a d v a n c e o n g oi n g eff ort s t o r e s et o ur c o st str u ct ur e a n d b uil d a m o d er n, d ur a bl e m o d el f or l o n g-t er m pr ofit a bl e
  gr o wt h.

  B o ar d Tr a n sf or m ati o n
  J u st o v er a y e ar a g o, o ur B o ar d tr a n sf or m ati o n i n cl u d e d t h e a p p oi nt m e nt of 9 n e w i n d e p e n d e nt dir e ct or s a n d t h e d e p art ur e of 8 dir e ct or s, i n cl u di n g t h e
  C o m p a n y’ s C o- F o u n d er s a n d f or m er C hi ef E x e c uti v e Offi c er. I n N o v e m b er 2 0 1 9, M ar k J. Tritt o n w a s a p p oi nt e d a s Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er
  a n d a s a m e m b er of t h e B o ar d. O ur r efr e s h e d B o ar d h a s a di v er sit y of p er s p e cti v e s, b a c k gr o u n d s, a g e s, g e n d er, r a c e a n d et h ni cit y, r efl e ct s t h e di v er sit y
  of t h e C o m p a n y’ s l o y al c u st o m er s a n d d e di c at e d a s s o ci at e s a n d h a s t h e e s s e nti al e x p eri e n c e, q u alifi c ati o n s a n d s kill s t o o v er s e e, g ui d e a n d h el p dri v e
  t h e e xt e n si v e b u si n e s s tr a n sf or m ati o n u n d er w a y.

  W orl d- Cl a s s L e a d er s hi p T e a m
  Si n c e t h e a p p oi nt m e nt of o ur n e w Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er, t h e C o m p a n y h a s r e str u ct ur e d o ur l e a d er s hi p t e a m a n d r e cr uit e d hi g hl y
  e n er g eti c, e x p eri e n c e d a n d i n n o v ati v e l e a d er s t o w or k t o g et h er, l e a d i n n o v ati o n a n d m o d er ni z ati o n, dri v e gr o wt h, a n d a c c el er at e t h e p a c e of c h a n g e. T h e
  t e a m n ot o nl y h a s t h e ri g ht t al e nt a n d e x p erti s e t o e x e c ut e o ur mi s si o n a n d i nj e ct n e w i d e a s, b ut al s o t h e ri g ht or g a ni z ati o n al str u ct ur e f or m or e
  str e a mli n e d d e ci si o n m a ki n g a n d t o r e- e st a bli s h B e d B at h & B e y o n d’ s l e a d er s hi p i n t h e H o m e s p a c e.

  E st a bli s hi n g O ur Gr o wt h Str at e g y
  W e ar e d e v el o pi n g a n d i m pl e m e nti n g t h e i niti al st a g e s of a c o m p elli n g gr o wt h str at e g y, f o u n d e d o n o ur p ur p o s e t o m a k e it pl e a s ur a bl e, s p e ci al a n d e a s y
  f or o ur c u st o m er s t o e n h a n c e t h eir h o m e s. O ur mi s si o n i s t o r e- e st a bli s h B e d B at h & B e y o n d’ s l e a d p o siti o n a s t h e pr ef err e d o m ni c h a n n el H o m e
  d e sti n ati o n wit h a r o b u st, s u st ai n a bl e b u si n e s s m o d el t hr o u g h t h e e x e c uti o n of a str at e g y r o ot e d i n t h e f oll o wi n g fi v e pill ar s:
           1.       Pr o d u ct : W e will r efi n e a n d a m plif y a n e x citi n g o m ni c h a n n el a s s ort m e nt t h at r e b uil d s a ut h orit y a n d pr ef er e n c e f or B e d B at h & B e y o n d a n d
                    cr e at e s e n er g y t hr o u g h diff er e nti ati o n a n d c ur ati o n.
           2.       Pri c e : W e will i n v e st i n a n d cl arif y c o m p elli n g v al u e t hr o u g h m or e c h oi c e wit h o p e ni n g pri c e p oi nt s, r el e v a nt o w n e d br a n d s a n d cl e ar pri c e
                    c o m m u ni c ati o n s t o s h ar p e n o ur v al u e f or q u alit y pr o p o siti o n a n d t o b ot h a c q uir e a n d wi n b a c k c u st o m er s.
           3.       Pr o mi s e : W e will cl arif y a n d d e e p e n o ur r el ati o n s hi p wit h o ur c u st o m er s b y c o n n e cti n g, e n g a gi n g a n d m oti v ati n g t h e m t o str e n gt h e n l o y alt y
                    a n d lif eti m e v al u e.
           4.       Pl a c e : W e will a c c el er at e a n d o pti mi z e c o n n e cti n g wit h, i n s piri n g a n d e n er gi zi n g o ur c u st o m er s b y b e c o mi n g a tr ul y o m ni- al w a y s r et ail er t o
                    s er v e t h eir pr ef err e d s h o p pi n g n e e d s.
           5.       P e o pl e : W e will cr e at e a n d s u st ai n a t al e nt e n gi n e a n d c ult ur e t h at attr a ct s, r et ai n s a n d d e v el o p s hi g h- p erf or mi n g t e a m s w h o c o n si st e ntl y
                    d eli v er o p er ati o n al e x c ell e n c e a n d b u si n e s s r e s ult s.
  Wit h t h e s e fi v e pill ar s a s o ur g ui d e, w e ar e e m br a ci n g a c o m mit m e nt t o r e c o n str u ct a n d                    m o d er ni z e o ur o p er ati n g     m o d el t o dri v e effi ci e n c y a n d
  eff e cti v e n e s s, c h arti n g a n e w c o ur s e f or o ur C o m p a n y.

  R e s etti n g O ur C o st B a s e
  E arli er t hi s y e ar, w e a n n o u n c e d a str at e gi c r e str u ct uri n g pr o gr a m t o ri g ht- si z e o ur or g a ni z ati o n a n d r e s et o ur c o st str u ct ur e, w hi c h will r e s ult i n si g nifi c a nt
  s a vi n g s i n b ot h C o st of S al e s a n d S G & A, i n cl u di n g r e d u ci n g o v er h e a d, i m pr o vi n g s o ur ci n g, i n cr e a si n g pri v at e-l a b el p e n etr ati o n a n d o pti mi zi n g o ur s u p pl y
  c h ai n. O ur t e a m s r e m ai n f o c u s e d o n a c c el er ati n g o ur e xt e n si v e tr a n sf or m ati o n eff ort s a n d dri vi n g a g ai n st o ur n e ar-t er m pri oriti e s t o g e n er at e s a vi n g s a n d
  r ei n v e st f or f ut ur e gr o wt h.
                                                                                                                     ii
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T a bl e of C o nt e nts

  O ur R ol e
  T h e s e ti m e s d e e p e n e d r e c e nt m a cr o tr e n d s, wit h c u st o m er s i n cr e a si n gl y f o c u s e d o n t h e h o m e, a s w ell a s g e n er ati o n al a n d t e c h n ol o gi c al dri v e n c h a n g e
  e m br a c e d b y o ur c u st o m er s a n d h o w t h e y w a nt t o s h o p. W e r e c o g ni z e t h e i m p ort a nt r ol e t h e C o m p a n y pl a y s f or o ur c u st o m er s a n d will pr o vi d e
  i n s pir ati o n a n d i d e a s, a c ur at e d, diff er e nti at e d a n d aff or d a bl e c at e g or y a s s ort m e nt, a n d m ulti pl e, c o nt e m p or ar y m o d el s t o s h o p a n d r e c ei v e pr o d u ct.
  W e h a v e a n i c o ni c br a n d wit h gr e at c o n s u m er br a n d l o y alt y, a n d w e ar e t a ki n g t hi s o p p ort u nit y t o d e e p e n o ur c o n n e cti o n wit h o ur c u st o m er s a s w e
  str e n gt h e n o ur o m ni- al w a y s a p pr o a c h. W e b eli e v e t h at B e d B at h & B e y o n d will e m er g e fr o m t hi s cri si s e v e n str o n g er, gi v e n t h e str e n gt h of o ur br a n d, o ur
  p e o pl e a n d o ur b al a n c e s h e et.
  W e ar e e x cit e d a b o ut t h e f ut ur e of o ur b u si n e s s a n d t h e r ol e w e c a n pl a y i n t h e li v e s of o ur c u st o m er s i n t h e f ut ur e. W e ar e gr at ef ul t o o ur t e a m s, l o y al
  c u st o m er s, v e n d or s a n d ot h er b u si n e s s p art n er s, a s w ell a s t o y o u, o ur s h ar e h ol d er s, f or y o ur c o nti n u e d tr u st, c o nfi d e n c e a n d s u p p ort of B e d B at h &
  B e y o n d.
  I n li g ht of p u bli c h e alt h c o n si d er ati o n s, t hi s y e ar w e ar e off eri n g s h ar e h ol d er s t h e o p p ort u nit y t o att e n d o ur A n n u al M e eti n g of S h ar e h ol d er s virt u all y.
  W h et h er or n ot y o u e x p e ct t o att e n d t h e A n n u al M e eti n g, y o ur v ot e i s v er y i m p ort a nt. Pl e a s e c a st y o ur v ot e r e g ar dl e s s of t h e n u m b er of s h ar e s y o u h ol d.
  W e l o o k f or w ar d t o di s c u s si n g o ur pl a n s f or t h e C o m p a n y’ s f ut ur e at t h e A n n u al M e eti n g.
  M ar k J. Tritt o n
  Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er
  H arri et E d el m a n
  C h air of t h e B o ar d of Dir e ct or s
  J u n e 1 8, 2 0 2 0
                                                                                                                   iii
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T a bl e of C o nt e nts



  B E D B AT H & B E Y O N D AT A GL A N C E
  O ur B u si n e s s
  B e d B at h & B e y o n d I n c. i s a n o m ni c h a n n el r et ail er t h at m a k e s it e a s y f or o ur c u st o m er s t o f e el at h o m e. T h e C o m p a n y s ell s a wi d e a s s ort m e nt of
  d o m e sti c m er c h a n di s e a n d h o m e f ur ni s hi n g s. T h e C o m p a n y al s o pr o vi d e s a v ari et y of t e xtil e pr o d u ct s, a m e niti e s a n d ot h er g o o d s t o i n stit uti o n al
  c u st o m er s i n t h e h o s pit alit y, cr ui s e li n e, h e alt h c ar e a n d ot h er i n d u stri e s. A d diti o n all y, t h e C o m p a n y i s a p art n er i n a j oi nt v e nt ur e w hi c h o p er at e s r et ail
  st or e s i n M e xi c o u n d er t h e B e d B at h & B e y o n d n a m e.

  O ur C O VI D- 1 9         Response
  W e h a v e b e e n r e s p o n di n g t o t h e C O VI D- 1 9 p a n d e mi c wit h m e a s ur e d, p ur p o s ef ul st e p s t o h el p k e e p o ur p e o pl e s af e a n d o ur c u st o m er s s er v e d. W e
  q ui c kl y i niti at e d o ur c o nti n g e n c y pl a n, cr e ati n g a n e s s e nti al r e s p o n s e u nit wit h e m er g e n c y t a s k f or c e gr o u p s t o f o c u s o n s e v er al pri orit y ar e a s, i n cl u di n g
  o ur p e o pl e, o p er ati o n s, c u st o m er s, t e c h n ol o g y a n d fi n a n c e s. W e h a v e b e e n a d a pti n g a s n e c e s s ar y a n d t a ki n g d e ci si v e a cti o n s t o k e e p o ur p e o pl e s af e,
  d eli v er f or o ur c u st o m er s a n d str e n gt h e n o ur li q ui dit y a n d fi n a n ci al fl e xi bilit y .
  O ur t o p pri orit y r e m ai n s t h e h e alt h a n d s af et y of o ur c u st o m er s a n d o ur t e a m s. O n M ar c h 2 3, 2 0 2 0, w e t e m p or aril y cl o s e d all o ur r et ail st or e s a cr o s s t h e
  U S a n d C a n a d a, ot h er t h a n b u y b u y B A B Y a n d H ar m o n F a c e V al u e s (“ H ar m o n”) st or e s, s u bj e ct t o st at e a n d l o c al r e g ul ati o n s. Si n c e t h e n, w e h a v e b e e n
  pr o vi di n g e s s e nti al i nf a nt, h e alt h a n d p er s o n al c ar e it e m s t o l o c al c o m m u niti e s pri m aril y t hr o u g h o ur b u y b u y B A B Y a n d H ar m o n st or e s a s w ell a s s er vi n g
  t h e r e st of o ur l o y al c u st o m er s o nli n e t hr o u g h o ur di git al c h a n n el s.
  W e h a v e b e e n r a pi dl y e v ol vi n g t o m e et t h e c h a n gi n g n e e d s of o ur c u st o m er s d uri n g t hi s ti m e, a n d t h e si g nifi c a nt ri s e i n o nli n e d e m a n d. W e c o n v ert e d
  a p pr o xi m at el y 2 5 % of o ur st or e s a cr o s s t h e U S a n d C a n a d a i nt o r e gi o n al f ulfill m e nt c e nt er s a n d c o m m e n c e d c o nt a ctl e s s c ur b si d e pi c k- u p a n d
  B u y- O nli n e- Pi c k u p-I n St or e (“ B O PI S”) s er vi c e s at h u n dr e d s of o ur st or e l o c ati o n s, s u bj e ct t o st at e a n d l o c al r e g ul ati o n s.
  I n c o nj u n cti o n wit h t h e t e m p or ar y st or e cl o s ur e s, w e i m pl e m e nt e d a d diti o n al c o st r e d u cti o n s i n cl u di n g a f url o u g h of t h e m aj orit y of st or e a s s o ci at e s a n d a
  p orti o n of c or p or at e a s s o ci at e s. T h e C o m p a n y h a s p ai d a n d will c o nti n u e t o p a y 1 0 0 % of t h e c o st of h e alt h c ar e pr e mi u m s f or all f url o u g h e d a s s o ci at e s
  w h o c urr e ntl y p arti ci p at e i n o ur h e alt h pl a n, u ntil f urt h er n oti c e. I n a d diti o n, w e t e m p or aril y r e d u c e d s al ari e s b y 3 0 % a cr o s s t h e e x e c uti v e t e a m t h e n i n
  offi c e, i n cl u di n g Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er (“ C E O”), M ar k J. Tritt o n, t hr o u g h M a y 1 6, 2 0 2 0. At t h e s a m e ti m e, t h e C h air of t h e B o ar d a n d all
  ot h er i n d e p e n d e nt dir e ct or s a gr e e d t o f or g o 3 0 % of t h eir q u art erl y c a s h c o m p e n s ati o n f or t h e fir st q u art er of t h e C o m p a n y’ s 2 0 2 0 fi s c al y e ar.
  O n M a y 8, 2 0 2 0, w e i niti at e d a p h a s e d a p pr o a c h t o f ull y r e- o p e n a n u m b er of st or e s, a n d n o w e x p e ct t o r e o p e n n e arl y all of o ur st or e s, s u bj e ct t o st at e
  a n d l o c al r e g ul ati o n s, b y t h e e n d of J u n e 2 0 2 0. B O PI S a n d c o nt a ctl e s s c ur b si d e pi c k- u p s er vi c e s will al s o b e e xt e n d e d t o c o v er t h e m aj orit y of st or e s
  d uri n g t hi s ti m e. A s st or e s r e- o p e n t o t h e p u bli c a n d s er vi c e s ar e e x p a n d e d a cr o s s N ort h A m eri c a, w e e x p e ct t o bri n g a s s o ci at e s b a c k fr o m f url o u g h. W e
  al s o r e c e ntl y l a u n c h e d o ur St or e S af et y Pl a n a n d ar e g ui d e d b y o ur m e di c al t e a m a n d n ati o n al, st at e a n d l o c al g ui d a n c e t o h el p e n s ur e c u st o m er s c a n
  s h o p wit h u s c o nfi d e ntl y.
  W e r e c o g ni z e o ur a s s o ci at e s f or t h eir a b o v e a n d b e y o n d s er vi c e, attit u d e a n d d e di c ati o n t o o ur C o m p a n y a n d o ur l o y al c u st o m er s d e s pit e t hi s e xtr e m el y
  c h all e n gi n g sit u ati o n. M a ki n g it e a s y t o f e el at h o m e m e a n s diff er e nt t hi n g s t o diff er e nt p e o pl e, a n d o ur t e a m s h a v e b e e n w or ki n g i n cr e di bl y h ar d t o
  s u p p ort o ur c u st o m er s. T hi s i s a n i m p ort a nt ti m e f or u s n o w a n d m o vi n g f or w ar d. B e d B at h & B e y o n d c a n pl a y a n i m p ort a nt r ol e i n s u p p orti n g c u st o m er s
  a n d t h eir f a mili e s i n m a ki n g it e a s y t o f e el at h o m e.

  O ur Str e n gt h s
        Ø        A l e a di n g h o m e f ur ni s hi n g s r et ail er wit h si g nifi c a nt s c al e a n d m ar k et s h ar e

             •       ~ 5 5, 0 0 0 a s s o ci at e s ( F T/ P T)
             •       ~ 1, 5 0 0 t ot al st or e s ( U S/ C a n a d a)
        Ø        F o c u s e d i n v e st m e nt s o n c or e b u si n e s s a n d o m ni c h a n n el c a p a biliti e s

             •        O m ni f ulfill m e nt ( e. g., B O PI S, c ur b si d e pi c k u p, l e v er a gi n g st or e i n v e nt or y)
             •        O m ni i n v e nt or y m a n a g e m e nt
             •       Di git al m ar k eti n g a n d p er s o n ali z ati o n
             •       F urt h er str e n gt h e ni n g o w n e d- br a n d str at e g y
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T a bl e of C o nt e nts


        Ø        Gr o wi n g di git al b u si n e s s w ell p o siti o n e d t o t a k e a d v a nt a g e of s e c ul ar tr e n d s
            •        C u st o m er-f a ci n g di git al c h a n n el s r e pr e s e nt ~ 1 9 % of fi s c al 2 0 1 9 c o m p ar a bl e s al e s
        Ø        Hi g h f o c u s o n tr a n sf or m ati o n of e x p e n s e str u ct ur e i n cl u di n g “ n at ur al” p ortf oli o o pti mi z ati o n

            •         G e n er ati n g f u n d s fr o m s al e of a s s et s ( c o m pl et e d s al e l e a s e b a c k a n d s al e of O n e Ki n g s L a n e)
            •        Ri g ht- si zi n g or g a ni z ati o n str u ct ur e
            •        ~ $ 1 billi o n ( at r et ail) i n v e nt or y r e d u cti o n u n d er w a y
            •        E x p a n di n g dir e ct i m p ort/ dir e ct s o ur ci n g pr a cti c e s
            •        R e n e g oti ati n g v e n d or c o ntr a ct s a n d l e a s e s
            •        C a pit ali zi n g o n h e a v y l e a s e e x pir ati o n c a d e n c e o v er t h e n e xt 2 4 m o nt h s
        Ø        Str o n g li q ui dit y p o siti o n i n cl u di n g r e c e nt i niti ati v e s ar o u n d fi s c al 2 0 2 0 c a s h pr e s er v ati o n

            •        ~ $ 1. 4 billi o n of c a s h a n d i n v e st m e nt s a s of t h e e n d of fi s c al 2 0 1 9
            •       I n r e s p o n s e t o C O VI D- 1 9 p a n d e mi c, t o o k f urt h er a cti o n s t o str e n gt h e n fi n a n ci al fl e xi bilit y, i n cl u di n g, a m o n g ot h er t hi n g s, p o st p o n e d pl a n s f or
                    s h ar e r e p ur c h a s e s a n d s u s p e n d e d t h e p a y m e nt of di vi d e n d s a n d pl a n n e d d e bt r e d u cti o n s, a n d d ef err e d ~ $ 1 5 0 milli o n i n pl a n n e d c a pit al
                    e x p e n dit ur e s
        Ø        N e w m a n a g e m e nt t e a m wit h e xt e n si v e r et ail tr a n sf or m ati o n e x p erti s e

            •        E st a bli s h e d a w orl d- cl a s s l e a d er s hi p t e a m t o r e b uil d o ur b u si n e s s a n d str e n gt h e n o ur a ut h orit y i n t h e H o m e s p a c e, c o n si sti n g of 8 e x e c uti v e
                    a p p oi nt m e nt s o v er t h e p a st 7 m o nt h s, i n cl u di n g Pr e si d e nt a n d C E O M ar k J. T ritt o n

  O ur Fi s c al 2 0 1 9 R e s ult s
        Ø        N et s al e s of ~ $ 1 1. 2 billi o n

        Ø        C o m p ar a bl e s al e s d e cli n e of ~ 7 %, i n cl u di n g l o w- si n gl e- di git p er c e nt a g e gr o wt h fr o m o ur c u st o m er-f a ci n g di git al c h a n n el s
        Ø         N et l o s s p er dil ut e d s h ar e of $( 4. 9 4), i n cl u di n g a n i m p a ct of ~ $ 5. 4 0 p er dil ut e d s h ar e fr o m g o o d will a n d ot h er i m p air m e nt s, a n d i n cr e m e nt al
                c h ar g e f or m ar k d o w n s, s e v er a n c e c o st s, s h ar e h ol d er a cti vit y c o st s a n d a l o s s fr o m a s al e-l e a s e b a c k tr a n s a cti o n, i n cl u di n g tr a n s a cti o n c o st s
        Ø        C a pit al e x p e n dit ur e s of ~ $ 2 7 7 milli o n, wit h ~ 5 0 % r el at e d t o t e c h n ol o g y pr oj e ct s, pri m aril y f o c u s e d o n l o gi sti c s, di git al c a p a biliti e s a n d a n al yti c s

        Ø        D uri n g fi s c al 2 0 1 9, o p e n e d a t ot al of 9 st or e s a n d cl o s e d a t ot al of 4 2 st or e s
        Ø        Si g nifi c a nt r e d u cti o n i n o ur r et ail i n v e nt ori e s ( at c o st) of ~ 2 0 %, r e s ulti n g fr o m v ari o u s i n v e nt or y o pti mi z ati o n str at e gi e s

        Ø        Str o n g y e ar- e n d c a s h a n d i n v e st m e nt s b al a n c e of ~ $ 1. 4 billi o n, a n i n cr e a s e of ~ $ 3 9 2 milli o n o v er t h e pri or y e ar, i n cl u di n g o v er $ 2 5 0 milli o n i n
                n et pr o c e e d s fr o m t h e s al e-l e a s e b a c k tr a n s a cti o n
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T a bl e of C o nt e nts


  TA BL E OF C O NT E NT S

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  TA BL E OF C O NT E NT S

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T a bl e of C o nt e nts


  A N N U A L M E E TI N G O F S H A R E H O L D E R S
  Pr o xi e s i n t h e f or m e n cl o s e d wit h t hi s Pr o x y St at e m e nt ar e s oli cit e d b y t h e B o ar d of Dir e ct or s of B e d B at h & B e y o n d I n c. (t h e “ C o m p a n y,” “ w e,” or “ u s”), a
  N e w Y or k c or p or ati o n, t o b e u s e d at t h e A n n u al M e eti n g of S h ar e h ol d er s (t h e “ A n n u al M e eti n g”) t o b e h el d at t h e C o m p a n y’ s pri n ci p al e x e c uti v e offi c e s at
  6 5 0 Li b ert y A v e n u e, U ni o n, N e w J er s e y 0 7 0 8 3, a n d o nli n e at w w w. virt u al s h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0, o n T u e s d a y, J ul y 1 4, 2 0 2 0 at 1 0: 0 0 A. M.
  E a st er n D a yli g ht Ti m e, f or t h e p ur p o s e s s et f ort h i n t h e N oti c e of M e eti n g a n d t hi s Pr o x y St at e m e nt. T h e C o m p a n y’ s pri n ci p al e x e c uti v e offi c e s ar e
  l o c at e d at 6 5 0 Li b ert y A v e n u e, U ni o n, N e w J er s e y 0 7 0 8 3. T h e a p pr o xi m at e d at e o n w hi c h t hi s Pr o x y St at e m e nt a n d a c c o m p a n yi n g F or m of Pr o x y will b e
  m ail e d t o s h ar e h ol d er s i s o n or a b o ut J u n e 1 8, 2 0 2 0.
  D uri n g t hi s e xtr a or di n ar y ti m e, w e m u st all d o o ur p art t o st o p t h e s pr e a d of C O VI D- 1 9 ( C or o n a vir u s). W e ar e m o nit ori n g t h e d e v el o p m e nt s r el at e d t o t h e
  i m p a ct of C O VI D- 1 9 o n a d ail y b a si s. W hil e w e h a v e s c h e d ul e d a n i n- p er s o n l o c ati o n f or t h e A n n u al M e eti n g, w e ar e s e n siti v e t o t h e p u bli c h e alt h a n d
  tr a v el c o n c er n s o ur s h ar e h ol d er s m a y h a v e a n d r e c o m m e n d ati o n s t h at p u bli c h e alt h offi ci al s m a y i s s u e i n li g ht of t h e e v ol vi n g C O VI D- 1 9 p a n d e mi c. A s a
  r e s ult, w e ar e off eri n g s h ar e h ol d er s t h e o p p ort u nit y t o att e n d o ur A n n u al M e eti n g r e m ot el y b y vi siti n g w w w. virt u al s h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0.
  Pl e a s e r et ai n t h e 1 6- di git c o ntr ol n u m b er i n cl u d e d o n y o ur n oti c e, o n y o ur pr o x y c ar d or i n t h e v oti n g i n str u cti o n s t h at a c c o m p a ni e d y o ur pr o x y m at eri al s
  a s y o u will n e e d t hi s n u m b er t o att e n d t h e m e eti n g virt u all y. W e h a v e d e si g n e d t h e virt u al m e eti n g t o off er t h e s a m e p arti ci p ati o n o p p ort u niti e s a s a n
  i n- p er s o n m e eti n g. D u e t o t h e i m p a ct of C O VI D- 1 9, w e e n c o ur a g e all s h ar e h ol d er s t o utili z e t h e r e m ot e a c c e s s o pti o n. W e al s o e n c o ur a g e all
  s h ar e h ol d er s w h o ar e c urr e ntl y pl a n ni n g t o att e n d t h e A n n u al M e eti n g i n p er s o n t o c o nti n u e t o r e vi e w g ui d a n c e fr o m p u bli c h e alt h a ut h oriti e s a s t h e ti m e
  f or o ur A n n u al M e eti n g a p pr o a c h e s.
  T h e G o v er n or of t h e St at e of N e w Y or k h a s i s s u e d s e v er al t e m p or ar y e x e c uti v e or d er s p er mitti n g N e w Y or k c or p or ati o n s t o h ol d virt u al o nl y s h ar e h ol d er
  m e eti n g s i n li g ht of t h e C O VI D- 1 9 p a n d e mi c. If t h e G o v er n or’ s t e m p or ar y or d er i s e xt e n d e d t hr o u g h t h e d at e of t h e A n n u al M e eti n g, w e i nt e n d t o h ol d t h e
  A n n u al M e eti n g s ol el y b y m e a n s of r e m ot e c o m m u ni c ati o n s wit h n o i n- p er s o n l o c ati o n. I n s u c h c a s e, w e will a n n o u n c e t h e d e ci si o n t o d o s o at l e a st o n e
  w e e k i n a d v a n c e of t h e A n n u al M e eti n g, b y pr e s s r el e a s e a n d i n a fili n g wit h t h e U. S. S e c uriti e s a n d E x c h a n g e C o m mi s si o n (t h e “ S E C”), a s w ell a s i n
  m at eri al s m a d e a v ail a bl e at w w w. b e d b at h a n d b e y o n d. c o m/ a n n u al m e eti n g 2 0 2 0, a n d w e str o n gl y e n c o ur a g e y o u t o c h e c k t hi s w e b sit e pri or t o t h e A n n u al
  M e eti n g. N ot e t h at a n y d e ci si o n t o pr o c e e d wit h a virt u al- o nl y m e eti n g t hi s y e ar d o e s n ot n e c e s s aril y m e a n t h at w e will utili z e a virt u al- o nl y f or m at or a n y
  m e a n s of r e m ot e c o m m u ni c ati o n f or f ut ur e a n n u al m e eti n g s.

                                                   I M P O R T A N T N O TI C E R E G A R DI N G A V AI L A BI LI T Y O F P R O X Y M A T E RI A L S
                                                F O R T H E A N N U A L S H A R E H O L D E R M E E TI N G T O B E H E L D O N J U L Y 1 4, 2 0 2 0

      T h e pr o x y m at eri al s f or t h e A n n u al M e eti n g of S h ar e h ol d er s, i n c l u di n g t h e Pr o x y St at e m e nt a n d t h e C o m p a n y’ s 2 0 1 9 A n n u al
                                            R e p ort ar e a v ail a bl e at w w w. b e d b at h a n d b e y o n d. c o m/ a n n u al m e eti n g 2 0 2 0
                                                                                                                  1
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T a bl e of C o nt e nts


                                                                                                                  O U R DI R E C T O R S
  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S
  W H O WE A RE
  T h e B o ar d of Dir e ct or s, u p o n r e c o m m e n d ati o n of it s N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e, h a s n o mi n at e d t h e 1 2 p e o pl e n a m e d b el o w f or el e cti o n a s dir e ct or s,
  wit h all 1 2 i n di vi d u al s b ei n g n o mi n at e d t o s er v e f or a o n e- y e ar t er m e x piri n g at t h e 2 0 2 1 A n n u al M e eti n g. All of t h e n o mi n e e s f or dir e ct or c urr e ntl y s er v e a s dir e ct or s, a n d all
  of t h e n o mi n e e s e x c e pt f or M ar k J. Tritt o n w er e el e ct e d b y t h e C o m p a n y’ s s h ar e h ol d er s at t h e 2 0 1 9 A n n u al M e eti n g. F o ur of t h e n o mi n e e s ( J o h n E. Fl e mi n g, S u e E. G o v e,
  J effr e y A. Kir w a n a n d J o s h u a E. S c h e c ht er) w er e r e c o m m e n d e d b y t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e a n d a p p oi nt e d b y t h e B o ar d t o s er v e a s dir e ct or s
  eff e cti v e M a y 2 9, 2 0 1 9 p ur s u a nt t o t h e pr e vi o u sl y di s cl o s e d C o o p er ati o n a n d S u p p ort A gr e e m e nt. O n O ct o b er 2 1, 2 0 1 9, t h e B o ar d e x p a n d e d t h e si z e of t h e B o ar d fr o m 1 3 t o
  1 4 m e m b er s a n d a p p oi nt e d Mr. Tritt o n t o fill t h e r e s ulti n g v a c a n c y, i n e a c h c a s e, eff e cti v e a s of N o v e m b er 4, 2 0 1 9. O n M a y 2 9, 2 0 2 0, P atri c k R. G a st o n st e p p e d d o w n a s
  C h air m a n of t h e B o ar d a n d, aft er 1 3 y e ar s a s a dir e ct or of t h e C o m p a n y, n otifi e d t h e B o ar d t h at h e will n ot st a n d f or r e- el e cti o n at t h e A n n u al M e eti n g. I n a d diti o n, o n J u n e
  1 5, 2 0 2 0, St e p h a ni e B ell- R o s e n otifi e d t h e B o ar d t h at s h e will n ot st a n d f or r e- el e cti o n at t h e A n n u al M e eti n g. Mr. G a st o n’ s a n d M s. B ell- R o s e’ s t er m s a s dir e ct or s will
  c o n cl u d e at t h e e n d of t h e A n n u al M e eti n g, at w hi c h ti m e t h e si z e of t h e B o ar d will b e r e d u c e d t o 1 2 m e m b er s.
  I nf or m ati o n c o n c er ni n g o ur n o mi n e e s a s of t h e r e c or d d at e, a n d t h e k e y e x p eri e n c e, q u alifi c ati o n s a n d s kill s t h e y bri n g t o o ur B o ar d i s pr o vi d e d b el o w. A p arti c ul ar dir e ct or
  m a y p o s s e s s a d diti o n al e x p eri e n c e, q u alifi c ati o n s, attri b ut e s, or s kill s, e v e n if n ot e x pr e s sl y i n di c at e d. O ur B o ar d’ s di v er sit y, t e n ur e, a g e a n d i n d e p e n d e n c e i s al s o s h o w n
  b el o w. T h e B o ar d of Dir e ct or s r e c o m m e n d s t h at s h ar e h ol d er s v ot e F O R t h e el e cti o n of t h e 1 2 dir e ct or n o mi n e e s.


                                                                                                                     D e m o gr a p hi c s of Dir e ct or N o mi n e e s
      G e n d er:                                                             5 0 % m al e, 5 0 % f e m al e
      T e n ur e:                                                             1 0 0 % a p p oi nt e d wit hi n t h e l a st 3 y e ar s
      A g e:                                                                      A v er a g e a g e i s ~ 5 7
      Et h ni c Di v er sit y:                                                1 7 % ar e et h ni c all y di v er s e
      I n d e p e n d e n c e:                                               9 2 % ar e i n d e p e n d e nt; 1 n o n-i n d e p e n d e nt dir e ct or i s t h e C E O

                                                                                                            B e d B at h & B e y o n d Dir e ct or S kill s M atri x

                                                                                                                                                                     M ar k eti n g
                                                                                                                                                                     (i n cl u di n g                                                                                                                               S e ni or
                                             CE O               Di git al /                Fi n a n ci al        Gr o wt h /         I nt er n ati o n al               Di git al            O p er ati o n s   P u bli c Aff air s   P u bli c C o m p a n y   R et ail I n d u str y          Ri s k        L e a d er s hi p &
                                        E x p eri e n c e   O m ni c h a n n el             Lit er a c y         B u si n e s s       E x p eri e n c e            M ar k eti n g) /       M a n a g e m e nt     / C or p or at e      B o ar d S er vi c e      E x p eri e n c e      M a n a g e m e nt      Str at e gi c
                                                                                                            Tr a n sf or m ati o n                              P er s o n ali z ati o n    E x p eri e n c e    G o v er n a n c e                                                                               Pl a n ni n g
                                                                                                                                                                    / C u st o m er
                                                                                                                                                                   E x p eri e n c e

    H arri et E d el m a n
                                                                    ●                           ●                    ●                      ●                             ●                       ●                     ●                       ●                        ●                      ●                    ●
    M ar k J. Tritt o n
                                              ●                     ●                           ●                    ●                      ●                             ●                       ●                                                                      ●                      ●                    ●
    J o h n E. Fl e mi n g
                                              ●                     ●                           ●                    ●                      ●                             ●                       ●                                             ●                        ●                                           ●
    S u e E. G o v e
                                              ●                     ●                           ●                    ●                      ●                             ●                       ●                     ●                       ●                        ●                      ●                    ●
    J effr e y A. Kir w a n
                                              ●                     ●                           ●                    ●                      ●                             ●                       ●                                                                      ●                      ●                    ●
    J B O s b or n e
                                              ●                     ●                           ●                    ●                      ●                             ●                       ●                                                                      ●                                           ●
    H ar s h a R a m ali n g a m
                                                                    ●                           ●                    ●                      ●                             ●                       ●                     ●                       ●                        ●                      ●                    ●
    Vir gi ni a P. R u e st er h ol z
                                                                                                ●                    ●                      ●                             ●                       ●                     ●                       ●                                               ●                    ●
    J o s h u a E. S c h e c ht er
                                                                                                ●                                           ●                                                                           ●                       ●                        ●                                           ●
    A n dr e a W ei s s
                                              ●                     ●                           ●                    ●                      ●                             ●                       ●                     ●                       ●                        ●                                           ●
    M ar y A. Wi n st o n
                                              ●                                                 ●                    ●                      ●                                                                           ●                       ●                        ●                      ●                    ●
    A n n Y er g er
                                                                                                ●                                                                                                                       ●                                                                                            ●
    T ot al                                 7/ 12                8/ 12                      12/ 12                10/ 12                 11/ 12                         9/ 12                   9/ 12                8/ 12                   8/ 12                    10/ 12                  7/ 12               12/ 12


                                                                                                                                                            2
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T a bl e of C o nt e nts

                                                                                                                                                                                P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

  B o ar d N o mi n e e s a n d Q u alifi c ati o n s


                                                                    Q u alifi c ati o n s
                                                                    •          Di git al / O m ni c h a n n el
                                                                    •          Di v er sit y
                                                                    •         Fi n a n ci al Lit er a c y
                                                                    •          Gr o wt h / B u si n e s s Tr a n sf or m ati o n
                                                                    •        I nt er n ati o n al E x p eri e n c e
                                                                    •           M ar k eti n g (i n cl u di n g Di git al M ar k eti n g) / P er s o n ali z ati o n / C u st o m er E x p eri e n c e
                                                                    •          O p er ati o n s M a n a g e m e nt E x p eri e n c e
                                                                    •         P u bli c Aff air s / C or p or at e G o v er n a n c e
                                                                    •         P u bli c C o m p a n y B o ar d S er vi c e ( 2 0 y e ar s)
                                                                    •          R e g ul at or y a n d G o v er n m e nt R el ati o n s
                                                                    •          R et ail I n d u str y E x p eri e n c e
  H arri et                                                         •          Ri s k M a n a g e m e nt
                                                                    •         S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g
  E d el m a n
  S p e ci al A d vi s or t o t h e C h air m a n,
  E mi gr a nt B a n k                                              E x p eri e n c e
                                                                    •          S p e ci al A d vi s or t o t h e C h air m a n, E mi gr a nt B a n k ( 2 0 1 9 – pr e s e nt)
  A g e: 6 4
                                                                    •          Vi c e C h air m a n, E mi gr a nt B a n k ( 2 0 1 0 – 2 0 1 9)
  C h air of t h e B o ar d si n c e M a y 2 0 2 0                  •          S p e ci al A d vi s or t o t h e C h air m a n, E mi gr a nt B a n k ( 2 0 0 8 – 2 0 1 0)
  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 9                 •          S e ni or Vi c e Pr e si d e nt, C hi ef I nf or m ati o n Offi c er a n d H e a d of B u si n e s s Tr a n sf or m ati o n; S e ni or Vi c e Pr e si d e nt,
                                                                             Gl o b al S u p pl y C h ai n; v ari o u s s e ni or l e a d er s hi p p o siti o n s i n S al e s, M ar k eti n g a n d N e w Pr o d u ct D e v el o p m e nt,
                                                                             A v o n Pr o d u ct s, I n c. ( 1 9 7 9 – 2 0 0 8)
  P u bli c a n d S el e ct Pri v at e B o ar d M e m b er s hi p
  A s s ur a nt, I n c.
  Bri n k er I nt er n ati o n al, I n c.                           E d u c ati o n
  B u c k n ell U ni v er sit y B o ar d of Tr u st e e s, Vi c e   •         B a c h el or of M u si c, B u c k n ell U ni v er sit y
  C h air m a n                                                     •          M B A, F or d h a m G a b elli S c h o ol of B u si n e s s


                                                                    Al s o
                                                                    H arri et i s a l o y al B e d B at h & B e y o n d c u st o m er w h o l o v e s f a mil y, m u si c, e x er ci s e a n d t h e o ut d o or s.


                                                                                                                 3
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T a bl e of C o nt e nts

  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S


                                                                           Q u alifi c ati o n s
                                                                           •          C E O E x p eri e n c e
                                                                           •          Di git al / O m ni c h a n n el
                                                                           •         Fi n a n ci al Lit er a c y
                                                                           •          Gr o wt h / B u si n e s s Tr a n sf or m ati o n
                                                                           •        I nt er n ati o n al E x p eri e n c e
                                                                           •           M ar k eti n g (i n cl u di n g Di git al M ar k eti n g) / P er s o n ali z ati o n / C u st o m er E x p eri e n c e
                                                                           •          O p er ati o n s M a n a g e m e nt E x p eri e n c e
                                                                           •          R et ail I n d u str y E x p eri e n c e
                                                                           •          Ri s k M a n a g e m e nt
                                                                           •         S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g



  M ar k J.                                                                E x p eri e n c e
                                                                           •         Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er, B e d B at h & B e y o n d I n c. ( N o v e m b er 2 0 1 9 – pr e s e nt)
  Tritt o n                                                                •         E x e c uti v e Vi c e Pr e si d e nt a n d C hi ef M er c h a n di si n g Offi c er, T ar g et C or p or ati o n ( 2 0 1 6 – 2 0 1 9)
                                                                           •         E x e c uti v e Vi c e Pr e si d e nt a n d Di vi si o n Pr e si d e nt of t h e N or d str o m Pr o d u ct Gr o u p, N or d str o m, I n c. ( 2 0 0 9 –
  Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er, B e d B at h &            2 0 1 6)
  B e y o n d I n c.                                                       •          Gr o u p Vi c e Pr e si d e nt, Gl o b al C a s u al G e ar F o ot w e ar & A p p ar el, Ti m b erl a n d L L C ( 2 0 0 4 – 2 0 0 8)
  A g e: 5 6                                                               •         V ari o u s p o siti o n s i n cl u di n g G e n er al M a n a g er, E ur o p e, Mi d dl e E a st & Afri c a A p p ar el, Ni k e, I n c. ( 1 9 9 9 – 2 0 0 4)
  Dir e ct or si n c e 2 0 1 9

                                                                           E d u c ati o n
  P u bli c a n d S el e ct Pri v at e B o ar d M e m b er s hi p          •         B a c h el or of E d u c ati o n i n E n gli s h a n d Hi st or y, U ni v er sit y of S y d n e y, A u str ali a
  N or d str o m, I n c.
  St. J u d e C hil dr e n’ s R e s e ar c h H o s pit al
                                                                           Al s o
                                                                           M ar k h a s a p a s si o n f or f o o d a n d c o o ki n g a n d i s a fr u str at e d D J.


                                                                                                                        4
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T a bl e of C o nt e nts

                                                                                                                                                                                P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S


                                                                    Q u alifi c ati o n s
                                                                    •          C E O E x p eri e n c e
                                                                    •          Di git al / O m ni c h a n n el
                                                                    •         Fi n a n ci al Lit er a c y
                                                                    •          Gr o wt h / B u si n e s s Tr a n sf or m ati o n
                                                                    •        I nt er n ati o n al E x p eri e n c e
                                                                    •           M ar k eti n g (i n cl u di n g Di git al M ar k eti n g) / P er s o n ali z ati o n / C u st o m er E x p eri e n c e
                                                                    •          O p er ati o n s M a n a g e m e nt E x p eri e n c e
                                                                    •         P u bli c C o m p a n y B o ar d S er vi c e
                                                                    •          R et ail I n d u str y E x p eri e n c e
                                                                    •         S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g
  J o h n E.
  Fl e mi n g                                                       E x p eri e n c e
  I nt eri m C hi ef E x e c uti v e Offi c er,                     •        I nt eri m C hi ef E x e c uti v e Offi c er of r 2 1 H ol di n g s, I n c. ( 2 0 2 0 – Pr e s e nt)
  r 2 1 H ol di n g s, I n c.                                       •          C hi ef E x e c uti v e Offi c er of Gl o b al e C o m m er c e, U ni ql o C o. Lt d. ( 2 0 1 3 – 2 0 1 6)
                                                                    •         E x e c uti v e Vi c e Pr e si d e nt, C hi ef M er c h a n di si n g Offi c er, W al m art, I n c. ( 2 0 0 7 – 2 0 1 0)
  A g e: 6 1                                                        •         E x e c uti v e Vi c e Pr e si d e nt, C hi ef M ar k eti n g Offi c er, W al m art, I n c. ( 2 0 0 5 – 2 0 0 6)
  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 9                 •          C hi ef E x e c uti v e Offi c er, W al m art. c o m ( 2 0 0 1 – 2 0 0 5)
                                                                    •          C hi ef M er c h a n di si n g Offi c er, W al m art. c o m ( 2 0 0 0 – 2 0 0 1)
                                                                    •         V ari o u s p o siti o n s i n cl u di n g S e ni or Vi c e Pr e si d e nt of M er c h a n di si n g, D a yt o n H u d s o n ( 1 9 8 1 – 2 0 0 0)
  P u bli c a n d S el e ct Pri v at e B o ar d M e m b er s hi p
  U N T U C Kit L L C
  r 2 1 H ol di n g s, I n c.                                       E d u c ati o n
                                                                    •         B A, C ol or a d o C oll e g e
  T h e Vi s u al C o mf ort Gr o u p
  U S A H o c k e y F o u n d ati o n
                                                                    Al s o
                                                                    J o h n i s fr o m a f o ur g e n er ati o n h o c k e y f a mil y a n d e nj o y s tr a v el, c o o ki n g, hi ki n g a n d b ei n g n e ar w at er.


                                                                                                                 5
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T a bl e of C o nt e nts

  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S


                                                                               Q u alifi c ati o n s
                                                                               •          C E O E x p eri e n c e
                                                                               •          Di git al / O m ni c h a n n el
                                                                               •          Di v er sit y
                                                                               •         Fi n a n ci al Lit er a c y
                                                                               •          Gr o wt h / B u si n e s s Tr a n sf or m ati o n
                                                                               •        I nt er n ati o n al E x p eri e n c e
                                                                               •           M ar k eti n g (i n cl u di n g Di git al M ar k eti n g) / P er s o n ali z ati o n / C u st o m er E x p eri e n c e
                                                                               •          O p er ati o n s M a n a g e m e nt E x p eri e n c e
                                                                               •         P u bli c Aff air s / C or p or at e G o v er n a n c e
                                                                               •         P u bli c C o m p a n y B o ar d S er vi c e ( 1 5 + y e ar s)
  S u e E.                                                                     •          R et ail I n d u str y E x p eri e n c e
                                                                               •          Ri s k M a n a g e m e nt
  Gove                                                                         •         S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g

  Pr e si d e nt, E x c el si or A d vi s or s, L L C
  A g e: 6 1                                                                   E x p eri e n c e
  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 9                            •         S e ni or A d vi s or, Al v ar e z & M ar s al ( 2 0 1 7 – 2 0 1 9)
                                                                               •         Pr e si d e nt, E x c el si or A d vi s or s, L L C ( 2 0 1 4 – pr e s e nt)
                                                                               •         Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er, G olf s mit h I nt er n ati o n al H ol di n g s, I n c. ( 2 0 1 2 – 2 0 1 4)
  P u bli c a n d S el e ct Pri v at e B o ar d M e m b er s hi p              •          C hi ef Fi n a n ci al Offi c er, G olf s mit h I nt er n ati o n al H ol di n g s, I n c. ( 2 0 0 9 – 2 0 1 2)
  C o n n’ s, I n c.                                                           •          C hi ef O p er ati n g Offi c er, G olf s mit h I nt er n ati o n al H ol di n g s, I n c. ( 2 0 0 8 – 2 0 1 2)
                                                                               •         E x e c uti v e Vi c e Pr e si d e nt, G olf s mit h I nt er n ati o n al H ol di n g s, I n c. ( 2 0 0 8 – 2 0 1 2)
  T ail or e d Br a n d s, I n c.
                                                                               •          C hi ef O p er ati n g Offi c er, Z al e C or p or ati o n ( 2 0 0 2 – 2 0 0 6)
  I A A, I n c.                                                                •          C hi ef Fi n a n ci al Offi c er, Z al e C or p or ati o n ( 1 9 9 7 – 2 0 0 3)
  I c o ni x Br a n d Gr o u p, I n c. ( u ntil M a y 2 0 1 9)                 •         V ari o u s s e ni or fi n a n ci al, o p er ati n g a n d str at e gi c r ol e s, c ul mi n ati n g i n t h e E V P a n d C hi ef O p er ati n g Offi c er r ol e,
                                                                                        Z al e C or p or ati o n ( 1 9 8 0 – 2 0 0 6)
  L o git e c h I nt er n ati o n al S. A. ( u ntil S e pt e m b er 2 0 1 8)
  A ut o z o n e, I n c. ( u ntil D e c e m b er 2 0 1 7)
                                                                               E d u c ati o n
                                                                               •         B B A, A c c o u nti n g, U ni v er sit y of T e x a s at A u sti n


                                                                               Al s o
                                                                               S u e e nj o y s g olf, t e n ni s a n d e nt ert ai ni n g.


                                                                                                                            6
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T a bl e of C o nt e nts

                                                                                                                                                                                P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S


                                                                    Q u alifi c ati o n s
                                                                    •          C E O E x p eri e n c e
                                                                    •          Di git al / O m ni c h a n n el
                                                                    •         Fi n a n ci al Lit er a c y
                                                                    •          Gr o wt h / B u si n e s s Tr a n sf or m ati o n
                                                                    •        I nt er n ati o n al E x p eri e n c e
                                                                    •           M ar k eti n g (i n cl u di n g Di git al M ar k eti n g) / P er s o n ali z ati o n / C u st o m er E x p eri e n c e
                                                                    •          O p er ati o n s M a n a g e m e nt E x p eri e n c e
                                                                    •          R et ail I n d u str y E x p eri e n c e
                                                                    •          Ri s k M a n a g e m e nt
                                                                    •         S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g

  J effr e y A.
  Kir w a n                                                         E x p eri e n c e
                                                                    •         C h air m a n, M a uri c e s I n c. ( 2 0 1 9 – Pr e s e nt)
  C h air m a n, M a uri c e s I n c.                               •          Gl o b al Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er, G a p di vi si o n of T h e G a p, I n c. ( 2 0 1 4 – 2 0 1 8)
                                                                    •         E x e c uti v e Vi c e Pr e si d e nt a n d Pr e si d e nt, G a p C hi n a ( 2 0 1 3 – 2 0 1 4)
  A g e: 5 3
                                                                    •         S e ni or Vi c e Pr e si d e nt, M a n a gi n g Dir e ct or a n d C hi ef O p er ati n g Offi c er, G a p C hi n a ( 2 0 1 1 – 2 0 1 3)
  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 9                 •         S e ni or Vi c e Pr e si d e nt, St or e s a n d O p er ati o n s, Ol d N a v y ( 2 0 0 8 – 2 0 1 1)
                                                                    •         S e ni or Vi c e Pr e si d e nt a n d G e n er al M a n a g er, Ol d N a v y C a n a d a ( 2 0 0 8)
                                                                    •         Vi c e Pr e si d e nt a n d G e n er al M a n a g er, Ol d N a v y C a n a d a ( 2 0 0 7 – 2 0 0 8)
  P u bli c a n d S el e ct Pri v at e B o ar d M e m b er s hi p
  M a uri c e s I n c.
                                                                    E d u c ati o n
                                                                    •         B S, R h o d e I sl a n d C oll e g e
                                                                    •          M a st er s of S ci e n c e, t h e U ni v er sit y of M ar yl a n d U ni v er sit y C oll e g e


                                                                    Al s o
                                                                    J eff i s a n a vi d s urf er, p a s si o n at e a b o ut tr a v el, e nj o y s l e ar ni n g a b o ut ot h er c ult ur e s, s p e n di n g ti m e wit h f a mil y a n d
                                                                    c o nti n u e s t o pr a cti c e s p e a ki n g M a n d ari n.




                                                                    Q u alifi c ati o n s
                                                                    •         A d v erti si n g
                                                                    •          C E O E x p eri e n c e
                                                                    •          Di git al / O m ni c h a n n el
                                                                    •         Fi n a n ci al Lit er a c y
                                                                    •          Gr o wt h / B u si n e s s Tr a n sf or m ati o n
                                                                    •        I nt er n ati o n al E x p eri e n c e
                                                                    •           M ar k eti n g (i n cl u di n g Di git al M ar k eti n g) / P er s o n ali z ati o n / C u st o m er E x p eri e n c e
                                                                    •          O p er ati o n s M a n a g e m e nt E x p eri e n c e
                                                                    •         Pr o d u ct I n n o v ati o n
  J o h n at h a n B.                                               •
                                                                    •
                                                                               R et ail I n d u str y E x p eri e n c e
                                                                              S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g
  ( J B) O s b or n e
  C E O, R e d A ntl er                                             E x p eri e n c e
  A g e: 3 9                                                        •         C E O & C o- F o u n d er, R e d A ntl er ( 2 0 0 7 – pr e s e nt)
                                                                    •         U S Dir e ct or a n d o p e n e d t h e N e w Y or k offi c e, C o n s orti u m ( 2 0 0 6 – 2 0 0 7)
  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 8
                                                                    •         A c c o u nt S u p er vi s or, S a at c hi & S a at c hi ( 2 0 0 3 – 2 0 0 6)


                                                                    E d u c ati o n
                                                                    •         B S, A p pli e d E c o n o mi c s a n d M a n a g e m e nt, M a g n a C u m L a u d e, C or n ell U ni v er sit y


                                                                    Al s o
                                                                    J B ori gi n all y m o v e d t o N e w Y or k wit h a s pir ati o n s of pl a yi n g i n a r o c k b a n d, b ut h a p pil y f o u n d e ntr e pr e n e ur s hi p a n d
                                                                    n o w li v e s i n Br o o kl y n wit h hi s wif e Ari ell e, t h eir i n cr e di bl y c ut e s o n A u g u st, d o g Br o di e a n d a l ot of pl a nt s.


                                                                                                                 7
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T a bl e of C o nt e nts

  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S


                                                                         Q u alifi c ati o n s
                                                                         •          Di git al / O m ni c h a n n el
                                                                         •          Di v er sit y
                                                                         •         Fi n a n ci al Lit er a c y
                                                                         •          Gr o wt h / B u si n e s s Tr a n sf or m ati o n
                                                                         •        I nt er n ati o n al E x p eri e n c e
                                                                         •           M ar k eti n g (i n cl u di n g Di git al M ar k eti n g) / P er s o n ali z ati o n / C u st o m er E x p eri e n c e
                                                                         •          O p er ati o n s M a n a g e m e nt E x p eri e n c e
                                                                         •         P u bli c Aff air s / C or p or at e G o v er n a n c e

  H ar s h a                                                             •
                                                                         •
                                                                                   P u bli c C o m p a n y B o ar d S er vi c e
                                                                                    R et ail I n d u str y E x p eri e n c e

  R a m ali n g a m                                                      •
                                                                         •
                                                                                    Ri s k M a n a g e m e nt
                                                                                   S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g
  Pr e si d e nt a n d O w n er, R a m ali n g a m C o n s ulti n g
  A g e: 6 1
                                                                         E x p eri e n c e
  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 9
                                                                         •          S e ni or A d vi s or, T h e B o st o n C o n s ulti n g Gr o u p ( 2 0 1 9 – pr e s e nt)
                                                                         •          Pr e si d e nt a n d O w n er, R a m ali n g a m C o n s ulti n g ( 2 0 1 5 – pr e s e nt)
  P u bli c a n d S el e ct Pri v at e                                   •          Gl o b al Vi c e Pr e si d e nt, e- c o m m er c e Pl atf or m, C hi ef I nf or m ati o n Offi c er a n d CI S O F u n cti o n s, A m a z o n. c o m, I n c.
  B o ar d M e m b er s hi p                                                      ( 2 0 0 8 – 2 0 1 5)
                                                                         •          E ntr e pr e n e ur i n R e si d e n c e at N ort h Bri d g e V e nt ur e P art n er s a n d F o u n d er of Cl o u T S y st e m s ( 2 0 0 8)
  I ntr ali n k s H ol di n g s, I n c. ( u ntil J a n u ar y 2 0 1 7)   •          V ari o u s p o siti o n s i n cl u di n g Vi c e Pr e si d e nt, Pr o d u ct s a n d O p er ati o n s, E M C S a a S, E M C C or p or ati o n ( 2 0 0 2 –
  I nt e gr al H e alt h                                                          2 0 0 8)
                                                                         •          C hi ef T e c h n ol o g y Offi c er / H e a d of R e s e ar c h a n d D e v el o p m e nt a n d T e c h ni c al O p er ati o n s, Fr e e B or d er s, I n c.
                                                                                  ( 2 0 0 0 – 2 0 0 2)
                                                                         •          Gl o b al D e v el o p m e nt M a n a g er, St or a g e Ar e a N et w or k S oft w ar e D e v el o p m e nt a n d I B M St or a g e S y st e m s
                                                                                  Di vi si o n, S A N Str at e g y L e a d er s hi p, I nt er n ati o n al B u si n e s s M a c hi n e s C or p or ati o n ( 1 9 9 8 – 2 0 0 0)



                                                                         E d u c ati o n
                                                                         •         B a c h el or of T e c h n ol o g y, I n di a n I n stit ut e of T e c h n ol o g y, K h ar a g p ur
                                                                         •          M B A, G e n er al M a n a g e m e nt, I n di a n I n stit ut e of M a n a g e m e nt, B a n g al or e
                                                                         •         E x e c uti v e E d u c ati o n, St a nf or d U ni v er sit y Gr a d u at e S c h o ol of B u si n e s s



                                                                         Al s o
                                                                         H ar s h a e nj o y s r u n ni n g, s wi m mi n g, a n d hi ki n g i n t h e m o u nt ai n s. H e i s a v ol u nt e er wit h t h e U nit e d N ati o n s        W orl d
                                                                         F o o d Pr o gr a m a n d s er v e s o n t h eir T e c h A d vi s or y B o ar d.


                                                                                                                      8
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T a bl e of C o nt e nts

                                                                                                                                                                      P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S


                                                          Q u alifi c ati o n s
                                                          •          Di v er sit y
                                                          •         Fi n a n ci al Lit er a c y
                                                          •          Gr o wt h / B u si n e s s Tr a n sf or m ati o n
                                                          •        I nt er n ati o n al E x p eri e n c e
                                                          •           M ar k eti n g (i n cl u di n g Di git al M ar k eti n g) / P er s o n ali z ati o n / C u st o m er E x p eri e n c e
                                                          •          O p er ati o n s M a n a g e m e nt E x p eri e n c e
                                                          •         P u bli c Aff air s / C or p or at e G o v er n a n c e
                                                          •         P u bli c C o m p a n y B o ar d S er vi c e
                                                          •          Ri s k M a n a g e m e nt
                                                          •         S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g

  Vir gi ni a P.
  R u e st er h ol z                                      E x p eri e n c e
                                                          •         E x e c uti v e Vi c e Pr e si d e nt — Str at e gi c I niti ati v e s, V eri z o n C o m m u ni c ati o n s, I n c. ( J a n 2 0 1 2 – J ul y 2 0 1 2)
  F or m er E x e c uti v e Vi c e                        •         Pr e si d e nt, V eri z o n S er vi c e s O p er ati o n s ( 2 0 0 9 – 2 0 1 1) – l e d t h e Gl o b al B u si n e s s U nit t h at i n cl u d e d t h e gl o b al
  Pr e si d e nt, Str at e gi c I niti ati v e s,                  I P N et w or k, a $ 4 0 billi o n s o ur ci n g s p e n d, s u p pl y c h ai n a n d r e al e st at e o p er ati o n s
  V eri z o n C o m m u ni c ati o n s, I n c.            •         Pr e si d e nt, V eri z o n T el e c o m ( 2 0 0 6 – 2 0 0 9) – l e d t h e $ 3 0 billi o n b u si n e s s u nit f or V eri z o n’ s c o n s u m er, g e n er al
  A g e: 5 9                                                       b u si n e s s a n d w h ol e s al e c u st o m er s

  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 7

                                                          E d u c ati o n
  P u bli c a n d S el e ct Pri v at e                    •         B S, C h e mi c al E n gi n e eri n g, St e v e n s I n stit ut e of T e c h n ol o g y
  B o ar d M e m b er s hi p                              •          M S, T el e c o m m u ni c ati o n s M a n a g e m e nt, Br o o kl y n P ol yt e c h ni c
  T h e H artf or d Fi n a n ci al S er vi c e s          •         H o n or ar y D o ct or at e of E n gi n e eri n g, St e v e n s I n stit ut e of T e c h n ol o g y
  Gr o u p, I n c.
  St e v e n s I n stit ut e of T e c h n ol o g y
                                                          Al s o
                                                          Vir gi ni a i s a Tr u st e e of St e v e n s I n stit ut e of T e c h n ol o g y a n d s er v e d a s it s fir st a n d o nl y f e m al e c h air of t h e B o ar d i n
                                                          it s 1 4 9- y e ar hi st or y.




                                                          Q u alifi c ati o n s
                                                          •         Fi n a n ci al Lit er a c y
                                                          •        I nt er n ati o n al E x p eri e n c e
                                                          •          M & A E x p eri e n c e
                                                          •         P u bli c Aff air s / C or p or at e G o v er n a n c e
                                                          •         P u bli c C o m p a n y B o ar d S er vi c e
                                                          •          R et ail I n d u str y E x p eri e n c e
                                                          •         S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g



                                                          E x p eri e n c e
  J o s h u a E.                                          •         C o- Pr e si d e nt, St e el P art n er s J a p a n A s s et M a n a g e m e nt, L P ( 2 0 0 8 – 2 0 1 3)
                                                          •         M a n a gi n g Dir e ct or, St e el P art n er s Lt d ( 2 0 0 1 – 2 0 1 3)
  S c h e c ht er
  Pri v at e i n v e st or a n d p u bli c
  c o m p a n y dir e ct or                               E d u c ati o n
  A g e: 4 7                                              •         B B A, U ni v er sit y of T e x a s at A u sti n
                                                          •          M P A, Pr of e s si o n al A c c o u nti n g, U ni v er sit y of T e x a s at A u sti n
  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 9


  P u bli c a n d S el e ct Pri v at e                    Al s o
  B o ar d M e m b er s hi p                              J o s h e nj o y s c o a c hi n g hi s c hil dr e n’ s y o ut h s p ort s t e a m s. H e al s o e nj o y s r e a di n g.
  S u p p ort. c o m
  Vi a d C or p
  G e n e s c o I n c. ( u ntil J u n e 2 0 1 9)
  S u n W or k s, I n c. ( u ntil J a n u ar y 2 0 2 0)

                                                                                                       9
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T a bl e of C o nt e nts

  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S


                                                                       Q u alifi c ati o n s
                                                                       •          C E O E x p eri e n c e
                                                                       •          Di git al / O m ni c h a n n el
                                                                       •          Di v er sit y
                                                                       •         Fi n a n ci al Lit er a c y
                                                                       •          Gr o wt h / B u si n e s s Tr a n sf or m ati o n
                                                                       •        I nt er n ati o n al E x p eri e n c e
                                                                       •           M ar k eti n g (i n cl u di n g Di git al M ar k eti n g) / P er s o n ali z ati o n / C u st o m er E x p eri e n c e
                                                                       •          O p er ati o n s M a n a g e m e nt E x p eri e n c e
                                                                       •         Pr o d u ct D e v el o p m e nt
                                                                       •         P u bli c Aff air s / C or p or at e G o v er n a n c e
  A n dr e a                                                           •
                                                                       •
                                                                                 P u bli c C o m p a n y B o ar d S er vi c e
                                                                                  R et ail I n d u str y E x p eri e n c e
  W ei s s                                                             •         S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g

  F o u n di n g P art n er,
  T h e O Alli a n c e, L L C
                                                                       E x p eri e n c e
  C hi ef E x e c uti v e Offi c er a n d                              •         F o u n di n g P art n er, T h e O Alli a n c e, L L C ( 2 0 1 4 – pr e s e nt)
  F o u n d er, R et ail C o n s ulti n g I n c.
                                                                       •         C h air m a n, Gr u p o C ort efi el ( 2 0 0 6 – 2 0 0 7)
  A g e: 6 5                                                           •         C hi ef E x e c uti v e Offi c er a n d F o u n d er, R et ail C o n s ulti n g I n c. ( 2 0 0 2 – pr e s e nt)
  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 9                    •         Pr e si d e nt, d E Li A* s, I n c. ( 2 0 0 1 – 2 0 0 2)
                                                                       •         E x e c uti v e Vi c e Pr e si d e nt a n d C hi ef St or e s Offi c er, T h e Li mit e d, I n c. ( 1 9 9 8 – 2 0 0 1)
                                                                       •         Pr e si d e nt, R et ail O p er ati o n s, G u e s s ?, I n c. ( 1 9 9 6 – 1 9 9 8)
  P u bli c a n d S el e ct Pri v at e                                 •         S e ni or Vi c e Pr e si d e nt a n d Dir e ct or, St or e s, A n n T a yl or St or e s, I n c. ( 1 9 9 2 – 1 9 9 6)
  B o ar d M e m b er s hi p
  Cr a c k er B arr el Ol d C o u ntr y St or e, I n c.
  O’ R eill y A ut o m oti v e, I n c.
                                                                       E d u c ati o n
                                                                       •         B F A, Vir gi ni a C o m m o n w e alt h U ni v er sit y
  R P T R e alt y                                                      •          M a st er s of A d mi ni str ati v e S ci e n c e, T h e J o h n s H o p ki n s U ni v er sit y
  D eli v eri n g G o o d, I n c. ( C h air m a n of t h e B o ar d)   •         P o st- Gr a d u at e St u di e s at H ar v ar d B u si n e s s S c h o ol a n d T h e K ell o g g S c h o ol of M a n a g e m e nt at N ort h w e st er n
                                                                                U ni v er sit y
  C hi c o’ s F A S, I n c. ( u ntil N o v e m b er 2 0 1 8)


                                                                       Al s o
                                                                       A n dr e a r e si d e s i n Fl ori d a wit h h er h u s b a n d of 3 8 y e ar s w h er e t h e y br e e d t h or o u g h br e d h or s e s.


                                                                                                                   10
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T a bl e of C o nt e nts

                                                                                                                                                                             P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S


                                                                    Q u alifi c ati o n s
                                                                    •          C E O E x p eri e n c e
                                                                    •          Di v er sit y
                                                                    •         Fi n a n ci al Lit er a c y
                                                                    •          Gr o wt h / B u si n e s s Tr a n sf or m ati o n
                                                                    •        I nt er n ati o n al E x p eri e n c e
                                                                    •         P u bli c Aff air s / C or p or at e G o v er n a n c e
                                                                    •         P u bli c C o m p a n y B o ar d S er vi c e
                                                                    •          R et ail I n d u str y E x p eri e n c e
                                                                    •          Ri s k M a n a g e m e nt
                                                                    •         S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g
  M ar y A.
  Wi n st o n                                                       E x p eri e n c e
  F o u n d er a n d Pr e si d e nt,                                •         Pr e si d e nt a n d F o u n d er, Wi n s C o E nt er pri s e s I n c. ( 2 0 1 6 – pr e s e nt)
  Wi n s C o E nt er pri s e s I n c.                               •        I nt eri m C hi ef E x e c uti v e Offi c er, B e d B at h & B e y o n d I n c. ( M a y 2 0 1 9 – N o v e m b er 2 0 1 9)
                                                                    •         E x e c uti v e Vi c e Pr e si d e nt a n d C hi ef Fi n a n ci al Offi c er, F a mil y D oll ar St or e s I n c. ( 2 0 1 2 – 2 0 1 5)
  A g e: 5 8
                                                                    •         S e ni or Vi c e Pr e si d e nt a n d C hi ef Fi n a n ci al Offi c er, Gi a nt E a gl e, I n c. ( 2 0 0 8 – 2 0 1 2)
  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 9                 •         E x e c uti v e Vi c e Pr e si d e nt a n d C hi ef Fi n a n ci al Offi c er, S c h ol a sti c C or p or ati o n ( 2 0 0 4 – 2 0 0 7)
                                                                    •         V ari o u s p o siti o n s, i n cl u di n g Vi c e Pr e si d e nt a n d C o ntr oll er, Vi st e o n C or p or ati o n ( 2 0 0 2 – 2 0 0 4), a n d Vi c e
                                                                             Pr e si d e nt, Gl o b al Fi n a n ci al O p er ati o n s, Pfi z er I n c. P h ar m a c e uti c al s Gr o u p ( 1 9 9 5 – 2 0 0 2)
  P u bli c a n d S el e ct Pri v at e B o ar d M e m b er s hi p   •         St art e d h er c ar e er a s a C P A a n d a u dit or at Art h ur A n d er s e n & C o.
  A c uit y Br a n d s, I n c.
  D o mt ar C or p or ati o n
  D o v er C or p or ati o n
                                                                    E d u c ati o n
                                                                    •         B B A, A c c o u nti n g, U ni v er sit y of Wi s c o n si n, Mil w a u k e e
                                                                    •          M B A, Fi n a n c e, M ar k eti n g a n d I nt er n ati o n al B u si n e s s, N ort h w e st er n U ni v er sit y’ s K ell o g g Gr a d u at e S c h o ol
                                                                    •         CPA



                                                                    Al s o
                                                                    M ar y i s p a s si o n at e a b o ut tr a v el, e x er ci s e a n d s p e n di n g ti m e wit h f a mil y.


                                                                                                               11
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T a bl e of C o nt e nts

  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S


                                                                             Q u alifi c ati o n s
                                                                             •         Di v er sit y
                                                                             •        Fi n a n ci al Lit er a c y
                                                                             •        P u bli c Aff air s / C or p or at e G o v er n a n c e
                                                                             •        S e ni or L e a d er s hi p & Str at e gi c Pl a n ni n g



                                                                             E x p eri e n c e
                                                                             •         M e m b er, Gr a nt T h or nt o n A u dit Q u alit y A d vi s or y C o u n cil ( 2 0 1 9 – pr e s e nt)
                                                                             •        A d vi s or, S p e n c er St u art N ort h A m eri c a B o ar d Pr a cti c e ( 2 0 1 7 – pr e s e nt)
                                                                             •        E x e c uti v e Dir e ct or, C e nt er f or B o ar d M att er s, Er n st & Y o u n g L L P ( 2 0 1 5 – 2 0 1 7)
  Ann                                                                        •        V ari o u s p o siti o n s i n cl u di n g E x e c uti v e Dir e ct or, C o u n cil of I n stit uti o n al I n v e st or s ( 1 9 9 6 – 2 0 1 5)

  Y er g er
                                                                             E d u c ati o n
  A d vi s or, S p e n c er St u art N ort h
  A m eri c a B o ar d Pr a cti c e                                          •        B A, E c o n o mi c s, D u k e U ni v er sit y
                                                                             •         M B A, T ul a n e U ni v er sit y
  A g e: 5 8                                                                 •        C F A c h art er h ol d er
  I n d e p e n d e nt Dir e ct or si n c e 2 0 1 9


  P u bli c a n d S el e ct Pri v at e                                       Al s o
  B o ar d M e m b er s hi p                                                 A n n l o v e s s p e n di n g ti m e wit h h er f a mil y a n d t w o d o g s, a n d s h e e nj o y s vi siti n g a n d hi ki n g t h e U S n ati o n al
                                                                             p ar k s.
  H er s h e y E nt ert ai n m e nt a n d
  R e s ort s




                                                      T H E B O A R D O F DI R E C T O R S R E C O M M E N D S T H A T T H E S H A R E H O L D E R S V O T E F O R
                                                                        T H E E L E C TI O N O F T H E 1 2 N O MI N E E S A S DI R E C T O R S.

                                                                                                                        12
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T a bl e of C o nt e nts

                                                                                                                                                                            P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

  H O W W E A R E S E L E C T E D A N D E V A L U AT E D
  Dir e ct or s ar e el e ct e d a n n u all y at e a c h a n n u al m e eti n g t o s er v e u ntil t h e n e xt a n n u al m e eti n g or u ntil t h eir s u c c e s s or s ar e d ul y el e ct e d a n d q u alifi e d,
  s u bj e ct t o t h eir e arli er d e at h, r e si g n ati o n or r e m o v al.
  T h e B o ar d h a s a d o pt e d a p oli c y r e g ar di n g mi ni m u m q u alifi c ati o n s f or p ot e nti al dir e ct or s. T h e s e q u alifi c ati o n s ar e c o n si d er e d b y t h e B o ar d a n d t h e
  N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e, t o g et h er wit h ot h er q u alifi c ati o n s d e e m e d u s ef ul i n t h e c o nt e xt of a n a s s e s s m e nt of t h e c urr e nt n e e d s
  of t h e B o ar d. T h e s e q u alifi c ati o n s r efl e ct t h e d e sir a bilit y of s el e cti n g dir e ct or s w h o:
        •       ar e of hi g h c h ar a ct er a n d i nt e grit y;
        •       ar e a c c o m pli s h e d i n t h eir r e s p e cti v e fi el d s, wit h s u p eri or cr e d e nti al s a n d r e c o g niti o n;
        •       h a v e r el e v a nt e x p erti s e a n d e x p eri e n c e u p o n w hi c h t o b e a bl e t o off er a d vi c e a n d g ui d a n c e t o m a n a g e m e nt;
        •       h a v e s uffi ci e nt ti m e a v ail a bl e t o d e v ot e t o t h e aff air s of t h e C o m p a n y;
        •       ar e a bl e t o w or k wit h t h e ot h er m e m b er s of t h e B o ar d a n d c o ntri b ut e t o t h e s u c c e s s of t h e C o m p a n y;
        •       c a n r e pr e s e nt t h e l o n g-t er m i nt er e st s of t h e C o m p a n y’ s s h ar e h ol d er s a s a w h ol e; a n d
        •       ar e s el e ct e d s u c h t h at t h e B o ar d r e pr e s e nt s a r a n g e of b a c k gr o u n d s, e x p eri e n c e, a g e s a n d di v er sit y of g e n d er, r a c e, et h ni cit y a n d g e o gr a p h y.

  T h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e al s o c o n si d er s a p pli c a bl e l e g al a n d r e g ul at or y r e q uir e m e nt s t h at g o v er n t h e c o m p o siti o n of t h e
  B o ar d. A c c or di n gl y, (i) a m aj orit y of t h e B o ar d m u st b e c o m pri s e d of i n d e p e n d e nt dir e ct or s ( a s d efi n e d b y N a s d a q), (ii) at l e a st t hr e e m e m b er s of t h e
  B o ar d m u st h a v e t h e r e q ui sit e fi n a n ci al lit er a c y t o s er v e o n t h e C o m p a n y’ s A u dit C o m mitt e e, (iii) at l e a st o n e m e m b er of t h e B o ar d m u st s ati sf y N a s d a q’ s
  “fi n a n ci al s o p hi sti c ati o n” r e q uir e m e nt ( a n d s h o ul d al s o b e a n “ a u dit c o m mitt e e fi n a n ci al e x p ert” ( a s d efi n e d b y t h e S E C)), a n d (i v) t h er e m u st b e a
  s uffi ci e nt n u m b er of i n d e p e n d e nt dir e ct or s t o e n s ur e t h at t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e, t h e A u dit C o m mitt e e a n d t h e
  C o m p e n s ati o n C o m mitt e e ar e e a c h c o m pri s e d e ntir el y of i n d e p e n d e nt dir e ct or s.
  Q u alifi e d c a n di d at e s f or m e m b er s hi p o n t h e B o ar d will b e c o n si d er e d wit h o ut r e g ar d t o r a c e, c ol or, cr e e d, r eli gi o n, n ati o n al ori gi n, a g e, g e n d er, s e x u al
  ori e nt ati o n or di s a bilit y. T h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e e n d e a v or s t o i n cl u d e w o m e n a n d mi n orit y c a n di d at e s i n t h e q u alifi e d p o ol
  fr o m w hi c h B o ar d c a n di d at e s ar e c h o s e n a n d, w h e n n o mi n at e d a n d el e ct e d, t o c o n si d er s u c h dir e ct or s f or l e a d er s hi p o n t h e B o ar d a n d it s c o m mitt e e s.
  T h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e r e vi e w s a n d e v al u at e s e a c h c a n di d at e’ s c h ar a ct er, j u d g m e nt, s kill s (i n cl u di n g fi n a n ci al lit er a c y),
  b a c k gr o u n d, e x p eri e n c e a n d ot h er q u alifi c ati o n s ( wit h o ut r e g ar d t o w h et h er a n o mi n e e h a s b e e n r e c o m m e n d e d b y t h e C o m p a n y’ s s h ar e h ol d er s), a s w ell
  a s t h e o v er all c o m p o siti o n of t h e B o ar d, a n d r e c o m m e n d s t o t h e B o ar d f or it s a p pr o v al t h e sl at e of dir e ct or s t o b e n o mi n at e d f or el e cti o n at t h e A n n u al
  M e eti n g. I n a d diti o n, t h e C o m p a n y’ s C or p or at e G o v er n a n c e G ui d eli n e s li mit t h e n u m b er of o ut si d e b o ar d m e m b er s hi p s of o ur dir e ct or s. T h e B o ar d v al u e s
  di v er sit y, i n it s br o a d e st s e n s e, r efl e cti n g, b ut n ot li mit e d t o, g e o gr a p h y, g e n d er, a g e, r a c e, et h ni cit y a n d lif e e x p eri e n c e a n d i s c o m mitt e d t o a p oli c y of
  i n cl u si v e n e s s.
  T h e B o ar d of Dir e ct or s b eli e v e s it i s str u ct ur e d t o pr o vi d e o v er si g ht, dir e cti o n a n d g ui d a n c e t o m a n a g e m e nt. I n d oi n g s o, t h e m e m b er s of t h e B o ar d bri n g
  t o t h eir s er vi c e v al u a bl e e x p erti s e i n a wi d e r a n g e of s u bj e ct s r el e v a nt t o t h e C o m p a n y i n t h e e x e c uti o n of it s str at e g y. T h e B o ar d, a s p art of it s a n n u al
  s elf- a s s e s s m e nt a n d o n a n o n g oi n g b a si s a s a p pr o pri at e, c o n si d er s t h e s kill s a n d e x p eri e n c e of it s m e m b er s i n r el ati o n t o t h e n e e d s of t h e C o m p a n y .

  B o ar d R efr e s h m e nt I niti ati v e
  F oll o wi n g e n g a g e m e nt wit h o ur s h ar e h ol d er s, a n d i n c o n si d er ati o n of t h eir c o n str u cti v e f e e d b a c k, o v er t h e l a st f e w y e ar s t h e B o ar d h a s u n d er g o n e a
  c o m pl et e o v er h a ul, wit h all 1 2 of o ur dir e ct or n o mi n e e s a p p oi nt e d wit hi n t h e l a st t hr e e y e ar s. T h e B o ar d r e c e ntl y c o m pl et e d it s a n n u al s elf- a s s e s s m e nt
  pr o c e s s, a n d c o n st a ntl y a s s e s s e s t h e c urr e nt n e e d s of t h e B o ar d. T hi s eff ort i s i nt e n d e d t o h el p e n s ur e t h at dir e ct or s p o s s e s s a n a p pr o pri at e mi x of s kill s
  a n d e x p eri e n c e, i n cl u di n g a b al a n c e b et w e e n n e w a n d e x p eri e n c e d dir e ct or s a n d a f urt h er ali g n m e nt of t h e attri b ut e s of t h e dir e ct or s wit h t h e C o m p a n y’ s
  str at e gi c n e e d s.
  I n f urt h er a n c e of t hi s i niti ati v e, u p o n t h e r e c o m m e n d ati o n of t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e, t h e B o ar d h a s t a k e n t h e f oll o wi n g
  a cti o n s:
        •      I n M a y 2 0 2 0, H arri et E d el m a n, a n i n d e p e n d e nt dir e ct or, w a s a p p oi nt e d a s C h air of t h e B o ar d. M s. E d el m a n j oi n e d o ur B o ar d of Dir e ct or s i n M a y
               2 0 1 9, a n d bri n g s t hr e e d e c a d e s of gl o b al o p er ati n g e x p eri e n c e i n c o n s u m er g o o d s a n d fi n a n ci al s er vi c e s. M s. E d el m a n c urr e ntl y s er v e s a s a
               m e m b er of t h e C o m p e n s ati o n C o m mitt e e, h a s n otifi e d t h e B o ar d t h at s h e i nt e n d s t o st e p d o w n fr o m t h e C o m p e n s ati o n C o m mitt e e eff e cti v e a s
               of J ul y 1, 2 0 2 0, a n d h a s st e p p e d d o w n a s C h air of t h e A u dit C o m mitt e e.
                                                                                                                      13
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T a bl e of C o nt e nts

  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

        •        I n N o v e m b er 2 0 1 9, M ar k J. Tritt o n, t h e C o m p a n y’ s n e w Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er, j oi n e d t h e B o ar d. Mr. Tritt o n h a s o v er 3 0 y e ar s of
                 e x p eri e n c e i n t h e r et ail i n d u str y, i n cl u di n g m o st r e c e ntl y a s E x e c uti v e Vi c e Pr e si d e nt a n d C hi ef M er c h a n di si n g Offi c er at T ar g et C or p or ati o n,
                 w h er e h e w a s i n str u m e nt al i n tr a n sf or mi n g t h e o m ni- c h a n n el s h o p pi n g e x p eri e n c e.
        •        I n a d diti o n t o M s. E d el m a n, i n M a y 2 0 1 9, t h e f oll o wi n g dir e ct or s j oi n e d o ur B o ar d of Dir e ct or s:
            •        J o h n E. Fl e mi n g w h o bri n g s f o ur d e c a d e s of e c o m m er c e ar c hit e ct ur e, str at e g y a n d bi g b o x                     m ar k eti n g a n d     m er c h a n di si n g e x p eri e n c e.
                     Mr. Fl e mi n g, a n i n d e p e n d e nt dir e ct or, c urr e ntl y s er v e s a s C h air of t h e C o m p e n s ati o n C o m mitt e e.
            •         S u e E. G o v e w h o bri n g s si g nifi c a nt r et ail o p er ati o n s a n d t ur n ar o u n d e x p erti s e. M s. G o v e, a n i n d e p e n d e nt dir e ct or, c urr e ntl y s er v e s o n t h e
                     N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e.
             •        J effr e y A. Kir w a n w h o bri n g s e xt e n si v e r et ail o p er ati o n s a n d gl o b al s u p pl y c h ai n e x p eri e n c e. Mr. Kir w a n i s a n i n d e p e n d e nt dir e ct or.
            •         H ar s h a R a m ali n g a m w h o bri n g s o v er 3 0 y e ar s of o p er ati o n al l e a d er s hi p e x p eri e n c e a n d gl o b al e x p erti s e i n ar e a s i n cl u di n g e nt er pri s e
                     t e c h n ol o g y a n d c o n s u m er e- c o m m er c e. Mr. R a m ali n g a m, a n i n d e p e n d e nt dir e ct or, c urr e ntl y s er v e s o n t h e N o mi n ati n g a n d C or p or at e
                     G o v er n a n c e C o m mitt e e.
            •         J o s h u a E. S c h e c ht er w h o bri n g s e xt e n si v e M & A, c or p or at e g o v er n a n c e, i n v e st m e nt a n d t ur n ar o u n d e x p erti s e. Mr. S c h e c ht er, a n i n d e p e n d e nt
                     dir e ct or, c urr e ntl y s er v e s a s C h air of t h e A u dit C o m mitt e e.
            •         A n dr e a W ei s s w h o bri n g s si g nifi c a nt e ntr e pr e n e uri al l e a d er s hi p e x p eri e n c e i n t h e r et ail i n d u str y, a n d w h o w a s a n e arl y i n n o v at or i n m ulti-
                     c h a n n el c o m m er c e. M s. W ei s s, a n i n d e p e n d e nt dir e ct or, c urr e ntl y s er v e s o n t h e A u dit C o m mitt e e.
            •          M ar y A. Wi n st o n w h o bri n g s si g nifi c a nt g o v er n a n c e e x p erti s e a cr o s s a br o a d r a n g e of i n d u stri e s, h a vi n g s er v e d o n l ar g e p u bli c c o m p a n y
                     b o ar d s a n d a u dit c o m mitt e e s f or m a n y y e ar s. M s. Wi n st o n s er v e d a s t h e C o m p a n y’ s I nt eri m C hi ef E x e c uti v e Offi c er fr o m M a y 2 0 1 9 u ntil
                     N o v e m b er 2 0 1 9, w h e n Mr. Tritt o n w a s a p p oi nt e d a s t h e C o m p a n y’ s Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er. M s. Wi n st o n i s a n i n d e p e n d e nt
                     dir e ct or.
            •         A n n Y er g er w h o bri n g s e xt e n si v e l e a d er s hi p e x p eri e n c e a s a n ati o n all y r e c o g ni z e d g o v er n a n c e s p e ci ali st.            M s. Y er g er, a n i n d e p e n d e nt
                     dir e ct or, c urr e ntl y s er v e s o n t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e a n d C o m p e n s ati o n C o m mitt e e s.
        •        I n A pril 2 0 1 8, J o h n at h a n (“ J B”) O s b or n e, a n i n d e p e n d e nt dir e ct or wit h e xt e n si v e c o n s u m er br a n di n g a n d                     m ar k eti n g e x p eri e n c e,     wit hi n
                 e c o m m er c e a n d ot h er r et ail m o d el s, j oi n e d o ur B o ar d. H e c urr e ntl y s er v e s o n t h e A u dit C o m mitt e e.
        •        I n J u n e 2 0 1 7, Vir gi ni a P. R u e st er h ol z, a n i n d e p e n d e nt dir e ct or w h o bri n g s t hr e e d e c a d e s of l ar g e- s c al e o p er ati o n al a n d tr a n sf or m ati o n al
                 l e a d er s hi p e x p eri e n c e wit h a F ort u n e 5 0 c o m p a n y, j oi n e d o ur B o ar d f oll o wi n g h er el e cti o n at t h e C o m p a n y’ s 2 0 1 7 A n n u al M e eti n g of
                 S h ar e h ol d er s. S h e c urr e ntl y s er v e s a s C h air of t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e a n d a s a m e m b er of t h e A u dit
                 C o m mitt e e.
        •         T hi s B o ar d r efr e s h m e nt i niti ati v e r e m ai n s o n g oi n g, a n d t h e B o ar d e x p e ct s it t o r e s ult i n f urt h er c h a n g e s t o t h e B o ar d’ s c o m p o siti o n o v er t h e n e xt
                 s e v er al y e ar s.
        •         O ur B o ar d c o nti n u e s t o b e c o m mitt e d t o s o u n d a n d eff e cti v e c or p or at e g o v er n a n c e pri n ci pl e s a n d pr a cti c e s, i n cl u di n g b o ar d di v er sit y, a n d
                 r e cr uit m e nt of n e w dir e ct or s t o c o m pl e m e nt t h e e xi sti n g s kill s a n d e x p eri e n c e of o ur B o ar d.
  T h e B o ar d h ol d s r e g ul ar m e eti n g s e a c h q u art er a n d s p e ci al m e eti n g s w h e n n e c e s s ar y. T h e B o ar d h el d 3 2 m e eti n g s d uri n g t h e fi s c al y e ar e n d e d
  F e br u ar y 2 9, 2 0 2 0 (“fi s c al 2 0 1 9”). Dir e ct or s ar e e x p e ct e d t o att e n d t h e B o ar d m e eti n g s a n d m e eti n g s of c o m mitt e e s of t h e B o ar d o n w hi c h t h e y s er v e.
  A b s e nt u n u s u al cir c u m st a n c e s, t h e C o m p a n y e x p e ct s t h e m e m b er s of t h e B o ar d t o att e n d t h e C o m p a n y’ s A n n u al M e eti n g of S h ar e h ol d er s. D uri n g fi s c al
  2 0 1 9, all of t h e C o m p a n y’ s i n c u m b e nt dir e ct or s att e n d e d 7 5 % or m or e of t h e t ot al n u m b er of m e eti n g s of t h e B o ar d of Dir e ct or s a n d c o m mitt e e s o n w hi c h
  h e or s h e s er v e d. All of t h e C o m p a n y’ s t h e n c urr e nt dir e ct or s att e n d e d t h e 2 0 1 9 A n n u al M e eti n g of S h ar e h ol d er s.
                                                                                                                     14
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T a bl e of C o nt e nts

                                                                                                                                                                              P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

  C or p or at e G o v er n a n c e at B e d B at h & B e y o n d
  O ur C or p or at e G o v er n a n c e Fr a m e w or k
  T h e B o ar d b eli e v e s t h at g o o d c or p or at e g o v er n a n c e a c c o m p a ni e s a n d ai d s t h e C o m p a n y’ s l o n g-t er m s u c c e s s, a n d, i n c o or di n ati o n wit h t h e N o mi n ati n g
  a n d C or p or at e G o v er n a n c e C o m mitt e e, r e g ul arl y r e vi e w s t h e C o m p a n y’ s c or p or at e g o v er n a n c e p oli ci e s a n d pr a cti c e s. T h e I n v e st or St e w ar d s hi p Gr o u p
  (I S G), w hi c h i n cl u d e s s o m e of t h e l ar g e st i n stit uti o n al i n v e st or s a n d gl o b al a s s et m a n a g er s a n d a d v o c at e s f or b e st pr a cti c e s i n c or p or at e g o v er n a n c e, h a s
  e st a bli s h e d a fr a m e w or k of g o v er n a n c e pri n ci pl e s f or mi n g a b a s eli n e of e x p e ct ati o n s f or U S c or p or ati o n s. W e b eli e v e t h at t h e C o m p a n y’ s p oli ci e s a n d
  pr a cti c e s ar e ali g n e d wit h t h e I S G’ s pri n ci pl e s.
  A s di s c u s s e d i n m or e d et ail i n t h e f oll o wi n g s e cti o n s, o ur c or p or at e g o v er n a n c e p oli ci e s a n d pr a cti c e s i n cl u d e, a m o n g ot h er t hi n g s:

     Pr a cti c e                                                D e s cri pti o n
     A c c o u nt a bilit y t o S h ar e h ol d er s
     A n n u al el e cti o n s                                     All dir e ct or s ar e el e ct e d a n n u all y, w hi c h r ei nf or c e s o ur B o ar d’ s a c c o u nt a bilit y t o s h ar e h ol d er s
     M aj orit y v oti n g st a n d ar d                         O ur A m e n d e d a n d R e st at e d B y-l a w s pr o vi d e f or a “ m aj orit y v oti n g” st a n d ar d i n u n c o nt e st e d dir e ct or el e cti o n s.
                                                                 A n i n c u m b e nt dir e ct or t h at d o e s n ot m e et t h e m aj orit y v oti n g st a n d ar d m u st pr o m ptl y off er t o r e si g n fr o m t h e
                                                                 B o ar d
     B o ar d r efr e s h m e nt                                 F oll o wi n g e n g a g e m e nt wit h o ur s h ar e h ol d er s, a n d i n c o n si d er ati o n of t h eir c o n str u cti v e f e e d b a c k, o v er t h e l a st
                                                                 f e w y e ar s t h e B o ar d h a s u n d er g o n e a c o m pl et e o v er h a ul, wit h all 1 2 of o ur dir e ct or s st a n di n g f or r e- el e cti o n
                                                                 a p p oi nt e d wit hi n t h e l a st t hr e e y e ar s. T h e B o ar d r e c e ntl y c o m pl et e d it s a n n u al s elf- a s s e s s m e nt pr o c e s s, a n d
                                                                 c o n st a ntl y a s s e s s e s t h e c urr e nt n e e d s of t h e B o ar d
     Pr o x y a c c e s s                                        O ur A m e n d e d a n d R e st at e d B y-l a w s pr o vi d e t h at a n y s h ar e h ol d er or gr o u p of u p t o 2 0 s h ar e h ol d er s o w ni n g 3 %
                                                                 or m or e of t h e C o m p a n y’ s c o m m o n st o c k c o nti n u o u sl y f or at l e a st t h e pr e vi o u s t hr e e y e ar s m a y n o mi n at e a n d
                                                                 i n cl u d e i n o ur pr o x y m at eri al s dir e ct or n o mi n e e s t ot ali n g u p t o t h e gr e at er of 2 0 % of t h e B o ar d or at l e a st t w o
                                                                 dir e ct or s
     S h ar e h ol d er                                          W e ar e c o m mitt e d t o a cti v e s h ar e h ol d er e n g a g e m e nt, i n cl u di n g b y dir e ct or s, t o dir e ctl y g at h er i n v e st or
     e n g a g e m e nt                                          p er s p e cti v e s
     Str o n g, I n d e p e n d e nt L e a d er s hi p
     Independence                                                A m aj orit y of o ur dir e ct or s m u st b e i n d e p e n d e nt. C urr e ntl y, all of o ur dir e ct or s ot h er t h a n o ur C E O ar e
                                                                 i n d e p e n d e nt. T h e B o ar d h ol d s r e g ul ar e x e c uti v e s e s si o n s of i n d e p e n d e nt dir e ct or s
     I n d e p e n d e nt C h air                                W e c urr e ntl y h a v e a n i n d e p e n d e nt C h air of t h e B o ar d. If i n t h e f ut ur e o ur C E O i s al s o t h e C h air of t h e B o ar d or
                                                                 t h e C h air of t h e B o ar d i s ot h er wi s e n ot i n d e p e n d e nt, w e r e q uir e a n i n d e p e n d e nt dir e ct or t o s er v e a s L e a d
                                                                 Dir e ct or
     B o ar d C o m mitt e e s                                   T h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e r e vi e w s a n d r e c o m m e n d s C o m mitt e e m e m b er s hi p. All
                                                                 of t h e m e m b er s of t h e A u dit C o m mitt e e, C o m p e n s ati o n C o m mitt e e a n d N o mi n ati n g a n d C or p or at e G o v er n a n c e
                                                                 C o m mitt e e ar e i n d e p e n d e nt dir e ct or s. E a c h of o ur c o m mitt e e s i s c h air e d b y a n i n d e p e n d e nt dir e ct or, a n d e a c h
                                                                 c o m mitt e e h a s a n e xt e n si v e d et ail e d c h art er o utli ni n g t h e c o m mitt e e’ s d uti e s a n d r e s p o n si biliti e s
                                                                                                                     15
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T a bl e of C o nt e nts

  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

     Pr a cti c e                                               D e s cri pti o n
     B o ar d Str u ct ur e
     Di v er sit y                                         O ur B o ar d h a s a di v er sit y of p er s p e cti v e s, b a c k gr o u n d s, a g e s, g e n d er, r a c e a n d et h ni cit y a n d r efl e ct s t h e
                                                           di v er sit y of t h e C o m p a n y’ s l o y al c u st o m er s a n d d e di c at e d a s s o ci at e s
     Dir e ct or o v er b o ar di n g                      O ur C E O a n d a n y dir e ct or t h at i s a “ N a m e d E x e c uti v e Offi c er” of a n y p u bli c c o m p a n y i s e x p e ct e d t o s er v e o n
     p oli c y                                             n o m or e t h a n o n e ot h er p u bli c c o m p a n y b o ar d. Ot h er dir e ct or s ar e e x p e ct e d t o s er v e o n n o m or e t h a n t hr e e
                                                           ot h er p u bli c c o m p a n y b o ar d s
     S elf- A s s e s s m e nt s                            T h e B o ar d a n d e a c h of it s c o m mitt e e s c o n d u ct a n n u al s elf- a s s e s s m e nt s
     Ri s k o v er si g ht                                 T h e B o ar d a n d t h e A u dit C o m mitt e e a n n u all y r e vi e w a n d e n g a g e wit h t h e C o m p a n y’ s E nt er pri s e Ri s k
                                                           M a n a g e m e nt (“ E R M”) pr o c e s s
     M a n a g e m e nt                                    T h e C o m p e n s ati o n C o m mitt e e (i n c o n s ult ati o n wit h t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e) i s
     s u c c e s si o n pl a n ni n g                      r e s p o n si bl e f or t h e o v er si g ht of m a n a g e m e nt s u c c e s si o n pl a n ni n g f or t h e C E O a n d ot h er e x e c uti v e offi c er s of
                                                           the Co mpany
     C o m p e n s ati o n Pr a cti c e s a n d Ali g n m e nt wit h S h ar e h ol d er s
     C o m p e n s ati o n pr a cti c e s                  T h e C o m p e n s ati o n C o m mitt e e i s d e di c at e d t o ali g ni n g t h e C o m p a n y’ s e x e c uti v e c o m p e n s ati o n pr a cti c e s wit h
                                                           t h e l o n g-t er m str at e g y of t h e C o m p a n y a n d t h e C o m p a n y’ s c o m p e n s ati o n d e si g n pill ar s
     Cl a w b a c k a n d a nti- h e d gi n g a n d        W e h a v e i n pl a c e a cl a w b a c k p oli c y, a n d d o n ot p er mit o ur e x e c uti v e offi c er s t o h e d g e t h e C o m p a n y’ s
     pl e d gi n g p oli ci e s                            s e c uriti e s, a n d r e stri ct t h eir a bilit y t o pl e d g e t h e C o m p a n y’ s s e c uriti e s
     St o c k o w n er s hi p g ui d eli n e s f or
     offi c er s a n d dir e ct or s                        T h e B o ar d a d o pt e d e n h a n c e d st o c k o w n er s hi p g ui d eli n e s f or t h e C o m p a n y’ s offi c er s a n d dir e ct or s

  A nti- H e d gi n g a n d A nti- Pl e d gi n g P oli ci e s
  O ur dir e ct or s a n d e x e c uti v e offi c er s ar e pr o hi bit e d fr o m h e d gi n g C o m p a n y s e c uriti e s, i n cl u di n g t hr o u g h t h e u s e of fi n a n ci al i n str u m e nt s s u c h a s pr e p ai d
  v ari a bl e f or w ar d c o ntr a ct s, e q uit y s w a p s, c oll ar s, e x c h a n g e f u n d s, p ut s, c all s, f or w ar d s a n d ot h er d eri v ati v e i n str u m e nt s, or t hr o u g h t h e e st a bli s h m e nt of a
  s h ort p o siti o n i n t h e C o m p a n y’ s s e c uriti e s. I n a d diti o n, o ur dir e ct or s a n d e x e c uti v e offi c er s ar e pr o hi bit e d fr o m pl e d gi n g C o m p a n y s e c uriti e s a s c oll at er al
  f or a l o a n or fr o m h ol di n g C o m p a n y s e c uriti e s i n a m ar gi n a c c o u nt, u nl e s s t h e y c ertif y t o t h e C o m p a n y’ s G e n er al C o u n s el t h eir fi n a n ci al c a p a cit y t o r e p a y
  t h e c o v er e d l o a n wit h o ut r e s ort t o t h e pl e d g e d s e c uriti e s.

  H O W WE A RE G OVE R NE D A N D G OVE R N

  B o ar d L e a d er s hi p
  O n M a y 2 9, 2 0 2 0, H arri et E d el m a n w a s a p p oi nt e d a s i n d e p e n d e nt C h air of t h e B o ar d. A s i n d e p e n d e nt C h air of t h e B o ar d, M s. E d el m a n pr e si d e s at all
  m e eti n g s of t h e s h ar e h ol d er s a n d of t h e B o ar d of Dir e ct or s, a n d h a s s u c h p o w er s a n d p erf or m s s u c h ot h er d uti e s r e q uir e d b y st at ut e or t h e C o m p a n y’ s
  A m e n d e d a n d R e st at e d B y-l a w s a n d a s s et f ort h i n t h e C or p or at e G o v er n a n c e G ui d eli n e s or a s t h e B o ar d m a y fr o m ti m e t o ti m e d et er mi n e. T h e B o ar d
  b eli e v e s t hi s str u ct ur e r e pr e s e nt s g o o d g o v er n a n c e, p arti c ul arl y i n a d dr e s si n g t h e c o or di n ati o n a n d o v er si g ht of t h e c o n si d er a bl e c o m mitt e e w or k t h at h a s
  alr e a d y t a k e n pl a c e a n d t h at li e s i m m e di at el y a h e a d. U n d er t h e C o m p a n y’ s C or p or at e G o v er n a n c e G ui d eli n e s, if t h e B o ar d, u p o n t h e r e c o m m e n d ati o n of
  t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e, d e ci d e s i n t h e f ut ur e t h at, gi v e n t h e t h e n c urr e nt cir c u m st a n c e s, c o m bi ni n g t h e p o siti o n s of C h air
  a n d C hi ef E x e c uti v e Offi c er w o ul d f o st er a m or e eff e cti v e a n d effi ci e nt B o ar d, or t h e C h air m a n i s ot h er wi s e d et er mi n e d b y t h e B o ar d t o n ot b e
  i n d e p e n d e nt, t h e n t h e i n d e p e n d e nt dir e ct or s will d e si g n at e a n i n d e p e n d e nt dir e ct or t o s er v e a s L e a d Dir e ct or. T h e L e a d Dir e ct or w o ul d g e n er all y h a v e t h e
  d uti e s a n d r e s p o n si biliti e s of t h e c urr e nt i n d e p e n d e nt C h air of t h e B o ar d, u nl e s s ot h er wi s e d et er mi n e d b y t h e B o ar d.

  Dir e ct or I n d e p e n d e n c e
  T h e B o ar d, u p o n t h e a d vi c e of t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e, h a s d et er mi n e d t h at M m e s. B ell- R o s e, E d el m a n, G o v e,
  R u e st er h ol z, Wi n st o n, W ei s s a n d Y er g er, a n d M e s sr s. Fl e mi n g, G a st o n, Kir w a n, O s b or n e, S c h e c ht er a n d R a m ali n g a m e a c h ar e “i n d e p e n d e nt dir e ct or s”
  u n d er t h e i n d e p e n d e n c e st a n d ar d s s et f ort h i n N a s d a q Li sti n g R ul e 5 6 0 5( a)( 2).
                                                                                                                    16
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T a bl e of C o nt e nts

                                                                                                                                                                                 P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

  T h e s e d et er mi n ati o n s w er e b a s e d o n t h e f a ct t h at e a c h of t h e s e i n di vi d u al s i s n ot a n e x e c uti v e offi c er or e m pl o y e e of t h e C o m p a n y or h a s a n y ot h er
  r el ati o n s hi p w hi c h, i n t h e o pi ni o n of t h e B o ar d, w o ul d i nt erf er e wit h t h e e x er ci s e of i n d e p e n d e nt j u d g m e nt i n c arr yi n g o ut t h e r e s p o n si biliti e s of a dir e ct or.
  Mr. G a st o n a n d M s. B ell- R o s e ar e n ot st a n di n g f or r e- el e cti o n at t h e A n n u al M e eti n g, a n d t h eir t er m s a s dir e ct or s will c o n cl u d e at t h e e n d of t h e A n n u al
  M e eti n g.
  I n a d diti o n, t h e B o ar d, u p o n t h e a d vi c e of t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e, d et er mi n e d t h at o ur f or m er dir e ct or s D e a n S. A dl er,
  St a nl e y F. B ar s h a y, Kl a u s E p pl er, J or d a n H ell er a n d Vi ct ori a A. M orri s o n w er e e a c h “i n d e p e n d e nt dir e ct or s” u n d er t h e i n d e p e n d e n c e st a n d ar d s s et f ort h i n
  N a s d a q Li sti n g R ul e 5 6 0 5( a)( 2). E a c h of t h e s e f or m er dir e ct or s r e si g n e d a s m e m b er s of t h e B o ar d of Dir e ct or s ef f e cti v e M a y 1, 2 0 1 9.
  T h e B o ar d’ s i n d e p e n d e n c e d et er mi n ati o n i s a n al y z e d a n n u all y i n b ot h f a ct a n d a p p e ar a n c e t o pr o m ot e ar m s-l e n gt h o v er si g ht. I n m a ki n g it s i n d e p e n d e n c e
  d et er mi n ati o n t hi s y e ar, t h e B o ar d c o n si d er e d r el ati o n s hi p s a n d tr a n s a cti o n s si n c e t h e b e gi n ni n g of t h e C o m p a n y’ s 2 0 1 9 fi s c al y e ar. T h e B o ar d’ s
  i n d e p e n d e n c e d et er mi n ati o n s i n cl u d e d r e vi e wi n g t h e f oll o wi n g r el ati o n s hi p s, a n d a d et er mi n ati o n t h at t h e r el ati o n s hi p s a n d t h e a m o u nt s i n v ol v e d, i n e a c h
  c a s e w a s i m m at eri al.
  D uri n g fi s c al 2 0 1 9, t h e C o m p a n y e n g a g e d B o st o n C o n s ulti n g Gr o u p t o pr o vi d e c o n s ulti n g s er vi c e s i n c o n n e cti o n wit h t h e C o m p a n y’ s o n g oi n g b u si n e s s
  tr a n sf or m ati o n. Mr. R a m ali n g a m i s a n o n- e m pl o y e e s e ni or a d vi s or at B o st o n C o n s ulti n g Gr o u p. Mr. R a m ali n g a m w a s n ot i n v ol v e d i n a n y d e ci si o n b y t h e
  C o m p a n y t o e n g a g e B o st o n C o n s ulti n g Gr o u p. T h e a m o u nt s p ai d b y t h e C o m p a n y t o B o st o n C o n s ulti n g Gr o u p r e pr e s e nt e d a s m all fr a cti o n of 1 % of t h e
  a n n u al r e v e n u e s of B o st o n C o n s ulti n g Gr o u p.
  T h e C o m p a n y l e a s e s 1 4 st or e s ( or l e s s t h a n 1 % of t h e C o m p a n y’ s t ot al st or e s) fr o m R P T R e alt y, o n w h o s e B o ar d of Dir e ct or s M s. W ei s s s er v e s. T h e
  r e nt al i n c o m e fr o m t h e s e st or e s r e pr e s e nt s a p pr o xi m at el y 3 % of t h e t ot al a n n u al mi ni m u m r e nt r e c ei v e d b y R P T R e alt y.
  A s t h e B o ar d d et er mi n e d t h at t h e s e r el ati o n s hi p s a n d t h e a m o u nt s i n v ol v e d w er e i m m at eri al, t h e B o ar d d o e s n ot b eli e v e t h at t h e s e r el ati o n s hi p s or t h e
  a m o u nt s i n v ol v e d mi g ht r e a s o n a bl y i m p air t h e a bilit y of Mr. R a m ali n g a m or M s. W ei s s t o a ct i n t h e s h ar e h ol d er s’ b e st i nt er e st s.

  C o m mitt e e s of t h e B o ar d of Dir e ct or s
  T h e B o ar d h a s e st a bli s h e d st a n di n g c o m mitt e e s t o a s si st wit h t h e p erf or m a n c e of it s r e s p o n si biliti e s. T h e s e i n cl u d e: t h e A u dit C o m mitt e e; t h e
  C o m p e n s ati o n C o m mitt e e; a n d t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e. T h e B o ar d h a s a d o pt e d writt e n c h art er s f or t h e A u dit,
  C o m p e n s ati o n, a n d N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e s. T h e c h art er s ar e a v ail a bl e i n t h e I n v e st or R el ati o n s s e cti o n of t h e C o m p a n y’ s
  w e b sit e at w w w. b e d b at h a n d b e y o n d. c o m. All m e m b er s of t h e A u dit, C o m p e n s ati o n a n d N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e s ar e
  c o n si d er e d i n d e p e n d e nt p ur s u a nt t o a p pli c a bl e S E C a n d N a s d a q r ul e s, a n d all m e m b er s of t h e C o m p e n s ati o n C o m mitt e e m e et t h e “ o ut si d e dir e ct or s”
  r e q uir e m e nt s f or p ur p o s e s of a p pli c a bl e t a x l a w.
  Pri or t o t h e a p p oi nt m e nt of Mr. Tritt o n a s Pr e si d e nt a n d C E O a n d t h e C o m p a n y’ s n e w s e ni or l e a d er s hi p t e a m, t h e B o ar d f or m e d a B u si n e s s
  Tr a n sf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e. T h e B o ar d a p p oi nt e d t h e i niti al m e m b er s of t h e B u si n e s s Tr a n sf or m ati o n a n d Str at e g y R e vi e w
  C o m mitt e e o n M a y 1, 2 0 1 9, a n d t h e c o m mitt e e h el d 6 m e eti n g s d uri n g fi s c al 2 0 1 9. I n J u n e 2 0 2 0, u p o n t h e r e c o m m e n d ati o n of t h e N o mi n ati n g a n d
  C or p or at e G o v er n a n c e C o m mitt e e, t h e B o ar d d e ci d e d t o di s b a n d t h e B u si n e s s Tr a n sf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e a n d d et er mi n e d t h at
  o v er si g ht, dir e cti o n a n d g ui d a n c e of b u si n e s s str at e g y a n d tr a n sf or m ati o n will b e a s s u m e d b y t h e f ull B o ar d i n t h e f ut ur e. T h e C o m p a n y’ s n e w s e ni or
  l e a d er s hi p t e a m h a s e xt e n si v e e x p eri e n c e a n d e x p erti s e i n r et ail, o m ni c h a n n el a n d b u si n e s s tr a n sf or m ati o n. T h e B o ar d e x pr e s s e s it s a p pr e ci ati o n f or t h e
  w or k a n d c o ntri b uti o n s of t hi s C o m mitt e e d uri n g t h e p a st y e ar.

  A U DI T
  T h e A u dit C o m mitt e e a s si st s t h e B o ar d i n f ulfilli n g it s o v er si g ht r e s p o n si biliti e s b y (i) o v er s e ei n g t h e C o m p a n y’ s a c c o u nti n g a n d fi n a n ci al r e p orti n g
  pr o c e s s e s a n d t h e a u dit s of t h e C o m p a n y’ s fi n a n ci al st at e m e nt s, a n d (ii) r e vi e wi n g t h e fi n a n ci al r e p ort s a n d ot h er fi n a n ci al i nf or m ati o n pr o vi d e d b y t h e
  C o m p a n y t o t h e p u bli c. I n a d diti o n, t h e f u n cti o n s of t hi s C o m mitt e e h a v e i n cl u d e d, a m o n g ot h er t hi n g s, r e c o m m e n di n g t o t h e B o ar d t h e e n g a g e m e nt or
  di s c h ar g e of i n d e p e n d e nt a u dit or s, di s c u s si n g wit h t h e a u dit or s t h eir r e vi e w of t h e C o m p a n y’ s q u art erl y r e s ult s a n d t h e r e s ult s of t h eir a n n u al a u dit a n d
  r e vi e wi n g t h e C o m p a n y’ s i nt er n al a c c o u nti n g c o ntr ol s.
  T h e A u dit C o m mitt e e al s o a d vi s e s a n d a s si st s t h e B o ar d i n f ulfilli n g it s o v er si g ht r e s p o n si biliti e s wit h r e s p e ct t o: (i) t h e i nt e grit y of t h e C o m p a n y’ s
  q u art erl y a n d a n n u al fi n a n ci al st at e m e nt s a n d fi n a n ci al r e p orti n g pr o c e s s e s; (ii) t h e C o m p a n y’ s e ar ni n g s a n n o u n c e m e nt s, a s w ell a s fi n a n ci al i nf or m ati o n
  a n d e ar ni n g s g ui d a n c e pr o vi d e d t o a n al y st s a n d r ati n g s a g e n ci e s; (iii) a u dit s of t h e C o m p a n y’ s fi n a n ci al st at e m e nt s; (i v) t h e C o m p a n y’ s i nt er n al c o ntr ol
  s y st e m a n d t h e q u alit y of i nt er n al c o ntr ol b y
                                                                                                                       17
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T a bl e of C o nt e nts

  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

  m a n a g e m e nt; ( v) m a n a g e m e nt’ s pr a cti c e s t o e n s ur e a d e q u at e ri s k m a n a g e m e nt a n d b u si n e s s c o nti n uit y; ( vi) c o m pli a n c e wit h l e g al a n d r e g ul at or y
  r e q uir e m e nt s a n d t h e C o m p a n y’ s et hi c al c o n d u ct p oli c y; ( vii) t h e i n d e p e n d e nt a u dit or’ s q u alifi c ati o n s, i n d e p e n d e n c e a n d p erf or m a n c e; ( viii) t h e
  p erf or m a n c e of t h e C o m p a n y’ s i nt er n al a u dit f u n cti o n; (i x) c y b er- s e c urit y, d at a pri v a c y, i nf or m ati o n t e c h n ol o g y a n d i nf or m ati o n pr ot e cti o n; a n d
  ( x) pr o c e d ur e s f or r e c ei pt a n d tr e at m e nt of c o m pl ai nt s r e c ei v e d b y t h e C o m p a n y fr o m it s c u st o m er s, v e n d or s or e m pl o y e e s r el ati n g t o a c c o u nti n g, i nt er n al
  a c c o u nti n g c o ntr ol s or a u diti n g m att er s. T h e A u dit C o m mitt e e al s o p arti ci p at e s i n t h e C o m p a n y’ s E R M pr o c e s s, a s di s c u s s e d i n m or e d et ail b el o w.
  T h e A u dit C o m mitt e e h el d 8 m e eti n g s d uri n g fi s c al 2 0 1 9. T hi s C o m mitt e e i s c o m pri s e d of i n d e p e n d e nt dir e ct or s J o s h u a E. S c h e c ht er, C h air, J B O s b or n e,
  Vir gi ni a P. R u e st er h ol z, a n d A n dr e a W ei s s. T h e B o ar d h a s d et er mi n e d J o s h u a E. S c h e c ht er a n d A n dr e a W ei s s q u alif y a s “ a u dit c o m mitt e e fi n a n ci al
  e x p ert s.” H arri et E d el m a n st e p p e d d o w n fr o m t h e A u dit C o m mitt e e o n M a y 2 9, 2 0 2 0 i n c o n n e cti o n wit h h er a p p oi nt m e nt a s i n d e p e n d e nt C h air of t h e
  B o ar d.

  C O M P E N S A TI O N
  T h e C o m p e n s ati o n C o m mitt e e a s si st s t h e B o ar d b y (i) c o n si d eri n g a n d d et er mi ni n g all m att er s r el ati n g t o t h e c o m p e n s ati o n of t h e C E O a n d ot h er
  e x e c uti v e offi c er s ( a s d efi n e d i n R ul e 3 b- 7 of t h e S e c uriti e s E x c h a n g e A ct of 1 9 3 4, a s a m e n d e d (t h e “ E x c h a n g e A ct”)), a n d s u c h ot h er k e y e x e c uti v e s a s
  t h e C o m mitt e e s h all d et er mi n e; (ii) a d mi ni st eri n g a n d f u n cti o ni n g a s t h e C o m mitt e e t h at i s a ut h ori z e d t o m a k e gr a nt s a n d a w ar d s of e q uit y c o m p e n s ati o n
  t o e x e c uti v e offi c er s a n d s u c h ot h er k e y e x e c uti v e s a s t h e C o m mitt e e s h all d et er mi n e u n d er t h e C o m p a n y’ s e q uit y c o m p e n s ati o n pl a n s; a n d (iii) r e vi e wi n g
  a n d r e p orti n g t o t h e B o ar d o n s u c h ot h er m att er s a s m a y b e a p pr o pri at el y d el e g at e d b y t h e B o ar d f or t h e C o m mitt e e’ s c o n si d er ati o n. T h e C o m p e n s ati o n
  C o m mitt e e (i n c o n s ult ati o n wit h t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e) i s al s o r e s p o n si bl e f or t h e o v er si g ht of m a n a g e m e nt s u c c e s si o n
  pl a n ni n g f or t h e C E O a n d ot h er e x e c uti v e offi c er s of t h e C o m p a n y. T h e C o m mitt e e h a s t h e a ut h orit y t o e n g a g e c o n s ult a nt s a n d ot h er a d vi s or s.
  T h e C o m p e n s ati o n C o m mitt e e h el d 4 0 m e eti n g s d uri n g fi s c al 2 0 1 9. T hi s C o m mitt e e i s c o m pri s e d of i n d e p e n d e nt dir e ct or s J o h n E. Fl e mi n g, C h air , H arri et
  E d el m a n, P atri c k R. G a st o n a n d A n n Y er g er. M s. E d el m a n h a s n otifi e d t h e B o ar d t h at s h e i nt e n d s t o st e p d o w n fr o m t h e C o m p e n s ati o n C o m mitt e e
  eff e cti v e a s of J ul y 1, 2 0 2 0. U p o n t h e c o m pl eti o n of t h e A n n u al M e eti n g, Mr. G a st o n will st e p d o w n fr o m t h e B o ar d a n d t h e C o m p e n s ati o n C o m mitt e e.

  N O MI N A TI N G A N D C O R P O R A T E G O V E R N A N C E
  T h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e a s si st s t h e B o ar d b y (i) r e vi e wi n g a n d r e c o m m e n di n g c h a n g e s i n c ert ai n p oli ci e s r e g ar di n g t h e
  n o mi n ati o n of dir e ct or s t o t h e B o ar d f or it s a p pr o v al; (ii) i d e ntif yi n g i n di vi d u al s q u alifi e d t o b e c o m e dir e ct or s; (iii) e v al u ati n g a n d r e c o m m e n di n g f or t h e
  B o ar d’ s s el e cti o n n o mi n e e s t o fill p o siti o n s o n t h e B o ar d; (i v) a d vi si n g t h e B o ar d wit h r e s p e ct t o l e a d er s hi p of t h e B o ar d a n d t h e str u ct ur e a n d c o m p o siti o n
  of t h e c o m mitt e e s of t h e B o ar d; ( v) f a cilit ati n g t h e a n n u al a s s e s s m e nt of t h e p erf or m a n c e of t h e B o ar d a n d it s c o m mitt e e s; a n d ( vi) a d vi si n g a n d m a ki n g
  r e c o m m e n d ati o n s t o t h e B o ar d wit h r e s p e ct t o c or p or at e g o v er n a n c e m att er s, i n cl u di n g t h e C o m p a n y’ s c or p or at e g o v er n a n c e p oli ci e s. T h e C o m mitt e e’ s
  p oli c y i s t o i d e ntif y p ot e nti al n o mi n e e s b a s e d o n pr o p erl y s u b mitt e d s u g g e sti o n s fr o m a n y s o ur c e, i n cl u di n g t h e C o m p a n y’ s s h ar e h ol d er s, a n d h a s
  e st a bli s h e d pr o c e d ur e s t o d o s o. S h ar e h ol d er s m a y r e c o m m e n d n o mi n e e s t o t h e C o m mitt e e b y s u b mitti n g t h e n a m e s a n d s u p p orti n g i nf or m ati o n i n
  writi n g t o t h e C o m p a n y’ s C or p or at e S e cr et ar y at 6 5 0 Li b ert y A v e n u e, U ni o n, N e w J er s e y 0 7 0 8 3. I n a d diti o n, t h e B o ar d m a y d et er mi n e t h at it r e q uir e s a
  dir e ct or wit h a p arti c ul ar e x p erti s e or q u alifi c ati o n a n d will a cti v el y r e cr uit s u c h a c a n di d at e. T h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e al s o
  h a s t h e a ut h orit y t o r et ai n t hir d p art y s e ar c h fir m s t o e v al u at e or a s si st i n i d e ntif yi n g or e v al u ati n g p ot e nti al n o mi n e e s.
  T h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e h el d 7 m e eti n g s d uri n g fi s c al 2 0 1 9. T hi s C o m mitt e e i s c o m pri s e d of i n d e p e n d e nt dir e ct or s
  Vir gi ni a P. R u e st er h ol z, C h air, St e p h a ni e B ell- R o s e, P atri c k R. G a st o n, S u e E. G o v e, H ar s h a R a m ali n g a m a n d A n n Y er g er. U p o n t h e c o m pl eti o n of t h e
  A n n u al M e eti n g, Mr. G a st o n a n d M s. B ell- R o s e will st e p d o w n fr o m t h e B o ar d a n d t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e.

  C O M P E N S A TI O N C O M MI T T E E I N T E R L O C K S A N D I N SI D E R P A R TI CI P A TI O N

  N o n e of t h e m e m b er s of t h e C o m p e n s ati o n C o m mitt e e w a s (i) d uri n g fi s c al 2 0 1 9, a n offi c er or e m pl o y e e of t h e C o m p a n y or a n y of it s s u b si di ari e s or
  (ii) f or m erl y a n offi c er of t h e C o m p a n y or a n y of it s s u b si di ari e s.
  N o n e of o ur e x e c uti v e offi c er s c urr e ntl y s er v e, or i n fi s c al 2 0 1 9 h a s s er v e d, a s a m e m b er of t h e b o ar d of dir e ct or s or c o m p e n s ati o n c o m mitt e e of a n y
  e ntit y t h at h a s o n e or m or e e x e c uti v e offi c er s s er vi n g o n o ur B o ar d of Dir e ct or s or C o m p e n s ati o n C o m mitt e e.
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T a bl e of C o nt e nts

                                                                                                                                                                              P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

  G O V E R N A N C E G UI D E LI N E S A N D P O LI CI E S; A D DI TI O N A L I N F O R M A TI O N

  T h e B o ar d h a s a d o pt e d, a n d p o st s o n t h e I n v e st or R el ati o n s s e cti o n of it s w e b sit e:
         •       C or p or at e G o v er n a n c e G ui d eli n e s, i n cl u di n g t h e C o m p a n y’ s P oli ci e s o n Dir e ct or N o mi n ati o n s a n d Dir e ct or Att e n d a n c e at t h e A n n u al M e eti n g;
         •      h o w s h ar e h ol d er s c a n c o m m u ni c at e wit h t h e B o ar d of Dir e ct or s; a n d
        •      t h e C o m p a n y’ s p oli c y of Et hi c al St a n d ar d s f or B u si n e s s C o n d u ct t h at a p pli e s t o all a s s o ci at e s (i n cl u di n g all offi c er s) a n d m e m b er s of t h e B o ar d
               of Dir e ct or s.
  T h e C o m p a n y m ai nt ai n s dir e ct or s a n d offi c er s i n s ur a n c e c o v er a g e. T hi s i n s ur a n c e c o v er s dir e ct or s a n d offi c er s i n di vi d u all y w h er e e x p o s ur e s e xi st ot h er
  t h a n t h o s e f or w hi c h t h e C o m p a n y i s a bl e t o pr o vi d e i n d e m nifi c ati o n a n d c o v er s t h e C o m p a n y f or it s i n d e m nit y o bli g ati o n t o t h e dir e ct or s a n d offi c er s. T hi s
  c o v er a g e i s fr o m S e pt e m b er 1 5, 2 0 1 9 t hr o u g h S e pt e m b er 1 5, 2 0 2 0, at a t ot al c o st of a p pr o xi m at el y $ 1. 7 milli o n. T h e pri m ar y c urr e nt c arri er i s Z uri c h
  A m eri c a n I n s ur a n c e C o m p a n y. T h e e x c e s s c arri er s ar e X L S p e ci alt y I n s ur a n c e C o m p a n y, Ar g o n a ut I n s ur a n c e C o m p a n y, R S UI I n d e m nit y C o m p a n y, R LI
  I n s ur a n c e C o m p a n y, St at e N ati o n al I n s ur a n c e C o m p a n y, C o nti n e nt al I n s ur a n c e C o m p a n y, Ol d R e p u bli c I n s ur a n c e C o m p a n y, N ati o n al U ni o n Fir e
  I n s ur a n c e C o. of Pitt s b ur g h, P A, Tr a v el er s C a s u alt y & S ur et y C o m p a n y of A m eri c a, a n d E n d ur a n c e A m eri c a n I n s ur a n c e C o m p a n y. Alt h o u g h n o
  a s s ur a n c e s c a n b e pr o vi d e d, t h e C o m p a n y i nt e n d s t o m ai nt ai n dir e ct or s a n d of fi c er s c o v er a g e fr o m S e pt e m b er 1 5, 2 0 2 0 t hr o u g h S e pt e m b er 1 5, 2 0 2 1.
  D uri n g fi s c al 2 0 1 9, t h e C o m p a n y a d v a n c e d e x p e n s e s t o St e v e n T e m ar e s, t h e f or m er C hi ef E x e c uti v e Offi c er a n d a f or m er dir e ct or of t h e C o m p a n y, i n t h e
  a m o u nt of a p pr o xi m at el y $ 4 1, 0 0 0, w hi c h a d v a n c e m e nt of e x p e n s e s w a s m a d e p ur s u a nt t o t h e A m e n d e d a n d R e st at e d B y-l a w s of t h e C o m p a n y a n d
  a p pr o v e d b y t h e B o ar d. T h e a d v a n c e m e nt r el at e d t o e x p e n s e s i n c urr e d b y Mr. T e m ar e s f oll o wi n g hi s t er mi n ati o n of e m pl o y m e nt wit h t h e C o m p a n y i n
  c o n n e cti o n wit h t h e C o m p e n s ati o n C o m mitt e e’ s r e vi e w of t h e 2 0 1 8 P erf or m a n c e P e er Gr o u p u s e d f or p ur p o s e s of t h e fi s c al 2 0 1 8 p erf or m a n c e st o c k u nit
  (“ P S U”) gr a nt. A s a c o n diti o n of s u c h a d v a n c e m e nt, Mr. T e m ar e s a gr e e d t h at if it w a s ulti m at el y d et er mi n e d t h at h e w a s n ot e ntitl e d t o s u c h p a y m e nt, h e
  w o ul d r e p a y s u c h a m o u nt t o t h e C o m p a n y.

  RI S K O V E R SI G H T

  A s p art of it s o v er si g ht r e s p o n si bilit y, t h e B o ar d r e c ei v e s at l e a st a n n u all y a r e p ort o n t h e m at eri al ri s k s f a ci n g t h e C o m p a n y, w hi c h ar e i d e ntifi e d t hr o u g h
  t h e C o m p a n y’ s E R M pr o c e s s. T hi s r e p ort i s pr e s e nt e d t o t h e A u dit C o m mitt e e b y a c o m mitt e e of k e y e x e c uti v e s r e pr e s e nti n g l e g al, fi n a n c e a n d i nt er n al
  a u dit (t h e “ E x e c uti v e Ri s k C o m mitt e e”), a n d r e s ult s fr o m a f or m al pr o c e s s w h er e m e m b er s of t h e E x e c uti v e Ri s k C o m mitt e e m e et wit h e x e c uti v e s of e a c h
  pri n ci p al b u si n e s s f u n cti o n t o i d e ntif y a n d a s s e s s t h e si g nifi c a nt ri s k s i n e a c h s u c h b u si n e s s f u n cti o n’ s ar e a s of r e s p o n si bilit y. T h e m e m b er s of t h e
  E x e c uti v e Ri s k C o m mitt e e t h e n a n al y z e wit h t h o s e e x e c uti v e s w h at ri s k miti g ati o n eff ort s ar e or s h o ul d b e i n pl a c e t o eli mi n at e or r e d u c e s u c h ri s k s t o
  a c c e pt a bl e l e v el s, w h er e p o s si bl e, a n d t h e n e n g a g e o n t h e s e m att er s wit h t h e A u dit C o m mitt e e, w hi c h t h e n r e p ort s t o t h e f ull B o ar d. I n t h e a n n u al E R M
  r e p ort, ar e a s of ri s k a n d miti g ati o n eff ort s r e vi e w e d wit h t h e A u dit C o m mitt e e a n d t h e f ull B o ar d i n f urt h er a n c e of t h e B o ar d’ s o v er si g ht r e s p o n si biliti e s
  g e n er all y i n cl u d e: g e n er al b u si n e s s ri s k s, s u c h a s e c o n o mi c f or c e s, c o m p etiti o n, p a n d e mi c s a n d w e at h er; e m pl o y m e nt-r el at e d ri s k s, s u c h a s r e cr uit m e nt
  a n d r et e nti o n, s u c c e s si o n, l a b or c o st s a n d a s s o ci at e r el ati o n s; d at a s e c urit y ri s k s wit h r e s p e ct t o t h e C o m p a n y, a s s o ci at e a n d c u st o m er d at a; c o m pli a n c e
  ri s k s a s s o ci at e d wit h t h e r a n g e of l e g al, a c c o u nti n g, t a x a n d fi n a n ci al r e p orti n g s y st e m s u n d er w hi c h t h e C o m p a n y o p er at e s; s u p pl y c h ai n ri s k s, i n cl u di n g
  di sr u pti o n ari si n g fr o m p oliti c al i n st a bilit y or l a b or di st ur b a n c e s, s u p pli er fi n a n ci al st a bilit y a n d l e g al c o m pli a n c e; a n d c o m pli a n c e wit h a v ari et y of pr o d u ct,
  l a b or, s o ci al a n d e n vir o n m e nt al st a n d ar d s. T h e A u dit C o m mitt e e a n d t h e f ull B o ar d ar e u p d at e d o n c ert ai n ri s k s m or e fr e q u e ntl y t h a n a n n u all y, u p o n
  r e q u e st or a s d e v el o p m e nt s w arr a nt.
  T h e E R M pr o c e s s a n d r e p ort t o t h e A u dit C o m mitt e e, a n d t h e A u dit C o m mitt e e’ s r e p ort t o t h e C o m p a n y’ s B o ar d of Dir e ct or s, al s o i nf or m s t h e m or e
  d et ail e d Ri s k F a ct or di s cl o s ur e i n t h e C o m p a n y’ s A n n u al R e p ort o n F or m 1 0- K a n d Q u art erl y R e p ort s o n F or m 1 0- Q fil e d wit h t h e S E C.
  I n M a y 2 0 2 0, t h e C o m p e n s ati o n C o m mitt e e p erf or m e d a ri s k a s s e s s m e nt of o ur c o m p e n s ati o n pr o gr a m s, w hi c h i n cl u d e d a n a n al y si s of t h e ri s k
  a s s o ci at e d wit h t h e C o m p a n y’ s e x e c uti v e c o m p e n s ati o n pr o gr a m c o n d u ct e d b y M eri di a n C o m p e n s ati o n P art n er s, L L C (“ M eri di a n”), t h e C o m p e n s ati o n
  C o m mitt e e’ s i n d e p e n d e nt c o m p e n s ati o n c o n s ult a nt. I n it s r e vi e w, t h e C o m p e n s ati o n C o m mitt e e c o n si d er e d t h e b al a n c e b et w e e n p a y c o m p o n e nt s,
  m e a s ur e s of p erf or m a n c e, m a g nit u d e of p a y, p a y c a p s, pl a n ti m e h ori z o n s a n d o v erl a p pi n g p erf or m a n c e c y cl e s, pr o gr a m d e si g n a n d a d mi ni str ati o n, a n d
  ot h er f e at ur e s t h at ar e d e si g n e d t o miti g at e ri s k ( s u c h a s st o c k o w n er s hi p g ui d eli n e s a n d a cl a w b a c k p oli c y). F oll o wi n g it s r e vi e w, t h e C o m p e n s ati o n
  C o m mitt e e d et er mi n e d t h at t h e C o m p a n y’ s c o m p e n s ati o n pr a cti c e s a n d p oli ci e s d o n ot cr e at e ri s k s t h at ar e r e a s o n a bl y li k el y t o h a v e a m at eri al a d v er s e
  eff e ct o n t h e C o m p a n y.
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T a bl e of C o nt e nts

  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

  C O R P O R A T E R E S P O N SI BI LI T Y
  W e r e c o g ni z e t h e i m p ort a n c e of e n vir o n m e nt al, s o ci al a n d g o v er n a n c e i s s u e s. W e h a v e a l o n g st a n di n g d e di c ati o n t o i m pr o vi n g t h e c o m m u niti e s w h er e
  w e o p er at e. Si n c e w e fir st o p e n e d o ur d o or s i n 1 9 7 1, o ur t o p pri orit y h a s b e e n o ur c o m mit m e nt t o c u st o m er s er vi c e a n d b ei n g a r e s p o n si bl e c or p or at e
  citi z e n, w hi c h r e m ai n s tr u e t o d a y. W or ki n g t o g et h er a n d c o m m u ni c ati n g wit h o ur a s s o ci at e s, c u st o m er s, s u p pli er s a n d c o m m u niti e s cr e at e s b ett er
  o ut c o m e s o n i s s u e s t h at m att er t o u s all. C or p or at e r e s p o n si bilit y i s a n e nt er pri s e- wi d e c o m mit m e nt i nf or m e d b y a n d i nt e gr at e d i nt o o ur b u si n e s s str at e g y .
  W e p u bli s h a n a n n u al C or p or at e R e s p o n si bilit y R e p ort t o r e p ort o n e n vir o n m e nt al, s o ci al a n d g o v er n a n c e i s s u e s m o st i m p ort a nt t o o ur b u si n e s s. T hi s
  r e p ort i s a v ail a bl e i n t h e G o v er n a n c e D o c u m e nt s s e cti o n of t h e C o m p a n y’ s I n v e st or R el ati o n s w e b sit e a v ail a bl e at w w w. b e d b at h a n d b e y o n d. c o m. T h e
  B o ar d, it s c o m mitt e e s a n d t h e C o m p a n y’ s m a n a g e m e nt s h ar e r e s p o n si bilit y f or o v er s e ei n g t h e C o m p a n y’ s c or p or at e r e s p o n si bilit y pr o gr a m s.

  H O W W E A R E P AI D
  T h e Dir e ct or C o m p e n s ati o n T a bl e pr o vi d e s c o m p e n s ati o n i nf or m ati o n f or e a c h m e m b er of o ur B o ar d of Dir e ct or s d uri n g fi s c al 2 0 1 9, ot h er t h a n Mr. Tritt o n,
  o ur Pr e si d e nt a n d C E O, W arr e n Ei s e n b er g a n d L e o n ar d F ei n st ei n, o ur f or m er C o- C h air m e n, St e v e n H. T e m ar e s, o ur f or m er C E O, a n d M ar y A. Wi n st o n,
  o ur f or m er I nt eri m C E O, w h o s e c o m p e n s ati o n i s r efl e ct e d i n t h e S u m m ar y C o m p e n s ati o n T a bl e. M e s sr s. Tritt o n, Ei s e n b er g, F ei n st ei n a n d T e m ar e s di d
  n ot r e c ei v e a n y dir e ct or f e e s f or fi s c al 2 0 1 9, si n c e t h e y r e c ei v e d c o m p e n s ati o n i n t h eir c a p a cit y a s e x e c uti v e s of t h e C o m p a n y. T h e dir e ct or f e e s t h at
  M s. Wi n st o n r e c ei v e d d uri n g t h e p orti o n of t h e y e ar t h at s h e w a s n ot s er vi n g a s o ur I nt eri m C E O ar e r efl e ct e d i n t h e S u m m ar y C o m p e n s ati o n T a bl e.
  M e s sr s. Ei s e n b er g a n d F ei n st ei n r e si g n e d a s m e m b er s of t h e B o ar d eff e cti v e M a y 1, 2 0 1 9, a n d Mr. T e m ar e s r e si g n e d a s a m e m b er of t h e B o ar d o n
  M a y 1 3, 2 0 1 9.
  A n n u al dir e ct or f e e s f or fi s c al 2 0 1 9 w er e $ 9 0, 0 0 0. I n a d diti o n, dir e ct or s s er vi n g o n st a n di n g c o m mitt e e s of t h e B o ar d w er e p ai d a s f oll o w s: a n a d diti o n al
  $ 1 0, 0 0 0 f or A u dit C o m mitt e e m e m b er s ( or, eff e cti v e a s of M a y 1, 2 0 1 9, $ 2 5, 0 0 0 f or t h e C h air of t h e A u dit C o m mitt e e); a n a d diti o n al $ 7, 5 0 0 f or
  C o m p e n s ati o n C o m mitt e e m e m b er s ( or, eff e cti v e a s of M a y 1, 2 0 1 9, $ 2 5, 0 0 0 f or t h e C h air of t h e C o m p e n s ati o n C o m mitt e e); a n a d diti o n al $ 5, 0 0 0 f or
  N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e m e m b er s ( or, eff e cti v e a s of M a y 1, 2 0 1 9, $ 1 6, 5 0 0 f or t h e C h air of t h e N o mi n ati n g a n d C or p or at e
  G o v er n a n c e C o m mitt e e); a n d, eff e cti v e a s of M a y 1, 2 0 1 9, a n a d diti o n al $ 1 0, 0 0 0 f or B u si n e s s Tr a n sf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e m e m b er s
  ( or $ 2 0, 0 0 0 f or t h e C h air of t h e B u si n e s s Tr a n sf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e). T h e B u si n e s s Tr a n sf or m ati o n a n d Str at e g y R e vi e w
  C o m mitt e e w a s di s b a n d e d i n J u n e 2 0 2 0. M e m b er s of t h e C hi ef E x e c uti v e Offi c er S e ar c h C o m mitt e e, ot h er t h a n M ar y Wi n st o n, w er e e a c h p ai d a
  o n e-ti m e f e e of $ 6, 0 0 0 f or s er vi n g i n t h at c a p a cit y (t h e m e m b er s of t h e C hi ef E x e c uti v e Offi c er S e ar c h C o m mitt e e w er e Vir gi ni a R u e st er h ol z ( C h air), J o h n
  Fl e mi n g, P atri c k G a st o n, S u e G o v e, J B O s b or n e a n d M ar y Wi n st o n). Eff e cti v e a s of A pril 2 1, 2 0 1 9, t h e d at e t h at P atri c k R. G a st o n w a s a p p oi nt e d t o t h e
  r ol e of I n d e p e n d e nt C h air m a n of t h e B o ar d (fr o m w hi c h h e st e p p e d d o w n eff e cti v e a s of M a y 2 9, 2 0 2 0), t h e B o ar d a p pr o v e d a n a n n u al r et ai n er i n t h e
  a m o u nt of $ 2 0 0, 0 0 0 f or t h e C o m p a n y’ s i n d e p e n d e nt C h air of t h e B o ar d (i n a d diti o n t o t h e st a n d ar d a n n u al dir e ct or f e e s r e c ei v e d b y t h e i n d e p e n d e nt
  C h air of t h e B o ar d), wit h 7 5 % p a y a bl e i n c a s h a n d 2 5 % p a y a bl e i n r e stri ct e d st o c k o n t h e d at e of t h e A n n u al M e eti n g of S h ar e h ol d er s ( c al c ul at e d b a s e d
  o n t h e a v er a g e of t h e hi g h a n d l o w tr a di n g pri c e s o n s u c h d at e). Wit h t h e e x c e pti o n of e st a bli s hi n g f e e s f or t h e i n d e p e n d e nt C h air of t h e B o ar d,
  c o m mitt e e C h air f e e s a n d t h e f e e s f or m e m b er s of t h e B u si n e s s Tr a n sf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e a n d C hi ef E x e c uti v e Offi c er S e ar c h
  C o m mitt e e f or m e d d uri n g fi s c al 2 0 1 9, a n d i n cr e a si n g, eff e cti v e a s of M a y 1, 2 0 1 9, t h e f e e f or t h e L e a d I n d e p e n d e nt Dir e ct or, if a n y, fr o m $ 1 5, 0 0 0 t o
  $ 3 0, 0 0 0, dir e ct or f e e s w er e u n c h a n g e d d uri n g fi s c al 2 0 1 9. T h e C o m p a n y d o e s n ot p a y p er m e eti n g f e e s. Dir e ct or f e e s ar e p ai d o n a q u art erl y b a si s.
  Dir e ct or s h a v e t h e ri g ht t o el e ct t o r e c ei v e all or 5 0 % of t h eir f e e s i n st o c k. I n a d diti o n t o t h e f e e s a b o v e, e a c h dir e ct or, ot h er t h a n M e s sr s. Tritt o n,
  Ei s e n b er g, F ei n st ei n a n d T e m ar e s a n d M s. Wi n st o n, r e c ei v e d a gr a nt of r e stri ct e d st o c k u n d er t h e C o m p a n y’ s 2 0 1 2 I n c e nti v e C o m p e n s ati o n Pl a n (t h e
  “ 2 0 1 2 Pl a n”) wit h a f air m ar k et v al u e e q u al t o $ 8 1, 0 0 0 o n t h e d at e of t h e C o m p a n y’ s 2 0 1 9 A n n u al M e eti n g of S h ar e h ol d er s ( c al c ul at e d b a s e d o n t h e
  a v er a g e of t h e hi g h a n d l o w tr a di n g pri c e s o n s u c h d at e). S u c h r e stri ct e d st o c k v e st e d o n t h e l a st d a y of fi s c al 2 0 1 9.
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T a bl e of C o nt e nts

                                                                                                                                                                                                P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

  A s d e s cri b e d a b o v e a n d m or e f ull y b el o w, t h e f oll o wi n g t a bl e s u m m ari z e s t h e a n n u al c o m p e n s ati o n f or t h e dir e ct or s, ot h er t h a n                                           M e s sr s. Tritt o n,
  Ei s e n b er g, F ei n st ei n, a n d T e m ar e s a n d M s. Wi n st o n d uri n g fi s c al 2 0 1 9.

                                                                                                                                                                                            F e e s E ar n e d or St o c k A w ar d s
                                                                                                                                                                                            P ai d i n C a s h( $)     ( $) ( 1)( 2)              T ot al ( $)
  D e a n S. A dl er                                                                                                                                                                                 1 6, 2 0 9( 3)                  —               1 6, 2 0 9
  St a nl e y F. B ar s h a y                                                                                                                                                                        1 6, 2 0 9( 3)                   —              1 6, 2 0 9
  St e p h a ni e B ell- R o s e                                                                                                                                                                     9 4, 1 9 0              8 1, 0 0 0            1 7 5, 1 9 0
  H arri et E d el m a n                                                                                                                                                                           1 0 1, 5 3 2              8 1, 0 0 0            1 8 2, 5 3 2
  Kl a u s E p pl er                                                                                                                                                                                 1 5, 7 8 3( 3)                   —              1 5, 7 8 3
  J o h n E. Fl e mi n g                                                                                                                                                                             9 3, 4 7 9              8 1, 0 0 0            1 7 4, 4 7 9
  P atri c k R. G a st o n                                                                                                                                                                         2 9 9, 6 7 4( 4)        1 2 4, 2 6 9( 5)        4 2 3, 9 4 3
  S u e E. G o v e                                                                                                                                                                                   7 8, 2 9 4              8 1, 0 0 0            1 5 9, 2 9 4
  J or d a n H ell er                                                                                                                                                                                1 5, 8 0 4( 3)                   —              1 5, 8 0 4
  J effr e y A. Kir w a n                                                                                                                                                                            7 6, 0 9 9( 6)          8 1, 0 0 0            1 5 7, 0 9 9
  Vi ct ori a A. M orri s o n                                                                                                                                                                        1 5, 3 9 8( 3)                   —              1 5, 3 9 8
  J o h n at h a n B. (“ J B”) O s b or n e                                                                                                                                                        1 1 4, 3 7 9              8 1, 0 0 0            1 9 5, 3 7 9
  H ar s h a R a m ali n g a m                                                                                                                                                                       8 7, 6 1 0              8 1, 0 0 0            1 6 8, 6 1 0
  Vir gi ni a P. R u e st er h ol z                                                                                                                                                                1 2 3, 0 1 5              8 1, 0 0 0            2 0 4, 0 1 5
  J o s h u a E. S c h e c ht er                                                                                                                                                                     7 6, 0 9 9              8 1, 0 0 0            1 5 7, 0 9 9
  A n dr e a W ei s s                                                                                                                                                                                9 9, 5 0 5( 7)          8 1, 0 0 0            1 8 0, 5 0 5
  A n n Y er g er                                                                                                                                                                                    8 5, 8 8 6( 7)          8 1, 0 0 0            1 6 6, 8 8 6
  ( 1)        T h e v al u e of st o c k a w ar d s r e pr e s e nt s t h eir r e s p e cti v e t ot al f air v al u e o n t h e d at e of gr a nt c al c ul at e d i n a c c or d a n c e wit h A c c o u nti n g St a n d ar d s C o difi c ati o n (“ A S C”)
             T o pi c N o. 7 1 8, “ C o m p e n s ati o n — St o c k C o m p e n s ati o n” (“ A S C 7 1 8”), wit h o ut r e g ar d t o t h e e sti m at e d f orf eit ur e r el at e d t o s er vi c e- b a s e d v e sti n g c o n diti o n s. All
             a s s u m pti o n s m a d e i n t h e v al u ati o n s ar e c o nt ai n e d a n d d e s cri b e d i n N ot e 1 4 t o t h e C o m p a n y’ s fi n a n ci al st at e m e nt s i n t h e C o m p a n y’ s A n n u al R e p ort o n F or m 1 0- K f or
             fi s c al 2 0 1 9. St o c k a w ar d s ar e r o u n d e d u p t o t h e n e ar e st w h ol e s h ar e w h e n c o n v ert e d fr o m d oll ar s t o s h ar e s. T h e a m o u nt s s h o w n i n t h e t a bl e r efl e ct t h e t ot al f air
             v al u e o n t h e d at e of gr a nt a n d d o n ot n e c e s s aril y r efl e ct t h e a ct u al v al u e, if a n y, t h at m a y b e r e ali z e d b y t h e dir e ct or s.
  ( 2)        R e pr e s e nt s t h e v al u e of 8, 3 4 2 r e stri ct e d s h ar e s of c o m m o n st o c k of t h e C o m p a n y gr a nt e d u n d er t h e C o m p a n y’ s 2 0 1 2 Pl a n at f air m ar k et v al u e o n t h e d at e of t h e
             C o m p a n y’ s 2 0 1 9 A n n u al M e eti n g of S h ar e h ol d er s ( $ 9. 7 1 p er s h ar e, t h e a v er a g e of t h e hi g h a n d l o w tr a di n g pri c e s o n J ul y 2 5, 2 0 1 9), s u c h r e stri ct e d st o c k t o v e st o n
             t h e l a st d a y of t h e fi s c al y e ar of gr a nt pr o vi d e d t h at t h e dir e ct or r e m ai n s i n offi c e u ntil t h e l a st d a y of t h e fi s c al y e ar. N o st o c k a w ar d s w er e o ut st a n di n g f or e a c h
             n o n- e m pl o y e e dir e ct or a s of F e br u ar y 2 9, 2 0 2 0.
  ( 3)        R e si g n e d a s a dir e ct or eff e cti v e a s of M a y 1, 2 0 1 9.
  ( 4)        Mr. G a st o n r e c ei v e d a f e e i n r e s p e ct of hi s s er vi c e a s L e a d I n d e p e n d e nt Dir e ct or fr o m A pril 1, 2 0 1 9 t hr o u g h A pril 2 0, 2 0 1 9, at a n a n n u ali z e d r at e of $ 1 5, 0 0 0 p er y e ar.
  ( 5)       I n a d diti o n t o t h e 8, 3 4 2 r e stri ct e d s h ar e s of c o m m o n st o c k m e nti o n e d i n n ot e 2 a b o v e, Mr. G a st o n al s o r e c ei v e d 4, 4 5 7 r e stri ct e d s h ar e s of c o m m o n st o c k of t h e
             C o m p a n y r e pr e s e nti n g o n e q u art er of t h e I n d e p e n d e nt C h air m a n of t h e B o ar d r et ai n er f or fi s c al y e ar 2 0 1 9, gr a nt e d u n d er t h e C o m p a n y’ s 2 0 1 2 Pl a n at f air m ar k et
             v al u e o n t h e d at e of t h e C o m p a n y’ s 2 0 1 9 A n n u al M e eti n g of S h ar e h ol d er s ( $ 9. 7 1 p er s h ar e, t h e a v er a g e of t h e hi g h a n d l o w tr a di n g pri c e s o n J ul y 2 5, 2 0 1 9), s u c h
             r e stri ct e d st o c k t o v e st o n t h e l a st d a y of t h e fi s c al y e ar of gr a nt pr o vi d e d t h at t h e dir e ct or r e m ai n s i n offi c e u ntil t h e l a st d a y of t h e fi s c al y e ar.
  ( 6)        1 0 0 % p er c e nt of Mr. Kir w a n’ s f e e s w er e p ai d i n s h ar e s of c o m m o n st o c k of t h e C o m p a n y p ur s u a nt t o t h e B e d B at h & B e y o n d Pl a n t o P a y Dir e ct or s F e e s i n St o c k a n d
             t h e n u m b er of s h ar e s w a s d et er mi n e d (i n a c c or d a n c e wit h t h e t er m s of s u c h pl a n) b a s e d o n t h e f air m ar k et v al u e p er s h ar e o n t h e s e c o n d b u si n e s s d a y f oll o wi n g t h e
             a n n o u n c e m e nt of t h e C o m p a n y’ s fi n a n ci al r e s ult s f or it s fi s c al t hir d q u art er, w hi c h w a s $ 1 4. 1 8 p er s h ar e, t h e a v er a g e of t h e hi g h a n d l o w tr a di n g pri c e s o n J a n u ar y 1 0,
             2 0 2 0.
  ( 7)        5 0 % of M m e s. Y er g er a n d W ei s s’ f e e s w er e p ai d i n s h ar e s of c o m m o n st o c k of t h e C o m p a n y p ur s u a nt t o t h e B e d B at h & B e y o n d Pl a n t o P a y Dir e ct or s F e e s i n St o c k
             a n d t h e n u m b er of s h ar e s w a s d et er mi n e d (i n a c c or d a n c e wit h t h e t er m s of s u c h pl a n) b a s e d o n t h e f air m ar k et v al u e p er s h ar e o n t h e s e c o n d b u si n e s s d a y f oll o wi n g
             t h e a n n o u n c e m e nt of t h e C o m p a n y’ s fi n a n ci al r e s ult s f or it s fi s c al t hir d q u art er, w hi c h w a s $ 1 4. 1 8 p er s h ar e, t h e a v er a g e of t h e hi g h a n d l o w tr a di n g pri c e s o n
             J a n u ar y 1 0, 2 0 2 0.
  I n J u n e 2 0 2 0, b a s e d o n i n p ut a n d r e c o m m e n d ati o n s fr o m M eri di a n, a n d u p o n t h e r e c o m m e n d ati o n of t h e C o m p e n s ati o n C o m mitt e e a n d t h e N o mi n ati n g
  a n d C or p or at e G o v er n a n c e C o m mitt e e, t h e B o ar d a p pr o v e d t h e f oll o wi n g e n h a n c e m e nt s t o o ur st o c k o w n er s hi p g ui d eli n e s a p pli c a bl e t o o ur
  n o n- e m pl o y e e dir e ct or s:
         •         e a c h n o n- e m pl o y e e dir e ct or i s r e q uir e d t o o w n B e d B at h & B e y o n d st o c k wit h a v al u e of at l e a st fi v e ti m e s s u c h dir e ct or’ s a n n u al c a s h r et ai n er;
                                                                                                                                  21
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T a bl e of C o nt e nts

  P R O P O S A L 1 — E L E C TI O N O F DI R E C T O R S

        •       e a c h n o n- e m pl o y e e dir e ct or m u st h ol d 5 0 % of t h e n et aft er-t a x s h ar e s t h e y r e c ei v e i n c o n n e cti o n wit h e q uit y a w ar d s u ntil t h eir o w n er s hi p
               r e q uir e m e nt i s m et; a n d
         •     t h e pri c e u s e d t o d et er mi n e c o m pli a n c e wit h t h e g ui d eli n e s will b e t h e 2 0- d a y tr a di n g a v er a g e at e a c h fi s c al y e ar- e n d.

  Fi s c al 2 0 2 0
  A s a n n o u n c e d b y t h e C o m p a n y o n A pril 2, 2 0 2 0, i n li g ht of t h e u n c ert ai nt y c a u s e d b y t h e C O VI D- 1 9 p a n d e mi c, u p o n t h e r e c o m m e n d ati o n of t h e
  N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e, t h e B o ar d a p pr o v e d a 3 0 % r e d u cti o n of all c a s h r et ai n er s p a y a bl e t o t h e i n d e p e n d e nt m e m b er s of t h e
  B o ar d i n r e s p e ct of t h eir B o ar d s er vi c e, s er vi c e a s a m e m b er or C h air of a n y c o m mitt e e of t h e B o ar d a n d s er vi c e a s t h e C h air of t h e B o ar d f or t h e fir st
  q u art er of t h e C o m p a n y’ s 2 0 2 0 fi s c al y e ar.

  H O W T O C O M M U NI C A T E WI T H U S A N D H O W W E LI S T E N

  S h ar e h ol d er O utr e a c h — W e Li st e n e d, L e ar n e d & R e s p o n d e d
  O v er t h e c o ur s e of t h e l a st y e ar, a m o n g ot h er t hi n g s, t h e B o ar d h a s t a k e n t h e f oll o wi n g a cti o n s t o r efr e s h t h e B o ar d a n d b ol st er t h e C o m p a n y’ s e x e c uti v e
  m a n a g e m e nt t e a m:
        •       A p p oi nt e d ni n e n e w i n d e p e n d e nt dir e ct or s wit h r el e v a nt s kill s et s f or a c c el er ati n g t h e b u si n e s s tr a n sf or m ati o n u n d er w a y a n d t o pr o m ot e r o b u st
               B o ar d o v er si g ht;
        •       A p p oi nt e d H arri et E d el m a n, a n i n d e p e n d e nt dir e ct or wit h t hr e e d e c a d e s of gl o b al o p er ati n g e x p eri e n c e i n c o n s u m er g o o d s a n d fi n a n ci al
               s er vi c e s, a s i n d e p e n d e nt C h air of t h e B o ar d;
         •      A p p oi nt e d M ar y A. Wi n st o n, a s e a s o n e d p u bli c c o m p a n y e x e c uti v e, a s I nt eri m C E O;
        •       A p p oi nt e d M ar k J. Tritt o n a s Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er. Mr. Tritt o n h a s o v er 3 0 y e ar s of e x p eri e n c e i n t h e r et ail i n d u str y, i n cl u di n g
               m o st r e c e ntl y a s E x e c uti v e Vi c e Pr e si d e nt a n d C hi ef M er c h a n di si n g Offi c er at T ar g et C or p or ati o n, w h er e h e w a s i n str u m e nt al i n tr a n sf or mi n g t h e
               o m ni- c h a n n el s h o p pi n g e x p eri e n c e;
        •       A p p oi nt e d a n e w w orl d- cl a s s s e ni or l e a d er s hi p t e a m, i n cl u di n g G u st a v o Ar n al, E x e c uti v e Vi c e Pr e si d e nt, C hi ef Fi n a n ci al Offi c er a n d Tr e a s ur er,
               Ci n d y D a vi s, E x e c uti v e Vi c e Pr e si d e nt, C hi ef Br a n d Offi c er of t h e C o m p a n y a n d Pr e si d e nt, D e c ori st, L L C, J o h n H art m a n n, E x e c uti v e Vi c e
               Pr e si d e nt, C hi ef O p er ati n g Offi c er of t h e C o m p a n y a n d Pr e si d e nt, b u y b u y B A B Y, I n c., J o e H art si g, E x e c uti v e Vi c e Pr e si d e nt, C hi ef
               M er c h a n di si n g Offi c er of t h e C o m p a n y a n d Pr e si d e nt of H ar m o n St or e s I n c., Arl e n e H o n g, E x e c uti v e Vi c e Pr e si d e nt, C hi ef L e g al Offi c er a n d
               C or p or at e S e cr et ar y, R af e h M a s o o d, E x e c uti v e Vi c e Pr e si d e nt, C hi ef Di git al Offi c er, a n d Gr e g g M el ni c k, E x e c uti v e Vi c e Pr e si d e nt a n d C hi ef
               St or e s Offi c er.
  T hr o u g h o ut e a c h y e ar, m a n a g e m e nt a n d m e m b er s of o ur B o ar d a cti v el y e n g a g e wit h o ur s h ar e h ol d er s. O v er ti m e, i n a d diti o n t o o ur d a y-t o- d a y
  i nt er a cti o n s wit h i n v e st or s, w e h a v e e x p a n d e d o ur s h ar e h ol d er e n g a g e m e nt eff ort s t o i n cl u d e a gr e at er f o c u s o n ar e a s s u c h a s e x e c uti v e c o m p e n s ati o n,
  g o v er n a n c e a n d ot h er t o pi c s s u g g e st e d b y o ur s h ar e h ol d er s.
  S h ar e h ol d er f e e d b a c k, i n cl u di n g t hr o u g h dir e ct di s c u s si o n s a n d pri or s h ar e h ol d er v ot e s, a s w ell a s e n g a g e m e nt wit h pr o x y a d vi s or y fir m s t h at r e pr e s e nt
  t h e i nt er e st s of a wi d e arr a y of s h ar e h ol d er s, i s di s c u s s e d at t h e B o ar d l e v el p eri o di c all y t hr o u g h o ut t h e y e ar.
  I n pr e p ar ati o n f or o ur fi s c al 2 0 2 0 c o m p e n s ati o n d e ci si o n s, w e r e a c h e d o ut t o r e pr e s e nt ati v e s fr o m a v ari et y of o ur s h ar e h ol d er s, i n cl u di n g i n d e x f u n d s,
  h e d g e f u n d s, p u bli c p e n si o n f u n d s, a n d a cti v el y- m a n a g e d f u n d s, r e pr e s e nti n g a p pr o xi m at el y 8 5 % of o ur t ot al s h ar e s o ut st a n di n g, a n d m e m b er s of t h e
  B o ar d a n d t h e C o m p e n s ati o n C o m mitt e e, a s w ell a s s e ni or offi c er s, p arti ci p at e d i n i n- p er s o n a n d t el e p h o n e m e eti n g s wit h m or e t h a n 5 0 % of o ur t ot al
  s h ar e s o ut st a n di n g. W hil e o ur e x e c uti v e c o m p e n s ati o n pr o gr a m r e c ei v e d t h e a d vi s or y a p pr o v al of a p pr o xi m at el y 8 3 % of t h e s h ar e s v ot e d at o ur 2 0 1 9
  A n n u al M e eti n g of S h ar e h ol d er s, t h e m o st f a v or a bl e s a y- o n- p a y v ot e w e h a v e e x p eri e n c e d i n s e v er al y e ar s, w e ar e c o m mitt e d t o c o nti n ui n g o ur
  e n g a g e m e nt wit h o ur s h ar e h ol d er s o n t hi s a n d ot h er t o pi c s.
  D uri n g t h e c o ur s e of t hi s e n g a g e m e nt, w e di s c u s s e d wit h s h ar e h ol d er s t h e r e c e nt a d diti o n s t o o ur e x e c uti v e l e a d er s hi p t e a m, o ur b o ar d r efr e s h m e nt a n d
  di v er sit y, a n d t h e pr o gr e s s b ei n g m a d e i n e x e c uti n g o ur str at e gi c o bj e cti v e s, i n cl u di n g, a m o n g ot h er s, pr o vi di n g o ur c u st o m er s wit h c o n v e ni e nt
  o m ni c h a n n el e x p eri e n c e s; m a ki n g si g nifi c a nt i n v e st m e nt s i n t e c h n ol o g y, a n al yti c s a n d v al u e o pti mi z ati o n t o e n a bl e d at a- dri v e n d e ci si o n m a ki n g;
  c o nti n ui n g e n h a n c e m e nt s of t h e i n- st or e a n d di git al c u st o m er e x p eri e n c e; a n d e v ol vi n g o ur pr o d u ct a s s ort m e nt t o i n cl u d e a hi g h er pr o p orti o n of
  m e a ni n gf ull y diff er e nti at e d o w n e d- br a n d s.
  S h ar e h ol d er s a n d i nt er e st e d p arti e s m a y dir e ct c o m m u ni c ati o n s t o i n di vi d u al dir e ct or s, t o a B o ar d c o m mitt e e, t o t h e i n d e p e n d e nt dir e ct or s a s a gr o u p, or
  t o t h e B o ar d a s a w h ol e, b y a d dr e s si n g t h e c o m m u ni c ati o n s t o t h e a p pr o pri at e p art y a n d s e n di n g t h e m t o B e d B at h & B e y o n d I n c., c/ o C or p or at e
  S e cr et ar y, 6 5 0 Li b ert y A v e n u e, U ni o n, N J 0 7 0 8 3. T h e C or p or at e S e cr et ar y will r e vi e w all c o m m u ni c ati o n s s o a d dr e s s e d a n d will f or w ar d t o t h e
  a d dr e s s e e( s) all c o m m u ni c ati o n s d et er mi n e d t o b e ar s u b st a nti v el y o n t h e b u si n e s s, m a n a g e m e nt, or g o v er n a n c e of t h e C o m p a n y .
                                                                                                                   22
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T a bl e of C o nt e nts


  P R O P O S A L 2 — R A TI FI C A TI O N O F T H E A P P OI N T M E N T O F A U DI T O R S F O R FI S C A L 2 0 2 0
  A P P OI N T M E N T O F K P M G L L P
  T h e A u dit C o m mitt e e i s dir e ctl y r e s p o n si bl e f or t h e a p p oi nt m e nt, c o m p e n s ati o n, r et e nti o n a n d o v er si g ht of t h e C o m p a n y’ s i n d e p e n d e nt r e gi st er e d p u bli c
  a c c o u nti n g fir m. T h e A u dit C o m mitt e e h a s a p p oi nt e d K P M G L L P t o s er v e a s o ur i n d e p e n d e nt a u dit or s f or fi s c al 2 0 2 0, s u bj e ct t o r atifi c ati o n b y o ur
  s h ar e h ol d er s. T h e C o m p a n y’ s a u dit or s h a v e b e e n K P M G L L P f or e v er y y e ar t h at it h a s b e e n a p u bli c c o m p a n y. T h e A u dit C o m mitt e e a n d t h e B o ar d of
  Dir e ct or s b eli e v e t h at t h e c o nti n u e d r et e nti o n of K P M G L L P a s o ur i n d e p e n d e nt r e gi st er e d p u bli c a c c o u nti n g fir m i s i n t h e b e st i nt er e st of t h e C o m p a n y
  a n d o ur s h ar e h ol d er s.
  R e pr e s e nt ati v e s of K P M G L L P will b e pr e s e nt at t h e A n n u al M e eti n g t o a n s w er q u e sti o n s. T h e y will al s o h a v e t h e o p p ort u nit y t o m a k e a st at e m e nt if t h e y
  d e sir e t o d o s o. If t h e pr o p o s al t o r atif y t h eir a p p oi nt m e nt i s n ot a p pr o v e d, ot h er c ertifi e d p u bli c a c c o u nt a nt s will b e c o n si d er e d b y t h e A u dit C o m mitt e e.
  E v e n if t h e pr o p o s al i s a p pr o v e d, t h e A u dit C o m mitt e e, i n it s di s cr eti o n, m a y dir e ct t h e a p p oi nt m e nt of n e w i n d e p e n d e nt a u dit or s at a n y ti m e d uri n g t h e
  y e ar if it b eli e v e s t h at s u c h a c h a n g e w o ul d b e i n t h e b e st i nt er e st of t h e C o m p a n y a n d it s s h ar e h ol d er s.

  F E E S P AI D T O K P M G L L P F O R S E R VI C E S A N D P R O D U C T S
  T h e A u dit C o m mitt e e i s r e s p o n si bl e f or t h e a p pr o v al of t h e a u dit f e e a s s o ci at e d wit h t h e C o m p a n y’ s r et e nti o n of K P M G L L P. T h e f e e s i n c urr e d b y t h e
  C o m p a n y f or pr of e s si o n al s er vi c e s r e n d er e d b y a n d pr o d u ct s p ur c h a s e d fr o m K P M G L L P f or fi s c al 2 0 1 9 a n d t h e fi s c al y e ar e n d e d M ar c h 2, 2 0 1 9 (“fi s c al
  2 0 1 8”) w er e a s f oll o w s:

                                                                                                                                                                                                       2019                 2018
    A u dit F e e s                                                                                                                                                                               $ 1, 8 7 9, 0 0 0    $ 1, 6 4 4, 0 0 0
    A u dit- R el at e d F e e s                                                                                                                                                                                  —            1 0, 0 0 0
    Ta x F e e s                                                                                                                                                                                        1 2 3, 0 0 0           7 5, 0 0 0
    All Ot h er F e e s                                                                                                                                                                                     3, 0 0 0             3, 0 0 0
                                                                                                                                                                                                  $ 2, 0 0 5, 0 0 0    $ 1, 7 3 2, 0 0 0
  I n fi s c al 2 0 1 9 a n d fi s c al 2 0 1 8, i n a c c or d a n c e wit h t h e S E C’ s d efi niti o n s a n d r ul e s, “ A u dit F e e s” i n cl u d e d f e e s a s s o ci at e d wit h t h e a n n u al a u dit of t h e
  C o m p a n y’ s fi n a n ci al st at e m e nt s, t h e a s s e s s m e nt of t h e C o m p a n y’ s i nt er n al c o ntr ol o v er fi n a n ci al r e p orti n g a s i nt e gr at e d wit h t h e a n n u al a u dit of t h e
  C o m p a n y’ s fi n a n ci al st at e m e nt s a n d t h e q u art erl y r e vi e w s of t h e fi n a n ci al st at e m e nt s i n cl u d e d i n it s F or m 1 0- Q fili n g s. I n fi s c al 2 0 1 9, “ A u dit F e e s” al s o
  i n cl u d e s f e e s f or a d diti o n al pr o c e d ur e s d u e t o t h e a d o pti o n of A S C T o pi c 8 4 2, “L e a s e s, ” u p gr a d e s t o i nf or m ati o n t e c h n ol o g y s y st e m s a n d a d diti o n al
  pr o c e d ur e s r el at e d t o t h e g o o d will a n d ot h er i m p air m e nt s, t h e s al e l e a s e b a c k tr a n s a cti o n a n d t h e c h ar g e f or i n cr e m e nt al m ar k d o w n s t a k e n i n fi s c al 2 0 1 9.
  I n fi s c al 2 0 1 8, “ A u dit F e e s” al s o i n cl u d e f e e s f or a d diti o n al pr o c e d ur e s d u e t o t h e a d o pti o n of A S C T o pi c 6 0 6, “R e v e n u e fr o m C o ntr a ct s wit h C u st o m er s ,”
  u p gr a d e s t o i nf or m ati o n t e c h n ol o g y s y st e m s d uri n g fi s c al 2 0 1 8 a n d a d diti o n al pr o c e d ur e s r el at e d t o t h e g o o d will a n d ot h er i m p air m e nt s. I n fi s c al 2 0 1 8,
  “ A u dit- R el at e d F e e s” i n cl u d e f e e s f or pr o c e d ur e s r e q uir e d d u e t o a F or m S- 8 r e gi str ati o n st at e m e nt. I n fi s c al 2 0 1 8, “ T a x F e e s” i n cl u d e d f e e s a s s o ci at e d
  wit h t a x pl a n ni n g, t a x c o m pli a n c e (i n cl u di n g r e vi e w of t a x r et ur n s) a n d t a x a d vi c e (i n cl u di n g t a x a u dit a s si st a n c e). T h e A u dit C o m mitt e e h a s c o n cl u d e d
  t h at t h e pr o vi si o n of t h e f or e g oi n g s er vi c e s i s c o m p ati bl e wit h m ai nt ai ni n g K P M G L L P’ s i n d e p e n d e n c e. I n a d diti o n t o f e e s f or a u dit a n d n o n- a u dit s er vi c e s,
  i n fi s c al 2 0 1 9 a n d 2 0 1 8, t h e C o m p a n y p ai d a s u b s cri pti o n f e e f or a K P M G s p o n s or e d r e s e ar c h pr o d u ct, r efl e ct e d a b o v e i n “ All Ot h er F e e s.” T h e A u dit
  C o m mitt e e h a s c o n cl u d e d t h at t h e pr o vi si o n of t h e f or e g oi n g s er vi c e s a n d pr o d u ct s i s c o m p ati bl e wit h m ai nt ai ni n g K P M G L L P’ s i n d e p e n d e n c e.

  P R E- A P P R O V A L P O LI CI E S A N D P R O C E D U R E S
  I n a c c or d a n c e wit h t h e A u dit C o m mitt e e c h art er, t h e A u dit C o m mitt e e m u st pr e- a p pr o v e all a u dit a n d n o n- a u dit s er vi c e s pr o vi d e d t o t h e C o m p a n y b y it s
  o ut si d e a u dit or. T o t h e e xt e nt p er mitt e d b y a p pli c a bl e l a w s, r e g ul ati o n s a n d N a s d a q r ul e s, t h e C o m mitt e e m a y d el e g at e pr e- a p pr o v al of a u dit a n d
  n o n- a u dit s er vi c e s t o t h e C h air of t h e A u dit C o m mitt e e or o n e or m or e m e m b er s of t h e C o m mitt e e, wit hi n c ert ai n p ar a m et er s. S u c h m e m b er( s) m u st t h e n
  r e p ort t o t h e f ull C o m mitt e e at it s n e xt s c h e d ul e d m e eti n g if s u c h m e m b er( s) pr e- a p pr o v e d a n y a u dit or n o n- a u dit s er vi c e s.
  I n fi s c al 2 0 1 9 a n d fi s c al 2 0 1 8, all ( 1 0 0 %) a u dit a n d n o n- a u dit s er vi c e s w er e pr e- a p pr o v e d i n a c c or d a n c e wit h t h e A u dit C o m mitt e e c h art er.
                                                                                                                     23
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T a bl e of C o nt e nts

  P R O P O S A L 2 — R A TI FI C A TI O N O F T H E A P P OI N T M E N T O F A U DI T O R S F O R FI S C A L 2 0 2 0

  A U DI T C O M MI T T E E R E P O R T F O R T H E FI S C A L Y E A R E N D E D F E B R U A R Y 2 9, 2 0 2 0
  T h e A u dit C o m mitt e e di s c u s s e d t h e a u dit or s’ r e vi e w of q u art erl y fi n a n ci al i nf or m ati o n wit h t h e a u dit or s pri or t o t h e r el e a s e of t h at i nf or m ati o n a n d t h e fili n g
  of t h e C o m p a n y’ s q u art erl y r e p ort s wit h t h e S E C; t h e A u dit C o m mitt e e al s o m et a n d h el d di s c u s si o n s wit h m a n a g e m e nt a n d t h e i n d e p e n d e nt a u dit or s
  wit h r e s p e ct t o t h e a u dit e d y e ar- e n d fi n a n ci al st at e m e nt s.
  F urt h er, t h e A u dit C o m mitt e e di s c u s s e d wit h t h e i n d e p e n d e nt a u dit or s t h e m att er s r e q uir e d t o b e di s c u s s e d b y t h e P u bli c C o m p a n y A c c o u nti n g O v er si g ht
  B o ar d A u diti n g St a n d ar d N o. 1 3 0 1, ‘‘ C o m m u ni c ati o n s wit h A u dit C o m mitt e e s,’’ r e c ei v e d t h e writt e n di s cl o s ur e s a n d t h e l ett er fr o m t h e i n d e p e n d e nt
  a u dit or s r e q uir e d b y a p pli c a bl e r e q uir e m e nt s of t h e P u bli c C o m p a n y A c c o u nti n g O v er si g ht B o ar d r e g ar di n g t h e i n d e p e n d e nt a c c o u nt a nt’ s
  c o m m u ni c ati o n s wit h t h e A u dit C o m mitt e e c o n c er ni n g i n d e p e n d e n c e a n d di s c u s s e d wit h t h e a u dit or s t h e a u dit or s’ i n d e p e n d e n c e. T h e C o m mitt e e al s o
  di s c u s s e d wit h t h e a u dit or s a n d t h e C o m p a n y’ s fi n a n ci al m a n a g e m e nt m att er s r el at e d t o t h e C o m p a n y’ s i nt er n al c o ntr ol o v er fi n a n ci al r e p orti n g. B a s e d o n
  t h e s e di s c u s si o n s a n d t h e writt e n di s cl o s ur e s r e c ei v e d fr o m t h e i n d e p e n d e nt a u dit or s, t h e C o m mitt e e r e c o m m e n d e d t h at t h e B o ar d of Dir e ct or s i n cl u d e
  t h e a u dit e d fi n a n ci al st at e m e nt s i n t h e C o m p a n y’ s A n n u al R e p ort o n F or m 1 0- K f or t h e y e ar e n d e d F e br u ar y 2 9, 2 0 2 0, fil e d wit h t h e S E C o n A pril 2 9,
  2 0 2 0.
  T hi s a u dit c o m mitt e e r e p ort i s n ot d e e m e d fil e d u n d er t h e S e c uriti e s A ct of 1 9 3 3 or t h e S e c uriti e s E x c h a n g e A ct of 1 9 3 4 a n d i s n ot i n c or p or at e d b y
  r ef er e n c e i nt o a n y fili n g s t h at t h e C o m p a n y m a y m a k e wit h t h e S E C. H arri et E d el m a n st e p p e d d o w n fr o m t h e A u dit C o m mitt e e o n M a y 2 9, 2 0 2 0, i n
  c o n n e cti o n wit h h er a p p oi nt m e nt a s i n d e p e n d e nt C h air of t h e B o ar d.

  A U DI T C O M MI T T E E

  J o s h u a E. S c h e c ht er, C h air
  H arri et E d el m a n
  J B O s b or n e
  Vir gi ni a P. R u e st er h ol z
  A n dr e a W ei s s




                                                T H E B O A R D O F DI R E C T O R S R E C O M M E N D S T H A T T H E S H A R E H O L D E R S V O T E F O R
                                                                T H E R A TI FI C A TI O N O F T H E A P P OI N T M E N T O F K P M G L L P
                                                                      A S I N D E P E N D E N T A U DI T O R S F O R FI S C A L 2 0 2 0.

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T a bl e of C o nt e nts


  E X E C U TI V E C O M P E N S A TI O N
  C o m p e n s ati o n C o m mitt e e R e p ort
  T h e dir e ct or s n a m e d b el o w, w h o c o n stit ut e t h e C o m p e n s ati o n C o m mitt e e, h a v e s u b mitt e d t h e f oll o wi n g r e p ort f or i n cl u si o n i n t hi s Pr o x y St at e m e nt.
  T h e C o m p e n s ati o n C o m mitt e e h a s r e vi e w e d a n d di s c u s s e d wit h m a n a g e m e nt t h e C o m p e n s ati o n Di s c u s si o n a n d A n al y si s c o nt ai n e d i n t hi s Pr o x y
  St at e m e nt. B a s e d o n it s r e vi e w of a n d t h e di s c u s si o n s wit h m a n a g e m e nt wit h r e s p e ct t o t h e C o m p e n s ati o n Di s c u s si o n a n d A n al y si s, t h e C o m p e n s ati o n
  C o m mitt e e r e c o m m e n d e d t o t h e B o ar d of Dir e ct or s t h at t h e C o m p e n s ati o n Di s c u s si o n a n d A n al y si s b e i n cl u d e d i n t hi s Pr o x y St at e m e nt f or fili n g wit h t h e
  S E C a n d i n c or p or at e d b y r ef er e n c e i n t h e C o m p a n y’ s A n n u al R e p ort o n F or m 1 0- K f or fi s c al 2 0 1 9.

  C O M P E N S A TI O N C O M MI T T E E
  J o h n E. Fl e mi n g, C h air
  H arri et E d el m a n
  P atri c k R. G a st o n
  A n n Y er g er
                                                                                                                  25
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

  C o m p e n s ati o n Di s c u s si o n a n d A n al y si s ( C D & A)
  T o O ur S h ar e h ol d er s:
  O n b e h alf of t h e C o m p e n s ati o n C o m mitt e e of t h e B o ar d of Dir e ct or s of B e d B at h & B e y o n d I n c., w e a p pr e ci at e y o ur c o nti n u e d s u p p ort of t h e C o m p a n y a s
  it n a vi g at e s t h e u n pr e c e d e nt e d C O VI D- 1 9 sit u ati o n a n d e x e c ut e s a g ai n st it s str at e gi c tr a n sf or m ati o n pl a n. Fi s c al y e ar 2 0 1 9 s a w t h e l a u n c h of t h e
  C o m p a n y’ s e s s e nti al b u si n e s s tr a n sf or m ati o n a cr o s s m a n y diff er e nt fr o nt s, wit h t h e C o m p e n s ati o n C o m mitt e e pl a yi n g a n i m p ort a nt r ol e i n u n d er pi n ni n g
  t h e s e eff ort s.
        •      I n M a y 2 0 1 9, t h e c o m p o siti o n of o ur B o ar d, i n cl u di n g t h e C o m p e n s ati o n C o m mitt e e, w a s r efr e s h e d a s p art of t h e br o a d er tr a n sf or m ati o n
               dir e cti v e f or t h e b u si n e s s.
        •       O n e of o ur fir st a cti o n s a s t h e n e w C o m p e n s ati o n C o m mitt e e w a s t o d e v el o p a s et of c o m p e n s ati o n d e si g n pill ar s t o s er v e a s pri n ci pl e s f or o ur
               r e d e si g n of t h e C o m p a n y’ s e x e c uti v e c o m p e n s ati o n pr o gr a m, wit h a f o c u s o n p a y-f or- p erf or m a n c e a s a u nif yi n g p hil o s o p h y.
        •       T hr o u g h o ut t h e c o ur s e of fi s c al 2 0 1 9, w e str o v e t o a p pl y t h e s e pill ar s t o e v er y k e y e x e c uti v e c o m p e n s ati o n d e ci si o n t h at w e m a d e, i n cl u di n g t h e
               hiri n g of o ur n e w Pr e si d e nt a n d C E O, M ar k J. Tritt o n, i n N o v e m b er 2 0 1 9 p ur s u a nt t o a c o m p etiti v e c o m p e n s ati o n fr a m e w or k.
        •       F urt h er m or e, w e s u p p ort e d t h e b uil d- o ut of a w orl d- cl a s s, e x p eri e n c e d, a n d di v er s e s e ni or l e a d er s hi p t e a m, pr o vi di n g t h e m wit h c o m p elli n g
               c o m p e n s ati o n p a c k a g e s w hi c h will r e c o g ni z e s u p eri or p erf or m a n c e a n d s u c c e s s i n o ur b u si n e s s tr a n sf or m ati o n.
  T h e i m p a ct of m a n y of t h e s e e x e c uti v e c o m p e n s ati o n c h a n g e s i s n ot f ull y r efl e ct e d i n t h e p a g e s t h at f oll o w, a s o ur di s cl o s ur e s i n t hi s Pr o x y St at e m e nt ar e
  r e q uir e d t o c o v er o nl y t h e c o m p e n s ati o n of o ur n a m e d e x e c uti v e offi c er s w h o w er e i n offi c e d uri n g fi s c al y e ar 2 0 1 9. H o w e v er, t h e C o m p e n s ati o n
  C o m mitt e e b eli e v e s t h at it h a s b e g u n l a yi n g a s oli d f o u n d ati o n f or t h e y e ar s t o c o m e. W e r e m ai n c o m mitt e d t o e n s uri n g t h at w e h a v e t h e a p pr o pri at e
  c o m p e n s ati o n pr o gr a m s i n pl a c e t o m oti v at e a n d r et ai n o ur s e ni or e x e c uti v e t e a m a n d t o i n c e nti vi z e t h e m t o dri v e l o n g-t er m, s u st ai n a bl e v al u e f or all of
  o ur st a k e h ol d er s.
  T h a n k y o u f or t h e pri vil e g e of s er vi n g y o u a s a Dir e ct or of B e d B at h & B e y o n d.

  J o h n E. Fl e mi n g
  C h air, C o m p e n s ati o n C o m mitt e e
                                                                                                                   26
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T a bl e of C o nt e nts

                                                                                                                                                                                                               E X E C U TI V E C O M P E N S A TI O N


  E x e c uti v e S u m m ar y
  S c o p e of t h e C D & A

  T hi s C D & A d e s cri b e s B e d B at h & B e y o n d’ s e x e c uti v e c o m p e n s ati o n p hil o s o p h y a n d pr o gr a m. I m p ort a ntl y, w e di s c u s s h o w t h e n e w C o m p e n s ati o n
  C o m mitt e e h a s r e s h a p e d t h e C o m p a n y’ s e x e c uti v e c o m p e n s ati o n pr o gr a m t o f o c u s o n t h e str at e gi c pri oriti e s of t h e b u si n e s s a n d ali g n wit h m ar k et
  pr a cti c e s a n d s h ar e h ol d er i nt er e st s.

  T h e l e a d er s hi p of B e d B at h & B e y o n d c h a n g e d dr a m ati c all y i n t h e p a st t w el v e m o nt h s, a s d et ail e d b el o w. M ar k J. Tritt o n j oi n e d u s a s o ur Pr e si d e nt a n d
  C hi ef E x e c uti v e Offi c er i n N o v e m b er 2 0 1 9. E v er y ot h er m e m b er of t h e s e ni or e x e c uti v e t e a m j oi n e d t h e C o m p a n y i n 2 0 2 0, f oll o wi n g t h e e n d of o ur 2 0 1 9
  fi s c al y e ar, ot h er t h a n Gr e g g M el ni c k, w h o j oi n e d t h e C o m p a n y i n 2 0 1 8 a n d w a s a p p oi nt e d t o hi s c urr e nt r ol e i n 2 0 2 0.

       N a m e d E x e c uti v e Offi c er s ( “ N E O s ”)                                                                             C urr e nt S e ni or E x e c uti v e T e a m
       Fi s c al Y e ar 2 0 1 9 ( e n di n g F e br u ar y 2 9, 2 0 2 0)                                                               Fi s c al Y e ar 2 0 2 0 ( st arti n g M ar c h 1, 2 0 2 0)
        M ar k J. Tritt o n                Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er ( si n c e                            M ar k J. Tritt o n          Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er ( si n c e N o v e m b er
                                           N o v e m b er 2 0 1 9)                                                                                                   2 0 1 9)
       R o b y n D’ Eli a1                 F or m er C hi ef Fi n a n ci al Offi c er a n d Tr e a s ur er ( u ntil                     G u st a v o Ar n al         E x e c uti v e Vi c e Pr e si d e nt, C hi ef Fi n a n ci al Offi c er &
                                           M a y 2 0 2 0)                                                                                                            Tr e a s ur er ( si n c e M a y 2 0 2 0)
        M ar y Wi n st o n2                F or m er I nt eri m C hi ef E x e c uti v e Offi c er ( M a y t o                           Ci n d y D a vi s            E x e c uti v e Vi c e Pr e si d e nt, C hi ef Br a n d Offi c er a n d
                                           N o v e m b er 2 0 1 9)                                                                                                   Pr e si d e nt, D e c ori st, L L C ( si n c e M a y 2 0 2 0)
       St e v e n T e m ar e s3            F or m er C hi ef E x e c uti v e Offi c er ( u ntil M a y 2 0 1 9)                         J o h n H art m a n n         E x e c uti v e Vi c e Pr e si d e nt, C hi ef O p er ati n g Offi c er, a n d
                                                                                                                                                                     Pr e si d e nt, b u y b u y B A B Y, I n c. ( si n c e M a y 2 0 2 0)
        W arr e n Ei s e n b er g4          F or m er E x e c uti v e C o- C h air m a n ( u ntil A pril 2 0 1 9)                      J o e H art si g              E x e c uti v e Vi c e Pr e si d e nt, C hi ef M er c h a n di si n g Offi c er;
                                                                                                                                                                     Pr e si d e nt, H ar m o n St or e s, I n c. ( si n c e M ar c h 2 0 2 0)
       L e o n ar d F ei n st ei n4         F or m er E x e c uti v e C o- C h air m a n ( u ntil A pril 2 0 1 9)                      Arl e n e H o n g             E x e c uti v e Vi c e Pr e si d e nt, C hi ef L e g al Offi c er a n d
                                                                                                                                                                     C or p or at e S e cr et ar y ( si n c e M a y 2 0 2 0)
                                                                                                                                        R af e h M a s o o d         E x e c uti v e Vi c e Pr e si d e nt, C hi ef Di git al Offi c er ( si n c e
                                                                                                                                                                     M a y 2 0 2 0)
                                                                                                                                        Gr e g g M el ni c k         E x e c uti v e Vi c e Pr e si d e nt, C hi ef St or e s Offi c er ( si n c e
                                                                                                                                                                     M a y 2 0 2 0)

  1.              M s. D’ Eli a w a s C hi ef Fi n a n ci al Offi c er a n d Tr e a s ur er f or t h e e ntir e 2 0 1 9 fi s c al y e ar b ut c e a s e d s er vi n g i n t h at r ol e o n M a y 4, 2 0 2 0. M s. D’ Eli a pr o vi d e d tr a n siti o n al
                 s er vi c e s t o t h e C o m p a n y t hr o u g h M a y 8, 2 0 2 0.
  2.              M s. Wi n st o n s er v e d a s C hi ef E x e c uti v e Offi c er o n a n i nt eri m b a si s fr o m M a y 1 2, 2 0 1 9, u ntil Mr. Tritt o n j oi n e d t h e C o m p a n y o n N o v e m b er 4, 2 0 1 9.
  3.              Mr. T e m ar e s l eft t h e C o m p a n y o n M a y 1 2, 2 0 1 9.
  4.              M e s sr s. Ei s e n b er g a n d F ei n st ei n tr a n siti o n e d t o t h e r ol e s of C o- F o u n d er s a n d C o- C h air m e n E m eriti of t h e B o ar d a n d c e a s e d t o b e offi c er s of t h e C o m p a n y o n
                 A pril 2 1, 2 0 1 9.

  T hi s C D & A di s c u s s e s c o m p e n s ati o n f or t h e e x e c uti v e s w h o w er e i n offi c e d uri n g fi s c al y e ar 2 0 1 9, w hi c h e n d e d F e br u ar y 2 9, 2 0 2 0.
  T h e c o m p o siti o n of t h e C o m p e n s ati o n C o m mitt e e w a s s u b st a nti all y r e c o n stit ut e d i n t h e p a st y e ar. T hr e e n e w m e m b er s j oi n e d t h e C o m p e n s ati o n
  C o m mitt e e i n M a y 2 0 1 9, aft er m o st of t h e d e ci si o n s c o v er e d i n t hi s C D & A w er e alr e a d y m a d e. C o m p e n s ati o n p a c k a g e s f or t h e n e w e x e c uti v e t e a m,
  w hi c h w er e n e g oti at e d b y t h e c urr e nt C o m p e n s ati o n C o m mitt e e, ar e cl o s el y ali g n e d wit h t h e C o m p a n y’ s n e w “ C o m p e n s ati o n Pill ar s,” w hi c h ar e
  di s c u s s e d b el o w.
                                                                                                                              27
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N


  E x e c uti v e C o m p e n s ati o n D e si g n a n d P hil o s o p h y
  T h e C o m p e n s ati o n C o m mitt e e i s c o m mitt e d t o dr a m ati c all y tr a n sf or mi n g t h e c o m p e n s ati o n str u ct ur e a n d c ult ur e at B e d B at h & B e y o n d a n d d e v el o pi n g a
  p a y-f or- p erf or m a n c e c o m p e n s ati o n pr o gr a m a n d p hil o s o p h y t h at i s r e s p o n si v e t o s h ar e h ol d er vi e w s, r efl e ct s m ar k et b e st pr a cti c e s, a n d s u p p ort s t h e
  C o m p a n y’ s b u si n e s s tr a n sf or m ati o n str at e g y. T h e C o m p e n s ati o n C o m mitt e e c o n v e n e d o v er 3 0 m e eti n g s i n fi s c al y e ar 2 0 1 9 t o di s c u s s a n d a m e n d t h e
  C o m p a n y’ s e x e c uti v e p a y pr o gr a m s; cr aft a n d fi n ali z e t h e C o m p a n y’ s n e w d e si g n pill ar s ( d et ail e d b el o w); r et ai n a n e w c o m p e n s ati o n c o n s ult a nt; a n d
  str u ct ur e, n e g oti at e, a n d a p pr o v e c o m p e n s ati o n arr a n g e m e nt s f or a n e w e x e c uti v e t e a m.

                                                                                                 H o w w e ar e i m pl e m e nti n g t h e c o m p e n s ati o n                                           W h er e t o fi n d m or e
  2 0 1 9 c o m p e n s ati o n d e si g n pill ar s                                             d e si g n pill ar s                                                                                            i nf or m ati o n
   P e er Gr o u p                                                                               ✓ I n 2 0 1 9, w e s el e ct e d a si n gl e, n e w p e er gr o u p a n d u s e d it t o                                 P a g e s 3 0- 3 1
    ∎ E st a bli s h a si n gl e r el e v a nt p e er gr o u p t o u s e c o n si st e ntl y t o      b e n c h m ar k c o m p e n s ati o n a n d a s a b a s eli n e f or p ur p o s e s of
       b e n c h m ar k C o m p a n y p erf or m a n c e a n d c o m p e n s ati o n                  t h e r el ati v e t ot al s h ar e h ol d er r et ur n (“ T S R”) m etri c a p pli c a bl e
       l e v el s a n d pr a cti c e s.                                                               t o o ur 2 0 1 9 P S U a w ar d s. I n t h e p a st w e r eli e d o n t w o
   ∎    R e vi e w t h e p e er gr o u p a n n u all y t o e n s ur e all c o m p a ni e s               s e p ar at e p e er gr o u p s f or t h e s e p ur p o s e s.
      r e m ai n a p pr o pri at e i n t er m s of b ot h si z e a n d i n d u str y.
   C o m p e n s ati o n B e n c h m ar ki n g                                                       ✓      Mr. Tritt o n’ s fi s c al 2 0 2 0 c o m p e n s ati o n p a c k a g e i n cl u d e s                   P a g e s 3 0- 3 1; 3 5
    ∎ E st a bli s h fi x e d, s h ort-t er m, l o n g-t er m, a n d t ot al t ar g et p a y             t ar g et c o m p e n s ati o n t h at a p pr o xi m at e s t h e m e di a n C E O
      l e v el s t h at ar e ri g or o u sl y a n d a p pr o pri at el y b e n c h m ar k e d            c o m p e n s ati o n f or o ur p e er gr o u p. I n a d diti o n, Mr. Tritt o n’ s
      a g ai n st o ur p e er gr o u p.                                                                  e m pl o y m e nt a gr e e m e nt pr o vi d e s t h at, i n fi s c al 2 0 2 0,
   ∎     Utili z e a r e a s o n a bl e bl e n d of c o m p e n s ati o n el e m e nt s, wit h           a p pr o xi m at el y 8 8 % of hi s t ar g et t ot al c o m p e n s ati o n will b e at
       t h e m aj orit y of t ar g et t ot al c o m p e n s ati o n li n k e d t o l o n g-t er m        ri s k (i n t h e f or m of s h ort- a n d l o n g-t er m i n c e nti v e
       p erf or m a n c e a n d T S R.                                                                   o p p ort u niti e s) a n d t h e r e m ai n d er will b e fi x e d (i n t h e f or m of
                                                                                                         b a s e s al ar y). T hi s r e pr e s e nt s a si g nifi c a nt c h a n g e fr o m
   ∎    S et a n n u al c o m p e n s ati o n a n d l o n g-t er m i n c e nti v e t ar g et s           l e g a c y pr a cti c e s.
       g e n er all y at t h e m e di a n r a n g e f or t h e p e er gr o u p.
   S h ort- a n d L o n g- T er m I n c e nti v e s                                            ✓           T h e P S U s a w ar d e d i n 2 0 1 9 c o ul d b e e ar n e d b a s e d o n t h e                  P a g e s 3 2- 3 5; 3 7- 3 8
    ∎ E st a bli s h a s h ort-t er m i n c e nti v e pr o gr a m wit h m etri c s b a s e d             a c hi e v e m e nt of b ot h s h ort-t er m ( o n e- y e ar) a n d l o n g-t er m (t hr e e-
       o n k e y o bj e cti v e s t h at s u p p ort t h e C o m p a n y’ s l o n g-t er m               y e ar) p erf or m a n c e g o al s. T h e s el e ct e d p erf or m a n c e m etri c s —
       str at e gi c g o al s.                                                                           e ar ni n g s b ef or e i nt er e st a n d t a x e s, a dj u st e d t o e x cl u d e a n d
                                                                                                         di sr e g ar d t h e i m p a ct of e xtr a or di n ar y it e m s (“ E BI T”) a n d r el ati v e
   ∎     S et m etri c s f or l o n g-t er m i n c e nti v e s t h at ar e cl o s el y ali g n e d       T S R — ar e ti e d t o t h e str at e gi c i m p er ati v e s of t h e b u si n e s s a n d
       wit h T S R.                                                                                      ar e m or e cl o s el y ali g n e d wit h s h ar e h ol d er v al u e t h a n r el ati v e
                                                                                                         E BI T m ar gi n a n d r el ati v e r et ur n o n i n v e st e d c a pit al (“ R OI C”) —
   ∎     D e v el o p p a y o ut c ur v e s f or a n n u al a n d l o n g-t er m i n c e nti v e         m etri c s u s e d i n pri or y e ar s.
       o p p ort u niti e s t h at pr o vi d e str o n g i n c e nti v e s f or s u p eri or
                                                                                                     ✓    T h e p ot e nti al p a y o ut f or t h e 2 0 1 9 P S U s r a n g e s b et w e e n 0 % a n d
       p erf or m a n c e a n d m e a ni n gf ul d o w n si d e ri s k f or
       u n d er p erf or m a n c e, i n cl u di n g t h e ri s k of f orf eit ur e.                      1 5 0 % of t ar g et, b a s e d o n t h e C o m p a n y’ s p erf or m a n c e a g ai n st
                                                                                                         pr e s cri b e d g o al s. A T S R “r e g ul at or” will c a p p a y o ut s o n t h e l o n g-
   ∎    E st a bli s h ri g or o u s p erf or m a n c e g o al s f or t ar g et i n c e nti v e          t er m P S U s at 1 0 0 % of t ar g et if t h e C o m p a n y’ s T S R o v er t h e
       p a y o ut s.                                                                                     p erf or m a n c e p eri o d i s n e g ati v e.
                                                                                                     ✓    T h e 2 0 1 9 P S U s s u bj e ct t o a o n e- y e ar p erf or m a n c e p eri o d w er e
                                                                                                         d e si g n e d t o s er v e a s a s h ort-t er m i n c e nti v e d uri n g a tr a n siti o n al
                                                                                                         y e ar. M s. D’ Eli a w a s t h e o nl y N E O w h o r e c ei v e d a 2 0 1 9 s h ort-
                                                                                                         t er m P S U gr a nt. T h e s e P S U s di d n ot p a y o ut b e c a u s e w e di d
                                                                                                         n ot m e et t h e t hr e s h ol d p erf or m a n c e r e q uir e m e nt.

                                                                                                                          28
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T a bl e of C o nt e nts

                                                                                                                                                                                                         E X E C U TI V E C O M P E N S A TI O N

                                                                                                     H o w w e ar e i m pl e m e nti n g t h e c o m p e n s ati o n                                             W h er e t o fi n d m or e
  2 0 1 9 c o m p e n s ati o n d e si g n pill ar s                                                 d e si g n pill ar s                                                                                              i nf or m ati o n

                                                                                                     ✓     T h e C o m p e n s ati o n C o m mitt e e a nti ci p at e s t h at it will p ut i n pl a c e
                                                                                                          a n e w a n n u al c a s h i n c e nti v e pl a n t o b e gi n i n fi s c al 2 0 2 0 f or t h e
                                                                                                          C o m p a n y’ s s e ni or e x e c uti v e s.
                                                                                                     ✓      P ur s u a nt t o hi s e m pl o y m e nt a gr e e m e nt, Mr. Tritt o n r e c ei v e d a
                                                                                                          2 0 1 9 a n n u al c a s h i n c e nti v e o p p ort u nit y wit h a t ar g et e q u al t o
                                                                                                          $ 7 5 0, 0 0 0.
   S h ar e O w n er s hi p G ui d eli n e s                                                         ✓       U ntil r e c e ntl y, t h e C o m p a n y’ s s h ar e o w n er s hi p g ui d eli n e s                                  Page 39
    ∎ E n s ur e t h at dir e ct or s a n d e x e c uti v e s ar e s u bj e ct t o                        r e q uir e d o ur C E O a n d o ut si d e dir e ct or s t o h ol d fi x e d d oll ar
       m e a ni n gf ul st o c k o w n er s hi p g ui d eli n e s t o ali g n t h eir                     a m o u nt s of B e d B at h & B e y o n d c o m m o n st o c k.
       i nt er e st s wit h t h o s e of o ur s h ar e h ol d er s.                                  ✓     I n 2 0 2 0, t o r efl e ct m ar k et pr a cti c e, t h e B o ar d e n h a n c e d t h e
                                                                                                          g ui d eli n e s t o a p pl y t o a br o a d er gr o u p of e x e c uti v e s a n d t o
                                                                                                          r e q uir e c o v er e d i n di vi d u al s t o h ol d B e d B at h & B e y o n d c o m m o n
                                                                                                          st o c k wit h a v al u e e q u al t o a m ulti pl e of t h eir b a s e s al ar y or c a s h
                                                                                                          r et ai n er, a s a p pli c a bl e.
   S h ar e h ol d er O utr e a c h a n d E n g a g e m e nt                                    ✓            O v er t h e p a st y e ar, w e r e a c h e d o ut t o r e pr e s e nt ati v e s fr o m                                 Page 30
    ∎ C o nti n u e t o e n g a g e wit h s h ar e h ol d er s a n d vi g or o u sl y s oli cit           s h ar e h ol d er s r e pr e s e nti n g a p pr o xi m at el y 8 5 % of o ur t ot al s h ar e s
       t h eir f e e d b a c k.                                                                           o ut st a n di n g, a n d m e m b er s of t h e B o ar d a n d t h e C o m p e n s ati o n
                                                                                                          C o m mitt e e, a s w ell a s s e ni or offi c er s, p arti ci p at e d i n i n- p er s o n
   ∎    C o n si d er a n d a p pr o pri at el y a d dr e s s s h ar e h ol d er c o n c er n s.          a n d t el e p h o n e m e eti n g s wit h m or e t h a n 5 0 % of o ur t ot al s h ar e s
                                                                                                          o ut st a n di n g.

  T h e c o m p e n s ati o n pill ar s ar e s u p pl e m e nt e d b y c o m p e n s ati o n pr a cti c e s t h e C o m p a n y h a s i m pl e m e nt e d t o dri v e p erf or m a n c e a n d ali g n t h e i nt er e st s of t h e
  C o m p a n y’ s e x e c uti v e s wit h it s s h ar e h ol d er s.

       W h at W e D o                                                                                                                     W h at W e D o n’t D o
   ✓         Ali g n p a y wit h p erf or m a n c e a n d cr e ati o n of v al u e f or s h ar e h ol d e r s                         ×        N o p erf or m a n c e g o al s f or i n c e nti v e a w ar d s t h at e n c o ur a g e
                                                                                                                                               e x c e s si v e ri s k-t a ki n g

   ✓         P a y a s u b st a nti al p orti o n of e x e c uti v e c o m p e n s ati o n i n t h e f or m of at-ri s k
             e q uit y gr a nt s                                                                                                      ×        N o h e d gi n g of C o m p a n y st o c k

   ✓         C o n d u ct a n a n n u al s a y- o n- p a y v ot e                                                                     ×        N o r e pri ci n g or b a c k d ati n g of st o c k o pti o n s

   ✓         E n g a g e dir e ctl y wit h s h ar e h ol d er s t o di s c u s s c o m p e n s ati o n                                ×        N o p a y m e nt of di vi d e n d s o n u n v e st e d p erf or m a n c e s h ar e a w ar d s

   ✓         M ai nt ai n ri g or o u s st o c k o w n er s hi p g ui d eli n e s f or all e x e c uti v e offi c er s
             a n d dir e ct or s                                                                                                      ×        N o e x c e s si v e p er q ui sit e s or ot h er s u p pl e m e nt al b e n efit s

   ✓         R e q uir e d o u bl e-tri g g er c h a n g e i n c o ntr ol v e sti n g pr o vi si o n s f or
             i n- pr o gr e s s e q uit y a w ar d s                                                                                  ×        N o e x ci s e t a x gr o s s- u p s o n s e v er a n c e p a y m e nt s

   ✓         E n g a g e a f ull y i n d e p e n d e nt c o m p e n s ati o n c o n s ult a nt t h at r e p ort s
             dir e ctl y t o t h e C o m p e n s ati o n C o m mitt e e                                                               ×        N o g u ar a nt e e d b o n u s e s or l o n g-t er m e q uit y p a y o ut s

   ✓         S u bj e ct i n c e nti v e c o m p e n s ati o n t o a cl a w b a c k i n c ert ai n cir c u m s t a n c e s

   ✓         C o n d u ct a n n u al c o m p e n s ati o n ri s k a s s e s s m e nt s

   ✓         C a p l o n g-t er m i n c e nti v e a w ar d s if T S R i s n e g ati v e

   ✓         B e n c h m ar k a g ai n st a r el e v a nt p e er gr o u p of si mil arl y- sit u at e d
             c o m p a ni e s
             U s e a n a p pr o pri at e mi x of fi x e d a n d v ari a bl e a n d s h ort-t er m a n d l o n g-
   ✓         t er m c o m p e n s ati o n el e m e nt s
                                                                                                                             29
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

  S h ar e h ol d er O utr e a c h

  At t h e 2 0 1 9 a n n u al m e eti n g, o ur e x e c uti v e c o m p e n s ati o n pr o gr a m r e c ei v e d a d vi s or y a p pr o v al of a p pr o xi m at el y 8 3 % of
  t h e s h ar e s v ot e d. Alt h o u g h t hi s i s t h e m o st f a v or a bl e s a y- o n- p a y v ot e w e h a v e e x p eri e n c e d i n s e v er al y e ar s, t h e                                     ~83 %
  C o m p e n s ati o n C o m mitt e e i s c o m mitt e d t o e ar ni n g a hi g h er a n d c o n si st e nt l e v el of s h ar e h ol d er s u p p ort i n t h e c o mi n g
  y e ar s.                                                                                                                                                                                                    Say on Pay
                                                                                                                                                                                                            f a v or a bl e v ot e s

       85 %                                     O v er t h e p a st y e ar, w e r e a c h e d o ut t o r e pr e s e nt ati v e s fr o m a v ari et y of o ur s h ar e h ol d er s, i n cl u di n g i n d e x f u n d s, h e d g e
                                                f u n d s, p u bli c p e n si o n f u n d s, a n d a cti v el y- m a n a g e d f u n d s, r e pr e s e nti n g a p pr o xi m at el y 8 5 % of o ur t ot al s h ar e s o ut st a n di n g,
                                                a n d m e m b er s of t h e B o ar d a n d t h e C o m p e n s ati o n C o m mitt e e, a s w ell a s s e ni or offi c er s, p arti ci p at e d i n i n- p er s o n a n d
       of o ur t ot al s h ar e s               t el e p h o n e m e eti n g s wit h m or e t h a n 5 0 % of o ur t ot al s h ar e s o ut st a n di n g.
       o ut st a n di n g c o nt a ct e d

  S h ar e h ol d er s e x pr e s s e d t h eir t h o u g ht s o n p a st pr a cti c e s r e g ar di n g e x e c uti v e c o m p e n s ati o n, wit h f e e d b a c k g e n er all y c o al e s ci n g i nt o t hr e e k e y t h e m e s:
  ∎   P a y f or o ur f or m er C E O w a s t o o g e n er o u s, wit h o ut e n o u g h c o m p e n s ati o n at ri s k a n d i n s uf fi ci e ntl y c h all e n gi n g p a y o ut c ur v e s

  ∎   P a y w a s n ot a p pr o pri at el y ali g n e d wit h p erf or m a n c e

  ∎   T h e c o n n e cti o n b et w e e n C o m p a n y str at e g y a n d r e s ult s a n d t h e c o m p e n s ati o n str u ct ur e w a s i n a d e q u at e

  T h e c urr e nt C o m p e n s ati o n C o m mitt e e h a s alr e a d y e n a ct e d c h a n g e a n d i s f ull y c o m mitt e d t o a d dr e s si n g e a c h t h e m e.


  S o ur c e s of I nf or m ati o n f or t h e C o m p e n s ati o n C o m mitt e e
  I n d e p e n d e nt C o n s ult a nt s

  U ntil N o v e m b er 2 0 1 9, t h e C o m p e n s ati o n C o m mitt e e r et ai n e d Art h ur J. G all a g h er & C o. H u m a n R e s o ur c e s & C o m p e n s ati o n C o n s ulti n g (“ G all a g h er”) a s
  it s i n d e p e n d e nt c o m p e n s ati o n c o n s ult a nt. I n fi s c al 2 0 1 9, G all a g h er c o n d u ct e d a c o m p e n s ati o n r e vi e w r e g ar di n g t h e N E O s a n d c ert ai n ot h er e x e c uti v e s.
  W hil e s er vi n g a s c o n s ult a nt t o t h e C o m p e n s ati o n C o m mitt e e, G all a g h er di d n ot s er v e B e d B at h & B e y o n d i n a n y ot h er c a p a cit y .

  T h e c urr e nt C o m p e n s ati o n C o m mitt e e d et er mi n e d t h at tr a n sf or mi n g t h e C o m p a n y’ s c o m p e n s ati o n pr a cti c e s a n d c ult ur e r e q uir e d a n e w a d vi s or wit h n o
  c o n n e cti o n t o t h e C o m p a n y’ s l e g a c y pr o gr a m s. F oll o wi n g a t h or o u g h s e ar c h, t h e C o m p e n s ati o n C o m mitt e e e n g a g e d t h e s er vi c e s of a n e w i n d e p e n d e nt
  c o m p e n s ati o n c o n s ult a nt, M eri di a n. M eri di a n r e p ort s dir e ctl y t o t h e C o m p e n s ati o n C o m mitt e e a n d h a s br o u g ht fr e s h p er s p e cti v e s t o e x e c uti v e
  c o m p e n s ati o n i s s u e s. O v er t h e p a st m o nt h s, M eri di a n h a s a s si st e d wit h t h e d e v el o p m e nt of c o m p etiti v e m ar k et d at a a n d b e n c h m ar ki n g i n c o n n e cti o n
  wit h r e c e nt s e ni or e x e c uti v e hir e s, a n d h a s h el p e d t h e C o m p e n s ati o n C o m mitt e e d e si g n a n d i m pl e m e nt o ur r e vi s e d i n c e nti v e c o m p e n s ati o n pr o gr a m s.
  M eri di a n h a s n ot s er v e d t h e C o m p a n y i n a n y ot h er c a p a cit y e x c e pt a s c o n s ult a nt t o t h e C o m p e n s ati o n C o m mitt e e.

  T h e C o m p e n s ati o n C o m mitt e e a n d t h e N o mi n ati n g a n d C or p or at e G o v er n a n c e C o m mitt e e r e c ei v e a d vi c e a n d a s si st a n c e fr o m t h e l a w fir m of Wi n st o n &
  Str a w n L L P, w hi c h h a s a ct e d a s c o u n s el o nl y t o t h e C o m p a n y’ s i n d e p e n d e nt dir e ct or s a n d it s B o ar d c o m mitt e e s.

  T h e C o m p e n s ati o n C o m mitt e e h a s c o n cl u d e d t h at n o c o nfli ct of i nt er e st e xi st s ( or e xi st e d) t h at pr e v e nt s ( or pr e v e nt e d) G all a g h er, M eri di a n, or Wi n st o n &
  Str a w n fr o m b ei n g i n d e p e n d e nt a d vi s or s t o t h e C o m p e n s ati o n C o m mitt e e.

  B e n c h m ar ki n g P e er Gr o u p

  I n t h e p a st, w e r eli e d o n t w o p e er gr o u p s: o n e f or c o m p e n s ati o n b e n c h m ar ki n g a n d a n e x p a n d e d o n e f or p erf or m a n c e c o m p ari s o n s. T h e C o m p e n s ati o n
  C o m mitt e e d et er mi n e d t h at h a vi n g a si n gl e p e er gr o u p w o ul d i n cr e a s e ali g n m e nt b et w e e n p a y a n d p erf or m a n c e, r e d u c e c o m pl e xit y, a n d i n cr e a s e
  tr a n s p ar e n c y. C o n si st e nt wit h o ur n e w c o m p e n s ati o n d e si g n pill ar s, t h e C o m p e n s ati o n C o m mitt e e e st a bli s h e d a si n gl e, u p d at e d, a n d r el e v a nt p e er gr o u p
  i n 2 0 1 9 f or s etti n g a p pr o pri at e c o m p e n s ati o n l e v el s a n d m e a s uri n g r el ati v e p erf or m a n c e. W e b eli e v e t h e n e w p e er gr o u p h a s a n a p pr o pri at e n u m b er a n d
  br e a dt h of c o m p a ni e s t o s u p p ort b ot h p ur p o s e s.
                                                                                                                       30
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T a bl e of C o nt e nts

                                                                                                                                                                                              E X E C U TI V E C O M P E N S A TI O N

  T h e p e er gr o u p c o n si st s pri m aril y of r et ail er s wit h b u si n e s s c h ar a ct eri sti c s t h at m a k e t h e m si mil ar t o t h e C o m p a n y. T h e C o m p e n s ati o n C o m mitt e e al s o
  c o n si d er e d v ari o u s si z e p ar a m et er s, i n cl u di n g r e v e n u e a n d m ar k et c a pit ali z ati o n.

  B a s e d o n t h e p ar a m et er s r e vi e w e d, t h e f oll o wi n g 2 2 c o m p a ni e s (t h e “ P e er Gr o u p”) w er e i d e ntifi e d a s c o m p etit or s f or b u si n e s s, t al e nt, or b ot h.

  FI S C A L 2 0 1 9 P E E R G R O U P

    A d v a n c e A ut o P art s, I n c.                                               F o ot L o c k er, I n c.                                                    N or d str o m, I n c.
    A ut o Z o n e, I n c.                                                             T h e G a p, I n c.                                                           Offi c e D e p ot, I n c.
    Bi g L ot s, I n c.                                                                K o hl’ s C or p or ati o n                                                   O’ R eill y A ut o m oti v e, I n c.
    B urli n gt o n St or e s, I n c.                                                  L Br a n d s, I n c.                                                         R o s s St or e s, I n c.
    Di c k’ s S p orti n g G o o d s, I n c.                                            M a c y’ s, I n c.                                                          Tr a ct or S u p pl y C o m p a n y
    Dill ar d’ s, I n c.                                                               T h e Mi c h a el s C o m p a ni e s, I n c.                                 Ult a B e a ut y, I n c.
    D oll ar G e n er al C or p or ati o n                                                                                                                            W a yf air I n c.
    D oll ar Tr e e, I n c.                                                                                                                                           Willi a m s- S o n o m a, I n c.

  B E D B AT H & B E Y O N D C O M P A R E D T O P E E R G R O U P

                                                                                                                                                              Revenue-                    M ar k et C a p -            N u m b er of
                                                                                                                                                                    TT M               A s of F e b 2 0 2 0           E m pl o y e e s
                                                                                                                                                                    ( $ M)                             ( $ M)                 - LT M
                                                                                                                          7 5t h P er c e ntil e               $ 1 5, 9 1 0             $           1 4, 5 7 7               8 9, 6 8 1
                                                                                                                           M e di a n                          $   9, 9 2 9             $             5, 9 6 9               5 0, 0 0 0
                                                                                                                          2 5t h P er c e ntil e               $   7, 5 5 0             $             3, 8 6 5               2 8, 9 3 8
                                                                                                                           B e d B at h & B e y o n d         $ 1 1, 1 5 9             $             1, 3 3 8                5 5, 0 0 0
                                                                                                                         I n c.
                                                                                                                          P er c e ntil e R a n k                       59 %                                14 %                 54 %
                                                                                                                        D at a s o ur c e d fr o m S & P C a pit al I Q eff e cti v e a s of F e br u ar y 2 9, 2 0 2 0.


  T h e C o m p e n s ati o n C o m mitt e e r e vi e w s m ar k et d at a fr o m c o m p e n s ati o n s ur v e y s t o b e n c h m ar k p a y f or e x e c uti v e offi c er p o siti o n s w h e n r el e v a nt P e er
  Gr o u p d at a ar e n ot a v ail a bl e. T h e C o m p e n s ati o n C o m mitt e e al s o c o n si d er s f a ct or s s u c h a s C o m p a n y p erf or m a n c e, i n di vi d u al e x p eri e n c e, a n d t h e
  i n di vi d u al e x e c uti v e’ s c o ntri b uti o n s t o t h e C o m p a n y w h e n d e v el o pi n g c o m p e n s ati o n p a c k a g e s.


  El e m e nt s of C o m p e n s ati o n f or 2 0 1 9
  T h e C o m p a n y’ s fi s c al 2 0 1 9 c o m p e n s ati o n pr o gr a m f or t h e N E O s a n d c ert ai n ot h er k e y e x e c uti v e s c o n si st e d of b a s e s al ar y, a n n u al i n c e nti v e
  c o m p e n s ati o n (i n t h e f or m of o n e- y e ar P S U a w ar d s), l o n g-t er m i n c e nti v e c o m p e n s ati o n (i n t h e f or m of t hr e e- y e ar P S U a w ar d s), a n d r etir e m e nt a n d ot h er
  b e n efit s ( s u c h a s a h e alt h pl a n a n d a li mit e d 4 0 1( k) pl a n m at c h). O ur e x e c uti v e s r e c ei v e v er y li mit e d p er q ui sit e s, a s d e s cri b e d i n t h e f o ot n ot e s t o t h e
  S u m m ar y C o m p e n s ati o n T a bl e.

  B a s e S al ar y

  B a s e s al ari e s r e pr e s e nt fi x e d c a s h c o m p e n s ati o n ti e d t o t h e si z e, s c o p e, a n d c o m pl e xit y of e a c h e x e c uti v e’ s p o siti o n a n d t h e i n di vi d u al e x e c uti v e’ s
  p erf or m a n c e a n d eff e cti v e n e s s. T h e C o m p e n s ati o n C o m mitt e e r e vi e w s b a s e s al ari e s a n n u all y t o e n s ur e t h e y r e m ai n a p pr o pri at e. A p pr o v e d a dj u st m e nt s,
  if a n y, g e n er all y b e c o m e eff e cti v e i n M a y.
                                                                                                                   31
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

  I n M a y 2 0 1 9, t h e C o m p e n s ati o n C o m mitt e e d et er mi n e d t o k e e p b a s e s al ari e s f or t h e N E O s t h e n i n offi c e at t h e s a m e l e v el s a s t h e y w er e i n fi s c al 2 0 1 8.

  A n n u al I n c e nti v e C o m p e n s ati o n

  Hi st ori c all y, B e d B at h & B e y o n d h a s n ot m ai nt ai n e d a n a n n u al c a s h i n c e nti v e pl a n. I n st e a d, w e h a v e pr o vi d e d at-ri s k p a y i n t h e f or m of e q uit y gr a nt s. F or
  2 0 1 9, t h e C o m p e n s ati o n C o m mitt e e d et er mi n e d t h at t h e a n n u al p erf or m a n c e i n c e nti v e w o ul d b e i n t h e f or m of P S U s ti e d t o a o n e- y e ar E BI T t ar g et of
  $ 4 2 9 milli o n. T h e C o m p e n s ati o n C o m mitt e e d et er mi n e d a n a b s ol ut e E BI T t ar g et w a s b ett er ali g n e d wit h o ur s h ort-t er m p erf or m a n c e o bj e cti v e s t h a n t h e
  r el ati v e E BI T m ar gi n m etri c t h at w a s u s e d f or t h e fi s c al y e ar 2 0 1 8 ( a n d e arli er) a n n u al i n c e nti v e gr a nt s.

  M s. D’ Eli a w a s t h e o nl y N E O w h o r e c ei v e d a n a n n u al P S U gr a nt i n fi s c al 2 0 1 9. Mr. Tritt o n r e c ei v e d a 2 0 1 9 a n n u al c a s h i n c e nti v e o p p ort u nit y li n k e d t o
  i n di vi d u al p erf or m a n c e o bj e cti v e s r at h er t h a n C o m p a n y E BI T. F or m or e i nf or m ati o n, s e e “ 2 0 1 9 S e ni or E x e c uti v e C o m p e n s ati o n D e ci si o n s.”

  T h e p ot e nti al p a y o ut s o n t h e fi s c al y e ar 2 0 1 9 P S U s ar e s h o w n b el o w .

  P S U s S U B J E C T T O O N E- Y E A R E BI T G O A L V E S TI N G:
  100 %in Y E A R 1

                                                       E BI T A c hi e v e d                                                                      P a y m e nt P er c e nt a g e of C o m m o n St o c k
                                                       (i n $ milli o n s) 1                                                                                      U n d erl yi n g P S U s
                                                     Gr e at er t h a n $ 4 7 2                                                                                            150 %
                                                               $450                                                                                                        125 %
                                                               $429                                                                                                        100 %
                                                               $420                                                                                                         75 %
                                                               $408                                                                                                         50 %
                                                       Lessthan $408                                                                                                         0 %

  1.      Li n e ar i nt er p ol ati o n u s e d f or r e s ult s b et w e e n g o al s

  B a s e d o n o ur E BI T r e s ult s of $ 1 2 2 milli o n (l e s s t h a n 9 5 % of t ar g et), M s. D’ Eli a di d n ot e ar n a n y s h ort-t er m P S U s f or fi s c al 2 0 1 9.

  A s p art of t h e o v er all r e str u ct uri n g of o ur e x e c uti v e c o m p e n s ati o n pr o gr a m, t h e C o m p e n s ati o n C o m mitt e e d et er mi n e d t h at t h e C o m p a n y s h o ul d s hift t o a n
  a n n u al c a s h i n c e nti v e pl a n f or fi s c al y e ar s aft er 2 0 1 9, a n d r e b al a n c e t h e fi x e d v s. at-ri s k all o c ati o n of o ur a n n u al c o m p e n s ati o n. A c c or di n gl y, t h e
  C o m p e n s ati o n C o m mitt e e a nti ci p at e s t h at it will p ut i n pl a c e a n a n n u al c a s h i n c e nti v e pl a n f or fi s c al y e ar 2 0 2 0, w hi c h it b eli e v e s will b ett er ali g n o ur
  c o m p e n s ati o n pr o gr a m wit h t y pi c al m ar k et pr a cti c e s, pr o m ot e t h e a c hi e v e m e nt of t h e C o m p a n y’ s a n n u al str at e gi c a n d fi n a n ci al g o al s, a n d i n c e nti vi z e a n d
  r e w ar d e x e c uti v e s f or t h eir i n di vi d u al c o ntri b uti o n s t o w ar d o p er ati o n al s u c c e s s.

  L o n g- T er m E q uit y C o m p e n s ati o n

  2 0 1 9 P S U Gr a nt s
  T h e C o m p a n y’ s l o n g-t er m i n c e nti v e pr o gr a m i s d e si g n e d t o f o c u s o ur e x e c uti v e s o n i n cr e a si n g s h ar e h ol d er v al u e, t o r e w ar d t h eir c o ntri b uti o n s t o t h e
  C o m p a n y’ s l o n g-t er m gr o wt h a n d p erf or m a n c e, a n d t o attr a ct a n d r et ai n k e y t al e nt. T o r ei nf or c e t h at f o c u s, N E O s c a n n ot tr a n sf er, pl e d g e, or a s si g n t h eir
  u n v e st e d e q uit y a w ar d s.

  T h e C o m p e n s ati o n C o m mitt e e m a d e s e v er al i m p ort a nt c h a n g e s t o o ur l o n g-t er m i n c e nti v e a w ar d s t o e n s ur e o ur c o m p e n s ati o n pr o gr a m ali g n s t o m ar k et
  st a n d ar d s a n d s h ar e h ol d er r et ur n s, t o e n c o ur a g e o ur e x e c uti v e t e a m t o f o c u s o n criti c al p erf or m a n c e o bj e cti v e s t h at c o ntri b ut e t o t h e gr o wt h of t h e
  C o m p a n y, a n d t o b e pr u d e nt wit h s h ar e u s a g e o v er ti m e.
                                                                                                                   32
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T a bl e of C o nt e nts

                                                                                                                                                                                                             E X E C U TI V E C O M P E N S A TI O N

  I n a d diti o n t o c h a n gi n g t h e str u ct ur e of t h e fi s c al 2 0 1 9 l o n g-t er m e q uit y a w ar d s, t h e C o m p e n s ati o n C o m mitt e e al s o c h a n g e d t h e u n d erl yi n g p erf or m a n c e
  m etri c s a n d t h e tr e at m e nt of o ut st a n di n g P S U s i n t h e e v e nt of i n v ol u nt ar y t er mi n ati o n wit h o ut c a u s e or a c o n str u cti v e t er mi n ati o n t o m a k e t h e v e sti n g
  pr o vi si o n s m or e c o n si st e nt wit h m ar k et pr a cti c e s. I n J u n e 2 0 1 9, t h e C o m p e n s ati o n C o m mitt e e gr a nt e d a w ar d s of l o n g-t er m p erf or m a n c e- b a s e d P S U s
  wit h t w o e q u all y- w ei g ht e d p erf or m a n c e m etri c s:

                                                                                                              L o n g- T er m E q uit y I n c e nti v e s                            L o n g- T er m E q uit y I n c e nti v e s
                                                                                                              Gr a nt e d T hr o u g h Fi s c al 2 0 1 8                             Gr a nt e d i n Fi s c al 2 0 1 9 *


                                                                                                                                St o c k o pti o n s
  F or m of a w ar d                                                                                                                                                                                   P S Us

                                                                                                                                P S Us


                                                                                                                                T hr e e- y e ar r el ati v e R OI C                                   T hr e e- y e ar c u m ul ati v e E BI T
  P erf or m a n c e m etri c s

                                                                                                                                  T hr e e- y e ar r el ati v e E BI T m ar gi n                        T hr e e- y e ar r el ati v e T S R
  Tr e at m e nt of u n v e st e d e q uit y w h e n a n e x e c uti v e l e a v e s t h e                    F ull v e sti n g at t h e e n d of t h e p erf or m a n c e           Pr or at e d v e sti n g at t h e e n d of t h e p erf or m a n c e
  C o m p a n y (i n v ol u nt ar y t er mi n ati o n wit h o ut c a u s e or                                 p eri o d b a s e d o n a ct u al r e s ult s. N o pr or ati o n,      p eri o d b a s e d o n a ct u al r e s ult s. Pr or at e d t o
  c o n str u cti v e t er mi n ati o n)                                                                      r e g ar dl e s s of w h et h er t h e r e ci pi e nt w a s            r efl e ct h o w l o n g t h e r e ci pi e nt w a s wit h t h e
                                                                                                              e m pl o y e d b y t h e C o m p a n y f or t h e e ntir e             C o m p a n y d uri n g t h e p erf or m a n c e p eri o d
                                                                                                              t hr e e y e ar s

  * Mr. Tritt o n r e c ei v e d ti m e- v e st e d r e stri ct e d st o c k u nit s (“ R S U s”) a n d P S U s a s m a k e- w h ol e a w ar d s a n d a s a n i n d u c e m e nt t o c o m m e n ci n g e m pl o y m e nt wit h t h e C o m p a n y, a s
  d e s cri b e d b el o w u n d er “ 2 0 1 9 S e ni or E x e c uti v e C o m p e n s ati o n D e ci s i o n s.”

  T h e f oll o wi n g t a bl e s s h o w t h e a c hi e v e m e nt r a n g e s f or t h e s e m etri c s, t o g et h er wit h t h e a s s o ci at e d p a y o ut p er c e nt a g e s. A n y c o m m o n st o c k e ar n e d will
  v e st i n f ull at t h e e n d of t h e t hr e e- y e ar p erf or m a n c e p eri o d.

                     A c hi e v e m e nt                                     P a y m e nt P er c e nt a g e                                             A c hi e v e m e nt                                  P a y m e nt P er c e nt a g e
                      P er c e nt a g e                                        of C o m m o n St o c k                                                     P er c e ntil e                                     of C o m m o n St o c k
                     ( % of T ar g et) 1                                        U n d erl yi n g P S U s                                               ( P e er Gr o u p) 1                                     U n d erl yi n g P S U s
                    1 2 0 % or m or e                                                 150 %                                                    8 0t h P er c e ntil e or b ett er                                      150 %
                          110 %                                                       125 %                                                            5 5t h P er c e ntil e                                          100 %
                          100 %                                                       100 %                                                            3 5t h P er c e ntil e                                           25 %
                            98 %                                                      75 %                                                    L e s s t h a n 3 5t h P er c e ntil e                                     0 %
                            95 %                                                      50 %                                         1.            Li n e ar i nt er p ol ati o n u s e d f or r e s ult s b et w e e n g o al s
                   Lessthan 95 %                                                       0 %
     1.           Li n e ar i nt er p ol ati o n u s e d f or r e s ult s b et w e e n g o al s

  C o n si st e nt wit h o ur pri or pr a cti c e, t h e fi s c al 2 0 1 9 P S U a w ar d s ar e s u bj e ct t o a T S R “r e g ul at or.” S p e cifi c all y, if t h e C o m p a n y’ s T S R o v er t h e p erf or m a n c e
  p eri o d i s n e g ati v e, t h e e ntir e P S U a w ar d p a y o ut will b e c a p p e d at 1 0 0 % of t ar g et, r e g ar dl e s s of o ur E BI T p erf or m a n c e or r el ati v e T S R r a n ki n g.

  M s. D’ Eli a w a s t h e o nl y N E O w h o r e c ei v e d a gr a nt of fi s c al 2 0 1 9 l o n g-t er m P S U s. T h e s e P S U s will v e st a n d s ettl e i n s h ar e s of t h e C o m p a n y’ s c o m m o n
  st o c k f oll o wi n g t h e e n d of fi s c al 2 0 2 1, b a s e d o n t h e C o m p a n y’ s a ct u al t hr e e- y e ar r e s ult s, pr or at e d t o r efl e ct M s. D’ Eli a’ s e m pl o y m e nt fr o m t h e st art of
  fi s c al 2 0 1 9 u ntil M a y 2 0 2 0. Mr. Tritt o n r e c ei v e d ti m e- v e st e d R S U s a n d P S U s a s m a k e- w h ol e a w ar d s a n d a s a n i n d u c e m e nt t o c o m m e n ci n g e m pl o y m e nt
  wit h t h e C o m p a n y, a s d e s cri b e d b el o w u n d er “ 2 0 1 9 S e ni or E x e c uti v e C o m p e n s ati o n D e ci si o n s.”
                                                                                                                              33
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

  2 0 1 7 P S U P a y o ut s
  T h e t a bl e b el o w s h o w s h o w w e p erf or m e d u n d er o ur l o n g-t er m e q uit y i n c e nti v e pr o gr a m f or t h e t hr e e- y e ar p erf or m a n c e p eri o d fr o m fi s c al 2 0 1 7 t hr o u g h
  fi s c al 2 0 1 9. T h e p erf or m a n c e m etri c s f or t h e 2 0 1 7 P S U s w er e t hr e e- y e ar R OI C r el ati v e t o a p e er gr o u p ( 2/ 3 w ei g ht) a n d t hr e e- y e ar E BI T m ar gi n r el ati v e
  t o a p e er gr o u p ( 1/ 3 w ei g ht).

                                                                                                                                      2 0 1 7 P S U s: T hr e e- Y e ar R el ati v e R OI C a n d E BI T M ar gi n G o al s
                                                                                                                      M e a n ( a v er a g e)             B e d B at h &                 A c hi e v e m e nt                     P a y o ut
                                                                                                                            P e er Gr o u p                     Beyond                      P er c e nt a g e           P er c e nt a g e 2
  Fi s c al 2 0 1 7 P S U A w ar d s
  T hr e e- y e ar R OI C 1                                                                                                         9. 8 5 %                       7. 5 8 %                          7 6. 9 3 %                         9 0. 0 0 %
  T hr e e- y e ar E BI T m ar gi n                                                                                                 5. 2 7 %                       3. 6 4 %                          6 9. 0 7 %                         7 5. 0 0 %

  1.        E x cl u d e s t h e i m p a ct r el at e d t o t h e T a x C ut s a n d J o b s A ct o n t h e C o m p a n y a n d all p e er c o m p a ni e s i n 2 0 1 7.
  2.        T h e 2 0 1 7 P S U a w ar d s w er e s u bj e ct t o a T S R r e g ul at or, b ut it w a s n ot a p pli e d si n c e t h e p a y o ut p er c e nt a g e w a s b el o w 1 0 0 %.

  B a s e d o n t h e r e s ult s s h o w n a b o v e, a n d a s r e q uir e d b y t h e a w ar d a gr e e m e nt s e nt er e d i nt o wit h r e s p e ct t o t hi s l e g a c y pr o gr a m, t h e N E O s w h o r e c ei v e d
  fi s c al 2 0 1 7 P S U a w ar d s e ar n e d p a y o ut s at 9 0 % of t ar g et ( wit h r e s p e ct t o t h e r el ati v e R OI C g o al) a n d 7 5 % ( wit h r e s p e ct t o t h e r el ati v e E BI T m ar gi n g o al),
  a s s h o w n i n t h e f oll o wi n g t a bl e, i n t h e f or m of s h ar e s of t h e C o m p a n y’ s c o m m o n st o c k.

                                                                                                                                                                                        T ar g et P S U s               A ct u al P S U s E ar n e d
  Na me 1                                                                                                                                                                                             ( #)                                       ( #)
  St e v e n T e m ar e s                                                                                                                                                                      2 0 5, 9 5 0                                1 7 5, 0 5 8
  W arr e n Ei s e n b er g                                                                                                                                                                      2 0, 0 0 4                                 1 7, 0 0 3
  L e o n ar d F ei n st ei n                                                                                                                                                                    2 0, 0 0 4                                 1 7, 0 0 3

  1.        P ur s u a nt t o t h e t er m s of t h eir r e s p e cti v e P S U a w ar d a gr e e m e nt s, M e s sr s. T e m ar e s, Ei s e n b er g, a n d F ei n st ei n v e st e d f ull y i n t h eir fi s c al 2 0 1 7 P S U a w ar d s b a s e d o n
            t h e C o m p a n y’ s a ct u al p erf or m a n c e e v e n t h o u g h t h e y di d n ot s er v e a s e x e c uti v e offi c er s f or t h e e ntir e p erf or m a n c e p eri o d.
                                                                                                                             34
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T a bl e of C o nt e nts

                                                                                                                                                                                        E X E C U TI V E C O M P E N S A TI O N

  2 0 1 9 S e ni or E x e c uti v e C o m p e n s ati o n D e ci si o n s

  T h e c o m p e n s ati o n a w ar d e d t o Mr. Tritt o n, M s. Wi n st o n, a n d M s. D’ Eli a f or fi s c al y e ar 2 0 1 9 w a s d et er mi n e d b y t h e c urr e nt C o m p e n s ati o n C o m mitt e e, wit h
  a s si st a n c e fr o m G all a g h er.

  Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er

                                                      I n c o n n e cti o n wit h Mr. Tritt o n’ s a p p oi nt m e nt a s Pr e si d e nt a n d C E O i n N o v e m b er 2 0 1 9, Mr. Tritt o n a n d t h e C o m p a n y
                                                      e nt er e d i nt o a n e m pl o y m e nt a gr e e m e nt. T h e t er m s a n d c o n diti o n s of t hi s a gr e e m e nt w er e d e si g n e d t o e st a bli s h a
                                                      c o m p etiti v e c o m p e n s ati o n fr a m e w or k t h at ali g n s wit h t h e C o m p a n y’ s n e w c o m p e n s ati o n d e si g n pill ar s. Mr. Tritt o n’ s
                                                      fi s c al 2 0 1 9 c o m p e n s ati o n c o n si st e d of t h e el e m e nt s d e s cri b e d b el o w.



  M ar k J. Tritt o n
  Pr e si d e nt a n d C hi ef
  E x e c uti v e Offi c er
  B a s e s al ar y                                   ∎    $ 1, 2 0 0, 0 0 0 a n n u all y
  A n n u al i n c e nti v e c a s h b o n u s        ∎    $ 7 5 0, 0 0 0 o p p ort u nit y at t ar g et, t o b e e ar n e d b y d e v el o pi n g a n d d eli v eri n g t o t h e B o ar d a s h ort-t er m str at e gi c a n d
                                                          b u si n e s s st a bili z ati o n pl a n
                                                      ∎  $ 1, 1 2 5, 0 0 0 ( 1 5 0 % of t h e t ar g et a m o u nt) w a s a ct u all y p ai d b a s e d o n t h e C o m p e n s ati o n C o m mitt e e’ s a s s e s s m e nt
                                                        t h at Mr. Tritt o n e x c e e d e d t h e o bj e cti v e s s et f or hi m. I n a d diti o n t o d eli v eri n g a s h ort-t er m str at e gi c a n d b u si n e s s
                                                        st a bili z ati o n pl a n, Mr. Tritt o n m a d e pr o gr e s s e st a bli s hi n g a w orl d- cl a s s l e a d er s hi p t e a m, e v al u ati n g t h e
                                                        C o m p a n y’ s b u si n e s s c o n c e pt s a n d e x e c uti n g t h e fir st p h a s e of b a n n er o pti mi z ati o n, r a pi dl y i m pl e m e nti n g a l ar g e-
                                                        s c al e i n v e nt or y a n d S K U r e d u cti o n pl a n d e si g n e d t o r e p o siti o n t h e c or e br a n d a n d e n a bl e ot h er str at e gi c
                                                        tr a n sf or m ati o n, r e s etti n g t h e C o m p a n y’ s c o st str u ct ur e, a n d d e v el o pi n g a br o a d er or g a ni z ati o n al pl a n a n d
                                                        road map
  C a s h a n d e q uit y- b a s e d                  ∎ O n e-ti m e si g n- o n c a s h a w ar d of $ 5 0 0, 0 0 0
  i n d u c e m e nt a w ar d s
                                                      ∎  Ti m e- v e sti n g R S U s wit h a v al u e of $ 5 0 0, 0 0 0 t h at will v e st o n N o v e m b er 4, 2 0 2 0, s u bj e ct, i n g e n er al, t o Mr. Tritt o n
                                                        r e m ai ni n g i n t h e C o m p a n y’ s e m pl o y t hr o u g h t h at d at e
  C a s h a n d e q uit y- b a s e d a w ar d s t o   ∎ M a k e- w h ol e c a s h b o n u s of $ 7 1 0, 0 0 0 ( p ai d o n M ar c h 1 3, 2 0 2 0)
  r e pl a c e c ert ai n a w ar d s t h at
                                                      ∎     M a k e- w h ol e R S U a w ar d wit h a n a g gr e g at e v al u e at gr a nt of $ 6, 9 0 0, 0 0 0, wit h t h e f oll o wi n g v e sti n g s c h e d ul e: ( a)
  Mr. Tritt o n f orf eit e d w h e n h e
                                                          a p pr o xi m at el y 5 0 % of t h e R S U s v e st e d o n M ar c h 3 1, 2 0 2 0; ( b) a p pr o xi m at el y 2 5 % of t h e R S U s will v e st o n
  r e si g n e d fr o m hi s pri or e m pl o y er
                                                          S e pt e m b er 3 0, 2 0 2 0; a n d ( c) t h e r e m ai n d er of t h e R S U s will v e st o n M ar c h 3 1, 2 0 2 1; i n e a c h c a s e s u bj e ct, i n
                                                          g e n er al, t o Mr. Tritt o n r e m ai ni n g i n t h e C o m p a n y’ s e m pl o y t hr o u g h t h e a p pli c a bl e v e sti n g d at e
                                                      ∎  A m a k e- w h ol e P S U a w ar d wit h a v al u e at gr a nt of $ 3, 5 0 0, 0 0 0 t h at will v e st o n N o v e m b er 4, 2 0 2 1, if Mr. Tritt o n
                                                        pr e p ar e s a n d d eli v er s t o t h e B o ar d k e y o bj e cti v e s a n d g o al s f or t h e C o m p a n y a n d str at e gi e s a n d i niti ati v e s f or
                                                        a c hi e vi n g s u c h o bj e cti v e s a n d g o al s, a n d pr o vi d e s t h e B o ar d wit h r e g ul ar pr o gr e s s u p d at e s; s u bj e ct, i n g e n er al,
                                                        t o Mr. Tritt o n r e m ai ni n g i n t h e C o m p a n y’ s e m pl o y t hr o u g h t h e v e sti n g d at e
  T ail or e d p er q ui sit e s                      ∎ H o m e b u y o ut a n d r el o c ati o n a s si st a n c e i n c o n n e cti o n wit h Mr. Tritt o n’ s r el o c ati o n t o t h e N e w Y or k m etr o p olit a n
                                                        ar e a
                                                      ∎    Fi n a n ci al pl a n ni n g
                                                      ∎    A ut o m o bil e all o w a n c e

                                                                                                              35
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

  F or m er I nt eri m C hi ef E x e c uti v e Offi c er
  O n J u n e 2 6, 2 0 1 9, t h e C o m p a n y e nt er e d i nt o a n e m pl o y m e nt a gr e e m e nt wit h M s. Wi n st o n i n c o n n e cti o n wit h h er a p p oi nt m e nt a s I nt eri m C E O. T h e
  C o m p e n s ati o n C o m mitt e e e n g a g e d i n a ri g or o u s pr o c e s s t o str u ct ur e t h e t er m s of M s. Wi n st o n’ s e m pl o y m e nt a gr e e m e nt, w hi c h w a s b e n c h m ar k e d
  a g ai n st m ar k et pr a cti c e s wit h r e s p e ct t o c o m p e n s ati o n of i nt eri m c hi ef e x e c uti v e offi c er s at c o m p a ni e s wit h c o m p ar a bl e a n n u al r e v e n u e s a n d i nt e n d e d t o
  r efl e ct t h e u n c ert ai n d ur ati o n of h er s er vi c e i n t hi s r ol e. C o n si st e nt wit h pr a cti c e s at t h e b e n c h m ar k c o m p a ni e s, M s. Wi n st o n’ s e m pl o y m e nt a gr e e m e nt
  pr o vi d e d f or a n a n n u ali z e d b a s e s al ar y of $ 1, 1 0 0, 0 0 0, a n d s h ar e s of ti m e- v e sti n g r e stri ct e d st o c k wit h a gr a nt d at e v al u e of $ 1, 9 0 0, 0 0 0 ( b a s e d o n t h e
  a v er a g e of t h e hi g h a n d l o w p er- s h ar e tr a di n g pri c e of t h e C o m p a n y’ s c o m m o n st o c k o n J u n e 2 8, 2 0 1 9), w hi c h w a s r o u g hl y e q ui v al e nt t o 1 7 0 % of h er
  b a s e s al ar y. D uri n g h er t e n ur e a s i nt eri m C E O, M s. Wi n st o n di d n ot r e c ei v e a n y dir e ct or c o m p e n s ati o n. M s. Wi n st o n’ s e m pl o y m e nt a gr e e m e nt pr o vi d e d
  t h at t h e r e stri ct e d st o c k a w ar d w o ul d v e st i n f ull o n M a y 1 2, 2 0 2 0, or e arli er if M s. Wi n st o n’ s e m pl o y m e nt a s I nt eri m C E O w a s t er mi n at e d b e c a u s e t h e
  C o m p a n y hir e d a p er m a n e nt c hi ef e x e c uti v e offi c er. T h e r e stri ct e d st o c k v e st e d o n N o v e m b er 4, 2 0 1 9, w h e n Mr. Tritt o n w a s a p p oi nt e d Pr e si d e nt a n d
  C E O. M s. Wi n st o n di d n ot r e c ei v e a n y fi s c al 2 0 1 9 P S U a w ar d s.

  F or m er C hi ef Fi n a n ci al Offi c er a n d Tr e a s ur er
  F or fi s c al 2 0 1 9, t h e C o m p e n s ati o n C o m mitt e e k e pt M s. D’ Eli a’ s b a s e s al ar y at t h e s a m e l e v el a s it w a s f or fi s c al 2 0 1 8 aft er s h e w a s pr o m ot e d t o t h e r ol e
  of C F O, or $ 7 5 0, 0 0 0. H o w e v er, si n c e M s. D’ Eli a’ s t ot al c o m p e n s ati o n w a s b el o w t h e m e di a n t ot al c o m p e n s ati o n f or c hi ef fi n a n ci al offi c er s of t h e P e er
  Gr o u p c o m p a ni e s, a n d b e c a u s e of M s. D’ Eli a’ s e x p e ct e d r ol e i n s e v er al str at e gi c b u si n e s s tr a n sf or m ati o n i niti ati v e s, t h e C o m p e n s ati o n C o m mitt e e
  i n cr e a s e d t h e v al u e of M s. D’ Eli a’ s fi s c al 2 0 1 9 e q uit y c o m p e n s ati o n t o $ 1, 5 5 9, 4 6 9 (fr o m $ 4 2 6, 0 2 6 i n fi s c al 2 0 1 8). M s. D’ Eli a’ s e q uit y c o m p e n s ati o n w a s i n
  t h e f or m of s h ort-t er m P S U s ( $ 3 8 9, 8 7 6 t ar g et a m o u nt) a n d l o n g-t er m P S U s ( $ 1, 1 6 9, 5 9 3 t ar g et a m o u nt). T h e s h ort-t er m P S U s di d n ot p a y o ut d u e t o
  C o m p a n y p erf or m a n c e. T h e l o n g-t er m P S U s will p a y o ut o n a pr or at e d b a si s, if at all, f oll o wi n g t h e e n d of t h e fi s c al 2 0 1 9 t hr o u g h fi s c al 2 0 2 1 p erf or m a n c e
  p eri o d, b a s e d o n a ct u al C o m p a n y r e s ult s.

  Ot h er F or m er E x e c uti v e Offi c er s
  T h e c o m p e n s ati o n a n d s e p ar ati o n p a y m e nt s a n d ot h er b e n efit s or p a y m e nt s f or                M e s sr s. T e m ar e s, Ei s e n b er g, a n d F ei n st ei n       w er e r e q uir e d b y
  e m pl o y m e nt a n d ot h er a gr e e m e nt s a p pr o v e d b y a pri or C o m p e n s ati o n C o m mitt e e.

  F O R ME R CE O

  F or t h e p eri o d fr o m M ar c h 3, 2 0 1 9, t o t h e d at e of hi s d e p art ur e a s C E O ( M a y 1 2, 2 0 1 9), Mr. T e m ar e s’ s b a s e s al ar y w a s k e pt at t h e s a m e l e v el a s it w a s
  f or fi s c al 2 0 1 8. Mr. T e m ar e s di d n ot r e c ei v e a fi s c al 2 0 1 9 e q uit y c o m p e n s ati o n a w ar d, b ut h e h a d u n v e st e d e q uit y a w ar d s a n d u n e x er ci s e d st o c k o pti o n s
  fr o m pri or y e ar s. I n c o n n e cti o n wit h hi s d e p art ur e a n d i n a c c or d a n c e wit h t h e t er m s of hi s e m pl o y m e nt a n d e q uit y a w ar d a gr e e m e nt s, Mr. T e m ar e s
  r e c ei v e d c ert ai n s e v er a n c e b e n efit s, i n cl u di n g c a s h s e v er a n c e a n d a c c el er ati o n of e q uit y a w ar d s. F or m or e i nf or m ati o n o n Mr. T e m ar e s’ s e m pl o y m e nt
  a gr e e m e nt a n d s u p pl e m e nt al r etir e m e nt b e n efit s, pl e a s e s e e “ E m pl o y m e nt A gr e e m e nt s a n d P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol
  — E m pl o y m e nt A gr e e m e nt s — E m pl o y m e nt A gr e e m e nt a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h Mr . T e m ar e s” b el o w.

  C O- F O U N D E R A N D C O- C H AI R M E N E M E RI TI T R A N SI TI O N

  O n A pril 2 1, 2 0 1 9, M e s sr s. Ei s e n b er g a n d F ei n st ei n tr a n siti o n e d t o t h e r ol e s of C o- F o u n d er s a n d C o- C h air m e n E m eriti of t h e B o ar d a n d c e a s e d t o b e
  offi c er s of t h e C o m p a n y. A s a r e s ult of t hi s tr a n siti o n, M e s sr s. Ei s e n b er g a n d F ei n st ei n b e c a m e e ntitl e d t o p a y m e nt s a n d b e n efit s di ct at e d b y t h eir
  e m pl o y m e nt a gr e e m e nt s i n t h e e v e nt of a t er mi n ati o n wit h o ut c a u s e. I n a d diti o n, b e c a u s e t h e c urr e nt C o m p e n s ati o n C o m mitt e e wi s h e d t o li mit t h e
  C o m p a n y’ s o n g oi n g r e s p o n si biliti e s u n d er c ert ai n l e g a c y arr a n g e m e nt s a p pr o v e d b y t h e pri or C o m p e n s ati o n C o m mitt e e, o n F e br u ar y 2 6, 2 0 2 0, t h e
  C o m p a n y e nt er e d i nt o a n a gr e e m e nt wit h e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n t o s ettl e cl ai m s r el ati n g t o t h eir c o nti n u e d p arti ci p ati o n i n c ert ai n
  b e n efit s t o w hi c h t h e y cl ai m e d t h e y w o ul d h a v e b e e n e ntitl e d u n d er t h eir e m pl o y m e nt a gr e e m e nt s (t h e “ C o- F o u n d er s ettl e m e nt a gr e e m e nt s”). T h e s e
  b e n efit s i n cl u d e d it e m s s u c h a s p er s o n al c ar s er vi c e a n d c ar all o w a n c e, t a x pr e p ar ati o n s er vi c e s, a n d offi c e a n d a d mi ni str ati v e p er s o n n el a n d s u p p ort.
  T h e s ettl e m e nt a m o u nt s w er e d et er mi n e d b y t h e c urr e nt C o m p e n s ati o n C o m mitt e e i n c o n s ult ati o n wit h it s i n d e p e n d e nt c o u n s el, a n d ar e l o w er t h a n t h e
  a m o u nt s t h at m a y ot h er wi s e h a v e b e e n d u e t o M e s sr s. Ei s e n b er g a n d F ei n st ei n. T h e B o ar d b eli e v e s t h e C o- F o u n d er s ettl e m e nt a gr e e m e nt s w er e i n t h e
  b e st i nt er e st s of t h e C o m p a n y.
                                                                                                                   36
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T a bl e of C o nt e nts

                                                                                                                                                                                         E X E C U TI V E C O M P E N S A TI O N

  F or f urt h er di s c u s si o n of t h e s ettl e m e nt s a n d M e s sr s. Ei s e n b er g’ s a n d F ei n st ei n’ s r e s p e cti v e e m pl o y m e nt a n d s ettl e m e nt a gr e e m e nt s, pl e a s e s e e t h e
  f o ot n ot e s t o t h e S u m m ar y C o m p e n s ati o n T a bl e a n d “ E m pl o y m e nt A gr e e m e nt s a n d P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol —
  E m pl o y m e nt A gr e e m e nt s — E m pl o y m e nt a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h M e s sr s. Ei s e n b er g a n d F ei n st ei n” b el o w .

  Ot h er B e n efit s

  T h e N E O s ar e e ntitl e d t o t h e s a m e b e n efit s off er e d t o all B e d B at h & B e y o n d a s s o ci at e s. T h e c o st of t h e s e b e n efit s c o n stit ut e s a s m all p er c e nt a g e of
  e a c h N E O’ s t ot al c o m p e n s ati o n. K e y b e n efit s i n cl u d e p ai d v a c ati o n, pr e mi u m s p ai d f or l o n g-t er m di s a bilit y i n s ur a n c e, a m at c hi n g c o ntri b uti o n t o t h e
  N E O’ s 4 0 1( k) pl a n a c c o u nt, a n d p a y m e nt of a p orti o n of t h e N E O’ s pr e mi u m s f or h e alt h c ar e a n d b a si c lif e i n s ur a n c e.

  T h e C o m p a n y g e n er all y pr o vi d e s Mr. Tritt o n a n d t h e ot h er m e m b er s of t h e s e ni or e x e c uti v e t e a m wit h c ert ai n p er q ui sit e s, i n cl u di n g a n a ut o m o bil e
  all o w a n c e a n d a n a n n u al fi n a n ci al pl a n ni n g b e n efit. T h e C o m p e n s ati o n C o m mitt e e b eli e v e s s u c h p er q ui sit e s ar e r e a s o n a bl e a n d c o n si st e nt wit h it s
  o v er all o bj e cti v e of attr a cti n g a n d r et ai ni n g t al e nt e d N E O s.

  S e e t h e “ All Ot h er C o m p e n s ati o n” c ol u m n i n t h e S u m m ar y C o m p e n s ati o n T a bl e f or f urt h er i nf or m ati o n r e g ar di n g t h e s e b e n efit s a n d p er q ui sit e s, a n d t h e
  “ P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol” t a bl e f or i nf or m ati o n r e g ar di n g t er mi n ati o n a n d c h a n g e i n c o ntr ol p a y m e nt s a n d b e n efit s.


  D e si g n of 2 0 2 0 E x e c uti v e C o m p e n s ati o n
  C hi ef E x e c uti v e Offi c er

   G oi n g f or w ar d, Mr. Tritt o n’ s c o m p e n s ati o n will b e c o n si st e nt wit h t h e                  C E O T O T A L T A R G E T C O M P E N S A TI O N
   C o m p a n y’ s c o m p e n s ati o n d e si g n pill ar s. S p e cifi c all y, h e will r e c ei v e b a s e
   s al ar y, a s h ort-t er m a n n u al c a s h i n c e nti v e b o n u s o p p ort u nit y, a l o n g-t er m
   e q uit y i n c e nti v e o p p ort u nit y, a n d st a n d ar d b e n efit s. U n d er hi s e m pl o y m e nt
   a gr e e m e nt, f or fi s c al y e ar 2 0 2 0, Mr. Tritt o n i s eli gi bl e t o r e c ei v e a n a n n u al
   b o n u s wit h a t ar g et o p p ort u nit y e q u al t o 1 5 0 % of hi s b a s e s al ar y a n d a
   m a xi m u m o p p ort u nit y of 2 2 5 % of hi s b a s e s al ar y, a s w ell a s a l o n g-t er m
   e q uit y i n c e nti v e a w ar d wit h a t ar g et v al u e at gr a nt of $ 7, 0 0 0, 0 0 0 a n d a
   m a xi m u m v al u e at gr a nt of $ 1 0, 5 0 0, 0 0 0.
   T h e t ar g et a n d m a xi m u m v al u e s f or Mr. Tritt o n’ s l o n g-t er m e q uit y i n c e nti v e
   a w ar d s will b e r e vi e w e d a n d, a s a p pr o pri at e, a dj u st e d a n n u all y b y t h e
   C o m p e n s ati o n C o m mitt e e i n it s s ol e di s cr eti o n f or a w ar d s gr a nt e d aft er fi s c al
   2 0 2 0. A d e s cri pti o n of t h e fi s c al y e ar 2 0 2 0 e q uit y a w ar d s a p pr o v e d b y t h e
   C o m p e n s ati o n C o m mitt e e i n J u n e 2 0 2 0 c a n b e f o u n d i n t h e n e xt s e cti o n.


  S h ort- a n d L o n g- T er m I n c e nti v e C o m p e n s ati o n

  I n J u n e 2 0 2 0, t h e C o m p e n s ati o n C o m mitt e e a p pr o v e d l o n g-t er m i n c e nti v e gr a nt s f or Mr. Tritt o n a n d t h e C o m p a n y’ s ot h er s e ni or e x e c uti v e s, c o n si sti n g of
  a mi x of ti m e- v e st e d R S U s ( w ei g ht e d 7 0 %) a n d p erf or m a n c e- b a s e d P S U s ( w ei g ht e d 3 0 %). T h e ti m e- v e st e d R S U s will cliff v e st o n t h e t hir d a n ni v er s ar y
  of t h e d at e of gr a nt, g e n er all y s u bj e ct t o t h e e x e c uti v e’ s c o nti n u e d e m pl o y m e nt t hr o u g h s u c h d at e. T h e P S U s f or fi s c al 2 0 2 0 will b e e ar n e d b a s e d 1 0 0 %
  o n a r el ati v e t hr e e- y e ar T S R g o al a g ai n st t h e P e er Gr o u p d e s cri b e d a b o v e. I n a d diti o n, c o n si st e nt wit h t h e 2 0 1 9 P S U a w ar d s, t h e 2 0 2 0 P S U a w ar d s ar e
  s u bj e ct t o a T S R “ R e g ul at or” t h at c a p s t h e P S U a w ar d p a y o ut s at 1 0 0 % of t h e t ar g et if t h e C o m p a n y’ s T S R o v er t h e p erf or m a n c e p eri o d i s n e g ati v e.
                                                                                                                 37
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

  I n d et er mi ni n g t h e s plit b et w e e n P S U s a n d R S U s, t h e C o m p e n s ati o n C o m mitt e e c o n si d er e d: t h e C o m p a n y’ s o v er all b u si n e s s tr a n sf or m ati o n eff ort s,
  w hi c h ar e t a ki n g pl a c e i n a c h all e n gi n g a n d v ol atil e e n vir o n m e nt t h at h a s cr e at e d m a n y u n c ert ai nti e s; t h e n e e d t o i n c e nti vi z e r et e nti o n of o ur br a n d- n e w
  s e ni or e x e c uti v e t e a m; a n d t h e g o al of ali g ni n g e x e c uti v e a n d s h ar e h ol d er i nt er e st s. F oll o wi n g a d et ail e d a n al y si s a n d r o b u st di s c u s si o n, t h e
  C o m p e n s ati o n C o m mitt e e d et er mi n e d t o gr a nt, s ol el y wit h r e s p e ct t o fi s c al 2 0 2 0, a gr e at er p orti o n of t h e l o n g-t er m i n c e nti v e a s ti m e- v e st e d R S U s, t h e
  r e ali z e d v al u e of w hi c h, a s wit h t h e P S U s t h at ar e li n k e d t o r el ati v e T S R, will ulti m at el y d e p e n d o n t h e C o m p a n y’ s st o c k pri c e p erf or m a n c e at t h e e n d of
  t h e t hr e e- y e ar v e sti n g p eri o d. T h e C o m p e n s ati o n C o m mitt e e i nt e n d s t o s hift a m aj orit y of t h e l o n g-t er m i n c e nti v e gr a nt mi x b a c k t o p erf or m a n c e- b a s e d
  a w ar d s i n f ut ur e fi s c al y e ar s. A s p art of t h e o v er all r e str u ct uri n g of o ur e x e c uti v e c o m p e n s ati o n pr o gr a m, a s d e s cri b e d a b o v e, t h e C o m p e n s ati o n
  C o m mitt e e al s o a nti ci p at e s t h at it will p ut i n pl a c e a s h ort-t er m c a s h i n c e nti v e pl a n f or fi s c al y e ar 2 0 2 0, i n w hi c h Mr. Tritt o n a n d t h e C o m p a n y’ s ot h er
  s e ni or e x e c uti v e s will b e eli gi bl e t o p arti ci p at e.

  T e m p or ar y E x e c uti v e S al ar y R e d u cti o n s

  O n A pril 2, 2 0 2 0, B e d B at h & B e y o n d a n n o u n c e d t h at, i n li g ht of t h e u n c ert ai nt y c a u s e d b y t h e C O VI D- 1 9 p a n d e mi c, o ur C E O a n d hi s dir e ct r e p ort s,
  i n cl u di n g t h e ot h er e x e c uti v e s t h e n i n offi c e, a gr e e d t o a 3 0 % t e m p or ar y r e d u cti o n i n t h eir b a s e s al ari e s eff e cti v e wit h t h e p a yr oll p eri o d c o m m e n ci n g
  A pril 5, 2 0 2 0, a n d c o nti n ui n g u ntil M a y 1 6, 2 0 2 0.

  T h e s al ar y r e d u cti o n s will n ot m o dif y ri g ht s u n d er a n y a p pli c a bl e a gr e e m e nt s b et w e e n a n e x e c uti v e a n d t h e C o m p a n y wit h r e s p e ct t o t h e c al c ul ati o n of
  a n n u al or l o n g-t er m i n c e nti v e a w ar d s or s e v er a n c e. A d diti o n all y, e a c h e x e c uti v e a gr e e d t h at t h e s al ar y r e d u cti o n w o ul d n ot c o n stit ut e “ g o o d r e a s o n,”
  “ c o n str u cti v e t er mi n ati o n,” or br e a c h u n d er a n y a gr e e m e nt b et w e e n t h e e x e c uti v e a n d t h e C o m p a n y, a n d will n ot c o nf er or tri g g er a n y a d diti o n al ri g ht s or
  e ntitl e m e nt s f or t h e e x e c uti v e s fr o m t h e C o m p a n y or a n y of it s af fili at e s.


  A d diti o n al C o m p e n s ati o n I nf or m ati o n
  I m p a ct of A c c o u nti n g a n d T a x C o n si d er ati o n s

  T h e C o m p e n s ati o n C o m mitt e e c o n si d er s v ari o u s a c c o u nti n g a n d t a x i m pli c ati o n s of e q uit y- b a s e d a n d ot h er c o m p e n s ati o n.

  W h e n d et er mi ni n g t h e a m o u nt s of e q uit y- b a s e d a w ar d s t o b e gr a nt e d, t h e C o m p e n s ati o n C o m mitt e e e x a mi n e s t h e a c c o u nti n g c o st a s s o ci at e d wit h t h e
  gr a nt s. U n d er A S C 7 1 8, gr a nt s of st o c k o pti o n s, p erf or m a n c e st o c k u nit s, a n d ot h er e q uit y- b a s e d a w ar d s r e s ult i n a n a c c o u nti n g c h ar g e f or t h e C o m p a n y
  e q u al t o t h e f air v al u e of t h e a w ar d s b ei n g i s s u e d.

  S e cti o n 1 6 2( m) of t h e I nt er n al R e v e n u e C o d e of 1 9 8 6, a s a m e n d e d (t h e “ C o d e”), g e n er all y di s all o w s a f e d er al i n c o m e t a x d e d u cti o n f or c o m p e n s ati o n i n
  e x c e s s of $ 1 milli o n i n a n y t a x a bl e y e ar p ai d t o c ert ai n c o v er e d e x e c uti v e offi c er s. T h er e i s li mit e d tr a n siti o n al r eli ef f or “ q u alifi e d p erf or m a n c e- b a s e d
  c o m p e n s ati o n” a n d c ert ai n ot h er it e m s of c o m p e n s ati o n t h at w er e i n pl a c e b ef or e N o v e m b er 2, 2 0 1 7. W hil e t h e C o m p e n s ati o n C o m mitt e e g e n er all y
  c o n si d er s t hi s li mit w h e n d et er mi ni n g e x e c uti v e c o m p e n s ati o n, t h e C o m p e n s ati o n C o m mitt e e r e s er v e s t h e di s cr eti o n t o d e ci d e t h at it i s a p pr o pri at e t o
  e x c e e d t h e li mit ati o n o n d e d u cti bilit y s o w e h a v e t h e fl e xi bilit y t o attr a ct a n d r et ai n t al e nt e d e x e c uti v e s a n d t o e n s ur e t h o s e e x e c uti v e s ar e c o m p e n s at e d i n
  a m a n n er t h at i s c o n si st e nt wit h t h e b e st i nt er e st s of t h e C o m p a n y a n d o ur s h ar e h ol d er s. I nt er pr et ati o n s of a n d c h a n g e s i n t h e t a x l a w s, a n d ot h er f a ct or s
  b e y o n d t h e C o m p e n s ati o n C o m mitt e e’ s c o ntr ol, al s o m a y aff e ct t h e d e d u cti bilit y of c o m p e n s ati o n.

  P oli c y o n t h e R e c o v er y of I n c e nti v e C o m p e n s ati o n

  T h e C o m p a n y’ s C or p or at e G o v er n a n c e G ui d eli n e s i n cl u d e a p oli c y r e g ar di n g t h e r e c o v er y of i n c e nti v e c o m p e n s ati o n, c o m m o nl y r ef err e d t o a s a
  “ cl a w b a c k p oli c y,” a p pli c a bl e t o t h e N E O s. T h e cl a w b a c k p oli c y g e n er all y pr o vi d e s t h at t h e C o m p a n y will s e e k t o r e c o u p i n c e nti v e c o m p e n s ati o n p ai d or
  a w ar d e d t o a n a m e d e x e c uti v e offi c er, w h er e (i) t h e p a y m e nt or v e sti n g of t h e c o m p e n s ati o n w a s pr e di c at e d u p o n t h e a c hi e v e m e nt of fi n a n ci al r e s ult s,
  w hi c h r e s ult s w er e t h e pr o d u ct of fr a u d ul e nt a cti vit y or w er e s u b s e q u e ntl y t h e s u bj e ct of a m at eri al n e g ati v e r e st at e m e nt, (ii) i n t h e B o ar d’ s vi e w, t h e
  e x e c uti v e e n g a g e d i n a cti vit y t h at m a k e s hi m or h er p er s o n all y r e s p o n si bl e f or t h e fr a u d or n e e d f or r e st at e m e nt, a n d (iii) a l o w er p a y m e nt ( or l e s s er or n o
  v e sti n g) w o ul d h a v e o c c urr e d b a s e d o n t h e r e st at e d r e s ult s or a b s e nt t h e fr a u d ul e nt a cti vit y .
                                                                                                                      38
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T a bl e of C o nt e nts

                                                                                                                                                                                          E X E C U TI V E C O M P E N S A TI O N

  T h e f ull p oli c y a p p e ar s i n t h e C o m p a n y’ s C or p or at e G o v er n a n c e G ui d eli n e s, w hi c h ar e a v ail a bl e i n t h e G o v er n a n c e D o c u m e nt s s e cti o n of t h e C o m p a n y’ s
  I n v e st or R el ati o n s w e b sit e a v ail a bl e at w w w. b e d b at h a n d b e y o n d. c o m. T h e C o m p e n s ati o n C o m mitt e e c o nti n u e s t o m o nit or t h e i s s u a n c e of r e g ul ati o n s
  u n d er t h e D o d d- Fr a n k W all Str e et R ef or m a n d C o n s u m er Pr ot e cti o n A ct r el ati n g t o i n c e nti v e c o m p e n s ati o n r e c o u p m e nt, a n d will a m e n d t h e C o m p a n y’ s
  cl a w b a c k p oli c y t o t h e e xt e nt n e c e s s ar y t o c o m pl y wit h a n y s u c h r e g ul ati o n s.


  A nti- H e d gi n g a n d A nti- Pl e d gi n g P oli ci e s

  W e d o n ot p er mit e x e c uti v e offi c er s t o h e d g e t h e C o m p a n y’ s s e c uriti e s, a n d w e r e stri ct t h eir a bilit y t o pl e d g e t h e C o m p a n y’ s s e c uriti e s. A d diti o n al d et ail
  r e g ar di n g t h e C o m p a n y’ s a nti- h e d gi n g a n d pl e d gi n g p oli ci e s c a n b e f o u n d a b o v e u n d er t h e h e a di n g “ A nti- H e d gi n g a n d A nti- Pl e d gi n g P oli ci e s .”


  C o m p e n s ati o n Ri s k A s s e s s m e nt

  I n M a y 2 0 2 0, t h e C o m p e n s ati o n C o m mitt e e p erf or m e d a ri s k a s s e s s m e nt of o ur c o m p e n s ati o n pr o gr a m s, w hi c h i n cl u d e d a n a n al y si s of t h e ri s k
  a s s o ci at e d wit h t h e C o m p a n y’ s e x e c uti v e c o m p e n s ati o n pr o gr a m c o n d u ct e d b y M eri di a n. I n it s r e vi e w, t h e C o m p e n s ati o n C o m mitt e e c o n si d er e d t h e
  b al a n c e b et w e e n p a y c o m p o n e nt s, m e a s ur e s of p erf or m a n c e, m a g nit u d e of p a y, p a y c a p s, pl a n ti m e h ori z o n s a n d o v erl a p pi n g p erf or m a n c e c y cl e s,
  pr o gr a m d e si g n a n d a d mi ni str ati o n, a n d ot h er f e at ur e s t h at ar e d e si g n e d t o miti g at e ri s k ( s u c h a s st o c k o w n er s hi p g ui d eli n e s a n d a cl a w b a c k p oli c y).
  F oll o wi n g it s r e vi e w, t h e C o m p e n s ati o n C o m mitt e e d et er mi n e d t h at t h e C o m p a n y’ s c o m p e n s ati o n pr a cti c e s a n d p oli ci e s d o n ot cr e at e ri s k s t h at ar e
  r e a s o n a bl y li k el y t o h a v e a m at eri al a d v er s e eff e ct o n t h e C o m p a n y.

  E x e c uti v e St o c k O w n er s hi p G ui d eli n e s

  Pri or t o J u n e 2 0 2 0, w e r e q uir e d t h e C E O t o o w n B e d B at h & B e y o n d st o c k wit h a v al u e of at l e a st $ 6, 0 0 0, 0 0 0 ( or a s p e cifi e d n u m b er of s h ar e s) wit hi n fi v e
  y e ar s aft er a s s u mi n g t h e p o siti o n. If t hi s o w n er s hi p l e v el w a s n ot att ai n e d wit hi n t h e fi v e- y e ar p eri o d, t h e C E O w a s r e q uir e d t o h ol d 5 0 % of t h e n et
  aft er-t a x s h ar e s h e or s h e r e c ei v e d i n c o n n e cti o n wit h t h e v e sti n g of a n y e q uit y a w ar d s u ntil t h e r e q uir e m e nt s w er e m et.

  I n J u n e 2 0 2 0, b a s e d o n i n p ut a n d r e c o m m e n d ati o n s fr o m M eri di a n, a n d u p o n t h e r e c o m m e n d ati o n of t h e C o m p e n s ati o n C o m mitt e e a n d t h e N o mi n ati n g
  a n d C or p or at e G o v er n a n c e C o m mitt e e, t h e B o ar d a p pr o v e d t h e f oll o wi n g e n h a n c e m e nt s t o o ur st o c k o w n er s hi p g ui d eli n e s:
  ∎ all dir e ct r e p ort s t o t h e C E O will b e s u bj e ct t o o w n er s hi p g ui d eli n e s;
  ∎ t h e g ui d eli n e s will b e b a s e d o n m ulti pl e s of s al ar y, v ar yi n g b y r ol e, a s f oll o w s:

  MI NI M U M S T O C K O W N E R S HI P R E Q UI R E M E N T

      6X                                                                                  3X                                                                                 2X
     B ASE S AL A RY                                                                      B ASE S AL A RY                                                                    B ASE S AL A RY
     CE O                                                                                 C hi ef Fi n a n ci al Offi c er                                                   C hi ef L e g al Offi c er
                                                                                          C hi ef O p er ati n g Offi c er                                                   C hi ef H u m a n
                                                                                          C hi ef M er c h a n di si n g Offi c er                                             R e s o ur c e s Offi c er
                                                                                          C hi ef St or e s Offi c er
                                                                                          C hi ef Di git al Offi c er
                                                                                          C hi ef M ar k eti n g Offi c er
  ∎ All c o v er e d i n di vi d u al s m u st h ol d 5 0 % of t h e n et aft er-t a x s h ar e s t h e y r e c ei v e i n c o n n e cti o n wit h e q uit y a w ar d s u ntil t h eir o w n er s hi p r e q uir e m e nt i s m et;
  and
  ∎ T h e pri c e u s e d t o d et er mi n e c o m pli a n c e wit h t h e g ui d eli n e s will b e t h e 2 0- d a y tr a di n g a v er a g e at e a c h fi s c al y e ar- e n d.

  T h e C o m p e n s ati o n C o m mitt e e b eli e v e s t h e s e e x p a n d e d s h ar e o w n er s hi p g ui d eli n e s ar e b ett er ali g n e d wit h o v er all m ar k et pr a cti c e s a n d will e n h a n c e t h e
  ti e s of o ur e x e c uti v e s t o s h ar e h ol d er i nt er e st s.
                                                                                                                 39
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

  I N F O R M A TI O N A B O U T O U R E X E C U TI V E O F FI C E R S

  S et f ort h b el o w i s i nf or m ati o n c o n c er ni n g i n di vi d u al s w h o w er e o ur e x e c uti v e of fi c er s a s of J u n e 5, 2 0 2 0.

   Na me                                                                 Age          P o siti o n
   M ar k J. Tritt o n                                                   56           Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er a n d Dir e ct or
   G u st a v o Ar n al                                                  50           E x e c uti v e Vi c e Pr e si d e nt, C hi ef Fi n a n ci al Offi c er a n d Tr e a s ur er
   Ci n d y D a vi s                                                     61           E x e c uti v e Vi c e Pr e si d e nt, C hi ef Br a n d Offi c er of t h e C o m p a n y, a n d Pr e si d e nt, D e c ori st, L L C
   J o h n H art m a n n                                                 56           E x e c uti v e Vi c e Pr e si d e nt, C hi ef O p er ati n g Offi c er of t h e C o m p a n y, a n d Pr e si d e nt, b u y b u y B A B Y,
                                                                                      I n c.
   J o e H art si g                                                      56           E x e c uti v e Vi c e Pr e si d e nt a n d C hi ef M er c h a n di si n g Offi c er of t h e C o m p a n y, a n d Pr e si d e nt,
                                                                                      H ar m o n St or e s I n c.
   Arl e n e H o n g                                                     51           E x e c uti v e Vi c e Pr e si d e nt, C hi ef L e g al Offi c er a n d C or p or at e S e cr et ar y
   R af e h M a s o o d                                                  41           E x e c uti v e Vi c e Pr e si d e nt, C hi ef Di git al Offi c er
   Gr e g g M el ni c k                                                  50           E x e c uti v e Vi c e Pr e si d e nt, C hi ef St or e s Offi c er

  M ar k J. Tritt o n h a s s er v e d a s Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er of t h e C o m p a n y a n d a s a dir e ct or si n c e N o v e m b er of 2 0 1 9. Mr. Tritt o n’ s bi o gr a p h y
  a n d w or k hi st or y i s s et f ort h a b o v e u n d er “ O ur Dir e ct or s.”
  G u st a v o Ar n al j oi n e d t h e C o m p a n y a s E x e c uti v e Vi c e Pr e si d e nt, C hi ef Fi n a n ci al Offi c er a n d Tr e a s ur er i n M a y 2 0 2 0. Pri or t o j oi ni n g t h e C o m p a n y,
  Mr. Ar n al s er v e d a s Gr o u p C F O of A v o n fr o m 2 0 1 9 t o 2 0 2 0, a n d a s C F O, I nt er n ati o n al Di vi si o n s a n d Gl o b al F u n cti o n s of W al gr e e n s B o ot s Alli a n c e fr o m
  2 0 1 7 t o 2 0 1 8. Pri or t o W al gr e e n s B o ot s Alli a n c e, Mr. Ar n al w or k e d at Pr o ct er & G a m bl e f or o v er t w e nt y y e ar s, wit h s e ni or p o siti o n s i n cl u di n g C F O I n di a,
  Mi d dl e E a st a n d Afri c a, a n d C F O Gl o b al F a bri c & H o m e C ar e.
  Ci n d y D a vi s j oi n e d t h e C o m p a n y a s E x e c uti v e Vi c e Pr e si d e nt a n d C hi ef Br a n d Offi c er of t h e C o m p a n y a n d Pr e si d e nt of D e c ori st, L L C i n M a y 2 0 2 0. Pri or
  t o j oi ni n g t h e C o m p a n y, M s. D a vi s s er v e d a s E V P a n d C hi ef Di git al M ar k eti n g Offi c er of L Br a n d s fr o m 2 0 1 8 t o 2 0 2 0 a n d a s E V P, C o n s u m er E x p eri e n c e
  of Di s n e y A B C T el e vi si o n Gr o u p at T h e W alt Di s n e y C o m p a n y fr o m 2 0 1 5 t o 2 0 1 8.
  J o h n H art m a n n j oi n e d t h e C o m p a n y a s E x e c uti v e Vi c e Pr e si d e nt, C hi ef O p er ati n g Offi c er of t h e C o m p a n y a n d Pr e si d e nt of b u y b u y B A B Y, I n c. i n M a y
  2 0 2 0. Pri or t o j oi ni n g t h e C o m p a n y, Mr. H art m a n n s er v e d a s Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er of Tr u e V al u e C o m p a n y fr o m 2 0 1 3 t o 2 0 2 0.
  J o e H art si g j oi n e d t h e C o m p a n y a s E x e c uti v e Vi c e Pr e si d e nt, C hi ef M er c h a n di si n g Offi c er of t h e C o m p a n y a n d Pr e si d e nt of H ar m o n St or e s I n c. i n M ar c h
  2 0 2 0. Pri or t o j oi ni n g t h e C o m p a n y, Mr. H art si g s er v e d a s C hi ef M er c h a n di si n g Offi c er of W al gr e e n s B o ot s Alli a n c e fr o m 2 0 1 6 t o 2 0 2 0, a s H e a d of
  M ar k eti n g a n d Di git al C o m m er c e at W al gr e e n s B o ot s Alli a n c e fr o m 2 0 1 5 t o 2 0 1 6 a n d a s C hi ef M er c h a n di si n g a n d M ar k eti n g Offi c er at E s s e n d a nt fr o m
  2 0 1 3 t o 2 0 1 5.
  Arl e n e H o n g j oi n e d t h e C o m p a n y a s E x e c uti v e Vi c e Pr e si d e nt, C hi ef L e g al Offi c er a n d C or p or at e S e cr et ar y i n M a y 2 0 2 0. Pri or t o j oi ni n g t h e C o m p a n y,
  M s. H o n g s er v e d a s S e ni or Vi c e Pr e si d e nt, C hi ef L e g al Offi c er a n d C or p or at e S e cr et ar y of F U L L B E A U T Y Br a n d s fr o m 2 0 1 8 t o 2 0 2 0. Pri or t o t h at, s h e
  s er v e d i n t w o s e p ar at e r ol e s at A m a z o n fr o m 2 0 1 4 t o 2 0 1 8, fir st a s G e n er al C o u n s el of Q ui d si, A m a z o n’ s l ar g e st r et ail s u b si di ar y, a n d s u b s e q u e ntl y a s
  S e ni or C or p or at e C o u n s el f or A m a z o n’ s N A S oftli n e s b u si n e s s.
  R af e h M a s o o d j oi n e d t h e C o m p a n y a s E x e c uti v e Vi c e Pr e si d e nt, C hi ef Di git al Offi c er i n M a y 2 0 2 0. Pri or t o j oi ni n g t h e C o m p a n y, Mr. M a s o o d s er v e d a s
  C hi ef Di git al Offi c er of B J’ s W h ol e s al e Cl u b fr o m 2 0 1 7 t o 2 0 2 0 a n d a s Vi c e Pr e si d e nt, C u st o m er I n n o v ati o n T e c h n ol o g y at Di c k’ s S p orti n g G o o d s fr o m
  2 0 1 3 t o 2 0 1 7.
  Gr e g g M el ni c k h a s b e e n E x e c uti v e Vi c e Pr e si d e nt, C hi ef St or e s Offi c er si n c e M a y 2 0 2 0. Mr. M el ni c k s er v e d a s i nt eri m C hi ef Di git al Offi c er of t h e
  C o m p a n y fr o m D e c e m b er 2 0 1 9 t o M a y 2 0 2 0 a n d a s C hi ef O p er ati o n s Offi c er, Di git al fr o m 2 0 1 8 t o 2 0 1 9. Pri or t o j oi ni n g t h e C o m p a n y i n 2 0 1 8,
  Mr. M el ni c k w a s Pr e si d e nt of P art y Cit y H ol di n g s fr o m 2 0 1 4 t o 2 0 1 8.
                                                                                                                  40
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T a bl e of C o nt e nts

                                                                                                                                                                                                                             E X E C U TI V E C O M P E N S A TI O N

  C O M P E N S A TI O N T A B L E S

                                                                            S U M M A R Y C O M P E N S A TI O N T A B L E F O R FI S C A L 2 0 1 9,
                                                                                          FI S C A L 2 0 1 8 A N D FI S C A L 2 0 1 7

  T h e f oll o wi n g t a bl e s et s f ort h i nf or m ati o n c o n c er ni n g t h e c o m p e n s ati o n of t h e C o m p a n y’ s N E O s f or t h e l a st t hr e e c o m pl et e d fi s c al y e ar s ( e x c e pt wit h
  r e g ar d t o Mr. Tritt o n a n d M s. Wi n st o n, w h o w er e n ot N E O s f or fi s c al 2 0 1 7 or fi s c al 2 0 1 8 a n d c o n s e q u e ntl y, h a v e i nf or m ati o n i n cl u d e d f or fi s c al y e ar 2 0 1 9
  o nl y, a n d M e s sr s. Ei s e n b er g a n d F ei n st ei n a n d M s. D’ Eli a, w h o w er e n ot N E O s f or fi s c al 2 0 1 7 a n d, c o n s e q u e ntl y, h a v e i nf or m ati o n i n cl u d e d f or fi s c al
  y e ar s 2 0 1 9 a n d 2 0 1 8 o nl y).

                                                                                                                                                                                                    Changein
                                                                                                                                                                                                 P e n si o n V al u e
                                                                                                                                                                                                          and
                                                                                                                                                                                                  N o n q u alifi e d
                                                                                                                                                   O pti o n              N o n- E q uit y            D ef err e d
                                                                                                                              St o c k           A w ar d s ( 2)       I n c e nti v e Pl a n    C o m p e n s ati o n             All Ot h er
     N a m e a n d Pri n ci p al                                         Fi s c al     S al ar y ( 1)      Bonus          A w ar d s ( 2)( 3)         ( 3)             C o m p e n s ati o n         E ar ni n g s           C o m p e n s ati o n ( 1 7)       T ot al
     P o siti o n                                                         Y e ar            ( $)             ( $)                ( $)                 ( $)                       ( $)                      ( $)                         ( $)                      ( $)
   M ar k J. Tritt o n ( 4)( 5)                                            2019           3 4 6, 1 5 4     3 7 5, 0 0 0     1 1, 6 3 2, 1 9 9                      —             7 5 0, 0 0 0                            —                  6 6 1, 0 4 5    1 3, 7 6 4, 3 9 8
   Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er
   M ar y A. Wi n st o n ( 6)( 7)                                          2019           5 3 3, 0 8 1                        1, 8 9 9, 9 9 5                      —                         —                           —                    4 6, 9 3 0      2, 4 8 0, 0 0 6
   F or m er I nt eri m C hi ef E x e c uti v e Offi c er a n d
   Dir e ct or
   W arr e n Ei s e n b er g ( 8)( 9)                                     2019           1 8 1, 2 3 1                                    —                   —                           —                         —                    5, 6 8 6, 7 3 4      5, 8 6 7, 9 6 5
   C o- C h air m a n E m erit u s a n d C o- F o u n d er
                                                                          2018           6 0 2, 0 9 8                        1, 0 0 0, 0 0 3                 —                           —                                                 2 8 9, 3 3 2      1, 8 9 1, 4 3 3
   L e o n ar d F ei n st ei n ( 1 0)( 1 1)                               2019           1 8 1, 2 3 1                                    —                   —                           —                         —                    6, 9 7 5, 1 2 3      7, 1 5 6, 3 5 4
   C o- C h air m a n E m erit u s a n d C o- F o u n d er
                                                                          2018           6 0 2, 0 9 8                        1, 0 0 0, 0 0 3                 —                           —                         —                       3 8 6, 0 4 3       1, 9 8 8, 1 4 4
   St e v e n H. T e m ar e s ( 1 2)( 1 3)( 1 4)( 1 5)                    2019           9 4 2, 8 7 0                                    —                   —                           —             9, 6 8 9, 0 1 7                  3, 6 1 3, 4 0 1     1 4, 2 4 5, 2 8 8
   F or m er C hi ef E x e c uti v e Offi c er
                                                                          2018        3, 5 8 2, 8 8 5                        7, 5 3 0, 7 4 7       8 3 6, 4 1 5                          —                ( 3 0, 8 5 8 )                   2 2 7, 7 6 5     1 2, 1 4 6, 9 5 4
                                                                          2017        3, 9 6 7, 5 0 0                        8, 9 4 7, 2 9 8     1, 6 3 6, 4 1 5                         —                ( 6 9, 7 3 2 )                   1 2 3, 5 6 1     1 4, 6 0 5, 0 4 2
   R o b y n M. D’ Eli a ( 1 6)                                           2019           7 5 0, 0 0 0                        1, 5 5 9, 4 6 9                 —                           —                         —                         2 4, 9 3 7       2, 3 3 4, 4 0 6
   F or m er C hi ef Fi n a n ci al Offi c er a n d Tr e a s ur er
                                                                           2018            6 5 3, 9 0 0                       4 2 5, 0 2 6             —                                                 —                      1 0, 7 7 0     1, 0 8 9, 6 9 6
  ( 1)       E x c e pt a s ot h er wi s e d e s cri b e d i n t hi s S u m m ar y C o m p e n s ati o n T a bl e, s al ari e s t o N E O s w er e p ai d i n c a s h i n fi s c al 2 0 1 9, fi s c al 2 0 1 8 a n d fi s c al 2 0 1 7, a n d i n cr e a s e s i n
            s al ar y, if a n y, w er e eff e cti v e i n M a y of t h e fi s c al y e ar.
  ( 2)       T h e v al u e of st o c k a w ar d s a n d o pti o n a w ar d s r e pr e s e nt s t h eir r e s p e cti v e t ot al f air v al u e o n t h e d at e of gr a nt c al c ul at e d i n a c c or d a n c e wit h A S C 7 1 8, wit h o ut r e g ar d t o
            t h e e sti m at e d f orf eit ur e r el at e d t o s er vi c e- b a s e d v e sti n g c o n diti o n s. All a s s u m pti o n s m a d e i n t h e v al u ati o n s ar e c o nt ai n e d a n d d e s cri b e d i n N ot e 1 4 t o t h e C o m p a n y’ s
            fi n a n ci al st at e m e nt s i n t h e C o m p a n y’ s F or m 1 0- K f or fi s c al 2 0 1 9. St o c k a w ar d s a n d o pti o n a w ar d s ar e r o u n d e d u p t o t h e n e ar e st w h ol e s h ar e w h e n c o n v ert e d fr o m
            d oll ar s t o s h ar e s. T h e a m o u nt s s h o w n i n t h e t a bl e r efl e ct t h e t ot al f air v al u e o n t h e d at e of gr a nt a n d d o n ot n e c e s s aril y r efl e ct t h e a ct u al v al u e, if a n y, t h at m a y b e
            r e ali z e d b y t h e N E O s. T h e v al u e of Mr. T e m ar e s’ 2 0 1 8 a n d 2 0 1 7 P S U a w ar d s h a s b e e n r e d u c e d t o r efl e ct a di s c o u nt a p pli e d b y virt u e of a t w o- y e ar p o st- v e sti n g
            h ol di n g p eri o d.
  ( 3)       T h e v al u e of st o c k a w ar d s c o n si st s of (i) P S U a n d R S U a w ar d s gr a nt e d i n fi s c al 2 0 1 9 t o Mr. Tritt o n a s a n i n d u c e m e nt m at eri al t o hi s e nt eri n g i nt o a n e m pl o y m e nt
            a gr e e m e nt a n d c o m m e n ci n g e m pl o y m e nt wit h t h e C o m p a n y, (ii) a r e stri ct e d st o c k a w ar d gr a nt e d t o M s. Wi n st o n i n fi s c al 2 0 1 9, (iii) P S U a w ar d s gr a nt e d i n fi s c al 2 0 1 9
            a n d P S U a n d r e stri ct e d st o c k a w ar d s gr a nt e d i n fi s c al 2 0 1 8 t o M s. D’ Eli a, a n d (i v) P S U a w ar d s gr a nt e d i n fi s c al 2 0 1 8 a n d 2 0 1 7 t o M e s sr s. Ei s e n b er g, F ei n st ei n, a n d
            T e m ar e s. Pl e a s e s e e C o m p e n s ati o n Di s c u s si o n a n d A n al y si s f or a d e s cri pti o n of t h e P S U a w ar d s. T h e o n e- y e ar p erf or m a n c e- b a s e d t e st f or fi s c al 2 0 1 9 w a s m et at
            2 8. 5 1 % of t ar g et (r e s ulti n g i n a p a y o ut of 0. 0 0 % of t ar g et), t h e o n e- y e ar p erf or m a n c e- b a s e d t e st f or fi s c al 2 0 1 8 w a s m et at 4 6. 7 8 % of t ar g et (r e s ulti n g i n a p a y o ut of
            2 5 % of t ar g et u si n g t h e c orr e ct 2 0 1 8 p e er gr o u p), a n d t h e o n e- y e ar p erf or m a n c e- b a s e d t e st f or fi s c al 2 0 1 7 w a s m et at t h e 1 1 1. 9 7 % t ar g et (r e s ulti n g i n a p a y o ut of
            1 0 0 % of t ar g et). T h e t hr e e- y e ar E BI T p erf or m a n c e- b a s e d t e st f or fi s c al 2 0 1 7 w a s m et at 6 9. 0 7 % t ar g et (r e s ulti n g i n a p a y o ut of 7 5 % of t ar g et) a n d t h e t hr e e- y e ar
            R OI C p erf or m a n c e- b a s e d t e st f or fi s c al 2 0 1 7 w a s m et at 7 6. 9 3 % t ar g et (r e s ulti n g i n a p a y o ut of 9 0 % of t ar g et). T h e f air v al u e of t h e P S U a w ar d s i s r e p ort e d at 1 0 0 %
            of t ar g et, w hi c h i s t h e e sti m at e d o ut c o m e of p erf or m a n c e c o n diti o n s a s s o ci at e d wit h t h e P S U a w ar d s o n t h e gr a nt d at e. If t h e C o m p a n y a c hi e v e s t h e hi g h e st l e v el of
            p erf or m a n c e f or t h e P S U a w ar d s, t h e n t h e f air v al u e of t h e P S U a w ar d s gr a nt e d i n fi s c al 2 0 1 9 w o ul d b e $ 2, 3 3 9, 2 2 1 f or M s. D’ Eli a. T h e p erf or m a n c e m etri c s f or Mr.
            Tritt o n’ s P S U a w ar d s gr a nt e d i n fi s c al 2 0 1 9 d o n ot pr o vi d e f or p erf or m a n c e a b o v e 1 0 0 % of t h e t ar g et. T h e v e sti n g of t h e R S U a w ar d s gr a nt e d t o Mr. Tritt o n i n fi s c al
            2 0 1 9 i s b a s e d s ol el y o n ti m e v e sti n g. T h e v e sti n g of t h e r e stri ct e d st o c k a w ar d s gr a nt e d t o M s. Wi n st o n i n fi s c al 2 0 1 9 w a s b a s e d s ol el y o n ti m e v e sti n g, a n d v e st e d
            f ull y i n c o n n e cti o n wit h M s. Wi n st o n st e p pi n g
                                                                                                                                 41
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

           d o w n a s t h e I nt eri m C hi ef E x e c uti v e Offi c er u p o n Mr. Tritt o n’ s c o m m e n c e m e nt of e m pl o y m e nt wit h t h e C o m p a n y, eff e cti v e a s of N o v e m b er 4, 2 0 1 9. T h e v al u e of P S U
           a w ar d s gr a nt e d i n fi s c al 2 0 1 8 t o M e s sr s. Ei s e n b er g, F ei n st ei n a n d T e m ar e s d o e s n ot r efl e ct a r e d u cti o n of P S U s gr a nt e d i n 2 0 1 8 s u bj e ct t o t hr e e- y e ar g o al s, a s
           d e s cri b e d b el o w u n d er “ P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol — E m pl o y m e nt A gr e e m e nt s a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h M e s sr s.
           Ei s e n b er g a n d F ei n st ei n” a n d “ — E m pl o y m e nt A gr e e m e nt a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h Mr. T e m ar e s”. T h e v al u e of P S U a w ar d s gr a nt e d i n fi s c al 2 0 1 9
           t o M s. D’ Eli a d o e s n ot r efl e ct a r e d u cti o n of P S U s gr a nt e d i n 2 0 1 9, a s d e s cri b e d b el o w u n d er “ P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol —
           E m pl o y m e nt A gr e e m e nt a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h M s. D’ Eli a”.
  ( 4)       Mr. Tritt o n c o m m e n c e d e m pl o y m e nt a s t h e Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er of t h e C o m p a n y, eff e cti v e a s of N o v e m b er 4, 2 0 1 9. T h e a m o u nt of b a s e s al ar y p ai d
           t o Mr. Tritt o n d uri n g fi s c al 2 0 1 9 r efl e ct s t h e p orti o n of hi s a n n u al b a s e s al ar y of $ 1, 2 0 0, 0 0 0 t h at w a s p ai d d uri n g fi s c al 2 0 1 9. Wit h r e s p e ct t o fi s c al 2 0 1 9, Mr. Tritt o n w a s
           e ntitl e d t o a n a n n u al p erf or m a n c e- b a s e d c a s h b o n u s u n d er t h e t er m s of hi s e m pl o y m e nt a gr e e m e nt wit h t h e C o m p a n y wit h t h e t ar g et b o n u s o p p ort u nit y of $ 7 5 0, 0 0 0.
           T h e C o m p e n s ati o n C o m mitt e e d et er mi n e d t h at Mr. Tritt o n e x c e e d e d t h e p erf or m a n c e o bj e cti v e wit h r e s p e ct t o hi s b o n u s f or fi s c al 2 0 1 9, a n d d et er mi n e d t h at it s h o ul d
           b e p ai d o ut at 1 5 0 % of t ar g et, i n t h e t ot al a m o u nt of $ 1, 1 2 5, 0 0 0. Of t hi s t ot al a m o u nt, $ 7 5 0, 0 0 0 i s r efl e ct e d i n t h e N o n- E q uit y I n c e nti v e Pl a n C o m p e n s ati o n, a n d
           $ 3 7 5, 0 0 0 i s r efl e ct e d i n t h e B o n u s c ol u m n.
  ( 5)      All Ot h er C o m p e n s ati o n f or fi s c al 2 0 1 9 f or Mr. Tritt o n i n cl u d e s a l u m p s u m si g n- o n c a s h p a y m e nt of $ 5 0 0, 0 0 0, p a y m e nt f or h o m e s al e/ b u y o ut a n d r el o c ati o n
           a s si st a n c e b e n efit s of $ 1 2 1, 7 4 0 , c ar all o w a n c e of $ 1 4, 3 0 5, a s w ell a s a p a y m e nt of l e g al f e e s p ai d i n c o n n e cti o n wit h t h e n e g oti ati o n a n d e x e c uti o n of hi s e m pl o y m e nt
           a gr e e m e nt of $ 2 5, 0 0 0. D uri n g fi s c al 2 0 1 9, t ot al di vi d e n d s of $ 1 4 4, 9 2 3 w er e a c cr u e d o n Mr. Tritt o n’ s u n v e st e d st o c k a w ar d s.
  ( 6)       M s. Wi n st o n b e c a m e t h e I nt eri m C hi ef E x e c uti v e Offi c er of t h e C o m p a n y, eff e cti v e a s of M a y 1 2, 2 0 1 9. M s. Wi n st o n st e p p e d d o w n a s I nt eri m C hi ef E x e c uti v e Offi c er,
           eff e cti v e a s of N o v e m b er 4, 2 0 1 9, i n c o n n e cti o n wit h Mr. Tritt o n’ s c o m m e n c e m e nt of e m pl o y m e nt a s t h e Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er of t h e C o m p a n y,
           eff e cti v e a s of t h e s a m e d at e. T h e a m o u nt of b a s e s al ar y p ai d t o M s. Wi n st o n d uri n g fi s c al 2 0 1 9 r efl e ct s t h e p orti o n of h er a n n u al b a s e s al ar y of $ 1, 1 0 0, 0 0 0 t h at w a s
           p ai d i n fi s c al 2 0 1 9 d uri n g h er s er vi c e a s t h e I nt eri m C hi ef E x e c uti v e Offi c er of t h e C o m p a n y.
  ( 7)      All Ot h er C o m p e n s ati o n f or M s. Wi n st o n i n cl u d e s i n cr e m e nt al c o st s t o t h e C o m p a n y pri m aril y f or a c ar all o w a n c e of $ 3, 2 6 9 d uri n g h er ti m e a s I nt eri m C hi ef E x e c uti v e
           Offi c er, dir e ct or f e e s p ai d b y t h e C o m p a n y i n t h e a m o u nt of $ 3 5, 9 3 4 f or t h e p orti o n of fi s c al 2 0 1 9 d uri n g w hi c h s h e di d n ot s er v e a s I nt eri m C hi ef E x e c uti v e Offi c er, a s
           w ell a s a p a y m e nt of l e g al f e e s p ai d i n c o n n e cti o n wit h t h e n e g oti ati o n a n d e x e c uti o n of h er e m pl o y m e nt a gr e e m e nt of $ 7, 7 2 7. D uri n g fi s c al 2 0 1 9, t ot al di vi d e n d s of
           $ 2 7, 8 6 9 w er e a c cr u e d o n M s. Wi n st o n’ s u n v e st e d st o c k a w ar d s. T h e s e di vi d e n d s w er e n ot f a ct or e d i nt o t h e gr a nt d at e f air v al u e of s u c h st o c k a w ar d s u n d er A S C
           7 1 8. T h e s e di vi d e n d s v e st e d a n d w er e p ai d i n fi s c al 2 0 1 9 i n c o n n e cti o n wit h t h e v e sti n g of M s. Wi n st o n’ s r e stri ct e d st o c k a w ar d o n N o v e m b er 4, 2 0 1 9.
  ( 8)      O n A pril 2 1, 2 0 1 9, Mr. Ei s e n b er g tr a n siti o n e d t o t h e r ol e of C o- F o u n d er a n d C o- C h air m a n E m erit u s of t h e B o ar d of Dir e ct or s of t h e C o m p a n y. A s a r e s ult of t h e
           tr a n siti o n, Mr. Ei s e n b er g c e a s e d t o b e a n offi c er of t h e C o m p a n y, eff e cti v e A pril 2 1, 2 0 1 9.
  ( 9)      All Ot h er C o m p e n s ati o n f or Mr. Ei s e n b er g i n cl u d e s t h e f oll o wi n g i n cr e m e nt al c o st s t o t h e C o m p a n y: ( a) f or fi s c al 2 0 1 9, $ 5 0 4, 1 5 0 i n c o nti n u e d “ s e ni or st at u s”
           p a y m e nt s a n d $ 9, 1 0 5 i n r e s p e ct of t h e c o nti n u e d p arti ci p ati o n f or Mr. Ei s e n b er g ( a n d hi s s p o u s e, a s a p pli c a bl e) i n t h e H e alt h B e n efit s pl a n s d e s cri b e d b el o w, i n e a c h
           c a s e, f oll o wi n g Mr. Ei s e n b er g’ s tr a n siti o n t o t h e r ol e of C o- F o u n d er a n d C o- C h air m a n E m erit u s o n A pril 2 1, 2 0 1 9, a p a y m e nt of $ 2, 1 2 5, 0 0 0 p ur s u a nt t o a d ef err e d
           c o m p e n s ati o n a gr e e m e nt b et w e e n Mr. Ei s e n b er g a n d t h e C o m p a n y e nt er e d i nt o i n fi s c al 2 0 0 3, w hi c h pr o vi d e d f or p a y m e nt i n s u b stit uti o n f or Mr. Ei s e n b er g’ s l e g a c y
           s plit- d oll ar lif e i n s ur a n c e b e n efit, a n d $ 1, 6 0 8, 8 4 7 p a y a bl e t o Mr. Ei s e n b er g p ur s u a nt t o t h e C o- F o u n d er s ettl e m e nt a gr e e m e nt b et w e e n t h e C o m p a n y a n d
           Mr. Ei s e n b er g, d at e d F e br u ar y 2 6, 2 0 2 0, i n s ettl e m e nt of cl ai m s r el ati n g t o c ert ai n ri g ht s a n d e ntitl e m e nt s u n d er Mr. Ei s e n b er g’ s e m pl o y m e nt a gr e e m e nt; ( b) t a x
           pr e p ar ati o n s er vi c e s of $ 3 1, 7 8 8 a n d $ 3 1, 9 0 0, p er s o n al c ar s er vi c e of $ 1 0 6, 6 0 3 a n d $ 1 0 4, 8 1 1, c ar all o w a n c e of $ 2 4, 0 5 2 a n d $ 2 4, 0 1 4, a n d offi c e a n d a d mi ni str ati v e
           p er s o n n el a n d s u p p ort p a y m e nt s of $ 1 7 3, 1 4 4 a n d $ 9 8, 3 8 5, i n e a c h c a s e, f or fi s c al 2 0 1 9 a n d fi s c al 2 0 1 8, r e s p e cti v el y; a n d ( c) f or fi s c al 2 0 1 9, $ 1, 0 5 7, 6 3 3, w hi c h
           e q u al s t h e pr e s e nt v al u e of t h e s u p pl e m e nt al p e n si o n t h at will b e p ai d t o Mr. Ei s e n b er g f oll o wi n g t h e c e s s ati o n of hi s “ s e ni or st at u s” p a y m e nt s i n a c c or d a n c e wit h t h e
           t er m s of hi s e m pl o y m e nt a gr e e m e nt. Al s o i n cl u d e d i n All Ot h er C o m p e n s ati o n f or fi s c al 2 0 1 9 w er e di vi d e n d s of $ 4 6, 4 1 2 a n d $ 3 0, 2 2 2 t h at w er e p ai d o n pr e vi o u sl y
           u n v e st e d st o c k a w ar d s t h at v e st e d i n fi s c al 2 0 1 9 a n d fi s c al 2 0 1 8, r e s p e cti v el y. T ot al di vi d e n d s of $ 6 1, 4 0 5 a n d $ 5 9, 3 8 3 w er e a c cr u e d o n Mr. Ei s e n b er g’ s u n v e st e d
           st o c k a w ar d s i n fi s c al 2 0 1 9 a n d fi s c al 2 0 1 8, r e s p e cti v el y. T h e s e di vi d e n d s w er e n ot f a ct or e d i nt o t h e gr a nt d at e f air v al u e of s u c h st o c k a w ar d s u n d er A S C 7 1 8. I n
           a d diti o n, t h e s e di vi d e n d s d o n ot v e st a n d ar e n ot p ai d u ntil, a n d o nl y t h e n t o t h e e xt e nt t h at, t h e a s s o ci at e d st o c k a w ar d s v e st a n d t h e u n d erl yi n g s h ar e s ar e p ai d.
  ( 1 0)    O n A pril 2 1, 2 0 1 9, Mr. F ei n st ei n tr a n siti o n e d t o t h e r ol e of C o- F o u n d er a n d C o- C h air m a n E m erit u s of t h e B o ar d of Dir e ct or s of t h e C o m p a n y. A s a r e s ult of t h e
           tr a n siti o n, Mr. F ei n st ei n c e a s e d t o b e a n offi c er of t h e C o m p a n y, eff e cti v e A pril 2 1, 2 0 1 9.
  ( 1 1)    All Ot h er C o m p e n s ati o n f or Mr. F ei n st ei n i n cl u d e s t h e f oll o wi n g i n cr e m e nt al c o st s t o t h e C o m p a n y: ( a) f or fi s c al 2 0 1 9, $ 5 0 4, 1 5 0 i n c o nti n u e d “ s e ni or st at u s” p a y m e nt s
           a n d $ 8, 3 2 1 i n r e s p e ct of t h e c o nti n u e d p arti ci p ati o n f or Mr. F ei n st ei n ( a n d hi s s p o u s e, a s a p pli c a bl e) i n t h e H e alt h B e n efit s pl a n s, i n e a c h c a s e, f oll o wi n g
           Mr. F ei n st ei n’ s tr a n siti o n t o t h e r ol e of C o- F o u n d er a n d C o- C h air m a n E m erit u s o n A pril 2 1, 2 0 1 9, a p a y m e nt of $ 2, 0 8 0, 0 0 0 p ur s u a nt t o a d ef err e d c o m p e n s ati o n
           a gr e e m e nt b et w e e n Mr. Ei s e n b er g a n d t h e C o m p a n y e nt er e d i nt o i n fi s c al 2 0 0 3, w hi c h pr o vi d e d f or p a y m e nt i n s u b stit uti o n f or Mr. Ei s e n b er g’ s l e g a c y s plit- d oll ar lif e
           i n s ur a n c e b e n efit, a n d $ 2, 4 6 4, 4 4 6 p a y a bl e t o Mr. F ei n st ei n p ur s u a nt t o t h e C o- F o u n d er s ettl e m e nt a gr e e m e nt b et w e e n t h e C o m p a n y a n d Mr. F ei n st ei n, d at e d
           F e br u ar y 2 6, 2 0 2 0, i n s ettl e m e nt of cl ai m s r el ati n g t o c ert ai n ri g ht s a n d e ntitl e m e nt s u n d er Mr. F ei n st ei n’ s e m pl o y m e nt a gr e e m e nt; ( b) t a x pr e p ar ati o n s er vi c e s of
           $ 3 1, 7 8 7 a n d $ 3 1, 9 0 0, p er s o n al c ar s er vi c e of $ 1 1 7, 5 5 7 a n d $ 1 1 2, 8 4 2, c ar all o w a n c e of $ 3 3, 0 4 8 a n d $ 3 2, 4 7 7, a n d offi c e a n d a d mi ni str ati v e p er s o n n el a n d s u p p ort
           p a y m e nt s of $ 1 7 9, 5 3 8 a n d $ 1 7 8, 6 0 2, i n e a c h c a s e, f or fi s c al 2 0 1 9 a n d fi s c al 2 0 1 8, r e s p e cti v el y; a n d ( c) f or fi s c al 2 0 1 9, $ 1, 5 0 9, 8 6 4, w hi c h e q u al s t h e pr e s e nt v al u e of
           t h e s u p pl e m e nt al p e n si o n t h at will b e p ai d t o Mr. F ei n st ei n f oll o wi n g t h e c e s s ati o n of hi s “ s e ni or st at u s” p a y m e nt s i n a c c or d a n c e wit h t h e t er m s of hi s e m pl o y m e nt
           a gr e e m e nt. Al s o
                                                                                                                                42
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                                                                                                                                                                                                                  E X E C U TI V E C O M P E N S A TI O N

           i n cl u d e d i n All Ot h er C o m p e n s ati o n f or fi s c al 2 0 1 9 w er e di vi d e n d s of $ 4 6, 4 1 2 a n d $ 3 0, 2 2 2 t h at w er e p ai d o n pr e vi o u sl y u n v e st e d st o c k a w ar d s t h at v e st e d i n fi s c al
           2 0 1 9 a n d fi s c al 2 0 1 8, r e s p e cti v el y. T ot al di vi d e n d s of $ 6 1, 4 0 5 a n d $ 5 9, 3 8 3 w er e a c cr u e d o n Mr. F ei n st ei n’ s u n v e st e d st o c k a w ar d s i n fi s c al 2 0 1 9 a n d fi s c al 2 0 1 8,
           r e s p e cti v el y. T h e s e di vi d e n d s w er e n ot f a ct or e d i nt o t h e gr a nt d at e f air v al u e of s u c h st o c k a w ar d s u n d er A S C 7 1 8. I n a d diti o n, t h e s e di vi d e n d s d o n ot v e st a n d ar e
           n ot p ai d u ntil, a n d o nl y t h e n t o t h e e xt e nt t h at, t h e a s s o ci at e d st o c k a w ar d s v e st a n d t h e u n d erl yi n g s h ar e s ar e p ai d.
  ( 1 2)    O n M a y 1 2, 2 0 1 9, Mr. T e m ar e s st e p p e d d o w n a s C hi ef E x e c uti v e Offi c er, a n d o n M a y 1 3, 2 0 1 9, Mr. T e m ar e s r e si g n e d fr o m t h e B o ar d of Dir e ct or s of t h e C o m p a n y.
  ( 1 3)    S al ar y f or Mr. T e m ar e s f or fi s c al 2 0 1 9 r efl e ct s t h e p orti o n of hi s a n n u al b a s e s al ar y of $ 3, 4 6 7, 5 0 0 ( aft er gi vi n g eff e ct t o a v ol u nt ar y w ai v er of $ 5 0 0, 0 0 0 of b a s e s al ar y)
           t h at w a s p ai d d uri n g fi s c al 2 0 1 9 w hil e Mr. T e m ar e s w a s a n a cti v e e m pl o y e e. S al ar y f or Mr. T e m ar e s f or fi s c al 2 0 1 7 i n cl u d e s a d ef err al of $ 3 7, 1 5 4, p ur s u a nt t o t h e
           t er m s of t h e C o m p a n y’ s n o n q u alifi e d d ef err e d c o m p e n s ati o n pl a n. A s t h e C o m p a n y’ s n o n q u alifi e d d ef err e d c o m p e n s ati o n pl a n w a s t er mi n at e d i n D e c e m b er 2 0 1 7, n o
           d ef err al w a s m a d e f or fi s c al 2 0 1 8 or 2 0 1 9.
  ( 1 4)    T h e a m o u nt r e p ort e d f or fi s c al 2 0 1 9 u n d er t h e “ C h a n g e i n P e n si o n V al u e a n d N o n q u alifi e d D ef err e d C o m p e n s ati o n E ar ni n g s” r e pr e s e nt s t h e a ct u al p a y m e nt t h at w a s
           m a d e i n fi s c al 2 0 1 9 t o Mr. T e m ar e s u n d er t h e C o m p a n y’ s s u p pl e m e nt al e x e c uti v e r etir e m e nt b e n efit a gr e e m e nt d at e d N o v e m b er 1 6, 2 0 0 9 (“ S E R P”), l e s s t h e
           a g gr e g at e a m o u nt s t h at h a v e b e e n r e p ort e d b y t h e C o m p a n y wit h r e s p e ct t o t h e S E R P i n pri or fi s c al y e ar s. T h e c h a n g e i n p e n si o n v al u e f or fi s c al 2 0 1 8 a n d 2 0 1 7 i s a
           r e s ult of t h e c h a n g e i n t h e a ct u ari al pr e s e nt v al u e of t h e b e n efit s p a y a bl e u n d er t h e S E R P a n d w hi c h i s di s c u s s e d m or e f ull y b el o w. S e e al s o “ E m pl o y m e nt
           A gr e e m e nt s a n d P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol — P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol” b el o w.
  ( 1 5)    All Ot h er C o m p e n s ati o n f or Mr. T e m ar e s i n cl u d e s i n cr e m e nt al c o st s t o t h e C o m p a n y f or a c ar all o w a n c e of $ 6, 9 1 3, $ 1 1, 3 8 8 a n d $ 1 0, 5 2 1, a n d e m pl o y er 4 0 1( k) pl a n
           a n d n o n q u alifi e d d ef err e d c o m p e n s ati o n pl a n m at c hi n g c o ntri b uti o n s ( s ol el y f or 2 0 1 7) of $ 2, 0 1 2, $ 7, 4 7 4 a n d $ 8, 1 0 0, f or e a c h of fi s c al 2 0 1 9, 2 0 1 8, a n d 2 0 1 7,
           r e s p e cti v el y. Al s o i n cl u d e d i n All Ot h er C o m p e n s ati o n f or fi s c al 2 0 1 9, 2 0 1 8 a n d 2 0 1 7 w er e di vi d e n d s of $ 3 4 7, 4 1 4, $ 2 0 8, 9 0 3 a n d $ 8 4, 9 4 0 t h at w er e p ai d o n pr e vi o u sl y
           u n v e st e d st o c k a w ar d s t h at v e st e d i n fi s c al 2 0 1 9, 2 0 1 8 a n d 2 0 1 7, r e s p e cti v el y, a s w ell a s a p a y m e nt of l e g al f e e s of $ 2 0, 0 0 0 i n fi s c al 2 0 1 7 r el ati n g t o Mr. T e m ar e s’
           P S U a w ar d s a n d l e g al f e e s of $ 1 9 4, 6 7 8 i n fi s c al 2 0 1 9 i n c urr e d i n c o n n e cti o n wit h Mr. T e m ar e s’ t er mi n ati o n of e m pl o y m e nt, i n cl u di n g t h e n e g oti ati o n of t h e T e m ar e s
           P S U s ettl e m e nt a gr e e m e nt ( a s d efi n e d i n “ E m pl o y m e nt A gr e e m e nt s a n d P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol — E m pl o y m e nt A gr e e m e nt a n d
           Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h Mr. T e m ar e s”, b el o w). D uri n g fi s c al 2 0 1 9, 2 0 1 8 a n d 2 0 1 7, t ot al di vi d e n d s of $ 4 9 7, 9 4 1, $ 5 3 7, 5 2 4 a n d $ 3 1 9, 6 0 6, r e s p e cti v el y,
           w er e a c cr u e d o n Mr. T e m ar e s’ u n v e st e d st o c k a w ar d s. T h e s e di vi d e n d s w er e n ot f a ct or e d i nt o t h e gr a nt d at e f air v al u e of s u c h st o c k a w ar d s u n d er A S C 7 1 8. I n
           a d diti o n, t h e s e di vi d e n d s d o n ot v e st a n d ar e n ot p ai d u ntil, a n d o nl y t h e n t o t h e e xt e nt t h at, t h e a s s o ci at e d st o c k a w ar d s v e st a n d t h e u n d erl yi n g s h ar e s ar e p ai d. Al s o
           i n cl u d e d i n All Ot h er C o m p e n s ati o n f or fi s c al 2 0 1 9 i s (i) $ 1 0, 4 6 1 r e pr e s e nti n g t h e C o m p a n y p orti o n of C O B R A b e n efit s at a cti v e e m pl o y e e r at e s f or Mr. T e m ar e s a n d
           hi s d e p e n d e nt s a n d (ii) a c a s h p a y m e nt of $ 3, 0 5 1, 9 2 3 p ai d t o Mr. T e m ar e s, w hi c h r e pr e s e nt s t h e p orti o n of c a s h s e v er a n c e t h at w a s p ai d t o Mr. T e m ar e s i n fi s c al 2 0 1 9
           i n a c c or d a n c e wit h t h e t er m s of hi s e m pl o y m e nt a gr e e m e nt.
  ( 1 6)     M s. D’ Eli a st e p p e d d o w n a s t h e C hi ef Fi n a n ci al Offi c er a n d Tr e a s ur er eff e cti v e a s of M a y 4, 2 0 2 0, i n c o n n e cti o n wit h Mr. G u st a v o Ar n al’ s c o m m e n c e m e nt of
           e m pl o y m e nt a s t h e E x e c uti v e Vi c e Pr e si d e nt, C hi ef Fi n a n ci al Offi c er a n d Tr e a s ur er of t h e C o m p a n y, eff e cti v e a s of t h e s a m e d at e, a n d h er e m pl o y m e nt wit h t h e
           C o m p a n y w a s t er mi n at e d eff e cti v e a s of M a y 8, 2 0 2 0. All Ot h er C o m p e n s ati o n f or M s. D’ Eli a i n cl u d e s i n cr e m e nt al c o st s t o t h e C o m p a n y f or e m pl o y er 4 0 1( k) pl a n
           m at c hi n g c o ntri b uti o n s of $ 7, 8 2 3 a n d $ 9, 0 2 9 f or fi s c al 2 0 1 9 a n d 2 0 1 8, r e s p e cti v el y. Al s o i n cl u d e d i n All Ot h er C o m p e n s ati o n f or fi s c al 2 0 1 9 a n d 2 0 1 8 w er e di vi d e n d s
           of $ 6, 4 0 0 a n d $ 1, 7 4 1, r e s p e cti v el y, t h at w er e p ai d o n pr e vi o u sl y u n v e st e d st o c k a w ar d s t h at v e st e d i n fi s c al 2 0 1 9 a n d 2 0 1 8. D uri n g fi s c al 2 0 1 9 a n d 2 0 1 8, t ot al
           di vi d e n d s of $ 7 7, 0 6 8 a n d $ 1 5, 9 5 3, r e s p e cti v el y, w er e a c cr u e d o n M s. D’ Eli a’ s u n v e st e d st o c k a w ar d s. T h e s e di vi d e n d s w er e n ot f a ct or e d i nt o t h e gr a nt d at e f air v al u e
           of s u c h st o c k a w ar d s u n d er A S C 7 1 8. I n a d diti o n, t h e s e di vi d e n d s d o n ot v e st a n d ar e n ot p ai d u ntil, a n d o nl y t h e n t o t h e e xt e nt t h at, t h e a s s o ci at e d st o c k a w ar d s v e st
           a n d t h e u n d erl yi n g s h ar e s ar e p ai d. A d diti o n all y, d uri n g fi s c al 2 0 1 8 t h e C o m p a n y gr a nt e d R o b y n M. D’ Eli a a d ef err e d c a s h a w ar d u n d er t h e C o m p a n y’ s C a s h
           I n c e nti v e Pl a n i n t h e a g gr e g at e a m o u nt of $ 7 5, 0 0 0. D uri n g fi s c al 2 0 1 9, $ 1 0, 7 1 4 r el at e d t o t h e c a s h a w ar d v e st e d a n d i s i n cl u d ed i n All Ot h er C o m p e n s ati o n.
  ( 1 7)    All Ot h er C o m p e n s ati o n i n cl u d e s di vi d e n d s or di vi d e n d e q ui v al e nt s o n e q uit y- b a s e d a w ar d s b a s e d o n t h e a m o u nt s p ai d t o all s h ar e h ol d er s a s of t h e r e c or d d at e f or
           e a c h di vi d e n d d e cl ar e d.
                                                                                                                               43
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

                                                                                             G R A NTS OF PL A N B ASE D A WA R DS

  Gr a nt s of R e stri ct e d St o c k U nit s, P erf or m a n c e St o c k U nit s a n d R e stri ct e d St o c k f or Fi s c al 2 0 1 9
  T h e f oll o wi n g t a bl e s et s f ort h i nf or m ati o n wit h r e s p e ct t o R S U s, P S U s, a n d r e stri ct e d st o c k a w ar d e d d uri n g fi s c al 2 0 1 9 t o e a c h of t h e N E O s u n d er t h e
  2 0 1 2 Pl a n a n d, f or Mr. Tritt o n, R S U a n d P S U a w ar d s t h at w er e m a d e a s a m at eri al i n d u c e m e nt f or Mr. Tritt o n t o a c c e pt e m pl o y m e nt wit h t h e C o m p a n y
  a n d e nt er i nt o hi s e m pl o y m e nt a gr e e m e nt wit h t h e C o m p a n y. T h e R S U a n d P S U a w ar d s m a d e t o Mr. Tritt o n w er e i s s u e d o ut si d e of t h e 2 0 1 2 Pl a n a n d
  t h e C o m p a n y’ s 2 0 1 8 I n c e nti v e C o m p e n s ati o n Pl a n (t h e “ 2 0 1 8 Pl a n”), i n a c c or d a n c e wit h N a s d a q Li sti n g R ul e 5 6 3 5( c)( 4), b ut ar e s u bj e ct t o s u b st a nti all y
  t h e s a m e t er m s a s a w ar d s m a d e u n d er s u c h pl a n s.

                                                                                                                                                                                                                                     Gr a nt D at e
                                                                                          E sti m at e d F ut ur e P a y o ut s U n d er                           E sti m at e d F ut ur e P a y o ut s U n d er                         F air
                                                                                         N o n- E q uit y I n c e nti v e Pl a n A w ar d s                           E q uit y I n c e nti v e Pl a n A w ar d s                 V al u e of St o c k
                                                                                                                                                                                                                                     a n d O pti o n
                                                          Gr a nt                T hr e s h ol d ( 1)      T ar g et ( 1)            M a xi m u m ( 1)     T hr e s h ol d ( 1)       T ar g et ( 1)        M a xi m u m ( 1)       A w ar d s ( 2)( 3)
   Na me                                                   D at e                        ( $)                   ( $)                        ( $)                   ( #)                    ( #)                    ( #)                    ( $)
   M ar k J. Tritt o n                                                                   —                   7 5 0, 0 0 0( 4)              —                               —                       —                         —                         —
                                                       1 1/ 4/ 2 0 1 9( 5)               —                              —                  —                               —            2 7 3, 7 3 5                         —           3, 7 3 5, 1 1 4
                                                       1 1/ 4/ 2 0 1 9( 6)               —                              —                  —                               —            5 3 9, 6 4 8                         —           7, 3 6 3, 4 9 7
                                                       1 1/ 4/ 2 0 1 9( 7)               —                              —                  —                               —              3 9, 1 0 5                         —              5 3 3, 5 8 8
   M ar y A. Wi n st o n                               6/ 2 8/ 2 0 1 9( 8)               —                              —                  —                               —            1 6 3, 9 3 4                         —           1, 8 9 9, 9 9 5
   W arr e n Ei s e n b er g                                         —                   —                              —                  —                               —                       —                         —                         —
   L e o n ar d F ei n st ei n                                       —                   —                              —                  —                               —                       —                         —                         —
   St e v e n H. T e m ar e s                                        —                   —                              —                  —                               —                       —                         —                         —
   R o b y n M. D’ Eli a                               6/ 2 8/ 2 0 1 9( 9)               —                              —                  —                      3 3, 6 4 0            1 3 4, 5 5 3              2 0 1, 8 3 1           1, 5 5 9, 4 6 9
  ( 1)      N u m b er of s h ar e s w h e n c o n v ert e d fr o m d oll ar s t o s h ar e s, w hi c h n u m b er i s r o u n d e d u p t o t h e n e ar e st w h ol e s h ar e. A m o u nt s r e pr e s e nt t h e t hr e s h ol d, t ar g et a n d
           m a xi m u m a m o u nt s f or e q uit y i n c e nti v e pl a n a w ar d s wit h p erf or m a n c e c o n diti o n s f or e a c h n a m e d e x e c uti v e offi c er. A w ar d s t h at ar e s u bj e ct t o o nl y a s er vi c e c o n diti o n
           ar e li st e d o nl y i n t h e t ar g et a m o u nt.
  ( 2)      N o o pti o n a w ar d s w er e gr a nt e d t o t h e N E O s i n fi s c al 2 0 1 9.
  ( 3)      P ur s u a nt t o t h e S E C r ul e s, P S U, R S U a n d st o c k a w ar d s ar e v al u e d i n a c c or d a n c e wit h A S C 7 1 8. S e e f o ot n ot e ( 2) t o t h e S u m m ar y C o m p e n s ati o n T a bl e i n t hi s Pr o x y
           St at e m e nt. T h e f air v al u e of P S U a w ar d s i s r e p ort e d at 1 0 0 % of t ar g et, w hi c h i s t h e e sti m at e d o ut c o m e of p erf or m a n c e c o n diti o n s a s s o ci at e d wit h t h e P S U a w ar d s o n
           t h e gr a nt d at e.
  ( 4)      R e pr e s e nt s t h e t ar g et a m o u nt of t h e a n n u al p erf or m a n c e- b a s e d c a s h b o n u s f or fi s c al 2 0 1 9 p a y a bl e p ur s u a nt t o Mr. Tritt o n’ s e m pl o y m e nt a gr e e m e nt. S e e f o ot n ot e
           ( 4) t o t h e S u m m ar y C o m p e n s ati o n T a bl e i n t hi s Pr o x y St at e m e nt.
  ( 5)      R e pr e s e nt s a m a k e- w h ol e a w ar d of P S U s gr a nt e d t o Mr. Tritt o n a s a n i n d u c e m e nt m at eri al t o hi s e nt eri n g i nt o a n e m pl o y m e nt a gr e e m e nt a n d c o m m e n ci n g
           e m pl o y m e nt wit h t h e C o m p a n y (“ M a k e- W h ol e P S U A w ar d”). T h e v e sti n g of P S U s i s s u bj e ct t o Mr. Tritt o n’ s att ai n m e nt, a s d et er mi n e d b y t h e C o m p e n s ati o n
           C o m mitt e e, of p erf or m a n c e g o al s r e q uiri n g Mr. Tritt o n t o pr e p ar e a n d d eli v er t o t h e B o ar d k e y o bj e cti v e s a n d g o al s f or t h e C o m p a n y a n d t h e str at e gi e s a n d i niti ati v e s
           f or t h e a c hi e v e m e nt of s u c h o bj e cti v e s a n d g o al s, a n d Mr. Tritt o n’ s pr o vi si o n of u p d at e s t o t h e B o ar d r e g ar di n g a c hi e v e m e nt of s u c h g o al s a n d o bj e cti v e s, a n d t h e
           P S U s will v e st, if at all, s u bj e ct t o Mr. Tritt o n r e m ai ni n g i n t h e C o m p a n y’ s e m pl o y t hr o u g h N o v e m b er 4, 2 0 2 1, s u bj e ct t o t h e t er m s, c o n diti o n s a n d r e stri cti o n s of t h e
           a w ar d a gr e e m e nt g o v er ni n g t h e gr a nt.
  ( 6)      R e pr e s e nt s a m a k e- w h ol e a w ar d of R S U s gr a nt e d t o Mr. Tritt o n a s a n i n d u c e m e nt m at eri al t o hi s e nt eri n g i nt o a n e m pl o y m e nt a gr e e m e nt a n d c o m m e n ci n g
           e m pl o y m e nt wit h t h e C o m p a n y (“ M a k e- W h ol e R S U A w ar d”). T h e R S U s will v e st a s f oll o w s: (i) 2 7 3, 7 3 4 R S U s will v e st o n M ar c h 3 1, 2 0 2 0; (ii) 1 3 2, 9 5 7 R S U s will v e st
           o n S e pt e m b er 3 0, 2 0 2 0; a n d (iii) 1 3 2, 9 5 7 R S U s will v e st o n M ar c h 3 1, 2 0 2 1, i n e a c h c a s e s u bj e ct, i n g e n er al, t o Mr. Tritt o n r e m ai ni n g i n t h e C o m p a n y’ s e m pl o y
           t hr o u g h t h e a p pli c a bl e v e sti n g d at e, a n d t o t h e t er m s, c o n diti on s a n d r e stri cti o n s of t h e a w ar d a gr e e m e nt g o v er ni n g t h e gr a nt.
  ( 7)       R e pr e s e nt s a si g n- o n a w ar d of R S U s gr a nt e d t o Mr. Tritt o n a s a n i n d u c e m e nt m at eri al t o hi s e nt eri n g i nt o a n e m pl o y m e nt a gr e e m e nt a n d c o m m e n ci n g e m pl o y m e nt
           wit h t h e C o m p a n y (“ Si g n- O n R S U A w ar d”). T h e R S U s will v e st o n N o v e m b er 4, 2 0 2 0, s u bj e ct, i n g e n er al, t o Mr. Tritt o n r e m ai ni n g i n t h e C o m p a n y’ s e m pl o y t hr o u g h
           t h e v e sti n g d at e, a n d t o t h e t er m s, c o n diti o n s a n d r e stri cti o n s of t h e a w ar d a gr e e m e nt g o v er ni n g t h e gr a nt.
  ( 8)      R e pr e s e nt s a n a w ar d of r e stri ct e d s h ar e s gr a nt e d t o M s. Wi n st o n i n c o n n e cti o n wit h h er a p p oi nt m e nt a s t h e I nt eri m C hi ef E x e c uti v e Offi c er of t h e C o m p a n y. I n
           a c c or d a n c e wit h t h e t er m s of t h e a w ar d a gr e e m e nt g o v er ni n g t hi s gr a nt of r e stri ct e d s h ar e s, o n N o v e m b er 4, 2 0 1 9, t h e r e stri ct e d s h ar e s b e c a m e f ull y v e st e d a s a
           r e s ult of M s. Wi n st o n st e p pi n g d o w n a s t h e I nt eri m C hi ef E x e c uti v e Offi c er of t h e C o m p a n y u p o n Mr. Tritt o n’ s c o m m e n c e m e nt of e m pl o y m e nt a s t h e Pr e si d e nt a n d
           C hi ef E x e c uti v e Offi c er of t h e C o m p a n y.
                                                                                                                                44
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T a bl e of C o nt e nts

                                                                                                                                                                                                              E X E C U TI V E C O M P E N S A TI O N

  ( 9)      R e pr e s e nt s a n a w ar d of P S U s gr a nt e d t o M s. D’ Eli a gr a nt e d o n J u n e 2 8, 2 0 1 9. V e sti n g of t h e s e P S U s gr a nt e d t o M s. D’ Eli a d e p e n d s o n (i) t h e C o m p a n y’ s
          a c hi e v e m e nt of a p erf or m a n c e- b a s e d t e st d uri n g a o n e- y e ar p eri o d fr o m t h e d at e of gr a nt a n d d uri n g a t hr e e- y e ar p eri o d fr o m t h e d at e of gr a nt, a n d (ii) a s s u mi n g
          a c hi e v e m e nt of t h e p erf or m a n c e- b a s e d t e st, ti m e v e sti n g, s u bj e ct, i n g e n er al, t o t h e e x e c uti v e r e m ai ni n g i n t h e C o m p a n y’ s s er vi c e o n s p e cifi e d v e sti n g d at e s.
          P erf or m a n c e d uri n g t h e o n e- y e ar p eri o d i s b a s e d o n E BI T r el ati v e t o a t ar g et a m o u nt. S u bj e ct t o t h e c ertifi c ati o n of a c hi e v e m e nt of t h e o n e- y e ar p erf or m a n c e- b a s e d
          t e st, t h e c orr e s p o n di n g P S U s will v e st o n e y e ar fr o m t h e d at e of gr a nt. P erf or m a n c e d uri n g t h e t hr e e- y e ar p eri o d i s b a s e d o n a c o m bi n ati o n of t ot al s h ar e h ol d er r et ur n
          r el ati v e t o a p e er gr o u p of t h e C o m p a n y a n d c u m ul ati v e E BI T r el ati v e t o a t ar g et a m o u nt. S u bj e ct t o t h e c ertifi c ati o n of a c hi e v e m e nt of t h e t hr e e- y e ar p erf or m a n c e-
          b a s e d t e st, t h e c orr e s p o n di n g P S U s will v e st o n t h e t hir d a n ni v er s ar y of t h e d at e of gr a nt. T h e a w ar d s ar e c a p p e d at 1 5 0 % of t ar g et a c hi e v e m e nt, wit h a fl o or of z er o.
          P S U s ar e c o n v ert e d i nt o s h ar e s of c o m m o n st o c k u p o n p a y m e nt f oll o wi n g v e sti n g. T h e a m o u nt s li st e d f or M s. D’ Eli a d o n ot r efl e ct a r e d u cti o n of P S U s gr a nt e d i n
          fi s c al 2 0 1 9, a s d e s cri b e d b el o w u n d er “ P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol — E m pl o y m e nt A gr e e m e nt a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s
          wit h M s. D’ Eli a”.
                                                                                                                            45
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

                                                                         O U T S T A N DI N G E Q UI T Y A W A R D S A T FI S C A L Y E A R E N D

  T h e f oll o wi n g t a bl e s et s f ort h i nf or m ati o n f or e a c h of t h e N E O s wit h r e s p e ct t o t h e v al u e of all u n e x er ci s e d o pti o n s, u n v e st e d r e stri ct e d st o c k a w ar d s,
  u n v e st e d R S U s a n d u n v e st e d P S U s a s of F e br u ar y 2 9, 2 0 2 0, t h e e n d of fi s c al 2 0 1 9.

                                                                 O pti o n A w ar d s                                                                                                             St o c k A w ar d s
                                                                                                                                                                                                                                               E q uit y
                                                                                                                                                                                                                                           I n c e nti v e
                                                                                                                                                                                                                                                 Pl a n
                                                                                                                                                                                                                   E q uit y                 A w ar d s:
                                                                                                                                                                                                                I n c e nti v e            M ar k et or
                                                                                                                                                                                                                     Pl a n                   P a y o ut
                                                                                                                                                                                                                 A w ar d s:                 V al u e of
                                                                                                                                                                                                               N u m b er of               U n e ar n e d
                                                                                                                                                                                                                U n e ar n e d                S h ar e s,
                                                                                              N u m b er of                                                       N u m b er of                M ar k et          S h ar e s,                U nit s or
                                                                   N u m b er of               S e c uriti e s                                                     S h ar e s or              V al u e of        U nit s or                     Ot h er
                                                                    S e c uriti e s           U n d erl yi n g                                                      U nit s of              S h ar e s or           Ot h er                    Ri g ht s
                                                                   U n d erl yi n g         U n e x er ci s e d                                                       St o c k                U nit s of           Ri g ht s                     T h at
                                                                 U n e x er ci s e d             O pti o n s              O pti o n            O pti o n          T h at H a v e           St o c k T h at     T h at H a v e              H a v e N ot
                                                                  O pti o n s ( #)                   ( #)               E x er ci s e       E x pir ati o n             N ot                H a v e N ot              N ot                  V e st e d ( 1)
   Na me                                                          E x er ci s a bl e       U n e x er ci s a bl e       Pri c e ( $)             D at e           V e st e d ( #)         V e st e d ( 1) ( $) V e st e d ( #)                     ( $)
   M ar k J. Tritt o n                                                                 —                            —                   —                     —                  —                          —       8 5 2, 4 8 8( 2)        9, 2 1 5, 3 9 5
   M ar y A. Wi n st o n                                                               —                            —                   —                     —                  —                          —                  —                          —
   W arr e n Ei s e n b er g                                                           —                            —                   —                     —                  —                          —         6 4, 5 2 8( 3)           6 9 7, 5 4 8
   L e o n ar d F ei n st ei n                                                         —                            —                   —                     —                  —                          —         6 4, 5 2 8( 3)           6 9 7, 5 4 8
   St e v e n H. T e m ar e s                                                          —                            —                   —                     —                  —                          —       5 4 7, 6 0 8( 4)        5, 9 1 9, 6 4 2( 5)
   R o b y n M. D’ Eli a                                                               —                            —                   —                     —           6, 7 1 2( 6)             7 2, 5 5 7       1 5 0, 7 0 2( 7)        1, 6 2 9, 0 8 9
  ( 1)      M ar k et v al u e i s b a s e d o n t h e cl o si n g pri c e of t h e C o m p a n y’ s c o m m o n st o c k of $ 1 0. 8 1 p er s h ar e o n F e br u ar y 2 8, 2 0 2 0, t h e l a st tr a di n g d a y i n fi s c al 2 0 1 9.
  ( 2)       Mr. Tritt o n’ s u n v e st e d P S U a w ar d s ar e v al u e d at t ar g et a c hi e v e m e nt a n d i n cl u d e 3 9, 1 0 5 R S U s t h at will v e st o n N o v e m b er 4, 2 0 2 0, s u bj e ct, i n g e n er al, t o Mr. Tritt o n
           r e m ai ni n g i n t h e C o m p a n y’ s e m pl o y t hr o u g h t h e v e sti n g d at e, a n d t o t h e t er m s, c o n diti o n s a n d r e stri cti o n s of t h e a w ar d a gr e e m e nt g o v er ni n g t h e gr a nt ( s e e f o ot n ot e
           ( 7) t o t h e Gr a nt s of Pl a n B a s e d A w ar d s t a bl e i n t hi s Pr o x y St at e m e nt); 2 7 3, 7 6 5 P S U s t h at will v e st o n N o v e m b er 4, 2 0 2 1, s u bj e ct t o t h e t er m s, c o n diti o n s a n d
           r e stri cti o n s of t h e a w ar d a gr e e m e nt g o v er ni n g t h e gr a nt ( s e e f o ot n ot e ( 5) t o t h e Gr a nt s of Pl a n B a s e d A w ar d s t a bl e i n t hi s Pr o x y St at e m e nt); a n d 5 3 9, 6 4 5 R S U s t h at
           will v e st a s f oll o w s: (i) 2 7 3, 7 3 4 R S U s will v e st o n M ar c h 3 1, 2 0 2 0; (ii) 1 3 2, 9 5 7 R S U s will v e st o n S e pt e m b er 3 0, 2 0 2 0; a n d (iii) 1 3 2, 9 5 7 R S U s will v e st o n M ar c h 3 1,
           2 0 2 1, i n e a c h c a s e s u bj e ct, i n g e n er al, t o Mr. Tritt o n r e m ai ni n g i n t h e C o m p a n y’ s e m pl o y t hr o u g h t h e a p pli c a bl e v e sti n g d at e, a n d t o t h e t er m s, c o n diti o n s a n d
           r e stri cti o n s of t h e a w ar d a gr e e m e nt g o v er ni n g t h e gr a nt. ( s e e fo ot n ot e ( 6) t o t h e Gr a nt s of Pl a n B a s e d A w ar d s t a bl e i n t hi s Pr o x y St at e m e nt).
  ( 3)       M e s sr s. Ei s e n b er g a n d F ei n st ei n’ s u n v e st e d P S U a w ar d s ar e v al u e d at t ar g et a c hi e v e m e nt a n d i n cl u d e 6 4, 5 2 8 P S U a w ar d s s u bj e ct t o a t hr e e- y e ar p erf or m a n c e g o al.
           U p o n att ai n m e nt of t h e t hr e e- y e ar p erf or m a n c e g o al a n d aft er t h e C o m p e n s ati o n C o m mitt e e c ertifi e s a c hi e v e m e nt of t h e p erf or m a n c e g o al, a s r e d u c e d b y t h e
           C o- F o u n d er s ettl e m e nt a gr e e m e nt s, t h e P S U a w ar d s ar e s c h e d ul e d t o v e st a s f oll o w s: ( a) 6, 6 6 8 o n M a y 1 0, 2 0 2 0; ( b) 1 3, 3 3 6 o n M a y 1 0, 2 0 2 0; ( c) 1 4, 8 4 1 o n M a y 1 0,
           2 0 2 1; a n d ( d) 2 9, 6 8 3 o n M a y 1 0, 2 0 2 1. I n c o n n e cti o n wit h M e s sr s. Ei s e n b er g a n d F ei n st ei n’ s d e p art ur e a s offi c er s of t h e C o m p a n y, eff e cti v e a s of A pril 2 1, 2 0 1 9, a n d
           a s dir e ct or s of t h e C o m p a n y, eff e cti v e a s of M a y 1, 2 0 1 9, t h e P S U s will v e st u p o n, a n d t o t h e e xt e nt pr o vi d e d i n, t h e c ertifi c ati o n of t h e C o m p e n s ati o n C o m mitt e e of
           t h e att ai n m e nt of t h e a p pli c a bl e p erf or m a n c e g o al s.
  ( 4)       Mr. T e m ar e s’ u n v e st e d P S U a w ar d s ar e v al u e d at t ar g et a c hi e v e m e nt a n d i n cl u d e 5 4 7, 6 0 8 P S U a w ar d s s u bj e ct t o a t hr e e- y e ar p erf or m a n c e g o al. U p o n att ai n m e nt of
           t h e t hr e e- y e ar p erf or m a n c e g o al a n d aft er t h e C o m p e n s ati o n C o m mitt e e c ertifi e s a c hi e v e m e nt of t h e p erf or m a n c e g o al, a s r e d u c e d b y t h e T e m ar e s P S U s ettl e m e nt
           a gr e e m e nt, t h e P S U a w ar d s ar e s c h e d ul e d t o v e st a s f oll o w s: ( a) 6 8, 6 5 0 o n M a y 1 0, 2 0 2 0; ( b) 1 3 7, 3 0 0 o n M a y 1 0, 2 0 2 0; ( c) 1 1 3, 8 8 6 o n M a y 1 0, 2 0 2 1; a n d ( d)
           2 2 7, 7 7 2 o n M a y 1 0, 2 0 2 1. I n c o n n e cti o n wit h Mr. T e m ar e s’ t er mi n ati o n of e m pl o y m e nt wit h t h e C o m p a n y o n M a y 1 2, 2 0 1 9 a n d r e si g n ati o n fr o m t h e B o ar d of Dir e ct or s
           of t h e C o m p a n y o n M a y 1 3, 2 0 1 9, t h e P S U s will v e st u p o n, a n d t o t h e e xt e nt pr o vi d e d i n, t h e c ertifi c ati o n of t h e C o m p e n s ati o n C o m mitt e e of t h e att ai n m e nt of t h e
           a p pli c a bl e p erf or m a n c e g o al s.
  ( 5)      P ur s u a nt t o S E C r ul e s, m ar k et v al u e i s b a s e d o n t h e cl o si n g pri c e of t h e C o m p a n y’ s c o m m o n st o c k, w hi c h w a s $ 1 0. 8 1 p er s h ar e o n F e br u ar y 2 8, 2 0 2 0, t h e l a st
           tr a di n g d a y i n fi s c al 2 0 1 9, r at h er t h a n t h e gr a nt d at e v al u e u n d er A S C 7 1 8. A c c or di n gl y, m ar k et v al u e d o e s n ot r efl e ct a di s c o u nt a p pli e d t o Mr. T e m ar e s’ P S U a w ar d s
           b y virt u e of a r e q uir e d t w o- y e ar p o st- v e sti n g h ol di n g p eri o d.
  ( 6)       M s. D’ Eli a h a s a n a g gr e g at e of 6, 7 1 2 s h ar e s of u n v e st e d r e stri ct e d st o c k. M s. D’ Eli a’ s u n v e st e d r e stri ct e d st o c k a w ar d s ar e s c h e d ul e d t o v e st a s f oll o w s: ( a) 2 8 7 o n
           M a y 1 0, 2 0 2 0; ( b) 3 2 1 o n e a c h of M a y 1 2, 2 0 2 0 a n d 2 0 2 1; ( c) 2 8 2 o n e a c h of M a y 1 1, 2 0 2 0, 2 0 2 1 a n d 2 0 2 2; ( d) 4 3 9 o n e a c h of M a y 1 0, 2 0 2 0 a n d 2 0 2 2 a n d 4 4 0 o n
           e a c h of M a y 1 0, 2 0 2 1 a n d 2 0 2 3; ( e) 3 8 1 o n e a c h of M a y 1 0, 2 0 2 0, 2 0 2 1, 2 0 2 2 a n d 2 0 2 3 a n d 3 8 2 o n M a y 1 0, 2 0 2 4; a n d (f) 2 1 2 o n e a c h of M a y 1 0, 2 0 2 0, 2 0 2 1, 2 0 2 2,
           2 0 2 3 a n d 2 0 2 4 a n d 2 1 3 o n M a y 1 0, 2 0 2 5.
  ( 7)       M s. D’ Eli a’ s u n v e st e d P S U a w ar d s ar e v al u e d at t ar g et a c hi e v e m e nt a n d i n cl u d e 3 3, 6 3 9 P S U a w ar d s, s u bj e ct t o a o n e- y e ar p erf or m a n c e g o al, a n d 1 1 7, 0 6 3 P S U
           a w ar d s, s u bj e ct t o a t hr e e- y e ar p erf or m a n c e g o al. U p o n att ai n m e nt of t h e o n e- y e ar p erf or m a n c e g o al a n d aft er t h e C o m p e n s ati o n C o m mitt e e c ertifi e s a c hi e v e m e nt of
           t h e p erf or m a n c e g o al, t h e P S U a w ar d s w er e s c h e d ul e d t o v e st o n J u n e 2 8, 2 0 2 0. U p o n att ai n m e nt of t h e t hr e e- y e ar p erf or m a n c e g o al a n d aft er t h e C o m p e n s ati o n
           C o m mitt e e c ertifi e s a c hi e v e m e nt of t h e p erf or m a n c e g o al, t h e P S U a w ar d s ar e s c h e d ul e d t o v e st a s f oll o w s: ( a) 5, 3 8 3 o n M a y 1 0, 2 0 2 1; ( b) 1 0, 7 6 6 o n M a y 1 0, 2 0 2 1;
           a n d ( c) 1 0 0, 9 1 4 o n J u n e 2 8, 2 0 2 2. T h e a m o u nt s li st e d f or M s. D’ Eli a d o n ot r efl e ct a r e d u cti o n of P S U s gr a nt e d i n fi s c al 2 0 1 9, a s d e s cri b e d b el o w u n d er “ P ot e nti al
           P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol – E m pl o y m e nt A gr e e m e nt a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h M s. D’ Eli a”.
                                                                                                                               46
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T a bl e of C o nt e nts

                                                                                                                                                                                                                E X E C U TI V E C O M P E N S A TI O N

                                                                                     O P TI O N E X E R CI S E S A N D S T O C K V E S T E D

  O pti o n E x er ci s e s a n d St o c k A w ar d s V e st e d f or Fi s c al 2 0 1 9
  T h e f oll o wi n g t a bl e i n cl u d e s c ert ai n i nf or m ati o n wit h r e s p e ct t o t h e e x er ci s e of o pti o n s a n d v e sti n g of st o c k a w ar d s b y N E O s d uri n g fi s c al 2 0 1 9.

                                                                                                                                       O pti o n A w ar d s                                                  St o c k A w ar d s
                                                                                                                    N u m b er of S h ar e s                                             N u m b er of S h ar e s
                                                                                                                        A c q uir e d o n               V al u e R e ali z e d               A c q uir e d o n            V al u e R e ali z e d o n
                                                                                                                           E x er ci s e                   o n E x er ci s e                     V e sti n g                      V e sti n g
   Na me                                                                                                                        ( #)                             ( $)                                ( #)                             ( $)
   M ar k J. Tritt o n ( 1)                                                                                                       —                                —                                        —                                  —
   M ar y A. Wi n st o n ( 2)                                                                                                     —                                —                             1 6 3, 9 3 4                    2, 2 3 6, 8 7 9
   W arr e n Ei s e n b er g ( 3)                                                                                                 —                                —                               3 5, 1 1 7                       5 5 5, 3 6 0
   L e o n ar d F ei n st ei n ( 3)                                                                                               —                                —                               3 5, 1 1 7                       5 5 5, 3 6 0
   St e v e n H. T e m ar e s ( 4)                                                                                                —                                —                             2 8 2, 3 8 2                    4, 4 1 2, 7 0 6
   R o b y n M. D’ Eli a ( 5)                                                                                                     —                                —                                 6, 9 8 4                         8 8, 7 3 7
  ( 1)      Mr. Tritt o n di d n ot h a v e a n y s h ar e s v e st i n fi s c al 2 0 1 9.
  ( 2)       M s. Wi n st o n a c q uir e d 1 6 3, 9 3 4 s h ar e s o n N o v e m b er 4, 2 0 1 9, i n c o n n e cti o n wit h t h e v e sti n g of h er r e stri ct e d st o c k a w ar d s u p o n h er st e p pi n g d o w n a s I nt eri m C hi ef
           E x e c uti v e Offi c er u p o n Mr. Tritt o n’ s c o m m e n c e m e nt of e m pl o y m e nt a s Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er.
  ( 3)       M e s sr s. Ei s e n b er g a n d F ei n st ei n e a c h a c q uir e d 3 5, 1 1 7 s h ar e s i n t ot al o n M a y 1, 2 0 1 9 a n d M a y 1 0, 2 0 1 9 u p o n t h e v e sti n g of P S U s f or w hi c h t h e p erf or m a n c e t e st
           h a d b e e n m et.
  ( 4)       Mr. T e m ar e s a c q uir e d 2 8 2, 3 8 2 s h ar e s i n t ot al o n M a y 1 0, 2 0 1 9, M a y 1 1, 2 0 1 9, a n d M a y 1 3, 2 0 1 9 u p o n t h e v e sti n g of P S U s f or w hi c h t h e p erf or m a n c e t e st h a d b e e n
           m et.
  ( 5)       M s. D’ Eli a a c q uir e d (i) 2, 1 4 0 s h ar e s i n t ot al o n M a y 1 0, 2 0 1 9, M a y 1 1, 2 0 1 9 a n d M a y 1 2, 2 0 1 9 u p o n t h e l a p s e of r e stri cti o n s o n pr e vi o u sl y gr a nt e d s h ar e s of r e stri ct e d
           st o c k a n d (ii) 4, 8 4 4 s h ar e s i n t ot al o n M a y 1 0, 2 0 1 9 u p o n v e sti n g of P S U a w ar d s s u bj e ct t o a o n e- y e ar p erf or m a n c e g o al.

  C o- C h air m e n E m eriti Tr a n siti o n
  O n A pril 2 1, 2 0 1 9, M e s sr s. Ei s e n b er g a n d F ei n st ei n tr a n siti o n e d t o t h e r ol e of C o- F o u n d er s a n d C o- C h air m e n E m eriti of t h e B o ar d. A s C o- C h air m e n
  E m eriti, t h e y b e c a m e e ntitl e d t o att e n d B o ar d m e eti n g s if i n vit e d b y t h e B o ar d, b ut ar e n ot e ntitl e d t o n oti c e of a n y s u c h m e eti n g or t o v ot e or b e c o u nt e d
  f or q u or u m p ur p o s e s at a n y s u c h m e eti n g s. A s a r e s ult of t hi s tr a n siti o n, M e s sr s. Ei s e n b er g a n d F ei n st ei n c e a s e d t o b e offi c er s of t h e C o m p a n y eff e cti v e
  a s of A pril 2 1, 2 0 1 9, a n d b e c a m e e ntitl e d t o t h e p a y m e nt s a n d b e n efit s pr o vi d e d u n d er t h eir e m pl o y m e nt a gr e e m e nt s t h at a p pl y i n t h e c a s e of a
  t er mi n ati o n wit h o ut c a u s e, w hi c h g e n er all y i n cl u d e c o nti n u e d s e ni or st at u s p a y m e nt s ( a s d e s cri b e d el s e w h er e i n t hi s pr o x y st at e m e nt) u ntil M a y 2 0 2 7 a n d
  c o nti n u e d p arti ci p ati o n f or t h e m ( a n d t h eir s p o u s e s, if a p pli c a bl e) at t h e C o m p a n y’ s e x p e n s e, i n m e di c al, d e nt al, h o s pit ali z ati o n a n d lif e i n s ur a n c e
  ( c oll e cti v el y, “ H e alt h B e n efit s”) a n d i n all ot h er e m pl o y e e pl a n s a n d pr o gr a m s i n w hi c h t h e y ( or t h eir f a mil y) w er e p arti ci p ati n g a s of t h e d at e of t er mi n ati o n
  a n d ot h er or a d diti o n al b e n efit s i n a c c or d a n c e wit h t h e a p pli c a bl e pl a n s a n d pr o gr a m s u ntil t h e e arli er of d e at h of t h e s ur vi v or of t h e C o- F o u n d er a n d hi s
  s p o u s e or t h e d at e( s) h e r e c ei v e s e q ui v al e nt c o v er a g e a n d b e n efit s fr o m a s u b s e q u e nt e m pl o y er. A s a r e s ult of diff eri n g vi e w s c o n c er ni n g M e s sr s.
  Ei s e n b er g a n d F ei n st ei n’ s ri g ht s a n d e ntitl e m e nt s t o t h e c o nti n u e d p arti ci p ati o n i n b e n efit s b e y o n d t h e e n u m er at e d H e alt h B e n efit s a n d t h e C o m p e n s ati o n
  C o m mitt e e’ s g o al of li miti n g t h e C o m p a n y’ s o n g oi n g r e s p o n si biliti e s wit h r e s p e ct t o c ert ai n l e g a c y arr a n g e m e nt s, o n F e br u ar y 2 6, 2 0 2 0, e a c h of M e s sr s.
  Ei s e n b er g a n d F ei n st ei n e nt er e d i nt o t h e C o- F o u n d er s ettl e m e nt a gr e e m e nt s wit h t h e C o m p a n y i n s ettl e m e nt of cl ai m s r el ati n g t o t h e c o nti n u e d
  p arti ci p ati o n i n b e n efit s b e y o n d t h e H e alt h B e n efit s. T h e s e ot h er c o nti n u e d p arti ci p ati o n b e n efit s i n cl u d e d p er s o n al c ar s er vi c e a n d c ar all o w a n c e, t a x
  pr e p ar ati o n s er vi c e s, a n d offi c e a n d a d mi ni str ati v e p er s o n n el a n d s u p p ort (r ef err e d t o i n t hi s pr o x y st at e m e nt a s t h e “ c o nti n u e d p arti ci p ati o n b e n efit s”).
  S e e t h e s e cti o n b el o w e ntitl e d “ E m pl o y m e nt A gr e e m e nt s a n d P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol.” I n a d diti o n, M e s sr s. Ei s e n b er g
  a n d F ei n st ei n r e m ai n e ntitl e d t o s u p pl e m e nt al p e n si o n p a y m e nt s s p e cifi e d i n t h eir e m pl o y m e nt a gr e e m e nt s u ntil t h e d e at h of t h e s ur vi v or of t h e
  C o- F o u n d er a n d hi s s p o u s e, r e d u c e d b y t h e c o nti n u e d s e ni or st at u s p a y m e nt s r ef er e n c e d i n t hi s p ar a gr a p h.
                                                                                                                             47
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

  E m pl o y m e nt A gr e e m e nt s a n d P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol

  E m pl o y m e nt A gr e e m e nt s
  E a c h N E O h a s a n e m pl o y m e nt a gr e e m e nt wit h t h e C o m p a n y t h at pr o vi d e s f or s e v er a n c e p a y ( or, i n t h e c a s e of M s. Wi n st o n, a c c el er at e d v e sti n g of
  c ert ai n e q uit y a w ar d s) a n d ot h er b e n efit s u p o n a t er mi n ati o n of hi s or h er e m pl o y m e nt. F or a c o m pl et e d e s cri pti o n of p a y m e nt s d u e t o e a c h N E O u p o n
  t er mi n ati o n of hi s or h er e m pl o y m e nt wit h t h e C o m p a n y, s e e “ P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol” b el o w. Mr. Tritt o n’ s
  e m pl o y m e nt a gr e e m e nt pr o vi d e s f or n o n- c o m p etiti o n, n o n- s oli cit ati o n, a n d n o n-i nt erf er e n c e d uri n g t h e t er m of e m pl o y m e nt a n d f or t w o y e ar s t h er e aft er.
  M s. D’ Eli a’ s a gr e e m e nt pr o vi d e s f or a t w o- y e ar n o n- s oli cit ati o n r e stri cti o n a n d n o n- c o m p etiti o n r e stri cti o n f or o n e y e ar b ut pr o vi d e s t h e C o m p a n y wit h t h e
  a bilit y t o e xt e n d t h e p eri o d of n o n- c o m p etiti o n f or a n a d diti o n al y e ar pr o vi d e d t h e C o m p a n y al s o e xt e n d s s e v er a n c e p a y m e nt s f or s u c h a d diti o n al p eri o d
  ( w hi c h t h e C o m p a n y c h o s e n ot t o e xt e n d, a s d e s cri b e d f urt h er b el o w). Mr. Ei s e n b er g’ s a gr e e m e nt a n d Mr. F ei n st ei n’ s a gr e e m e nt pr o vi d e f or a
  n o n- s oli cit ati o n r e stri cti o n f or o n e y e ar a n d pr o vi d e f or a n o n- c o m p etiti o n r e stri cti o n f or t h e d ur ati o n of r e q uir e d s al ar y c o nti n u ati o n p a y m e nt s u n d er t h e
  a gr e e m e nt s. Mr. T e m ar e s’ e m pl o y m e nt a gr e e m e nt pr o vi d e s f or n o n- c o m p etiti o n a n d n o n- s oli cit ati o n of t h e C o m p a n y’ s e m pl o y e e s d uri n g t h e t er m of
  e m pl o y m e nt a n d f or o n e y e ar t h er e aft er. E a c h N E O e m pl o y m e nt a gr e e m e nt pr o vi d e s f or c o nfi d e nti alit y d uri n g t h e t er m of e m pl o y m e nt a n d s ur vi vi n g t h e
  e n d of t h e t er m of e m pl o y m e nt.

  P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol
  T h e e m pl o y m e nt a gr e e m e nt of e a c h N E O ot h er t h a n M s. Wi n st o n a n d c ert ai n of t h e pl a n s i n w hi c h t h e N E O s p arti ci p at e r e q uir e t h e C o m p a n y t o p a y
  c o m p e n s ati o n t o t h e e x e c uti v e s if t h eir e m pl o y m e nt t er mi n at e s. M s. Wi n st o n’ s e m pl o y m e nt a gr e e m e nt wit h t h e C o m p a n y pr o vi d e s f or a c c el er at e d v e sti n g
  of t h e s p e ci al e q uit y a w ar d t h at w a s gr a nt e d i n c o n n e cti o n wit h h er a p p oi nt m e nt a s t h e I nt eri m C hi ef E x e c uti v e Offi c er of t h e C o m p a n y u p o n t er mi n ati o n
  of h er e m pl o y m e nt. B e c a u s e (i) M s. Wi n st o n st e p p e d d o w n a s t h e I nt eri m C hi ef E x e c uti v e Offi c er eff e cti v e a s of N o v e m b er 4, 2 0 1 9 i n c o n n e cti o n wit h
  Mr. Tritt o n’ s c o m m e n c e m e nt of e m pl o y m e nt a s t h e Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er of t h e C o m p a n y ( b ut c o nti n u e d a s a dir e ct or of t h e C o m p a n y),
  (ii) M e s sr s. Ei s e n b er g a n d F ei n st ei n tr a n siti o n e d t o t h e r ol e of C o- F o u n d er s a n d C o- C h air m e n E m eriti of t h e B o ar d a n d c e a s e d t o b e offi c er s of t h e
  C o m p a n y eff e cti v e A pril 2 1, 2 0 1 9, a n d (iii) Mr. T e m ar e s s e p ar at e d fr o m t h e C o m p a n y eff e cti v e M a y 1 2, 2 0 1 9, i n e a c h c a s e, s u c h s e p ar ati o n or tr a n siti o n,
  a s a p pli c a bl e, w a s tr e at e d a s a t er mi n ati o n of e m pl o y m e nt b y t h e C o m p a n y ot h er t h a n f or “ c a u s e”, a n d t h e d e s cri pti o n s of t h e a p pli c a bl e a gr e e m e nt s a n d
  arr a n g e m e nt s b el o w d e s cri b e o nl y t h e pr o vi si o n s a p pli c a bl e t o, a n d a m o u nt s p a y a bl e a n d b e n efit s pr o vi d e d a s a r e s ult of, a t er mi n ati o n of M s. Wi n st o n
  a n d e a c h of M e s sr s. Ei s e n b er g, F ei n st ei n a n d T e m ar e s b y t h e C o m p a n y wit h o ut “ c a u s e.”

  T h e t a bl e b el o w li st s t h e e sti m at e d a m o u nt of c o m p e n s ati o n p a y a bl e t o e a c h of Mr. Tritt o n a n d M s. D’ Eli a i n e a c h t er mi n ati o n sit u ati o n u si n g a n a s s u m e d
  t er mi n ati o n d at e a n d a n a s s u m e d c h a n g e i n c o ntr ol d at e of F e br u ar y 2 9, 2 0 2 0, t h e l a st d a y of fi s c al 2 0 1 9 a n d a pri c e p er s h ar e of c o m m o n st o c k of
  $ 1 0. 8 1 (t h e “ P er S h ar e Cl o si n g Pri c e”), t h e cl o si n g p er s h ar e pri c e a s of F e br u ar y 2 8, 2 0 2 0, t h e l a st b u si n e s s d a y of fi s c al 2 0 1 9. M s. D’ Eli a s e p ar at e d
  fr o m t h e C o m p a n y eff e cti v e M a y 8, 2 0 2 0, a n d h er s e p ar ati o n w a s tr e at e d a s a t er mi n ati o n b y t h e C o m p a n y wit h o ut “ c a u s e.” B e c a u s e M s. D’ Eli a’ s
  s e p ar ati o n o c c urr e d f oll o wi n g t h e e n d of t h e C o m p a n y’ s fi s c al 2 0 1 9, p ur s u a nt t o S E C r ul e s, t h e t a bl e b el o w li st s e sti m at e d c o m p e n s ati o n p a y a bl e t o
  M s. D’ Eli a i n e a c h t er mi n ati o n sit u ati o n a s of t h e l a st b u si n e s s d a y of fi s c al 2 0 1 9.

  E m pl o y m e nt A gr e e m e nt wit h Mr. Tritt o n
  T h e B o ar d a p p oi nt e d M ar k J. Tritt o n a s t h e Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er of t h e C o m p a n y, eff e cti v e a s of N o v e m b er 4, 2 0 1 9, a n d i n c o n n e cti o n
  t h er e wit h, t h e C o m p a n y e nt er e d i nt o a n e m pl o y m e nt a gr e e m e nt wit h Mr. Tritt o n (“ Tritt o n E m pl o y m e nt A gr e e m e nt”). T h e Tritt o n E m pl o y m e nt A gr e e m e nt
  pr o vi d e s t h at i n t h e e v e nt of a t er mi n ati o n of Mr. Tritt o n’ s e m pl o y m e nt d u e t o hi s d e at h or di s a bilit y:
        •      t h e Si g n- O n R S U A w ar d a n d t h e M a k e- W h ol e R S U A w ar d, t o t h e e xt e nt n ot pr e vi o u sl y v e st e d, will i m m e di at el y v e st i n f ull;
        •      t h e M a k e- W h ol e P S U A w ar d, t o t h e e xt e nt n ot pr e vi o u sl y v e st e d, will i m m e di at el y v e st i n f ull at 1 0 0 % of t ar g et l e v el of p erf or m a n c e; a n d
        •      t h e C o m p a n y will p a y Mr. Tritt o n ( or hi s e st at e) a m a k e- w h ol e c a s h b o n u s of $ 7 1 0, 0 0 0 w hi c h w o ul d h a v e ot h er wi s e b e c o m e p a y a bl e o n
               M ar c h 1 3, 2 0 2 0, s u bj e ct t o Mr. Tritt o n’ s c o nti n u e d e m pl o y m e nt wit h t h e C o m p a n y t hr o u g h s u c h d at e (“ M a k e- W h ol e C a s h B o n u s”) a n d t h e a n n u al
               b o n u s f or 2 0 1 9 fi s c al y e ar, t o t h e e xt e nt n ot pr e vi o u sl y p ai d, wit hi n 3 0 d a y s of s u c h d at e ( c oll e cti v el y, t h e “I n d u c e m e nt A w ar d A c c el er ati o n”).
                                                                                                                  48
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T a bl e of C o nt e nts

                                                                                                                                                                                              E X E C U TI V E C O M P E N S A TI O N

  T h e Tritt o n E m pl o y m e nt A gr e e m e nt pr o vi d e s t h at if t h e C o m p a n y t er mi n at e s Mr. Tritt o n’ s e m pl o y m e nt ot h er t h a n f or “ C a u s e,” or i n t h e e v e nt Mr. Tritt o n
  t er mi n at e s wit h “ G o o d R e a s o n,” i n e a c h c a s e, n ot i n c o n n e cti o n wit h a “ c h a n g e i n c o ntr ol” ( a s d efi n e d i n t h e 2 0 1 8 Pl a n), t h e n i n a d diti o n t o I n d u c e m e nt
  A w ar d A c c el er ati o n, Mr. Tritt o n will r e c ei v e s e v er a n c e p a y e q u al t o t h e s u m of t w o ti m e s Mr. Tritt o n’ s b a s e s al ar y a n d hi s t ar g et a n n u al b o n u s ( p a y a bl e
  o v er t h e 2 4 m o nt h s f oll o wi n g hi s t er mi n ati o n d at e), a n y e ar n e d b ut u n p ai d a n n u al b o n u s f or t h e y e ar pri or t o t h e y e ar of t er mi n ati o n, a n d u p t o 2 4 m o nt h s
  of C O B R A b e n efit s at a cti v e e m pl o y e e r at e s. S e v er a n c e p a y will b e p ai d i n a c c or d a n c e wit h n or m al p a yr oll; h o w e v er, a n y a m o u nt d u e pri or t o t h e si x
  m o nt h s aft er t er mi n ati o n of e m pl o y m e nt will b e p ai d i n a l u m p s u m o n t h e d at e f oll o wi n g t h e si x- m o nt h a n ni v er s ar y of t er mi n ati o n of e m pl o y m e nt. If t h e
  C o m p a n y t er mi n at e s Mr. Tritt o n’ s e m pl o y m e nt ot h er t h a n f or “ C a u s e,” or i n t h e e v e nt Mr. Tritt o n t er mi n at e s wit h “ G o o d R e a s o n,” i n e a c h c a s e, wit hi n 3 0
  d a y s pri or t o, or t w o y e ar s f oll o wi n g, a “ c h a n g e i n c o ntr ol” ( a s d efi n e d i n t h e 2 0 1 8 Pl a n), t h e n Mr. Tritt o n will r e c ei v e t h e e ntitl e m e nt s d e s cri b e d i n t h e
  pr e c e di n g s e nt e n c e, e x c e pt t h at t h e s e v er a n c e p a y will b e p ai d i n l u m p s u m, Mr. Tritt o n’ s ot h er o ut st a n di n g ti m e- b a s e d e q uit y a w ar d s will i m m e di at el y
  v e st i n f ull, a n d a n y ot h er o ut st a n di n g p erf or m a n c e- b a s e d e q uit y a w ar d s will v e st, b a s e d o n a ct u al p erf or m a n c e a n d pr or at e d b a s e d o n t h e n u m b er of
  d a y s d uri n g t h e a p pli c a bl e p erf or m a n c e p eri o d t h at Mr. Tritt o n r e m ai n e d e m pl o y e d b y t h e C o m p a n y, at t h e ti m e t h at s u c h a w ar d s w o ul d h a v e ot h er wi s e
  v e st e d h a d Mr. Tritt o n r e m ai n e d e m pl o y e d u p t o t h e v e sti n g d at e. Mr. Tritt o n ( or hi s e st at e or l e g al r e pr e s e nt ati v e, i n t h e e v e nt of Mr. Tritt o n’ s d e at h or
  di s a bilit y) i s r e q uir e d t o d eli v er a f or m al r el e a s e of all cl ai m s pri or t o, a n d a s a c o n diti o n of, hi s r e c ei pt of a n y of t h e s e v er a n c e p a y m e nt s, a c c el er at e d
  v e sti n g, a n d ot h er p o st- e m pl o y m e nt b e n efit s u n d er t h e Tritt o n E m pl o y m e nt A gr e e m e nt.
  “ C a u s e” i s d efi n e d i n t h e Tritt o n E m pl o y m e nt A gr e e m e nt a s Mr. Tritt o n’ s: (i) i n di ct m e nt f or or pl e a of n ol o c o nt e n d er e t o a f el o n y or c o m mi s si o n of a n a ct
  i n v ol vi n g m or al t ur pit u d e; (ii) c o m mi s si o n of fr a u d, t h eft, e m b e z zl e m e nt, s elf- d e ali n g, mi s a p pr o pri ati o n or ot h er m alf e a s a n c e a g ai n st t h e b u si n e s s of t h e
  C o m p a n y, it s s u b si di ari e s or affili at e s ( c oll e cti v el y, t h e “ C o m p a n y Gr o u p”); (iii) i n di ct m e nt f or or pl e a of n ol o c o nt e n d er e t o a n y s eri o u s off e n s e t h at r e s ult s
  i n or w o ul d r e a s o n a bl y b e e x p e ct e d t o r e s ult i n m at eri al fi n a n ci al h ar m, m at eri all y n e g ati v e p u bli cit y or ot h er m at eri al h ar m t o a n y m e m b er of t h e
  C o m p a n y Gr o u p; (i v) f ail ur e t o p erf or m a n y m at eri al a s p e ct of hi s l a wf ul d uti e s or r e s p o n si biliti e s f or t h e C o m p a n y or t h e C o m p a n y Gr o u p ( ot h er t h a n b y
  r e a s o n of di s a bilit y), a n d if c ur a bl e, f ail ur e t o c ur e i n a ti m el y m a n n er; ( v) f ail ur e t o c o m pl y wit h a n y l a wf ul writt e n p oli c y of t h e C o m p a n y or r e a s o n a bl e
  dir e cti v e of t h e B o ar d, a n d i n eit h er c a s e, if c ur a bl e, f ail ur e t o c ur e i n a ti m el y m a n n er; ( vi) c o m mi s si o n of a ct s or o mi s si o n s c o n stit uti n g gr o s s n e gli g e n c e
  or gr o s s mi s c o n d u ct i n t h e p erf or m a n c e of a n y a s p e ct of hi s l a wf ul d uti e s or r e s p o n si biliti e s; ( vii) br e a c h of a n y fi d u ci ar y d ut y o w e d t o t h e C o m p a n y
  Gr o u p; ( viii) vi ol ati o n or br e a c h of a n y r e stri cti v e c o v e n a nt or a n y m at eri al t er m of t h e Tritt o n E m pl o y m e nt A gr e e m e nt, a n d, if c ur a bl e, f ail ur e t o c ur e i n a
  ti m el y m a n n er; or (i x) c o m mi s si o n of a n y a ct or o mi s si o n t h at d a m a g e s or i s r e a s o n a bl y li k el y t o d a m a g e t h e fi n a n ci al c o n diti o n or b u si n e s s of t h e
  C o m p a n y or m at eri all y d a m a g e s or i s r e a s o n a bl y li k el y t o m at eri all y d a m a g e t h e r e p ut ati o n, p u bli c i m a g e, g o o d will, a s s et s or pr o s p e ct s of t h e C o m p a n y.
  I n a d diti o n, Mr. Tritt o n’ s e m pl o y m e nt will b e d e e m e d t o h a v e t er mi n at e d f or “ C a u s e” if, o n t h e d at e Mr. Tritt o n’ s e m pl o y m e nt t er mi n at e s, f a ct s a n d
  cir c u m st a n c e s e xi st t h at w o ul d h a v e j u stifi e d a t er mi n ati o n f or C a u s e, t o t h e e xt e nt t h at s u c h f a ct s a n d cir c u m st a n c e s ar e di s c o v er e d wit hi n f o ur m o nt h s
  aft er s u c h t er mi n ati o n.
  “ G o o d R e a s o n” i s d efi n e d i n t h e Tritt o n E m pl o y m e nt A gr e e m e nt a s a n y of t h e f oll o wi n g o c c urri n g wit h o ut Mr. Tritt o n’ s writt e n c o n s e nt: (i) a r e d u cti o n of
  Mr. Tritt o n’ s b a s e s al ar y, ot h er t h a n a r e d u cti o n of l e s s t h a n t e n p er c e nt i n c o n n e cti o n wit h a c o m p ar a bl e d e cr e a s e a p pli c a bl e t o all s e ni or e x e c uti v e s of
  t h e C o m p a n y; (ii) t h e C o m p a n y’ s r el o c ati o n of Mr. Tritt o n’ s pl a c e of e m pl o y m e nt b y m or e t h a n t hirt y-fi v e mil e s; (iii) a m at eri al di mi n uti o n i n Mr. Tritt o n’ s
  d uti e s, a ut h orit y or r e s p o n si biliti e s; or (i v) a c h a n g e i n Mr. Tritt o n’ s r e p orti n g li n e ( s u c h t h at h e n o l o n g er r e p ort s dir e ctl y t o t h e B o ar d) or i n hi s titl e of C hi ef
  E x e c uti v e Offi c er; pr o vi d e d, i n e a c h c a s e, t h at a r e si g n ati o n will b e wit h “ G o o d R e a s o n” o nl y if Mr. Tritt o n pr o vi d e s t h e C o m p a n y wit h writt e n n oti c e
  d et aili n g t h e s p e cifi c cir c u m st a n c e s all e g e d t o c o n stit ut e “ G o o d R e a s o n” wit hi n si xt y c al e n d ar d a y s aft er t h e o c c urr e n c e of s u c h cir c u m st a n c e s, t h e
  C o m p a n y f ail s t o c ur e s u c h cir c u m st a n c e s i n all m at eri al r e s p e ct s wit hi n t hirt y d a y s of r e c ei pt of n oti c e, a n d Mr . Tritt o n a ct u all y r e si g n s wit hi n o n e h u n dr e d
  a n d t w e nt y d a y s f oll o wi n g t h e fir st o c c urr e n c e of a n y gr o u n d s f or “ G o o d R e a s o n”; pr o vi d e d f urt h er, t h at t h e r e m o v al of Mr. Tritt o n’ s titl e a s Pr e si d e nt a n d
  t h e s u b s e q u e nt a p p oi nt m e nt of a Pr e si d e nt w h o w o ul d r e p ort t o Mr. Tritt o n w o ul d n ot c o n stit ut e gr o u n d s f or “ G o o d R e a s o n”.
  T h e Tritt o n E m pl o y m e nt A gr e e m e nt al s o pr o vi d e s f or n o n- c o m p etiti o n a n d n o n- s oli cit ati o n d uri n g t h e t er m of e m pl o y m e nt a n d f or t w o y e ar s t h er e aft er.
  T h e a gr e e m e nt al s o pr o vi d e s f or n o n- di s p ar a g e m e nt a n d c o nfi d e nti alit y d uri n g t h e t er m of e m pl o y m e nt a n d s ur vi vi n g t h e e n d of t h e t er m of e m pl o y m e nt.

  E m pl o y m e nt A gr e e m e nt wit h M s. Wi n st o n
  O n M a y 1 2, 2 0 1 9, t h e B o ar d a p p oi nt e d M ar y A. Wi n st o n, a c urr e nt m e m b er of t h e B o ar d, a s I nt eri m C hi ef E x e c uti v e Offi c er, eff e cti v e a s of t h at d at e, t o
  s u c c e e d Mr. T e m ar e s, w h o c e a s e d t o s er v e a s t h e C hi ef E x e c uti v e Offi c er of t h e C o m p a n y a s of M a y 1 2, 2 0 1 9, a n d o n J u n e 2 6, 2 0 1 9, t h e C o m p a n y
  e nt er e d i nt o a n e m pl o y m e nt a gr e e m e nt wit h M s. Wi n st o n. M s. Wi n st o n’ s e m pl o y m e nt a gr e e m e nt pr o vi d e d f or at- will e m pl o y m e nt wit h o ut a s p e cifi e d
  t er m, a n a n n u al b a s e s al ar y e q u al t o $ 1, 1 0 0, 0 0 0, a n d a gr a nt of s h ar e s of ti m e v e sti n g r e stri ct e d st o c k u n d er t h e C o m p a n y’ s 2 0 1 2 Pl a n e q u al i n v al u e t o
  $ 1, 9 0 0, 0 0 0 b a s e d o n t h e a v er a g e of t h e hi g h a n d l o w p er- s h ar e tr a di n g pri c e of C o m p a n y c o m m o n st o c k o n t h e d at e of gr a nt (t h e “ T V R S A w ar d”).
                                                                                                                    49
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

  T h e T V R S A w ar d w a s gr a nt e d o n J u n e 2 8, 2 0 1 9. T h e e m pl o y m e nt a gr e e m e nt a n d t h e a w ar d a gr e e m e nt g o v er ni n g t h e T V R S A w ar d pr o vi d e d t h at t h e
  T V R S A w ar d w o ul d v e st i n f ull i n t h e e v e nt t h at M s. Wi n st o n’ s e m pl o y m e nt w a s t er mi n at e d wit h o ut “ C a u s e”, i n cl u di n g a t er mi n ati o n b e c a u s e t h e
  C o m p a n y hir e s a r e pl a c e m e nt c hi ef e x e c uti v e offi c er, s u bj e ct t o M s. Wi n st o n’ s e x e c uti o n a n d n o n-r e v o c ati o n of a r el e a s e of cl ai m s. M s. Wi n st o n st e p p e d
  d o w n a s t h e C o m p a n y’ s I nt eri m C hi ef E x e c uti v e Offi c er o n N o v e m b er 4, 2 0 1 9, i n c o n n e cti o n wit h Mr. Tritt o n c o m m e n ci n g e m pl o y m e nt a s t h e C o m p a n y’ s
  C hi ef E x e c uti v e Offi c er, a n d M s. Wi n st o n’ s T V R S A w ar d v e st e d o n s u c h d at e.

  E m pl o y m e nt A gr e e m e nt a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h Mr. T e m ar e s
  Mr. T e m ar e s d e p art e d t h e C o m p a n y eff e cti v e a s of M a y 1 2, 2 0 1 9. I n a c c or d a n c e wit h t h e t er m s of hi s e m pl o y m e nt a n d e q uit y a w ar d a gr e e m e nt s, h e w a s
  e ntitl e d t o t hr e e ti m e s hi s t h e n- c urr e nt s al ar y, t ot ali n g i n t h e a m o u nt of $ 1 1, 9 0 2, 5 0 0 ( c al c ul at e d wit h o ut r e g ar d t o a n y p a st v ol u nt ar y w ai v er of b a s e
  s al ar y), p a y a bl e o v er t hr e e y e ar s i n n or m al p a yr oll i n st all m e nt s, e x c e pt t h at t h e a m o u nt d u e pri or t o t h e si x m o nt h s aft er hi s d e p art ur e, $ 1, 9 8 3, 7 5 0, w a s
  p ai d i n a l u m p s u m o n N o v e m b er 1 3, 2 0 1 9, aft er t h e e n d of s u c h si x- m o nt h p eri o d. S u c h a m o u nt s will b e r e d u c e d b y a n y c o m p e n s ati o n e ar n e d b y
  Mr. T e m ar e s wit h a n y s u b s e q u e nt e m pl o y er or ot h er wi s e a n d will b e s u bj e ct t o hi s c o m pli a n c e wit h a o n e- y e ar n o n- c o m p etiti o n a n d n o n- s oli cit ati o n
  c o v e n a nt.
  T h e o n e- y e ar p erf or m a n c e g o al a p pli c a bl e t o Mr. T e m ar e s’ P S U s gr a nt e d i n t h e C o m p a n y’ s 2 0 1 8 fi s c al y e ar w a s d et er mi n e d t o h a v e b e e n att ai n e d, a n d
  t h e P S U s b e c a m e f ull y v e st e d. H o w e v er, i n c o n n e cti o n wit h it s r e vi e w of t h e 2 0 1 8 P erf or m a n c e P e er Gr o u p u s e d f or p ur p o s e s of t h e P S U s gr a nt e d t o
  Mr. T e m ar e s i n t h e C o m p a n y’ s 2 0 1 8 fi s c al y e ar, t h e C o m p e n s ati o n C o m mitt e e f o u n d t h at t h e C o m p a n y’ s 2 0 1 7 fi s c al y e ar p erf or m a n c e p e er gr o u p w a s
  u s e d i n d et er mi ni n g t h e a c hi e v e m e nt of p erf or m a n c e g o al s i n st e a d of t h e 2 0 1 8 P erf or m a n c e P e er Gr o u p, w hi c h r e s ult e d i n Mr. T e m ar e s r e c ei vi n g 9 4, 5 0 0
  a d diti o n al s h ar e s i n r e s p e ct of hi s P S U s (t h e “ T e m ar e s a d diti o n al s h ar e s”). O n O ct o b er 2 1, 2 0 1 9, Mr. T e m ar e s e nt er e d i nt o a n a gr e e m e nt (t h e “ T e m ar e s
  P S U s ettl e m e nt a gr e e m e nt”) wit h t h e C o m p a n y t o r e d u c e b y a n u m b er of s h ar e s e q u al t o t h e n u m b er of T e m ar e s a d diti o n al s h ar e s t h o s e P S U s t h at
  r e m ai n e d o ut st a n di n g u n d er t h e a w ar d gr a nt e d t o Mr. T e m ar e s i n t h e C o m p a n y’ s 2 0 1 8 fi s c al y e ar. P ur s u a nt t o t h e T e m ar e s P S U s ettl e m e nt a gr e e m e nt,
  t h e C o m p a n y r e d u c e d t h e n u m b er of o ut st a n di n g P S U s gr a nt e d t o Mr. T e m ar e s i n t h e C o m p a n y’ s 2 0 1 8 fi s c al y e ar b y 9 4, 5 0 0 P S U s, s u c h t h at, f oll o wi n g
  t h e r e d u cti o n, Mr. T e m ar e s h el d 2 2 7, 7 7 2 P S U s s u bj e ct t o a t hr e e- y e ar R OI C g o al a n d 1 1 3, 8 8 6 P S U s s u bj e ct t o a t hr e e- y e ar E BI T m ar gi n g o al (i n e a c h
  c a s e, a s s u mi n g 1 0 0 % of t h e t ar g et l e v el of p erf or m a n c e). F urt h er, a s a r e s ult of hi s d e p art ur e i n t h e C o m p a n y’ s 2 0 1 9 fi s c al y e ar, t h e ti m e- v e sti n g
  c o m p o n e nt of Mr. T e m ar e s’ e q uit y- b a s e d a w ar d s a c c el er at e d, i n cl u di n g (i) hi s st o c k o pti o n s ( w hi c h w er e “ u n d er w at er” a n d e x pir e d wit h o ut h a vi n g b e e n
  e x er ci s e d b y Mr. T e m ar e s), a n d (ii) $ 5, 9 1 9, 6 4 2 of P S U a w ar d s ( a s s u mi n g t ar g et l e v el of p erf or m a n c e) w hi c h r e m ai n s u bj e ct t o att ai n m e nt of a n y
  a p pli c a bl e p erf or m a n c e g o al s a n d t h e c ertifi c ati o n of t h e a p pli c a bl e p erf or m a n c e- b a s e d t e st s b y t h e C o m p e n s ati o n C o m mitt e e, a s pr o vi d e d u n d er hi s
  a w ar d a gr e e m e nt s a n d s u bj e ct t o t h e t er m s of t h e T e m ar e s P S U s ettl e m e nt a gr e e m e nt. F or t hi s p ur p o s e, t h e v al u e of t h e P S U a w ar d s i s b a s e d o n t h e
  P er S h ar e Cl o si n g Pri c e. T h e a ct u al v al u e of Mr. T e m ar e s’ P S U a w ar d s u p o n v e sti n g will d e p e n d o n t h e a ct u al p erf or m a n c e a s c ertifi e d b y t h e
  C o m p e n s ati o n C o m mitt e e. F oll o wi n g t h e e n d of t h e 2 0 1 9 fi s c al y e ar, t h e C o m p e n s ati o n C o m mitt e e c ertifi e d t h at (i) t h e t hr e e- y e ar E BI T m ar gi n
  p erf or m a n c e- b a s e d t e st f or fi s c al 2 0 1 7 w a s m et at 6 9. 0 7 % t ar g et (r e s ulti n g i n a p a y o ut of 7 5 % of t ar g et, r e s ulti n g i n Mr. T e m ar e s r e c ei vi n g 5 1, 4 8 8 s h ar e s
  of c o m m o n st o c k wit h r e s p e ct t o s u c h P S U a w ar d), a n d (ii) t h e t hr e e- y e ar R OI C p erf or m a n c e- b a s e d t e st f or fi s c al 2 0 1 7 w a s m et at 7 6. 9 3 % t ar g et
  (r e s ulti n g i n a p a y o ut of 9 0 % of t ar g et, r e s ulti n g i n Mr. T e m ar e s r e c ei vi n g 1 2 3, 5 7 0 s h ar e s of c o m m o n st o c k wit h r e s p e ct t o s u c h P S U a w ar d).
  Mr. T e m ar e s i s a p art y t o t h e S E R P a n d a r el at e d e s cr o w a gr e e m e nt, p ur s u a nt t o w hi c h h e w a s e ntitl e d t o r e c ei v e a s u p pl e m e nt al r etir e m e nt b e n efit a s a
  r e s ult of hi s s e p ar ati o n fr o m s er vi c e fr o m t h e C o m p a n y. P ur s u a nt t o t h e S E R P, a s a r e s ult of hi s s e p ar ati o n fr o m s er vi c e wit h t h e C o m p a n y a s of M a y 1 2,
  2 0 1 9 b ei n g tr e at e d a s a t er mi n ati o n wit h o ut c a u s e, Mr. T e m ar e s b e c a m e e ntitl e d t o a l u m p s u m p a y m e nt e q u al t o t h e pr e s e nt v al u e of a n a n n u al a m o u nt
  e q u al t o 5 0 % of Mr. T e m ar e s’ a n n u al b a s e s al ar y o n t h e d at e of t er mi n ati o n of e m pl o y m e nt if s u c h a n n u al a m o u nt w er e p ai d f or a p eri o d of 1 0 y e ar s i n
  a c c or d a n c e wit h t h e C o m p a n y’ s n or m al p a yr oll pr a cti c e s ( w hi c h a m o u nt e q u al s $ 1 7, 6 5 4, 8 3 4), s u bj e ct t o Mr. T e m ar e s’ ti m el y e x e c uti o n a n d
  n o n-r e v o c ati o n of a r el e a s e of cl ai m s i n f a v or of t h e C o m p a n y ( w hi c h o c c urr e d). T hi s a m o u nt w a s p ai d o n N o v e m b er 1 3, 2 0 1 9, t h e fir st b u si n e s s d a y
  f oll o wi n g t h e si x- m o nt h a n ni v er s ar y of Mr. T e m ar e s’ t er mi n ati o n of s er vi c e. T h e C o m p a n y h a s n o f urt h er o bli g ati o n t o Mr. T e m ar e s u n d er t h e S E R P.

  E m pl o y m e nt A gr e e m e nt s a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h M e s sr s. Ei s e n b er g a n d F ei n st ei n
  T h e C o m p a n y i s p art y t o e m pl o y m e nt a gr e e m e nt s wit h e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n. U n d er t h e s e a gr e e m e nt s, e a c h of M e s sr s. Ei s e n b er g
  a n d F ei n st ei n h a d t h e o pti o n t o el e ct s e ni or st at u s at a n y ti m e (i. e., t o b e c o nti n u e d t o b e e m pl o y e d t o pr o vi d e n o n-li n e e x e c uti v e c o n s ult ati v e s er vi c e s).
  O n M a y 1 1, 2 0 1 7, M e s sr s. Ei s e n b er g a n d F ei n st ei n n otifi e d t h e C o m p a n y t h at t h e y el e ct e d t o c o m m e n c e t h eir S e ni or St at u s P eri o d ( a s d efi n e d i n t h eir
  r e s p e cti v e e m pl o y m e nt a gr e e m e nt s), eff e cti v e M a y 2 1, 2 0 1 7. P ur s u a nt t o t h e “ s e ni or st at u s” pr o vi si o n s of t h eir e m pl o y m e nt a gr e e m e nt s, e a c h of M e s sr s.
  Ei s e n b er g a n d F ei n st ei n w a s e ntitl e d t o b a s e s al ar y, t er mi n ati o n p a y m e nt s, p o str etir e m e nt b e n efit s a n d ot h er t er m s a n d c o n diti o n s of e m pl o y m e nt, d uri n g
  t h e S e ni or St at u s P eri o d.
                                                                                                                 50
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T a bl e of C o nt e nts

                                                                                                                                                                                                E X E C U TI V E C O M P E N S A TI O N

  O n A pril 2 1, 2 0 1 9, e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n tr a n siti o n e d t o t h e r ol e s of C o- F o u n d er s a n d C o- C h air m e n E m eriti of t h e B o ar d of Dir e ct or s
  of t h e C o m p a n y. A s a r e s ult of t hi s tr a n siti o n, M e s sr s. Ei s e n b er g a n d F ei n st ei n c e a s e d t o b e offi c er s of t h e C o m p a n y eff e cti v e a s of A pril 2 1, 2 0 1 9, a n d
  b e c a m e e ntitl e d t o t h e p a y m e nt s a n d b e n efit s pr o vi d e d u n d er t h eir e m pl o y m e nt a gr e e m e nt s t h at a p pl y i n t h e c a s e of t er mi n ati o n wit h o ut c a u s e, w hi c h
  g e n er all y i n cl u d e c o nti n u e d s e ni or st at u s p a y m e nt s u ntil M a y 2 0 2 7 a n d c o nti n u e d p arti ci p ati o n f or t h e m ( a n d t h eir s p o u s e s, if a p pli c a bl e) at t h e
  C o m p a n y’ s e x p e n s e, i n H e alt h B e n efit s a n d i n all ot h er e m pl o y e e pl a n s a n d pr o gr a m s i n w hi c h t h e y ( or t h eir f a mili e s) w er e p arti ci p ati n g a s of t h e d at e of
  t er mi n ati o n a n d ot h er or a d diti o n al b e n efit s i n a c c or d a n c e wit h t h e a p pli c a bl e pl a n s a n d pr o gr a m s u ntil t h e e arli er of d e at h of t h e s ur vi v or of t h e a p pli c a bl e
  C o- C h air m a n E m erit u s a n d hi s s p o u s e or t h e d at e( s) h e r e c ei v e s e q ui v al e nt c o v er a g e a n d b e n efit s fr o m a s u b s e q u e nt e m pl o y er. A s a r e s ult of diff eri n g
  vi e w s c o n c er ni n g M e s sr s. Ei s e n b er g a n d F ei n st ei n’ s ri g ht s a n d e ntitl e m e nt s t o t h e c o nti n u e d p arti ci p ati o n i n b e n efit s b e y o n d t h e e n u m er at e d H e alt h
  B e n efit s a n d t h e C o m p e n s ati o n C o m mitt e e’ s g o al of li miti n g t h e C o m p a n y’ s o n g oi n g r e s p o n si biliti e s wit h r e s p e ct t o c ert ai n l e g a c y arr a n g e m e nt s, o n
  F e br u ar y 2 6, 2 0 2 0, e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n e nt er e d i nt o t h e C o- F o u n d er s ettl e m e nt a gr e e m e nt s wit h t h e C o m p a n y i n s ettl e m e nt of
  cl ai m s r el ati n g t o t h e c o nti n u e d p arti ci p ati o n i n b e n efit s b e y o n d t h e H e alt h B e n efit s. T h e s e ot h er c o nti n u e d p arti ci p ati o n b e n efit s i n cl u d e p er s o n al c ar
  s er vi c e a n d c ar all o w a n c e, t a x pr e p ar ati o n s er vi c e s, a n d offi c e a n d a d mi ni str ati v e p er s o n n el a n d s u p p ort (r ef err e d t o i n t hi s pr o x y st at e m e nt a s t h e
  “ c o nti n u e d p arti ci p ati o n b e n efit s”). I n a d diti o n, t h e C o- C h air m e n E m eriti r e m ai n e ntitl e d t o s u p pl e m e nt al p e n si o n p a y m e nt s s p e cifi e d i n t h eir e m pl o y m e nt
  a gr e e m e nt s of $ 2 0 0, 0 0 0 p er y e ar ( a s a dj u st e d f or a c o st of li vi n g i n cr e a s e), u ntil t h e d e at h of t h e s ur vi v or of t h e a p pli c a bl e C o- C h air m a n E m erit u s a n d hi s
  s p o u s e, r e d u c e d b y t h e c o nti n u e d s e ni or st at u s p a y m e nt s r ef er e n c e d a b o v e.
  T h e a n n u al a m o u nt of s e ni or st at u s p a y m e nt s t o b e m a d e t o e a c h of t h e C o- C h air m e n E m eriti u ntil M a y 2 0 2 7 e q u al s $ 6 1 2, 5 6 1, s u bj e ct t o f ut ur e c o st of
  li vi n g a dj u st m e nt s, a s pr o vi d e d i n t h e a p pli c a bl e e m pl o y m e nt a gr e e m e nt s. T h e e sti m at e d a n n u al v al u e of t h e c o nti n u e d h e alt h, lif e i n s ur a n c e a n d ot h er or
  a d diti o n al b e n efit s pr o vi d e d p ur s u a nt t o M e s sr s. Ei s e n b er g a n d F ei n st ei n’ s e m pl o y m e nt a gr e e m e nt s e q u al s $ 9, 7 0 0 f or e a c h of M e s sr s. Ei s e n b er g a n d
  F ei n st ei n. F urt h er, i n t h e C o m p a n y’ s 2 0 1 9 fi s c al y e ar, M e s sr s. Ei s e n b er g a n d F ei n st ei n r e c ei v e d a l u m p s u m a m o u nt e q u al t o $ 1, 6 0 8, 8 4 7 a n d
  $ 2, 4 6 4, 4 4 6, r e s p e cti v el y p ur s u a nt t o t h e C o- F o u n d er s ettl e m e nt a gr e e m e nt s i n s ettl e m e nt of cl ai m s r el ati n g t o t h e c o nti n u e d p arti ci p ati o n b e n efit s. T h e
  a m o u nt of t h e s ettl e m e nt w a s d et er mi n e d b y t h e C o m p e n s ati o n C o m mitt e e i n c o n s ult ati o n wit h it s i n d e p e n d e nt c o u n s el, a n d r efl e ct s a r e d u cti o n t o t h e
  a m o u nt s t h at m a y ot h er wi s e h a v e b e e n p a y a bl e or pr o vi d e d t o M e s sr s. Ei s e n b er g a n d F ei n st ei n u n d er t h eir e m pl o y m e nt a gr e e m e nt s wit h r e s p e ct t o t h e
  c o nti n u e d p arti ci p ati o n b e n efit s, i n cl u di n g a n a ct u ari al a dj u st m e nt t o r efl e ct m ort alit y a s s u m pti o n s a n d a n a ct u ari al di s c o u nt t o r e a s o n a bl y r efl e ct t h e ti m e
  v al u e of m o n e y.
  V e sti n g of st o c k o pti o n a w ar d s d e p e n d s o n ti m e v e sti n g, s u bj e ct i n g e n er al t o t h e a p pli c a bl e N E O r e m ai ni n g i n t h e C o m p a n y’ s s er vi c e o n s p e cifi c v e sti n g
  d at e s. P ur s u a nt t o t h eir r e s p e cti v e st o c k o pti o n a gr e e m e nt s, u n v e st e d st o c k o pti o n s h el d b y M e s sr s. Ei s e n b er g a n d F ei n st ei n w er e f orf eit e d eff e cti v e a s
  of t h eir r e si g n ati o n s a s m e m b er s of t h e B o ar d of Dir e ct or s eff e cti v e M a y 1, 2 0 1 9.
  P ur s u a nt t o t h eir r e s p e cti v e r e stri ct e d st o c k a n d p erf or m a n c e st o c k u nit a gr e e m e nt s, o ut st a n di n g s h ar e s of r e stri ct e d st o c k a n d P S U s gr a nt e d t o M e s sr s.
  Ei s e n b er g a n d F ei n st ei n v e st e d u p o n t h eir r e si g n ati o n s a s m e m b er s of t h e B o ar d of Dir e ct or s eff e cti v e M a y 1, 2 0 1 9, s u bj e ct, h o w e v er, t o att ai n m e nt of
  a n y a p pli c a bl e p erf or m a n c e g o al s a n d t h e c ertifi c ati o n of t h e a p pli c a bl e p erf or m a n c e- b a s e d t e st s b y t h e C o m p e n s ati o n C o m mitt e e, a s pr o vi d e d u n d er
  t h eir a w ar d a gr e e m e nt s. T h e o n e- y e ar p erf or m a n c e g o al a p pli c a bl e t o M e s sr s. Ei s e n b er g a n d F ei n st ei n’ s P S U s gr a nt e d i n t h e C o m p a n y’ s 2 0 1 8 fi s c al
  y e ar w a s d et er mi n e d t o h a v e b e e n att ai n e d, a n d t h e P S U s b e c a m e f ull y v e st e d. H o w e v er, i n c o n n e cti o n wit h it s r e vi e w of t h e 2 0 1 8 P erf or m a n c e P e er
  Gr o u p u s e d f or p ur p o s e s of t h e P S U s gr a nt e d t o M e s sr s. Ei s e n b er g a n d F ei n st ei n i n t h e C o m p a n y’ s 2 0 1 8 fi s c al y e ar, t h e C o m p e n s ati o n C o m mitt e e
  f o u n d t h at t h e C o m p a n y’ s 2 0 1 7 fi s c al y e ar p erf or m a n c e p e er gr o u p w a s u s e d i n d et er mi ni n g t h e a c hi e v e m e nt of p erf or m a n c e g o al s i n st e a d of t h e 2 0 1 8
  P erf or m a n c e P e er Gr o u p, w hi c h r e s ult e d i n e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n r e c ei vi n g 9, 6 4 6 a d diti o n al s h ar e s i n r e s p e ct of t h eir P S U s,
  r e s p e cti v el y (t h e “ C o- F o u n d er a d diti o n al s h ar e s”). O n F e br u ar y 2 6, 2 0 2 0, e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n e nt er e d i nt o a gr e e m e nt s (t h e
  “ C o- F o u n d er P S U s ettl e m e nt a gr e e m e nt s”) wit h t h e C o m p a n y t o r e d u c e b y a n u m b er of s h ar e s e q u al t o t h e n u m b er of C o- F o u n d er a d diti o n al s h ar e s
  t h o s e P S U s t h at r e m ai n e d o ut st a n di n g u n d er a w ar d s gr a nt e d t o M e s sr s. Ei s e n b er g a n d F ei n st ei n i n t h e C o m p a n y’s 2 0 1 8 fi s c al y e ar.
  A s a r e s ult of t h eir tr a n siti o n, i n t h e C o m p a n y’ s 2 0 1 9 fi s c al y e ar, $ 8 8, 2 4 4 of P S U a w ar d s h el d b y e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n, w hi c h h a d
  pr e vi o u sl y m et t h e r el at e d p erf or m a n c e- b a s e d t e st, h a d b e e n c ertifi e d b y t h e C o m p e n s ati o n C o m mitt e e, a n d r e m ai n e d s u bj e ct s ol el y t o ti m e- v e sti n g,
  w er e a c c el er at e d. P ur s u a nt t o t h e C o- F o u n d er P S U s ettl e m e nt a gr e e m e nt s, t h e C o m p a n y r e d u c e d t h e n u m b er of o ut st a n di n g P S U s gr a nt e d t o e a c h of
  M e s sr s. Ei s e n b er g a n d F ei n st ei n i n t h e C o m p a n y’ s 2 0 1 8 fi s c al y e ar b y 9, 6 4 6 P S U s, s u c h t h at, f oll o wi n g t h e r e d u cti o n, M e s sr s. Ei s e n b er g a n d F ei n st ei n
  e a c h h el d 2 3, 2 5 2 P S U s s u bj e ct t o a t hr e e- y e ar R OI C g o al a n d 1 1, 6 2 6 P S U s s u bj e ct t o a t hr e e- y e ar E BI T m ar gi n g o al (i n e a c h c a s e, a s s u mi n g 1 0 0 % of
  t h e t ar g et l e v el of p erf or m a n c e). F urt h er, a s a r e s ult of t h e tr a n siti o n, i n t h e C o m p a n y’ s 2 0 1 9 fi s c al y e ar, t h e ti m e- v e sti n g c o m p o n e nt of P S U s h el d b y
  e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n e q u al i n v al u e t o $ 6 9 7, 5 4 8 ( a s s u mi n g t ar g et l e v el of p erf or m a n c e) a c c el er at e d, a n d t h e P S U s r e m ai n s u bj e ct t o
  att ai n m e nt of a n y a p pli c a bl e p erf or m a n c e g o al s a n d t h e c ertifi c ati o n of t h e a p pli c a bl e p erf or m a n c e- b a s e d t e st s b y t h e C o m p e n s ati o n C o m mitt e e, a s
  pr o vi d e d u n d er t h eir a w ar d
                                                                                                                     51
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

  a gr e e m e nt s a n d s u bj e ct t o t h e t er m s of t h e C o- F o u n d er P S U s ettl e m e nt a gr e e m e nt s. F or t hi s p ur p o s e, t h e v al u e of t h e P S U a w ar d s i s b a s e d o n t h e P er
  S h ar e Cl o si n g Pri c e. F oll o wi n g t h e e n d of t h e 2 0 1 9 fi s c al y e ar, t h e C o m p e n s ati o n C o m mitt e e c ertifi e d t h at (i) t h e t hr e e- y e ar E BI T m ar gi n p erf or m a n c e-
  b a s e d t e st f or fi s c al 2 0 1 7 w a s m et at 6 9. 0 7 % t ar g et (r e s ulti n g i n a p a y o ut of 7 5 % of t ar g et, r e s ulti n g i n e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n r e c ei vi n g
  5, 0 0 1 s h ar e s of c o m m o n st o c k wit h r e s p e ct t o s u c h P S U a w ar d), a n d (ii) t h e t hr e e- y e ar R OI C p erf or m a n c e- b a s e d t e st f or fi s c al 2 0 1 7 w a s m et at 7 6. 9 3 %
  t ar g et (r e s ulti n g i n a p a y o ut of 9 0 % of t ar g et, r e s ulti n g i n e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n r e c ei vi n g 1 2, 0 0 2 s h ar e s of c o m m o n st o c k wit h r e s p e ct
  t o s u c h P S U a w ar d).
  M e s sr s. Ei s e n b er g a n d F ei n st ei n’ s e m pl o y m e nt a gr e e m e nt s al s o pr o vi d e t h at u p o n a c h a n g e i n c o ntr ol of t h e C o m p a n y, t h e C o m p a n y will f u n d a “r a b bi
  tr u st” f or e a c h t o h ol d a n a m o u nt e q u al t o t h e v al u e of t h e p a y m e nt s a n d c ert ai n b e n efit s p a y a bl e t o e a c h u p o n hi s t er mi n ati o n of e m pl o y m e nt wit h t h e
  C o m p a n y. I n t h e e v e nt of t er mi n ati o n of e m pl o y m e nt, t h e e x e c uti v e s ar e u n d er n o o bli g ati o n t o s e e k ot h er e m pl o y m e nt a n d t h er e i s n o r e d u cti o n i n t h e
  a m o u nt p a y a bl e t o t h e e x e c uti v e o n a c c o u nt of a n y c o m p e n s ati o n e ar n e d fr o m a n y s u b s e q u e nt e m pl o y m e nt. T o t h e e xt e nt t h at a n y p a y m e nt s u n d er t h e
  e m pl o y m e nt a gr e e m e nt s d u e f oll o wi n g t h e t er mi n ati o n of M e s sr s. Ei s e n b er g a n d F ei n st ei n ar e c o n si d er e d t o b e d ef err e d c o m p e n s ati o n u n d er
  S e cti o n 4 0 9 A of t h e C o d e, s u c h a m o u nt s will c o m m e n c e t o b e p ai d o n t h e e arli er of t h e si x- m o nt h a n ni v er s ar y of t er mi n ati o n of e m pl o y m e nt or hi s d e at h.
  Eff e cti v e F e br u ar y 2 9, 2 0 2 0, p ur s u a nt t o d ef err e d c o m p e n s ati o n a gr e e m e nt s b et w e e n t h e C o m p a n y a n d e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n
  e nt er e d i nt o i n fi s c al 2 0 0 3, w hi c h pr o vi d e d f or p a y m e nt s i n s u b stit uti o n f or s u c h e x e c uti v e s’ l e g a c y s plit- d oll ar lif e i n s ur a n c e b e n efit s, t h e C o m p a n y p ai d
  $ 2, 1 2 5, 0 0 0 a n d $ 2, 0 8 0, 0 0 0 t o e a c h of M e s sr s. Ei s e n b er g a n d F ei n st ei n, r e s p e cti v el y. T h e C o m p a n y h a s n o f urt h er o bli g ati o n t o M e s sr s. Ei s e n b er g or
  F ei n st ei n u n d er t h e d ef err e d c o m p e n s ati o n a gr e e m e nt s.

  E m pl o y m e nt A gr e e m e nt a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h M s. D’ Eli a
  T h e e m pl o y m e nt a gr e e m e nt wit h M s. D’ Eli a pr o vi d e s f or s e v er a n c e p a y e q u al t o o n e y e ar’ s s al ar y if t h e C o m p a n y t er mi n at e s h er e m pl o y m e nt ot h er t h a n
  f or “ C a u s e” (i n cl u di n g b y r e a s o n of d e at h or di s a bilit y) or u p o n a “ c o n str u cti v e t er mi n ati o n” ( a s d efi n e d b el o w). S e v er a n c e p a y i s p a y a bl e i n a c c or d a n c e
  wit h n or m al p a yr oll; h o w e v er, a n y a m o u nt d u e pri or t o t h e si x m o nt h s aft er t er mi n ati o n of e m pl o y m e nt will b e p ai d i n a l u m p s u m o n t h e d at e f oll o wi n g t h e
  si x- m o nt h a n ni v er s ar y of t er mi n ati o n of e m pl o y m e nt. “ C a u s e” i s d efi n e d i n t h e e m pl o y m e nt a gr e e m e nt a s w h e n M s. D’ Eli a h a s: (i) a ct e d i n b a d f ait h or
  wit h di s h o n e st y; (ii) willf ull y f ail e d t o f oll o w r e a s o n a bl e a n d l a wf ul dir e cti o n s of t h e C E O or t h e B o ar d of Dir e ct or s; (iii) p erf or m e d h er d uti e s wit h gr o s s
  n e gli g e n c e; or (i v) b e e n c o n vi ct e d of a f el o n y. “ C o n str u cti v e t er mi n ati o n” i s d efi n e d i n t h e e m pl o y m e nt a gr e e m e nt a s t h e C o m p a n y’ s r el o c ati o n of
  M s. D’ Eli a’ s pl a c e of e m pl o y m e nt b y m or e t h a n t w e nt y-fi v e mil e s, or t h e C o m p a n y’ s m at eri al br e a c h of o n e or m or e t er m s of h er e m pl o y m e nt a gr e e m e nt.
  U n d er t h e t er m s of M s. D’ Eli a’ s e m pl o y m e nt a gr e e m e nt, u p o n a t er mi n ati o n of M s. D’ Eli a’ s e m pl o y m e nt b y t h e C o m p a n y f or a n y r e a s o n ot h er t h a n f or
  “ C a u s e”, u p o n a “ c o n str u cti v e t er mi n ati o n”, or u p o n d e at h or di s a bilit y, all u n v e st e d o pti o n s v e st a n d b e c o m e e x er ci s a bl e, s h ar e s of r e stri ct e d st o c k a n d
  P S U s gr a nt e d v e st s u bj e ct t o att ai n m e nt of a n y a p pli c a bl e p erf or m a n c e g o al s ( e x c e pt a s e x pr e s sl y pr o vi d e d ot h er wi s e i n t h e a p pli c a bl e a w ar d
  a gr e e m e nt), a n d t h e u n v e st e d p orti o n of M s. D’ Eli a’ s d ef err e d c a s h a w ar d i m m e di at el y v e st s a n d b e c o m e p a y a bl e, s u bj e ct t o t h e e x e c uti o n a n d
  n o n-r e v o c ati o n of a r el e a s e of cl ai m s. T h e a gr e e m e nt al s o pr o vi d e s f or n o n- s oli cit ati o n d uri n g t h e t er m of e m pl o y m e nt a n d f or t w o y e ar s t h er e aft er, a n d
  f or n o n- c o m p etiti o n d uri n g t h e t er m of e m pl o y m e nt a n d f or o n e y e ar t h er e aft er, s u bj e ct t o t h e C o m p a n y’ s a bilit y t o e xt e n d t h e n o n- c o m p etiti o n p eri o d f or
  a n a d diti o n al y e ar pr o vi d e d t h e C o m p a n y al s o e xt e n d s h er s e v er a n c e p a y m e nt s f or s u c h a d diti o n al p eri o d. T h e a gr e e m e nt al s o pr o vi d e s f or
  c o nfi d e nti alit y d uri n g t h e t er m of e m pl o y m e nt a n d s ur vi vi n g t h e e n d of t h e t er m of e m pl o y m e nt.
  O n M a y 4, 2 0 2 0, M s. D’ Eli a c e a s e d s er vi n g a s C hi ef Fi n a n ci al Offi c er of t h e C o m p a n y a n d c o nti n u e d t o pr o vi d e tr a n siti o n al s er vi c e s t o t h e C o m p a n y
  t hr o u g h M a y 8, 2 0 2 0. O n M a y 1 5, 2 0 2 0, M s. D’ Eli a a n d t h e C o m p a n y e nt er e d i nt o a s e p ar ati o n a n d g e n er al r el e a s e a gr e e m e nt wit h t h e C o m p a n y (t h e
  “ D’ Eli a S e p ar ati o n A gr e e m e nt”), p ur s u a nt t o w hi c h, s u bj e ct t o M s. D’ Eli a’ s ti m el y e x e c uti o n a n d n o n-r e v o c ati o n of a r el e a s e of cl ai m s i n f a v or of t h e
  C o m p a n y ( w hi c h o c c urr e d), h er t er mi n ati o n of e m pl o y m e nt w a s tr e at e d a s a t er mi n ati o n b y t h e C o m p a n y ot h er t h a n f or “ C a u s e”, a n d M s. D’ Eli a b e c a m e
  e ntitl e d t o r e c ei v e t h o s e p a y m e nt s a n d b e n efit s d e s cri b e d a b o v e a n d i n t h e b el o w t a bl e i n t h e r o w l a b el e d “ T er mi n ati o n Wit h o ut C a u s e” a n d f urt h er
  d e s cri b e d b el o w. A s i n di c at e d i n t h e b el o w t a bl e, p ur s u a nt t o t h e t er m s of M s. D’ Eli a’ s e m pl o y m e nt a gr e e m e nt, a s a r e s ult of h er d e p art ur e i n t h e
  C o m p a n y` s 2 0 2 0 fi s c al y e ar, h er u n v e st e d i n c e nti v e c a s h a w ar d ( e q u al t o $ 6 4, 2 8 6) a n d 6, 7 1 2 s h ar e s of r e stri ct e d st o c k v e st e d.
  P ur s u a nt t o t h e t er m s of h er e m pl o y m e nt a gr e e m e nt a n d t h e a p pli c a bl e a w ar d a gr e e m e nt, t h e ti m e- v e sti n g c o m p o n e nt of t h e f oll o wi n g a w ar d s h el d b y
  M s. D’ Eli a a c c el er at e d a n d r e m ai n e d s u bj e ct t o att ai n m e nt of a n y p erf or m a n c e g o al s a n d t h e c ertifi c ati o n of t h e a p pli c a bl e p erf or m a n c e- b a s e d t e st s b y
  t h e C o m p e n s ati o n C o m mitt e e, a s pr o vi d e d u n d er h er a w ar d a gr e e m e nt s a n d s u bj e ct t o t h e t er m s of t h e D’ Eli a S e p ar ati o n A gr e e m e nt:
         •      1 6, 1 4 9 P S U a w ar d s gr a nt e d i n J u n e 2 0 1 8 s u bj e ct t o t hr e e- y e ar p erf or m a n c e g o al s ( a s s u mi n g t ar g et l e v el of p erf or m a n c e);
                                                                                                                     52
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T a bl e of C o nt e nts

                                                                                                                                                                                                                    E X E C U TI V E C O M P E N S A TI O N

         •         3 3, 6 3 9 P S U a w ar d s gr a nt e d i n J u n e 2 0 1 9 s u bj e ct t o o n e- y e ar p erf or m a n c e g o al s ( a s s u mi n g t ar g et l e v el of p erf or m a n c e), s u bj e ct t o t h e
                  r e d u cti o n d e s cri b e d i m m e di at el y b el o w; a n d
         •         3 9, 9 0 5 P S U a w ar d s, r e pr e s e nti n g a p orti o n of t h e P S U a w ar d s gr a nt e d i n J u n e 2 0 1 9 s u bj e ct t o t hr e e- y e ar p erf or m a n c e g o al s, pr or at e d f or t h e
                  p orti o n of t h e a p pli c a bl e p erf or m a n c e p eri o d t h at M s. D’ Eli a w a s e m pl o y e d b y t h e C o m p a n y ( a s s u mi n g t ar g et l e v el of p erf or m a n c e), w hi c h w er e
                  f urt h er r e d u c e d a s d e s cri b e d i m m e di at el y b el o w.
  T h e o n e- y e ar p erf or m a n c e g o al a p pli c a bl e t o M s. D’ Eli a’ s P S U s gr a nt e d i n t h e C o m p a n y’ s 2 0 1 8 fi s c al y e ar w a s d et er mi n e d t o h a v e b e e n att ai n e d, a n d
  t h e P S U s b e c a m e f ull y v e st e d. H o w e v er, i n c o n n e cti o n wit h it s r e vi e w of t h e 2 0 1 8 P erf or m a n c e P e er Gr o u p u s e d f or p ur p o s e s of t h e P S U s gr a nt e d t o
  M s. D’ Eli a i n t h e C o m p a n y’ s 2 0 1 8 fi s c al y e ar, t h e C o m p e n s ati o n C o m mitt e e f o u n d t h at t h e C o m p a n y’ s 2 0 1 7 fi s c al y e ar p erf or m a n c e p e er gr o u p w a s u s e d
  i n d et er mi ni n g t h e a c hi e v e m e nt of p erf or m a n c e g o al s i n st e a d of t h e 2 0 1 8 P erf or m a n c e P e er Gr o u p, w hi c h r e s ult e d i n M s. D’ Eli a r e c ei vi n g 3, 4 9 8
  a d diti o n al s h ar e s i n r e s p e ct of h er P S U s (“ D’ Eli a a d diti o n al s h ar e s”). A c c or di n gl y, t h e t ar g et n u m b er of P S U s a w ar d e d t o M s. D’ Eli a i n J u n e 2 0 1 9 w a s
  r e d u c e d b y t h e n u m b er of D’ Eli a a d diti o n al s h ar e s. B e c a u s e t h e P S U s s u bj e ct t o t hr e e- y e ar p erf or m a n c e g o al s gr a nt e d t o M s. D’ Eli a i n J u n e 2 0 1 9 v e st e d
  o n a pr or at e d b a si s i n c o n n e cti o n wit h h er s e p ar ati o n, p ur s u a nt t o t h e D’ Eli a S e p ar ati o n A gr e e m e nt, t h e C o m p a n y r e d u c e d t h e n u m b er of o ut st a n di n g
  P S U s gr a nt e d t o M s. D’ Eli a b y 1, 5 8 6 P S U s, s u c h t h at, f oll o wi n g t h e r e d u cti o n, M s. D’ Eli a h el d 3 3, 6 3 9 P S U s gr a nt e d i n fi s c al 2 0 1 9 s u bj e ct t o a o n e- y e ar
  p erf or m a n c e g o al, 1 9, 5 5 6 P S U s gr a nt e d i n fi s c al 2 0 1 9 s u bj e ct t o a c u m ul ati v e C o m p a n y E BI T g o al, a n d 1 9, 5 5 6 P S U s gr a nt e d i n fi s c al 2 0 1 9 s u bj e ct t o a
  t hr e e- y e ar r el ati v e T S R g o al (i n e a c h c a s e, a s s u mi n g 1 0 0 % of t h e t ar g et l e v el of p erf or m a n c e). T h e D’ Eli a S e p ar ati o n A gr e e m e nt al s o e ntitl e s M s. D’ Eli a
  t o u p t o 1 8 m o nt h s of C O B R A b e n efit s at a cti v e e m pl o y e e r at e s, a n d pr o vi d e s t h at t h e C o m p a n y w ai v e s it s ri g ht s t o e xt e n d M s. D’ Eli a n o n- c o m p etiti o n
  p eri o d b y o n e a d diti o n al y e ar.

  T a bl e a n d r el at e d f o ot n ot e s f oll o w:

                                                                                                                                               R e stri ct e d
                                                                                      Cash                    C a s h A w ar d                     St o c k                   PS U and RS U                        C O B R A
                                                                                S e v er a n c e ( 1)       A c c el er ati o n ( 2)       A c c el er ati o n ( 3)        A c c el er ati o n ( 4)( 5)      C o nti n u ati o n ( 6)             T ot al
   M ar k J. Tritt o n
   T er mi n ati o n d u e t o d e at h or di s a bilit y                       $                  —        $         7 1 0, 0 0 0         $                     —        $          9, 3 6 0, 3 1 8         $                     —       $ 1 0, 0 7 0, 3 1 8
   T er mi n ati o n Wit h o ut C a u s e or wit h G o o d
   R e a s o n ( 7)                                                             $ 3, 9 0 0, 0 0 0           $         7 1 0, 0 0 0         $                     —        $          9, 3 6 0, 3 1 8         $            2 8, 4 7 9       $ 1 3, 9 9 8, 7 9 7
   C h a n g e i n C o ntr ol + T er mi n ati o n ( 8)                          $ 3, 9 0 0, 0 0 0           $         7 1 0, 0 0 0         $                     —        $          9, 3 6 0, 3 1 8         $            2 8, 4 7 9       $ 1 3, 9 9 8, 7 9 7
   R o b y n M. D’ Eli a
   T er mi n ati o n Wit h o ut C a u s e or
   C o n str u cti v e T er mi n ati o n ( 9)                                   $     7 5 0, 0 0 0          $           6 4, 2 8 6         $           8 5, 3 0 6         $          1, 6 9 3, 4 0 8         $                     —       $ 2, 5 9 3, 0 0 0
   C h a n g e i n C o ntr ol + T er mi n ati o n ( 1 0)                        $     7 5 0, 0 0 0          $           6 4, 2 8 6         $           8 5, 3 0 6         $          1, 6 9 3, 4 0 8         $                     —       $ 2, 5 9 3, 0 0 0
  ( 1)         U p o n a t er mi n ati o n wit h o ut C a u s e or f or G o o d R e a s o n, Mr. Tritt o n w o ul d b e c o m e e ntitl e d t o a s e v er a n c e p a y m e nt e q u al t o t w o ti m e s t h e s u m of hi s b a s e s al ar y a n d
             hi s t ar g et fi s c al y e ar 2 0 1 9 a n n u al b o n u s. If t er mi n at e d d uri n g t h e 3 0- d a y p eri o d pr e c e di n g t h e C h a n g e i n C o ntr ol or 2 y e ar s f oll o wi n g, t h e s e v er a n c e w o ul d b e p ai d o ut
             i n a l u m p s u m wit hi n 3 0 d a y s of t h e t er mi n ati o n d at e or C h a n g e i n C o ntr ol d at e, w hi c h e v er i s l at er. If t h e t er mi n ati o n i s n ot i n c o n n e cti o n wit h a C h a n g e i n C o ntr ol,
             s e v er a n c e p a y m e nt s will b e m a d e i n i n st all m e nt s i n a c c or d a n c e wit h t h e r e g ul ar p a yr oll p a y m e nt s c h e d ul e. If i n v ol u nt aril y t er mi n at e d b y t h e C o m p a n y wit h o ut C a u s e,
             Mr. Tritt o n w o ul d b e e ntitl e d t o 6 0 d a y s’ a d v a n c e writt e n n oti c e. B a s e d o n hi s b a s e s al ar y, f ail ur e t o pr o vi d e a d e q u at e n oti c e w o ul d e ntitl e Mr. Tritt o n t o a n a d diti o n al
             $ 1 9 6, 7 2 1 b e y o n d t h e $ 3, 9 0 0, 0 0 0 s h o w n i n t h e t a bl e a b o v e.
  ( 2)        F or M s. D’ Eli a, r e pr e s e nt s t h e v al u e of u n v e st e d d ef err e d c a s h a w ar d s t h at w o ul d v e st a n d b e c o m e p a y a bl e, s u bj e ct t o t h e e x e c uti o n a n d n o n-r e v o c ati o n of a r el e a s e
             of cl ai m s, o n a t er mi n ati o n b y t h e C o m p a n y ot h er t h a n f or “ C a u s e” (i n cl u di n g b y r e a s o n of d e at h or di s a bilit y) or u p o n M s. D’ Eli a’ s “ C o n str u cti v e T er mi n ati o n” ( a s
             d efi n e d i n M s. D’ Eli a’ s e m pl o y m e nt a gr e e m e nt) o n F e br u ar y 2 9, 2 0 2 0. T h e d ef err e d c a s h a w ar d s ar e b a s e d s ol el y o n ti m e v e sti n g a n d w er e gr a nt e d t o M s. D’ Eli a
             pri or t o h er b e c o mi n g a n N E O. F or Mr. Tritt o n, r e pr e s e nt s t h e v al u e of t h e M a k e- W h ol e C a s h B o n u s, s u bj e ct t o t h e e x e c uti o n a n d n o n-r e v o c ati o n of a r el e a s e of
             cl ai m s, o n a t er mi n ati o n b y t h e C o m p a n y ot h er t h a n f or “ C a u s e” (i n cl u di n g b y r e a s o n of d e at h or di s a bilit y) or u p o n Mr. Tritt o n’ s t er mi n ati o n r e si g n ati o n wit h “ G o o d
             R e a s o n” o n F e br u ar y 2 9, 2 0 2 0.
  ( 3)        R e pr e s e nt s t h e v al u e of u n v e st e d o ut st a n di n g r e stri ct e d st o c k t h at w o ul d a c c el er at e a n d v e st o n a t er mi n ati o n o c c urri n g o n F e br u ar y 2 9, 2 0 2 0, s u bj e ct t o t h e
             e x e c uti o n a n d n o n-r e v o c ati o n of a r el e a s e of cl ai m s. T h e v al u e i s c al c ul at e d b y m ulti pl yi n g t h e n u m b er of s h ar e s of r e stri ct e d st o c k t h at a c c el er at e a n d v e st b y t h e P er
             S h ar e Cl o si n g Pri c e. T h e v al u e of a c c el er at e d r e stri ct e d st o c k i n cl u d e s di vi d e n d s o n t h e u n d erl yi n g s h ar e s of t h e a p pli c a bl e r e stri ct e d st o c k t h at ar e s u bj e ct t o t h e
             s a m e v e sti n g r e stri cti o n s t h at a p pl y t o t h e e ntir e r e stri ct e d
                                                                                                                                 53
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T a bl e of C o nt e nts

  E X E C U TI V E C O M P E N S A TI O N

               st o c k. T h e v al u e of a c cr u e d di vi d e n d s cr e dit e d a s of F e br u ar y 2 9, 2 0 2 0 a n d i n cl u d e d a b o v e w er e a p pr o xi m at el y $ 7 7, 0 6 8 f or M s. D’ Eli a. D o e s n ot r efl e ct v al u e of
               a w ar d s v e st e d pri or t o t h e a s s u m e d CI C d at e. V al u e s s h o w n a b o v e ar e b a s e d o n t h e C o m p a n y’ s cl o si n g s h ar e pri c e o n F e br u ar y 2 8, 2 0 2 0 ( $ 1 0. 8 1). T h e v al u e s f or
               t h e r e stri ct e d st o c k a w ar d s r efl e ct t h e n u m b er of o ut st a n di n g aw ar d s m ulti pli e d b y t h e p er s h ar e pri c e al o n g wit h t h e di vi d e n d s d e cl ar e d wit h r e s p e ct t o s u c h a w ar d s.
  ( 4)          F or Mr. Tritt o n, r e pr e s e nt s t h e v al u e of a c c el er at e d v e sti n g of t h e M a k e- W h ol e R S U A w ar d, Si g n- O n R S U A w ar d, a n d t h e M a k e- W h ol e P S U A w ar d ( at 1 0 0 % of t ar g et
               l e v el of p erf or m a n c e) i n t h e e v e nt of Mr. Tritt o n’ s t er mi n ati o n d u e t o d e at h, di s a bilit y, t er mi n ati o n b y t h e C o m p a n y wit h o ut C a u s e or r e si g n ati o n wit h G o o d R e a s o n o n
               F e br u ar y 2 9, 2 0 2 0, s u bj e ct t o t h e e x e c uti o n a n d n o n-r e v o c ati o n of a r el e a s e of cl ai m s. A d diti o n all y, i n t h e e v e nt Mr. Tritt o n’ s e m pl o y m e nt i s t er mi n at e d b y t h e
               C o m p a n y wit h o ut C a u s e or d u e t o hi s r e si g n ati o n wit h G o o d R e a s o n, i n e a c h c a s e, wit hi n 3 0 d a y s pri or t o or t w o y e ar s f oll o wi n g a “ c h a n g e i n c o ntr ol”, s u bj e ct t o t h e
               e x e c uti o n a n d n o n-r e v o c ati o n of a r el e a s e of cl ai m s, all of Mr. Tritt o n’ s ot h er o ut st a n di n g ti m e- b a s e d e q uit y a w ar d s will i m m e di at el y v e st i n f ull, a n d a n y ot h er
               o ut st a n di n g p erf or m a n c e- b a s e d e q uit y a w ar d s will v e st, b a s e d o n a ct u al p erf or m a n c e a n d pr or at e d b a s e d o n t h e n u m b er of d a y s d uri n g t h e a p pli c a bl e p erf or m a n c e
               p eri o d t h at Mr. Tritt o n r e m ai n e d e m pl o y e d b y t h e C o m p a n y, at t h e ti m e t h at s u c h a w ar d s w o ul d h a v e ot h er wi s e v e st e d h a d Mr. Tritt o n r e m ai n e d e m pl o y e d u p t o t h e
               v e sti n g d at e. F or Mr. Tritt o n, t h e v al u e of a c c el er at e d P S U a n d R S U a w ar d s i n cl u d e s di vi d e n d e q ui v al e nt s o n t h e u n d erl yi n g s h ar e s of t h e a p pli c a bl e P S U a n d R S U
               a w ar d t h at ar e s u bj e ct t o t h e s a m e v e sti n g r e stri cti o n s t h at a p pl y t o t h e e ntir e P S U or R S U a w ar d. T h e v al u e of a c cr u e d di vi d e n d e q ui v al e nt s cr e dit e d a s of
               F e br u ar y 2 9, 2 0 2 0 a n d i n cl u d e d a b o v e ( a s s u mi n g t h at P S U s a c hi e v e d t ar g et l e v el of p erf or m a n c e) w er e a p pr o xi m at el y $ 1 4 4, 9 2 3 f or Mr. Tritt o n. F or a m or e c o m pl et e
               di s c u s si o n of t h e m etri c s a n d m et h o d of c al c ul ati n g t h e a p pli c a bl e p erf or m a n c e m etri c s f or P S U a w ar d s, pl e a s e s e e t h e di s c u s si o n of P S U s i n t h e E q uit y
               C o m p e n s ati o n s e cti o n of t h e C o m p e n s ati o n Di s c u s si o n a n d A n al y si s a b o v e.
  ( 5)          F or M s. D’ Eli a, r e pr e s e nt s t h e v al u e of u n v e st e d o ut st a n di n g P S U a w ar d s t h at w o ul d a c c el er at e a n d v e st o n a t er mi n ati o n wit h o ut “ C a u s e” or i n t h e e v e nt of a
               “ C o n str u cti v e T er mi n ati o n”, s u bj e ct t o att ai n m e nt of a n y a p pli c a bl e p erf or m a n c e g o al s a n d aft er t h e C o m p e n s ati o n C o m mitt e e c ertifi e s a c hi e v e m e nt of t h e a p pli c a bl e
               p erf or m a n c e t e st, a n d s u bj e ct t o t h e e x e c uti o n a n d n o n-r e v o c ati o n of a r el e a s e of cl ai m s. F or M s. D’ Eli a, t h e s e v al u e s r e pr e s e nt a c c el er ati o n of t h e J u n e 2 0 1 9 P S U
               a w ar d s s u bj e ct t o t h e o n e- y e ar p erf or m a n c e t e st, w hi c h w a s m et at 3 7. 4 6 % of t ar g et (r e s ulti n g i n a p a y o ut of 0 % of t ar g et). F or M s. D’ Eli a, t h e p orti o n s of t h e J u n e
               2 0 1 8 a n d J u n e 2 0 1 9 P S U a w ar d s s u bj e ct t o a t hr e e- y e ar p erf or m a n c e t e st, b a s e d o n r el ati v e p erf or m a n c e a g ai n st t h e p e er c o m p a ni e s, w er e s u b st a nti all y u n c ert ai n
               o n F e br u ar y 2 9, 2 0 2 0 a n d ar e n ot i n cl u d e d. F or M s. D’ Eli a, t h e v al u e of a c c el er at e d P S U a w ar d s i n cl u d e s di vi d e n d e q ui v al e nt s o n t h e u n d erl yi n g s h ar e s of t h e
               a p pli c a bl e P S U a w ar d t h at ar e s u bj e ct t o t h e s a m e v e sti n g r e stri cti o n s t h at a p pl y t o t h e e ntir e P S U a w ar d. T h e v al u e of a c cr u e d di vi d e n d e q ui v al e nt s cr e dit e d a s of
               F e br u ar y 2 9, 2 0 2 0 a n d i n cl u d e d a b o v e ( a s s u mi n g t h at P S U s a c hi e v e d t ar g et l e v el of p erf or m a n c e) w er e a p pr o xi m at el y $ 7 7, 0 6 8 f or M s. D’ Eli a. A s of M a y 2 2, 2 0 2 0,
               t h e a m o u nt of di vi d e n d e q ui v al e nt s a c cr u e d f or t h e P S U a w ar d s ba s e d o n e x p e ct e d a c hi e v e m e nt, or, if a p pli c a bl e, a ct u al a c hi e v e m e nt, w a s a p pr o xi m at el y $ 5 8, 4 2 0 f or
               M s. D’ Eli a. F or a m or e c o m pl et e di s c u s si o n of t h e m etri c s a n d m et h o d of c al c ul ati n g t h e a p pli c a bl e p erf or m a n c e m etri c s f or P S U a w ar d s, pl e a s e s e e t h e di s c u s si o n of
               P S U s i n t h e E q uit y C o m p e n s ati o n s e cti o n of t h e C o m p e n s ati o n Di s c u s si o n & A n al y si s a b o v e. T h e a m o u nt s li st e d f or M s. D’ Eli a d o n ot r efl e ct a r e d u cti o n of 1, 5 8 6
               P S U s gr a nt e d i n fi s c al 2 0 1 9 s u bj e ct t o t hr e e- y e ar g o al s, a s d e s cri b e d a b o v e u n d er “ P ot e nti al P a y m e nt s U p o n T er mi n ati o n or C h a n g e i n C o ntr ol – E m pl o y m e nt
               A gr e e m e nt a n d Ot h er C o m p e n s at or y Arr a n g e m e nt s wit h M s. D’ Eli a”.
  ( 6)          R e pr e s e nt s t h e e m pl o y er p orti o n of u p t o 2 4 m o nt h s of C O B R A c o nti n u ati o n c o v er a g e at a cti v e e m pl o y e e r at e s.
  ( 7)          C a s h s e v er a n c e r e pr e s e nt s t w o ti m e s t h e s u m of c urr e nt s al ar y a n d t ar g et a n n u al b o n u s p a y a bl e o v er a p eri o d of t w o y e ar s.
  ( 8)          C a s h s e v er a n c e r e pr e s e nt s t w o ti m e s t h e s u m of c urr e nt s al ar y a n d t ar g et a n n u al b o n u s p ai d i n a l u m p s u m.
  ( 9)         I n t h e e v e nt of a t er mi n ati o n of e m pl o y m e nt d u e t o d e at h or di s a bilit y, M s. D’ Eli a ( or h er e st at e) will r e c ei v e t h e s a m e p a y m e nt s a s if t h er e w er e a “ T er mi n ati o n Wit h o ut
               C a u s e or C o n str u cti v e T er mi n ati o n.”
  ( 1 0)        C a s h s e v er a n c e r e pr e s e nt s o n e ti m e s c urr e nt s al ar y p a y a bl e o v er a p eri o d of o n e y e ar.


  C E O P a y R ati o
  T h e C o m p a n y h a s pr e p ar e d t h e f oll o wi n g i nf or m ati o n r e q uir e d b y S e cti o n 9 5 3( b) of t h e D o d d- Fr a n k W all Str e et R ef or m a n d C o n s u m er Pr ot e cti o n A ct,
  a n d It e m 4 0 2( u) of R e g ul ati o n S- K, r e g ar di n g t h e r ati o of t h e c o m p e n s ati o n of o ur C E O t o t h at of t h e C o m p a n y’ s m e di a n e m pl o y e e, u si n g c ert ai n
  p er mitt e d m et h o d ol o gi e s.
  T h e m e di a n e m pl o y e e at t h e C o m p a n y, n ot c o u nti n g t h e C E O, w a s d et er mi n e d b y:
           •         u si n g o ur t ot al e m pl o y e e p o p ul ati o n ( w h et h er e m pl o y e d o n a f ull-ti m e, p art-ti m e, s e a s o n al or t e m p or ar y b a si s), w hi c h a s of F e br u ar y 2 9, 2 0 2 0,
                    t h e C o m p a n y’ s fi s c al y e ar e n d, i n cl u d e s a p pr o xi m at el y 5 5, 0 0 0 e m pl o y e e s, c o m pri s e d of a p pr o xi m at el y 5 3, 0 0 0 U S e m pl o y e e s a n d a p pr o xi m at el y
                    2, 0 0 0 n o n- U S e m pl o y e e s; of o ur t ot al n u m b er of e m pl o y e e s, m or e t h a n 6 0 % w er e p art-ti m e a n d m or e t h a n 9 2 % w er e h o url y;
           •         u si n g p a yr oll r e c or d s a s of F e br u ar y 2 9, 2 0 2 0, t h e C o m p a n y’ s fi s c al y e ar e n d; a n d
           •         e x cl u di n g, u n d er t h e d e mi ni mi s e x e m pti o n t o t h e p a y r ati o r ul e, all of o ur a s s o ci at e s i n e a c h of C a n a d a ( 1, 9 7 7), M e xi c o ( 7), P a n a m a ( 4) a n d t h e
                    D o mi ni c a n R e p u bli c ( 4), w hi c h i n t ot al ar e 1, 9 9 2 a s s o ci at e s, or a p pr o xi m at el y 3. 6 %, of o ur t ot al a s s o ci at e p o p ul ati o n, e x cl u di n g t h e C E O.
                                                                                                                                  54
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T a bl e of C o nt e nts

                                                                                                                                                                                            E X E C U TI V E C O M P E N S A TI O N

  T h e m e di a n e m pl o y e e w a s i d e ntifi e d u si n g t h e t ot al c a s h c o m p e n s ati o n, w hi c h, f or t hi s p ur p o s e, i n cl u d e d b a s e s al ar y, b o n u s a n d c o m mi s si o n s, p er
  p a yr oll r e c or d s f or t h e t w el v e m o nt h s e n d e d F e br u ar y 2 9, 2 0 2 0 a n d p a y f or a n y p er m a n e nt f ull-ti m e a n d p art-ti m e a s s o ci at e s ( w h et h er s al ari e d or h o url y)
  w h o w er e n ot e m pl o y e d f or t h e f ull fi s c al y e ar w er e a n n u ali z e d.
  T h e i n di vi d u al i d e ntifi e d a s t h e m e di a n e m pl o y e e i s a p art-ti m e h o url y a s s o ci at e w or ki n g i n a C hri st m a s Tr e e S h o p s st or e r e c ei vi n g a t ot al a n n u al
  c o m p e n s ati o n f or fi s c al 2 0 1 9 of $ 1 4, 5 2 1. T h e i d e ntifi c ati o n of t h e m e di a n e m pl o y e e w a s i nfl u e n c e d b y t h e C o m p a n y h a vi n g a w or kf or c e si g nifi c a ntl y
  c o m p o s e d of p art-ti m e, h o url y st or e a s s o ci at e s.
  T h e c o m p e n s ati o n of t h e C o m p a n y’ s C E O f or fi s c al 2 0 1 9 a s r e p ort e d i n t h e S u m m ar y C o m p e n s ati o n T a bl e w a s $ 1 3, 7 6 4, 3 9 8. U si n g t h e C E O’ s
  a n n u ali z e d s al ar y of $ 1, 2 0 0, 0 0 0 a n d t h e C E O’ s a ct u al c o m p e n s ati o n ( ot h er t h a n s al ar y), t h e a n n u ali z e d c o m p e n s ati o n a m o u nt u s e d f or t h e c al c ul ati o n of
  t h e C E O P a y R ati o w a s $ 1 4, 6 1 8, 2 4 4. T hi s i n cl u d e s t h e gr a nt d at e f air v al u e of st o c k a w ar d s, i n cl u di n g o n e-ti m e a w ar d s m a d e i n c o n n e cti o n wit h hiri n g of
  t h e C E O a n d t h e n e g oti ati o n of hi s e m pl o y m e nt a gr e e m e nt, w hi c h m a y n ot n e c e s s aril y r efl e ct t h e a ct u al v al u e, if a n y, t h at m a y b e r e ali z e d b y t h e C E O.
  T h e r ati o of t h e a n n u al t ot al c o m p e n s ati o n of t h e C o m p a n y’ s C E O t o t h at of t h e m e di a n e m pl o y e e i s e sti m at e d t o b e 1, 0 0 7: 1. T hi s e sti m at e w a s
  c al c ul at e d i n a m a n n er c o n si st e nt wit h t h e a p pli c a bl e S E C r ul e s a n d g ui d a n c e, b a s e d u p o n t h e p a yr oll a n d e m pl o y m e nt r e c or d s of t h e C o m p a n y. T h e
  r ul e s a n d g ui d a n c e a p pli c a bl e t o t hi s di s cl o s ur e p er mit a v ari et y of m et h o d s a n d a r a n g e of r e a s o n a bl e e sti m at e s a n d a s s u m pti o n s t o r efl e ct
  c o m p e n s ati o n pr a cti c e s. T h er ef or e, t h e p a y r ati o r e p ort e d b y ot h er c o m p a ni e s i n si mil ar i n d u stri e s m a y w ell n ot b e c o m p ar a bl e t o t h e p a y r ati o r e p ort e d
  a b o v e.
  I n c o n n e cti o n wit h t h e pr e p ar ati o n of t h e f or e g oi n g di s cl o s ur e, m a n a g e m e nt h a s pr o vi d e d t h e C o m p e n s ati o n C o m mitt e e wit h t h e a n al y si s of t h e C E O t o
  m e di a n e m pl o y e e p a y r ati o a n d a c c o m p a n yi n g c o nt e xt u al n arr ati v e, f or it s i nf or m ati o n w h e n s etti n g e x e c uti v e p a y d e ci si o n s.
                                                                                                                  55
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T a bl e of C o nt e nts


  P R O P O S A L 3 — A P P R O V A L, B Y N O N- BI N DI N G V O T E, O F 2 0 1 9 E X E C U TI V E C O M P E N S A TI O N
  I n a c c or d a n c e wit h t h e r e q uir e m e nt s of S e cti o n 1 4 A of t h e E x c h a n g e A ct, t h e C o m p a n y i s pr o vi di n g it s s h ar e h ol d er s t h e o p p ort u nit y t o c a st a n a d vi s or y
  v ot e o n t h e c o m p e n s ati o n of it s N a m e d E x e c uti v e Offi c er s ( N E O s) f or fi s c al 2 0 1 9. T hi s pr o p o s al, c o m m o nl y k n o w n a s a “ s a y- o n- p a y” pr o p o s al, gi v e s t h e
  C o m p a n y’ s s h ar e h ol d er s t h e o p p ort u nit y t o e x pr e s s t h eir vi e w s o n N E O s’ c o m p e n s ati o n.
  T h e B o ar d of Dir e ct or s r e c o m m e n d s a v ot e i n f a v or of t h e f oll o wi n g r e s ol uti o n s:
  “ R E S O L V E D, t h at t h e c o m p e n s ati o n p ai d t o t h e C o m p a n y’ s N E O s f or fi s c al 2 0 1 9, a s di s cl o s e d p ur s u a nt t o It e m 4 0 2 of R e g ul ati o n S- K, i n cl u di n g t h e
  C o m p e n s ati o n Di s c u s si o n a n d A n al y si s, c o m p e n s ati o n t a bl e s a n d n arr ati v e di s c u s si o n, i s h er e b y A P P R O V E D.”
  T hi s pr o p o s al i s n ot bi n di n g u p o n t h e C o m p a n y. H o w e v er, t h e C o m p e n s ati o n C o m mitt e e, w hi c h i s r e s p o n si bl e f or d e si g ni n g a n d a d mi ni st eri n g t h e
  C o m p a n y’ s e x e c uti v e offi c er c o m p e n s ati o n pr o gr a m, v al u e s t h e o pi ni o n s e x pr e s s e d b y s h ar e h ol d er s i n t h e C o m p e n s ati o n C o m mitt e e’ s o n g oi n g
  e n g a g e m e nt, di s c u s s e d a b o v e, a n d c o n si d er s t h e vi e w s pr o vi d e d b y s h ar e h ol d er s w h e n m a ki n g f ut ur e c o m p e n s ati o n d e ci si o n s f or N E O s. T h e affir m ati v e
  v ot e of t h e h ol d er s of a m aj orit y of t h e v ot e s c a st b y o ur s h ar e h ol d er s i n p er s o n or r e pr e s e nt e d b y pr o x y a n d e ntitl e d t o v ot e i s r e q uir e d t o a p pr o v e t hi s
  pr o p o s al.
  W e b eli e v e t h e pr e c e di n g C o m p e n s ati o n Di s c u s si o n a n d A n al y si s, i n cl u di n g t h e si g nifi c a nt c h a n g e s i n e q uit y c o m p e n s ati o n d e si g n t h at w er e
  i m pl e m e nt e d f or fi s c al 2 0 1 9, r efl e ct s t h e C o m mitt e e’ s r e c e pti v e n e s s a n d r e s p o n si v e n e s s t o s h ar e h ol d er c o n c er n s r e g ar di n g e x e c uti v e c o m p e n s ati o n, a n d
  s u p p ort s t h e r e c o m m e n d ati o n b y t h e B o ar d of a v ot e a p pr o vi n g t h e fi s c al 2 0 1 9 e x e c uti v e c o m p e n s ati o n pr o gr a m.




                                              T H E B O A R D O F DI R E C T O R S R E C O M M E N D S T H A T T H E S H A R E H O L D E R S V O T E F O R
                                                   T H E A P P R O V A L, O N A N A D VI S O R Y B A SI S, O F T H E C O M P E N S A TI O N O F T H E
                              C O M P A N Y’ S N A M E D E X E C U TI V E O F FI C E R S F O R FI S C A L 2 0 1 9 A S DI S C L O S E D I N T HI S P R O X Y S T A T E M E N T

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T a bl e of C o nt e nts


                                                                                            O U R S H A RE H OL DE RS
  S E C U RI T Y O W N E R S HI P O F C E R T AI N B E N E FI CI A L O W N E R S A N D M A N A G E M E N T
  T h e f oll o wi n g t a bl e s et s f ort h c ert ai n i nf or m ati o n r e g ar di n g t h e b e n efi ci al o w n er s hi p of s h ar e s of o ur c o m m o n st o c k a s of J u n e 5, 2 0 2 0 b y (i) e a c h p er s o n
  or gr o u p of affili at e d p er s o n s k n o w n b y u s t o b e n efi ci all y o w n m or e t h a n 5 % of o ur c o m m o n st o c k; (ii) o ur N E O s; (iii) e a c h of o ur dir e ct or s a n d n o mi n e e s
  f or dir e ct or; a n d (i v) all of o ur dir e ct or s a n d e x e c uti v e offi c er s a s a gr o u p. O w n er s hi p d at a wit h r e s p e ct t o o ur i n stit uti o n al s h ar e h ol d er s i s b a s e d u p o n
  i nf or m ati o n p u bli cl y a v ail a bl e a s d e s cri b e d i n t h e f o ot n ot e s b el o w.
  T h e f oll o wi n g t a bl e gi v e s eff e ct t o t h e s h ar e s of c o m m o n st o c k i s s u a bl e wit hi n 6 0 d a y s of J u n e 5, 2 0 2 0 u p o n t h e e x er ci s e of all o pti o n s a n d ot h er ri g ht s
  b e n efi ci all y o w n e d b y t h e i n di c at e d s h ar e h ol d er s o n t h at d at e. B e n efi ci al o w n er s hi p i s d et er mi n e d i n a c c or d a n c e wit h R ul e 1 3 d- 3 pr o m ul g at e d u n d er
  S e cti o n 1 3 of t h e E x c h a n g e A ct, a n d i n cl u d e s v oti n g a n d i n v e st m e nt p o w er wit h r e s p e ct t o s h ar e s. P er c e nt a g e of b e n efi ci al o w n er s hi p i s b a s e d o n
  1 2 7, 3 5 0, 0 5 1 s h ar e s of o ur c o m m o n st o c k o ut st a n di n g at J u n e 5, 2 0 2 0. E x c e pt a s ot h er wi s e n ot e d b el o w, e a c h p er s o n or e ntit y n a m e d i n t h e f oll o wi n g
  t a bl e h a s s ol e v oti n g a n d i n v e st m e nt p o w er wit h r e s p e ct t o all s h ar e s of o ur c o m m o n st o c k t h at h e, s h e or it b e n efi ci all y o w n s.
  U nl e s s ot h er wi s e i n di c at e d, t h e a d dr e s s of e a c h b e n efi ci al o w n er li st e d b el o w i s c/ o B e d B at h & B e y o n d I n c., 6 5 0 Li b ert y A v e n u e, U ni o n, N e w J er s e y
  0 7 0 8 3.

                                                                                                                                                            N u m b er of S h ar e s of C o m m o n St o c k
      Na me                                                       P o siti o n                                                                           B e n efi ci all y O w n e d a n d P er c e nt of Cl a s s
      F M R LL C                                                                                                                                                           1 5, 0 2 1, 7 1 9( 1)                   1 1. 8 %
      Bl a c k R o c k, I n c.                                                                                                                                          1 4, 9 2 1, 0 9 7 ( 2)                    1 1. 7 %
      T h e V a n g u ar d Gr o u p                                                                                                                                     1 2, 4 2 1, 2 9 3 ( 3)                      9. 8 %
      C o ntr ari u s I n v e st m e nt
          M a n a g e m e nt Li mit e d                                                                                                                                 1 1, 5 9 8, 4 4 2 ( 4)                      9. 1 %
      Di m e n si o n al F u n d A d vi s or s L P                                                                                                                        7, 0 5 8, 0 9 2 ( 5)                      5. 5 %
      L e gi o n P art n er s A s s et                                                                                                                                    6, 8 6 9, 5 6 2 ( 6)                      5. 4 %
          M a n a g e m e nt, L L C
      W arr e n Ei s e n b er g                                   C o- C h air m a n E m erit u s a n d C o- F o u n d er                                                 1, 5 6 0, 8 7 5 ( 7)                      1. 2 %
      L e o n ar d F ei n st ei n                                 C o- C h air m a n E m erit u s a n d C o- F o u n d er                                                 1, 4 7 2, 8 3 2 ( 8)                      1. 2 %
      M ar k J. Tritt o n                                         Pr e si d e nt a n d C hi ef E x e c uti v e Offi c er a n d Dir e ct or                                   4 3 2, 3 0 5 ( 9)                         *
      St e v e n H. T e m ar e s                                  F or m er C hi ef E x e c uti v e Offi c er a n d Dir e ct or                                           1, 0 2 0, 3 7 5 ( 1 0)                       *
      R o b y n M. D’ Eli a                                       F or m er C hi ef Fi n a n ci al Offi c er a n d Tr e a s ur er                                              1 5, 5 4 3 ( 1 1)                       *
      St e p h a ni e B ell- R o s e                              Dir e ct or                                                                                                  1 2, 4 2 8                              *
      H arri ett E d el m a n                                     Dir e ct or                                                                                                    8, 3 4 2                              *
      J o h n E. Fl e mi n g                                      Dir e ct or                                                                                                  1 3, 3 4 2                              *
      P atri c k R. G a st o n                                    Dir e ct or                                                                                                  4 6, 0 8 9                              *
      S u e E. G o v e                                            Dir e ct or                                                                                                    8, 3 4 2                              *
      J effr e y A. Kir w a n                                     Dir e ct or                                                                                                  1 3, 7 0 9                              *
      J B O s b or n e                                            Dir e ct or                                                                                                  1 2, 4 2 8                              *
      H ar s h a R a m ali n g a m                                Dir e ct or                                                                                                    8, 3 4 2                              *
      Vir gi ni a P. R u e st er h ol z                           Dir e ct or                                                                                                  1 9, 1 0 2                              *
      J o s h u a E. S c h e c ht er                              Dir e ct or                                                                                                    8, 3 4 2                              *
      A n dr e a W ei s s                                         Dir e ct or                                                                                                  1 1, 8 5 1                              *
      M ar y A. Wi n st o n                                       Dir e ct or a n d f or m er I nt eri m C hi ef E x e c uti v e Offi c er                                     9 4, 1 8 9                              *
      A n n Y er g er                                             Dir e ct or                                                                                                  1 1, 3 7 1                              *
      All Dir e ct or s a n d E x e c uti v e
          Offi c er s a s a Gr o u p
          ( 2 1 p er s o n s)                                                                                                                                             1, 7 1 7, 4 2 8                           1. 3 %
  *           L e s s t h a n 1 % of t h e o ut st a n di n g c o m m o n st o c k of t h e C o m p a n y.
                                                                                                                       57
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T a bl e of C o nt e nts

  S E C U RI T Y O W N E R S HI P O F C E R T AI N B E N E FI CI A L O W N E R S A N D M A N A G E M E N T

  ( 1)     I nf or m ati o n r e g ar di n g F M R L L C w a s o bt ai n e d fr o m a S c h e d ul e 1 3 G fil e d wit h t h e S E C o n F e br u ar y 7, 2 0 2 0 b y F M R L L C. T h e S c h e d ul e 1 3 G st at e s t h at F M R L L C h a s
           s ol e v oti n g p o w er of 2, 6 6 3, 5 4 4 s h ar e s of c o m m o n st o c k a n d s ol e di s p o siti v e p o w er of 1 5, 0 2 1, 7 9 1 s h ar e s of c o m m o n st o c k. T h e a d dr e s s of F M R L L C i s 2 4 5 S u m m er
           Str e et, B o st o n, M A 0 2 2 1 0.
  ( 2)     I nf or m ati o n r e g ar di n g Bl a c k R o c k, I n c. w a s o bt ai n e d fr o m a S c h e d ul e 1 3 G fil e d wit h t h e S E C o n F e br u ar y 4, 2 0 2 0 b y Bl a c k R o c k, I n c. T h e S c h e d ul e 1 3 G st at e s t h at
           Bl a c k R o c k, I n c. h a s s ol e v oti n g p o w er of 1 4, 4 3 3, 2 3 0 s h ar e s of c o m m o n st o c k a n d s ol e di s p o siti v e p o w er of 1 4, 9 2 1, 0 9 7 s h ar e s of c o m m o n st o c k. T h e a d dr e s s of
           Bl a c k R o c k, I n c. i s 5 5 E a st 5 2 n d Str e et, N e w Y or k, N Y 1 0 0 5 5.
  ( 3)     I nf or m ati o n r e g ar di n g T h e V a n g u ar d Gr o u p w a s o bt ai n e d fr o m a S c h e d ul e 1 3 G fil e d wit h t h e S E C o n F e br u ar y 1 2, 2 0 2 0 b y T h e V a n g u ar d Gr o u p. T h e S c h e d ul e 1 3 G
           st at e s t h at T h e V a n g u ar d Gr o u p h a s s ol e v oti n g p o w er of 1 1 9, 6 7 8 s h ar e s of c o m m o n st o c k, s h ar e d v oti n g p o w er of 1 9, 6 0 0 s h ar e s of c o m m o n st o c k, s ol e di s p o siti v e
           p o w er of 1 2, 2 9 8, 7 4 7 s h ar e s of c o m m o n st o c k a n d s h ar e d di s p o siti v e p o w er of 1 2 2, 5 4 6 s h ar e s of c o m m o n st o c k. T h e a d dr e s s of T h e V a n g u ar d Gr o u p i s 1 0 0
           V a n g u ar d Bl v d., M al v er n, P A 1 9 3 5 5.
  ( 4)     I nf or m ati o n r e g ar di n g C o ntr ari u s I n v e st m e nt M a n a g e m e nt Li mit e d w a s o bt ai n e d fr o m a S c h e d ul e 1 3 G fil e d wit h t h e S E C o n F e br u ar y 6, 2 0 2 0 b y C o ntr ari u s
           I n v e st m e nt M a n a g e m e nt Li mit e d. T h e S c h e d ul e 1 3 G st at e s t h at C o ntr ari u s I n v e st m e nt M a n a g e m e nt Li mit e d h a s s h ar e d v oti n g p o w er of 1 1, 5 9 8, 4 4 2 s h ar e s of
           c o m m o n st o c k a n d s h ar e d di s p o siti v e p o w er of 1 1, 5 9 8, 4 4 2 s h ar e s of c o m m o n st o c k. T h e a d dr e s s of C o ntr ari u s I n v e st m e nt M a n a g e m e nt Li mit e d i s 2 B o n d Str e et, St.
           H eli er, J er s e y J E 2 3 N P, C h a n n el I sl a n d s.
  ( 5)     I nf or m ati o n r e g ar di n g Di m e n si o n al F u n d A d vi s or s L P w a s o bt ai n e d fr o m a S c h e d ul e 1 3 G fil e d wit h t h e S E C o n F e br u ar y 1 2, 2 0 2 0 b y Di m e n si o n al F u n d A d vi s or s L P.
           T h e S c h e d ul e 1 3 G st at e s t h at Di m e n si o n al F u n d A d vi s or s L P h a s s ol e v oti n g p o w er of 6, 8 7 6, 5 5 0 s h ar e s of c o m m o n st o c k a n d s ol e di s p o siti v e p o w er of 7, 0 5 8, 0 9 2
           s h ar e s of c o m m o n st o c k. T h e a d dr e s s of Di m e n si o n al F u n d A d vi s or s L P i s B uil di n g O n e, 6 3 0 0 B e e C a v e R o a d, A u sti n, T X, 7 8 7 4 6.
  ( 6)     I nf or m ati o n r e g ar di n g L e gi o n P art n er s A s s et M a n a g e m e nt, L L C w a s o bt ai n e d fr o m a S c h e d ul e 1 3 D fil e d wit h t h e S E C o n A pril 2, 2 0 2 0 b y L e gi o n P art n er s A s s et
           M a n a g e m e nt, L L C. T h e S c h e d ul e 1 3 D st at e s t h at L e gi o n P art n er s A s s et M a n a g e m e nt, L L C h a s s h ar e d v oti n g p o w er of 6, 8 6 9, 3 6 2 s h ar e s of c o m m o n st o c k a n d
           s h ar e d di s p o siti v e p o w er of 6, 8 6 9, 3 6 2 s h ar e s of c o m m o n st o c k. T h e a d dr e s s of L e gi o n P art n er s A s s et M a n a g e m e nt, L L C i s 1 2 1 2 1 Wil s hir e Bl v d, S uit e 1 2 4 0, L o s
           A n g el e s, C A 9 0 0 2 5.
  ( 7)      B a s e d o n i nf or m ati o n pr o vi d e d b y Mr. Ei s e n b er g i n A pril 2 0 2 0, t h e s h ar e s s h o w n a s b ei n g o w n e d b y Mr. Ei s e n b er g i n cl u d e: ( a) 5 5 9, 9 3 3 s h ar e s o w n e d b y
           Mr. Ei s e n b er g i n di vi d u all y; ( b) 6 5 3, 0 0 0 s h ar e s o w n e d b y a f o u n d ati o n of w hi c h Mr. Ei s e n b er g a n d hi s f a mil y m e m b er s ar e tr u st e e s a n d offi c er s; a n d ( c) 3 4 7, 9 4 2
           s h ar e s o w n e d b y Mr. Ei s e n b er g’ s s p o u s e. Mr. Ei s e n b er g h a s s ol e v oti n g p o w er wit h r e s p e ct t o t h e s h ar e s h el d b y hi m i n di vi d u all y a n d i n tr u st f or w hi c h h e i s t h e
           tr u st e e b ut di s cl ai m s b e n efi ci al o w n er s hi p of a n y of t h e s h ar e s n ot o w n e d b y hi m i n di vi d u all y a n d i n tr u st f or w hi c h h e i s n ot t h e tr u st e e. O n A pril 2 1, 2 0 1 9,
           Mr. Ei s e n b er g tr a n siti o n e d t o t h e r ol e of C o- F o u n d er a n d C o- C h air m a n E m erit u s of t h e B o ar d of Dir e ct or s of t h e C o m p a n y. A s a r e s ult of t hi s tr a n siti o n, Mr. Ei s e n b er g
           c e a s e d t o b e a n offi c er of t h e C o m p a n y eff e cti v e A pril 2 1, 2 0 1 9.
  ( 8)      B a s e d o n i nf or m ati o n pr o vi d e d b y Mr. F ei n st ei n i n A pril 2 0 2 0, t h e s h ar e s s h o w n a s b ei n g o w n e d b y Mr. F ei n st ei n i n cl u d e: ( a) 4 2 3, 6 1 4 s h ar e s o w n e d b y Mr. F ei n st ei n
           i n di vi d u all y; ( b) 5 0 3, 0 0 0 s h ar e s o w n e d b y a f o u n d ati o n of w hi c h Mr. F ei n st ei n a n d hi s f a mil y m e m b er s ar e dir e ct or s a n d offi c er s; ( c) 2 0 4, 9 7 8 s h ar e s h el d b y tr u st s f or
           t h e b e n efit of Mr. F ei n st ei n’ s f a mil y m e m b er s; a n d ( d) 3 4 1, 2 4 0 s h ar e s o w n e d b y Mr. F ei n st ei n’ s s p o u s e. Mr. F ei n st ei n h a s s ol e v oti n g p o w er wit h r e s p e ct t o t h e s h ar e s
           h el d b y hi m i n di vi d u all y a n d i n tr u st f or w hi c h h e i s t h e tr u st e e b ut di s cl ai m s b e n efi ci al o w n er s hi p of a n y of t h e s h ar e s n ot o w n e d b y hi m i n di vi d u all y a n d i n tr u st f or
           w hi c h h e i s n ot t h e tr u st e e. O n A pril 2 1, 2 0 1 9, Mr. F ei n st ei n tr a n siti o n e d t o t h e r ol e of C o- F o u n d er a n d C o- C h air m a n E m erit u s of t h e B o ar d of Dir e ct or s of t h e
           C o m p a n y. A s a r e s ult of t hi s tr a n siti o n, Mr. F ei n st ei n c e a s e d t o b e a n offi c er of t h e C o m p a n y eff e cti v e A pril 2 1, 2 0 1 9.
  ( 9)      T h e s h ar e s s h o w n a s b ei n g o w n e d b y Mr. Tritt o n i n cl u d e: ( a) 1 2 7, 2 8 6 s h ar e s o w n e d b y Mr. Tritt o n i n di vi d u all y; a n d ( b) 3 0 5, 0 1 9 s h ar e s of r e stri ct e d st o c k.
  ( 1 0)    T h e s h ar e s s h o w n a s b ei n g b e n efi ci all y o w n e d b y Mr. T e m ar e s ar e b a s e d o n t h e a m o u nt di s cl o s e d i n hi s m o st r e c e nt fili n g o n F or m 4 fil e d o n M a y 1 4, 2 0 1 9, a n d
           i n cl u d e: ( a) 9 1 6, 0 3 9 s h ar e s o w n e d b y Mr. T e m ar e s i n di vi d u all y; ( b) 9 9, 3 3 6 s h ar e s o w n e d b y a f a mil y li mit e d p art n er s hi p, of w hi c h Mr. T e m ar e s a n d hi s s p o u s e ar e t h e
           s ol e g e n er al p art n er s, a n d of w hi c h Mr. T e m ar e s a n d hi s s p o u s e s er v e a s li mit e d p art n er s t o g et h er wit h tr u st s f or t h e b e n efit of Mr. T e m ar e s, hi s s p o u s e a n d hi s
           c hil dr e n; a n d ( c) 5, 0 0 0 s h ar e s o w n e d b y a f a mil y li mit e d p art n er s hi p e st a bli s h e d b y Mr. T e m ar e s’ m ot h er. Mr. T e m ar e s h a s s ol e v oti n g p o w er wit h r e s p e ct t o t h e
           s h ar e s h el d b y hi m i n di vi d u all y a n d t h e a b o v e d e s cri b e d f a mil y li mit e d p art n er s hi p b ut di s cl ai m s b e n efi ci al o w n er s hi p of t h e s h ar e s o w n e d b y t h e f a mil y li mit e d
           p art n er s hi p e st a bli s h e d b y Mr. T e m ar e s’ m ot h er. O n M a y 1 2, 2 0 1 9, Mr. T e m ar e s st e p p e d d o w n a s C hi ef E x e c uti v e Offi c er a n d o n M a y 1 3, 2 0 1 9, r e si g n e d fr o m t h e
           B o ar d of Dir e ct or s of t h e C o m p a n y.
  ( 1 1)    T h e s h ar e s r e p ort e d a s b e n efi ci all y o w n e d b y M s. D’ Eli a ar e b a s e d o n t h e a m o u nt di s cl o s e d i n h er m o st r e c e nt fili n g o n F or m 4 fil e d o n M a y 1 4, 2 0 1 9.
                                                                                                                              58
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T a bl e of C o nt e nts


  O T H E R M AT T E R S

  Q u e sti o n s a n d A n s w er s
  T h e s e pr o x y m at eri al s ar e d eli v er e d i n c o n n e cti o n wit h t h e s oli cit ati o n b y t h e B o ar d of Dir e ct or s of B e d B at h & B e y o n d I n c., a N e w Y or k c or p or ati o n, of
  pr o xi e s t o b e v ot e d at t h e A n n u al M e eti n g a n d at a n y a dj o ur n m e nt or a dj o ur n m e nt s.
  T hi s Pr o x y St at e m e nt, t h e pr o x y c ar d a n d o ur 2 0 1 9 A n n u al R e p ort ar e b ei n g m ail e d st arti n g o n or a b o ut J u n e 1 8, 2 0 2 0.
  T h e i nf or m ati o n r e g ar di n g st o c k o w n er s hi p a n d ot h er m att er s i n t hi s Pr o x y St at e m e nt i s a s of t h e r e c or d d at e, J u n e 5, 2 0 2 0, u nl e s s ot h er wi s e i n di c at e d.

  W h at m a y I v ot e o n ?
  Y o u m a y v ot e o n t h e f oll o wi n g pr o p o s al s:
        •       el e cti o n of 1 2 dir e ct or s t o h ol d offi c e u ntil t h e A n n u al M e eti n g i n 2 0 2 1 or u ntil t h eir r e s p e cti v e s u c c e s s or s h a v e b e e n el e ct e d a n d q u alifi e d
               ( Pr o p o s al 1);
        •      r atifi c ati o n of t h e a p p oi nt m e nt of K P M G L L P a s i n d e p e n d e nt a u dit or s f or t h e fi s c al y e ar e n di n g F e br u ar y 2 7, 2 0 2 1 (“fi s c al 2 0 2 0”) ( Pr o p o s al 2);
               and
        •      t h e a p pr o v al, b y n o n- bi n di n g v ot e, of t h e 2 0 1 9 c o m p e n s ati o n p ai d t o t h e C o m p a n y’ s N a m e d E x e c uti v e                Offi c er s ( c o m m o nl y k n o w n a s a
               “ s a y- o n- p a y” pr o p o s al ( Pr o p o s al 3).

  T H E B O A R D R E C O M M E N D S T H A T Y O U V O T E:
         •      F O R t h e el e cti o n of t h e 1 2 dir e ct or s;
         •      F O R t h e r atifi c ati o n of t h e a p p oi nt m e nt of a u dit or s; a n d
         •      F O R t h e s a y- o n- p a y pr o p o s al.

  W h o m a y v ot e ?
  S h ar e h ol d er s of r e c or d of t h e C o m p a n y’ s c o m m o n st o c k at t h e cl o s e of b u si n e s s o n J u n e 5, 2 0 2 0 ar e e ntitl e d t o r e c ei v e t hi s n oti c e a n d t o v ot e t h eir
  s h ar e s at t h e A n n u al M e eti n g. A s of t h at d at e, t h er e w er e 1 2 7, 3 5 0, 0 5 1 s h ar e s of c o m m o n st o c k o ut st a n di n g. E a c h s h ar e of c o m m o n st o c k i s e ntitl e d t o
  o n e v ot e o n e a c h m att er pr o p erl y br o u g ht b ef or e t h e A n n u al M e eti n g.

  W h er e will t h e A n n u al M e eti n g b e h el d ?
  W e h a v e s c h e d ul e d t h e A n n u al M e eti n g t o b e h el d at t h e C o m p a n y’ s pri n ci p al e x e c uti v e offi c e at 6 5 0 Li b ert y A v e n u e, U ni o n, N e w J er s e y 0 7 0 8 3, o n
  T u e s d a y, J ul y 1 4, 2 0 2 0 at 1 0: 0 0 A. M. E a st er n D a yli g ht Ti m e. H o w e v er, a s p art of o ur eff ort t o m ai nt ai n a s af e a n d h e alt h y e n vir o n m e nt at o ur A n n u al
  M e eti n g a n d t o pr ot e ct t h e w ell- b ei n g of o ur s h ar e h ol d er s, aft er cl o s el y m o nit ori n g st at e m e nt s i s s u e d b y t h e W orl d H e alt h Or g a ni z ati o n ( w h o.i nt) a n d t h e
  C e nt er s f or Di s e a s e C o ntr ol a n d Pr e v e nti o n ( c d c. g o v) r e g ar di n g C O VI D- 1 9, w e h a v e d e ci d e d t o gi v e s h ar e h ol d er s t h e o pti o n of att e n di n g t h e A n n u al
  M e eti n g b y m e a n s of r e m ot e c o m m u ni c ati o n t hi s y e ar at w w w. virt u al s h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0. D u e t o t h e i m p a ct of C O VI D- 1 9, w e e n c o ur a g e
  all s h ar e h ol d er s t o utili z e t h e r e m ot e a c c e s s o pti o n. W e h a v e d e si g n e d t h e virt u al m e eti n g t o off er t h e s a m e p arti ci p ati o n o p p ort u niti e s a s a n i n- p er s o n
  m e eti n g. W e al s o e n c o ur a g e all s h ar e h ol d er s w h o ar e c urr e ntl y pl a n ni n g t o att e n d t h e A n n u al M e eti n g i n p er s o n t o c o nti n u e t o r e vi e w g ui d a n c e fr o m
  p u bli c h e alt h a ut h oriti e s a s t h e ti m e f or o ur A n n u al M e eti n g a p pr o a c h e s.
  W hil e w e h a v e s c h e d ul e d a n i n- p er s o n l o c ati o n f or t h e A n n u al M e eti n g, w e ar e s e n siti v e t o t h e p u bli c h e alt h a n d tr a v el c o n c er n s o ur s h ar e h ol d er s m a y
  h a v e a n d r e c o m m e n d ati o n s t h at p u bli c h e alt h offi ci al s m a y i s s u e. T h e G o v er n or of t h e St at e of N e w Y or k h a s i s s u e d s e v er al t e m p or ar y e x e c uti v e or d er s
  p er mitti n g N e w Y or k c or p or ati o n s t o h ol d virt u al o nl y s h ar e h ol d er m e eti n g s i n li g ht of t h e C O VI D- 1 9 p a n d e mi c. If t h e G o v er n or’ s t e m p or ar y or d er i s
  e xt e n d e d t hr o u g h t h e d at e of t h e A n n u al M e eti n g, w e i nt e n d t o h ol d t h e A n n u al M e eti n g s ol el y b y m e a n s of r e m ot e c o m m u ni c ati o n s wit h n o i n- p er s o n
  l o c ati o n. I n s u c h c a s e, w e will a n n o u n c e t h e d e ci si o n t o d o s o at l e a st o n e w e e k i n a d v a n c e of t h e A n n u al M e eti n g, b y pr e s s r el e a s e a n d i n a fili n g wit h
  t h e S E C, a s w ell a s i n m at eri al s m a d e a v ail a bl e at w w w. b e d b at h a n d b e y o n d. c o m/ a n n u al m e eti n g 2 0 2 0, a n d w e str o n gl y e n c o ur a g e y o u t o c h e c k t hi s
  w e b sit e pri or t o t h e A n n u al M e eti n g. N ot e t h at a n y d e ci si o n t o pr o c e e d wit h a virt u al- o nl y m e eti n g t hi s y e ar d o e s n ot n e c e s s aril y m e a n t h at w e will utili z e a
  virt u al- o nl y f or m at or a n y m e a n s of r e m ot e c o m m u ni c ati o n f or f ut ur e a n n u al m e eti n g s.
                                                                                                                  59
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T a bl e of C o nt e nts

  O T H E R M AT T E R S

  W h o i s e ntitl e d t o att e n d t h e A n n u al M e eti n g ?
  All of o ur s h ar e h ol d er s of r e c or d a s of t h e cl o s e of b u si n e s s o n t h e r e c or d d at e, or t h eir d ul y a p p oi nt e d pr o x y h ol d er s, m a y att e n d t h e A n n u al M e eti n g,
  eit h er i n p er s o n or o nli n e at w w w. virt u al s h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0. If y o u ar e n ot a s h ar e h ol d er of r e c or d b ut h ol d s h ar e s t hr o u g h a br o k er,
  b a n k or ot h er n o mi n e e, y o u s h o ul d pr o vi d e pr o of of b e n efi ci al o w n er s hi p a s of t h e r e c or d d at e, s u c h a s a n a c c o u nt st at e m e nt r efl e cti n g y o ur st o c k
  o w n er s hi p a s of t h e r e c or d d at e, or ot h er si mil ar e vi d e n c e of o w n er s hi p. If y o u d o n ot h a v e pr o of of o w n er s hi p, y o u m a y n ot b e a d mitt e d t o o ur A n n u al
  M e eti n g if y o u will att e n d t h e m e eti n g i n p er s o n. E a c h s h ar e h ol d er a n d pr o x y h ol d er att e n di n g t h e A n n u al M e eti n g i n p er s o n m a y b e a s k e d t o pr e s e nt a
  v ali d g o v er n m e nt-i s s u e d p h ot o i d e ntifi c ati o n, s u c h a s a dri v er’ s li c e n s e or p a s s p ort, b ef or e b ei n g a d mitt e d. C a m er a s, r e c or di n g d e vi c e s a n d ot h er
  el e ctr o ni c d e vi c e s will n ot b e p er mitt e d at t h e i n p er s o n m e eti n g l o c ati o n, a n d att e n d e e s m a y b e s u bj e ct t o s e c urit y i n s p e cti o n s a n d ot h er s e c urit y
  pr e c a uti o n s.

  H o w d o I att e n d t h e A n n u al M e eti n g virt u all y a n d s u b mit q u e sti o n s or m a k e c o m m e nt s ?
  If y o u ar e a r e gi st er e d h ol d er of t h e C o m p a n y’ s c o m m o n st o c k, y o u d o n ot n e e d t o r e gi st er i n a d v a n c e t o att e n d t h e A n n u al M e eti n g virt u all y. T o b e
  a d mitt e d t o t h e A n n u al M e eti n g at w w w. virt u al s h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0, y o u m u st e nt er t h e c o ntr ol n u m b er f o u n d o n y o ur pr o x y c ar d. If y o u
  h ol d y o ur s h ar e s i n str e et n a m e, c o nt a ct y o ur br o k er, b a n k, or ot h er n o mi n e e a s s o o n a s p o s si bl e, s o t h at y o u c a n b e pr o vi d e d wit h a c o ntr ol n u m b er a n d
  g ai n a c c e s s t o t h e m e eti n g. S h ar e h ol d er s m a y v ot e el e ctr o ni c all y a n d s u b mit q u e sti o n s o nli n e w hil e att e n di n g t h e A n n u al M e eti n g.
  If y o u wi s h t o s u b mit a q u e sti o n or m a k e a c o m m e nt b ef or e t h e A n n u al M e eti n g or d uri n g t h e A n n u al M e eti n g, y o u m a y l o g i nt o t h e virt u al m e eti n g at
  w w w. virt u al s h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0 a n d t y p e a q u e sti o n i nt o t h e “ A s k a Q u e sti o n” fi el d a n d cli c k “ S u b mit.”
  Q u e sti o n s or c o m m e nt s p erti n e nt t o m e eti n g m att er s will b e a d dr e s s e d d uri n g t h e A n n u al M e eti n g, s u bj e ct t o ti m e c o n str ai nt s. Q u e sti o n s or c o m m e nt s
  t h at r el at e t o pr o p o s al s t h at ar e n ot pr o p erl y b ef or e t h e A n n u al M e eti n g, r el at e t o m att er s t h at ar e n ot pr o p er s u bj e ct f or a cti o n b y s h ar e h ol d er s, ar e
  irr el e v a nt t o t h e C o m p a n y’ s b u si n e s s, r el at e t o m at eri al n o n- p u bli c i nf or m ati o n of t h e C o m p a n y, r el at e t o p er s o n al c o n c er n s or gri e v a n c e s, ar e d er o g at or y
  t o i n di vi d u al s or t h at ar e ot h er wi s e i n b a d t a st e, ar e i n s u b st a n c e r e p etiti o u s of a q u e sti o n or c o m m e nt m a d e b y a n ot h er s h ar e h ol d er, or ar e n ot ot h er wi s e
  s uit a bl e f or t h e c o n d u ct of t h e A n n u al M e eti n g a s d et er mi n e d i n t h e s ol e di s cr eti o n of t h e C o m p a n y , will n ot b e a n s w er e d.

  W h at if I h a v e tr o u bl e a c c e s si n g t h e A n n u al M e eti n g virt u all y ?
  T e c h ni c al s u p p ort will b e a v ail a bl e b y p h o n e t o a d dr e s s a n y t e c h ni c al diffi c ulti e s b e gi n ni n g fift e e n mi n ut e s b ef or e t h e st art ti m e of t h e A n n u al M e eti n g a n d
  will r e m ai n a v ail a bl e u ntil t h e m e eti n g h a s e n d e d. T h e p h o n e n u m b er s f or c o nt a cti n g t e c h ni c al s u p p ort will b e p o st e d o n t h e l o g-i n p a g e f or t h e virt u al
  m e eti n g at w w w. virt u al s h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0.

  H o w d o I v ot e ?
  T h e C o m p a n y e n c o ur a g e s y o u t o u s e t h e el e ctr o ni c m e a n s a v ail a bl e t o y o u t o v ot e y o ur s h ar e s. H o w y o u v ot e will d e p e n d o n h o w y o u h ol d y o ur s h ar e s
  of B e d B at h & B e y o n d I n c. c o m m o n st o c k.

  S h ar e h ol d er of R e c or d
  If y o ur s h ar e s ar e r e gi st er e d dir e ctl y i n y o ur n a m e wit h B e d B at h & B e y o n d I n c.’ s tr a n sf er a g e nt, A m eri c a n St o c k Tr a n sf er & Tr u st C o m p a n y, y o u ar e
  c o n si d er e d t h e s h ar e h ol d er of r e c or d wit h r e s p e ct t o t h o s e s h ar e s, a n d t h e s e pr o x y m at eri al s ar e b ei n g s e nt dir e ctl y t o y o u. If y o u h ol d r e stri ct e d st o c k
  u n d er t h e 2 0 1 2 Pl a n, y o u ar e al s o c o n si d er e d t h e s h ar e h ol d er of r e c or d wit h r e s p e ct t o t h o s e s h ar e s. A s t h e s h ar e h ol d er of r e c or d, y o u h a v e t h e ri g ht t o
  v ot e b y pr o x y t hr o u g h a n y of t h e b el o w m et h o d s.
                           V ot e b y I nt er n et                                                         V ot e b y P h o n e                                                          V ot e b y M ail
                           w w w. pr o x y v ot e. c o m                                                    1- 8 0 0- 6 9 0- 6 9 0 3                                                  V ot e Pr o c e s si n g, c/ o
                                                                                                                                                                              Br o a dri d g e, 5 1 M er c e d e s W a y,
                                                                                                                                                                                     E d g e w o o d, N Y 1 1 7 1 7




  V oti n g b y a n y of t h e s e m et h o d s will n ot aff e ct y o ur ri g ht t o att e n d t h e A n n u al M e eti n g a n d v ot e, eit h er i n p er s o n or o nli n e at
  w w w. virt u al s h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0. H o w e v er, f or t h o s e w h o will n ot b e v oti n g at t h e A n n u al M e eti n g i n p er s o n or o nli n e, y o ur pr o x y m u st b e
  r e c ei v e d b y n o l at er t h a n 1 1: 5 9 P. M. E a st er n D a yli g ht Ti m e o n J ul y 1 3, 2 0 2 0.
                                                                                                                   60
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T a bl e of C o nt e nts

                                                                                                                                                                                                             O T H E R M AT T E R S

  B e n efi ci al O w n er
  M o st s h ar e h ol d er s of B e d B at h & B e y o n d I n c. h ol d t h eir s h ar e s t hr o u g h a st o c k br o k er, b a n k or ot h er n o mi n e e, r at h er t h a n dir e ctl y i n t h eir o w n n a m e. If
  y o u h ol d y o ur s h ar e s i n o n e of t h e s e w a y s, y o u ar e c o n si d er e d t h e b e n efi ci al o w n er of s h ar e s h el d i n str e et n a m e, a n d t h e s e pr o x y m at eri al s ar e b ei n g
  f or w ar d e d t o y o u b y y o ur br o k er or n o mi n e e w h o i s c o n si d er e d, wit h r e s p e ct t o t h o s e s h ar e s, t h e s h ar e h ol d er of r e c or d. A s t h e b e n efi ci al o w n er, y o u h a v e
  t h e ri g ht t o dir e ct y o ur br o k er o n h o w t o v ot e. Y o ur br o k er or n o mi n e e h a s e n cl o s e d a v oti n g i n str u cti o n f or m f or y o u t o u s e i n dir e cti n g t h e br o k er or
  n o mi n e e o n h o w t o v ot e y o ur s h ar e s. If y o u h ol d y o ur s h ar e s t hr o u g h a N e w Y or k St o c k E x c h a n g e m e m b er br o k er a g e fir m, s u c h m e m b er br o k er a g e fir m
  h a s t h e di s cr eti o n t o v ot e s h ar e s h el d o n y o ur b e h alf wit h r e s p e ct t o t h e a p p oi nt m e nt of t h e C o m p a n y’ s a u dit or s, b ut n ot wit h r e s p e ct t o a n y ot h er
  pr o p o s al, a s m or e f ull y d e s cri b e d u n d er “ W h at i s a br o k er ‘ n o n- v ot e’ ?”.

  C a n I c h a n g e m y v ot e ?
  Y e s. If y o u ar e t h e s h ar e h ol d er of r e c or d, y o u m a y r e v o k e y o ur pr o x y b ef or e it i s e x er ci s e d b y d oi n g a n y of t h e f oll o wi n g:
         •      s e n di n g a l ett er t o t h e C o m p a n y st ati n g t h at y o ur pr o x y i s r e v o k e d;
         •      si g ni n g a n e w pr o x y a n d s e n di n g it t o t h e C o m p a n y; or
         •      att e n di n g t h e A n n u al M e eti n g, eit h er i n p er s o n or virt u all y, a n d v oti n g b y b all ot.
  B e n efi ci al o w n er s s h o ul d c o nt a ct t h eir br o k er or n o mi n e e f or i n str u cti o n s o n c h a n gi n g t h eir v ot e.

  H o w m a n y v ot e s m u st b e pr e s e nt t o h ol d t h e A n n u al M e eti n g ?
  A “ q u or u m” i s n e c e s s ar y t o h ol d t h e A n n u al M e eti n g. A q u or u m i s a m aj orit y of t h e v ot e s e ntitl e d t o b e c a st b y t h e s h ar e h ol d er s e ntitl e d t o v ot e at t h e
  A n n u al M e eti n g. T h e y m a y b e pr e s e nt at t h e A n n u al M e eti n g or r e pr e s e nt e d b y pr o x y. A b st e nti o n s a n d br o k er “ n o n- v ot e s” ar e c o u nt e d a s pr e s e nt a n d
  e ntitl e d t o v ot e f or p ur p o s e s of d et er mi ni n g a q u or u m b ut ar e n ot c o u nt e d f or p ur p o s e s of d et er mi ni n g a n y of t h e pr o p o s al s t o b e v ot e d o n.

  H o w m a n y v ot e s ar e n e e d e d t o a p pr o v e t h e pr o p o s al s ?
  At t h e A n n u al M e eti n g, a “ F O R” v ot e b y a m aj orit y of v ot e s c a st i s r e q uir e d t o (i) el e ct e a c h n o mi n e e f or dir e ct or ( Pr o p o s al 1), (ii) r atif y t h e s el e cti o n of
  K P M G L L P a s t h e C o m p a n y’ s i n d e p e n d e nt a u dit or s f or fi s c al 2 0 2 0 ( Pr o p o s al 2) a n d (iii) a p pr o v e, b y n o n- bi n di n g v ot e, t h e s a y- o n- p a y pr o p o s al ( Pr o p o s al
  3).
  A “ F O R” v ot e b y a “ m aj orit y of v ot e s c a st” m e a n s t h at t h e n u m b er of s h ar e s v ot e d “ F O R” e x c e e d s t h e n u m b er of v ot e s “ A G AI N S T.” A b st e nti o n s a n d
  br o k er n o n- v ot e s s h all n ot c o n stit ut e v ot e s “ F O R” or v ot e s “ A G AI N S T.”
  Wit h r e s p e ct t o Pr o p o s al 1, t h e el e cti o n of dir e ct or s, if a n o mi n e e w h o i s a n i n c u m b e nt dir e ct or f ail s t o r e c ei v e a “ F O R” v ot e b y a m aj orit y of v ot e s c a st,
  t h e n s u c h n o mi n e e m u st i m m e di at el y t e n d er hi s or h er r e si g n ati o n, a n d t h e B o ar d will d e ci d e, t hr o u g h a pr o c e s s m a n a g e d b y t h e N o mi n ati n g a n d
  C or p or at e G o v er n a n c e C o m mitt e e ( e x cl u di n g fr o m t h e pr o c e s s s u c h n o mi n e e), w h et h er t o a c c e pt t h e r e si g n ati o n. I n t h e e v e nt of s u c h a sit u ati o n, t h e
  B o ar d i nt e n d s t o c o m pl et e t hi s pr o c e s s pr o m ptl y aft er t h e A n n u al M e eti n g b ut n o l at er t h a n 9 0 d a y s fr o m t h e d at e of t h e c ertifi c ati o n of t h e el e cti o n
  r e s ult s. T h e C o m p a n y will fil e a F or m 8- K t o di s cl o s e it s d e ci si o n a n d a n e x pl a n ati o n of s u c h d e ci si o n.

  W h at i s a n a b st e nti o n ?
  A n a b st e nti o n i s a pr o p erl y si g n e d pr o x y c ar d w hi c h i s m ar k e d “ a b st ai n.”

  W h at i s a br o k er “ n o n- v ot e ” ?
  A br o k er “ n o n- v ot e” o c c ur s w h e n a n o mi n e e h ol di n g s h ar e s f or a b e n efi ci al o w n er d o e s n ot v ot e o n a p arti c ul ar pr o p o s al b e c a u s e t h e n o mi n e e d o e s n ot
  h a v e di s cr eti o n ar y v oti n g p o w er f or t h at p arti c ul ar it e m a n d h a s n ot r e c ei v e d i n str u cti o n s fr o m t h e b e n efi ci al o w n er. U n d er c urr e nt a p pli c a bl e r ul e s,
  Pr o p o s al 2 i s a “ di s cr eti o n ar y” it e m u p o n w hi c h br o k er s t h at h ol d s h ar e s a s n o mi n e e m a y v ot e o n b e h alf of t h e b e n efi ci al o w n er s if s u c h b e n efi ci al o w n er s
  h a v e n ot f ur ni s h e d v oti n g i n str u cti o n s b y t h e t e nt h d a y b ef or e t h e A n n u al M e eti n g.
  H o w e v er, br o k er s t h at h ol d s h ar e s a s n o mi n e e m a y n ot v ot e o n b e h alf of t h e b e n efi ci al o w n er s o n t h e f oll o wi n g pr o p o s al s u nl e s s y o u pr o vi d e v oti n g
  i n str u cti o n s: Pr o p o s al 1, t h e el e cti o n of dir e ct or s; a n d Pr o p o s al 3, t h e s a y- o n- p a y pr o p o s al. T h er ef or e, if y o ur s h ar e s ar e h el d b y s u c h n o mi n e e, pl e a s e
  i n str u ct y o ur br o k er r e g ar di n g h o w t o v ot e y o ur s h ar e s o n e a c h of t h e s e pr o p o s al s. T hi s will e n s ur e t h at y o ur s h ar e s ar e c o u nt e d wit h r e s p e ct t o e a c h of
  t h e s e pr o p o s al s.
                                                                                                                       61
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T a bl e of C o nt e nts

  O T H E R M AT T E R S

  W h at if I r e c ei v e m or e t h a n o n e pr o x y c ar d a n d/ or v oti n g i n str u cti o n c ar d ?
  T hi s m e a n s t h at y o u h a v e m ulti pl e a c c o u nt s h ol di n g s h ar e s of t h e C o m p a n y. T h e s e m a y i n cl u d e: a c c o u nt s wit h o ur tr a n sf er a g e nt; s h ar e s h el d b y t h e
  a d mi ni str at or of o ur e m pl o y e e st o c k p ur c h a s e pl a n; a n d a c c o u nt s wit h a br o k er, b a n k or ot h er h ol d er of r e c or d. I n or d er t o v ot e all of t h e s h ar e s h el d b y
  y o u i n m ulti pl e a c c o u nt s, y o u will n e e d t o v ot e t h e s h ar e s h el d i n e a c h a c c o u nt s e p ar at el y. Pl e a s e f oll o w t h e v oti n g i n str u cti o n s pr o vi d e d o n e a c h pr o x y
  c ar d t o e n s ur e t h at all of y o ur s h ar e s ar e v ot e d.

  Will a n y ot h er m att er s b e a ct e d o n at t h e A n n u al M e eti n g ?
  If a n y ot h er m att er s ar e pr o p erl y pr e s e nt e d at t h e A n n u al M e eti n g or a n y a dj o ur n m e nt, t h e p er s o n s n a m e d i n t h e pr o x y will h a v e di s cr eti o n t o v ot e o n
  t h o s e m att er s. A s of A pril 2 6, 2 0 2 0, w hi c h i s t h e d at e b y w hi c h a n y pr o p o s al f or c o n si d er ati o n at t h e A n n u al M e eti n g s u b mitt e d b y a s h ar e h ol d er m u st
  h a v e b e e n r e c ei v e d b y t h e C o m p a n y t o b e pr e s e nt e d at t h e A n n u al M e eti n g, a n d a s of t h e d at e of t hi s Pr o x y St at e m e nt, t h e C o m p a n y di d n ot k n o w of
  a n y ot h er m att er s t o b e pr e s e nt e d at t h e A n n u al M e eti n g.

  W h o p a y s f or t hi s pr o x y s oli cit ati o n ?
  T h e C o m p a n y will p a y t h e e x p e n s e s of s oli citi n g pr o xi e s. I n a d diti o n t o s oli cit ati o n b y m ail, pr o xi e s m a y b e s oli cit e d i n p er s o n or b y t el e p h o n e or ot h er
  m e a n s b y dir e ct or s or a s s o ci at e s of t h e C o m p a n y. T h e C o m p a n y will al s o r ei m b ur s e br o k er a g e fir m s a n d ot h er n o mi n e e s, c u st o di a n s a n d fi d u ci ari e s f or
  c o st s i n c urr e d b y t h e m i n m aili n g pr o x y m at eri al s t o t h e b e n efi ci al o w n er s of s h ar e s h el d of r e c or d b y s u c h p er s o n s.

  W h o m s h o ul d I c all wit h ot h er q u e sti o n s ?
  If y o u h a v e a d diti o n al q u e sti o n s a b o ut t hi s Pr o x y St at e m e nt or t h e A n n u al M e eti n g or w o ul d li k e a d diti o n al c o pi e s of t hi s d o c u m e nt or o ur 2 0 1 9 A n n u al
  R e p ort o n F or m 1 0- K, pl e a s e c o nt a ct: B e d B at h & B e y o n d I n c., 6 5 0 Li b ert y A v e n u e, U ni o n, N J 0 7 0 8 3, Att e nti o n: I n v e st or R el ati o n s D e pt., T el e p h o n e:
  ( 9 0 8) 6 1 3- 5 8 2 0. T h e s e d o c u m e nt s ar e al s o a v ail a bl e i n t h e I n v e st or R el ati o n s s e cti o n of t h e C o m p a n y’ s w e b sit e at w w w. b e d b at h a n d b e y o n d. c o m.

  C ert ai n R el ati o n s hi p s a n d R el at e d Tr a n s a cti o n s
  T h e C o m p a n y’ s A u dit C o m mitt e e r e vi e w s a n d, if a p pr o pri at e, a p pr o v e s tr a n s a cti o n s br o u g ht t o t h e C o m mitt e e’ s att e nti o n i n w hi c h t h e C o m p a n y i s a
  p arti ci p a nt a n d t h e a m o u nt i n v ol v e d e x c e e d s $ 1 2 0, 0 0 0, a n d i n w hi c h, i n g e n er al, b e n efi ci al o w n er s of m or e t h a n 5 % of t h e C o m p a n y’ s c o m m o n st o c k, t h e
  C o m p a n y’ s dir e ct or s, n o mi n e e s f or dir e ct or, e x e c uti v e offi c er s, a n d m e m b er s of t h eir r e s p e cti v e i m m e di at e f a mili e s, h a v e a dir e ct or i n dir e ct m at eri al
  i nt er e st. T h e C o m mitt e e’ s r e s p o n si bilit y wit h r e s p e ct t o t h e r e vi e w a n d a p pr o v al of t h e s e tr a n s a cti o n s i s s et f ort h i n t h e A u dit C o m mitt e e’ s c h art er.
  M arti n Ei s e n b er g, a s o n of W arr e n Ei s e n b er g, t h e C o m p a n y’ s C o- C h air m a n E m erit u s, w a s t h e C o m p a n y’ s R e gi o n al Vi c e Pr e si d e nt f or t h e N ort h e a st
  R e gi o n, wit h r e s p o n si biliti e s i n ar e a s t h at i n cl u d e st or e o p er ati o n s, m er c h a n di si n g, st or e d e si g n a n d pr o d u ct s o ur ci n g. F or fi s c al 2 0 1 9, hi s s al ar y w a s
  $ 2 4 7, 5 3 6 a n d h e r e c ei v e d ot h er b e n efit s c o n si st e nt wit h hi s p o siti o n a n d t e n ur e, i n cl u di n g a r e stri ct e d st o c k a w ar d v al u e d at $ 3 7, 5 0 8, c a s h a w ar d s
  v al u e d at $ 1 1 2, 5 0 0 a n d a c ar all o w a n c e of $ 1, 1 5 8. I n fi s c al 2 0 1 9, h e r e c ei v e d di vi d e n d s of $ 4, 6 0 3 t h at w er e p ai d o n pr e vi o u sl y u n v e st e d st o c k a w ar d s
  t h at v e st e d i n fi s c al 2 0 1 9. T h e s e di vi d e n d s w er e n ot f a ct or e d i nt o t h e gr a nt d at e f air v al u e of s u c h st o c k a w ar d s u n d er A S C 7 1 8. I n a d diti o n, t h e s e
  di vi d e n d s d o n ot v e st a n d ar e n ot p ai d u ntil, a n d o nl y t h e n t o t h e e xt e nt, t h e a s s o ci at e d st o c k a w ar d s v e st a n d t h e u n d erl yi n g s h ar e s ar e p ai d. Eff e cti v e
  J ul y 2 6, 2 0 1 9, M arti n Ei s e n b er g s e p ar at e d fr o m t h e C o m p a n y. Mr. Ei s e n b er g r e c ei v e d c ert ai n s e v er a n c e b e n efit s i n c o n n e cti o n wit h hi s s e p ar ati o n fr o m
  t h e C o m p a n y, i n cl u di n g c a s h s e v er a n c e of $ 2 7 9, 8 2 4.
  R o n al d Ei s e n b er g, a s o n of W arr e n Ei s e n b er g, t h e C o m p a n y’ s C o- C h air m a n E m erit u s, w a s t h e f o u n d er a n d o w n er of C h ef C e ntr al, I n c., a r et ail er of
  kit c h e n w ar e, c o o k w ar e a n d h o m e w ar e it e m s c at eri n g t o c o o ki n g a n d b a ki n g e nt h u si a st s, a n d c ert ai n a s s et s of w hi c h t h e C o m p a n y a c q uir e d o n
  J a n u ar y 2 7, 2 0 1 7 (t h e “ A c q ui siti o n”). T h e A c q ui siti o n w a s f or a c a s h p ur c h a s e pri c e of $ 1, 0 0 0, 0 0 0, a n d i n cr e m e nt al e ar n o ut p a y m e nt s p ot e nti all y
  a g gr e g ati n g u p t o $ 1, 2 5 0, 0 0 0. T h e i n cr e m e nt al e ar n o ut p a y m e nt s ar e d e p e n d e nt o n t h e o p e ni n g a n d c o nti n ui n g i n o p er ati o n, w hi c h o p e ni n g a n d
  o p er ati o n ar e at t h e C o m p a n y’ s di s cr eti o n, of u p t o 5 0 fr e e- st a n di n g st or e s ( or s p e ci alt y d e p art m e nt s wit hi n t h e C o m p a n y’ s st or e s) o p er ati n g u n d er t h e
  C h ef C e ntr al or ot h er a gr e e d u p o n br a n di n g. F oll o wi n g t h e A c q ui siti o n, h e j oi n e d t h e C o m p a n y a s a n e m pl o y e e t o b uil d C h ef C e ntr al br a n d e d st or e s or
  d e p art m e nt s. F or fi s c al 2 0 1 9, hi s s al ar y w a s $ 2 6 0, 1 9 2, a n d h e r e c ei v e d ot h er b e n efit s c o n si st e nt wit h hi s p o siti o n a n d t e n ur e, i n cl u di n g a r e stri ct e d st o c k
  a w ar d v al u e d at $ 1 5, 0 0 6 a n d c a s h a w ar d s v al u e d at $ 4 5, 0 0 0. I n fi s c al 2 0 1 9, h e r e c ei v e d di vi d e n d s of $ 4, 6 0 3 t h at w er e p ai d o n pr e vi o u sl y u n v e st e d st o c k
  a w ar d s t h at v e st e d i n fi s c al 2 0 1 9. T h e s e di vi d e n d s w er e n ot f a ct or e d i n t h e gr a nt d at e f air v al u e of s u c h st o c k a w ar d s u n d er A S C 7 1 8. I n a d diti o n, t h e s e
  di vi d e n d s d o n ot v e st a n d ar e n ot p ai d u ntil, a n d o nl y t h e n t o t h e e xt e nt, t h e a s s o ci at e d st o c k a w ar d s v e st a n d t h e u n d erl yi n g s h ar e s ar e p ai d. Eff e cti v e
  F e br u ar y 2 7, 2 0 2 0, R o n al d Ei s e n b er g s e p ar at e d fr o m t h e C o m p a n y. Mr. Ei s e n b er g r e c ei v e d c ert ai n s e v er a n c e b e n efit s i n c o n n e cti o n wit h hi s s e p ar ati o n
  fr o m t h e C o m p a n y, i n cl u di n g c a s h s e v er a n c e, d uri n g fi s c al 2 0 2 0, of $ 3 2, 1 6 9.
  Mr. W arr e n Ei s e n b er g c e a s e d t o b e a n offi c er of t h e C o m p a n y eff e cti v e A pril 2 1, 2 0 1 9.
                                                                                                                   62
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T a bl e of C o nt e nts

                                                                                                                                                                                                             O T H E R M AT T E R S

  H o u s e h ol di n g
  U nl e s s w e h a v e r e c ei v e d c o ntr ar y i n str u cti o n s, w e ar e m aili n g o n e c o p y of t h e pr o x y m at eri al s ( ot h er t h a n t h e pr o x y c ar d) t o r e c or d h ol d er s w h o h a v e t h e
  s a m e a d dr e s s a n d l a st n a m e. S u c h r e c or d h ol d er s will c o nti n u e t o r e c ei v e s e p ar at e pr o x y c ar d s. W e r ef er t o t hi s pr a cti c e a s h o u s e h ol di n g.
  If y o u ar e a r e c or d h ol d er w h o p arti ci p at e s i n h o u s e h ol di n g a n d wi s h t o r e c ei v e s e p ar at e c o pi e s of t h e pr o x y m at eri al s f or t h e 2 0 2 0 A n n u al M e eti n g or
  f ut ur e A n n u al M e eti n g s, t h e n pl e a s e c o nt a ct t h e C o m p a n y’ s C or p or at e S e cr et ar y at 6 5 0 Li b ert y A v e n u e, U ni o n, N e w J er s e y 0 7 0 8 3, or c alli n g
  9 0 8- 6 1 3- 5 8 2 0. W e will pr o m ptl y d eli v er s e p ar at e c o pi e s of t h e pr o x y m at eri al s f or t h e 2 0 2 0 A n n u al M e eti n g u p o n r e c ei vi n g y o ur r e q u e st.
  If y o u ar e a r e c or d h ol d er w h o i s eli gi bl e f or h o u s e h ol di n g a n d d o n ot c urr e ntl y p arti ci p at e i n t h e pr o gr a m b ut w o ul d li k e t o, t h e n pl e a s e c o nt a ct t h e
  C o m p a n y’ s C or p or at e S e cr et ar y at t h e a d dr e s s or p h o n e n u m b er i n di c at e d a b o v e.
  If y o u ar e a b e n efi ci al o w n er, t h e n pl e a s e c o nt a ct y o ur st o c k br o k er, b a n k or ot h er h ol d er of r e c or d t o r e c ei v e o n e or s e p ar at e c o pi e s of t h e pr o x y
  m at eri al s.

  N e xt Y e ar’ s A n n u al M e eti n g
  Pr o p o s al s w hi c h s h ar e h ol d er s i nt e n d t o b e eli gi bl e f or i n cl u si o n i n t h e C o m p a n y’ s pr o x y m at eri al s f or t h e 2 0 2 1 A n n u al M e eti n g of S h ar e h ol d er s p ur s u a nt
  t o t h e S E C’ s pr o x y r ul e s (i. e., R ul e 1 4 a- 8) m u st b e r e c ei v e d b y t h e C o m p a n y n o l at er t h a n F e br u ar y 1 8, 2 0 2 1.
  A n y s h ar e h ol d er i nt e n di n g t o i n cl u d e a dir e ct or n o mi n e e i n t h e C o m p a n y’ s pr o x y m at eri al s f or t h e 2 0 2 1 A n n u al M e eti n g of S h ar e h ol d er s p ur s u a nt t o
  Arti cl e II, S e cti o n 1 1 of t h e C o m p a n y’ s A m e n d e d a n d R e st at e d B y-l a w s (i. e. pr o x y a c c e s s) s h o ul d c ar ef ull y r e vi e w t h e r e q uir e m e nt s f or u si n g pr o x y
  a c c e s s, a s d e s cri b e d i n s u c h S e cti o n. T h e C o m p a n y m u st r e c ei v e a s h ar e h ol d er’ s n o mi n ati o n, wit h all r e q uir e d i nf or m ati o n, b et w e e n t h e cl o s e of
  b u si n e s s o n J a n u ar y 1 9, 2 0 2 0 a n d t h e cl o s e of b u si n e s s o n F e br u ar y 1 8, 2 0 2 1.
  U n d er t h e C o m p a n y’ s A m e n d e d a n d R e st at e d B y-l a w s, a n y pr o p o s al f or c o n si d er ati o n at t h e 2 0 2 1 A n n u al M e eti n g of S h ar e h ol d er s s u b mitt e d b y a
  s h ar e h ol d er ot h er t h a n p ur s u a nt t o t h e t w o m et h o d s d e s cri b e d a b o v e will b e c o n si d er e d ti m el y o nl y if it i s r e c ei v e d b y t h e C o m p a n y b et w e e n t h e cl o s e of
  b u si n e s s o n M ar c h 1 6, 2 0 2 1 a n d t h e cl o s e of b u si n e s s o n A pril 1 5, 2 0 2 1, a n d i s ot h er wi s e i n c o m pli a n c e wit h t h e r e q uir e m e nt s s et f ort h i n t h e C o m p a n y’ s
  A m e n d e d a n d R e st at e d B y-l a w s. If t h e d at e of t h e 2 0 2 1 A n n u al M e eti n g of S h ar e h ol d er s i s m or e t h a n 3 0 d a y s b ef or e or m or e t h a n 6 0 d a y s aft er t h e
  a n ni v er s ar y d at e of t h e 2 0 2 0 A n n u al M e eti n g of S h ar e h ol d er s, n oti c e m u st b e r e c ei v e d n o e arli er t h a n t h e cl o s e of b u si n e s s o n t h e 1 2 0t h d a y pri or t o t h e
  2 0 2 1 A n n u al M e eti n g of S h ar e h ol d er s a n d n ot l at er t h a n t h e cl o s e of b u si n e s s o n t h e 9 0t h d a y pri or t o t h e 2 0 2 1 A n n u al M e eti n g of S h ar e h ol d er s, or if t h e
  fir st p u bli c a n n o u n c e m e nt of t h e d at e of t h e 2 0 2 1 A n n u al M e eti n g of S h ar e h ol d er s i s l e s s t h a n 1 0 0 d a y s pri or t o t h e d at e of t h e 2 0 2 1 A n n u al M e eti n g of
  S h ar e h ol d er s, t h e 1 0t h d a y f oll o wi n g t h e d at e o n w hi c h n oti c e of t h e d at e of t h e m e eti n g i s gi v e n t o s h ar e h ol d er s or m a d e p u bli c, w hi c h e v er o c c ur s fir st.
  A n y i nf or m ati o n r e q uir e d t o b e r e c ei v e d b y t h e C o m p a n y, a s d e s cri b e d a b o v e, s h o ul d b e s e nt t o t h e C o m p a n y’ s C or p or at e S e cr et ar y at 6 5 0 Li b ert y
  A v e n u e, U ni o n, N e w J er s e y 0 7 0 8 3, Att n: c/ o C or p or at e S e cr et ar y.
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T a bl e of C o nt e nts




  B E D B A T H & B E Y O N D I N C. 6 5 0 LI B E R T Y A V E N U E U NI O N, NJ 0 7 0 8 3 V O T E B Y I N T E R N E T B ef or e T h e M e eti n g - G o t o w w w. pr o x y v ot e. c o m Us e t h e I nt er n et t o tr a ns mit y o ur v oti n g i nstr u cti o ns a n d f or el e ctr o ni c d eli v er y of i nf or m ati o n u p u ntil 1 1: 5 9 p. m. E ast er n D a yli g ht Ti m e o n J ul y 1 3, 2 0 2 0. H a v e y o ur pr o x y c ar d i n h a n d w h e n y o u a c c ess t h e w e b sit e a n d f oll o w t h e i nstr u cti o ns t o o bt ai n y o ur r e c or ds a n d t o cr e at e a n el e ctr o ni c v oti n g i nstr u cti o n f or m. D uri n g T h e M e eti n g - G o t o w w w. virt u als h ar e h ol d er m e eti n g. c o m/ B B B Y 2 0 2 0 Yo u m a y att e n d t h e m e eti n g vi a t h e I nt er n et a n d v ot e d uri n g t h e m e eti n g. H a v e t h e i nf or m ati o n t h at is pri nt e d i n t h e b o x m ar k e d b y t h e arr o w a v ail a bl e a n d f oll o w t h e i nstr u cti o ns. V O T E B Y P H O N E - 1- 8 0 0- 6 9 0- 6 9 0 3 Us e a n y t o u c h-t o n e t el e p h o n e t o tr a ns mit y o ur v oti n g i nstr u cti o ns u p u ntil 1 1: 5 9 p. m. E ast er n D a yli g ht Ti m e o n J ul y 1 3, 2 0 2 0. H a v e y o ur pr o x y c ar d i n h a n d w h e n y o u c all a n d t h e n f oll o w t h e i nstr u cti o ns. V O T E B Y M AI L M ar k, si g n a n d d at e y o ur pr o x y c ar d a n d r et ur n it i n t h e p ost a g e- p ai d e n v el o p e w e h a v e pr o vi d e d or r et ur n it t o Vot e Pr o c essi n g, c/ o Br o a dri d g e, 5 1 M er c e d es Wa y, E d g e w o o d, N Y 1 1 7 1 7. E L E C T R O NI C D E LI V E R Y O F F U T U R E P R O X Y M A T E RI A L S If y o u w o ul d li k e t o r e d u c e t h e c osts i n c urr e d b y o ur c o m p a n y i n m aili n g pr o x y m at eri als, y o u c a n c o ns e nt t o r e c ei vi n g all f ut ur e pr o x y st at e m e nts, pr o x y c ar ds a n d a n n u al r e p orts el e ctr o ni c all y vi a e- m ail or t h e I nt er n et. T o si g n u p f or el e ctr o ni c d eli v er y, pl e as e f oll o w t h e i nstr u cti o ns a b o v e t o v ot e usi n g t h e I nt er n et a n d, w h e n pr o m pt e d, i n di c at e t h at y o u a gr e e t o r e c ei v e or a c c ess pr o x y m at eri als el e ctr o ni c all y i n f ut ur e y e ars. T O V O T E, M A R K B L O C K S B E L O W I N B L U E O R B L A C K I N K A S F O L L O W S: D 1 9 0 8 4- P 4 1 6 4 4 K E E P T HI S P O R TI O N F O R Y O U R R E C O R D S D E T A C H A N D R E T U R N T HI S P O R TI O N O N L Y T HI S P R O X Y C A R D I S V A LI D O N L Y W H E N SI G N E D A N D D A T E D. B E D B A T H & B E Y O N D I N C. T H E B O A R D O F DI R E C T O R S R E C O M M E N D S A V O T E “ F O R ” A L L N O MI N E E S A N D “ F O R ” P R O P O S A L S 2 A N D 3. 1. T o el e ct 1 2 dir e ct ors u ntil t h e A n n u al M e eti n g i n 2 0 2 1 a n d u ntil t h eir r es p e cti v e s u c c ess ors h a v e b e e n el e ct e d a n d q u alifi e d. N o mi n e es: F or A g ai nst A bst ai n 1 a. H arri et E d el m a n 1 b. M ar k J. Tritt o n 1 c. J o h n E. Fl e mi n g 1 d. S u e E. G o v e 1 e. J effr e y A. Kir w a n 1f. J o h n at h a n B. (J B) Os b or n e F or A g ai nst A bst ai n 1 g. H ars h a R a m ali n g a m 1 h. Vir gi ni a P. R u est er h ol z 1i. J os h u a E. S c h e c ht er 1j. A n dr e a Weiss 1 k. M ar y A. Wi nst o n 1l. A n n Yer g er F or A g ai nst A bst ai n 2. T o r atif y t h e a p p oi nt m e nt of K P M G L L P as i n d e p e n d e nt a u dit ors f or t h e 2 0 2 0 fis c al y e ar. 3. T o a p pr o v e, b y n o n- bi n di n g v ot e, t h e 2 0 1 9 c o m p e ns ati o n p ai d t o t h e C o m p a n y’s N a m e d E x e c uti v e Offi c ers ( c o m m o nl y k n o w n as a “s a y- o n- p a y ” pr o p os al). 4. T o tr a ns a ct s u c h ot h er b usi n ess as m a y pr o p erl y b e br o u g ht b ef or e t h e A n n u al M e eti n g or a n y a dj o ur n m e nt or a dj o ur n m e nts. F or a d dr ess c h a n g es a n d/ or c o m m e nts, pl e as e c h e c k t his b o x a n d writ e t h e m o n t h e b a c k w h er e i n di c at e d. Pl e as e i n di c at e if y o u pl a n t o
  att e n d t his m e eti n g. Yes N o Pl e as e si g n e x a ctl y as y o ur n a m e(s) a p p e ar(s) h er e o n. W h e n si g ni n g as att or n e y, e x e c ut or, a d mi nistr at or, or ot h er fi d u ci ar y, pl e as e gi v e f ull titl e as s u c h. J oi nt o w n ers s h o ul d e a c h si g n p ers o n all y. All h ol d ers m ust si g n. If a c or p or ati o n or p art n ers hi p, pl e as e si g n i n f ull c or p or at e or p art n ers hi p n a m e b y a ut h ori z e d offi c er. Si g n at ur e [ P L E A S E SI G N WI T HI N B O X] D at e Si g n at ur e (J oi nt O w n ers) D at e
                                                                                                                                       Case 2:20-cv-08673-MCA-MAH Document 27-5 Filed 01/04/22 Page 129 of 160 PageID: 757
T a bl e of C o nt e nts




  SI G N, D A T E A N D M AI L Y O U R P R O X Y T O D A Y, U N L E S S Y O U H A V E V O T E D B Y I N T E R N E T O R T E L E P H O N E. I F Y O U H A V E N O T V O T E D B Y I N T E R N E T O R T E L E P H O N E, P L E A S E D A T E, M A R K, SI G N A N D R E T U R N T HI S P R O X Y P R O M P T L Y. Y O U R V O T E M U S T B E R E C EI V E D N O L A T E R T H A N 1 1: 5 9 P. M. E D T, J U L Y 1 3, 2 0 2 0, T O B E I N C L U D E D I N T H E V O TI N G R E S U L T S. I m p ort a nt N oti c e R e g ar di n g t h e A v ail a bilit y of Pr o x y M at eri als f or t h e A n n u al M e eti n g: T h e C o m bi n e d D o c u m e nt is a v ail a bl e at w w w. b e d b at h a n d b e y o n d. c o m/ a n n u al m e eti n g 2 0 2 0 N O T E: D u e t o t h e e v ol vi n g cir c u mst a n c es s urr o u n di n g t h e c urr e nt c or o n a vir us ( C O VI D- 1 9) sit u ati o n a n d its i m p a ct o n p u bli c h e alt h, t h e C o m p a n y will b e all o wi n g s h ar e h ol d ers t o att e n d t h e A n n u al M e eti n g of S h ar e h ol d ers b y r e m ot e c o m m u ni c ati o n. D et ails o n h o w t o p arti ci p at e vi a r e m ot e c o m m u ni c ati o n ar e i n cl u d e d i n t h e Pr o x y St at e m e nt. T h e C o m p a n y h as als o s c h e d ul e d a n i n- p ers o n l o c ati o n f or s h ar e h ol d ers t o att e n d t h e m e eti n g i n- p ers o n. H o w e v er, if p er mitt e d b y a p pli c a bl e l a w, w e i nt e n d t o h ol d t h e A n n u al M e eti n g s ol el y b y m e a ns of r e m ot e c o m m u ni c ati o n wit h n o i n- p ers o n l o c ati o n. A d e cisi o n t o t a k e t his st e p will b e p u bli cl y a n n o u n c e d i n a pr ess r el e as e at l e ast o n e w e e k i n a d v a n c e of t h e m e eti n g, a v ail a bl e at w w w. b e d b at h a n d b e y o n d. c o m/ a n n u al m e eti n g 2 0 2 0. D 1 9 0 8 5- P 4 1 6 4 4 P R O X Y C A R D B E D B A T H & B E Y O N D I N C. A N N U A L M E E TI N G O F S H A R E H O L D E R S J U L Y 1 4, 2 0 2 0, 1 0: 0 0 A. M. E D T T HI S P R O X Y I S S O LI CI T E D O N B E H A L F O F T H E B O A R D O F DI R E C T O R S T h e u n d ersi g n e d h er e b y a p p oi nts H arri et E d el m a n, M ar k J. Tritt o n a n d Arl e n e H o n g, or a n y o n e of t h e m, a cti n g si n gl y, e a c h wit h t h e p o w er t o a p p oi nt his or h er s u bstit ut e, a n d h er e b y a ut h ori z es t h e m t o r e pr es e nt a n d t o v ot e, as d esi g n at e d o n t h e r e v ers e si d e h er e of, all t h e s h ar es of c o m m o n st o c k of B e d B at h & B e y o n d I n c. h el d of r e c or d b y t h e u n d ersi g n e d o n J u n e 5, 2 0 2 0 at t h e A n n u al M e eti n g of S h ar e h ol d ers t o b e h el d o n J ul y 1 4, 2 0 2 0, or a n y a dj o ur n m e nt t h er e of. I F T HI S P R O X Y I S P R O P E R L Y E X E C U T E D A N D R E T U R N E D, T H E S H A R E S R E P R E S E N T E D H E R E B Y WI L L B E V O T E D, I F N O T O T H E R WI S E S P E CI FI E D, F O R T H E E L E C TI O N O F A L L N O MI N E E S, F O R P R O P O S A L 2, A N D F O R P R O P O S A L 3. A d dr ess C h a n g es/ C o m m e nts: (If y o u n ot e d a n y A d dr ess C h a n g es/ C o m m e nts a b o v e, pl e as e m ar k c orr es p o n di n g b o x o n t h e r e v ers e si d e.) C O N TI N U E D A N D T O B E SI G N E D A N D D A T E D O N T H E R E V E R S E SI D E.
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                    E X HI BI T O
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            S UP RE ME C O U RT OF T HE ST ATE OF NE W Y O R K
            C O U N T Y O F KI N G S

                                                                         x
            R O B E R T S C H N EI D E R, D eri v ati v el y o n         :   Ci vil A cti o n N o.
            B e h alf of B E D B A T H & B E Y O N D I N C.,             :
                                                                         :   C L A S S A C TI O N
                                                Pl ai ntiff,             :
                                                                         :   S U M M O NS
                       vs.                                               :
                                                                         :
                                                                         :
            M A R K J. T RI T T O N, P A T RI C K R. G A S T O N, :
            VI R GI NI A P. R U E S T E R H O L Z,                       :
            J O H N A T H A N B. O S B O R N E, S T E P H A NI E :
            B E L L -R O S E, H A R RI E T E D E L M A N,                :
            H A R S H A R A M A LI N G A M, A N D R E A                  :
            W EI S S, A N N Y E R G E R, J O H N E. F L E MI N G, :
            S U E E. G O V E, J E F F R E Y A. KI R W A N,               :
            J O S H U A E. S C H E C H T E R, M A R Y A.                 :
            WI N S T O N, a n d R O B Y N M. D’ E LI A,                  :
                                                                         :
                                                D ef e n d a nts.
                                                                         :
                       -a n d -
                                                                         :
                                                                         :
            B E D B A T H & B E Y O N D I N C., a N e w Y or k
                                                                         :
            C or p or ati o n,
                                                                         :
                                                                         :
                                            N o mi n al D ef e n d a nt. :
                                                                         :
                                                                         x
                     T o t h e a b o v e n a m e d D ef e n d a nts:




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            B E D B A T H & B E Y O N D I N C.             A N D R E A W EI S S
            H e a d q u art ers:                           2 7 4 0 0 St at e R o a d 4 4
            6 5 0 Li b ert y A v e n u e                   E ustis, F L 3 2 7 3 6
            U ni o n, NJ 0 7 0 8 3

            S er vi c e A d dr ess:                        A N N YER GER
            B e d B at h & B e y o n d I n c.              3 7 1 3 W est Str e et N W
            Att n ” Ris k M a n a g e m e nt               W as hi n gt o n, D C 2 0 0 0 7
            6 5 0 Li b ert y A v e n u e
            U ni o n, NJ 0 7 0 8 3

            M A R K J. T RI T T O N                        J O H N E. F L E MI N G
            1 0 4 C h arlt o n Str e et, A pt. 8 W         5 0 2 2 Br u c e A v e n u e
            N e w Y or k, N Y 1 0 0 1 4                    Mi n n e a p olis, M N 5 5 4 2 4

            P A T RI C K R. G A S T O N                    S U E E. G O V E
            5 8 3 4 S a d dl e D o w ns Pl a c e           4 4 0 8 L o n g C h a m p Dri v e, A pt. 3 8
            C e ntr e vill e, V A 2 0 1 2 0                A usti n, T X 7 8 7 4 6

            VI R GI NI A P. R U E S T E R H O L Z          J E F F R E Y A. KI R W A N
            3 2 5 0 Gi n L a n e                           5 2 0 W est 4 5t h Str e et, U nit 3 B
            N a pl es, F L 3 4 1 0 2                       N e w Y or k, N Y 1 0 0 3 6

            J O H N A T H A N B. O S B O R N E             J O S H U A E. S C H E C H T E R
            2 0 J a y Str e et, # 5 2 0                    3 0 2 S o ut h M a nsfi el d A v e n u e
            Br o o kl y n, N Y 1 1 2 0 1                   L os A n g el es, C A 9 0 0 3 6

            S T E P H A NI E B E L L -R O S E              M A R Y A. WI N S T O N
            1 3 8 G o v er n or Str e et, A pt. 1          5 4 1 8 C ar m el P ar k Dri v e
            Pr o vi d e n c e, RI 0 2 9 0 6                C h arl ott e, N C 2 8 2 2 6

            H A R RI E T E D E L M A N                     R O B Y N M. D’ E LI A
            3 0 W est 6 3r d Str e et, A pt. 2 0 S         4 H o ust e n C o urt
            N e w Y or k, N Y 1 0 0 2 3                    M arti ns vill e, NJ 0 8 8 3 6

            H A R S H A R A M A LI N G A M
            1 8 1 6 1 0t h Str e et W est
            Kir kl a n d, W A 9 8 0 3 3




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                       Y o u ar e h er e b y s u m m o n e d t o a ns w er t h e c o m pl ai nt i n t his a cti o n a n d t o s er v e a c o p y of y o ur

            a ns w er, or, if t h e c o m pl ai nt is n ot s er v e d wit h t his s u m m o ns, t o s er v e a n oti c e of a p p e ar a n c e, o n t h e

            pl ai ntiff’s att or n e y wit hi n 2 0 d a ys aft er t h e s er vi c e of t his s u m m o ns, e x cl usi v e of t h e d a y of s er vi c e

            ( or wit hi n 3 0 d a ys aft er t h e s er vi c e is c o m pl et e if t his s u m m o ns is n ot p ers o n all y d eli v er e d t o y o u

            wit hi n t h e St at e of N e w Y or k); a n d i n c as e of y o ur f ail ur e t o a p p e ar or a ns w er, j u d g m e nt will b e

            t a k e n a g ai nst y o u b y d ef a ult f or t h e r eli ef d e m a n d e d i n t h e c o m pl ai nt.

                       V e n u e is pr o p er i n t his C o urt b e c a us e o n e or m or e of t h e d ef e n d a nts eit h er r esi d es i n or

            m ai nt ai ns e x e c uti v e offi c es i n t his C o u nt y, a s uffi ci e nt p orti o n of t h e tr a ns a cti o ns a n d wr o n gs

            c o m pl ai n e d of h er ei n o c c urr e d i n or w er e dir e ct e d at t his C o u nt y, a n d d ef e n d a nts h a v e r e c ei v e d

            s u bst a nti al c o m p e ns ati o n i n t his C o u nt y b y d oi n g b usi n ess h er e a n d e n g a gi n g i n n u m er o us a cti viti es

            t h at h a d a n eff e ct i n t his C o unt y.

            D A T E D: A u g ust 2 8 , 2 0 2 0                                 R O B BI N S G E L L E R R U D M A N
                                                                                & D O W D LLP
                                                                               S A M U E L H. R U D M A N
                                                                               M A R K S. R EI C H


                                                                                                     /s/ S a m u el H. R u d m a n
                                                                                                   S A M U E L H. R U D M A N

                                                                               5 8 S o ut h S er vi c e R o a d, S uit e 2 0 0
                                                                               M el vill e, N Y 1 1 7 4 7
                                                                               T el e p h o n e: 6 3 1/ 3 6 7- 7 1 0 0
                                                                               6 3 1/ 3 6 7- 1 1 7 3 (f a x)
                                                                               sr u d m a n @r gr dl a w. c o m
                                                                               mr ei c h @r gr dl a w. c o m




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                                                        R O B BI N S G E L L E R R U D M A N
                                                          & D O W D LLP
                                                        T R A VI S D O W N S
                                                        BE N N Y G O O D M A N
                                                        6 5 5 W est Br o a d w a y, S uit e 1 9 0 0
                                                        S a n Di e g o, C A 9 2 1 0 1
                                                        T el e p h o n e: 6 1 9/ 2 3 1- 1 0 5 8
                                                        6 1 9/ 2 3 1- 7 4 2 3 (f a x)
                                                        Tr a vis D @r gr dl a w. c o m
                                                        B e n n y G @r gr dl a w. c o m

                                                        R O B BI N S L L P
                                                        G R E G O R Y E. D E L G AI Z O
                                                        B RI A N J. R O B BI N S
                                                        C R AI G W. S MI T H
                                                        S H A N E P. S A N D E R S
                                                        5 0 4 0 S h or e h a m Pl a c e
                                                        S a n Di e g o, C A 9 2 1 2 2
                                                        T el e p h o n e: 6 1 9/ 5 2 5- 3 9 9 0
                                                        6 1 9/ 5 2 5- 3 9 9 1 (f a x)
                                                        g d el g ai z o @r o b bi nsll p. c o m
                                                        br o b bi ns @r o b bi nsll p. c o m
                                                        cs mit h @r o b bi nsll p. c o m
                                                        ss a n d ers @r o b bi nsll p. c o m

                                                        Att or n e ys f or Pl ai ntiff




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            S UP RE ME C O U RT OF T HE ST ATE OF NE W Y O RK
            C O U N T Y O F KI N G S


                                                                         x
            R O B E R T S C H N EI D E R, D eri v ati v el y o n         :   Ci vil A cti o n N o.
            B e h alf of B E D B A T H & B E Y O N D I N C.,             :
                                                                         :   S T O C K H O L D E R D E RI V A TI V E
                                                Pl ai ntiff,             :   C O M P L AI N T F O R B R E A C H O F
                                                                         :   FI D U CI A R Y D U T Y A N D U NJ U S T
                       vs.                                               :   E N RI C H M E N T
                                                                         :
                                                                         :
            M A R K J. T RI T T O N, P A T RI C K R. G A S T O N, :
            VI R GI NI A P. R U E S T E R H O L Z,                       :
            J O H N A T H A N B. O S B O R N E, S T E P H A NI E :
            B E L L -R O S E, H A R RI E T E D E L M A N,                :
            H A R S H A R A M A LI N G A M, A N D R E A                  :
            W EI S S, A N N Y E R G E R, J O H N E. F L E MI N G, :
            S U E E. G O V E, J E F F R E Y A. KI R W A N,               :
            J O S H U A E. S C H E C H T E R, M A R Y A.                 :
            WI N S T O N, a n d R O B Y N M. D’ E LI A,                  :
                                                                         :
                                                D ef e n d a nts.
                                                                         :
                       -a n d -
                                                                         :
                                                                         :
            B E D B A T H & B E Y O N D I N C., a N e w Y or k
                                                                         :
            C or p or ati o n,
                                                                         :
                                                                         :
                                            N o mi n al D ef e n d a nt. :
                                                                         x   D E M A N D F O R J U R Y T RI A L




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                       Pl ai ntiff R o b ert S c h n ei d er, b y his att or n e ys, s u b mits t his St o c k h ol d er D eri v ati v e C o m pl ai nt

            f or Br e a c h of Fi d u ci ar y D ut y a n d U nj ust E nri c h m e nt. Pl ai ntiff all e g es t h e f oll o wi n g o n i nf or m ati o n

            a n d b eli ef, e x c e pt as t o t h e all e g ati o ns s p e cifi c all y p ert ai ni n g t o pl ai ntiff w hi c h ar e b as e d o n p ers o n al

            k n o wl e d g e. T his c o m pl ai nt is als o b as e d o n t h e i n v esti g ati o n of pl ai ntiff’s c o u ns el, w hi c h i n cl u d e d,

            a m o n g ot h er t hi n gs, a r e vi e w of p u bli c fili n gs wit h t h e U. S. S e c uriti es a n d E x c h a n g e C o m missi o n

            ( “ S E C ”) a n d a r evi e w of n e ws r e p orts, pr ess r el e as es, a n d ot h er p u bli cl y a v ail a bl e s o ur c es.

                                               N A T U R E A N D S U M M A R Y O F T H E A C TI O N

                       1.           T his is a st o c k h ol d er d eri v ati v e a cti o n br o u g ht b y pl ai ntiff o n b e h alf of n o mi n al

            d ef e n d a nt B e d B at h & B e y o n d I n c. ( “ B e d B at h & B e y o n d ” or t h e “ C o mp a n y ”) a g ai nst c ert ai n of its

            offi c ers a n d dir e ct ors f or br e a c h es of fi d u ci ar y d uti es a n d vi ol ati o ns of l a w. T h es e wr o n gs r es ult e d

            i n h u n dr e ds of milli o ns of d oll ars i n d a m a g es t o B e d B at h & B e y o n d’s r e p ut ati o n, g o o d will, a n d

            st a n di n g i n t h e b usi n ess c o m m u nit y. M or e o v er, t h es e a cti o ns h a v e e x p os e d B e d B at h & B e y o n d t o

            h u n dr e ds of milli o ns of d oll ars i n p ot e nti al li a bilit y f or vi ol ati o ns of st at e a n d f e d er al l a w.

                       2.           B e d B at h & B e y o n d is a r et ail er t h at s ells a wi d e ass ort m e nt of d o m esti c m er c h a n dis e

            a n d h o m e f ur nis hi n g. B e d B at h & B e y o n d is a n i c o ni c “ bi g b o x ” r et ail er (  r et ail ers k n o w n f or t h eir

            l ar g e-s c al e b uil di n gs wit h pl ai n d esi g ns t h at r es e m bl e a l ar g e b o x).        W hil e o n c e c o nsi d er e d o n t h e

            f or efr o nt of t h e “s u p erst or e ” m o v e m e nt i n A m eri c a, i n r e c e nt y e ars t h e C o m p a n y h as si g nifi c a ntl y

            str u g gl e d as s h o p p ers m o v e d o nli n e.

                       3.           I n M a y 2 0 1 9, t h e C o m p a n y’s t h e n C hi ef E x e c uti v e Offi c er ( “ C E O ”), St e v e n H.

            T e m ar es ( “ T e m ar es ”), w as eff e cti v el y f or c e d t o st e p d o w n b y a gr o u p of a cti vist i n v est ors t h at

            f o u g ht t o i nst all th eir o w n s el e cti o n of i n di vi d u als o n t h e B e d B at h & B e y o n d B o ar d of Dir e ct ors

            (t h e “ B o ar d ”).     Wit h T e m ar es st e p pi n g d o w n, d ef e n d a nt M ar y A. Wi nst o n ( “ Wi nst o n ”) t o o k o v er as




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            i nt eri m C E O. D ef e n d a nt Wi nst o n w as o n e of t h e dir e ct ors t h e a cti vist i n v est ors s o ug ht t o p ut o n t h e

            B o ar d.

                        4.         At or ar o u n d t h e s a m e ti m e d ef e n d a nt Wi nst o n t o o k t h e h el m of t h e C o m p a n y, t h e

            B o ar d at t h e s a m e ti m e a n n o u n c e d it cr e at e d a c o m mitt e e c all e d t h e “ B usi n ess Tr a nsf or m ati o n a n d

            Str at e g y R e vi e w C o m mitt e e. ”        T his c o m mitt e e, b as e d o n d e f e n d a nts’ o w n st at e m e nts, b e c a m e

            cl os el y i n v ol v e d i n t h e aff airs of B e d B at h & B e y o n d, c o mi n g u p wit h f o ur “ pri oriti es ” t o dri v e t h e

            C o m p a n y’s tr a nsf or m ati o n. O n e of t h e pri oriti es w as t o “r e vi e w a n d o pti mi z e ” t h e C o m p a n y’s ass et

            b as e. I n f urt h er a n c e of t h at g o al, t h e B o ar d a n d m a n a g e m e nt w er e cl os el y m o nit ori n g B e d B at h &

            B e y o n d’s i n v e nt or y. T h e d ef e n d a nts t ol d t h e p u bli c t h at t h e y pl a n n e d “t o a g gr essi v el y r e d u c e u p t o

            $ 1 billi o n of i n v e nt or y at r et ail ” a n d t h at “[i] n t h e s h ort t er m, m or e t h a n a p pr o xi m a t el y $ 3 5 0 milli o n

            of i n v e nt or y at r et ail will b e r e m o v e d fr o m o ur st or es b ef or e t h e 2 0 1 9 h oli d a y s e as o n. ”

                        5.         B e d B at h & B e y o n d, h o w e v er, l a c k e d t h e i nt er n al c o ntr ols n e c ess ar y t o t a k e s u c h

            “ a g gr essi v e ” a cti o ns wit h o ut si g nifi c a ntl y h ar mi n g t h e C o m p a n y at t h e s a m e ti m e. I n p arti c ul ar, o n

            F e br u ar y 1 1, 2 0 2 0, o nl y m o nt hs aft er t a ki n g t h es e a cti o ns, t h e C o m p a n y a n n o u n c e d a m at eri al dr o p

            i n c o m p ar a bl e s al es, “ dri v e n pri m aril y b y st or e tr affi c d e cli n es c o m bi n e d                      wit h i n v e nt or y

            m a n a g e m e nt iss u es, a n d i n cr e as e d pr o m oti o n al a cti vit y a n d m ar k d o w ns. ” It f urt h er st at e d t h at

            “[ p]r o d u ct a v ail a bilit y l e a di n g i nt o t h e h oli d a y p eri o d w as als o a c o ntri b uti n g f a ct or, as i n v e nt or y

            wit hi n c ert ai n k e y c at e g ori es i n t h e B e d B at h & B e y o n d ass ort m e nt w as t o o l o w or o ut - of-st o c k

            d uri n g t h e p eri o d. ”

                        6.         Eff e cti v el y, t h e C o m p a n y’s st at e d “ pri orit y ” of q ui c kl y r e d u ci n g i n v e nt or y b a c kfir e d

            d uri n g t h e k e y h oli d a y s al es s e as o n, as B e d B at h & B e y o n d di d n ot h a v e a s uffi ci e nt st o c k of k e y

            it e ms, w hi c h l e d t o a d e cr e as e i n s al es a n d tr affi c at its stor es. F urt h er, t h e C o m p a n y a n n o u n c e d y et

            a n ot h er s hift – s hift t o c o m m o diti z e d a n d l o w er m ar gi n pr o d u cts - i n str at e gi c pl a ns.


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                       7.           T h e d ef e n d a nts c o m p o u n d e d t h eir i n v e nt or y err ors b y m a ki n g a s eri es of i m pr o p er

            st at e m e nts t o t h e p u bli c c o n c er ni n g t h e C o m p a n y’s i n v e nt or y m a n a g e m e nt a n d e x p e ct e d s al es a n d

            pr ofit a bilit y. As t h e tr ut h c a m e o ut, B e d B at h & B e y o n d’s st o c k pl u n g e d m or e t h a n 3 3 % fr o m its

            r el e v a nt p eri o d hi g h, g oi n g fr o m $ 1 7. 7 2 p er s h ar e t o $ 1 1. 7 9 p er s h ar e, er asi n g m or e t h a n $ 7 5 2

            milli o n i n m ar k et c a pit ali z ati o n.

                       8.           F urt h er, as a dir e ct r es ult of t his u nl a wf ul c o urs e of c o n d u ct, B e d B at h & B e y o n d is

            n o w t h e s u bj e ct of n u m er o us f e d er al s e c uriti es cl ass a cti o n l a ws uits fil e d i n t h e U. S. Distri ct C o urt

            f or t h e Distri ct of N e w J ers e y o n b e h alf of i n v est ors w h o p ur c h as e d B e d B at h & B e y o n d s h ar es.

                                                             J U RI S DI C TI O N A N D V E N U E

                       9.           T his C o urt h as j uris di cti o n b e c a us e B e d B at h & B e y o n d is i n c or p or at e d i n N e w Y or k

            a n d is t h er ef or e a citi z e n of N e w Y or k. T h e I n di vi d u al D ef e n d a nts ( d efi n e d b el o w, ¶ 2 8) all h a v e

            s uffi ci e nt mi ni m u m c o nt a cts wit h t his C o urt t o r e n d er t h e e x er cis e of j uris di cti o n b y t h e C o urt

            p er missi bl e u n d er tr a diti o n al n oti o ns of f air pl a y a n d s u bst a nti al j usti c e. T his C o urt r et ai ns g e n er al

            j uris di cti o n o v er e a c h n a m e d d ef e n d a nt w h o is a r esi d e nt of N e w Y ork. I n p arti c ul ar, o n i nf or m ati o n

            a n d b eli ef, d ef e n d a nts St e p h a ni e B ell -R os e ( “ B ell -R os e ”), H arri et E d el m a n ( “ E d el m a n ”), J effr e y A.

            Kir w a n ( “ Kir w a n ”), M ar k J. Tritt o n ( “ Tritt o n ”), a n d J o h n at h a n B. Os b or n e ( “ Os b or n e ”) ar e r esi d e nts

            of N e w Y or k.          A d diti o n all y, t his C o urt h as s p e cifi c j uris di cti o n o v er e a c h n a m e d n o nr esi d e nt

            d ef e n d a nt b e c a us e t h es e d ef e n d a nts m ai nt ai n s uffi ci e nt mi ni m u m c o nt a cts wit h N e w Y or k t o r e n d er

            j uris di cti o n b y t his C o urt p er missi bl e u n d er tr a diti o n al n oti o ns of f air pl a y a n d s u bst a nti al j usti c e.

            B e d B at h & B e y o n d d o es b usi n ess i n N e w Y or k, a n d b e c a us e t h e all e g ati o ns c o nt ai n e d h er ei n ar e

            br o u g ht d eri v ati v el y o n b e h alf of t h e C o m p a n y, d ef e n d a nts’ c o n d u ct w as p ur p os ef ull y dir e ct e d at

            N e w Y or k. Fi n all y, e x er cisi n g j uris di cti o n o v er a n y n o nr esi d e nt d ef e n d a nt is r e as o n a bl e u n d er t h es e

            cir c u mst a n c es.


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                       1 0.       V e n u e is pr o p er i n t his C o urt b e c a us e o n e or m or e of t h e d ef e n d a nts eit h er r esi d es i n

            or m ai nt ai ns e x e c uti v e offi c es i n t his C o u nt y, a s uffi ci e nt p orti o n of t h e tr a ns a cti o ns a n d wr o n gs

            c o m pl ai n e d of h er ei n o c c urr e d i n or w er e dir e ct e d at t his C o u nt y, a n d d ef e n d a nts h a v e r e c ei v e d

            s u bst a nti al c o m p e ns ati o n i n t his C o u nt y b y d oi n g b usi n ess h er e a n d e n g a gi n g i n n u m er o us a cti viti es

            t h at h a d a n eff e ct i n t his C o u nt y.

                                                                        T H E P A R TI E S

            Pl ai ntiff

                       1 1.       Pl ai ntiff R o b e rt S c h n ei d er w as a st o c k h ol d er of B e d B at h & B e y o n d at t h e ti m e of t h e

            wr o n g d oi n g c o m pl ai n e d of, h as c o nti n u o usl y b e e n a st o c k h ol d er si n c e t h at ti m e, a n d is a c urr e nt B e d

            B at h & B e y o n d st o c k h ol d er.

            N o mi n al D ef e n d a nt

                       1 2.       N o mi n al d ef e n d a nt B e d B at h & B e y o n d is a N e w Y or k c or p or ati o n wit h pri n ci p al

            e x e c uti v e offi c es l o c at e d at 6 5 0 Li b ert y A v e n u e, U ni o n, N e w J ers e y.           B e d B at h & B e y o n d is a

            d o m esti cs m er c h a n dis e a n d h o m e f ur nis hi n gs r et ail er. T h e C o m p a n y o p er at es u n d er m ulti pl e br a n d

            n a m es i n cl u di n g C hrist m as Tr e e S h o ps, H ar m o n, b u y b u y B A B Y a n d C ost Pl us W orl d M ar k et. As

            of F e br u ar y 2 9, 2 0 2 0, t h e C o m p a n y h a d a p pr o xi m at el y 5 5, 0 0 0 e m pl o y e es.

            D ef e n d a nts

                       1 3.       D ef e n d a nt Tritt o n is B e d B at h & B e y o n d’s Pr esi d e nt a n d C E O, a n d a dir e ct or a n d h as

            b e e n si n c e N o v e m b er 2 0 1 9. D ef e n d a nt Tritt o n w as a m e m b er of B e d B at h & B e y o n d’s B usi n ess

            Tr a nsf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e fr o m at l e ast N o v e m b er 2 0 1 9 t o J u n e 2 0 2 0. 1



            1
                          A c c or di n g t o B e d B at h & B e y o n d’s m ost r e c e nt Pr o x y St at e m e nt o n F or m D E F 1 4 A fil e d
            wit h t h e S E C o n J u n e 1 8, 2 0 2 0, i n J u n e 2 0 2 0, u p o n t h e r e c o m m e n d ati o n of t h e N o mi n ati n g a n d
            C or p or at e G o v er n a n c e C o m mitt e e, t h e B o ar d dis b a n d e d t h e B usi n ess Tr a nsf or m ati o n a n d Str at e g y
            R e vi e w C o m mitt e e.


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            D ef e n d a nt Tritt o n is n a m e d as a d ef e n d a nt i n s e c uriti es cl ass a cti o n c o m pl ai nts t h at all e g e h e

            vi ol at e d s e cti o ns 1 0( b) a n d 2 0( a) of t h e S e c uriti es E x c h a n g e A ct of 1 9 3 4 (t h e “ E x c h a n g e A ct ”). 2

            B e d B at h & B e y o n d p ai d d ef e n d a nt Tritt o n t h e f oll o wi n g c o m p e ns ati o n as a n e x e c uti v e:

                                                                                           N o n -E q uit y
                                                                      St o c k           I n c e nti v e Pl a n      All Ot h e r
           Ye ar          S al a r y            B o n us            A w a r ds           C o m p e ns ati o n     C o m p e ns at i o n      T ot al
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                      1 4.       D ef e n d a nt P atri c k R. G ast o n ( “ G ast o n ”) w as B e d B at h & B e y o n d’s C h air m a n of t h e

            B o ar d fr o m A pril 2 0 1 9 t o M a y 2 0 2 0 a n d a dir e ct or fr o m M a y 2 0 0 7 t o J ul y 2 0 2 0. D ef e n d a nt G ast o n

            w as a m e m b er of B e d B at h & B e y o n d’s B usi n ess Tr a nsf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e

            fr o m at l e ast J ul y 2 0 1 9 t o J u n e 2 0 2 0. B e d B at h & B e y o n d p ai d d ef e n d a nt G ast o n t h e f oll o wi n g

            c o m p e ns ati o n as a dir e ct or:

                                                         F e es E a r n e d o r
                                         Ye ar             P ai d i n C as h             St o c k A w a r ds           T ot al
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                      1 5.       D ef e n d a nt Vir gi ni a P. R u est er h ol z ( “ R u est er h ol z ”) is a B e d B at h & B e y o n d dir e ct or

            a n d h as b e e n si n c e J u n e 2 0 1 7. D ef e n d a nt R u est er h ol z is als o a m e m b er of B e d B at h & B e y o n d’s

            A u dit C o m mitt e e a n d h as b e e n si n c e at l e ast J ul y 2 0 1 9.              B e d B at h & B e y o n d p ai d d ef e n d a nt

            R u est er h ol z t h e f oll o wi n g c o m p e ns ati o n as a dir e ct or:

                                                         F e es E a r n e d o r
                                         Ye ar             P ai d i n C as h             St o c k A w a r ds           T ot al
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                      1 6.       D ef e n d a nt Os b or n e is a B e d B at h & B e y o n d dir e ct or a n d h as b e e n si n c e A pril 2 0 1 8.

            D ef e n d a nt Os b or n e w as a m e m b er of B e d B at h & B e y o n d’s A u dit C o m mitt e e fr o m at l e ast J ul y


            2
              Kir kl a n d v. B e d B at h & B e y o n d I n c., et al. , C as e N o. 2: 2 0-c v - 0 5 3 3 9-M C A ( D. N.J.), Viti ell o v. B e d
            B at h & B e y o n d I n c., et al. , C as e N o. 2: 2 0-c v - 0 4 2 4 0- M C A ( D. N.J.).


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            2 0 1 9 t o at l e ast J u n e 2 0 2 0, a n d a m e m b er of t h e B usi n ess Tr a nsf or m ati o n a n d Str at e g y R e vi e w

            C o m mitt e e fr o m at l e ast J ul y 2 0 1 9 t o J u n e 2 0 2 0. B e d B at h & B e y o n d p ai d d ef e n d a nt Os b or n e t h e

            f oll o wi n g c o m p e ns ati o n as a dir e ct or:

                                                          F e es E a r n e d o r
                                        Ye ar               P ai d i n C as h             St o c k A w a r ds         T ot al
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                      1 7.       D ef e n d a nt B ell -R os e w as a B e d B at h & B e y o n d dir e ct or fr o m M a y 2 0 1 8 t o J ul y

            2 0 2 0. B e d B at h & B e y o n d p ai d d ef e n d a nt B ell - R os e t h e f oll o wi n g c o m p e ns ati o n as a dir e ct or:

                                                          F e es E a r n e d o r
                                        Ye ar               P ai d i n C as h             St o c k A w a r ds         T ot al
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                      1 8.       D ef e n d a nt E d el m a n is B e d B at h & B e y o n d’s C h air of t h e B o ar d a n d h as b e e n si n c e

            M a y 2 0 2 0, a n d a dir e ct or a n d h as b e e n si n c e A pril 2 0 1 9. D ef e n d a nt E d el m a n w as C h air of B e d B at h

            & B e y o n d’s A u dit C o m mitt e e fr o m at l e ast J ul y 2 0 1 9 t o M a y 2 0 2 0.              B e d B at h & B e y o n d p ai d

            d ef e n d a nt E d el m a n t h e f o ll o wi n g c o m p e ns ati o n as a dir e ct or:

                                                          F e es E a r n e d o r
                                        Ye ar               P ai d i n C as h             St o c k A w a r ds         T ot al
                                        2019                   $ 1 0 1, 5 3 2                  $ 8 1, 0 0 0        $ 1 8 2, 5 3 2

                      1 9.       D ef e n d a nt H ars h a R a m ali n g a m ( “ R a m ali n g a m ”) is a B e d B at h & B e y o n d dir e ct or

            a n d h as b e e n si n c e A pril 2 0 1 9. D ef e n d a nt R a m ali n g a m is als o a m e m b er of B e d B at h & B e y o n d’s

            A u dit C o m mitt e e a n d h as b e e n si n c e at l e ast A u g ust 2 0 2 0.            D ef e n d a nt R a m ali n g a m w as als o a

            m e m b er of B e d B at h & B e y o n d’s B usi n ess Tr a nsf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e fr o m at

            l e ast J ul y 2 0 1 9 t o J u n e 2 0 2 0.      B e d B at h & B e y o n d p ai d d ef e n d a nt R a m ali n g a m t h e f oll o wi n g

            c o m p e ns ati o n as a dir e ct or:

                                                          F e es E a r n e d o r
                                        Ye ar               P ai d i n C as h             St o c k A w a r ds         T ot al
                                        2019                    $ 8 7, 6 1 0                   $ 8 1, 0 0 0        $ 1 6 8, 6 1 0


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                       2 0.      D ef e n d a nt A n dr e a W eiss ( “ W eiss ”) is a B e d B at h & B e y o n d dir e ct or a n d h as b e e n

            si n c e A pril 2 0 1 9. D ef e n d a nt W eiss is als o a m e m b er of B e d B at h & B e y o n d’s A u dit C o m mitt e e a n d

            h as b e e n si n c e at l e ast J ul y 2 0 1 9.      D ef e n d a nt     W eiss w as als o C h air of B e d B at h & B e y o n d’s

            B usi n ess Tr a nsf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e fr o m at l e ast J ul y 2 0 1 9 t o J u n e 2 0 2 0. B e d

            B at h & B e y o n d p ai d d ef e n d a nt W eiss t h e f oll o wi n g c o m p e ns ati o n as a dir e ct or:

                                                        F e es E a r n e d o r
                                        Ye ar             P ai d i n C as h                St o c k A w a r ds       T ot al
                                        2019                  $ 9 9, 5 0 5                      $ 8 1, 0 0 0      $ 1 8 0, 5 0 5

                       2 1.      D ef e n d a nt A n n Y er g er ( “ Y er g er ”) is a B e d B at h & B e y o n d dir e ct or a n d h as b e e n

            si n c e A pril 2 0 1 9.    B e d B at h & B e y o n d p ai d d ef e n d a nt Y er g er t h e f oll o wi n g c o m p e ns ati o n as a

            dir e ct or:

                                                        F e es E a r n e d o r
                                        Ye ar             P ai d i n C as h                St o c k A w a r ds       T ot al
                                        2019                  $ 8 5, 8 8 6                      $ 8 1, 0 0 0      $ 1 6 6, 8 8 6

                       2 2.      D ef e n d a nt J o h n Fl e mi n g ( “ Fl e mi n g ”) is a B e d B at h & B e y o n d dir e ct or a n d h as b e e n

            si n c e   M a y 2 0 1 9.      D ef e n d a nt Fl e mi n g w as a              m e m b er of B e d B at h    & B e y o n d’s B usi n ess

            Tr a nsf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e fr o m at l e ast J ul y 2 0 1 9 t o J u n e 2 0 2 0. B e d B at h &

            B e y o n d p ai d d ef e n d a nt Fl e mi n g t h e f oll o wi n g c o m p e ns ati o n as a dir e ct or:

                                                        F e es E a r n e d o r
                                        Ye ar             P ai d i n C as h                St o c k A w a r ds       T ot al
                                        2019                  $ 9 3, 4 7 9                      $ 8 1, 0 0 0      $ 1 7 4, 4 7 9

                       2 3.      D ef e n d a nt S u e E. G o v e ( “ G o v e ”) is a B e d B at h & B e y o n d dir e ct or a n d h as b e e n si n c e

            M a y 2 0 1 9. D ef e n d a nt G o v e is a m e m b er of B e d B at h & B e y o n d’s A u dit C o m mitt e e a n d h as b e e n

            si n c e at l e ast A u g ust 2 0 2 0. B e d B at h & B e y o n d p ai d d ef e n d a nt G o v e t h e f oll o wi n g c o m p e ns ati o n as

            a dir e ct or:

                                                        F e es E a r n e d o r
                                        Ye ar             P ai d i n C as h                St o c k A w a r ds       T ot al

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                                         2019                  $ 7 8, 2 9 4                       $ 8 1, 0 0 0          $ 1 5 9, 2 9 4

                       2 4.       D ef e n d a nt Kir w a n is a B e d B at h & B e y o n d dir e ct or a n d h as b e e n si n c e M a y 2 0 1 9.

            D ef e n d a nt Kir w a n w as a m e m b er of B e d B at h & B e y o n d’s B usi n ess Tr a nsf or m ati o n a n d Str at e g y

            R e vi e w C o m mitt e e fr o m at l e ast J ul y 2 0 1 9 t o J u n e 2 0 2 0.               B e d B at h & B e y o n d p ai d d ef e n d a nt

            Kir w a n t h e f oll o wi n g c o m p e ns ati o n as a dir e ct or:

                                                         F e es E a r n e d o r
                                         Ye ar             P ai d i n C as h              St o c k A w a r ds              T ot al
                                         2019                  $ 7 6, 0 9 9                    $ 8 1, 0 0 0             $ 1 5 7, 0 9 9

                       2 5.       D ef e n d a nt J os h u a E. S c h e c ht er ( “ S c h e c ht er ”) is a B e d B at h & B e y o n d dir e ct or a n d

            h as b e e n si n c e M a y 2 0 1 9. D ef e n d a nt S c h e c ht er is C h air of B e d B at h & B e y o n d’s A u dit C o m mitt e e

            a n d h as b e e n si n c e at l e ast J u n e 2 0 2 0, a n d a m e m b er of t h at c o m mitt e e a n d h as b e e n si n c e J ul y 2 0 1 9.

            B e d B at h & B e y o n d p ai d d ef e n d a nt S c h e c ht er t h e f oll o wi n g c o m p e ns ati o n as a dir e ct or:

                                                         F e es E a r n e d o r
                                         Ye ar             P ai d i n C as h              St o c k A w a r ds              T ot al
                                         2019                  $ 7 6, 0 9 9                    $ 8 1, 0 0 0             $ 1 5 7, 0 9 9

                       2 6.       D ef e n d a nt Wi nst o n is a B e d B at h & B e y o n d dir e ct or a n d h as b e e n si n c e M a y 2 0 1 9.

            D ef e n d a nt Wi nst o n w as als o B e d B at h & B e y o n d’s I nt eri m C E O fr o m M a y 2 0 1 9 t o N o v e m b er

            2 0 1 9. D ef e n d a nt Wi nst o n w as a m e m b er of B e d B at h & B e y o n d’s B usi n ess Tr a nsf or m ati o n a n d

            Str at e g y R e vi e w C o m mitt e e fr o m at l e ast N o v e m b er 2 0 1 9 t o J u n e 2 0 2 0.                D ef e n d a nt Wi nst o n is

            n a m e d as a d ef e n d a nt i n s e c uriti es cl ass a cti o n c o m pl ai nts t h at all e g e s h e vi ol at e d s e cti o ns 1 0( b) a n d

            2 0( a) of t h e E x c h a n g e A ct.           B e d B at h      & B e y o n d p ai d d ef e n d a nt            Wi nst o n t h e f oll o wi n g

            c o m p e ns ati o n as a n e x e c uti v e a n d a dir e ct or:


                                                                                  St o c k                 All Ot h e r
                              Ye ar                  S al a r y                 A w a r ds              C o m p e ns ati o n         T ot al
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                       2 7.          D ef e n d a nt R o b y n M. D’ Eli a ( “ D’ Eli a ”) w as B e d B at h & B e y o n d’s C hi ef Fi n a n ci al

            Offi c er a n d Tr e as ur er fr o m J u n e 2 0 1 8 t o A pril 2 0 2 0. D ef e n d a nt D’ Eli a w as als o Vi c e Pr esi d e nt,

            Fi n a n c e fr o m 2 0 1 5 t o 2 0 1 8; Vi c e Pr esi d e nt, C o ntr oll er fr o m 2 0 0 6 t o 2 0 1 5; Vi c e Pr esi d e nt, Fi n a n ci al

            Pl a n ni n g a n d C o ntr ol i n 2 0 0 6; Assist a nt C o ntr oll er fr o m 2 0 0 0 t o 2 0 0 6; a n d h el d v ari o us r ol es of

            i n cr e asi n g r es p o nsi bilit y si n c e 1 9 9 6. D ef e n d a nt D’ Eli a is n a m e d as a d ef e n d a nt i n r el at e d s e c uriti es

            cl ass a cti o n c o m pl ai nts t h at all e g e s h e vi ol at e d s e cti o ns 1 0( b) a n d 2 0( a) of t h e E x c h a n g e A ct. B e d

            B at h & B e y o n d p ai d d ef e n d a nt D’ Eli a t h e f oll o wi n g c o m p e ns ati o n as a n e x e c uti v e:


                                                                                 St o c k              All Ot h e r
                                  Ye ar               S al a r y               A w a r ds           C o m p e ns ati o n          T ot al
                                  2019              $ 7 5 0, 0 0 0           $ 1, 5 5 9, 4 6 9           $ 2 4, 9 3 7         $ 2, 3 3 4, 4 0 6

                       2 8.          T h e d ef e n d a nts i d e ntifi e d i n ¶ ¶ 1 3, 2 6 -2 7 ar e r ef err e d t o h er ei n as t h e “ Offi c er

            D ef e n d a nts. ”      T h e d ef e n d a nts i d e ntifi e d i n ¶ ¶ 1 4 -2 6 ar e r ef err e d t o h er ei n as t h e “ Dir e ct or

            D ef e n d a nts. ” T h e d ef e n d a nts i d e ntifi e d i n ¶ ¶ 1 5 -1 6, 1 8, 2 0, 2 5 ar e r ef err e d t o h er ei n as t h e “ A u dit

            C o m mitt e e D ef e n d a nts. ” C oll e cti v el y, t h e d ef e n d a nts i d e ntifi e d i n ¶ ¶ 1 3 -2 7 ar e r ef err e d t o h er ei n as

            t h e “I n di vi d u al D ef e n d a nts. ”

                                               D U TI E S O F T H E I N DI VI D U A L D E F E N D A N T S

            Fi d u ci a r y D uti es

                       2 9.          B y r e as o n of t h eir p ositi o ns as offi c ers a n d dir e ct ors of t h e C o m p a n y, e a c h of t h e

            I n di vi d u al D ef e n d a nts o w e d a n d o w e B e d B at h & B e y o n d a n d its st o c k h ol d ers fi d u ci ar y o bli g ati o ns

            of c ar e a n d l o y alt y. T h e y w er e a n d ar e r e q uir e d t o us e t h eir ut m ost a bilit y t o c o ntr ol a n d m a n a g e

            B e d B at h & B e y o n d i n a f air, j ust, h o n est, a n d e q uit a bl e m a n n er. T h e I n di vi d u al D ef e n d a nts w er e

            a n d ar e r e q uir e d t o a ct i n f urt h er a n c e of t h e b est i nt er ests of B e d B at h & B e y o n d a n d n ot i n

            f urt h er a n c e of t h eir p ers o n al i nt er est or b e n efit.




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                       3 0.        T o dis c h ar g e t h eir d uti es, t h e offi c ers a n d dir e ct ors of B e d B at h & B e y o n d w er e

            r e q uir e d t o e x er cis e r e as o n a bl e a n d pr u d e nt s u p er visi o n o v er t h e m a n a g e m e nt, p oli ci es, pr a cti c es,

            a n d c o ntr ols of t h e fi n a n ci al aff airs of t h e C o m p a n y.            B y virt u e of s u c h d uti es, t h e offi c ers a n d

            dir e ct ors of B e d B at h & B e y o n d w er e r e q uir e d t o, a m o n g ot h er t hi n gs:

                                   ( a)       c o n d u ct t h e aff airs of t h e C o m p a n y i n a n effi ci e nt, b usi n ess -li k e m a n n er i n

            c o m pli a n c e wit h all a p pli c a bl e l a ws, r ul es, a n d r e g ul ati o ns s o as t o m a k e it p ossi bl e t o pr o vi d e t h e

            hi g h est q u alit y p erf or m a n c e of its b usi n ess, t o a v oi d w asti n g t h e C o m p a n y’s ass ets, a n d t o m a xi mi z e

            t h e v al u e of t h e C o m pa n y’s st o c k; a n d

                                   ( b)       r e m ai n i nf or m e d as t o h o w B e d B at h & B e y o n d c o n d u ct e d its o p er ati o ns, a n d,

            u p o n r e c ei pt of n oti c e or i nf or m ati o n of i m pr u d e nt or u ns o u n d c o n diti o ns or pr a cti c es, m a k e

            r e as o n a bl e i n q uir y i n c o n n e cti o n t h er e wit h, a n d t a k e st e ps t o c orr e ct s uc h c o n diti o ns or pr a cti c es a n d

            m a k e s u c h dis cl os ur es as n e c ess ar y t o c o m pl y wit h a p pli c a bl e l a ws.

            B r e a c h es of D uti es

                       3 1.        T h e c o n d u ct of t h e I n di vi d u al D ef e n d a nts c o m pl ai n e d of h er ei n i n v ol v es a k n o wi n g

            a n d c ul p a bl e vi ol ati o n of t h eir o bli g ati o ns as offi c ers a n d dir e ct ors of B e d B at h & B e y o n d. T h e

            a bs e n c e of g o o d f ait h o n t h eir p art, a n d a r e c kl ess disr e g ar d f or t h eir d uti es t o t h e C o m p a n y t h at t h e

            I n di vi d u al D ef e n d a nts w er e a w ar e or r e c kl ess i n n ot b ei n g a w ar e p os e d a ris k of s eri o us i nj ur y t o t h e

            C o m p a n y.

                       3 2.        T h e I n di vi d u al D ef e n d a nts br e a c h e d t h eir d ut y of l o y alt y b y all o wi n g d ef e n d a nts t o

            c a us e, or b y t h e ms el v es c a usi n g, t h e C o m p a n y t o e n g a g e i n i m pr o p er pr a cti c es t h at c a us e d B e d B at h

            & B e y o n d t o i n c ur s u bst a nti al d a m a g e.

                       3 3.        T h e I n di vi d u al D ef e n d a nts, b e c a us e of t h eir p ositi o ns of c o ntr ol a n d a ut h orit y as

            offi c ers a n d/ or dir e ct ors of B e d B at h & B e y o n d, w er e a bl e t o a n d di d, dir e ctl y or i n dir e ctl y, e x er cis e

            c o ntr ol o v er t h e wr o n gf ul a cts c o m pl ai n e d of h er ei n. T h e I n di vi d u al D ef e n d a nts als o f ail e d t o
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            pr e v e nt t h e ot h er I n di vi d u al D ef e n d a nts fr o m t a ki n g s u c h i m pr o p er a cti o ns.       As a r es ult, a n d i n

            a d diti o n t o t h e d a m a g e t h e C o m p a n y h as alr e a d y i n c urr e d, B e d B at h & B e y o n d h as e x p e n d e d, a n d

            will c o nti n u e t o e x p e n d, si g nifi c a nt s u ms of m o n e y.

            A d diti o n al D uti es of t h e A u dit C o m mitt e e D ef e n d a nts

                       3 4.        I n a d diti o n t o t h es e d uti es, t h e A u dit C o m mitt e e D ef e n d a nts - d ef e n d a nts E d el m a n,

            Os b or n e, R u est er h ol z, S c h e c ht er, a n d W eiss - o w e d s p e cifi c d uti es t o B e d B at h & B e y o n d t o assist

            t h e B o ar d i n o v ers e ei n g “t h e [ C o m p a n y’s] a c c o u nti n g a n d fi n a n ci al r e p orti n g pr o c ess es. ” T h e A u dit

            C o m mitt e e’s C h art er s p e cifi c all y pr o vi d es t h at t h e A u dit C o m mitt e e “ will als o a d vis e a n d assist ” t h e

            B o ar d r e g ar di n g:

                       •           t h e i nt e grit y of t h e C or p or ati o n’s q u art erl y a n d a n n u al fi n a n ci al st at e m e nts a n d
                                   fi n a n ci al r e p orti n g pr o c ess es;

                       •           t h e C or p or ati o n’s e ar ni n gs a n n o u n c e m e nts, as w ell as fi n a n ci al i nf or m ati o n a n d
                                   e ar ni n gs g ui d a n c e pr o vi d e d t o a n al ysts a n d r ati n gs a g e n ci es;

                       •           a u dits of t h e C or p or ati o n’s fi n a n ci al st at e m e nts;

                       •           t h e c o m p a n y’s i nt er n al c o ntr ol s yst e m a n d t h e q u alit y of i nt er n al c o ntr ol b y
                                   m a n a g e m e nt;

                       •           m a n a g e m e nt’s pr a cti c es t o e ns ur e a d e q u at e ris k           m a n a g e m e nt a n d b usi n ess
                                   c o nti n uit y; [ a n d]

                       •           c o m pli a n c e wit h l e g al a n d r e g ul at or y r e q uir e m e nts a n d t h e C or p or ati o n’s et hi c al
                                   c o n d u ct p oli c y[.]

                       3 5.        T h e A u dit C o m mitt e e C h art er als o lists as “r es p o nsi biliti es a n d d uti es ” of t h e

            m e m b ers of t h e A u dit C o m mitt e e as:

                       1. T h e C o m mitt e e s h all o v ers e e t h e C or p or ati o n’s a c c o u nti n g a n d fi n a n ci al r e p orti n g
                       pr o c ess es a n d t h e a u dits of t h e C or p or ati o n’s fi n a n ci al st at e m e nts.


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                       5. R e vi e w wit h m a n a g e m e nt a n d t h e o utsi d e a u dit or si g nifi c a nt fi n a n ci al r e p orti n g
                       iss u es a n d j u d g m e nts m a d e i n c o n n e cti o n wit h t h e pr e p ar ati o n of t h e C or p or ati o n’s
                       fi n a n ci al st at e m e nts, i n cl u di n g a n al ys es of criti c al a c c o u nti n g p oli ci es a n d a n al ys es
                       of t h e eff e cts of alt er n ati v e G A A P [ g e n er all y a c c e pt e d a c c o u nti n g pri n ci pl es]
                       m et h o ds o n t h e fi n a n ci al st at e m e nts.


                                                                         *          *          *

                       1 0. T h e C o m mitt e e s h all r e vi e w wit h m a n a g e m e nt t h e C or p or ati o n’s fi n a n ci al
                       r e p orti n g pr o c ess es, i nt er n al c o ntr ol o v er fi n a n ci al r e p orti n g a n d dis clos ur e c o ntr ols
                       a n d pr o c e d ur es, t h e o utsi d e a u dit ors’ r e p ort o n t h e eff e cti v e n ess of t h e C or p or ati o n’s
                       i nt er n al c o ntr ol o v er fi n a n ci al r e p orti n g a n d t h e r e q uir e d m a n a g e m e nt c ertifi c ati o ns
                       t o b e i n cl u d e d i n or att a c h e d as e x hi bits t o t h e C o m p a n y’s a n n u al r e port o n F or m 1 0 -
                       K or q u art erl y r e p ort o n F or m 1 0- Q, as a p pli c a bl e.

                                                              F A CT U AL B A C K G R O U N D

                       3 6.       B e d B at h & B e y o n d o p er at es a c h ai n of r et ail st or es t h at s ell a r a n g e of d o m esti c

            m er c h a n dis e. I n 2 0 1 9, h o w e v er, t h e C o m p a n y w as p arti c ul arl y h urt b y t h e m o v e of m a n y s h o p p ers

            t o o nli n e p ur c h as es. B e d B at h & B e y o n d f ar e d w ors e t h a n ot h er l ar g e r et ail ers, s u c h as T ar g et.

                       3 7.       O n M a y 1 3, 2 0 1 9, B e d B at h & B e y o n d C E O T e m ar es st e p p e d d o w n fr o m his

            p ositi o n. T e m ar es h a d b e e n wit h t h e C o m p a n y f or n e arl y t hr e e d e c a d es a n d h a d s er v e d as C E O

            si n c e 2 0 0 3.

                       3 8.       T e m ar es’ r eli n q uis h m e nt of t h e C E O p ositi o n w as t h e c ul mi n ati o n of a n a cti vist

            i n v est or fi g ht t h at r es ult e d i n t h e pl a c e m e nt of fi v e n e w B o ar d m e m b ers, i n cl u di n g d ef e n d a nt

            Wi nst o n.    T h e a cti vist i n v est ors, L e gi o n P art n ers Ass et M a n a g e m e nt, M a c ell u m A d vis ors, a n d

            A n c or a A d vis ors, h a d b e e n a d v o c ati n g t o r e pl a c e T e m ar es a n d t h e r est of t h e B o ar d. I n f a ct, j ust a

            f e w w e e ks e arli er, t h e C o m p a n y a n n o u n c e d t h at fi v e n e w dir e ct ors w er e j oi ni n g t h e B o ar d a n d t h e

            B o ar d w as f or mi n g a “ B usi n ess Tr a n sf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e. ”                     T his n e w

            c o m mitt e e w as t as k e d wit h r e vi e wi n g “ all as p e cts of t h e C o m p a n y’s b usi n ess tr a nsf or m ati o n,

            str at e g y a n d str u ct ur e. ”



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                       3 9.       W h e n T e m ar es st e p p e d d o w n, d ef e n d a nt Wi nst o n, o n e of t h e dir e ct ors a p p oi nt e d i n

            t h e w a ke of t h e a cti vist i n v est or fi g ht, t o o k o v er as i nt eri m C E O of t h e C o m p a n y.                  D ef e n d a nt

            Wi nst o n t ol d t h e i n v esti n g p u bli c t h at t h e C o m p a n y w as u n d er g oi n g a “ b usi n ess tr a nsf or m ati o n ”

            “ wit h t h e s u p p ort a n d g ui d a n c e of t h e B usi n ess Tr a nsf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e of

            t h e B o ar d a n d a hi g hl y e n g a g e d l e a d ers hi p t e a m. ”

                       4 0.       D ef e n d a nt Wi nst o n l ai d o ut t h e f oll o wi n g f o ur “ pri oriti es ” t o t ur n ar o u n d B e d B at h &

            B e y o n d: ( 1) st a bili zi n g t h e C o m p a n y’s t o p li n e a n d o pti mi zi n g s al es o p p ort u niti es; ( 2) “r es et ” t h e

            C o m p a n y’s c ost str u ct ur e; ( 3) “r e vi e w a n d o pti mi z e ” t h e C o m p a n y’s ass et b as e; a n d ( 4) r e vi e w t h e

            C o m p a n y’s or g a ni z ati o n str u ct ur e.

                                                              I MP R OP E R S T A T E M E N TS

                       4 1.       T h e r el e v a nt p eri o d b e gi ns s o o n aft er d ef e n d a nt Wi nst o n a n d t h e ot h er m e m b ers of

            t h e B o ar d b e g a n i m pl e m e nti n g t h eir b usi n ess t ur n ar o u n d pl a n, w hi c h i n cl u d e d “i n v e nt or y

            o pti mi z ati o n ” as a k e y c o m p o n e nt. T h us, t h e I n di vi d u al D ef e n d a nts w er e cl os el y w at c hi n g t h e

            C o m p a n y’s i n v e nt or y l e v els a n d r el at e d s al es.

                       4 2.       O n O ct o b er 2, 2 0 1 9, t h e C o m p a n y iss u e d a pr ess r el e as e a n n o u n ci n g its fi n a n ci al

            r es ults f or t h e s e c o n d q u art er e n d e d A u g ust 3 1, 2 0 1 9. T h e a n n o u n c e m e nt i n cl u d e d a n u p d at e o n B e d

            B at h & B e y o n d’s fis c al y e ar a n d its k e y i niti ati v es. I n p arti c ul ar, t h e pr ess r el e as e cl ai m e d t h at t h e

            C o m p a n y w as “ m a ki n g g o o d pr o gr ess ” o n t h e i niti ati v es a n d t h e “ Fis c al 2 0 1 9 O utl o o k C o nti n u es t o

            b e I n -Li n e wit h M ost R e c e nt G ui d a n c e. ” I n p arti c ul ar, t h e pr ess r el e as e st at e d:

                       M ar y A. Wi nst o n, I nt eri m C E O, st at e d, “ W e ar e m a ki n g g o o d pr o gr ess a g ai nst o ur
                       f o ur k e y n e ar-t er m pri oriti es, i n cl u di n g: ( 1) st a bili zi n g s al es a n d dri vi n g t o p-li n e
                       gr o wt h; ( 2) r es etti n g t h e c ost str u ct ur e; ( 3) r e vi e wi n g a n d o pti mi zi n g t h e C o m p a n y’s
                       ass et b as e, i n cl u di n g t h e p ortf oli o of r et ail b a n n ers; a n d ( 4) r efi ni n g o ur or g a ni z ati o n
                       str u ct ur e. O ur s e c o n d q u ar t er fi n a n ci al r es ults r efl e ct t h e r el e ntl ess eff ort of o ur
                       t e a ms a n d o ur pr o gr ess i n dri vi n g t h e C o m p a n y’s tr a nsf or m ati o n eff orts t o d eli g ht
                       o ur c ust o m ers, e n h a n c e o ur c o m p etiti v e p ositi o n, i m pr o v e o ur fi n a n ci al p erf or m a n c e,
                       a n d dri v e s h ar e h ol d er v al u e. ”

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                      F is c al 2 0 1 9 S e c o n d Q u a rt e r R es ults

                      F or t h e fis c al 2 0 1 9 s e c o n d q u art er, t h e C o m p a n y r e p ort e d a n et l oss of $( 1. 1 2) p er
                      dil ut e d s h ar e ( $( 1 3 8. 8) milli o n), w hi c h i n cl u d e d a n u nf a v or a bl e i m p a ct of
                      a p pr o xi m at el y $ 1. 4 6 p er dil ut e d s h ar e fr o m c h ar g es r el at e d t o t h e first w a v e of
                      tr a nsf or m ati o n i niti ati v es i n cl u di n g, s e v er a n c e c osts ass o ci at e d wit h t h e c or p or at e
                      w or kf or c e r e d u cti o n a n d d e cisi o n t o o uts o ur c e c ert ai n f u n cti o ns, a n d a n i n v e nt or y
                      writ e d o w n. I n a d diti o n, n o n -c as h st or e i m p air m e nt c h ar g es w er e i n c urr e d d u ri n g t h e
                      q u art er. T his c o m p ar es t o n et e ar ni n gs of $ 0. 3 6 p er dil ut e d s h ar e ( $ 4 8. 6 milli o n) f or
                      t h e fis c al 2 0 1 8 s e c o n d q u art er. E x cl u di n g t h e s e v er a n c e c osts, i n v e nt or y writ e d o w n,
                      a n d st or e i m p air m e nt c h ar g es, t h e C o m p a n y r e p ort e d a dj ust e d n et e ar ni n gs of $ 0. 3 4
                      p er dil ut e d s h ar e ( $ 4 1. 9 milli o n) f or t h e fis c al 2 0 1 9 s e c o n d q u art er, c o m p ar e d t o
                      a dj ust e d n et e ar ni n gs of $ 0. 3 8 p er dil ut e d s h ar e ( $ 5 2. 0 milli o n) f or t h e fis c al 2 0 1 8
                      s e c o n d q u art er, e x cl u di n g s e v er a n c e c osts. N et s al es f or t h e fis c al 2 0 1 9 s e c o n d
                      q u a rt er w er e a p pr o xi m at el y $ 2. 7 billi o n, a d e cr e as e of a p pr o xi m at el y 7. 3 % c o m p ar e d
                      t o t h e pri or y e ar p eri o d. C o m p ar a bl e s al es i n t h e fis c al 2 0 1 9 s e c o n d q u art er d e cli n e d
                      a p pr o xi m at el y 6. 7 %.


                                                                         *           *          *

                      Fis c al 2 0 1 9 U p d at e d Fi n a n ci al O utl o o k

                      Fis c al 2 0 1 9 f ull -y e ar r es ults c o nti n u e t o b e i n li n e wit h t h e C o m p a n y’s m ost r e c e nt
                      g ui d a n c e a n d ass u m es c urr e nt i n v est m e nt pl a ns t o dri v e t o p -li n e p erf or m a n c e i n t h e
                      b a c k h alf, as w ell as its c o m p s al es tr e n ds y e ar t o d at e, a n d e x cl u d es g o o d will a n d
                      ot h er i m p air m e nts, s e v er a n c e c osts, s h ar e h ol d er a cti vit y c osts, t h e i n v e nt or y writ e
                      d o w n, a n d a n y i n cr e m e nt al i m p a ct fr o m t ariffs. Fis c al 2 0 1 9 f ull -y e ar n et s al es ar e
                      esti m at e d t o b e ar o u n d $ 1 1. 4 billi o n a n d n et e ar ni n gs p er dil ut e d s h ar e ar e esti m at e d
                      t o b e b et w e e n $ 2. 0 8 a n d $ 2. 1 3.

                      4 3.       T h at s a m e d a y t h e C o m p a n y h el d a n e ar ni n gs c o nf er e n c e c all wit h a n al ysts a n d

            i n v est ors. D uri n g t h e c all, d ef e n d a nt Wi nst o n st at e d t h at B e d B at h & B e y o n d w as a d di n g m ar k eti n g

            a n d pr o m oti o n al s u p p ort i n or d er t o dri v e h oli d a y s al es f or t h e s e c o n d h alf of t h e y e ar. R e g ar di n g

            t h e i n v e nt or y writ e d o w n t h e C o m p a n y t o o k, d ef e n d a nt Wi nst o n st at e d:

                      O ur t hir d n e ar -t er m pri orit y is t o r e vi e w a n d o pti mi z e o ur ass et b as e. As w e
                      m e nti o n e d i n t h e r e c e nt s h ar e h ol d er l ett er, w e h a v e pl a ns t o a g gr essi v el y r e d u c e u p t o
                      $ 1 billi o n of i n v e nt or y at r et ail o v er t h e n e xt 1 8 m o nt hs. As a r es ult of t his d e cisi o n,
                      w e t o o k a $ 1 9 4 milli o n i n v e nt or y writ e d o w n i n t h e s e c o n d q u art er. W e b eli e v e t his
                      a g gr essi v e dis p ositi o n of i n v e nt or y will e n a bl e us t o m or e q ui c kl y r es et i n v e nt or y
                      l e v els in b ot h o ur B e d B at h & B e y o n d st or es a n d distri b uti o n c e nt ers t o all o w f or a
                      f ast er r efr es h of o ur ass ort m e nt, as w ell as t o e n a bl e us t o r ef o c us st or e l a b or a cti vit y
                      t o b ett er s u p p ort o ur c ust o m ers a n d dri v e s al es. I n t h e s h ort t er m, m or e t h a n

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                       a p pr o xi m at el y $ 3 5 0 milli o n of i n v e nt or y at r et ail will b e r e m o v e d fr o m o ur st or es
                       b ef or e t h e 2 0 1 9 h oli d a y s e as o n. T his will b e a c c o m plis h e d t hr o u g h a s eri es of
                       m ar k d o w ns a n d cl e ar a n c e e v e nts, as w ell as wit h t h e assist a n c e of a n i n d e p e n d e nt
                       li q ui d at or, all t o b e m a n a g e d t h o u g htf ull y t o pr e v e nt c a n ni b ali z ati o n of s al es.

                       4 4.       O n O ct o b er 9, 2 0 1 9, t h e C o m p a n y fil e d wit h t h e S E C its Q u art erl y R e p ort o n

            F or m 1 0-Q f or t h e q u art er e n d e d A u g ust 3 1, 2 0 1 9.             T h e F or m 1 0 -Q c o nfir m e d t h e pr e vi o usl y

            r e p ort e d fi n a n ci al r es ults. I n p arti c ul ar, c o n c er ni n g t h e C o m p a n y’s i n v e nt or y, t h e F or m 1 0-Q st at e d:

                       R et ail i n v e nt or y, w hi c h i n cl u d es i n v e nt or y i n t h e C o m p a n y’s distri b uti o n f a ciliti es
                       f or dir e ct t o c ust o m er s hi p m e nts, w as a p pr o xi m at el y $ 2. 3 billi o n at A u g ust 3 1, 2 0 1 9,
                       a d e cr e as e of 1 7. 8 % c o m p ar e d t o r et ail i n v e nt or y at S e pt e m b er 1, 2 0 1 8. T h e
                       C o m p a n y c o nti n u es t o f o c us o n its i n v e nt or y o pti mi z ati o n str at e gi es.

                                                                T H E T R U T H E M E R G ES

                       4 5.       T h e tr ut h b e hi n d t h e C o m p a n y’s b usi n ess pr os p e cts a n d I n di vi d u al D ef e n d a nts’

            wr o n g d oi n g b e g a n t o e m er g e o n J a n u ar y 8, 2 0 2 0, w h e n B e d B at h & B e y o n d iss u e d a pr ess r el e as e

            a n n o u n ci n g it w as wit h dr a wi n g its fis c al 2 0 1 9 g ui d a n c e, as s h ar es f ell s h ort of e x p e ct ati o ns a n d t h e

            C o m p a n y pl a n n e d t o a n n o u n c e y et a n ot h er “str at e gi c visi o n. ” T h e C o m p a n y st at e d:

                       B E D B A T H & B E Y O N D I N C. R E P O R T S R E S U L T S F O R FI S C A L 2 0 1 9
                       T HI R D Q U A R T E R

                       R e p ort e d T hir d Q u art er N et L oss P er Dil ut e d S h ar e of $( 0. 3 1); A dj ust e d N et L oss
                                                           P er Dil ut e d S h ar e of $( 0. 3 8)

                         S al es F ell S h ort of Pl a n D es pit e R el ati v e Str e n gt h D uri n g a K e y 5- D a y H oli d a y
                                                                   S h o p pi n g P eri o d

                        C o m p a n y Pl a ns t o R e v e al N e w Str at e gi c Visi o n i n E arl y 2 0 2 0; Wit h dr a ws Fis c al
                                                               2 0 1 9 Fi n a n ci al G ui d a n c e

                       U NI O N, N.J., J a n. 8, 2 0 2 0 / P R N e ws wir e/ --- B e d B at h & B e y o n d I n c. ( N as d a q:
                       B B B Y) t o d a y r e p ort e d fi n a n ci al r es ults f or t h e t hir d q u art er of fis c al 2 0 1 9 e n d e d
                       N o v e m b er 3 0, 2 0 1 9.

                       “I a m d eli g ht e d t o h a v e t h e o p p ort u nit y t o l e a d t his i c o ni c c o m p a n y, ” st at e d M ar k J.
                       Tritt o n, B e d B at h & B e y o n d’s Pr esi d e nt a n d C E O. “ O ur p erf or m a n c e i n t h e t hir d
                       q u art er w as u ns atisf a ct or y a n d u n d ers c or es t h e i m p er ati v e f or c h a n g e a n d str e n gt h e ns
                       o ur s e ns e of pri oriti es a n d p ur p os e. W e m ust r es p o n d t o t h e c h all e n g es w e f a c e as a
                       b usi n ess, i n cl u di n g pr ess ur e d s al es a n d pr ofit a bilit y, a n d r e c o nstr u ct a m o d er n,
                       d ur a bl e m o d el f or l o n g -t er m pr ofit a bl e gr o wt h. F ort u n at el y, t h e f o u n d ati o n of t h e
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                      C o m p a n y’s tr a nsf or m ati o n is w ell u n d er w a y, d u e i n l ar g e p art t o t h e dir e cti o n a n d
                      s u p p ort of t h e B o ar d. W e will b e fi n ali zi n g t h e d et ails of o ur str at e gi c pl a n o v er t h e
                      n e xt f e w m o nt hs a n d a p pr e ci at e y o ur p ati e n c e as w e e m b ar k a n d p urs u e t his j o ur n e y
                      t o p ositi o n B e d B at h & B e y o n d t o d eli v er l o n g-t er m, s ust ai n a bl e gr o wt h. ”

                      Fis c al 2 0 1 9 T hi r d Q u a rt e r R es ults

                      F or t h e fis c al 2 0 1 9 t hir d q u art er, t h e C o m p a n y r e p ort e d a n et l oss of $( 0. 3 1) p er
                      dil ut e d s h ar e ( $( 3 8. 6) milli o n), w hi c h i n cl u d e d a n et b e n efit of $ 0. 0 7 fr o m t h e
                      f a v or a bl e i m p a ct fr o m a n a dj ust m e nt t o t h e i n cr e m e nt al i n v e nt or y r es er v e f or f ut ur e
                      m ar k d o w ns ass o ci at e d wit h its i n v e nt or y i niti ati v e, t h at w as p arti all y offs et b y a n o n -
                      c as h c h ar g e f or t h e i m p air m e nt of c ert ai n st or e -l e v el ass ets. T his c o m p ar es t o n et
                      e ar ni n gs of $ 0. 1 8 p er dil ut e d s h ar e ( $ 2 4. 4 milli o n) f or t h e fis c al 2 0 1 8 t hir d q u art er,
                      w hi c h i n cl u d e d t h e f a v or a bl e i m p a ct of $ 0. 1 6 p er dil ut e d s h ar e fr o m t h e g ai n o n t h e
                      s al e of a b uil di n g. E x cl u di n g t h es e n et f a v or a bl e i m p a cts i n b ot h p eri o ds, t h e
                      C o m p a n y r e p ort e d a n a dj ust e d n et l oss of $( 0. 3 8) p er dil ut e d s h ar e ( $( 4 6. 9) milli o n)
                      f or t h e fis c al 2 0 1 9 t hir d q u art er, c o m p ar e d t o a dj ust e d n et e ar ni n gs of $ 0. 0 2 p er
                      dil ut e d s h ar e ( $ 2. 7 milli o n) f or t h e fis c al 2 0 1 8 t hir d q u art er. N et s al es f or t h e fis c al
                      2 0 1 9 t hir d q u art er w er e $ 2. 8 billi o n, a d e cr e as e of 9. 0 % c o m p ar e d t o t h e pri or y e ar
                      p eri o d. C o m p ar a bl e s al es i n t h e fis c al 2 0 1 9 t hir d q u art er d e cli n e d 8. 3 %.

                                                                        *          *          *

                      O utl o o k

                      T h e C o m p a n y e x p e cts its s al es a n d pr ofit a bilit y t o r e m ai n pr ess ur e d d uri n g t h e fis c al
                      2 0 1 9 f o urt h q u art er. C o nsi d eri n g t h es e h e a d wi n ds r efl e ct e d i n t h e C o m p a n y’s r es ults
                      t o d at e, a n d t h e o n g oi n g w or k b y r e c e ntl y a p p oi nt e d Pr esi d e nt & C E O M ar k Tritt o n
                      t o ass ess t h e b usi n ess a n d fi n ali z e t h e d et ails of t h e C o m p a n y’s g o-f or w ar d str at e gi c
                      pl a n as w ell as t h e e xt e nsi v e s e ni or l e a d ers hi p c h a n g es wit hi n t h e p ast m o nt h, t h e
                      C o m p a n y b eli e v es it is a p pr o pri at e t o wit h dr a w its fis c al 2 0 1 9 f ull y e ar fi n a n ci al
                      g ui d a n c e.

                      4 6.       O n t his n e ws, t h e C o m p a n y’s m ar k et c a pit ali z ati o n f ell o v er $ 4 0 0 milli o n, or 1 9 %,

            fr o m $ 2. 1 billi o n t o $ 1. 7 billi o n.

                      4 7.       T h e n e xt d a y, t h e C o m p a n y fil e d wit h t h e S E C its Q u art erl y R e p ort o n F or m 1 0 -Q f or

            t h e q u art er e n di n g N o v e m b er 3 0, 2 0 1 9. C o n c er ni n g i n v e nt or y l e v els, t h e F or m 1 0-Q st at e d:

                      R et ail i n v e nt or y, w hi c h i n cl u d es i n v e nt or y i n t h e C o m p a n y’s distri b uti o n f a ciliti es
                      f or dir e ct t o c ust o m er s hi p m e nts, w as a p pr o xi m at el y $ 2. 5 billi o n at N o v e m b er 3 0,
                      2 0 1 9, a d e cr e as e of 1 5. 6 % c o m p ar e d t o r et ail i n v e nt or y at D e c e m b er 1, 2 0 1 8. T h e
                      C o m p a n y c o nti n u es t o f o c us o n its i n v e nt or y o pti mi z ati o n str a t e gi es.



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                       4 8.       O n F e br u ar y 1 1, 2 0 2 0, B e d B at h & B e y o n d iss u e d a pr ess r el e as e r e p orti n g its

            pr eli mi n ar y fi n a n ci al p erf or m a n c e f or t h e first t w o m o nt hs of t h e fis c al 2 0 1 9 q u art er. T h e C o m p a n y

            dis cl os e d t h at it e x p eri e n c e d a m at eri al d e cli n e i n c o m p ar a bl e s al es t h at w as dri v e n b y, a m o n g ot h er

            pr o bl e ms, “i n v e nt or y m a n a g e m e nt iss u es. ” T h e pr ess r el e as e f urt h er e x pl ai n e d t h at “i n v e nt or y

            wit hi n c ert ai n k e y c at e g ori es i n t h e B e d B at h & B e y o n d ass ort m e nt w as t o o l o w or o ut - of-st o c k

            d uri n g t h e p eri o d. T h e C o m p a n y is i m m e di at el y r ef or mi n g its i nt er n al pl a n ni n g a n d i n v e nt or y

            m a n a g e m e nt pr o c e d ur es t o m ast er t h e f u n d a m e nt als. ” S p e cifi c all y, t h e pr ess r el e as e st at e d:

                              B E D B A T H & B E Y O N D I N C. P R O VI D E S U P D A T E O N F O U R T H
                                           Q U A R T E R FI N A N CI A L P E R F O R M A N C E

                       U NI O N, N.J., F e b. 1 1, 2 0 2 0 / P R N e ws wir e/ -- B e d B at h & B e y o n d I n c. ( N as d a q:
                       B B B Y) t o d a y r e p ort e d pr eli mi n ar y, u n a u dit e d fi n a n ci al p erf or m a n c e d at a f or t h e first
                       t w o m o nt hs of t h e fis c al 2 0 1 9 f o urt h q u art er ( D e c e m b er 2 0 1 9 a n d J a n u ar y 2 0 2 0),
                       i n cl u di n g a 5. 4 % d e cli n e i n c o m p ar a bl e s al es driv e n pri m aril y b y st or e tr affi c
                       d e cli n es c o m bi n e d wit h i n v e nt or y m a n a g e m e nt iss u es, a n d i n cr e as e d pr o m oti o n al
                       a cti vit y a n d m ar k d o w ns. T h e C o m p a n y is pr o vi di n g t his u p d at e t o d a y t o pr o vi d e
                       visi bilit y i nt o t h e c urr e nt pr ess ur es o n t h e b usi n ess, w hi c h t h e C o m p a n y’s n e w
                       m a n a g e m e nt h as b e e n r e vi e wi n g t o as c ert ai n i nsi g hts a n d k e y l e ar ni n gs.

                       M ar k J. Tritt o n, Pr esi d e nt a n d C E O of B e d B at h & B e y o n d, s ai d, “ W e ar e
                       e x p eri e n ci n g s h ort -t er m p ai n i n o ur eff orts t o st a bili z e t h e b usi n ess, i n cl u di n g t h e
                       pr ess ur es of st or e tr affi c tr e n ds c o u pl e d wit h o ur o w n e x e c uti o n al c h all e n g es.
                       H o w e v er, w e di d a c hi e v e a n ot a bl e p ositi v e s hift i n s al es i n o ur di git al c h a n n els
                       d uri n g t his p eri o d, wit h gr o wt h of a p pr o xi m at el y 2 0 %. I b eli e v e w e c a n s oli dif y t his
                       gr o wt h, w hil e als o a d dr essi n g t h e br o a d er st a bili z ati o n of o ur b usi n ess. ”

                       Tritt o n a d d e d, “ W e ar e b e gi n ni n g t o m a k e b ol d a n d br o a d -b as e d c h a n g es t o
                       m o d er ni z e o ur b usi n ess a n d b ett er s er v e o ur c ust o m ers. O ur a bilit y t o a c hi e v e t his
                       a n d c h a n g e t h e tr aj e ct or y of o ur c urr e nt r es ults will t a k e ti m e, as w e r e m ast er t h e
                       f u n d a m e nt als of m er c h a n disi n g, pri ci n g a n d pr o m oti o n, a n d f o c us o n o ur di git al
                       c h a n n els as p art of o ur g o- f or w ar d str at e g y. ”

                       Fis c al D e c e m b er 2 0 1 9/J a n u ar y 2 0 2 0 C o m p ar a bl e S al es

                       F or t h e first t w o m o nt hs of t h e fis c al 2 0 1 9 f o urt h q u art er ( D e c e m b er 2 0 1 9 a n d
                       J a n u ar y 2 0 2 0), t h e C o m p a n y’s c o m p ar a bl e s al es d e cli n e d 5. 4 %, r efl e cti n g a l o w -
                       d o u bl e- di git p er c e nt a g e d e cr e as e i n tr a ns a cti o ns i n st or es, p arti all y offs et b y a mi d -
                       si n gl e-di git p er c e nt a g e i n cr e as e i n t h e a v er a g e tr a ns a cti o n a m o u n t. O n a dir e cti o n al
                       b asis, c o m p ar a bl e s al es fr o m st or es d e cli n e d n e arl y 1 1 %, w hil e c o m p ar a bl e s al es
                       fr o m di git al c h a n n els gr e w a p pr o xi m at el y 2 0 %.

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                       C o m p ar a bl e s al es i n cl u d e t h e s hift of t h e C y b er M o n d a y h oli d a y w e e k, w hi c h is i n
                       t h e C o m p a n y’s fis c al f o urt h q u art er t his y e ar v ers us t h e fis c al t hir d q u art er of l ast
                       y e ar. A dj usti n g f or t h e c al e n d ar s hift t o e x cl u d e C y b er M o n d a y w e e k i n b ot h p eri o ds,
                       c o m p ar a bl e s al es f or t h e first t w o m o nt hs of t h e fis c al 2 0 1 9 f o urt h q u art er d e cli n e d
                       1 3 %.

                       Pr o d u ct a v ail a bilit y l e a di n g i nt o t h e h oli d a y p eri o d w as als o a c o ntri b uti n g f a ct or, as
                       i n v e nt or y wit hi n c ert ai n k e y c at e g ori es i n t h e B e d B at h & B e y o n d ass ort m e nt w as
                       t o o l o w or o ut- of-st o c k d uri n g t h e p eri o d. T h e C o m p a n y is i m m e di at el y r ef or mi n g its
                       i nt er n al pl a n ni n g a n d i n v e ntor y m a n a g e m e nt pr o c e d ur es t o m ast er t h e f u n d a m e nt als.

                       4 9.       O n t his n e ws, B e d B at h & B e y o n d’s m ar k et c a pit ali z ati o n pl u n g e d m or e t h a n 2 0 % or

            $ 3. 0 6 p er s h ar e, o n F e br u ar y 1 2, 2 0 2 0, t o cl os e at $ 1 1. 7 9 p er s h ar e c o m p ar e d t o t h e pr e vi o us tr a di n g

            d a y’s cl osi n g of $ 1 4. 8 5 p er s h ar e, er asi n g o v er $ 3 8 8 milli o n i n m ar k et c a pit ali z ati o n i n a si n gl e d a y.

                                          R E AS O NS T H E S T A T E M E N TS W E R E I MP R OP E R

                       5 0.       T h e st at e m e nts r ef er e n c e d a b o v e w er e e a c h i m pr o p er w h e n m a d e b e c a us e t h e y f ail e d

            t o dis cl os e a n d        misr e pr es e nt e d t h e f oll o wi n g     m at eri al, a d v ers e f a cts, w hi c h t h e I n di vi d u al

            D ef e n d a nts k n e w, c o ns ci o usl y disr e g ar d e d, or w er e r e c kl ess i n n ot k n o wi n g t h at:

                                  ( a)        t h e C o m p a n y w as n ot a bl e t o a c c ur at el y m a n a g e its i n v e nt or y; a n d

                                  ( b)        B e d B at h & B e y o n d l a c k e d s uffi ci e nt i n v e nt or y i n k e y c at e g ori es t o s u p p ort

            t h e h oli d a y s al es s e as o n.

                                                     D A M A G ES T O B E D B A T H & B E Y O N D

                       5 1.       As a r es ult of t h e I n di vi d u al D ef e n d a nts’ i m pr o pri eti es, B e d B at h & B e y o n d

            diss e mi n at e d i m pr o p er, p u bli c st at e m e nts. T h es e i m pr o p er st at e m e nts h a v e si g nifi c a ntl y h ar m e d

            B e d B at h & B e y o n d’s cr e di bilit y as r efl e ct e d b y t h e C o m p a n y’s m or e t h a n $ 7 5 2 milli o n, or 3 3 %,

            m ar k et c a pit ali z ati o n l oss.

                       5 2.       B e d B at h & B e y o n d’s a bilit y t o r ais e e q uit y c a pit al or d e bt o n f a v or a bl e t er ms i n t h e

            f ut ur e is n o w i m p air e d. I n a d diti o n, t h e C o m p a n y st a n ds t o i n c ur hi g h er m ar gi nal c osts of c a pit al

            a n d d e bt b e c a us e t h e i m pr o p er st at e m e nts a n d misl e a di n g pr oj e cti o ns diss e mi n at e d b y t h e I n di vi d u al


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            D ef e n d a nts h a v e m at eri all y i n cr e as e d t h e p er c ei v e d ris ks of i n v esti n g i n a n d l e n di n g m o n e y t o t h e

            C o m p a n y.

                        5 3.       B e d B at h & B e y o n d’s p erf or m a n c e iss u es als o d a m a g e d its r e p ut ati o n wit hi n t h e

            b usi n ess c o m m u nit y a n d i n t h e c a pit al m ar k ets.               B e d B at h & B e y o n d’s c urr e nt a n d p ot e nti al

            c ust o m ers c o nsi d er a c o m p a n y’s a bilit y t o m ai nt ai n st o c k d esir a bl e it e ms. C ust o m ers ar e l ess li k el y

            t o r et ur n t o st or es t h at c a n n ot m a n a g e t h eir o w n i n v e nt or y l e v els. T h e C o m p a n y als o l ost o ut o n

            vit al s al es, p arti c ul arl y gi v e n t h e c urr e nt e c o n o mi c e n vir o n m e nt, t h at w o ul d h a v e o c c urr e d h a d it

            a p pr o pri at el y a n d a c c ur at el y m a n a g e d its i n v e nt or y.

                        5 4.       F urt h er, as a dir e ct a n d p r o xi m at e r es ult of t h e I n di vi d u al D ef e n d a nts’ a cti o ns, B e d

            B at h & B e y o n d h as e x p e n d e d, a n d will c o nti n u e t o e x p e n d, si g nifi c a nt s u ms of m o n e y. S u c h

            e x p e n dit ur es i n cl u d e, b ut ar e n ot li mit e d t o:

                                   ( a)       c osts i n c urr e d fr o m d ef e n di n g a n d p a yi n g a n y j u d g e m e nt or s et tl e m e nt i n t h e

            cl ass a cti o ns f or vi ol ati o ns of f e d er al s e c uriti es l a ws; a n d

                                   ( b)       c osts i n c urr e d fr o m c o m p e ns ati o n a n d b e n efits p ai d t o t h e d ef e n d a nts w h o

            h a v e br e a c h e d t h eir d uti es t o B e d B at h & B e y o n d.

                                     D E RI V A TI V E A N D D E M A N D F U TI LI T Y A L L E G A TI O N S

                        5 5.       Pl ai ntiff bri n g s t his a cti o n d eri v ati v el y i n t h e ri g ht a n d f or t h e b e n efit of B e d B at h &

            B e y o n d t o r e dr ess i nj uri es s uff er e d, a n d t o b e s uff er e d, b y B e d B at h & B e y o n d as a dir e ct r es ult of

            br e a c h es of fi d u ci ar y d ut y a n d u nj ust e nri c h m e nt, as w ell as t h e ai di n g a n d a b etti n g t h er e of, b y t h e

            I n di vi d u al D ef e n d a nts. B e d B at h & B e y o n d is n a m e d as a n o mi n al d ef e n d a nt s ol el y i n a d eri v ati v e

            c a p a cit y.     T his is n ot a c oll usi v e a cti o n t o c o nf er j uris di cti o n o n t his C o urt t h at it w o ul d n ot

            ot h er wis e h a v e.

                        5 6.       Pl ai ntiff will a d e q u at el y a n d f airl y r e pr es e nt t h e i nt er ests of B e d B at h & B e y o n d i n

            e nf or ci n g a n d pr os e c uti n g its ri g hts.
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                       5 7.       Pl ai ntiff w as a st o c k h ol d er of B e d B at h & B e y o n d at t h e ti m e of t h e wr o n g d oi n g

            c o m pl ai n e d of, h as c o nti n u o usl y b e e n a st o c k h ol d er si n c e t h at ti m e, a n d is a c urr e nt B e d B at h &

            B e y o n d st o c k h ol d er.

                       5 8.       T h e c urr e nt B o ar d of B e d B at h & B e y o n d c o nsists of t h e f oll o wi n g t w el v e

            i n di vi d u als: d ef e n d a nts Tritt o n, E d el m a n, Fl e mi n g,           G o v e,   Kir w a n,    Os b or n e, R a m ali n g a m,

            R u est er h ol z, S c h e c ht er, W eiss, Wi nst o n, a n d Y er g er. Pl ai ntiff h as n ot m a d e a n y d e m a n d o n t h e

            pr es e nt B o ar d t o i nstit ut e t his a cti o n b e c a us e s u c h a d e m a n d w o ul d b e a f util e, w ast ef ul, a n d us el ess

            a ct, as s et f ort h b el o w.

            D e m a n d Is E x c us e d B e c a us e t h e M e m b e rs of t h e B o a r d F a c e a S u bst a nti al Li k eli h o o d of
            Li a bilit y f o r T h ei r Mis c o n d u ct

                       5 9.       As all e g e d a b o v e, d ef e n d a nts Tritt o n a n d Wi nst o n br e a c h e d t h eir fi d u ci ar y d uti es of

            l o y alt y b y m a ki n g i m pr o p er st at e m e nts i n t h e C o m p a n y’s pr ess r el e as es a n d S E C fili n gs.

                       6 0.       D ef e n d a nts Fl e mi n g, Kir w a n, Os b or n e, R a m ali n g a m, Tritt o n, W eiss, a n d Wi nst o n

            w er e all m e m b ers of t h e B usi n ess Tr a nsf or m ati o n a n d Str at e g y R e vi e w C o m mitt e e. As a d mitt e d b y

            d ef e n d a nts, t h es e m e m b ers of t h e B o ar d w er e i nti m at el y i n v ol v e d i n t h e C o m p a n y’s t ur n ar o u n d

            eff orts, i n cl u di n g its f o ur k e y i niti ati v es. O n e of t h e k e y pri oriti es f or t h e B usi n ess Tr a nsf or m ati o n

            a n d Str at e g y R e vi e w C o m mitt e e, w as a n al y zi n g t h e C o m p a n y’s ass et b as e, w hi c h w o ul d n e c ess ar y

            i n cl u d e its i n v e nt or y l e v els. T h us, d ef e n d a nts Fl e mi n g, Kir w a n, Os b or n e, R a m ali n g a m, Tritt o n,

            W eiss, a n d Wi nst o n w er e k e e nl y a w ar e of t h e tr ut h c o n c er ni n g t h e C o m p a n y’s i n v e nt or y iss u es y et

            still a p pr o v e d or p er mitt e d t h e f als e st at e m e nts d et ail e d h er ei n a n d f ail e d t o c orr e ct t h e C o m p a n y’s

            i n v e nt or y l e v el c o ntr ols.

                       6 1.       D ef e n d a nts E d el m a n, Os b or n e, R u est er h ol z, S c h e c ht er, a n d W eiss, as m e m b ers of t h e

            A u dit C o m mitt e e, r e vi e w e d a n d a p pr o v e d t h e i m pr o p er st at e m e nts. T h e A u dit C o m mitt e e’s C h art er

            pr o vi d es t h at it is r es p o nsi bl e f or c o m pli a n c e wit h l e g al a n d r e g ul at or y r e q uir e m e nts. T h us, t h e

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            A u dit C o m mitt e e D ef e n d a nts w er e r es p o n si bl e f or k n o wi n gl y or r e c kl essl y all o wi n g t h e i m pr o p er

            st at e m e nts r el at e d t o t h e C o m p a n y’s e ar ni n gs g ui d a n c e a n d fi n a n ci al a n d dis cl os ur e c o ntr ols.

            M or e o v er, t h e A u dit C o m mitt e e D ef e n d a nts r e vi e w e d a n d a p pr o v e d t h e i m pr o p er pr ess r el e as es

            m a d e t o t h e p u bli c. D es pit e t h eir k n o wl e d g e or r e c kl ess disr e g ar d, t h e A u dit C o m mitt e e D ef e n d a nts

            c a us e d t h es e i m pr o p er st at e m e nts. A c c or di n gl y, t h e A u dit C o m mitt e e D ef e n d a nts br e a c h e d t h eir

            fi d u ci ar y d ut y of l o y alt y b e c a us e t h e y p arti ci p at e d i n t h e wr o n g d oi n g d es cri b e d h er ei n. T h us, t h e

            A u dit C o m mitt e e D ef e n d a nts f a c e a s u bst a nti al li k eli h o o d of li a bilit y f or t h eir br e a c h of fi d u ci ar y

            d uti es s o a n y d e m a n d u p o n t h e m is f util e.

                       6 2.       T h e pri n ci p al pr of essi o n al o c c u p ati o n of d ef e n d a nt Tritt o n is his e m pl o y m e nt wit h

            B e d B at h & B e y o n d, p urs u a nt t o w hi c h h e h as r e c ei v e d a n d c o nti n u es t o r e c ei v e s u bst a nti al

            m o n et ar y c o m p e ns ati o n a n d ot h er b e n efits as all e g e d a b o v e. A c c or di n gl y, d ef e n d a nt Tritt o n l a c ks

            i n d e p e n d e n c e fr o m d ef e n d a nts E d el m a n, Fl e mi n g,           G o v e,   Kir w a n,     Os b or n e,   R a m ali n g a m,

            R u est er h ol z, S c h e c ht er, W eiss, Wi nst o n, a n d Y er g er d u e t o his i nt er est i n m ai nt ai ni n g his e x e c uti v e

            p ositi o n at B e d B at h & B e y o n d. T his l a c k of i n d e p e n d e n c e r e n d ers d ef e n d a nt Tritt o n i n c a p a bl e of

            i m p arti all y c o nsi d eri n g a d e m a n d t o c o m m e n c e a n d vi g or o usl y pr os e c ut e t his a cti o n. B e d B at h &

            B e y o n d p ai d d ef e n d a nt Tritt o n t h e f oll o wi n g c o m p e ns ati o n:

                                                                                           N o n -E q uit y
                                                                        St o c k         I n c e nti v e Pl a n       All Ot h e r
           Ye ar           S al a r y            B o n us             A w a r ds        C o m p e ns ati o n C o m p e ns ati o n               T ot al
           2019          $ 3 4 6, 1 5 4        $ 3 7 5, 0 0 0      $ 1 1, 6 3 2, 1 9 9        $ 7 5 0, 0 0 0           $ 6 6 1, 0 4 5      $ 1 3, 7 6 4, 3 9 8
            A c c or di n gl y, d ef e n d a nt Tritt o n is i n c a p a bl e of i m p arti all y c o nsi d eri n g a d e m a n d t o c o m m e n c e a n d

            vi g or o usl y pr os e c ut e t his a cti o n b e c a us e h e h as a n i nt er est i n m ai nt ai ni n g his pri n ci p al o c c u p ati o n

            a n d t h e s u bst a nti al c o m p e ns ati o n h e r e c ei v es i n c o n n e cti o n wit h t h at o c c u p ati o n. D e m a n d is f util e

            as t o d ef e n d a nt Tritt o n.




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                                                              FI R S T C A U S E O F A C TI O N

                                  A g ai nst t h e I n di vi d u al D ef e n d a nts f o r B r e a c h of Fi d u ci a r y D ut y

                       6 3.       Pl ai ntiff i n c or p or at es b y r ef er e n c e a n d r e all e g es e a c h a n d e v er y all e g ati o n c o nt ai n e d

            a b o v e, as t h o u g h f ull y s et f ort h h er ei n.

                       6 4.       T h e I n di vi d u al D ef e n d a nts o w e d a n d o w e B e d B at h & B e y o n d fi d u ci ar y o bli g ati o ns.

            B y r e as o n of t h eir fi d u ci ar y r el ati o ns hi ps, t h e I n di vi d u al D ef e n d a nts o w e d a n d o w e B e d B at h &

            B e y o n d t h e hi g h est o bli g ati o n of c ar e a n d l o y alt y.

                       6 5.       T h e I n di vi d u al D ef e n d a nts, c oll e cti v el y a n d i n di vi d u all y, vi ol at e d a n d br e a c h e d t h eir

            fi d u ci ar y d uti es.

                       6 6.       As a dir e ct a n d pr o xi m at e r es ult of t h e I n di vi d u al D ef e n d a nts’ br e a c h es of t h eir

            fi d u ci ar y o bli g ati o ns, B e d B at h & B e y o n d h as s ust ai n e d si g nifi c a nt d a m a g es, as all e g e d h e r ei n. As a

            r es ult of t h e mis c o n d u ct all e g e d h er ei n, t h es e d ef e n d a nts ar e li a bl e t o t h e C o m p a n y.

                       6 7.       Pl ai ntiff, o n b e h alf of B e d B at h & B e y o n d, h as n o a d e q u at e r e m e d y at l a w.

                                                           S E C O N D C A U S E O F A C TI O N

                                       A g ai nst t h e I n di vi d u al D ef e n d a nts f o r U nj ust E n ri c h m e nt

                       6 8.       Pl ai ntiff i n c or p or at es b y r ef er e n c e a n d r e all e g es e a c h a n d e v er y all e g ati o n c o nt ai n e d

            a b o v e, as t h o u g h f ull y s et f ort h h er ei n.

                       6 9.       B y t h eir wr o n gf ul a cts a n d o missi o ns, t h e I n di vi d u al D ef e n d a nts w er e u nj ustl y

            e nri c h e d at t h e e x p e ns e of a n d t o t h e d etri m e nt of B e d B at h & B e y o n d. T h e I n di vi d u al D ef e n d a nts

            w er e u nj ustl y e nri c h e d as a r es ult of t h e c o m p e ns ati o n a n d dir e ct or r e m u n er ati o n t h e y r e c ei v e d w hil e

            br e a c hi n g fi d u ci ar y d uti es o w e d t o B e d B at h & B e y o n d.

                       7 0.       Pl ai ntiff, as a st o c k h ol d er a n d r e pr es e nt ati v e of B e d B at h & B e y o n d, s e e ks r estit uti o n

            fr o m t h es e d ef e n d a nts c oll e cti v el y a n d i n di vi d u all y. Pl ai ntiff f urt h er s e e ks a n or d er of t his C o urt



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            dis g or gi n g all pr ofits, b e n efits, a n d ot h er c o m p e ns ati o n o bt ai n e d b y t h es e d ef e n d a nts, c oll e cti v el y

            a n d i n di vi d u all y, d eri v e d fr o m t h eir wr o n gf ul c o n d u ct a n d fi d u ci ar y br e a c h es.

                       7 1.        Pl ai ntiff, o n b e h alf of B e d B at h & B e y o n d, h as n o a d e q u at e r e m e d y at l a w.

                                                                   P R A Y E R F O R R E LI E F

                       W H E R E F O R E, pl ai ntiff, o n b e h alf of B e d B at h & B e y o n d, d e m a n ds j u d g m e nt as f oll o ws:

                       A.          T h e a m o u nt of d a m a g es s ust ai n e d b y t h e C o m p a n y as a r es ult of t h e d ef e n d a nts’

            br e a c h es of fi d u ci ar y d uti es a n d u nj ust e nri c h m e nt, as a g ai nst all of t h e d ef e n d a nts a n d i n f a v or of

            t h e C o m p a n y;

                       B.          Dir e cti n g B e d B at h & B e y o n d t o t a k e all n e c ess ar y a cti o ns t o r ef or m a n d i m pr o v e its

            c or p or at e g o v er n a n c e a n d i nt er n a l pr o c e d ur es t o c o m pl y wit h a p pli c a bl e l a ws a n d t o pr ot e ct B e d

            B at h & B e y o n d a n d its st o c k h ol d ers fr o m a r e p e at of t h e d a m a gi n g e v e nts d es cri b e d h er ei n,

            i n cl u di n g, b ut n ot li mit e d t o, p utti n g f or w ar d f or st o c k h ol d er v ot e, r es ol uti o ns f or a m e n d m e nts t o t h e

            C o m p a n y’s B yl a ws or Arti cl es of I n c or p or ati o n a n d t a ki n g s u c h ot h er a cti o n as m a y b e n e c ess ar y t o

            pl a c e b ef or e st o c k h ol d ers f or a v ot e of t h e f oll o wi n g c or p or at e g o v er n a n c e p oli ci es:

                                   1.          a pr o p os al t o str e n gt h e n t h e C o m p a n y’s c o ntr ols o v er i n v e nt or y m a n a g e m e nt ;

                                   2.          a pr o p os al t o str e n gt h e n B e d B at h & B e y o n d’s o v ersi g ht of its dis cl os ur e

            pr o c e d ur es a n d fi n a n ci al r e p orti n g, i n cl u di n g fi n a n ci al g ui d a n c e;

                                   3.          a pr o p os al t o str e n gt h e n t h e B o ar d’s s u p er visi o n of o p er ati o ns a n d d e v el o p

            a n d i m pl e m e nt pr o c e d ur es f or gr e at er st o c k h ol d er i n p ut i nt o t h e p oli ci es a n d g ui d eli n es of t h e B o ar d;

            and

                                   4.          a pr o visi o n t o p er mit t h e st o c k h ol d ers of B e d B at h & B e y o n d t o n o mi n at e at

            l e ast t hr e e c a n di d at es f or el e cti o n t o t h e B o ar d;




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                       C.         E xtr a or di n ar y e q uit a bl e a n d/ or i nj u n cti v e r eli ef as p er mitt e d b y l a w, e q uit y, a n d st at e

            st at ut or y pr o visi o ns s u e d h er e u n d er, i n cl u di n g att a c hi n g, i m p o u n di n g, i m p osi n g a c o nstr u cti v e tr ust

            o n, or ot h er wis e r estri cti n g t h e pr o c e e ds of d ef e n d a nts’ tr a di n g a cti viti es or t h eir ot h er ass ets s o as t o

            ass ur e t h at pl ai ntiff o n b e h alf of B e d B at h & B e y o n d h as a n eff e cti v e r e m e d y;

                       D.         A w ar di n g t o B e d B at h & B e y o n d r estit uti o n fr o m d ef e n d a nts, a n d e a c h of t h e m, a n d

            or d eri n g dis g or g e m e nt of all pr ofits, b e n efits, a n d ot h er c o m p e ns ati o n o bt ai n e d b y t h e d ef e n d a nts;

                       E.         A w ar di n g t o pl ai ntiff t h e c osts a n d dis b urs e m e nts of t h e a cti o n, i n cl u di n g r e as o n a bl e

            att or n e ys’ f e es, a c c o u nt a nts’ a n d e x p erts’ f e es, c osts, a n d e x p e ns es; a n d

                       F.         Gr a nti n g s u c h ot h er a n d f urt h er r eli ef as t h e C o urt d e e ms j ust a n d pr o p er.

                                                                       J U R Y DE M A N D

                       Pl ai ntiff d e m a n ds a tri al b y j ur y .

            D A T E D: A u g ust 2 8 , 2 0 2 0                                   R O B BI N S G E L L E R R U D M A N
                                                                                  & D O W D LLP
                                                                                 S A M U E L H. R U D M A N
                                                                                 M A R K S. R EI C H


                                                                                                       /s/ S a m u el H. R u d m a n
                                                                                                     S A M U E L H. R U D M A N

                                                                                 5 8 S o ut h S er vi c e R o a d, S uit e 2 0 0
                                                                                 M el vill e, N Y 1 1 7 4 7
                                                                                 T el e p h o n e: 6 3 1/ 3 6 7- 7 1 0 0
                                                                                 6 3 1/ 3 6 7- 1 1 7 3 (f a x)
                                                                                 sr u d m a n @r gr dl a w. c o m
                                                                                 mr ei c h @r gr dl a w. c o m




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                                                        R O B BI N S G E L L E R R U D M A N
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                                                        T R A VI S D O W N S
                                                        BE N N Y G O O D M A N
                                                        6 5 5 W est Br o a d w a y, S uit e 1 9 0 0
                                                        S a n Di e g o, C A 9 2 1 0 1
                                                        T el e p h o n e: 6 1 9/ 2 3 1- 1 0 5 8
                                                        6 1 9/ 2 3 1- 7 4 2 3 (f a x)
                                                        Tr a vis D @r gr dl a w. c o m
                                                        B e n n y G @r gr dl a w. c o m

                                                        R O B BI N S L L P
                                                        G R E G O R Y E. D E L G AI Z O
                                                        B RI A N J. R O B BI N S
                                                        C R AI G W. S MI T H
                                                        S H A N E P. S A N D E R S
                                                        5 0 4 0 S h or e h a m Pl a c e
                                                        S a n Di e g o, C A 9 2 1 2 2
                                                        T el e p h o n e: 6 1 9/ 5 2 5- 3 9 9 0
                                                        6 1 9/ 5 2 5- 3 9 9 1 (f a x)
                                                        g d el g ai z o @r o b bi nsll p. c o m
                                                        br o b bi ns @r o b bi nsll p. c o m
                                                        cs mit h @r o b bi nsll p. c o m
                                                        ss a n d ers @r o b bi nsll p. c o m

                                                        Att or n e ys f or Pl ai ntiff




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